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                                                                                            FORM 1
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES
Case No:              10-30631                            WRS         Judge:        William R. Sawyer                            Trustee Name:                      Carly B. Wilkins, Trustee
Case Name:            Allegro Law LLC                                                                                            Date Filed (f) or Converted (c):   03/12/2010 (f)
                                                                                                                                 341(a) Meeting Date:               04/16/2010
For Period Ending:    03/31/2019                                                                                                 Claims Bar Date:                   05/31/2011


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/               Est Net Value                Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled           (Value Determined by                Abandoned                  Received by                Administered (FA)/
                                                                                 Values               Trustee, Less Liens,               OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                          Exemptions,                                                                                Assets
                                                                                                        and Other Costs)

  1. CHECKING ACCOUNT                                                                7,209,335.67                7,209,335.67                                             7,209,585.67                           FA
  2. CHECKING ACCOUNT                                                                3,799,657.74                3,799,657.74                                             3,801,069.24                           FA
  3. CHECKING ACCOUNT                                                                2,696,442.51                2,696,442.51                                             2,721,910.45                           FA
  4. CHECKING ACCOUNT                                                                1,824,770.05                1,824,770.05                                             1,824,770.05                           FA
  5. CHECKING ACCOUNT                                                                1,299,319.00                1,299,319.00                                             1,331,164.72                           FA
  6. CHECKING ACCOUNT                                                                   32,742.66                   32,742.66                                                 32,742.66                          FA
  7. CHECKING ACCOUNT                                                                   32,027.01                   32,027.01                                                 32,027.01                          FA
  8. Fraudulent Transfer                      (u)                                             0.00                  14,544.14                                                 14,544.14                          FA
  9. AP against Americorp                         (u)                                         0.00                   Unknown                                                         0.00                  Unknown
 10. AP against marketers                      (u)                                            0.00                   Unknown                                                 102,000.00                    Unknown
 11. Refund of payroll taxes                   (u)                                            0.00                        0.00                                                    141.46                        0.00
 12. Reimbursment from voided disbursment.                (u)                                 0.00                        0.00                                                 2,600.00                         0.00
 13. Bond Refund                            (u)                                               0.00                        0.00                                                 9,505.00                         0.00
INT. Post-Petition Interest Deposits                (u)                                  Unknown                          N/A                                                 19,319.81                    Unknown


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                               $16,894,294.64              $16,908,838.78                                           $17,101,380.21                          $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  Notes from Prior Trustee Hamm:

  Case filed along with Allegro Financial Services - both had Keith Anderson Nelms (Debtor) as sole owner.
  Received filed motion to exempt from stay - evidentiary hearing held - order denied motion
  funds to be transferred to Bk of Am
  April 09, 2010, 01:58 pm 16,894,294.64 wire transfer from River Bank & Trust on 4-8-10


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Bond to be increased to $18,500,000.00 - fee is $37,000.00. paid 4-16-10
April 22, 2010, 11:26 am Application to imploy Jackson Thornton CPA - John Fendley - DENIED
Filed Report of Assets x 7 but did not request notice to creditors at this time.
May 20, 2010, 11:44 am Atty for Trustee Filed Notice of Abandonment and request for authorization to disburse non-estate property to Vanco Services LLC
Deadline object 6-14-10 Hearing set for June 15th. - granted 6-17-10
Filed application to employ BMC Group, Inc for servicie and notice to all creditors - Court set hearing - approved
BMC Group, Inc in process of preparing and sending notice to all creditor (consumers)
June 04, 2010, 03:04 pm Filed application employ Dorrough as CPA - Hearing set 6-15-10 - granted
June 11, 2010, 11:59 am Motion to conitnue hearing on docket # 74 motion administrative exp filed by George Thomas -hearing reset for 8-3-10
June 23, 2010, 09:30 am Check to Vance for non estate property in amount of 134,624.58 mailed to David Hughes for Vanco.
July 27, 2010, 09:26 am IR Filed 7-26
August 25, 2010, 02:53 pm Filed application for compensation for Fendley CPA
Application approved and check cut and mailed to John Fendley.
October 20, 2010, 01:49 pm Check to River Bank for 1929.00 non estate property. Attn Karen Pugh.
Trustee filed second request to extend POC deadline date -hearing set for 11-9-10 Order granting POC deadline to 01-31-11
November 19, 2010, 03:23 pm Filed application to employ SSDP and served creditors
12-8-10 Motion for Interim Distribution for BMC Group Hearing set 1-11-11.
12-14-10 Order Granting Appli to Employ SSDP.
12-15-10 filed Amended Motion for Interim Distribution for Steven Dorough.
12-22-10 Order Awarding fees to Steven Dorough.
1-6-11 Service Subpeona on Forest Neely at Sterling Bank.
1-14-11 Order Granting Motion for Interim Distribution to BMC Group.
1-27-11 filed Motion to Extend Deadline for Trustee to file Claims hearing set for 2-8-11.
1-27-11 filed Appli to Approve Profession fees for Steven Dorough hearing set for 3-8-11.
1-28-11 filed Motion to Limit Service.
Status Conference set for 2-15-11
2-11-11 Order Granting Motion to Extend Deadline for Trustee to file Claims.
2-25-11 Order Granting Motion to Limit Service.
3-8-11 Order Awarding fees to Steven Dorough.
3-10-11 Ap filed against Credit Exchange
5-2-11 filed Trustees Case Status Report.
MTS claims filed for duplicate, reclassify, priority (Omnibus)
Hearing set for 9-27 on objection to MTS filed by creditors.
Filed motion for intermin distribution for BMC Group - hearing set and Order issued 10-4-11.
October 05, 2011, 02:47 pm Transfer funds from MMA to cking acct to pay BMC.
Continue to review claims filed.
November 07, 2011, 12:58 pm Interim report
2/9/12- Received order granting BMC fee app from July 2011 until November 2011 in the amount of $26,277.35. The retainer of $30,000 paid by the Trustee to BMC group was
used to pay this entire fee app.
April 30, 2012, 03:54 pm Interim Report
October 03, 2012- Filed Motion for Turnover of remaining Allegro accounts at Sterling.
October 04, 2012, 01:58 pm Received order granting Mtn Turnover.
October 04, 2012, 01:58 pm Met with Robert Vogel about tax returns for Allegro. Will file Motion to Employ Vogel to review tax consequences.
October 05, 2012, 04:55 pm Interim report filed.
October 09, 2012, 09:04 am Filed Application to employ Vogel as accountant, reponses due 11/2/12. Approved.
November 06, 2012, 11:31 am Filed proposed order on MTS 10.
12/12/12- Received invoice from new website maintainers.
December 17, 2012, 01:49 pm Paid website invoice. 1/29/13- Issued stop payment on check. Company had yet to receive check. Will reissue.
March 14, 2013, 08:24 am Paid bond payment $34,000.
May 07, 2013, 02:01 pm Trustee is still in the process of reviewing POCs and filing Motions to Strike. To date, Trustee has filed 36 MTS. Litigation in the Chase AP and the
Americorp AP are still pending. Interim report filed.
October 01, 2013, 01:56 pm Trustee is in the process of reviewing POCs and filing MTS. To date, Trustee has filed 43 MTS. The Americorp AP is set for trial in November.
Litigation in the Chase AP is continuing. Interim Report filed.
November 13, 2013, 02:33 pm Filed Alabama Business Privilege Tax Returns from 2007-2013 and sent in payments.
December 02, 2013, 11:09 am Received and paid invoice for website updates to Hatfield Taylor. Paid yearly rental on storage unit to Sunbelt Self Storage.
February 20, 2014, 10:11 am Received and paid invoice for bond for 4/9/14-10/9/14.
March 26, 2014, 11:34 am Received invoice for Hatfield Taylor website updates. Cut and mailed check.
April 08, 2014, 09:42 am Filed objection to Colley's fee apps.
April 09, 2014, 09:29 am Received invoice fo Hatfield Taylore wesbite contact form updates. Cut and mailed check.
April 17, 2014, 08:21 am Received order granting Vogel's fees. Cut and mailed check to Vogel.


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April 29, 2014, 09:18 am Received order granting Susan's fees. Cut and hand delivered check to Susan.
May 22, 2014, 10:09 am Filed DGH fee applications.
June 02, 2014, 10:25 am Cut and mailed check for Hatfield Taylor website updates invoice number 1733.
June 30, 2014, 01:12 pm Cut checks for DGH fee apps pursuant to Orders dated 6/30/14 (docs 5260 and 5261) and for Hatfield Taylor invoice number 1757 for website updates.
July 15, 2014, 10:29 am Received approval from BA to filed interim TFR with court. Filed interim TFR with court.
July 22, 2014, 12:34 pm Received letter from IRS requesting additonal payments on 2009 tax year for 940s. Cut and mailed checks. Received invoice from Hatfield Taylor on
website updates. Cut and mailed check.
August 27, 2014- Starting cutting checks pursuant to order approving TFR.
September 04, 2014, 04:20 pm Finished printing all checks for TFR distribution. Cut and mailed check to Hatfiled Taylor for website updates for invoice number 1809.
September 26, 2014, 01:00 pm Placed a stop pay on the Cunningham Bounds check. Lucy informed me they have yet to receive the check and since it was a large amount we
placed a stop pay and are going to reissue it.
September 26, 2014, 02:02 pm Received invoice from Hatfield Taylor number 1814- cut and mailed check.
September 29, 2014, 03:04 pm Asset Recovery Managment returned a check for claim192- Gary McGlinton. ARM cashed the priority check and sent the Trustee a reimbursment
check. Trustee reissued the checks (together in one check) to Mr. McGlinton as ARM withdrew its transfer of claim.
October 10, 2014- Received notice that a creditor, Charles Rink, did not receive his check; however his check had been cashed. We notified the bank and they sent an affidiavt
for Mr. Rink and Trustee to sign and return.
October 15, 2014, 11:10 am Trustee and Rink signed and returned affidavits to bank regarding stolen check.
October 23, 2014, 03:18 pm Received invoice from Hatfield Taylor for website updates. Cut and mailed check.
November 25, 2014, 04:35 pm Placed stop payments on all checks that had not been negotiated within 90 days from TFR. Updated website and called all creditors that have not
cashed their check yet.
December 10, 2014, 08:41 am Filed a report of unclaimed funds with the Court and sent a check to the Clerks office.
January 05, 2015, 08:31 am Received invoice from Hatfield Taylor #1960. paid.
April 20, 2015, 01:19 pm Awaiting Judge Sawyer's order in the Americorp AP and then if ruled in Estate's favor will begin collection of judgment.
May 2, 2016, 08:51 am Attorney's for trustee are beginning collection activity on judgments in APs.
January 10, 2017, 01:48pm Paid storage fee for 13 months starting 1/17.
April 20, 2017, 11:06 am Timothy McCallan filed bankruptcy and his case was transferred to the MDAL. We filed 2 Proof of Claims in his bk case. His case is already an asset
case so there will be a distribution at some point to the Allegro case.
11/1/2018- Awaiting distribution in the McCallan case before final distribution can be made in Allegro. Will not likely happen in the next year.
 5/6/2019- Still awaiting distribution in McCallan. Likely won't happen in 2019.




RE PROP #             1    --   Allegro Law LLC Client Escrow Future Settlements IOLTA
RE PROP #             2    --   Allegro Law LLC Debt Settlement Disbursement
RE PROP #             3    --   Allegro Law LLC Debt Management IOLTA
RE PROP #             4    --   Allegro Law LLC Debt Management Disbursement
RE PROP #             5    --   Allegro Law LLC Debt Settlement IOLTA
RE PROP #             6    --   Allegro Law LLC Debt Management Operating
RE PROP #             7    --   Allegro Law LLC Debt Management #3 Account Operating
RE PROP #             8    --   Garnishment proceeds from judgmnet against Corbett Enterprises.

Initial Projected Date of Final Report (TFR): 01/31/2012          Current Projected Date of Final Report (TFR): 12/31/2020

Trustee Signature:        /s/ Carly B. Wilkins, Trustee    Date: 05/06/2019
                          Carly B. Wilkins, Trustee
                          560 S. McDonough St.
                          Suite A
                          Montgomery, Alabama 36104
                          334-269-0269
                          cwilkins@cbwlegal.com




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                          Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                        Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX1745
                                                                                                                                        Checking
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


       1                2                          3                                              4                                                     5                  6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                           ($)
   11/17/15                     Transfer from Acct # xxxxxx3661          Transfer of Funds                                     9999-000               $496,922.77                              $496,922.77

   12/28/15                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $333.55         $496,589.22
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   01/25/16                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $738.51         $495,850.71
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   02/23/16            101      Sunbelt Storage                          Allegro Storage Unit                                  2410-000                                        $648.00         $495,202.71
                                                                         Storage Unit rent for 2016.
   02/25/16                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $735.82         $494,466.89
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   03/25/16                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $687.19         $493,779.70
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   04/05/16            102      Alabama Department of Revenue            Taxes                                                 2810-000                                        $165.00         $493,614.70
                                Business Privilege Tax Section           EIN XX-XXXXXXX
                                PO Box 327320                            Form PPT Balance due for
                                Montgomery, AL 36132                     report year 2015
   04/15/16            103      Alabama Department of Revenue            Taxes                                                 2820-000                                        $100.00         $493,514.70
                                Business Privilege Tax Section           EIN XX-XXXXXXX BPT-V
                                PO Box 327320
                                Montgomery, AL 36132
   04/25/16                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $732.69         $492,782.01
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   05/25/16                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $707.92         $492,074.09
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   05/31/16            104      Daniel Hamm                              Website renewal                                       2990-000                                         $95.88         $491,978.21

   06/27/16                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $730.21         $491,248.00
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   07/25/16                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $705.70         $490,542.30
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

                                    Case 10-30631              Doc 5751        Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                               $496,922.77
                                                                                                                                                       Desc Main            $6,380.47
                                                                              Document         Page 4 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                            Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                          Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX1745
                                                                                                                                          Checking
  Taxpayer ID No: XX-XXX7646                                                                             Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                            Separate Bond (if applicable):


       1                2                          3                                                4                                                     5                6                     7

Transaction Date    Check or             Paid To / Received From                        Description of Transaction              Uniform Tran.        Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                         ($)
   08/25/16                     Union Bank                               Bank Service Fee under 11                               2600-000                                      $727.91         $489,814.39
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   09/26/16                     Union Bank                               Bank Service Fee under 11                               2600-000                                      $726.86         $489,087.53
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   10/25/16                     Union Bank                               Bank Service Fee under 11                               2600-000                                      $702.43         $488,385.10
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   11/25/16                     Union Bank                               Bank Service Fee under 11                               2600-000                                      $724.71         $487,660.39
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   12/27/16                     Union Bank                               Bank Service Fee under 11                               2600-000                                      $700.34         $486,960.05
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   01/10/17            105      Red Dot Storage 70, LLC                  Storage fees                                            2410-000                                      $708.00         $486,252.05
                                6399 Montgomery
                                PO Box 600
                                Boulder, CO 80306
   01/25/17                     Union Bank                               Bank Service Fee under 11                               2600-000                                      $722.66         $485,529.39
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   02/27/17                     Union Bank                               Bank Service Fee under 11                               2600-000                                      $723.22         $484,806.17
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   03/27/17                     Union Bank                               Bank Service Fee under 11                               2600-000                                      $651.74         $484,154.43
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   04/25/17                     Union Bank                               Bank Service Fee under 11                               2600-000                                      $720.41         $483,434.02
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   05/25/17                     Union Bank                               Bank Service Fee under 11                               2600-000                                      $696.18         $482,737.84
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   06/26/17                     Union Bank                               Bank Service Fee under 11                               2600-000                                      $718.29         $482,019.55
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)



                                    Case 10-30631              Doc 5751        Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                     $0.00
                                                                                                                                                         Desc Main          $8,522.75
                                                                              Document         Page 5 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                             Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX1745
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX7646                                                                              Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                             Separate Bond (if applicable):


       1                2                            3                                               4                                                     5                6                     7

Transaction Date    Check or              Paid To / Received From                        Description of Transaction              Uniform Tran.        Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                         ($)
   07/25/17                     Union Bank                                Bank Service Fee under 11                               2600-000                                      $694.18         $481,325.37
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   08/25/17                     Union Bank                                Bank Service Fee under 11                               2600-000                                      $716.19         $480,609.18
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   09/25/17                     Union Bank                                Bank Service Fee under 11                               2600-000                                      $715.15         $479,894.03
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   10/25/17                     Union Bank                                Bank Service Fee under 11                               2600-000                                      $691.08         $479,202.95
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   11/27/17                     Union Bank                                Bank Service Fee under 11                               2600-000                                      $713.03         $478,489.92
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   12/26/17                     Union Bank                                Bank Service Fee under 11                               2600-000                                      $689.13         $477,800.79
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   01/25/18                     Union Bank                                Bank Service Fee under 11                               2600-000                                      $710.98         $477,089.81
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   02/15/18            106      Red Dot Storage 70                        Storage fees                                            2410-000                                      $759.00         $476,330.81
                                PO Box 600
                                Boulder, CO 80306
   02/26/18                     Union Bank                                Bank Service Fee under 11                               2600-000                                      $709.92         $475,620.89
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   03/26/18                     Union Bank                                Bank Service Fee under 11                               2600-000                                      $640.12         $474,980.77
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   04/25/18                     Union Bank                                Bank Service Fee under 11                               2600-000                                      $706.73         $474,274.04
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   05/16/18            107      LTD International Sureties                5/17/18-5/17/19 bond payment                            2300-000                                      $253.74         $474,020.30
                                Suite 420
                                701 Ponydras, St.
                                New Orleans, LA 70139



                                    Case 10-30631               Doc 5751        Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                     $0.00
                                                                                                                                                          Desc Main          $7,999.25
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                          Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                        Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX1745
                                                                                                                                        Checking
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


       1                2                          3                                              4                                                     5                  6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                           ($)
   05/25/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $682.99         $473,337.31
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   06/25/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $704.56         $472,632.75
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   07/25/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $680.62         $471,952.13
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   08/27/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $702.25         $471,249.88
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   09/25/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $701.29         $470,548.59
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   10/25/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $677.62         $469,870.97
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   11/26/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $699.15         $469,171.82
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   12/26/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $675.67         $468,496.15
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   01/25/19                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $697.14         $467,799.01
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   02/25/19                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $696.09         $467,102.92
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   03/08/19            108      Red Dot Storage                          Allegro Storage Unit                                  2410-000                                        $765.00         $466,337.92
                                                                         From March 2019-March 2020
   03/25/19                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $627.87         $465,710.05
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)


                                                                                                          COLUMN TOTALS                               $496,922.77          $31,212.72


                                    Case 10-30631              Doc 5751        Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                   $0.00
                                                                                                                                                       Desc Main            $8,310.25
                                                                              Document         Page 7 of 768
                                                                                                        Page:   5

                                                 Less: Bank Transfers/CD's   $496,922.77       $0.00
                                           Subtotal                                $0.00   $31,212.72
                                                 Less: Payments to Debtors         $0.00       $0.00
                                           Net                                     $0.00   $31,212.72




Case 10-30631   Doc 5751    Page Subtotals:
                           Filed  05/08/19 Entered 05/08/19 09:00:26            $0.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                          Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                        Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX3661
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


       1                2                          3                                              4                                                    5                    6                       7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                     Code                                                              ($)
   10/30/12                     Trsf In From BANK OF AMERICA, N.A.       INITIAL WIRE TRANSFER IN                              9999-000                 $6,491.38                                    $6,491.38

   10/30/12                     Trsf In From BANK OF AMERICA, N.A.       INITIAL WIRE TRANSFER IN                              9999-000          $16,458,964.55                                $16,465,455.93

   11/26/12                     UNION BANK                               BANK SERVICE FEE                                      2600-000                                      $1,349.63         $16,464,106.30

   11/29/12           30001     BMC GROUP, INC.                          Noticing and Claims Agent                             3991-000                                      $4,421.25         $16,459,685.05
                                P.O. Box 748233Los Angeles, CA 90074     Fees from June to September
                                                                         2012.
   12/11/12           30002     SUNBELT STORAGE                          Storage unit rental fee Yearly                        2410-000                                          $609.00       $16,459,076.05
                                                                         fee.
   12/17/12           30003     HATFIELD TAYLOR COMPANY, LLC             Allegro Website maintenance                           2990-004                                          $100.00       $16,458,976.05
                                P.O. Box 242901Montgomery, AL 36124      Invoice 1236.
   12/26/12                     UNION BANK                               BANK SERVICE FEE                                      2600-000                                      $4,500.00         $16,454,476.05

   01/25/13                     UNION BANK                               BANK SERVICE FEE                                      2600-000                                      $4,500.00         $16,449,976.05

   01/28/13             1       STERLING BANK                            Equity Personal Property                              1129-000                    $250.00                             $16,450,226.05

   01/28/13             2       STERLING BANK                            Equity Personal Property                              1110-000                 $1,411.50                              $16,451,637.55

   01/28/13             3       STERLING BANK                            Equity Personal Property                              1110-000                      $4.94                             $16,451,642.49

   01/30/13           30003     Reverses Check # 30003                   Stop Payment Reversal                                 2990-004                                         ($100.00)      $16,451,742.49
                                                                         SA
   02/25/13                     UNION BANK                               BANK SERVICE FEE                                      2600-000                                      $4,500.00         $16,447,242.49

   02/27/13           30004     HATFIELD TAYLOR COMPANY LLC              Website Updates Invoice                               2990-000                                          $200.00       $16,447,042.49
                                PO Box 242901Montgomery, AL 36124        number 1307
   03/14/13           30005     INTERNATIONAL SURETIES, LTD              Trustee Bond Bond Payment                             2300-000                                     $34,000.00         $16,413,042.49
                                701 Poydras Street, Suite 420New
                                Orleans, LA 70139
   03/25/13                     UNION BANK                               BANK SERVICE FEE                                      2600-000                                      $4,500.00         $16,408,542.49

   04/25/13                     UNION BANK                               BANK SERVICE FEE                                      2600-000                                      $4,500.00         $16,404,042.49



                                    Case 10-30631              Doc 5751        Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26$16,467,122.37
                                                                                                                           Desc Main                                        $63,079.88
                                                                              Document         Page 9 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


       1                2                          3                                              4                                                   5                6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   05/28/13                     UNION BANK                               BANK SERVICE FEE                                     2600-000                                  $4,500.00       $16,399,542.49

   06/25/13                     UNION BANK                               BANK SERVICE FEE                                     2600-000                                  $4,500.00       $16,395,042.49

   07/25/13                     UNION BANK                               BANK SERVICE FEE                                     2600-000                                  $4,500.00       $16,390,542.49

   08/02/13           30006     HATFIELD TAYLOR COMPANY, LLC             Allegro website update                               2990-000                                     $100.00      $16,390,442.49
                                P.O. Box 242901Montgomery, AL 36124
   08/26/13                     UNION BANK                               BANK SERVICE FEE                                     2600-000                                  $4,500.00       $16,385,942.49

   09/03/13           30007     HATFIELD TAYLOR COMPANY, LLC             Website updates                                      2990-000                                     $100.00      $16,385,842.49
                                PO Box 242901Montgomery, AL 36124
   09/25/13                     UNION BANK                               BANK SERVICE FEE                                     2600-000                                  $4,500.00       $16,381,342.49

   10/25/13                     UNION BANK                               BANK SERVICE FEE                                     2600-000                                  $4,500.00       $16,376,842.49

   11/13/13           30008     ALABAMA DEPARTMENT OF REVENUE Business Privilege Taxes 2013                                   2690-000                                     $161.00      $16,376,681.49
                                Business Privilege Tax SectionPO Box
                                327320Montgomery, AL 36132
   11/13/13           30009     ALABAMA DEPARTMENT OF REVENUE Business Privilege Taxes for                                    2690-000                                     $195.00      $16,376,486.49
                                Business Privilege Tax SectionPO Box 2012
                                3273201Montgomery. AL 36132
   11/13/13           30010     ALABAMA DEPARTMENT OF REVENUE Business Privilege Taxes for                                    2690-000                                     $205.00      $16,376,281.49
                                Business Privilege Tax SectionPO Box 2011
                                327320Montgomery, AL 36132
   11/13/13           30011     ALABAMA DEPARTMENT OF REVENUE Business Privilege Taxes for                                    2690-000                                     $215.00      $16,376,066.49
                                Business Privilege Tax SectionPO Box 2010
                                327431Montgomery, AL 36132
   11/13/13           30012     ALABAMA DEPARTMENT OF REVENYE Business Privilege Taxes for                                    2690-000                                     $225.00      $16,375,841.49
                                Business Privilege Tax SectionPO Box 2009
                                327431Montgomery, AL 36132
   11/13/13           30013     ALABAMA DEPARTMENT OF REVENUE Business Privilege Taxes for                                    2690-000                                     $235.00      $16,375,606.49
                                Business Privilege Tax SectionPO Box 2008
                                327431Montgomery, AL 36132
   11/13/13           30014     ALABAMA DEPARTMENT OF REVENUE Business Privilege Taxes for                                    2690-000                                     $245.00      $16,375,361.49
                                Business Privilege Tax SectionPO Box 2007
                                327431Montgomery, AL 36132

                                   Case 10-30631               Doc 5751        Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $28,681.00
                                                                             Document          Page 10 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                             Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                           Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX3661
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                      ($)
   11/25/13                     UNION BANK                               BANK SERVICE FEE                                          2600-000                                $4,500.00       $16,370,861.49

   12/02/13           30015     HATFIELD TAYLOR COMPANY, LLC             Website Updates                                           2990-000                                   $100.00      $16,370,761.49
                                PO Box 242901Montgomery, AL 36124
   12/02/13           30016     SUNBELT SELF STORAGE                     Storage Unit Yearly rent One                              2990-000                                   $648.00      $16,370,113.49
                                6399 Atlanta HighwayMontgomery, AL       year rental payment for Allegro
                                36117                                    Law LLC, unit number 5016
   12/26/13                     UNION BANK                               BANK SERVICE FEE                                          2600-000                                $4,500.00       $16,365,613.49

   01/27/14                     UNION BANK                               BANK SERVICE FEE                                          2600-000                                $4,500.00       $16,361,113.49

   02/19/14           30017     ALABAMA DEPARTMENT OF REVENUE 2013 Business Privilege Taxes                                        2820-000                                   $100.00      $16,361,013.49
                                Business Privilege Tax SectionPO Box 2013 Business Privilege Taxes
                                327320Montgomery, AL 36132
   02/20/14           30018     INTERNATIONAL SURETIES, LTD              Trustee Bond                                              2300-000                               $17,000.00       $16,344,013.49
                                One Shell Square701 Poydraw Street,
                                Suite 420New Orleans, LA 70139
   02/25/14                     UNION BANK                               BANK SERVICE FEE                                          2600-000                                $4,500.00       $16,339,513.49

   03/25/14                     UNION BANK                               BANK SERVICE FEE                                          2600-000                                $4,500.00       $16,335,013.49

   03/26/14           30019     HATFIELD TAYLOR, CO.                     Website updates Website                                   2990-000                                   $100.00      $16,334,913.49
                                601 South Court St.Montgomery, AL        updates.
                                36104
   04/09/14           30020     HATFIELD TAYLOR CO.                      Website Updates Website                                   3991-000                                $1,500.00       $16,333,413.49
                                600 South Court StreetMontgomery, AL     update invoice number 1732.
                                36104
   04/17/14           30021     ROBERT VOGEL                             Accountant for Trustee Order                              3420-000                               $18,278.25       $16,315,135.24
                                Vogel & Associates, PCPO Box             awarding fee (Doc. 4812).
                                241085Montgomery, AL 36124
   04/25/14                     UNION BANK                               BANK SERVICE FEE                                          2600-000                                $4,500.00       $16,310,635.24

   04/29/14           30022     SUSAN S. DEPAOLA                         Attorney for Trustee                                                                             $22,753.36       $16,287,881.88
                                1726 West Second Steet Suite
                                BMontgomery, AL 36106
                                SUSAN S. DEPAOLA                         Attorney for Trustee                      ($22,525.00)    3210-000



                                    Case 10-30631              Doc 5751        Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                    $0.00
                                                                                                                                                        Desc Main         $87,479.61
                                                                             Document          Page 11 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                            Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                          Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX3661
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX7646                                                                             Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


       1                2                          3                                              4                                                      5                    6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction                 Uniform Tran.      Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
                                SUSAN S. DEPAOLA                         Attorney for Trustee                       ($228.36)     3220-000

   05/27/14                     UNION BANK                               BANK SERVICE FEE                                         2600-000                                     $4,500.00       $16,283,381.88

   06/02/14           30023     HATFIELD TAYLOR                          Website Updates invoice 1733                             3991-000                                        $100.00      $16,283,281.88
                                600 South Court StreetMontgomery, AL
                                36014
   06/25/14                     UNION BANK                               BANK SERVICE FEE                                         2600-000                                     $4,500.00       $16,278,781.88

   06/30/14           30024     DANIEL G. HAMM                           Attorney for Trustee Attorney                            3110-000                                   $201,555.00       $16,077,226.88
                                560 S. McDonough St., Ste.               for Trustee general bill pursuant
                                AMontgomery, AL 36104                    to Order dated 6/30/14. (Doc.
                                                                         5260).
   06/30/14           30025     DANIEL G. HAMM                           Attorney for Trustee Attorney                                                                         $5,200.54       $16,072,026.34
                                560 S. McDonough St., Ste.               for Trustee (Corbett Bill)
                                AMontgomery, AL 36104                    pursuant to Order dated
                                                                         6/30/14. (Doc. 5261).
                                DANIEL G. HAMM                           Attorney for Trustee                      ($4,925.00)    3110-000

                                DANIEL G. HAMM                           Attorney for Trustee                       ($275.54)     3120-000

   06/30/14           30026     HATFIELD TAYLOR CO.                      Website Update Website                                   2990-000                                        $100.00      $16,071,926.34
                                600 S. Court St.Montgomery, AL 36014     Updates for invoice dated
                                                                         6/24/14 number 1757.
   07/22/14           30027     HATFIELD TAYLOR, CO.,                    Website Updates Website                                  2990-000                                        $300.00      $16,071,626.34
                                600 South Court St.,Montgomery, AL       Updates
                                36104
   07/22/14           30028     INTERNAL REVENUE SERVICE                 2009 940 Additonal Taxes 2009                            2810-000                                        $141.32      $16,071,485.02
                                Ogden, UT 84201                          940 taxes
   07/25/14                     UNION BANK                               BANK SERVICE FEE                                         2600-000                                     $4,500.00       $16,066,985.02

   08/22/14            11       ALLEGRO LAW, LLC                         Payroll tax refund                                       1224-000                   $141.46                           $16,067,126.48

   08/25/14                     UNION BANK                               BANK SERVICE FEE                                         2600-000                                     $4,500.00       $16,062,626.48

   08/27/14           30029     DANIEL G. HAMM                           Chapter 7                                                                                           $637,895.35       $15,424,731.13
                                560 South McDonough StreetSuite          Compensation/Expense
                                AMONTGOMERY, AL 36104


                                    Case 10-30631              Doc 5751        Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                  $141.46
                                                                                                                                                        Desc Main            $863,292.21
                                                                             Document          Page 12 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


       1                2                           3                                             4                                                   5                6                    7

Transaction Date    Check or              Paid To / Received From                    Description of Transaction               Uniform Tran.      Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                     Code                                                      ($)
                                DANIEL G. HAMM                            Chapter 7                           ($532,864.01)    2100-000
                                                                          Compensation/Expense
                                DANIEL G. HAMM                            Chapter 7                           ($105,031.34)    2200-000
                                                                          Compensation/Expense
   08/27/14           30030     ARGO PARTNERS                             Claim 000001, Payment                                5600-000                                 $2,600.00      $15,422,131.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30031     ASSET RECOVERY MANAGEMENT,                Claim 000003, Payment                                5600-000                                 $2,600.00      $15,419,531.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30032     AILENE SALSGIVER-WHITE                    Claim 000007, Payment                                5600-000                                 $2,600.00      $15,416,931.13
                                                                          100.00000%
                                3104 Teal Terrace
                                Safety Harbor, FL 34695
   08/27/14           30033     NICOLE GIDDING                            Claim 000008, Payment                                5600-004                                 $2,039.00      $15,414,892.13
                                                                          100.00000%
                                1537 S. 30th St.
                                Philadelphia, PA 19146
   08/27/14           30034     ANTHONY COLONE                            Claim 000009, Payment                                5600-000                                 $2,600.00      $15,412,292.13
                                                                          100.00000%
                                24 W. 47th Street
                                Bayonne, NJ 07002
   08/27/14           30035     ARGO PARTNERS                             Claim 000011, Payment                                5600-000                                 $2,600.00      $15,409,692.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30036     LIQUIDITY SOLUTIONS, INC.                 Claim 000012, Payment                                5600-000                                 $1,044.00      $15,408,648.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30037     ARGO PARTNERS                             Claim 000014, Payment                                5600-000                                 $2,600.00      $15,406,048.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $18,683.00
                                                                              Document          Page 13 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30038     ASSET RECOVERY MANAGEMENT,                Claim 000022, Payment                               5600-000                                  $2,600.00       $15,403,448.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30039     TONYA R. DOUCETTE                         Claim 000024, Payment                               5600-000                                     $374.00      $15,403,074.13
                                                                          100.00000%
                                714 Hasty School Road
                                Thomasville, NC 27360
   08/27/14           30040     SALLY RYE                                 Claim 000025, Payment                               5600-000                                     $759.00      $15,402,315.13
                                                                          100.00000%
                                491 S.M-129
                                Pickford, MI 49774
   08/27/14           30041     HOWARD N. CAREY                           Claim 000026, Payment                               5600-000                                  $2,600.00       $15,399,715.13
                                                                          100.00000%
                                5289 E. State Road 350
                                Milan, IN 47031-9038
   08/27/14           30042     ARGO PARTNERS                             Claim 000027, Payment                               5600-000                                  $2,600.00       $15,397,115.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30043     ASSET RECOVERY MANAGEMENT,                Claim 000028, Payment                               5600-000                                  $2,600.00       $15,394,515.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30044     SECOND CHANCE CREDIT                      Claim 000030, Payment                               5600-000                                  $2,470.00       $15,392,045.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30045     ARGO PARTNERS                             Claim 000031, Payment                               5600-000                                  $2,600.00       $15,389,445.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30046     ISAIAH BURRIS                             Claim 000034, Payment                               5600-000                                  $1,704.00       $15,387,741.13
                                                                          100.00000%
                                5711 Ave H Apt 4B
                                Brooklyn, NY 11234


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                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $18,307.00
                                                                              Document          Page 14 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


       1                2                           3                                             4                                                   5                6                    7

Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           30047     ROSA MARINERO                             Claim 000037, Payment                               5600-000                                  $2,600.00      $15,385,141.13
                                                                          100.00000%
                                1520 Peterson Lane
                                Santa Rosa, CA. 95403
   08/27/14           30048     ARGO PARTNERS                             Claim 000039, Payment                               5600-000                                  $2,600.00      $15,382,541.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30049     VICKIE L. SHEDDEN                         Claim 000040, Payment                               5600-000                                  $2,600.00      $15,379,941.13
                                                                          100.00000%
                                192 Brookside Dr.
                                Monroeton, PA 18832
   08/27/14           30050     MARK O. HAMILTON                          Claim 000041, Payment                               5600-000                                  $2,095.00      $15,377,846.13
                                1759 Clarkstone RoadCleveland, OH         100.00000%
                                44112
   08/27/14           30051     CLOTEA MACK                               Claim 000043, Payment                               5600-000                                  $2,600.00      $15,375,246.13
                                                                          100.00000%
                                25370 Glenbrook Boulevard
                                Euclid, Ohio 44117
   08/27/14           30052     RYAN ANNIS                                Claim 000044, Payment                               5600-000                                  $2,600.00      $15,372,646.13
                                                                          100.00000%
                                c/o Azar & Azar LLC
                                4276 Lomac St.
                                Montgomery, AL 3610
   08/27/14           30053     ROSE NEWTON                               Claim 000045, Payment                               5600-000                                  $2,600.00      $15,370,046.13
                                                                          100.00000%
                                c/o Azar & Azar LLC
                                4276 Lomac St.
                                Montgomery, AL 36106
   08/27/14           30054     MANDY BEEBE                               Claim 000046, Payment                               5600-000                                  $1,385.00      $15,368,661.13
                                                                          100.00000%
                                c/o Azar & Azar LLC
                                4276 Lomace St.
                                Montgomery, AL 36106
   08/27/14           30055     SECOND CHANCE CREDIT                      Claim 000047, Payment                               5600-000                                  $1,650.00      $15,367,011.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124


                                    Case 10-30631                Doc 5751       Page Subtotals:
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                                                                                                                                                     Desc Main         $20,730.00
                                                                              Document          Page 15 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           30056     SANTO ROMEO                              Claim 000049, Payment                               5600-000                                  $2,600.00       $15,364,411.13
                                                                         100.00000%
                                C/O Azar & Azar, LLC
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30057     WILLIAM A. BAKER, JR                     Claim 000051, Payment                               5600-000                                     $352.00      $15,364,059.13
                                                                         100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30058     KENT DAVIS                               Claim 000052, Payment                               5600-000                                  $2,600.00       $15,361,459.13
                                                                         100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30059     DAWN GREGORY                             Claim 000053, Payment                               5600-000                                  $2,600.00       $15,358,859.13
                                                                         100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30060     DONALD HARRELL                           Claim 000054, Payment                               5600-000                                  $2,292.00       $15,356,567.13
                                                                         100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30061     ALICE HATCHER                            Claim 000055, Payment                               5600-000                                  $2,600.00       $15,353,967.13
                                                                         100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30062     NOEL REID                                Claim 000056, Payment                               5600-000                                     $488.00      $15,353,479.13
                                                                         100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30063     JONATHAN R. SCHNEIDER                    Claim 000057, Payment                               5600-000                                  $2,600.00       $15,350,879.13
                                                                         100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106


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                                                                             Document          Page 16 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30064     TAMMIE BASS                               Claim 000058, Payment                               5600-000                                  $1,830.00       $15,349,049.13
                                                                          100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30065     RICHARD CRUZ                              Claim 000059, Payment                               5600-000                                  $2,551.00       $15,346,498.13
                                                                          100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30066     JALAL FARUQUE                             Claim 000061, Payment                               5600-000                                  $2,600.00       $15,343,898.13
                                                                          100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30067     CRAIG GIVAN                               Claim 000062, Payment                               5600-000                                  $2,600.00       $15,341,298.13
                                                                          100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30068     ANN ROHRBAUGH                             Claim 000063, Payment                               5600-000                                  $2,225.00       $15,339,073.13
                                                                          100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30069     DARRELL J. STINSON                        Claim 000064, Payment                               5600-000                                  $2,600.00       $15,336,473.13
                                                                          100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30070     JUDITH F. WHITEFACE                       Claim 000065, Payment                               5600-000                                     $753.00      $15,335,720.13
                                                                          100.00000%
                                C/O Azar & Azar, L.L.C.\
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30071     ROLAND PEEK                               Claim 000066, Payment                               5600-000                                  $2,600.00       $15,333,120.13
                                                                          100.00000%
                                C/O Zack M. Azar
                                4276 Lomac Street
                                Montgomery, AL 36106


                                    Case 10-30631               Doc 5751        Page Subtotals:
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                                                                                                                                                     Desc Main         $17,759.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           30072     JAMES RHODES                             Claim 000067, Payment                               5600-000                                     $353.00      $15,332,767.13
                                                                         100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30073     MICHAEL C. SCISCIANI                     Claim 000068, Payment                               5600-000                                  $2,600.00       $15,330,167.13
                                                                         100.00000%
                                C/O Zack M. Azar
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30074     DAYELLE SWENSSON                         Claim 000069, Payment                               5600-000                                  $1,485.00       $15,328,682.13
                                                                         100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30075     MELINDA EVANS                            Claim 000070, Payment                               5600-000                                   $1,411.00      $15,327,271.13
                                                                         100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30076     TRUDY KAUFFMAN                           Claim 000071, Payment                               5600-000                                  $2,600.00       $15,324,671.13
                                                                         100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30077     FREDERICK M. MICHAELS                    Claim 000072, Payment                               5600-000                                  $2,298.00       $15,322,373.13
                                                                         100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30078     IRIS M. OLGUIN                           Claim 000073, Payment                               5600-000                                  $2,368.00       $15,320,005.13
                                                                         100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           30079     CAROLYN K. WELLS                         Claim 000074, Payment                               5600-000                                  $2,600.00       $15,317,405.13
                                                                         100.00000%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106


                                    Case 10-30631              Doc 5751        Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30080     WILLIAM LUBERTO                           Claim 000075, Payment                               5600-004                                  $2,600.00       $15,314,805.13
                                                                          100.00000%
                                PO Box 756
                                Eastpoint, FL 32328
   08/27/14           30081     MELETE GEGZIABHER                         Claim 000077, Payment                               5600-000                                  $2,600.00       $15,312,205.13
                                                                          100.00000%
                                2128 Fry Street, Apt # 5
                                Roseville, MN 55113
   08/27/14           30082     DALTON RAY OR DORIS COX                   Claim 000078, Payment                               5600-000                                  $2,600.00       $15,309,605.13
                                                                          100.00000%
                                9167 County Highway 5
                                Hayden, Alabama 35079
   08/27/14           30083     SECOND CHANCE CREDIT                      Claim 000080, Payment                               5600-000                                  $2,370.00       $15,307,235.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30084     GEINE P (EUGENIA) MARTINEZ                Claim 000081, Payment                               5600-000                                  $2,600.00       $15,304,635.13
                                                                          100.00000%
                                2960 S 9150 W
                                MAGNA, UT 84044
   08/27/14           30085     WILHELMENIA NASH                          Claim 000082, Payment                               5600-000                                     $247.00      $15,304,388.13
                                                                          100.00000%
                                96 NIAGARA LN
                                WILLINGBORO, NJ 08040
   08/27/14           30086     GINA PEHOT                                Claim 000083, Payment                               5600-000                                  $1,752.00       $15,302,636.13
                                                                          100.00000%
                                3529 Oneonta Avenue
                                Raleigh, NC 28604
   08/27/14           30087     DONALD ANDERSON                           Claim 000085, Payment                               5600-000                                  $2,600.00       $15,300,036.13
                                                                          100.00000%
                                8440 N POINT RD
                                MANASSAS, VA 20112
   08/27/14           30088     THO DAO                                   Claim 000086, Payment                               5600-000                                     $683.00      $15,299,353.13
                                                                          100.00000%
                                313 S Hesperian Street
                                Santa Ana, CA 92703




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                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
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                                                                              Document          Page 19 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30089     MARLENE PARKER                            Claim 000087, Payment                               5600-000                                     $423.00      $15,298,930.13
                                                                          100.00000%
                                3307 Kelox Rd
                                Baltimore, MD 21207
   08/27/14           30090     JASON HENDERSON                           Claim 000088A, Payment                              5600-000                                  $2,600.00       $15,296,330.13
                                                                          100.00000%
                                986 Brenda Lee Dr
                                Manteca, CA 95337
   08/27/14           30091     MAIE PARKER                               Claim 000089, Payment                               5600-000                                  $2,384.00       $15,293,946.13
                                                                          100.00000%
                                PO Box 673
                                Clinton, NC 28329
   08/27/14           30092     EDWIN LASALLE                             Claim 000090, Payment                               5600-000                                  $2,600.00       $15,291,346.13
                                                                          100.00000%
                                PO BOX 353
                                Bronx, NY 10458-0353
   08/27/14           30093     ARGO PARTNERS                             Claim 000092, Payment                               5600-000                                  $2,600.00       $15,288,746.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30094     OWEN THORNSEN                             Claim 000093, Payment                               5600-000                                  $2,600.00       $15,286,146.13
                                                                          100.00000%
                                220 Church St
                                Warrens, WI 54666
   08/27/14           30095     HELEN ALLEE                               Claim 000094, Payment                               5600-000                                     $324.00      $15,285,822.13
                                                                          100.00000%
                                16290 County Road 23
                                Verndale, MN 56481
   08/27/14           30096     DANIEL DAY                                Claim 000095, Payment                               5600-000                                  $2,600.00       $15,283,222.13
                                                                          100.00000%
                                879 Linden Circle
                                Thousand Oaks, CA 91360
   08/27/14           30097     ROGER CORTEZ                              Claim 000096, Payment                               5600-000                                  $1,044.00       $15,282,178.13
                                                                          100.00000%
                                550 West Hermosa Street Space 14
                                Lindsay, CA 93247




                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $17,175.00
                                                                              Document          Page 20 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30098     LOREAL WILSON                             Claim 000097, Payment                               5600-000                                     $128.00      $15,282,050.13
                                                                          100.00000%
                                2917 W 140th Place
                                Blue Island, IL 60406
   08/27/14           30099     DELORES JONES                             Claim 000098, Payment                               5600-000                                  $2,600.00       $15,279,450.13
                                                                          100.00000%
                                11317 Sugar Pine Dr Apt 224
                                Florissant, MO 63033
   08/27/14           30100     LIQUIDITY SOLUTIONS, INC.                 Claim 000099, Payment                               5600-000                                  $2,600.00       $15,276,850.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30101     ASTRA TALMAGE                             Claim 000100, Payment                               5600-004                                     $482.00      $15,276,368.13
                                                                          100.00000%
                                10226 Hwy 32 NE
                                Thief River Falls, MN 56701
   08/27/14           30102     ELENA ALVES                               Claim 000101, Payment                               5600-000                                  $2,600.00       $15,273,768.13
                                                                          100.00000%
                                4931 W Glenrosa Ave
                                Phoenix, AZ 85031
   08/27/14           30103     DARENE GILBERT                            Claim 000102, Payment                               5600-000                                  $2,600.00       $15,271,168.13
                                                                          100.00000%
                                124 Worthington St
                                Winterville, NC 28590
   08/27/14           30104     CYNTHIA COLLINS                           Claim 000103, Payment                               5600-000                                     $608.00      $15,270,560.13
                                                                          100.00000%
                                872 Ashley Ave
                                Port Washington, WI 53074
   08/27/14           30105     JEFFERY MILLER                            Claim 000104, Payment                               5600-000                                  $1,594.00       $15,268,966.13
                                                                          100.00000%
                                173 Cherry Oak Lane
                                Montgomery, TX 77316
   08/27/14           30106     JAMANDAS MOORE                            Claim 000105A, Payment                              5600-000                                  $2,600.00       $15,266,366.13
                                                                          100.00000%
                                83 Lutie Street
                                Nashville, TN 37210




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                                                                              Document          Page 21 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30107     NED BRAATZ                                Claim 000106, Payment                               5600-000                                  $2,600.00       $15,263,766.13
                                                                          100.00000%
                                2339 W. Hammer Lane, Suite C-120
                                Stockton, CA 95209
   08/27/14           30108     FREDRICA WORLDS                           Claim 000107, Payment                               5600-000                                  $2,600.00       $15,261,166.13
                                                                          100.00000%
                                8138 S Fairfield Avenue
                                Chicago, IL 60652
   08/27/14           30109     HILARIO CRUZ                              Claim 000109, Payment                               5600-000                                  $2,600.00       $15,258,566.13
                                                                          100.00000%
                                333 Cherry Street
                                Blissfield, MI 49228
   08/27/14           30110     BETTY LOZICH                              Claim 000110, Payment                               5600-000                                  $2,186.00       $15,256,380.13
                                                                          100.00000%
                                9677 Grace Ave
                                Fontana, CA 92335
   08/27/14           30111     ARGO PARTNERS                             Claim 000111, Payment                               5600-000                                  $2,600.00       $15,253,780.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30112     LIQUIDITY SOLUTIONS, INC.                 Claim 000112, Payment                               5600-000                                  $2,600.00       $15,251,180.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30113     SECOND CHANCE CREDIT                      Claim 000113, Payment                               5600-000                                  $2,575.00       $15,248,605.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30114     MARY MERRICK                              Claim 000114, Payment                               5600-004                                     $348.00      $15,248,257.13
                                                                          100.00000%
                                2323 C Water Street, Trlr 30
                                Tucson, AZ 85719
   08/27/14           30115     ARGO PARTNERS                             Claim 000115, Payment                               5600-000                                  $2,600.00       $15,245,657.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $20,709.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30116     ARGO PARTNERS                             Claim 000116, Payment                               5600-000                                  $2,600.00       $15,243,057.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30117     MARGARET MADSEN                           Claim 000117A, Payment                              5600-000                                     $690.00      $15,242,367.13
                                                                          100.00000%
                                7436 N 87 St
                                Milwaukee, WI 53224
   08/27/14           30118     LIQUIDITY SOLUTIONS, INC.                 Claim 000118, Payment                               5600-000                                  $2,600.00       $15,239,767.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30119     SECOND CHANCE CREDIT                      Claim 000119, Payment                               5600-000                                  $1,397.00       $15,238,370.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30120     ARGO PARTNERS                             Claim 000120, Payment                               5600-000                                  $2,600.00       $15,235,770.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30121     CAROL DERANICK                            Claim 000121, Payment                               5600-000                                     $285.00      $15,235,485.13
                                                                          100.00000%
                                401A W 7th Street
                                Marshfield, WI 54449
   08/27/14           30122     ASSET RECOVERY MANAGEMENT,                Claim 000122, Payment                               5600-000                                  $2,600.00       $15,232,885.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30123     PAMELA HASKEL                             Claim 000123, Payment                               5600-000                                  $2,085.00       $15,230,800.13
                                                                          100.00000%
                                2401 Bow Court Bldg. #9
                                South Bend, IN 46628
   08/27/14           30124     EVERARDO GARCIA                           Claim 000124, Payment                               5600-000                                     $252.00      $15,230,548.13
                                                                          100.00000%
                                224 West Buckthorn St apt 5
                                Inglewood, CA 90301



                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $15,109.00
                                                                              Document          Page 23 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30125     SHIRLEY WILSON                            Claim 000125, Payment                               5600-000                                  $2,600.00       $15,227,948.13
                                                                          100.00000%
                                27954 Tate Rd
                                Sun City, CA 92585
   08/27/14           30126     ORTRUD CARTER                             Claim 000126, Payment                               5600-000                                     $775.00      $15,227,173.13
                                                                          100.00000%
                                c/o Tyree Michael Carter
                                PO Box 45035
                                Phoenix, AZ 85064
   08/27/14           30127     LETICIA ARROYO                            Claim 000128A, Payment                              5600-000                                     $507.00      $15,226,666.13
                                                                          100.00000%
                                4431 16th Street N
                                St. Petersburg, FL 33703
   08/27/14           30128     ARGO PARTNERS                             Claim 000129, Payment                               5600-000                                  $2,600.00       $15,224,066.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30129     ARGO PARTNERS                             Claim 000130, Payment                               5600-000                                  $2,600.00       $15,221,466.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30130     JOHN WILEY                                Claim 000131, Payment                               5600-004                                  $2,600.00       $15,218,866.13
                                                                          100.00000%
                                25 Massachusetts Ave
                                Rensselaer, NY 12144
   08/27/14           30131     CHRISTOPH BARTELS                         Claim 000132, Payment                               5600-000                                     $984.00      $15,217,882.13
                                                                          100.00000%
                                895 Lake Shore Dr
                                Eureka Springs, AR 72631
   08/27/14           30132     ASSET RECOVERY MANAGEMENT,                Claim 000133A, Payment                              5600-000                                  $2,600.00       $15,215,282.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30133     SECOND CHANCE CREDIT                      Claim 000134, Payment                               5600-000                                  $1,497.00       $15,213,785.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124


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                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $16,763.00
                                                                              Document          Page 24 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30134     ANDREW WOODS                              Claim 000135, Payment                               5600-004                                  $2,355.00       $15,211,430.13
                                                                          100.00000%
                                2734 Hunting Valley Lane
                                Katy, TX 77494
   08/27/14           30135     AARON HENNING                             Claim 000136, Payment                               5600-000                                  $2,294.00       $15,209,136.13
                                                                          100.00000%
                                2215 Omhaha St
                                Eau Claire, WI 54703
   08/27/14           30136     NATE FUQUA                                Claim 000138, Payment                               5600-000                                     $300.00      $15,208,836.13
                                                                          100.00000%
                                209 Stonewood Crossing
                                Boiling Springs, SC 29316
   08/27/14           30137     LIQUIDITY SOLUTIONS, INC.                 Claim 000139, Payment                               5600-000                                  $1,765.00       $15,207,071.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30138     GIULIO GANULATI                           Claim 000140, Payment                               5600-000                                  $1,400.00       $15,205,671.13
                                                                          100.00000%
                                3942 Brown Street
                                Oceanside, CA 92056
   08/27/14           30139     GAIL HUMPHRIES                            Claim 000141, Payment                               5600-000                                     $887.00      $15,204,784.13
                                                                          100.00000%
                                1204 5th Washington St. Apt. 317W
                                Alexandria, VA 22314
   08/27/14           30140     DONALD JOHNSON                            Claim 000142, Payment                               5600-004                                  $1,390.00       $15,203,394.13
                                                                          100.00000%
                                945 Richelieu St
                                Plainwell, MI 49080
   08/27/14           30141     ARGO PARTNERS                             Claim 000143, Payment                               5600-000                                  $2,600.00       $15,200,794.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30142     RONALD HOEKSEMA                           Claim 000144, Payment                               5600-004                                  $1,525.00       $15,199,269.13
                                                                          100.00000%
                                11201 Delmar
                                Richland, MI 49083




                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $14,516.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30143     BARBARA CHURCH                            Claim 000145, Payment                               5600-000                                     $801.00      $15,198,468.13
                                                                          100.00000%
                                3375 W. Bellevue Hwy
                                Olivet, MI 49076
   08/27/14           30144     LIQUIDITY SOLUTIONS, INC.                 Claim 000146, Payment                               5600-000                                  $1,937.00       $15,196,531.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30145     CHARLES REDMON                            Claim 000147, Payment                               5600-000                                     $521.00      $15,196,010.13
                                                                          100.00000%
                                800 Country Club Rd. Unit 53
                                Moorehead City, NC 228557
   08/27/14           30146     DONNA BOTZER                              Claim 000148, Payment                               5600-000                                     $362.00      $15,195,648.13
                                                                          100.00000%
                                3141 Citrus Street
                                Lemon Grove, CA 91945
   08/27/14           30147     CHER LINDAHL                              Claim 000151, Payment                               5600-000                                  $2,600.00       $15,193,048.13
                                                                          100.00000%
                                721 3rd Ave. E
                                Spencer, IA 51301
   08/27/14           30148     LIQUIDITY SOLUTIONS, INC.                 Claim 000152, Payment                               5600-000                                  $1,186.00       $15,191,862.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30149     ASSET RECOVERY MANAGEMENT,                Claim 000153, Payment                               5600-000                                  $2,600.00       $15,189,262.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30150     TRISHA DARLING                            Claim 000154, Payment                               5600-000                                     $733.00      $15,188,529.13
                                                                          100.00000%
                                15 Monroe Dr.
                                Davison, MI 48423
   08/27/14           30151     ARGO PARTNERS                             Claim 000155, Payment                               5600-000                                  $2,600.00       $15,185,929.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30152     CYNTHIA RIDGELL                     Claim 000156, Payment                                     5600-000                                     $747.00      $15,185,182.13
                                25389 Joseph WayHollywood, MD 20636 100.00000%


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                                                                                                                                                     Desc Main         $14,087.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30153     ARGO PARTNERS                             Claim 000157, Payment                               5600-000                                  $2,600.00       $15,182,582.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30154     ARGO PARTNERS                             Claim 000158, Payment                               5600-000                                  $2,600.00       $15,179,982.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30155     ROBERT KIRKNER                            Claim 000159, Payment                               5600-000                                     $750.00      $15,179,232.13
                                                                          100.00000%
                                132 White Oak Dr
                                King, NC 27021-9374
   08/27/14           30156     ROSALIO GARCIA                            Claim 000160, Payment                               5600-000                                     $964.00      $15,178,268.13
                                                                          100.00000%
                                1103 W. Brown Ave.
                                Fresno, CA 93705
   08/27/14           30157     ARGO PARTNERS                             Claim 000162, Payment                               5600-000                                  $2,600.00       $15,175,668.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30158     MICHAEL HAYWARD                           Claim 000163, Payment                               5600-000                                     $683.00      $15,174,985.13
                                                                          100.00000%
                                19116 Oxbow Drive
                                Marengo, IL 60152
   08/27/14           30159     DONNA MARTIN                              Claim 000164, Payment                               5600-000                                     $635.00      $15,174,350.13
                                                                          100.00000%
                                320 W Missouri
                                Trenton, IL 62293
   08/27/14           30160     TSEHAI ABATE                              Claim 000165, Payment                               5600-000                                  $2,600.00       $15,171,750.13
                                                                          100.00000%
                                39247 Seraphina Road
                                Murrieta, CA 92563
   08/27/14           30161     ARGO PARTNERS                             Claim 000167, Payment                               5600-000                                  $2,600.00       $15,169,150.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30162     LIQUIDITY SOLUTIONS, INC.                 Claim 000168, Payment                               5600-000                                  $2,361.00       $15,166,789.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30163     SHERYL GRAY                               Claim 000169, Payment                               5600-000                                     $429.00      $15,166,360.13
                                                                          100.00000%
                                1420 GA Hwy 85
                                Senoia, GA 30276
   08/27/14           30164     ARGO PARTNERS                             Claim 000170, Payment                               5600-000                                  $2,600.00       $15,163,760.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30165     ASSET RECOVERY MANAGEMENT,                Claim 000171, Payment                               5600-000                                  $2,600.00       $15,161,160.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30166     MONIQUE HAUSER                            Claim 000172, Payment                               5600-000                                     $635.00      $15,160,525.13
                                                                          100.00000%
                                2211 Barker Circle
                                West Chester, PA 19380
   08/27/14           30167     CRYSTEL AXEL                              Claim 000173A, Payment                              5600-000                                     $401.00      $15,160,124.13
                                                                          100.00000%
                                333 East Hazel street
                                Inglewood, CA 90302
   08/27/14           30168     SECOND CHANCE CREDIT                      Claim 000174, Payment                               5600-000                                     $725.00      $15,159,399.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30169     ASSET RECOVERY MANAGEMENT,                Claim 000175, Payment                               5600-000                                  $2,600.00       $15,156,799.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30170     DANA RODRIGUEZ-MEJIA                      Claim 000176, Payment                               5600-000                                     $922.00      $15,155,877.13
                                1514 S. 9th St., Apt. 3Watertown, WI      100.00000%
                                53094



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                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
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                                                                              Document          Page 28 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30171     MARILYN ANDERSON                          Claim 000178, Payment                               5600-000                                  $2,600.00       $15,153,277.13
                                                                          100.00000%
                                25 Voseck Ct Bldg 32
                                Lawrenceville, NJ 08648
   08/27/14           30172     ASSET RECOVERY MANAGEMENT,                Claim 000179, Payment                               5600-000                                  $2,600.00       $15,150,677.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike, Road, AL 36064
   08/27/14           30173     ARGO PARTNERS                             Claim 000180, Payment                               5600-000                                  $2,600.00       $15,148,077.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30174     JOSEPH LISKO                              Claim 000181, Payment                               5600-000                                     $829.00      $15,147,248.13
                                                                          100.00000%
                                105 Braddock Avenue
                                Summers Point, NJ 08244
   08/27/14           30175     VLADIMIR BOGATOV                          Claim 000182, Payment                               5600-000                                   $1,211.00      $15,146,037.13
                                                                          100.00000%
                                4322 Bland Rd
                                Raleigh, NC 27609
   08/27/14           30176     BRENDA PAULEY                             Claim 000183, Payment                               5600-000                                  $2,437.00       $15,143,600.13
                                                                          100.00000%
                                5234 N 97th Street
                                Kansas City, KS 66109
   08/27/14           30177     GERALD WIEDERHOLD                         Claim 000184, Payment                               5600-000                                     $180.00      $15,143,420.13
                                                                          100.00000%
                                198 Exeter Rd
                                Epping, NH 03042
   08/27/14           30178     ASSET RECOVERY MANAGEMENT,                Claim 000185, Payment                               5600-000                                  $2,583.00       $15,140,837.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30179     SHELIA SPIERING                           Claim 000186, Payment                               5600-004                                  $2,175.00       $15,138,662.13
                                                                          100.00000%
                                1008 B Kings Way
                                NEW BERN, NC 28561



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                                                                                                                                                     Desc Main         $17,215.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           30180     ASSET RECOVERY MANAGEMENT,               Claim 000187, Payment                               5600-000                                  $2,600.00       $15,136,062.13
                                LLC                                      100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30181     SANDRA ERICKSON                          Claim 000188, Payment                               5600-000                                     $332.00      $15,135,730.13
                                                                         100.00000%
                                1001 Burr Street
                                St. Paul, MN 55130
   08/27/14           30182     BRYAN SMITH                              Claim 000189, Payment                               5600-000                                     $696.00      $15,135,034.13
                                                                         100.00000%
                                18940 Hidden Valley Road
                                Guerneville, CA 95446
   08/27/14           30183     SEAN WALE                                Claim 000190, Payment                               5600-000                                  $2,600.00       $15,132,434.13
                                                                         100.00000%
                                5930 Highway 152 East
                                Rockwell, NC 28138
   08/27/14           30184     SHARON GIFFORD                           Claim 000191, Payment                               5600-000                                  $2,550.00       $15,129,884.13
                                                                         100.00000%
                                173 Gifford Valley Road
                                Northville, NY 12134
   08/27/14           30185     ASSET RECOVERY MANAGEMENT,               Claim 000192, Payment                               5600-000                                  $2,600.00       $15,127,284.13
                                LLC                                      100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30186     SECOND CHANCE CREDIT                     Claim 000194, Payment                               5600-000                                     $942.00      $15,126,342.13
                                OPPORTUNITIES,                           100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30187     ASSET RECOVERY MANAGEMENT,               Claim 000196, Payment                               5600-000                                  $2,600.00       $15,123,742.13
                                LLC                                      100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064




                                    Case 10-30631              Doc 5751        Page Subtotals:
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                                                                                                                                                    Desc Main         $14,920.00
                                                                             Document          Page 30 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30188     RALPH COCOVE                              Claim 000197, Payment                               5600-000                                  $2,600.00       $15,121,142.13
                                                                          100.00000%
                                144 Silver Lake Rd
                                Bridgeton, NJ 08302
   08/27/14           30189     JOHN TAYLOR                               Claim 000198, Payment                               5600-000                                     $287.00      $15,120,855.13
                                                                          100.00000%
                                2201 S 50th St.
                                Kansas City, KS 66106
   08/27/14           30190     KATHRYN PIERCE                            Claim 000199A, Payment                              5600-004                                  $2,400.00       $15,118,455.13
                                                                          100.00000%
                                415 S Mcpherson Street
                                Fort Bragg, CA 95437
   08/27/14           30191     PATRICK MORONEY                           Claim 000201, Payment                               5600-004                                  $1,428.00       $15,117,027.13
                                                                          100.00000%
                                42 Carmen Harbor
                                Shirley, NY 11967
   08/27/14           30192     JOEL SLOPEY                               Claim 000202, Payment                               5600-000                                     $462.00      $15,116,565.13
                                                                          100.00000%
                                PO Box 10550
                                Pittsburgh, PA 15235
   08/27/14           30193     EVA SAN JOSE PEREZ                        Claim 000203, Payment                               5600-004                                     $398.00      $15,116,167.13
                                                                          100.00000%
                                14 Skylark Drive Apt 108
                                Larkspur, CA 94939
   08/27/14           30194     RICHARD CARTER                            Claim 000204, Payment                               5600-004                                     $300.00      $15,115,867.13
                                                                          100.00000%
                                3747 W 65th Place
                                Chicago, IL 60629
   08/27/14           30195     ANTHONY IDIGO                             Claim 000205, Payment                               5600-000                                  $2,600.00       $15,113,267.13
                                                                          100.00000%
                                369 Park Street
                                Hackensack, NJ 07601
   08/27/14           30196     ARGO PARTNERS                             Claim 000206, Payment                               5600-000                                  $2,600.00       $15,110,667.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30197     WILLIAM BALLARD                           Claim 000207, Payment                               5600-000                                  $2,600.00       $15,108,067.13
                                c/o Azar and Azar                         100.00000%



                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $15,675.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30198     LOUIS CHABUEL                             Claim 000208, Payment                               5600-004                                  $2,600.00       $15,105,467.13
                                                                          100.00000%
                                1405 Farrell Ave Lot 135
                                Cherry Hill, NJ 08002
   08/27/14           30199     ALLISON HUNT                              Claim 000209, Payment                               5600-000                                     $351.00      $15,105,116.13
                                                                          100.00000%
                                3433 McQueen Road
                                Red Springs, NC 28377
   08/27/14           30200     MARGARET BROOKS                           Claim 000210A, Payment                              5600-000                                     $462.00      $15,104,654.13
                                                                          100.00000%
                                PO BOX 107
                                Arcadia, SC 29320
   08/27/14           30201     ODESSA WAGNER                             Claim 000211, Payment                               5600-004                                  $2,449.00       $15,102,205.13
                                                                          100.00000%
                                5233 Turney Rd 202
                                Garfield Heights, OH 44125
   08/27/14           30202     LIQUIDITY SOLUTIONS, INC.                 Claim 000212, Payment                               5600-000                                  $1,893.00       $15,100,312.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30203     ARGO PARTNERS                             Claim 000213, Payment                               5600-000                                  $2,600.00       $15,097,712.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30204     EDWIN DIAZ                                Claim 000215, Payment                               5600-000                                     $557.00      $15,097,155.13
                                                                          100.00000%
                                3801 Ave L Apt B1
                                Brooklyn, NY 11210
   08/27/14           30205     LEATHA JOHNSON                            Claim 000216, Payment                               5600-000                                     $411.00      $15,096,744.13
                                                                          100.00000%
                                98-15 Horace Harding Expy 9K
                                Corona, NY 11368
   08/27/14           30206     HENRY DILORENZO                           Claim 000217, Payment                               5600-000                                     $217.00      $15,096,527.13
                                                                          100.00000%
                                425 Robin Street
                                Dunkirk, NY 14048




                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $11,540.00
                                                                              Document          Page 32 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30207     ANN MCDOWELL                              Claim 000218, Payment                               5600-000                                     $296.00      $15,096,231.13
                                                                          100.00000%
                                75 DeMaio Drive Unit C20
                                Milford, CT 06460-4381
   08/27/14           30208     JOSEPH KESSLER                            Claim 000219, Payment                               5600-000                                  $2,600.00       $15,093,631.13
                                                                          100.00000%
                                18 Sawyer Brook Circle
                                South Portland, ME 04106
   08/27/14           30209     MICHIKO HIKITA                            Claim 000220, Payment                               5600-000                                     $176.00      $15,093,455.13
                                                                          100.00000%
                                1324 Keeaumoku St. Apt. 402
                                Honolulu, HI 96814
   08/27/14           30210     STANA BRADFORD                            Claim 000221, Payment                               5600-000                                     $493.00      $15,092,962.13
                                                                          100.00000%
                                1265 Elizabeth St.
                                Denver, CO 80206
   08/27/14           30211     RAMONA BORDAYO                            Claim 000222, Payment                               5600-000                                  $2,455.00       $15,090,507.13
                                                                          100.00000%
                                PO Box 655
                                Mathis, TX 78368
   08/27/14           30212     MICHAEL TOONE                             Claim 000224A, Payment                              5600-000                                     $325.00      $15,090,182.13
                                                                          100.00000%
                                1910 Busy Bee Road
                                South Hills, VA 23970
   08/27/14           30213     KEVIN MURPHY                              Claim 000225, Payment                               5600-004                                  $2,600.00       $15,087,582.13
                                                                          100.00000%
                                1376 Haywood Street
                                Haw River, NC 27258
   08/27/14           30214     BIRKETT SEGARS                            Claim 000226, Payment                               5600-000                                  $2,336.00       $15,085,246.13
                                                                          100.00000%
                                3011 W Woodbine Ave
                                Florence, SC 29501
   08/27/14           30215     ARTHUR H HOWARD                           Claim 000228, Payment                               5600-000                                     $220.00      $15,085,026.13
                                                                          100.00000%
                                909 Allen Ave.
                                W. St. Paul, MN 55118




                                    Case 10-30631               Doc 5751        Page Subtotals:
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                                                                                                                                                     Desc Main         $11,501.00
                                                                              Document          Page 33 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30216     TAMMY GRIFFEY                             Claim 000229, Payment                               5600-000                                     $919.00      $15,084,107.13
                                                                          100.00000%
                                PO BOX 3024
                                Jonesboro, AR 72403
   08/27/14           30217     JAMES STEVENS                             Claim 000230, Payment                               5600-004                                     $278.00      $15,083,829.13
                                                                          100.00000%
                                11701 Hwy 31N
                                Ward, AR 72176
   08/27/14           30218     ARNALDO HERNANDEZ                         Claim 000231, Payment                               5600-000                                     $900.00      $15,082,929.13
                                                                          100.00000%
                                142 Laurel Hill Terrace Apt 1K
                                New York, NY 10040
   08/27/14           30219     HILDA SUMRALL                             Claim 000232, Payment                               5600-000                                  $2,600.00       $15,080,329.13
                                                                          100.00000%
                                61 Little Pacific Drive
                                Hattiesburg, MS 39402
   08/27/14           30220     DAVID MARTIN                              Claim 000233, Payment                               5600-000                                  $2,600.00       $15,077,729.13
                                                                          100.00000%
                                20601 SW 122nd Court
                                Miami, FL 33177
   08/27/14           30221     SANDRA FINDLAY                            Claim 000234, Payment                               5600-000                                  $2,600.00       $15,075,129.13
                                                                          100.00000%
                                1465 SW 46th Avenue
                                Ft Lauderdale, FL 33312
   08/27/14           30222     ARGO PARTNERS                             Claim 000235, Payment                               5600-000                                  $2,600.00       $15,072,529.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30223     STEVEN COOPERMAN                          Claim 000236, Payment                               5600-004                                  $2,600.00       $15,069,929.13
                                                                          100.00000%
                                2 Aspetuck Hill Lane
                                Weston, CT 06883
   08/27/14           30224     ARGO PARTNERS                             Claim 000237, Payment                               5600-000                                  $2,600.00       $15,067,329.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                              Document          Page 34 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30225     BARBARA JOHNSON                           Claim 000238, Payment                               5600-000                                     $409.00      $15,066,920.13
                                                                          100.00000%
                                1224 Windy Branch way
                                Edgewood, MD 21040
   08/27/14           30226     LIQUIDITY SOLUTIONS, INC.                 Claim 000239A, Payment                              5600-000                                  $1,100.00       $15,065,820.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30227     MARGERY O`NEIL                            Claim 000240A, Payment                              5600-000                                     $770.00      $15,065,050.13
                                                                          100.00000%
                                12203 Woodside Dr
                                Grand Blanc, MI 48439
   08/27/14           30228     ARGO PARTNERS                             Claim 000241, Payment                               5600-000                                  $2,600.00       $15,062,450.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30229     BRUCE RATZ                                Claim 000242, Payment                               5600-000                                     $390.00      $15,062,060.13
                                                                          100.00000%
                                149 Beverly Rd
                                Babylon, NY 11702
   08/27/14           30230     PATT POK                                  Claim 000243, Payment                               5600-000                                  $2,600.00       $15,059,460.13
                                                                          100.00000%
                                2919 AMHERST DRIVE
                                STOCKTON, CA 95209
   08/27/14           30231     ROCHELLE ALLEN                            Claim 000244, Payment                               5600-000                                     $300.00      $15,059,160.13
                                                                          100.00000%
                                9229 S UNION AVE
                                Chicago, IL 60620
   08/27/14           30232     JOYE WENTZ                                Claim 000245, Payment                               5600-004                                     $302.00      $15,058,858.13
                                                                          100.00000%
                                2460 Old Millersport Rd
                                Lancaster, OH 43130
   08/27/14           30233     JOE LEVITSKY                              Claim 000246, Payment                               5600-000                                     $392.00      $15,058,466.13
                                                                          100.00000%
                                14601 Orchard Park Ave
                                Cleveland, OH 44111




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                                                                              Document          Page 35 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                          Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                        Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX3661
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                        ($)
   08/27/14           30234     ASSET RECOVERY MANAGEMENT,                 Claim 000247A, Payment                              5600-000                                  $2,600.00       $15,055,866.13
                                LLC                                        100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30235     RONALD AND ELIZABETH SAAD                  Claim 000248, Payment                               5600-000                                     $447.00      $15,055,419.13
                                                                           100.00000%
                                2081 Valley Vista Drive
                                Davison, MI 48423
   08/27/14           30236     SANDRA CREIGHTON                           Claim 000249, Payment                               5600-000                                     $915.00      $15,054,504.13
                                                                           100.00000%
                                3421 NW 44 St #202-15
                                Lauderdale Lakes, FL 33309
   08/27/14           30237     KATIE BAILEY                               Claim 000251, Payment                               5600-000                                     $447.00      $15,054,057.13
                                                                           100.00000%
                                312 Eagerton Road
                                Montgomery, AL 36116
   08/27/14           30238     RONI THOMSON                               Claim 000252, Payment                               5600-000                                     $300.00      $15,053,757.13
                                                                           100.00000%
                                361 North 730 East
                                Soda Springs, ID 83276
   08/27/14           30239     JESSE BROWN                                Claim 000253, Payment                               5600-000                                  $2,600.00       $15,051,157.13
                                                                           100.00000%
                                5407 Dutch Iris Court
                                Elk Grove, CA 95757
   08/27/14           30240     YVETTE LANE                                Claim 000254A, Payment                              5600-000                                  $2,525.00       $15,048,632.13
                                                                           100.00000%
                                7339 South Mozart St.
                                Chicago, IL 60629
   08/27/14           30241     TATIANA HAHN                               Claim 000255A, Payment                              5600-000                                     $584.00      $15,048,048.13
                                2111 S. Accolade Ave., Apt. 205Meridian,   100.00000%
                                ID 83642
   08/27/14           30242     MARILYN LEE                                Claim 000256, Payment                               5600-004                                     $312.00      $15,047,736.13
                                                                           100.00000%
                                3643 Salem Walk Apt B-1
                                Northbrook, IL 60062




                                    Case 10-30631               Doc 5751         Page Subtotals:
                                                                                Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
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                                                                               Document          Page 36 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30243     JAMES MEYERS                              Claim 000257, Payment                               5600-000                                      $30.00      $15,047,706.13
                                                                          100.00000%
                                5304 Hartford Rd B203
                                Baltimore, MD 21214
   08/27/14           30244     RICHARD MCCOID                            Claim 000258, Payment                               5600-000                                     $813.00      $15,046,893.13
                                                                          100.00000%
                                228 Stephens Run Street
                                Stephens City, VA 22655
   08/27/14           30245     BARBARA COCHRAN                           Claim 000259, Payment                               5600-000                                     $903.00      $15,045,990.13
                                                                          100.00000%
                                29 Walnut Street
                                Attleboro, MA 02703
   08/27/14           30246     FRED LONG                                 Claim 000260, Payment                               5600-000                                  $1,989.00       $15,044,001.13
                                                                          100.00000%
                                4171 N E 17th Ave
                                Pompano Beach, FL 33064
   08/27/14           30247     LIQUIDITY SOLUTIONS, INC.                 Claim 000261, Payment                               5600-000                                  $1,962.00       $15,042,039.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30248     NICHOLAS ROMEO                            Claim 000263, Payment                               5600-000                                     $611.00      $15,041,428.13
                                                                          100.00000%
                                8 Hammer Land
                                Walden, NY 12586
   08/27/14           30249     DEANNA BELDEN                             Claim 000264, Payment                               5600-000                                     $147.00      $15,041,281.13
                                                                          100.00000%
                                445 Pickle Hill Rd
                                Fort Plain, NY 13339
   08/27/14           30250     ANTHONY EMANUELE                          Claim 000265A, Payment                              5600-000                                  $2,014.00       $15,039,267.13
                                                                          100.00000%
                                5050 South 69th St
                                Greenfield, WI 53220
   08/27/14           30251     ARGO PARTNERS                             Claim 000266, Payment                               5600-000                                  $2,600.00       $15,036,667.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751       Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


       1                2                           3                                             4                                                   5                6                     7

Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30252     ASSET RECOVERY MANAGEMENT,                Claim 000267, Payment                               5600-000                                  $2,600.00       $15,034,067.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike, Road, AL 36064
   08/27/14           30253     LIQUIDITY SOLUTIONS, INC.                 Claim 000269, Payment                               5600-000                                  $2,600.00       $15,031,467.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30254     ARGO PARTNERS                             Claim 000270, Payment                               5600-000                                  $2,600.00       $15,028,867.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30255     KAREN JONES                               Claim 000271, Payment                               5600-000                                  $1,200.00       $15,027,667.13
                                                                          100.00000%
                                6112 Charleycote Drive
                                Raleigh, NC 27614
   08/27/14           30256     MAUREEN LEIDI                             Claim 000273, Payment                               5600-000                                     $257.00      $15,027,410.13
                                                                          100.00000%
                                PO Box 83
                                Calumet, MI 49913
   08/27/14           30257     TERRY HAHN                                Claim 000274, Payment                               5600-000                                     $554.00      $15,026,856.13
                                                                          100.00000%
                                1997 Heritage Oaks St.
                                Las Vegas, NV 89119
   08/27/14           30258     SALVADOR CASTRO                           Claim 000275, Payment                               5600-000                                  $2,600.00       $15,024,256.13
                                                                          100.00000%
                                259 Macarther Blvd 201
                                Oakland, CA 94610
   08/27/14           30259     ASSET RECOVERY MANAGEMENT,                Claim 000276, Payment                               5600-000                                  $2,600.00       $15,021,656.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30260     ARGO PARTNERS                             Claim 000277, Payment                               5600-000                                  $2,600.00       $15,019,056.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $17,611.00
                                                                              Document          Page 38 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30261     LIQUIDITY SOLUTIONS                       Claim 000278, Payment                               5600-000                                  $2,600.00       $15,016,456.13
                                One University Plaza, Ste.                100.00000%
                                312Hackensack, NJ 07601
   08/27/14           30262     DUSTIN WILEY                              Claim 000279, Payment                               5600-000                                  $2,455.00       $15,014,001.13
                                                                          100.00000%
                                1050 Highland Park Boulevard
                                Lorain, OH 44052
   08/27/14           30263     NANCY VAN WYK                             Claim 000280, Payment                               5600-004                                     $952.00      $15,013,049.13
                                                                          100.00000%
                                1114 Bliss St.
                                Grinnell, IA 50112
   08/27/14           30264     VALERIE ELLIS                             Claim 000281, Payment                               5600-000                                  $1,671.00       $15,011,378.13
                                272 Kenyon Dr.Troy, MI 48083              100.00000%
   08/27/14           30265     YOCANDA CASTILLO                          Claim 000282, Payment                               5600-000                                  $2,600.00       $15,008,778.13
                                                                          100.00000%
                                12021 Pounds Avenue
                                Whittier, CA 90604
   08/27/14           30266     ARGO PARTNERS                             Claim 000283, Payment                               5600-000                                  $2,600.00       $15,006,178.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30267     DOREEN ST PIERRE                          Claim 000286, Payment                               5600-000                                     $750.00      $15,005,428.13
                                                                          100.00000%
                                26 Upper Deerfield Rd
                                Northwood, NH 03261
   08/27/14           30268     CRAIG DANDER                              Claim 000287, Payment                               5600-000                                  $1,093.00       $15,004,335.13
                                                                          100.00000%
                                1330 Bluegrass Ln
                                Tracy, CA 95377
   08/27/14           30269     L` TANYA SETTLER                          Claim 000288, Payment                               5600-000                                  $1,021.00       $15,003,314.13
                                                                          100.00000%
                                9339 Somerset Blvd
                                Bellflower, CA 90706
   08/27/14           30270     HILDA PASOUR                              Claim 000290A, Payment                              5600-000                                  $2,600.00       $15,000,714.13
                                                                          100.00000%
                                932 Caroline Cir
                                Kings Mountain, NC 28086




                                    Case 10-30631                Doc 5751       Page Subtotals:
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                                                                                                                                                     Desc Main         $18,342.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30271     MARK BURBAGE                              Claim 000291, Payment                               5600-004                                     $450.00      $15,000,264.13
                                                                          100.00000%
                                2103 ABIGAIL LN SW
                                AIKEN, SC 29803
   08/27/14           30272     WANDA STANLEY                             Claim 000292, Payment                               5600-000                                     $639.00      $14,999,625.13
                                                                          100.00000%
                                2674 George Parott Rd
                                Cadwell, GA 31009
   08/27/14           30273     ARGO PARTNERS                             Claim 000293, Payment                               5600-000                                  $2,600.00       $14,997,025.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30274     SHELDON VOIGT                             Claim 000294, Payment                               5600-000                                  $2,600.00       $14,994,425.13
                                                                          100.00000%
                                363 East 1900 South
                                Clearfield, UT 84015
   08/27/14           30275     LIQUIDITY SOLUTIONS, INC.                 Claim 000295, Payment                               5600-000                                  $2,092.00       $14,992,333.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30276     LIQUIDITY SOLUTIONS, INC.                 Claim 000296, Payment                               5600-000                                  $2,243.00       $14,990,090.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30277     PATTY MURRELL                             Claim 000297, Payment                               5600-000                                     $309.00      $14,989,781.13
                                                                          100.00000%
                                3360 FORT LEWIS CIR
                                SALEM, VA 24153-2018
   08/27/14           30278     SHARON CUMMING                            Claim 000298, Payment                               5600-000                                     $298.00      $14,989,483.13
                                                                          100.00000%
                                6000 S. Land Park Dr. #253
                                Sacramento, CA 95822-3377
   08/27/14           30279     WILSON DAVID                              Claim 000299, Payment                               5600-000                                  $1,217.00       $14,988,266.13
                                                                          100.00000%
                                20 ROOSEVELT AVE GARAGE APT
                                BELLEVILLE, NJ 07109




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                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30280     ASSET RECOVERY MANAGEMENT,                Claim 000300, Payment                               5600-000                                  $2,600.00       $14,985,666.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30281     ARGO PARTNERS                             Claim 000302, Payment                               5600-000                                  $2,600.00       $14,983,066.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30282     DONNA SWEENEY                             Claim 000303, Payment                               5600-000                                  $2,600.00       $14,980,466.13
                                                                          100.00000%
                                200 Capeview Lane
                                Anderson, SC 29626
   08/27/14           30283     MARY SMETTERS                             Claim 000304, Payment                               5600-004                                     $990.00      $14,979,476.13
                                                                          100.00000%
                                885 E 7th Street, Apt. 2
                                Beaumont, CA 92223-2362
   08/27/14           30284     ASSET RECOVERY MANAGEMENT,                Claim 000305, Payment                               5600-000                                  $2,600.00       $14,976,876.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30285     ASSET RECOVERY MANAGEMENT,                Claim 000306, Payment                               5600-000                                  $2,600.00       $14,974,276.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30286     JEREMY LANE                               Claim 000307, Payment                               5600-000                                     $642.00      $14,973,634.13
                                                                          100.00000%
                                106 Yester Oaks Way East Apt. C
                                Greensboro, NC 27455
   08/27/14           30287     SECOND CHANCE CREDIT                      Claim 000308, Payment                               5600-000                                  $2,389.00       $14,971,245.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124




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                                                                                                                                                     Desc Main         $17,021.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30288     SECOND CHANCE CREDIT                      Claim 000309, Payment                               5600-000                                  $2,423.00       $14,968,822.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30289     MELVIN WAITES                             Claim 000310, Payment                               5600-000                                  $2,585.00       $14,966,237.13
                                                                          100.00000%
                                PO Box 1632
                                Fairmont, WV 26555
   08/27/14           30290     BRUCE BEAVERS                             Claim 000311, Payment                               5600-000                                     $627.00      $14,965,610.13
                                                                          100.00000%
                                417 Rothrock Avenue
                                Attalla, AL 35954
   08/27/14           30291     CHRISTOPHER PIRRONE                       Claim 000312, Payment                               5600-000                                     $499.00      $14,965,111.13
                                                                          100.00000%
                                62 West Walnut St
                                Long Beach, NY 11561
   08/27/14           30292     LONNIE GROENDES                           Claim 000313, Payment                               5600-000                                     $368.00      $14,964,743.13
                                4434 Old Battleground Rd., Unit           100.00000%
                                318Greensboro, NC 27410
   08/27/14           30293     JANIE COOLEY WADE                         Claim 000314, Payment                               5600-000                                  $2,317.00       $14,962,426.13
                                                                          100.00000%
                                79 Ralls Road
                                Hogansville, GA 30230
   08/27/14           30294     ANNA GIGANTE                              Claim 000315, Payment                               5600-000                                     $449.00      $14,961,977.13
                                                                          100.00000%
                                825 Brighton Road
                                Tonawanda, NY 14150
   08/27/14           30295     ARGO PARTNERS                             Claim 000316, Payment                               5600-000                                  $2,600.00       $14,959,377.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30296     MICHAEL LALLONE                           Claim 000317, Payment                               5600-000                                     $841.00      $14,958,536.13
                                                                          100.00000%
                                8 Stevenson Street
                                Waretown, NJ 08758-2134




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30297     SECOND CHANCE CREDIT                      Claim 000318, Payment                               5600-000                                  $1,221.00       $14,957,315.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30298     STEVE KESSLER                             Claim 000319, Payment                               5600-000                                  $2,600.00       $14,954,715.13
                                                                          100.00000%
                                770 Lindsay Lane
                                Florissant, MO 63031
   08/27/14           30299     DAN DROSSEL                               Claim 000320, Payment                               5600-000                                     $353.00      $14,954,362.13
                                                                          100.00000%
                                2727 South 7th St
                                Sheboygan, WI 53081
   08/27/14           30300     JIM SISTO                                 Claim 000321, Payment                               5600-000                                     $587.00      $14,953,775.13
                                                                          100.00000%
                                1795 Goldsboro Lane
                                Crystal Lake, IL 60014
   08/27/14           30301     ASSET RECOVERY MANAGEMENT,                Claim 000322, Payment                               5600-000                                  $2,600.00       $14,951,175.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30302     MARIA SAGUN                               Claim 000323A, Payment                              5600-004                                  $1,762.00       $14,949,413.13
                                                                          100.00000%
                                4200 Bay St Apt 137
                                Fremont, CA 94538
   08/27/14           30303     CHAD UNICK                                Claim 000324, Payment                               5600-000                                     $244.00      $14,949,169.13
                                                                          100.00000%
                                5923 Cheryl Court
                                Ferndale, WA 98248
   08/27/14           30304     ARGO PARTNERS                             Claim 000325, Payment                               5600-000                                  $2,600.00       $14,946,569.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30305     JENNIFER FOPEANO                          Claim 000326, Payment                               5600-000                                  $2,600.00       $14,943,969.13
                                                                          100.00000%
                                392 Spotswood-Gravel Hill Rd.
                                Monroe, NJ 08831



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30306     DWAYNE HAYWOOD                            Claim 000327, Payment                               5600-000                                  $2,002.00       $14,941,967.13
                                                                          100.00000%
                                118 N Central Ave
                                Chicago, IL 60644
   08/27/14           30307     BETTY BELL                                Claim 000328, Payment                               5600-000                                     $761.00      $14,941,206.13
                                                                          100.00000%
                                4 Heals Farm Road
                                Burlington, NJ 08016
   08/27/14           30308     LIQUIDITY SOLUTIONS, INC.                 Claim 000329, Payment                               5600-000                                  $2,153.00       $14,939,053.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30309     LIQUIDITY SOLUTIONS, INC.                 Claim 000330, Payment                               5600-000                                  $1,735.00       $14,937,318.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30310     JANET OLTER                               Claim 000331, Payment                               5600-000                                  $2,600.00       $14,934,718.13
                                24400 Berry Ave.Warren, MI 48089          100.00000%
   08/27/14           30311     ROBERT DUHON                              Claim 000332, Payment                               5600-000                                     $239.00      $14,934,479.13
                                3030 Congress Blvd., Apt. 122Baton        100.00000%
                                Rouge, LA 70808
   08/27/14           30312     MARTIN AREVALO                            Claim 000333, Payment                               5600-000                                  $2,600.00       $14,931,879.13
                                                                          100.00000%
                                410 Spruce Place
                                Uniondale, NY 11553
   08/27/14           30313     PHILLIP HOLLAND                           Claim 000334, Payment                               5600-000                                  $2,600.00       $14,929,279.13
                                                                          100.00000%
                                273 Acacia Street
                                Altadena, CA 91001
   08/27/14           30314     KEVIN FARREN                              Claim 000335, Payment                               5600-000                                  $1,751.00       $14,927,528.13
                                                                          100.00000%
                                710 Macfarlane Drive
                                Pittsburgh, PA 15235
   08/27/14           30315     WILLIAM BAIER                             Claim 000336, Payment                               5600-000                                     $184.00      $14,927,344.13
                                                                          100.00000%
                                30 Twisting Drive
                                Lake Grove, NY 11755




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30316     HOWARD GROSS                              Claim 000337, Payment                               5600-000                                     $540.00      $14,926,804.13
                                                                          100.00000%
                                59 Valley Forge Rd
                                New Castle, DE 19720-4243
   08/27/14           30317     GRACE LANG                                Claim 000338, Payment                               5600-004                                  $2,600.00       $14,924,204.13
                                                                          100.00000%
                                2043 Whitehall Pl
                                Alameda, CA 94501
   08/27/14           30318     JULIA TRUSTY                              Claim 000339, Payment                               5600-000                                     $340.00      $14,923,864.13
                                                                          100.00000%
                                236 E South St.
                                Hillsboro, OH 45133
   08/27/14           30319     RICHARD THOMPSON                          Claim 000340, Payment                               5600-000                                     $739.00      $14,923,125.13
                                                                          100.00000%
                                615 Broadway Street
                                Superior, WI 54880
   08/27/14           30320     EVELYN HARRIS                             Claim 000341, Payment                               5600-000                                     $376.00      $14,922,749.13
                                                                          100.00000%
                                3408 Winterhaven Ave. Unit 202
                                Las Vegas, NV 89108
   08/27/14           30321     SAL SPITALIERI                            Claim 000342, Payment                               5600-000                                     $314.00      $14,922,435.13
                                                                          100.00000%
                                PO BOX 1661
                                Lindenhurst, NY 11757
   08/27/14           30322     JAMES CALANDRINO                          Claim 000343, Payment                               5600-000                                     $992.00      $14,921,443.13
                                                                          100.00000%
                                3 Linden Lane
                                Farmingville, NY 11738
   08/27/14           30323     MARY BOOBAR                               Claim 000344, Payment                               5600-000                                     $169.00      $14,921,274.13
                                                                          100.00000%
                                PO Box 59
                                Howsland, ME 04448
   08/27/14           30324     ARGO PARTNERS                             Claim 000345, Payment                               5600-000                                  $2,600.00       $14,918,674.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30325     ARGO PARTNERS                             Claim 000346, Payment                               5600-000                                  $2,600.00       $14,916,074.13
                                12 West 37th St., 9th Fl.New York, NY     100.00000%



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30326     KENT TYDRICH                              Claim 000347, Payment                               5600-000                                     $973.00      $14,915,101.13
                                                                          100.00000%
                                404 N. Main St.
                                Oregon, WI 53575
   08/27/14           30327     ARGO PARTNERS                             Claim 000348, Payment                               5600-000                                  $2,600.00       $14,912,501.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30328     LIQUIDITY SOLUTIONS, INC.                 Claim 000349, Payment                               5600-000                                  $1,243.00       $14,911,258.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30329     KENLUND QUON                              Claim 000350, Payment                               5600-000                                  $1,930.00       $14,909,328.13
                                                                          100.00000%
                                3004 Aptos Ave
                                Hacienda Heights, CA 91745
   08/27/14           30330     ARGO PARTNERS                             Claim 000352, Payment                               5600-000                                  $2,600.00       $14,906,728.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30331     SETH LOWRY                                Claim 000353, Payment                               5600-000                                     $245.00      $14,906,483.13
                                14420 N. 150th Ln.Surprise, AZ 85379      100.00000%
   08/27/14           30332     PEGGY PETERS                              Claim 000354, Payment                               5600-000                                  $1,324.00       $14,905,159.13
                                                                          100.00000%
                                149 Bowen Road North
                                Chatsworth, GA 30705
   08/27/14           30333     SECOND CHANCE CREDIT                      Claim 000355, Payment                               5600-000                                  $1,478.00       $14,903,681.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30334     ARGO PARTNERS                             Claim 000356A, Payment                              5600-000                                  $2,600.00       $14,901,081.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30335     KENNETH MODICA                            Claim 000357, Payment                               5600-000                                  $2,325.00       $14,898,756.13
                                                                          100.00000%
                                1034 Captains Table Rd.
                                Sacramento, CA 95882


                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $17,318.00
                                                                              Document          Page 46 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30336     DEBRA DRAKE                               Claim 000358, Payment                               5600-000                                  $2,600.00       $14,896,156.13
                                                                          100.00000%
                                94 South Monroe St.
                                Beverly Hills, FL 34465
   08/27/14           30337     STEVEN DAQUIENO                           Claim 000359, Payment                               5600-000                                  $1,489.00       $14,894,667.13
                                                                          100.00000%
                                115 Ilyssa Way
                                Staten Island, NY 10312
   08/27/14           30338     ARGO PARTNERS                             Claim 000361, Payment                               5600-000                                  $2,600.00       $14,892,067.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30339     LOUIS MUZIO                               Claim 000362, Payment                               5600-000                                     $541.00      $14,891,526.13
                                                                          100.00000%
                                15 Mayfair Road
                                Yonkers, NY 10710
   08/27/14           30340     JOHN BELLEZI                              Claim 000363, Payment                               5600-000                                  $2,600.00       $14,888,926.13
                                                                          100.00000%
                                170 Wilbar Drive
                                Stratford, CT 06614
   08/27/14           30341     LIQUIDITY SOLUTIONS, INC.                 Claim 000364, Payment                               5600-000                                  $2,600.00       $14,886,326.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30342     ARGO PARTNERS                             Claim 000365, Payment                               5600-000                                  $2,600.00       $14,883,726.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30343     HOWARD JOHNSON                            Claim 000366, Payment                               5600-000                                     $620.00      $14,883,106.13
                                                                          100.00000%
                                330 Kitty Hawk Road 2204
                                Universal City, TX 78148
   08/27/14           30344     HAZEL HINDSMAN                            Claim 000367, Payment                               5600-004                                  $2,600.00       $14,880,506.13
                                                                          100.00000%
                                327 Meadowgrove Drive
                                Englewood, OH 45322




                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $18,250.00
                                                                              Document          Page 47 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           30345     ASSET RECOVERY MANAGEMENT,               Claim 000368, Payment                               5600-000                                  $2,600.00       $14,877,906.13
                                LLC                                      100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30346     CYNTHIA HAMILTON                         Claim 000369, Payment                               5600-000                                     $366.00      $14,877,540.13
                                                                         100.00000%
                                13158 Flamingo Ct
                                Apple Valley, MN 55124
   08/27/14           30347     HARRY JACKSON                            Claim 000370, Payment                               5600-000                                  $2,525.00       $14,875,015.13
                                                                         100.00000%
                                75 Vickers Road
                                Quincy, FL 32352
   08/27/14           30348     HESTER REED                              Claim 000371, Payment                               5600-000                                  $1,295.00       $14,873,720.13
                                                                         100.00000%
                                46 Main St
                                Farmington, DE 19950
   08/27/14           30349     RICHARD YAROSH                           Claim 000372, Payment                               5600-000                                  $2,220.00       $14,871,500.13
                                                                         100.00000%
                                9 Sandpointe Shores Drive
                                East Falmouth, MA 02536-4738
   08/27/14           30350     TERRI BALM                               Claim 000373, Payment                               5600-000                                     $814.00      $14,870,686.13
                                                                         100.00000%
                                605 Rake Street
                                Otho, IA 50569
   08/27/14           30351     MICHAEL SULLIVAN                         Claim 000374, Payment                               5600-000                                     $924.00      $14,869,762.13
                                                                         100.00000%
                                731 Charter Woods Drive
                                Indianapolis, IN 46224
   08/27/14           30352     SECOND CHANCE CREDIT                     Claim 000375, Payment                               5600-000                                     $701.00      $14,869,061.13
                                OPPORTUNITIES,                           100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30353     RAYMOND PHELAN                           Claim 000376, Payment                               5600-000                                     $970.00      $14,868,091.13
                                                                         100.00000%
                                3060 Lasalle Avenue
                                Bronx, NY 10461



                                    Case 10-30631              Doc 5751        Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                    Desc Main         $12,415.00
                                                                             Document          Page 48 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30354     DWAYNE WELTY                              Claim 000377, Payment                               5600-004                                  $1,542.00       $14,866,549.13
                                                                          100.00000%
                                PO BOX 177
                                Percy, IL 62272
   08/27/14           30355     DIANE BRUINGTON                           Claim 000378, Payment                               5600-000                                     $847.00      $14,865,702.13
                                                                          100.00000%
                                1930 Yahi Ln
                                Redding, CA 96002
   08/27/14           30356     BEN WONG                                  Claim 000379, Payment                               5600-004                                  $2,600.00       $14,863,102.13
                                                                          100.00000%
                                232 E Emerson Avenue C
                                Monterey Park, CA 91755
   08/27/14           30357     ASSET RECOVERY MANAGEMENT,                Claim 000380, Payment                               5600-000                                  $2,600.00       $14,860,502.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30358     FREDDIE JACKSON                           Claim 000381, Payment                               5600-000                                  $1,235.00       $14,859,267.13
                                                                          100.00000%
                                29324 SW 142nd Place
                                Homestead, FL 33033-3022
   08/27/14           30359     DAVID SNYDER                              Claim 000383, Payment                               5600-000                                     $446.00      $14,858,821.13
                                                                          100.00000%
                                PO BOX 3
                                Sandy Ridge, PA 16677
   08/27/14           30360     ARGO PARTNERS                             Claim 000384, Payment                               5600-000                                  $2,600.00       $14,856,221.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30361     ARGO PARTNERS                             Claim 000385, Payment                               5600-000                                  $2,600.00       $14,853,621.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30362     LIQUIDITY SOLUTIONS, INC.                 Claim 000386, Payment                               5600-000                                  $2,600.00       $14,851,021.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
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                                                                              Document          Page 49 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           30363     SECOND CHANCE CREDIT                     Claim 000387, Payment                               5600-000                                     $747.00      $14,850,274.13
                                OPPORTUNITIES,                           100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30364     THEODORE MUSCHIO                         Claim 000388, Payment                               5600-000                                     $483.00      $14,849,791.13
                                                                         100.00000%
                                231 Bayview Ave.
                                Merrick, NY 11566
   08/27/14           30365     DIANE TAYLOR                             Claim 000389A, Payment                              5600-000                                  $1,535.00       $14,848,256.13
                                                                         100.00000%
                                10255 County Rd 32 Number 16
                                Fairhope, AL 36532
   08/27/14           30366     LAURA LARGENT                            Claim 000390, Payment                               5600-000                                     $286.00      $14,847,970.13
                                                                         100.00000%
                                41405 Harriettsville Rd
                                Lower Salem, OH 45745
   08/27/14           30367     DANIEL PREBONICK                         Claim 000391, Payment                               5600-000                                     $668.00      $14,847,302.13
                                                                         100.00000%
                                PO BOX 680243
                                Franklin, TN 37068
   08/27/14           30368     SECOND CHANCE CREDIT                     Claim 000393A, Payment                              5600-000                                  $1,556.00       $14,845,746.13
                                OPPORTUNITIES,                           100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30369     ROBIN AYERS                              Claim 000394, Payment                               5600-000                                  $1,250.00       $14,844,496.13
                                                                         100.00000%
                                39 Pilling Street
                                Brooklyn, NY 11207
   08/27/14           30370     SCOTT AND MEREDITH SAVOIE                Claim 000396, Payment                               5600-000                                     $351.00      $14,844,145.13
                                                                         100.00000%
                                3214 Parkdale Dr.
                                Kingwood, TX 77339
   08/27/14           30371     LEROY COLLINS                            Claim 000397, Payment                               5600-000                                  $2,600.00       $14,841,545.13
                                                                         100.00000%
                                11043 Reservoir Place Dr
                                Cleveland, OH 44104



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                                                                                                                                                    Desc Main          $9,476.00
                                                                             Document          Page 50 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30372     TUAN DO                                   Claim 000398, Payment                               5600-000                                     $493.00      $14,841,052.13
                                                                          100.00000%
                                3211 Meadow Stone Ct
                                Charlotte, NC 28273
   08/27/14           30373     SECOND CHANCE CREDIT                      Claim 000399, Payment                               5600-000                                     $740.00      $14,840,312.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30374     LEO RIMMELE                               Claim 000400, Payment                               5600-000                                  $2,600.00       $14,837,712.13
                                                                          100.00000%
                                1930 Burbank Avenue NW
                                Olympia, WA 98502
   08/27/14           30375     MIA RIVERS                                Claim 000401, Payment                               5600-000                                     $408.00      $14,837,304.13
                                                                          100.00000%
                                5594 NW 57th Ave
                                Ocala, FL 34482
   08/27/14           30376     SERETTA MCCLANAHAN                        Claim 000402, Payment                               5600-000                                     $481.00      $14,836,823.13
                                                                          100.00000%
                                PO Box 263
                                Paynesville, WV 24873
   08/27/14           30377     ARGO PARTNERS                             Claim 000404, Payment                               5600-000                                  $2,600.00       $14,834,223.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30378     WAYNE THOMAS                              Claim 000405, Payment                               5600-000                                     $398.00      $14,833,825.13
                                                                          100.00000%
                                1394 Salvador Ave.
                                Napa, CA 94559
   08/27/14           30379     DENNIS MARTIN                             Claim 000406, Payment                               5600-000                                     $576.00      $14,833,249.13
                                                                          100.00000%
                                1039 Westfield Road
                                Mount Airy, NC 27030
   08/27/14           30380     WILLIAM MACMILLAN                         Claim 000407, Payment                               5600-000                                     $373.00      $14,832,876.13
                                                                          100.00000%
                                467 Burnette Avenue Apartment 6
                                San Francisco, CA 94131




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                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main          $8,669.00
                                                                              Document          Page 51 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30381     JANICE SNOW                               Claim 000408, Payment                               5600-000                                     $436.00      $14,832,440.13
                                                                          100.00000%
                                231 Gaston Drive
                                Woodruff, SC 29388
   08/27/14           30382     ARGO PARTNERS                             Claim 000409, Payment                               5600-000                                  $2,600.00       $14,829,840.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30383     WILLIAM WEI                               Claim 000410, Payment                               5600-000                                     $264.00      $14,829,576.13
                                                                          100.00000%
                                55-08 111 ST
                                Corona, NY 11368
   08/27/14           30384     DELLA LEBLANC                             Claim 000411, Payment                               5600-000                                     $618.00      $14,828,958.13
                                                                          100.00000%
                                PO Box 27
                                Paincourtville, LA 70391
   08/27/14           30385     NORMA MARIN                               Claim 000412, Payment                               5600-000                                  $1,031.00       $14,827,927.13
                                                                          100.00000%
                                142 El Camino Pequeno
                                El Cajon, CA 92019
   08/27/14           30386     ASSET RECOVERY MANAGEMENT,                Claim 000413A, Payment                              5600-000                                  $2,600.00       $14,825,327.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30387     THERESA HAGEN                             Claim 000414, Payment                               5600-000                                     $432.00      $14,824,895.13
                                                                          100.00000%
                                4618 Emily Pl.
                                Rock Hill, SC 29732
   08/27/14           30388     LIQUIDITY SOLUTIONS, INC.                 Claim 000415, Payment                               5600-000                                  $2,600.00       $14,822,295.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30389     ARGO PARTNERS                             Claim 000416, Payment                               5600-000                                  $2,600.00       $14,819,695.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30390     SECOND CHANCE CREDIT                      Claim 000417, Payment                               5600-000                                  $1,805.00       $14,817,890.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30391     ARGO PARTNERS                             Claim 000418A, Payment                              5600-000                                  $2,600.00       $14,815,290.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30392     ARGO PARTNERS                             Claim 000420, Payment                               5600-000                                  $2,600.00       $14,812,690.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30393     ARGO PARTNERS                             Claim 000421, Payment                               5600-000                                  $2,490.00       $14,810,200.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30394     LIQUIDITY SOLUTIONS, INC.                 Claim 000422, Payment                               5600-000                                  $2,095.00       $14,808,105.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30395     BRIDGET PATRICK                           Claim 000423, Payment                               5600-004                                  $2,043.00       $14,806,062.13
                                                                          100.00000%
                                218 14th Street, SE
                                Hickory, NC 28601
   08/27/14           30396     ARGO PARTNERS                             Claim 000424, Payment                               5600-000                                  $2,600.00       $14,803,462.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30397     ARGO PARTNERS                             Claim 000425, Payment                               5600-000                                  $2,600.00       $14,800,862.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30398     ISAAC STATES                              Claim 000426, Payment                               5600-000                                     $745.00      $14,800,117.13
                                                                          100.00000%
                                956 Kenyon Ave
                                Plainfield, NJ 07060




                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $19,578.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30399     LESTER KOSHIOL                            Claim 000428, Payment                               5600-000                                  $2,600.00       $14,797,517.13
                                                                          100.00000%
                                2927 MAINE PRAIRIE RD APT 201
                                ST CLOUD, MN 56301-4088
   08/27/14           30400     ALEXANDRIA HIGGINS-MCKNIGHT               Claim 000429, Payment                               5600-000                                     $305.00      $14,797,212.13
                                                                          100.00000%
                                1151 South Latson Rd. Apt. 12
                                Howell, MI 48843
   08/27/14           30401     ROY A PATTERSON                           Claim 000430, Payment                               5600-000                                  $1,138.00       $14,796,074.13
                                                                          100.00000%
                                160 Forest Lane
                                Murphy, NC 28906
   08/27/14           30402     CRYSTAL MARIGLIANO                        Claim 000431, Payment                               5600-000                                     $937.00      $14,795,137.13
                                                                          100.00000%
                                4609 Bailey Dr
                                Wilmington, DE 19808
   08/27/14           30403     JEFFREY DUFAULT                           Claim 000432, Payment                               5600-000                                  $1,662.00       $14,793,475.13
                                                                          100.00000%
                                17 Richards Avenue
                                North Attleboro, MA 02760
   08/27/14           30404     JIM RUDNICK                               Claim 000433, Payment                               5600-000                                  $2,600.00       $14,790,875.13
                                c/o Azar and Azar                         100.00000%
   08/27/14           30405     FRANKLIN PARTEE                           Claim 000434, Payment                               5600-000                                  $2,600.00       $14,788,275.13
                                                                          100.00000%
                                4609 Cimmaron Dr
                                Memphis, TN 38109
   08/27/14           30406     LIQUIDITY SOLUTIONS, INC.                 Claim 000435, Payment                               5600-000                                  $2,133.00       $14,786,142.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30407     TERRY HILL                                Claim 000436, Payment                               5600-000                                     $517.00      $14,785,625.13
                                                                          100.00000%
                                74 Spragueville Rd
                                Presque Isle, ME 04769
   08/27/14           30408     ARLENE SINGLETON                          Claim 000437, Payment                               5600-000                                  $2,600.00       $14,783,025.13
                                                                          100.00000%
                                PO Box 2458
                                Middleburg, FL 32050-2458



                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $17,092.00
                                                                              Document          Page 54 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30409     GAIL FLINCHUM (HUMMEL)                    Claim 000438, Payment                               5600-000                                  $1,089.00       $14,781,936.13
                                                                          100.00000%
                                5737 1st. Road
                                Bremen, IN 46506
   08/27/14           30410     BRENDA LANE                               Claim 000439, Payment                               5600-000                                  $2,600.00       $14,779,336.13
                                                                          100.00000%
                                PO Box 598
                                Watson, LA 70786
   08/27/14           30411     ARGO PARTNERS                             Claim 000440, Payment                               5600-000                                  $2,600.00       $14,776,736.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30412     FARIDA MAZHARNIA                          Claim 000441, Payment                               5600-000                                     $431.00      $14,776,305.13
                                                                          100.00000%
                                4430 Albany Dr 93
                                San Jose, CA 95129
   08/27/14           30413     SECOND CHANCE CREDIT                      Claim 000442, Payment                               5600-000                                  $1,553.00       $14,774,752.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30414     LINDY HOPKINS                             Claim 000443A, Payment                              5600-000                                     $279.00      $14,774,473.13
                                                                          100.00000%
                                7651 North 475 East
                                Orleans, IN 47452
   08/27/14           30415     ALLEN MELDRUM                             Claim 000444, Payment                               5600-000                                     $188.00      $14,774,285.13
                                3653 South Pacific Highway #3Medford,     100.00000%
                                FL 97501
   08/27/14           30416     NANCY HERTENSTEIN                         Claim 000445A, Payment                              5600-000                                  $1,129.00       $14,773,156.13
                                                                          100.00000%
                                226 Candlewood Pl
                                St. Marys, OH 45885
   08/27/14           30417     KATHY ZARTH                               Claim 000446, Payment                               5600-000                                     $523.00      $14,772,633.13
                                                                          100.00000%
                                8212 Mccloy Rd
                                Norfolk, VA 23505




                                    Case 10-30631                Doc 5751       Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           30418     MATTHEW LUNDIN                           Claim 000447, Payment                               5600-000                                     $773.00      $14,771,860.13
                                                                         100.00000%
                                5889 East Pavo Street
                                Long Beach, CA 90808
   08/27/14           30419     EDNA VIVO                                Claim 000448, Payment                               5600-000                                  $2,600.00       $14,769,260.13
                                                                         100.00000%
                                1030 Waverly Cir.
                                Hercules, CA 94547
   08/27/14           30420     ETHAN GLENN                              Claim 000449, Payment                               5600-004                                     $546.00      $14,768,714.13
                                372 Bunker Hill DrivePensacola, FL       100.00000%
                                32506
   08/27/14           30421     SECOND CHANCE CREDIT                     Claim 000450, Payment                               5600-000                                     $968.00      $14,767,746.13
                                OPPORTUNITIES,                           100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30422     SECOND CHANCE CREDIT                     Claim 000451, Payment                               5600-000                                  $2,600.00       $14,765,146.13
                                OPPORTUNITIES,                           100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30423     ROBERT B BROWN                           Claim 000452, Payment                               5600-000                                  $2,600.00       $14,762,546.13
                                6930 Haven Creek Dr.Katy, TX 77449       100.00000%
   08/27/14           30424     GERARD ECKEL                             Claim 000454, Payment                               5600-000                                     $554.00      $14,761,992.13
                                                                         100.00000%
                                215 B Milton Ave.
                                Staten Island, NY 10306
   08/27/14           30425     KATHRYN GLESSNER                         Claim 000455, Payment                               5600-000                                  $1,046.00       $14,760,946.13
                                                                         100.00000%
                                343 Sabo Dr
                                Mansfield, OH 44905
   08/27/14           30426     ROBERT COOPER                            Claim 000456, Payment                               5600-004                                     $344.00      $14,760,602.13
                                                                         100.00000%
                                1229 Merle Hay Road
                                Des Moines, IA 50311
   08/27/14           30427     STEPHEN AND SANDRA WONG                  Claim 000457, Payment                               5600-000                                  $1,369.00       $14,759,233.13
                                                                         100.00000%
                                608 North 3rd St
                                San Jose, CA 95112


                                    Case 10-30631              Doc 5751        Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
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                                                                             Document          Page 56 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30428     MARYANN DEFAZIO                           Claim 000459, Payment                               5600-000                                     $768.00      $14,758,465.13
                                                                          100.00000%
                                5325 Stenton Dr
                                Bethlehem, PA 18017
   08/27/14           30429     CAROL LOCKE                               Claim 000460, Payment                               5600-000                                     $772.00      $14,757,693.13
                                                                          100.00000%
                                785 Oakleaf Plantation Pkwy Unit 312
                                Orange Park, FL 32065-3506
   08/27/14           30430     LIQUIDITY SOLUTIONS, INC.                 Claim 000461, Payment                               5600-000                                  $2,474.00       $14,755,219.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30431     LIQUIDITY SOLUTIONS, INC.                 Claim 000462, Payment                               5600-000                                  $2,363.00       $14,752,856.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30432     MICHAEL SMITH                             Claim 000464, Payment                               5600-000                                  $2,600.00       $14,750,256.13
                                                                          100.00000%
                                7954 Shira Street
                                Windsor, CA 95492
   08/27/14           30433     JOAN N DOTY                               Claim 000465, Payment                               5600-000                                  $1,892.00       $14,748,364.13
                                                                          100.00000%
                                17186 Ravenwood Drive
                                Flint, TX 75762
   08/27/14           30434     KYLEEN SORENSEN                           Claim 000466, Payment                               5600-000                                  $1,830.00       $14,746,534.13
                                                                          100.00000%
                                502 South 1040 East, Apt 125
                                American Fork, UT 84003-3376
   08/27/14           30435     BARBARA COGBURN                           Claim 000467, Payment                               5600-000                                  $2,295.00       $14,744,239.13
                                                                          100.00000%
                                31 STATE ST
                                APT 201 A
                                MONSON, MA 01057
   08/27/14           30436     JENNIFER YOUNG                            Claim 000468, Payment                               5600-000                                     $433.00      $14,743,806.13
                                                                          100.00000%
                                708 Yale Drive 5
                                Clarksville, IN 47129




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                                                                                                                                                     Desc Main         $15,427.00
                                                                              Document          Page 57 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30437     DONALD WILLIAMSON                         Claim 000469, Payment                               5600-000                                  $2,600.00       $14,741,206.13
                                                                          100.00000%
                                N 6490 Long Meadow Dr
                                Elkhorn, WI 53121
   08/27/14           30438     LORI RYAN                                 Claim 000470, Payment                               5600-000                                     $209.00      $14,740,997.13
                                                                          100.00000%
                                372 Lehigh Circle
                                Clyo, GA 31303
   08/27/14           30439     ARGO PARTNERS                             Claim 000471A, Payment                              5600-000                                  $2,600.00       $14,738,397.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30440     ARGO PARTNERS                             Claim 000473, Payment                               5600-000                                  $2,600.00       $14,735,797.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30441     ROBERT CARTER                             Claim 000474A, Payment                              5600-000                                  $2,600.00       $14,733,197.13
                                                                          100.00000%
                                1256 NC 126
                                Morganton, NC 28655
   08/27/14           30442     ANDREA OWENS                              Claim 000475, Payment                               5600-000                                  $2,600.00       $14,730,597.13
                                                                          100.00000%
                                1400 CROSSOVER RIDGE RD
                                BIRMINGHAM, AL 35243
   08/27/14           30443     SECOND CHANCE CREDIT                      Claim 000476A, Payment                              5600-000                                  $1,734.00       $14,728,863.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30444     GARY WRIGHT                               Claim 000477, Payment                               5600-000                                  $2,600.00       $14,726,263.13
                                                                          100.00000%
                                1644 Hwy 9
                                Bearden, AR 71720
   08/27/14           30445     RICKY ROSS                                Claim 000478, Payment                               5600-000                                  $1,797.00       $14,724,466.13
                                                                          100.00000%
                                5157 S Laflin Street
                                Chicago, IL 60609




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                                                                              Document          Page 58 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30446     JAMES CLUCKEY                             Claim 000479, Payment                               5600-000                                  $2,600.00       $14,721,866.13
                                                                          100.00000%
                                4967 Scott Drive
                                Greenwood, LA 71033
   08/27/14           30447     BROOKS DEAN                               Claim 000480, Payment                               5600-004                                  $2,600.00       $14,719,266.13
                                                                          100.00000%
                                7054 Veterans Pkwy
                                Pell City, AL 35125
   08/27/14           30448     ARGO PARTNERS                             Claim 000481, Payment                               5600-000                                  $2,600.00       $14,716,666.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30449     JAMES WELSH                               Claim 000482, Payment                               5600-000                                  $2,600.00       $14,714,066.13
                                                                          100.00000%
                                1181 48th Street South East
                                Kentwood, MI 49508
   08/27/14           30450     IVAN MALDONADO                            Claim 000483, Payment                               5600-000                                  $2,600.00       $14,711,466.13
                                                                          100.00000%
                                402 Willow St.
                                Cary, NC 27511
   08/27/14           30451     DONALD PETERSON                           Claim 000484, Payment                               5600-000                                     $748.00      $14,710,718.13
                                                                          100.00000%
                                38 Sandy Ln
                                Westerly, RI 02891
   08/27/14           30452     CYNTHIA NIVAR                             Claim 000485, Payment                               5600-004                                     $268.00      $14,710,450.13
                                                                          100.00000%
                                413 Northwood Dr
                                Raleigh, NC 27609
   08/27/14           30453     CHRISTY LEDBETTER                         Claim 000486A, Payment                              5600-000                                  $2,600.00       $14,707,850.13
                                                                          100.00000%
                                300 East Old Mill Drive
                                Hendersonville, NC 28792
   08/27/14           30454     ARGO PARTNERS                             Claim 000487, Payment                               5600-000                                  $2,600.00       $14,705,250.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751       Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30455     ANTONIO VIEIRA                            Claim 000488, Payment                               5600-000                                  $1,173.00       $14,704,077.13
                                                                          100.00000%
                                155 Early St
                                Providence, RI 02907
   08/27/14           30456     TIMOTHY REAVIS                            Claim 000489, Payment                               5600-000                                     $511.00      $14,703,566.13
                                                                          100.00000%
                                127-B Nantz St
                                Mount Holly, NC 28120
   08/27/14           30457     DEE DELLINGER                             Claim 000490A, Payment                              5600-000                                  $2,600.00       $14,700,966.13
                                                                          100.00000%
                                120 Wilson Ave
                                Niles, OH 44446
   08/27/14           30458     JACOB GORENSTEIN                          Claim 000491, Payment                               5600-000                                  $2,600.00       $14,698,366.13
                                                                          100.00000%
                                1042 North Stanley ave.8
                                West Hollywood, CA 90046
   08/27/14           30459     JOHN RENIKER                              Claim 000492, Payment                               5600-004                                  $2,600.00       $14,695,766.13
                                6821 N. 24th Dr.Phoenix, AZ 85015         100.00000%
   08/27/14           30460     ARGO PARTNERS                             Claim 000493, Payment                               5600-000                                  $2,600.00       $14,693,166.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30461     LIQUIDITY SOLUTIONS, INC.                 Claim 000494, Payment                               5600-000                                  $2,600.00       $14,690,566.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30462     RICHARD STEMBRIDGE                        Claim 000495, Payment                               5600-000                                     $433.00      $14,690,133.13
                                                                          100.00000%
                                7680 County Road 41
                                Florence, AL 35633
   08/27/14           30463     ARGO PARTNERS                             Claim 000496, Payment                               5600-000                                  $1,059.00       $14,689,074.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30464     SHANNON BENNETT                           Claim 000497, Payment                               5600-000                                  $2,600.00       $14,686,474.13
                                                                          100.00000%
                                5901 W. Behrend Drive #1135
                                Glendale, AZ 85308



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30465     ARGO PARTNERS                             Claim 000498A, Payment                              5600-000                                  $2,600.00       $14,683,874.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30466     ROBERT CARLSON                            Claim 000499, Payment                               5600-000                                  $2,600.00       $14,681,274.13
                                                                          100.00000%
                                2146 N 193RD ST
                                SHORELINE, WA 98133
   08/27/14           30467     ALVARO BONILLA                            Claim 000500A, Payment                              5600-000                                  $2,600.00       $14,678,674.13
                                                                          100.00000%
                                11651 Jurupa Road
                                Mira Loma, CA 91752
   08/27/14           30468     PAMELA LINNEMANN                          Claim 000501, Payment                               5600-000                                   $1,112.00      $14,677,562.13
                                                                          100.00000%
                                PO Box 43
                                Mineral, IL 61344
   08/27/14           30469     ARGO PARTNERS                             Claim 000502, Payment                               5600-000                                  $2,600.00       $14,674,962.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30470     MIKE CULBRETH                             Claim 000503, Payment                               5600-000                                  $2,600.00       $14,672,362.13
                                                                          100.00000%
                                514 Eldenberry St. SE
                                Demotte, IN 46310
   08/27/14           30471     DEWEY WAYNE BRADLEY                       Claim 000504, Payment                               5600-000                                  $1,595.00       $14,670,767.13
                                                                          100.00000%
                                PO Box 1106
                                Rutherfordton, NC 28139
   08/27/14           30472     ROBERT THATCHER                           Claim 000505, Payment                               5600-004                                  $2,600.00       $14,668,167.13
                                                                          100.00000%
                                109 North Jones Street
                                Proctorville, OH 45669
   08/27/14           30473     LEEVON MOORE                              Claim 000506, Payment                               5600-000                                  $2,600.00       $14,665,567.13
                                                                          100.00000%
                                11714 Meridian Dr
                                Frisco, TX 75035




                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $20,907.00
                                                                              Document          Page 61 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30474     RONALD SARRATT                            Claim 000507, Payment                               5600-000                                     $875.00      $14,664,692.13
                                                                          100.00000%
                                18 SANDERS CIR
                                Homosassa, FL 34446
   08/27/14           30475     FRANK DELISI                              Claim 000508, Payment                               5600-000                                     $227.00      $14,664,465.13
                                                                          100.00000%
                                9959 Wisteria St
                                Philadelphia, PA 19115
   08/27/14           30476     PHIL MCCOY                                Claim 000509, Payment                               5600-000                                     $912.00      $14,663,553.13
                                                                          100.00000%
                                103 Heritage Way
                                Savannah, GA 31419
   08/27/14           30477     LIQUIDITY SOLUTIONS, INC.                 Claim 000510, Payment                               5600-000                                  $1,729.00       $14,661,824.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30478     ERNEST LEMOINE                            Claim 000512, Payment                               5600-000                                  $1,844.00       $14,659,980.13
                                                                          100.00000%
                                19788 Hwy 105 Wwar #413
                                Montgomery, TX 77356
   08/27/14           30479     CHARLOTTE REYNOLDS                        Claim 000513, Payment                               5600-000                                  $2,600.00       $14,657,380.13
                                100 Darlena Ct. Apt. CCary, NC 27511      100.00000%
   08/27/14           30480     SUSAN MOLNER                              Claim 000514, Payment                               5600-000                                     $557.00      $14,656,823.13
                                                                          100.00000%
                                PO BOX 153
                                EUREKA, MO 63025
   08/27/14           30481     WANDA CARROLL                             Claim 000515, Payment                               5600-000                                  $2,600.00       $14,654,223.13
                                                                          100.00000%
                                290 Ironhill Road
                                Taylorsville, GA 30178
   08/27/14           30482     NORMA SARENANA                            Claim 000516, Payment                               5600-000                                  $2,600.00       $14,651,623.13
                                                                          100.00000%
                                341 Hannalei Dr
                                Vista, CA 92083
   08/27/14           30483     DOROTHY SACCOCCIA                         Claim 000517, Payment                               5600-000                                  $2,600.00       $14,649,023.13
                                                                          100.00000%
                                777 Cowesett Road Apt. B210
                                Warwick, RI 02886



                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $16,544.00
                                                                              Document          Page 62 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30484     SALETO EURY                               Claim 000518, Payment                               5600-000                                     $922.00      $14,648,101.13
                                                                          100.00000%
                                17856 Valeport Avenue
                                Lancaster, CA 93535-7534
   08/27/14           30485     ARGO PARTNERS                             Claim 000519, Payment                               5600-000                                  $2,600.00       $14,645,501.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30486     MARELLA ARTHURS                           Claim 000520, Payment                               5600-000                                     $279.00      $14,645,222.13
                                                                          100.00000%
                                283 S CENTER ST APT 402
                                ORANGE, NJ 07050
   08/27/14           30487     ANTHONY VENTURA                           Claim 000521, Payment                               5600-000                                  $2,600.00       $14,642,622.13
                                                                          100.00000%
                                1031 Crawfrod Avenue
                                Brooklyn, NY 11223
   08/27/14           30488     ALTON BRYAN                               Claim 000522, Payment                               5600-000                                  $2,600.00       $14,640,022.13
                                                                          100.00000%
                                145-14 220 St
                                Springfield Gardens, NY 11413
   08/27/14           30489     ARGO PARTNERS                             Claim 000523, Payment                               5600-000                                  $2,600.00       $14,637,422.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30490     DOROTHY KEYS                              Claim 000524, Payment                               5600-000                                     $187.00      $14,637,235.13
                                                                          100.00000%
                                170 Caine Cir
                                Brandon, MS 39042
   08/27/14           30491     JAMES MELVIN                              Claim 000525, Payment                               5600-000                                  $2,600.00       $14,634,635.13
                                                                          100.00000%
                                9 North First Street
                                Franklinton, NC 27525
   08/27/14           30492     NONA CANDELARIA                           Claim 000526, Payment                               5600-000                                  $2,155.00       $14,632,480.13
                                                                          100.00000%
                                601 Wauona Trail Lot 1
                                Portage, WI 53901




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                                                                                                                                                     Desc Main         $16,543.00
                                                                              Document          Page 63 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30493     RONICE BOATWRIGHT                         Claim 000527, Payment                               5600-000                                  $2,600.00       $14,629,880.13
                                                                          100.00000%
                                101 Terry Ave
                                East Brewton, AL 36426
   08/27/14           30494     PAULA SMITS                               Claim 000528, Payment                               5600-000                                     $259.00      $14,629,621.13
                                                                          100.00000%
                                1381 Bruce Ln
                                Green Bay, WI 54313
   08/27/14           30495     LIQUIDITY SOLUTIONS, INC.                 Claim 000529, Payment                               5600-000                                  $2,600.00       $14,627,021.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30496     ARGO PARTNERS                             Claim 000531, Payment                               5600-000                                  $2,600.00       $14,624,421.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30497     ASSET RECOVERY MANAGEMENT,                Claim 000532, Payment                               5600-000                                  $2,600.00       $14,621,821.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30498     ARGO PARTNERS                             Claim 000533, Payment                               5600-000                                  $1,679.00       $14,620,142.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30499     LIQUIDITY SOLUTIONS, INC.                 Claim 000534, Payment                               5600-000                                  $1,678.00       $14,618,464.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30500     TERESITA DELAROSA                         Claim 000535A, Payment                              5600-000                                  $2,600.00       $14,615,864.13
                                                                          100.00000%
                                26547 BLADEN AVE
                                MURRIETA, CA 92562
   08/27/14           30501     ARGO PARTNERS                             Claim 000536, Payment                               5600-000                                  $2,600.00       $14,613,264.13
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $19,216.00
                                                                              Document          Page 64 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                    Code                                                          ($)
   08/27/14           30502     FRANK PASCHKE                             Claim 000537, Payment                               5600-000                                      $962.00       $14,612,302.13
                                                                          100.00000%
                                906 131st Ave.
                                New Richmond, WI 54017
   08/27/14           30503     CAROLYN BROADNAX                          Claim 000538, Payment                               5600-000                                      $325.00       $14,611,977.13
                                                                          100.00000%
                                203 Elexnder
                                Eatonton, GA 31024
   08/27/14           30504     JEROLD MCGILLEN                           Claim 000539, Payment                               5600-000                                      $497.00       $14,611,480.13
                                                                          100.00000%
                                1500 Copper Cliff
                                Bonner, MT 59823
   08/27/14           30505     CHAD CLEMENTS                             Claim 000540, Payment                               5600-000                                      $234.00       $14,611,246.13
                                                                          100.00000%
                                1113 Leonard St
                                Charlottesville, VA 22902
   08/27/14           30506     AGATA BATOR                               Claim 000541, Payment                               5600-000                                  $2,600.00         $14,608,646.13
                                                                          100.00000%
                                815 SHERIDAN ST
                                CHICOPEE, MA 01020
   08/27/14           30507     SANDRA CERDA                              Claim 000542, Payment                               5600-000                                  $1,314.00         $14,607,332.13
                                                                          100.00000%
                                13601 South Loomis Lane
                                Crestwood, IL 60445
   08/27/14           30508     FRANK URSO                                Claim 000543, Payment                               5600-000                                      $915.00       $14,606,417.13
                                                                          100.00000%
                                29 Ehler Street
                                Brentwood, NY 11717
   08/27/14           30509     DAVID PARSONS                             Claim 000544, Payment                               5600-000                                      $318.00       $14,606,099.13
                                                                          100.00000%
                                530 N 4th St. W
                                Missoula, MT 59802
   08/27/14           30510     LIQUIDITY SOLUTIONS, INC.                 Claim 000545, Payment                               5600-000                                     $1,111.00      $14,604,988.13
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




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                                                                                                                                                     Desc Main          $8,276.00
                                                                              Document          Page 65 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           30511     JERRY DOGGETT                            Claim 000546, Payment                               5600-000                                     $385.00      $14,604,603.13
                                                                         100.00000%
                                20 Doggett Drive
                                Thomaston, GA 30286
   08/27/14           30512     W T THOMAS                               Claim 000547, Payment                               5600-000                                  $2,600.00       $14,602,003.13
                                                                         100.00000%
                                400 Noble Drive
                                Milam, TX 75959
   08/27/14           30513     DEANNA EGGERS                            Claim 000548, Payment                               5600-000                                  $2,600.00       $14,599,403.13
                                                                         100.00000%
                                3931 Weatherby Ct
                                Stockbridge, MI 49285
   08/27/14           30514     ESTHER PARK                              Claim 000549, Payment                               5600-000                                     $705.00      $14,598,698.13
                                                                         100.00000%
                                6012 San Rafael Drive
                                Buena Park, CA 90620
   08/27/14           30515     DONNA MCKENDRY                           Claim 000550A, Payment                              5600-000                                     $459.00      $14,598,239.13
                                                                         100.00000%
                                15 CLOVERDALE RD
                                BLACKWOOD, NJ 08012
   08/27/14           30516     PATRICIA WINDSOR                         Claim 000552, Payment                               5600-000                                     $502.00      $14,597,737.13
                                                                         100.00000%
                                15357 175th Ave SE
                                Monroe, WA 98272
   08/27/14           30517     SYED HAIDER                              Claim 000553, Payment                               5600-000                                     $386.00      $14,597,351.13
                                                                         100.00000%
                                5532 Burlingame Ave
                                Buena Park, CA 90621
   08/27/14           30518     BARBARA COUCH                            Claim 000554, Payment                               5600-000                                     $284.00      $14,597,067.13
                                                                         100.00000%
                                701 A Greengate Circle
                                Aiken, SC 29803
   08/27/14           30519     LEWIS ZONFRILLO                          Claim 000555, Payment                               5600-004                                  $1,668.00       $14,595,399.13
                                                                         100.00000%
                                21253 Yontz Road Lot 125
                                Brookesville, FL 34601




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30520     ALMA FISHER                               Claim 000557, Payment                               5600-000                                  $1,712.00       $14,593,687.13
                                                                          100.00000%
                                16817 Daisy Avenue
                                Fountain Valley, CA 92708
   08/27/14           30521     ROBERT SWOBODA                            Claim 000558, Payment                               5600-000                                  $1,126.00       $14,592,561.13
                                                                          100.00000%
                                PO Box 5362
                                Riverside, CA 92517
   08/27/14           30522     YOLANDA ROBINSON                          Claim 000559, Payment                               5600-004                                  $2,160.00       $14,590,401.13
                                                                          100.00000%
                                3871 Alabama Ave SE Apt 100
                                Washington D C, DC 20020
   08/27/14           30523     JOHN PAOLINI                              Claim 000561, Payment                               5600-004                                     $550.00      $14,589,851.13
                                                                          100.00000%
                                885 Cornwallis Drive
                                Easton, PA 18040
   08/27/14           30524     SECOND CHANCE CREDIT                      Claim 000562, Payment                               5600-000                                  $2,461.00       $14,587,390.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30525     SECOND CHANCE CREDIT                      Claim 000563, Payment                               5600-000                                  $2,600.00       $14,584,790.13
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30526     CHARLIE THOMAS                            Claim 000564, Payment                               5600-000                                  $2,600.00       $14,582,190.13
                                                                          100.00000%
                                702 Magnolia Lane
                                Cranberry Township, PA16066
   08/27/14           30527     ASSET RECOVERY MANAGEMENT,                Claim 000565, Payment                               5600-000                                  $2,600.00       $14,579,590.13
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30528     LIQUIDITY SOLUTIONS, INC.                 Claim 000566, Payment                               5600-000                                  $1,654.99       $14,577,935.14
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601


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                                                                                                                                                     Desc Main         $17,463.99
                                                                              Document          Page 67 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30529     LIQUIDITY SOLUTIONS, INC.                 Claim 000567, Payment                               5600-000                                  $2,600.00       $14,575,335.14
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30530     LIQUIDITY SOLUTIONS, INC.                 Claim 000568, Payment                               5600-000                                  $2,600.00       $14,572,735.14
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30531     SHARON HOBART-VANVOLKENBURG               Claim 000570, Payment                               5600-000                                     $414.00      $14,572,321.14
                                                                          100.00000%
                                23418 62nd Ave East
                                Graham, WA 98338
   08/27/14           30532     JOHNNY BRAMBLETT                          Claim 000572, Payment                               5600-000                                     $330.00      $14,571,991.14
                                                                          100.00000%
                                554 Rabitch Road
                                Millen, GA 30442
   08/27/14           30533     ROGER BRODMAN                             Claim 000573, Payment                               5600-000                                     $475.00      $14,571,516.14
                                                                          100.00000%
                                106 W Washington St
                                Bluffton, OH 45817
   08/27/14           30534     BRIAN ROBBINS                             Claim 000574, Payment                               5600-000                                     $894.00      $14,570,622.14
                                                                          100.00000%
                                15130 Nokomis Road
                                Apple Valley, CA 92307
   08/27/14           30535     ARGO PARTNERS                             Claim 000575, Payment                               5600-000                                  $2,600.00       $14,568,022.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30536     LINDA STRAUGHTER                          Claim 000576, Payment                               5600-000                                     $243.00      $14,567,779.14
                                                                          100.00000%
                                4587 AIRWAYS BLVD APT7
                                MEMPHIS, TN 38116-7660
   08/27/14           30537     ARGO PARTNERS                             Claim 000577, Payment                               5600-000                                  $2,600.00       $14,565,179.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751       Page Subtotals:
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                                                                                                                                                     Desc Main         $12,756.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30538     JEFFREY S JACKSON                         Claim 000578, Payment                               5600-000                                     $258.00      $14,564,921.14
                                                                          100.00000%
                                511 2nd North St
                                Syracuse, NY 13208
   08/27/14           30539     CHANDRA HERMEL                            Claim 000579, Payment                               5600-000                                  $2,600.00       $14,562,321.14
                                                                          100.00000%
                                9437 Church St
                                Kingsley, MI 49649
   08/27/14           30540     ANGELA LEWIS                              Claim 000580, Payment                               5600-000                                  $2,600.00       $14,559,721.14
                                                                          100.00000%
                                2925 Highway 190 South
                                Prattsville, AR 72129
   08/27/14           30541     SECOND CHANCE CREDIT                      Claim 000581, Payment                               5600-000                                  $2,600.00       $14,557,121.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30542     MARY LUCIO                                Claim 000582A, Payment                              5600-004                                  $1,962.00       $14,555,159.14
                                                                          100.00000%
                                5736 N Mitre Avenue
                                Fresno, CA 93722
   08/27/14           30543     ARGO PARTNERS                             Claim 000583, Payment                               5600-000                                  $2,600.00       $14,552,559.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30544     JOSE BENITEZ-RUIZ                         Claim 000584, Payment                               5600-000                                  $2,600.00       $14,549,959.14
                                                                          100.00000%
                                61 Woodlawn Ave. Apt. 2
                                Chelsea, WA 02150
   08/27/14           30545     ARGO PARTNERS                             Claim 000585, Payment                               5600-000                                  $2,600.00       $14,547,359.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30546     SECOND CHANCE CREDIT                      Claim 000586A, Payment                              5600-000                                  $1,351.00       $14,546,008.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124



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                                                                                                                                                     Desc Main         $19,171.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30547     ARGO PARTNERS                             Claim 000587A, Payment                              5600-000                                  $2,600.00       $14,543,408.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30548     ARGO PARTNERS                             Claim 000589, Payment                               5600-000                                  $2,600.00       $14,540,808.14
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           30549     SECOND CHANCE CREDIT                      Claim 000590, Payment                               5600-000                                     $577.00      $14,540,231.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30550     SECOND CHANCE CREDIT                      Claim 000591A, Payment                              5600-000                                     $867.00      $14,539,364.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30551     DAISY RUADO                               Claim 000592, Payment                               5600-000                                  $2,600.00       $14,536,764.14
                                                                          100.00000%
                                530 8th Ave Apt 5
                                San Francisco, CA 94118
   08/27/14           30552     ARGO PARTNERS                             Claim 000593, Payment                               5600-000                                  $2,600.00       $14,534,164.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30553     ASSET RECOVERY MANAGEMENT,                Claim 000594, Payment                               5600-000                                  $2,600.00       $14,531,564.14
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30554     CHARLES PROCTOR                           Claim 000595A, Payment                              5600-000                                  $2,280.00       $14,529,284.14
                                                                          100.00000%
                                644 S SATICOY AVE
                                VENTURA, CA 93004
   08/27/14           30555     SECOND CHANCE CREDIT                      Claim 000596, Payment                               5600-000                                  $2,209.00       $14,527,075.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30556     ARGO PARTNERS                             Claim 000597, Payment                               5600-000                                  $2,600.00       $14,524,475.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30557     MARY WINSTON                              Claim 000598, Payment                               5600-000                                  $1,978.00       $14,522,497.14
                                                                          100.00000%
                                5 Phillip Lane
                                Natchez, MS 39120
   08/27/14           30558     SECOND CHANCE CREDIT                      Claim 000599, Payment                               5600-000                                  $2,008.00       $14,520,489.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30559     TINA MILAM                                Claim 000600, Payment                               5600-000                                  $2,600.00       $14,517,889.14
                                                                          100.00000%
                                702 Farley Branch Road
                                Cool Ridge, WV 25825
   08/27/14           30560     MARLENE BUCSA                             Claim 000601, Payment                               5600-000                                  $2,600.00       $14,515,289.14
                                                                          100.00000%
                                901 Sweet William Court
                                Leesburg, VA 20175
   08/27/14           30561     PATRICK BARNHILL                          Claim 000603, Payment                               5600-000                                  $1,280.00       $14,514,009.14
                                                                          100.00000%
                                318 Buckhurst Dr
                                Wilmington, NC 28411
   08/27/14           30562     LIQUIDITY SOLUTIONS, INC.                 Claim 000604, Payment                               5600-000                                  $1,964.00       $14,512,045.14
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30563     ROCHELLE KAGLE                         Claim 000605, Payment                                  5600-000                                  $2,600.00       $14,509,445.14
                                2724 N. Pershing AveSan Bernardino, CA 100.00000%
                                92405
   08/27/14           30564     FRANCES ARMSTRONG                         Claim 000606, Payment                               5600-000                                     $221.00      $14,509,224.14
                                                                          100.00000%
                                4156 Madrona Road
                                Riverside, CA 92504




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30565     JON DREW                                  Claim 000607, Payment                               5600-000                                  $1,136.00       $14,508,088.14
                                                                          100.00000%
                                5003 Stoney Creek Rd 446
                                Culver City, CA 90230
   08/27/14           30566     ARGO PARTNERS                             Claim 000608, Payment                               5600-000                                  $2,600.00       $14,505,488.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30567     LEAH SIMONEAU                          Claim 000609, Payment                                  5600-000                                     $185.00      $14,505,303.14
                                145 Gray Rd., Apt. 2Falmouth, ME 04105 100.00000%
   08/27/14           30568     SECOND CHANCE CREDIT                      Claim 000610, Payment                               5600-000                                     $969.00      $14,504,334.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30569     ENRIQUE ROY                               Claim 000611, Payment                               5600-000                                  $1,271.00       $14,503,063.14
                                7919 Hunnicut Rd., Apt. CDallas, TX       100.00000%
                                75228
   08/27/14           30570     GARY COMPTON                              Claim 000612, Payment                               5600-000                                  $2,600.00       $14,500,463.14
                                                                          100.00000%
                                293 Sweet Gum Court
                                Calabash, NC 28467
   08/27/14           30571     DONALD PATTERSON                          Claim 000613, Payment                               5600-000                                     $631.00      $14,499,832.14
                                                                          100.00000%
                                301 MAGIC CIRCLE RD APT 10
                                Eureka, KS 67045
   08/27/14           30572     ARGO PARTNERS                             Claim 000614A, Payment                              5600-000                                  $2,293.00       $14,497,539.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30573     ALBERTA HARRIS                          Claim 000615, Payment                                 5600-000                                     $417.00      $14,497,122.14
                                9124 S. Broadway, Apt. 5Los Angeles, CA 100.00000%
                                90003
   08/27/14           30574     BETTY ZAVALA                              Claim 000616, Payment                               5600-000                                  $1,853.00       $14,495,269.14
                                                                          100.00000%
                                1039 W Rosewood Street
                                San Antonio, TX 78201




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30575     DIOSDADO OSIT                             Claim 000617, Payment                               5600-004                                     $299.00      $14,494,970.14
                                                                          100.00000%
                                254 Wheeler Avenue
                                San Francisco, CA 94134
   08/27/14           30576     ARGO PARTNERS                             Claim 000619, Payment                               5600-000                                  $2,600.00       $14,492,370.14
                                12 West 37th St., 9th FloorNew York, NY   100.00000%
                                10018
   08/27/14           30577     CELSO CUSTODIO                            Claim 000620, Payment                               5600-000                                     $939.00      $14,491,431.14
                                                                          100.00000%
                                7906 Allard Court 303
                                Glen Burnie, MD 21061
   08/27/14           30578     ARGO PARTNERS                             Claim 000621, Payment                               5600-000                                  $2,600.00       $14,488,831.14
                                12 West 37th St., 9th FloorNew York, NY   100.00000%
                                10018
   08/27/14           30579     HOOVER YOUNGER                            Claim 000622, Payment                               5600-000                                  $2,600.00       $14,486,231.14
                                                                          100.00000%
                                295 Hudson Street
                                Vicksburg, MS 39183
   08/27/14           30580     AMANDA LANGFORD                           Claim 000623, Payment                               5600-000                                  $1,648.00       $14,484,583.14
                                                                          100.00000%
                                502 E. Wright Ave.
                                Tacoma, WA 98404
   08/27/14           30581     MELINA PARRAS                             Claim 000624, Payment                               5600-000                                  $2,600.00       $14,481,983.14
                                                                          100.00000%
                                PO Box 3242
                                Lacey, WA 98509
   08/27/14           30582     HEATHER PRINDLE                           Claim 000625A, Payment                              5600-000                                  $2,600.00       $14,479,383.14
                                                                          100.00000%
                                716 Liberty Village Dr
                                Florrisant, MO 63031
   08/27/14           30583     JOHN MCELHONE                             Claim 000626, Payment                               5600-000                                  $2,600.00       $14,476,783.14
                                                                          100.00000%
                                6406 Emahiser Road
                                Caledonia, OH 43314
   08/27/14           30584     ELLA SLATER                               Claim 000627, Payment                               5600-004                                  $2,600.00       $14,474,183.14
                                                                          100.00000%
                                563 Weaver Dr.
                                Marietta, GA 30066



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30585     SECOND CHANCE CREDIT                      Claim 000628, Payment                               5600-000                                  $2,600.00       $14,471,583.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30586     KAPRI DACE                                Claim 000629, Payment                               5600-000                                  $1,584.00       $14,469,999.14
                                                                          100.00000%
                                138 BETZER RD
                                DELAVAN, WI 53115
   08/27/14           30587     LYNN WHITAKER                             Claim 000630, Payment                               5600-000                                  $1,275.00       $14,468,724.14
                                                                          100.00000%
                                403 CARRIAGE LN
                                STREATOR, IL 61364-3978
   08/27/14           30588     ARGO PARTNERS                             Claim 000632, Payment                               5600-000                                  $2,600.00       $14,466,124.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30589     JOSH HUDGINS                              Claim 000633, Payment                               5600-004                                     $229.00      $14,465,895.14
                                                                          100.00000%
                                1541 Geary Rd
                                Cantrall, IL 62625
   08/27/14           30590     DANIEL KOHN                               Claim 000634, Payment                               5600-000                                  $1,949.00       $14,463,946.14
                                                                          100.00000%
                                18W025 73rd Street
                                Darien, IL 60561
   08/27/14           30591     BRENDA TURNER                             Claim 000635, Payment                               5600-000                                  $2,434.00       $14,461,512.14
                                                                          100.00000%
                                320 Lakeview Circle
                                Bolingbrook, IL 60440
   08/27/14           30592     PATTI BISHOP                              Claim 000636, Payment                               5600-000                                  $2,600.00       $14,458,912.14
                                                                          100.00000%
                                209 S. Kirkpatrick
                                El Dorrado Springs, MO 64744
   08/27/14           30593     LIQUIDITY SOLUTIONS, INC.                 Claim 000637, Payment                               5600-000                                  $2,600.00       $14,456,312.14
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30594     JAMES AND SARA ASHBY                      Claim 000639, Payment                               5600-000                                  $2,600.00       $14,453,712.14
                                910 Warwick Castle Ln.Apt.                100.00000%
                                1117Indianapolis, IN 46250
   08/27/14           30595     ARGO PARTNERS                             Claim 000640, Payment                               5600-000                                  $2,600.00       $14,451,112.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30596     MICHELLE HARRIS                           Claim 000641, Payment                               5600-000                                     $675.00      $14,450,437.14
                                                                          100.00000%
                                29 Softwind
                                Aliso Viejo, CA 92656
   08/27/14           30597     ASSET RECOVERY MANAGEMENT,                Claim 000642, Payment                               5600-000                                  $2,600.00       $14,447,837.14
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30598     JAMIE KOZIEL                              Claim 000643, Payment                               5600-000                                     $493.00      $14,447,344.14
                                                                          100.00000%
                                1603 White Dove Court
                                Brandon, FL 33510
   08/27/14           30599     STEVE HUPPERT                             Claim 000645, Payment                               5600-000                                     $624.00      $14,446,720.14
                                                                          100.00000%
                                3972 Garnet Court
                                Highlands Ranch, CO 80126
   08/27/14           30600     RONALD BRADDOCK                           Claim 000646, Payment                               5600-004                                  $2,208.00       $14,444,512.14
                                                                          100.00000%
                                808 W 5th St. Apt. 108
                                Grafton, ND 58737
   08/27/14           30601     ARGO PARTNERS                             Claim 000647, Payment                               5600-000                                  $2,600.00       $14,441,912.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30602     DON ROBERTS                               Claim 000648, Payment                               5600-000                                  $2,600.00       $14,439,312.14
                                                                          100.00000%
                                8111 Augusta Blvd.
                                Hudson, FL 34667




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30603     LOUIS BERTOLINI                           Claim 000649, Payment                               5600-000                                     $521.00      $14,438,791.14
                                                                          100.00000%
                                4430 Ewing Circle
                                Port Charlotte, FL 33948
   08/27/14           30604     NORMAJEAN LONGVAL                         Claim 000650, Payment                               5600-000                                  $2,600.00       $14,436,191.14
                                                                          100.00000%
                                150 Gay Street
                                Norwood, MA 02062
   08/27/14           30605     ELIZA DERDERIAN                           Claim 000651, Payment                               5600-000                                     $695.00      $14,435,496.14
                                                                          100.00000%
                                PO Box 341 307
                                Pacoima, CA 91334
   08/27/14           30606     SECOND CHANCE CREDIT                      Claim 000653, Payment                               5600-000                                  $2,195.00       $14,433,301.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30607     MARTIN JANUTOLO                           Claim 000654A, Payment                              5600-000                                  $2,600.00       $14,430,701.14
                                                                          100.00000%
                                547 Franklin Street
                                Hamilton, OH 45013
   08/27/14           30608     MARTIN JANUTOLO                           Claim 000654Aa, Payment                             5600-000                                 $11,857.00       $14,418,844.14
                                                                          100.00000%
                                547 Franklin Street
                                Hamilton, OH 45013
   08/27/14           30609     MELVIN MCKENZIE                           Claim 000655, Payment                               5600-000                                     $750.00      $14,418,094.14
                                                                          100.00000%
                                13255 S W 9th Ct 217
                                Pembroke Pines, FL 33027
   08/27/14           30610     ARGO PARTNERS                             Claim 000656, Payment                               5600-000                                  $2,600.00       $14,415,494.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30611     JESSICA MARTIN                            Claim 000657, Payment                               5600-000                                     $449.00      $14,415,045.14
                                                                          100.00000%
                                126 William Ross Ln
                                Seaford, DE 19973




                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $24,267.00
                                                                              Document          Page 76 of 768
                                                                                                                                                                                          Page:       74

                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


       1                2                            3                                            4                                                   5                6                     7

Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30612     MARK ERAL                                 Claim 000658, Payment                               5600-000                                     $707.00      $14,414,338.14
                                                                          100.00000%
                                15302 SE 186 PL
                                Renton, WA 98058
   08/27/14           30613     SECOND CHANCE CREDIT                      Claim 000659, Payment                               5600-000                                  $1,495.00       $14,412,843.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30614     KRISTINE PHILLIPS                         Claim 000660, Payment                               5600-000                                     $717.00      $14,412,126.14
                                                                          100.00000%
                                14701 US 127
                                Fayette, OH 43521
   08/27/14           30615     ARGO PARTNERS                             Claim 000661, Payment                               5600-000                                  $2,600.00       $14,409,526.14
                                12 West 37th St., 9th Fl.,New York, NY    100.00000%
                                10018
   08/27/14           30616     JOHN MCMILLEN                             Claim 000662, Payment                               5600-000                                     $767.00      $14,408,759.14
                                                                          100.00000%
                                1158 Oldwick Drive
                                Cincinatti, OH 45215
   08/27/14           30617     CRYSTAL MADDEN                            Claim 000663, Payment                               5600-000                                  $2,600.00       $14,406,159.14
                                                                          100.00000%
                                PO BOX 403
                                Hannibal, NY 13074
   08/27/14           30618     SECOND CHANCE CREDIT                      Claim 000664, Payment                               5600-000                                  $2,022.00       $14,404,137.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30619     ASSET RECOVERY MANAGEMENT,                Claim 000665, Payment                               5600-000                                  $2,600.00       $14,401,537.14
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30620     ARGO PARTNERS                             Claim 000666, Payment                               5600-000                                  $2,600.00       $14,398,937.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $16,108.00
                                                                              Document          Page 77 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30621     EDWARD & MISTY MANN                       Claim 000667, Payment                               5600-000                                  $1,512.00       $14,397,425.14
                                                                          100.00000%
                                20 Grandview Ave
                                Pitman, NJ 08071
   08/27/14           30622     ANGEL COLON                               Claim 000668, Payment                               5600-000                                  $2,600.00       $14,394,825.14
                                                                          100.00000%
                                24 Jones Street
                                Newton, MA 02458
   08/27/14           30623     BENEDICT DONARUMA JR                      Claim 000669, Payment                               5600-000                                  $2,600.00       $14,392,225.14
                                                                          100.00000%
                                25 Barbertown-Idell Rd.
                                Frenchtown, NJ 08825
   08/27/14           30624     LIQUIDITY SOLUTIONS, INC.                 Claim 000671, Payment                               5600-000                                  $1,623.00       $14,390,602.14
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30625     RICHARD MCCOY                             Claim 000672, Payment                               5600-000                                     $256.00      $14,390,346.14
                                                                          100.00000%
                                2605 5th Avenue
                                Gulfport, MS 39501
   08/27/14           30626     CHARLES LANGLEY                           Claim 000673, Payment                               5600-004                                  $2,125.00       $14,388,221.14
                                                                          100.00000%
                                950 14TH ST APT 233
                                CLOQUET, MN 55720-2545
   08/27/14           30627     SHERYL SKUBIC-BRONNER                     Claim 000675, Payment                               5600-000                                     $271.00      $14,387,950.14
                                                                          100.00000%
                                1475 IVY AVE E
                                SAINT PAUL, MN 55106-2105
   08/27/14           30628     DESTA MILLIGAN                            Claim 000676, Payment                               5600-000                                     $451.00      $14,387,499.14
                                                                          100.00000%
                                616 S. Queen St.
                                Martinsburg, WV 25401
   08/27/14           30629     CHARLES WILLIAMS                          Claim 000677, Payment                               5600-000                                     $614.00      $14,386,885.14
                                                                          100.00000%
                                209 Harris Manor Drive
                                Atlanta, GA 30311




                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $12,052.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30630     HOWARD BEEDLES JR                         Claim 000678, Payment                               5600-000                                     $464.00      $14,386,421.14
                                                                          100.00000%
                                191-11 121 Ave
                                Saint Albans, NY 11412
   08/27/14           30631     MONICA RAMNARINE                          Claim 000679, Payment                               5600-000                                     $468.00      $14,385,953.14
                                                                          100.00000%
                                10730 126th street
                                Richmond Hill, NY 11419
   08/27/14           30632     ASSET RECOVERY MANAGEMENT,                Claim 000680, Payment                               5600-000                                  $2,600.00       $14,383,353.14
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30633     NANCY ADAMS                               Claim 000681, Payment                               5600-000                                     $559.00      $14,382,794.14
                                                                          100.00000%
                                10 Wedgewood Rd
                                DOVER, NH 03820
   08/27/14           30634     ASSET RECOVERY MANAGEMENT,                Claim 000682A, Payment                              5600-000                                  $2,600.00       $14,380,194.14
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30635     ARGO PARTNERS                             Claim 000683A, Payment                              5600-000                                  $2,600.00       $14,377,594.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30636     SECOND CHANCE CREDIT                      Claim 000684, Payment                               5600-000                                  $2,600.00       $14,374,994.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30637     AMIRSHAD DEJBAKHSH                        Claim 000687, Payment                               5600-000                                  $2,091.00       $14,372,903.14
                                                                          100.00000%
                                3678 E. Thornton Ave
                                Gilbert, AZ 85297-3057




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                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $13,982.00
                                                                              Document          Page 79 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30638     SECOND CHANCE CREDIT                      Claim 000688, Payment                               5600-000                                  $2,087.00       $14,370,816.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30639     LENETTE BELEN                             Claim 000689, Payment                               5600-000                                     $895.00      $14,369,921.14
                                                                          100.00000%
                                1735 W Fern Dr
                                Fullerton, CA 92833
   08/27/14           30640     CHAD BEELER                               Claim 000690A, Payment                              5600-000                                  $1,181.00       $14,368,740.14
                                                                          100.00000%
                                PO Box 531
                                Laguna beach, CA 92652
   08/27/14           30641     KATHLEEN BASURTO                          Claim 000691, Payment                               5600-000                                     $592.00      $14,368,148.14
                                                                          100.00000%
                                1431 Greens Court
                                Glendale Heights, IL 60139
   08/27/14           30642     GRACE BEEK                                Claim 000692, Payment                               5600-000                                  $2,600.00       $14,365,548.14
                                                                          100.00000%
                                215 25th Street SW
                                Mason City, IA 50401
   08/27/14           30643     MELISA MULLINS RAINES                     Claim 000694, Payment                               5600-000                                  $2,600.00       $14,362,948.14
                                                                          100.00000%
                                PO Box 84
                                Elkwood, VA 22718
   08/27/14           30644     NITA FREMPONG                             Claim 000695, Payment                               5600-000                                  $2,266.00       $14,360,682.14
                                                                          100.00000%
                                5636 Tower Hill Circle
                                Alexandria, VA 22315
   08/27/14           30645     CHRISTINE CLARK                           Claim 000696, Payment                               5600-000                                     $317.00      $14,360,365.14
                                                                          100.00000%
                                135 Bear Run Lane
                                Pollocksville, NC 28573
   08/27/14           30646     EILEEN YOUNG                              Claim 000697A, Payment                              5600-004                                  $2,358.00       $14,358,007.14
                                                                          100.00000%
                                2161 Amber Drive
                                Fort Mohave, AZ 86426




                                    Case 10-30631               Doc 5751        Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30647     ARGO PARTNERS                             Claim 000699, Payment                               5600-000                                  $2,600.00       $14,355,407.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30648     LAURA BOND                                Claim 000700, Payment                               5600-000                                     $557.00      $14,354,850.14
                                                                          100.00000%
                                2572 Spencer Pl
                                San Pablo, CA 94806
   08/27/14           30649     JOHN ZELANO                               Claim 000702, Payment                               5600-000                                     $392.00      $14,354,458.14
                                                                          100.00000%
                                2940 Tangerine Lane
                                Lake Park, FL 33403
   08/27/14           30650     IRISH KEITH                               Claim 000705, Payment                               5600-000                                  $1,225.00       $14,353,233.14
                                                                          100.00000%
                                11106 River Ridge
                                Canton, GA 30114
   08/27/14           30651     ASSET RECOVERY MANAGEMENT,                Claim 000706, Payment                               5600-000                                  $2,500.00       $14,350,733.14
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30652     GEGARPI GULASARIAN                        Claim 000707, Payment                               5600-000                                     $410.00      $14,350,323.14
                                                                          100.00000%
                                PO Box 341307
                                Pacoima, CA 91334
   08/27/14           30653     ARGO PARTNERS                             Claim 000708, Payment                               5600-000                                  $2,600.00       $14,347,723.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30654     MERRYL GOLDBERG                           Claim 000709, Payment                               5600-000                                     $310.00      $14,347,413.14
                                                                          100.00000%
                                27 Williams Court
                                East Brunswick, NJ 08816
   08/27/14           30655     RODERICK JENNINGS                         Claim 000710, Payment                               5600-000                                  $1,450.00       $14,345,963.14
                                                                          100.00000%
                                1185 Shiloh Church Rd
                                Nathalie, VA 24577




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30656     NANCY CALVARIO                            Claim 000711, Payment                               5600-000                                  $2,123.00       $14,343,840.14
                                                                          100.00000%
                                1616 Pennsylvania Avenue 164
                                Vineland, NJ 08361
   08/27/14           30657     YVETTE PECK                               Claim 000712, Payment                               5600-000                                  $2,153.00       $14,341,687.14
                                                                          100.00000%
                                PO Box 10090
                                Inglewood, CA 90304
   08/27/14           30658     MATTHEW EBBEN                             Claim 000713, Payment                               5600-000                                     $263.00      $14,341,424.14
                                                                          100.00000%
                                443 West Mill Street
                                Mondovi, WI 54755
   08/27/14           30659     FRANK ESPOSITO                            Claim 000714, Payment                               5600-000                                     $202.00      $14,341,222.14
                                                                          100.00000%
                                208 Tullich Way
                                Holly Springs, NC 27540
   08/27/14           30660     SHIRLEY NESS                              Claim 000715, Payment                               5600-000                                  $2,600.00       $14,338,622.14
                                                                          100.00000%
                                805 Pine Street
                                Julesburg, CO 80737
   08/27/14           30661     BRENDA GANTT                              Claim 000716, Payment                               5600-000                                  $1,123.00       $14,337,499.14
                                                                          100.00000%
                                20 Richman Plaza Apt 23K
                                Bronx, NY 10453
   08/27/14           30662     STEVEN PURDY                              Claim 000717, Payment                               5600-000                                     $345.00      $14,337,154.14
                                                                          100.00000%
                                3704 State Route 164
                                Leetonia, OH 44431
   08/27/14           30663     SUSAN BYLER                               Claim 000718, Payment                               5600-000                                     $188.00      $14,336,966.14
                                                                          100.00000%
                                PO BOX 88
                                FARMINGTON, OH 44491
   08/27/14           30664     ARGO PARTNERS                             Claim 000719, Payment                               5600-000                                  $2,600.00       $14,334,366.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
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                                                                              Document          Page 82 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30665     ARGO PARTNERS                             Claim 000720, Payment                               5600-000                                  $2,600.00       $14,331,766.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30666     GLADYS WICKER                             Claim 000721, Payment                               5600-000                                     $488.00      $14,331,278.14
                                                                          100.00000%
                                6130 TENNIS CIR
                                FAIRBURN, GA 30213
   08/27/14           30667     CAROLYN HINNANT                           Claim 000722, Payment                               5600-000                                  $1,337.00       $14,329,941.14
                                                                          100.00000%
                                5317 Ten Ten Road
                                Apex, NC 27539
   08/27/14           30668     BRIAN KASPER                              Claim 000723, Payment                               5600-004                                  $2,600.00       $14,327,341.14
                                                                          100.00000%
                                122 North Pamela Dr
                                Chicago Heights, IL 60411
   08/27/14           30669     LIQUIDITY SOLUTIONS, INC.                 Claim 000724, Payment                               5600-000                                  $1,297.00       $14,326,044.14
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30670     ARGO PARTNERS                             Claim 000725, Payment                               5600-000                                  $2,600.00       $14,323,444.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30671     ARGO PARTNERS                             Claim 000726, Payment                               5600-000                                  $2,600.00       $14,320,844.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30672     LIQUIDITY SOLUTIONS, INC.                 Claim 000727, Payment                               5600-000                                  $2,600.00       $14,318,244.14
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30673     DAN EASLEY                                Claim 000728, Payment                               5600-000                                  $2,600.00       $14,315,644.14
                                                                          100.00000%
                                c/o Everett B. Saslow Jr
                                Chapter 7 Trustee
                                PO Box 989
                                Greensboro NC 27402



                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $18,722.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30674     CONNIE SORRENTINO                         Claim 000729, Payment                               5600-000                                  $1,803.00       $14,313,841.14
                                                                          100.00000%
                                389 Green Rd 635
                                Paragould, AR 72450
   08/27/14           30675     JOHN MITCHELL                             Claim 000730, Payment                               5600-000                                  $2,600.00       $14,311,241.14
                                                                          100.00000%
                                446 Mission Dr
                                Pleasanton, CA 94566
   08/27/14           30676     ARGO PARTNERS                             Claim 000731, Payment                               5600-000                                  $2,600.00       $14,308,641.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30677     ARGO PARTNERS                             Claim 000732, Payment                               5600-000                                  $2,295.00       $14,306,346.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30678     SECOND CHANCE CREDIT                      Claim 000734, Payment                               5600-000                                  $2,535.00       $14,303,811.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30679     LINDA BREWER                              Claim 000735, Payment                               5600-000                                     $758.00      $14,303,053.14
                                                                          100.00000%
                                1742 N Decatur Blvd #8
                                Las Vegas, NV 89108
   08/27/14           30680     TRESSA FLOYD                              Claim 000736, Payment                               5600-004                                     $463.00      $14,302,590.14
                                                                          100.00000%
                                1801 Blacks Creek Rd
                                Lexington, VA 24450
   08/27/14           30681     CHRISHELLE CAVOLY                         Claim 000737, Payment                               5600-000                                  $2,600.00       $14,299,990.14
                                                                          100.00000%
                                9540 State Route 28
                                Poland, NY 13431
   08/27/14           30682     ARGO PARTNERS                             Claim 000738, Payment                               5600-000                                  $2,600.00       $14,297,390.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $18,254.00
                                                                              Document          Page 84 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30683     ARGO PARTNERS                             Claim 000739, Payment                               5600-000                                  $2,600.00       $14,294,790.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30684     PATRICIA STEWART                          Claim 000740, Payment                               5600-000                                     $408.00      $14,294,382.14
                                                                          100.00000%
                                4522 N. Plantation Harbour Dr.
                                Unit E-14
                                Little River, SC 29566
   08/27/14           30685     LIQUIDITY SOLUTIONS, INC.                 Claim 000741, Payment                               5600-000                                  $2,600.00       $14,291,782.14
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30686     RALPH HARTSOCK                            Claim 000742, Payment                               5600-000                                  $2,094.00       $14,289,688.14
                                                                          100.00000%
                                PO Box 1484
                                Topock, AZ 86436
   08/27/14           30687     SECOND CHANCE CREDIT                      Claim 000743, Payment                               5600-000                                  $1,855.00       $14,287,833.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30688     GERRY LOGAN                               Claim 000744, Payment                               5600-000                                  $2,465.00       $14,285,368.14
                                                                          100.00000%
                                10740 Hwy 346
                                Pontotoc, MS 38863
   08/27/14           30689     TIMOTHY ST. PIERRE                        Claim 000745, Payment                               5600-000                                  $2,600.00       $14,282,768.14
                                257 Kimina Dr.Gray, LA 70359              100.00000%
   08/27/14           30690     EDA ACETO                                 Claim 000749, Payment                               5600-000                                  $2,600.00       $14,280,168.14
                                                                          100.00000%
                                9608 218th St Court East
                                Graham, WA 98338
   08/27/14           30691     MARK HENDERSON                            Claim 000750, Payment                               5600-000                                     $649.00      $14,279,519.14
                                                                          100.00000%
                                14782 Roxton Avenue
                                Gardena, CA 90249




                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $17,871.00
                                                                              Document          Page 85 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30692     DELORES PLOURDE                           Claim 000751, Payment                               5600-000                                     $629.00      $14,278,890.14
                                                                          100.00000%
                                9 Laurel Dr
                                Brookfield, CT 06804
   08/27/14           30693     JUDI SCHERTZ                              Claim 000752, Payment                               5600-004                                  $2,600.00       $14,276,290.14
                                                                          100.00000%
                                123 W Wisconsin Ave.
                                Appleton, WI 54911
   08/27/14           30694     ARGO PARTNERS                             Claim 000753, Payment                               5600-000                                  $2,600.00       $14,273,690.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30695     TINA HIVELY                               Claim 000754, Payment                               5600-000                                     $264.00      $14,273,426.14
                                                                          100.00000%
                                622 Bunker Hill Rd
                                Addison, NY 14801
   08/27/14           30696     DAVID FARRIS                              Claim 000755, Payment                               5600-000                                     $395.00      $14,273,031.14
                                                                          100.00000%
                                18321 Cayenne Dr.
                                San Bernardino, CA 92407
   08/27/14           30697     ARGO PARTNERS                             Claim 000756A, Payment                              5600-000                                  $2,600.00       $14,270,431.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30698     ANITA MIHALIK                             Claim 000757, Payment                               5600-000                                  $2,546.00       $14,267,885.14
                                                                          100.00000%
                                PO Box 793
                                Etowah, NC 28729
   08/27/14           30699     MARSHA GASKEY                             Claim 000758, Payment                               5600-004                                  $1,862.00       $14,266,023.14
                                                                          100.00000%
                                18 Tarrymore Lane
                                Concord, NC 28027
   08/27/14           30700     GASTON ALVARADO                           Claim 000759, Payment                               5600-000                                     $779.00      $14,265,244.14
                                                                          100.00000%
                                418 Chestnut Ave Apt A
                                South Hackensack, NJ 07606




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                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $14,275.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30701     JEANNE QUIRKE                             Claim 000760, Payment                               5600-000                                     $696.00      $14,264,548.14
                                                                          100.00000%
                                41 Scout Hill Rd
                                Mahopac, NY 10541
   08/27/14           30702     DONALD HERBST                             Claim 000761, Payment                               5600-000                                     $473.00      $14,264,075.14
                                                                          100.00000%
                                1827 Grassy Knoll Dr
                                Romeoville, IL 60446
   08/27/14           30703     JIMMY SANDERS                             Claim 000762, Payment                               5600-000                                  $2,185.00       $14,261,890.14
                                                                          100.00000%
                                67 Club 16 RD
                                Midway, AL 36053
   08/27/14           30704     BRUCE KIRBY                               Claim 000763, Payment                               5600-000                                  $2,054.00       $14,259,836.14
                                                                          100.00000%
                                1809 Baywood Dr
                                Wixom, MI 48393
   08/27/14           30705     ORONZO DELISO                             Claim 000764, Payment                               5600-000                                  $2,600.00       $14,257,236.14
                                                                          100.00000%
                                90 Cranford Street
                                Staten Island, NY 10308
   08/27/14           30706     LIQUIDITY SOLUTIONS, INC.                 Claim 000765, Payment                               5600-000                                  $1,926.00       $14,255,310.14
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30707     KIMBERLY LEPORE                           Claim 000766, Payment                               5600-000                                  $1,068.00       $14,254,242.14
                                                                          100.00000%
                                12311 Panthersville Drive
                                Charlotte, NC 28269
   08/27/14           30708     CATHERINE BRETT                           Claim 000767, Payment                               5600-000                                     $575.00      $14,253,667.14
                                                                          100.00000%
                                106 B Dunes Court
                                Atlantic Beach, NC 28512
   08/27/14           30709     ASSET RECOVERY MANAGEMENT,                Claim 000768, Payment                               5600-000                                  $2,600.00       $14,251,067.14
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064




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                                                                                                                                                     Desc Main         $14,177.00
                                                                              Document          Page 87 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30710     LINDA HULIN                               Claim 000771, Payment                               5600-000                                     $280.00      $14,250,787.14
                                                                          100.00000%
                                10926 Old Hammond Hwy Apt. 32
                                Baton Rouge, LA 70816
   08/27/14           30711     SECOND CHANCE CREDIT                      Claim 000772, Payment                               5600-000                                     $692.00      $14,250,095.14
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30712     ARGO PARTNERS                             Claim 000773, Payment                               5600-000                                  $2,600.00       $14,247,495.14
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30713     ROSEMARIE GLENN                           Claim 000774, Payment                               5600-000                                     $242.25      $14,247,252.89
                                3 Dons Dr.Belleville, IL 62226            100.00000%
   08/27/14           30714     ARGO PARTNERS                             Claim 000775, Payment                               5600-000                                  $2,600.00       $14,244,652.89
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30715     LIQUIDITY SOLUTIONS, INC.                 Claim 000776, Payment                               5600-000                                  $1,418.00       $14,243,234.89
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30716     JOSEPH HERBAUGH                           Claim 000777, Payment                               5600-000                                  $1,824.00       $14,241,410.89
                                                                          100.00000%
                                9420 Via Monique
                                Burbank, CA 91504
   08/27/14           30717     ASSET RECOVERY MANAGEMENT,                Claim 000778, Payment                               5600-000                                  $2,600.00       $14,238,810.89
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30718     ARGO PARTNERS                             Claim 000779, Payment                               5600-000                                  $2,600.00       $14,236,210.89
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30719     LIQUIDITY SOLUTIONS, INC.                 Claim 000780, Payment                               5600-000                                  $2,600.00       $14,233,610.89
                                                                          100.00000%
                                One University Plaza
                                Suite 312
                                Hackensack, NJ 07601
   08/27/14           30720     BYONG BOND                                Claim 000781, Payment                               5600-004                                  $2,395.00       $14,231,215.89
                                                                          100.00000%
                                29 48th Street
                                Guifport, MS 39507
   08/27/14           30721     DOROTHY SCOTT                             Claim 000782, Payment                               5600-000                                     $656.00      $14,230,559.89
                                                                          100.00000%
                                15622 Pine Mountain Drive
                                Houston, TX 77084
   08/27/14           30722     ALLEN LANGLEY                             Claim 000783, Payment                               5600-000                                  $2,600.00       $14,227,959.89
                                                                          100.00000%
                                309 Johnson Street
                                Elton, LA 70532
   08/27/14           30723     ARGO PARTNERS                             Claim 000784, Payment                               5600-000                                  $2,600.00       $14,225,359.89
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30724     RICHARD RICE                              Claim 000785, Payment                               5600-000                                  $2,359.00       $14,223,000.89
                                                                          100.00000%
                                1104 North Spring Street
                                Beaver Dam, WI 53916
   08/27/14           30725     HOLLY FARRAR                              Claim 000787, Payment                               5600-004                                  $2,600.00       $14,220,400.89
                                                                          100.00000%
                                5807 Lowell Rd
                                Everett, WA 98203
   08/27/14           30726     MARTIN NGOM                               Claim 000788, Payment                               5600-000                                  $1,285.00       $14,219,115.89
                                                                          100.00000%
                                3620 S Northern Blvd
                                Independence, MO 64052
   08/27/14           30727     PHILIP PATTERSON                          Claim 000789, Payment                               5600-000                                  $2,600.00       $14,216,515.89
                                                                          100.00000%
                                160 Senter Rd
                                San Jose, CA 95111




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30728     CINDY DIXON                               Claim 000790, Payment                               5600-000                                     $392.00      $14,216,123.89
                                                                          100.00000%
                                315 Heritage Road
                                Statesville, NC 28625
   08/27/14           30729     KYLE LAFOND                               Claim 000791, Payment                               5600-000                                  $2,600.00       $14,213,523.89
                                417 Orehard DriveMadison, WI 53711        100.00000%
   08/27/14           30730     GARY BROADDUS, REBECCA DENMAN Claim 000792, Payment                                           5600-000                                  $2,600.00       $14,210,923.89
                                1039 Seymour StReedsburg, WI 53959 100.00000%
   08/27/14           30731     JAMES NAYLOR                              Claim 000794, Payment                               5600-000                                  $2,600.00       $14,208,323.89
                                                                          100.00000%
                                596 Richie Road
                                Mocksville, NC 27028
   08/27/14           30732     MALCOLM WILSON                            Claim 000795, Payment                               5600-000                                  $2,600.00       $14,205,723.89
                                                                          100.00000%
                                5680 Hwy 349 South
                                Potts Camp, MS 38659
   08/27/14           30733     JOANNA VAN BALLE                          Claim 000796, Payment                               5600-000                                     $435.00      $14,205,288.89
                                                                          100.00000%
                                102 S Fremont St PO Box 43
                                Monroe, IA 50170
   08/27/14           30734     RODNEY HOYT                               Claim 000797, Payment                               5600-000                                     $286.00      $14,205,002.89
                                                                          100.00000%
                                13253 Golders Green Place
                                Bristow, VA 20136
   08/27/14           30735     MARIE PAMELA B ROMERO                     Claim 000798, Payment                               5600-004                                     $875.00      $14,204,127.89
                                                                          100.00000%
                                949 Sunbonnet Loop
                                San Jose, CA 95125
   08/27/14           30736     MATTHEW FOX                               Claim 000799, Payment                               5600-000                                  $2,600.00       $14,201,527.89
                                                                          100.00000%
                                5197 Devon Drive
                                Vermilion, OH 44089
   08/27/14           30737     THELMA KING                               Claim 000800, Payment                               5600-000                                     $327.00      $14,201,200.89
                                                                          100.00000%
                                5735 Northfield Dr
                                Ellenwood, GA 30294




                                    Case 10-30631               Doc 5751        Page Subtotals:
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                                                                                                                                                     Desc Main         $15,315.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30738     DAVID CLOWARD                             Claim 000802, Payment                               5600-000                                  $2,600.00       $14,198,600.89
                                                                          100.00000%
                                2834 E Caoal Creek Rd
                                Price, UT 84501
   08/27/14           30739     MALCOLM BOYER                             Claim 000803, Payment                               5600-000                                  $2,600.00       $14,196,000.89
                                                                          100.00000%
                                504 Oak Ave.
                                Nine Mile Point, LA 70094
   08/27/14           30740     LILLIE REYNOLDS                           Claim 000804, Payment                               5600-000                                     $228.00      $14,195,772.89
                                                                          100.00000%
                                844 West 600 North
                                Clearfield, UT 84015
   08/27/14           30741     ARGO PARTNERS                             Claim 000805A, Payment                              5600-000                                  $2,600.00       $14,193,172.89
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30742     GEORGE HABERSTUMPF                        Claim 000806, Payment                               5600-000                                  $2,406.00       $14,190,766.89
                                                                          100.00000%
                                4360 Douglaston Pkwy Apt 604
                                Little Neck, NY 11363
   08/27/14           30743     SECOND CHANCE CREDIT                      Claim 000807, Payment                               5600-000                                     $919.00      $14,189,847.89
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30744     LIQUIDITY SOLUTIONS, INC.                 Claim 000808, Payment                               5600-000                                  $2,600.00       $14,187,247.89
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30745     ARGO PARTNERS                             Claim 000809, Payment                               5600-000                                  $2,600.00       $14,184,647.89
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30746     GERALDINE BARNETT                         Claim 000810, Payment                               5600-000                                   $2,119.00      $14,182,528.89
                                                                          100.00000%
                                3057 Desoto Caverns Pkwy
                                Childersburgh, AL 35044




                                    Case 10-30631                Doc 5751       Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30747     TRAEGER SIMPSON                           Claim 000811, Payment                               5600-000                                     $635.00      $14,181,893.89
                                                                          100.00000%
                                446 Hampton Green Dr
                                LaGrange, GA 30240
   08/27/14           30748     LIQUIDITY SOLUTIONS, INC.                 Claim 000813, Payment                               5600-000                                  $2,600.00       $14,179,293.89
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30749     KENNETH SEAGRAVE                          Claim 000814, Payment                               5600-000                                  $2,600.00       $14,176,693.89
                                                                          100.00000%
                                45 PLEASANT VIEW CIR
                                SISTERSVILLE, WV 26175
   08/27/14           30750     CHRISTOPHER MELCHIN                       Claim 000816, Payment                               5600-000                                  $2,600.00       $14,174,093.89
                                                                          100.00000%
                                388 Beale Street
                                Quincy, MA 02170
   08/27/14           30751     MARY GIRAUD                               Claim 000817, Payment                               5600-000                                  $1,579.00       $14,172,514.89
                                5311 Eel River Ct.North Las Vegas, NV     100.00000%
                                89031
   08/27/14           30752     SHLAIMON SAWA                             Claim 000818, Payment                               5600-000                                  $2,600.00       $14,169,914.89
                                                                          100.00000%
                                407 West Madison Ave
                                El-Cajon, CA 92020
   08/27/14           30753     LIQUIDITY SOLUTIONS, INC.                 Claim 000819, Payment                               5600-000                                  $2,275.00       $14,167,639.89
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30754     ROSINA VITOLO                             Claim 000820, Payment                               5600-000                                  $1,155.00       $14,166,484.89
                                                                          100.00000%
                                12603 Moorpark St. Apt 105
                                Studio City, CA 91604
   08/27/14           30755     ARGO PARTNERS                             Claim 000821, Payment                               5600-000                                  $2,600.00       $14,163,884.89
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           30756     DEANNA REID                               Claim 000822, Payment                               5600-000                                     $151.00      $14,163,733.89
                                                                          100.00000%
                                826 North Deal Ave
                                Newton, NC 28658



                                    Case 10-30631                Doc 5751       Page Subtotals:
                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                     Desc Main         $18,795.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30757     ELBERT HARRIS                             Claim 000823, Payment                               5600-000                                  $2,600.00       $14,161,133.89
                                                                          100.00000%
                                87 East 34th St
                                Paterson, NJ 07514
   08/27/14           30758     ARGO PARTNERS                             Claim 000824A, Payment                              5600-000                                     $964.00      $14,160,169.89
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30759     LIQUIDITY SOLUTIONS, INC.                 Claim 000826, Payment                               5600-000                                  $2,288.00       $14,157,881.89
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30760     KYLE ROBERTSON                            Claim 000827, Payment                               5600-000                                     $460.00      $14,157,421.89
                                                                          100.00000%
                                1617 Clark
                                Parsons, KS 67357
   08/27/14           30761     CATHY CHIN                                Claim 000829, Payment                               5600-000                                  $1,181.00       $14,156,240.89
                                                                          100.00000%
                                11436 Meadow Grass Lane
                                San Diego, CA 92128
   08/27/14           30762     VERONICA CHAPLIN                          Claim 000830, Payment                               5600-000                                  $2,600.00       $14,153,640.89
                                                                          100.00000%
                                41 Myrtle Ave
                                Troy, NY 12180
   08/27/14           30763     MICHAEL COOPER                            Claim 000831, Payment                               5600-000                                  $2,600.00       $14,151,040.89
                                                                          100.00000%
                                PO Box 77251
                                Tucson, AZ 85703
   08/27/14           30764     CHRISTINE RILEY                           Claim 000832, Payment                               5600-000                                  $2,600.00       $14,148,440.89
                                7435 Birds Eye TerraceBradenton, FL       100.00000%
                                34203
   08/27/14           30765     RODNEY BOWDEN                             Claim 000833, Payment                               5600-000                                  $2,600.00       $14,145,840.89
                                                                          100.00000%
                                1806 Gravers Lane
                                Wilmington, DE 19810
   08/27/14           30766     CHRISTINE NYUN-HAN                        Claim 000834, Payment                               5600-000                                  $2,600.00       $14,143,240.89
                                                                          100.00000%
                                1250 Bel Air Drive
                                Santa Barbara, CA 93105


                                    Case 10-30631                Doc 5751       Page Subtotals:
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                                                                                                                                                     Desc Main         $20,493.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30767     STEVEN VEGA                               Claim 000835, Payment                               5600-000                                     $235.00      $14,143,005.89
                                                                          100.00000%
                                2802 Primrose Court
                                Orlando, FL 32803
   08/27/14           30768     ARGO PARTNERS                             Claim 000836, Payment                               5600-000                                  $2,600.00       $14,140,405.89
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30769     TAMIKA KELLY                              Claim 000837, Payment                               5600-004                                  $2,600.00       $14,137,805.89
                                                                          100.00000%
                                157 Halsteed St Apt 307
                                East Orange, NJ 07018
   08/27/14           30770     ROSAURO TOLEDO                            Claim 000838, Payment                               5600-000                                  $2,600.00       $14,135,205.89
                                                                          100.00000%
                                1315 Yulupa Avenue
                                Santa Rosa, CA 95405
   08/27/14           30771     JUSTO RUIZ                                Claim 000839, Payment                               5600-000                                  $2,600.00       $14,132,605.89
                                                                          100.00000%
                                PO Box 85757
                                San Diego, CA 92186-5757
   08/27/14           30772     JOE SHAFFER SR                            Claim 000840, Payment                               5600-004                                  $1,105.00       $14,131,500.89
                                                                          100.00000%
                                627 Westwood St.
                                Hagerstown, MD 21740
   08/27/14           30773     JOE FORD                                  Claim 000841, Payment                               5600-004                                  $1,757.00       $14,129,743.89
                                                                          100.00000%
                                PO BOX 1011
                                Lake View, SC 29563
   08/27/14           30774     LIQUIDITY SOLUTIONS, INC.                 Claim 000842, Payment                               5600-000                                  $1,999.00       $14,127,744.89
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30775     ARGO PARTNERS                             Claim 000843, Payment                               5600-000                                  $2,600.00       $14,125,144.89
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30776     DIANNE LOHFF                              Claim 000844, Payment                               5600-000                                   $2,113.00      $14,123,031.89
                                                                          100.00000%
                                204 22722 LOUGHEAD HWY
                                MAPLE RIDGE, BC V2X 2V6 Canada
   08/27/14           30777     ARGO PARTNERS                             Claim 000845, Payment                               5600-000                                  $2,600.00       $14,120,431.89
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30778     TAMMY DONOVAN                             Claim 000846, Payment                               5600-000                                  $2,600.00       $14,117,831.89
                                                                          100.00000%
                                408 South Craig Ave
                                Covington, VA 24426
   08/27/14           30779     ARGO PARTNERS                             Claim 000847, Payment                               5600-000                                  $2,600.00       $14,115,231.89
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30780     ARGO PARTNERS                             Claim 000849, Payment                               5600-000                                  $2,600.00       $14,112,631.89
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30781     ARGO PARTNERS                             Claim 000850, Payment                               5600-000                                  $2,600.00       $14,110,031.89
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30782     LIQUIDITY SOLUTIONS, INC.                 Claim 000851, Payment                               5600-000                                  $2,503.62       $14,107,528.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30783     EMMA LEWIS                                Claim 000852, Payment                               5600-000                                     $288.00      $14,107,240.27
                                                                          100.00000%
                                302 Smith Ridge Rd
                                Campbellsville, KY 42718
   08/27/14           30784     DEBRA CURTICE                             Claim 000853, Payment                               5600-000                                     $361.00      $14,106,879.27
                                                                          100.00000%
                                3750 Dan Dr
                                Morristown, TN 37814




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30785     ASSET RECOVERY MANAGEMENT,                Claim 000855, Payment                               5600-000                                  $2,600.00       $14,104,279.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30786     MICHAEL CHERRYWELL                        Claim 000857, Payment                               5600-000                                     $352.00      $14,103,927.27
                                                                          100.00000%
                                7576 Gold Coast Rd
                                Crane Lake, MN 55725
   08/27/14           30787     ROBERT SHELTON                            Claim 000858A, Payment                              5600-000                                     $395.00      $14,103,532.27
                                                                          100.00000%
                                220 Bluefinch Dr.
                                Little Elm, TX 75068
   08/27/14           30788     KEVIN DAILEY                              Claim 000859, Payment                               5600-000                                  $2,406.00       $14,101,126.27
                                                                          100.00000%
                                1414 4TH AVE S
                                FORT DODGE, IA 50501
   08/27/14           30789     ESTATE OF GLORIA WALTON              Claim 000860, Payment                                    5600-004                                  $1,405.00       $14,099,721.27
                                131 Georgia LaneWashington, GA 30673 100.00000%
   08/27/14           30790     LLOYD BROWN                             Claim 000861A, Payment                                5600-000                                      $96.00      $14,099,625.27
                                208 West 151st St., Apt. B4New York, NY 100.00000%
                                10039
   08/27/14           30791     SAMUEL GUTIERREZ                          Claim 000862, Payment                               5600-000                                     $990.00      $14,098,635.27
                                                                          100.00000%
                                14813 White Magnolia Ct.
                                Orlando, FL 32824
   08/27/14           30792     SECOND CHANCE CREDIT                      Claim 000863, Payment                               5600-000                                  $1,749.00       $14,096,886.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30793     HELEN GUTIERREZ                           Claim 000864, Payment                               5600-000                                     $353.00      $14,096,533.27
                                                                          100.00000%
                                14813 White Magnolia Ct.
                                Orlando, FL 32824




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                          Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                        Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX3661
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                        ($)
   08/27/14           30794     SECOND CHANCE CREDIT                       Claim 000865, Payment                               5600-000                                  $2,579.00       $14,093,954.27
                                OPPORTUNITIES,                             100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30795     LIQUIDITY SOLUTIONS, INC.                  Claim 000866, Payment                               5600-000                                  $1,143.00       $14,092,811.27
                                                                           100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30796     MELISSA PELOSI                             Claim 000867, Payment                               5600-000                                     $299.00      $14,092,512.27
                                                                           100.00000%
                                1345 Mariposa Circle 102
                                Naples, FL 34105
   08/27/14           30797     MARIANNE NICOLETTI BLEY                    Claim 000868, Payment                               5600-000                                     $500.00      $14,092,012.27
                                480 Strickland Blvd.Lavallette, NJ 08735   100.00000%
   08/27/14           30798     ARGO PARTNERS                              Claim 000870, Payment                               5600-000                                  $2,600.00       $14,089,412.27
                                                                           100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30799     MAUREEN WILSON                             Claim 000871, Payment                               5600-000                                  $2,600.00       $14,086,812.27
                                                                           100.00000%
                                810 SEWICKLEY HEIGHTS DR
                                SEWICKLEY, PA15143-8921
   08/27/14           30800     BETTE SEARS                                Claim 000872, Payment                               5600-000                                     $875.00      $14,085,937.27
                                                                           100.00000%
                                330 Cross Hill Rd
                                Easley, SC 29640
   08/27/14           30801     MARLENE BONAIUTO                           Claim 000873, Payment                               5600-000                                  $1,860.00       $14,084,077.27
                                61 Stonebridge WayBerlin, CT 06037         100.00000%
   08/27/14           30802     BRIAN NEWMAN                               Claim 000874, Payment                               5600-000                                     $546.00      $14,083,531.27
                                                                           100.00000%
                                214 Sun Valley Way
                                Florham Park, NJ 07932
   08/27/14           30803     JILLIAN PISCO                              Claim 000875, Payment                               5600-000                                     $991.00      $14,082,540.27
                                                                           100.00000%
                                6 Barry Dr South
                                Highland Lakes, NJ 07422




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30804     ARGO PARTNERS                             Claim 000876, Payment                               5600-000                                  $2,600.00       $14,079,940.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30805     SECOND CHANCE CREDIT                      Claim 000877, Payment                               5600-000                                  $2,225.00       $14,077,715.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30806     JEFF DUBAY                                Claim 000878A, Payment                              5600-000                                  $2,025.00       $14,075,690.27
                                                                          100.00000%
                                2056 2nd Street
                                Lake Park, MN 56554
   08/27/14           30807     ARGO PARTNERS                             Claim 000880, Payment                               5600-000                                  $2,600.00       $14,073,090.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30808     ERCILIA ALVAREZ                           Claim 000881A, Payment                              5600-004                                  $1,782.00       $14,071,308.27
                                                                          100.00000%
                                PO Box 524
                                Bronx, NY 10468
   08/27/14           30809     MARIEFLORENCE LAFALAISE                   Claim 000882, Payment                               5600-000                                  $2,278.00       $14,069,030.27
                                                                          100.00000%
                                15625 SW 100 Lane
                                Miami, FL 33196
   08/27/14           30810     ARGO PARTNERS                             Claim 000883, Payment                               5600-000                                  $2,600.00       $14,066,430.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30811     LISA DODGE                                Claim 000884, Payment                               5600-000                                  $2,410.00       $14,064,020.27
                                                                          100.00000%
                                768 Lawson Rd
                                Pattersonville, NY 12137
   08/27/14           30812     ROBERT BURNSIDE                           Claim 000885, Payment                               5600-000                                     $310.00      $14,063,710.27
                                                                          100.00000%
                                29220 Seabiscuit Drive
                                Fair Oaks Ranch, TX 78015




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30813     ARGO PARTNERS                             Claim 000886, Payment                               5600-000                                  $2,600.00       $14,061,110.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30814     MARK DUCKETT                              Claim 000888, Payment                               5600-000                                  $2,190.00       $14,058,920.27
                                                                          100.00000%
                                147 FRONT ST N
                                COWAN, TN 37318
   08/27/14           30815     LIQUIDITY SOLUTIONS, INC.                 Claim 000889, Payment                               5600-000                                  $1,351.00       $14,057,569.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30816     PHILLIP SMITH                             Claim 000890, Payment                               5600-004                                  $1,861.00       $14,055,708.27
                                                                          100.00000%
                                103 KENWOOD CT APT 5
                                Normal, IL 61761-4705
   08/27/14           30817     SECOND CHANCE CREDIT                      Claim 000891, Payment                               5600-000                                     $825.00      $14,054,883.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30818     ROSAIDA PEREZ                             Claim 000893, Payment                               5600-000                                  $1,305.00       $14,053,578.27
                                                                          100.00000%
                                153 Norfolk Street Apt 2G
                                New York, NY 10002
   08/27/14           30819     ARGO PARTNERS                             Claim 000894, Payment                               5600-000                                  $2,600.00       $14,050,978.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30820     ARGO PARTNERS                             Claim 000895, Payment                               5600-000                                  $2,600.00       $14,048,378.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30821     JERRY AYERS                               Claim 000896, Payment                               5600-000                                     $850.00      $14,047,528.27
                                                                          100.00000%
                                30 Terra Pines Gate
                                Yaphank, NY 11980




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30822     LESLIE STRADER                            Claim 000897, Payment                               5600-004                                  $2,600.00       $14,044,928.27
                                                                          100.00000%
                                6897 FOUNDERS ROW UNIT 112
                                WEST CHESTER, OH 45069
   08/27/14           30823     MARLENE WHITMAN                           Claim 000898, Payment                               5600-000                                     $282.00      $14,044,646.27
                                                                          100.00000%
                                2208 Lincoln Avenue
                                Parma, OH 44134-1521
   08/27/14           30824     TAMMY ETHERIDGE                           Claim 000899, Payment                               5600-000                                  $2,600.00       $14,042,046.27
                                                                          100.00000%
                                207 Old Farm Rd.
                                Roanoke Rapids, NC 27870
   08/27/14           30825     TERESA PEREZ-ANDERSON                     Claim 000900, Payment                               5600-000                                     $818.00      $14,041,228.27
                                                                          100.00000%
                                45305 Camino Monzon
                                Temecula, CA 92592
   08/27/14           30826     ARGO PARTNERS                             Claim 000901, Payment                               5600-000                                  $1,189.00       $14,040,039.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30827     FRANCES JONES                             Claim 000902, Payment                               5600-004                                     $165.00      $14,039,874.27
                                                                          100.00000%
                                7636 South Saginaw Apt GA
                                Chicago, IL 60649
   08/27/14           30828     LAUREN TRENDLER                           Claim 000903, Payment                               5600-000                                     $591.00      $14,039,283.27
                                                                          100.00000%
                                809 West Madison Apt 3
                                Ann Arbor, MI 48103
   08/27/14           30829     CLAUDIA BRISENDINE                        Claim 000904, Payment                               5600-000                                  $1,002.00       $14,038,281.27
                                                                          100.00000%
                                18523 SE 215th St
                                Renton, WA 98058
   08/27/14           30830     MARY BRODERICK-LUEDTKE                    Claim 000906, Payment                               5600-000                                  $2,548.00       $14,035,733.27
                                                                          100.00000%
                                315 Tartan Dr
                                North Liberty, IA 52317




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 100 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30831     CHRISTINE CANTU                           Claim 000907, Payment                               5600-000                                  $1,559.00       $14,034,174.27
                                                                          100.00000%
                                2615 Willow Street
                                Austin, TX 78702
   08/27/14           30832     ARGO PARTNERS                             Claim 000908A, Payment                              5600-000                                  $2,600.00       $14,031,574.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30833     SHANE MCLAUGHLIN                          Claim 000909A, Payment                              5600-000                                     $417.00      $14,031,157.27
                                                                          100.00000%
                                9549 N 2130 RD
                                BUTLER, OK 73625-5018
   08/27/14           30834     ARGO PARTNERS                             Claim 000910, Payment                               5600-000                                  $2,600.00       $14,028,557.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30835     LIQUIDITY SOLUTIONS, INC.                 Claim 000911, Payment                               5600-000                                  $1,554.00       $14,027,003.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30836     KEITH HURD                                Claim 000912, Payment                               5600-000                                     $577.00      $14,026,426.27
                                                                          100.00000%
                                11410 Kay Lane
                                Pearland, TX 77584
   08/27/14           30837     SECOND CHANCE CREDIT                      Claim 000913, Payment                               5600-000                                     $795.00      $14,025,631.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30838     LIQUIDITY SOLUTIONS, INC.                 Claim 000914, Payment                               5600-000                                  $1,555.00       $14,024,076.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30839     LIQUIDITY SOLUTIONS, INC.                 Claim 000915, Payment                               5600-000                                  $2,512.00       $14,021,564.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 101 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30840     CAREY GREEN                               Claim 000916, Payment                               5600-004                                     $967.00      $14,020,597.27
                                2280 Randall Ave., Apt. 61Bronx, NY       100.00000%
                                10473
   08/27/14           30841     ARGO PARTNERS                             Claim 000917, Payment                               5600-000                                  $2,600.00       $14,017,997.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30842     ROSA SHOUPE                               Claim 000918, Payment                               5600-004                                  $1,413.00       $14,016,584.27
                                                                          100.00000%
                                941 THREE CREEK RD
                                STEVENSVILLE, MT 59870
   08/27/14           30843     ARGO PARTNERS                             Claim 000919, Payment                               5600-000                                  $2,600.00       $14,013,984.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30844     ADRIENNE CONGER                           Claim 000920, Payment                               5600-000                                     $226.00      $14,013,758.27
                                                                          100.00000%
                                5872 Anthony Ave
                                Garden Grove, CA 92845
   08/27/14           30845     ARGO PARTNERS                             Claim 000921, Payment                               5600-000                                  $2,600.00       $14,011,158.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30846     SECOND CHANCE CREDIT                      Claim 000923, Payment                               5600-000                                  $1,893.00       $14,009,265.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30847     LIQUIDITY SOLUTIONS, INC.                 Claim 000924, Payment                               5600-000                                  $2,600.00       $14,006,665.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30848     CAROLL ADAMS                              Claim 000925, Payment                               5600-000                                  $2,600.00       $14,004,065.27
                                                                          100.00000%
                                2611 Vetter Drive
                                Franklin Park NJ 08823




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $17,499.00
                                                                             Document          Page 102 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30849     RANDY PEARSON                             Claim 000926, Payment                               5600-000                                  $2,559.00       $14,001,506.27
                                                                          100.00000%
                                415 East 13800 South
                                Drapper, UT 84020
   08/27/14           30850     DOUG HYNOSKI                              Claim 000927, Payment                               5600-000                                     $504.00      $14,001,002.27
                                                                          100.00000%
                                330 Grande River Boulevard
                                Toms River, NJ 08755
   08/27/14           30851     HANIA ABDEL-HADI                          Claim 000930, Payment                               5600-000                                     $944.00      $14,000,058.27
                                                                          100.00000%
                                PO Box 12631
                                Raleigh, NC 27605
   08/27/14           30852     JERRI BRAGG                               Claim 000931, Payment                               5600-000                                     $234.00      $13,999,824.27
                                                                          100.00000%
                                2247 CR 737
                                Alvin, TX 77511
   08/27/14           30853     SECOND CHANCE CREDIT                      Claim 000933, Payment                               5600-000                                     $502.00      $13,999,322.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30854     SECOND CHANCE CREDIT                      Claim 000934, Payment                               5600-000                                     $870.00      $13,998,452.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30855     DANIEL WALSH                              Claim 000935, Payment                               5600-000                                  $1,352.00       $13,997,100.27
                                                                          100.00000%
                                1 Spring Street Unit 1406
                                New Brunswick, NJ 08901
   08/27/14           30856     LEAH FREEMAN                              Claim 000936, Payment                               5600-000                                     $450.00      $13,996,650.27
                                                                          100.00000%
                                7302 Walker Mill Rd.
                                Capitol Hgts., MD 20743
   08/27/14           30857     ELIZABETH GUZMAN                          Claim 000937, Payment                               5600-004                                     $310.00      $13,996,340.27
                                                                          100.00000%
                                1777 Polk Street Apt 3J
                                Hollywood, FL 33020



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                                                                                                                                                     Desc Main          $7,725.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30858     NICOLE BROWN                              Claim 000938, Payment                               5600-000                                  $2,600.00       $13,993,740.27
                                                                          100.00000%
                                PO Box 1583
                                Gillette, WY 82718
   08/27/14           30859     PAULA STEVENS                             Claim 000939, Payment                               5600-000                                     $295.00      $13,993,445.27
                                                                          100.00000%
                                PO Box 146
                                Howland, ME 04448
   08/27/14           30860     ARGO PARTNERS                             Claim 000940, Payment                               5600-000                                  $2,600.00       $13,990,845.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30861     BERLINDA FULLER                           Claim 000941, Payment                               5600-000                                     $787.00      $13,990,058.27
                                                                          100.00000%
                                16221 Westview Ave
                                Cleveland, OH 44128
   08/27/14           30862     MARILYN HITCHYE                           Claim 000942, Payment                               5600-000                                     $231.00      $13,989,827.27
                                                                          100.00000%
                                611 S. Meade St., Apt. 6
                                Flint, MI 48503
   08/27/14           30863     ARGO PARTNERS                             Claim 000943, Payment                               5600-000                                  $2,600.00       $13,987,227.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30864     CHRISTOPHER DIDAS                         Claim 000944, Payment                               5600-004                                     $640.00      $13,986,587.27
                                                                          100.00000%
                                160 RIVER ST APT 102
                                HORNELL, NY 14843
   08/27/14           30865     JULIE ISABELLE                            Claim 000945, Payment                               5600-000                                     $441.00      $13,986,146.27
                                                                          100.00000%
                                465 Meadow Street
                                Agawam, MA 01001-2225
   08/27/14           30866     MARTY SMITH                               Claim 000946, Payment                               5600-000                                  $1,807.00       $13,984,339.27
                                                                          100.00000%
                                425 Edgewood Dr
                                Nicholasville, KY 40356




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30867     SECOND CHANCE CREDIT                      Claim 000947, Payment                               5600-000                                  $1,265.00       $13,983,074.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30868     ARGO PARTNERS                             Claim 000948, Payment                               5600-000                                  $2,600.00       $13,980,474.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30869     LIQUIDITY SOLUTIONS, INC.                 Claim 000949, Payment                               5600-000                                  $1,510.00       $13,978,964.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30870     CYNTHIA CSASZAR                           Claim 000950, Payment                               5600-000                                  $2,600.00       $13,976,364.27
                                                                          100.00000%
                                195 2nd Street
                                Elgin, IL 60123
   08/27/14           30871     JANINE NICOLETTI                          Claim 000951, Payment                               5600-000                                     $704.00      $13,975,660.27
                                                                          100.00000%
                                82 Laurel Pl.
                                Yonkers, NY 10704
   08/27/14           30872     LIQUIDITY SOLUTIONS, INC.                 Claim 000952, Payment                               5600-000                                  $1,897.00       $13,973,763.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30873     VIRGINIA HARRIS                           Claim 000953, Payment                               5600-000                                  $2,600.00       $13,971,163.27
                                                                          100.00000%
                                5805 Anderson St
                                Philadelphia, PA 19138
   08/27/14           30874     CHARLES DIPASQUALE                        Claim 000954, Payment                               5600-000                                     $241.00      $13,970,922.27
                                                                          100.00000%
                                1 Eagle Street
                                Mount Moris, NY 14510
   08/27/14           30875     MARGARETT WEBB                            Claim 000955, Payment                               5600-000                                     $470.00      $13,970,452.27
                                                                          100.00000%
                                1005 Pine Ridge Lane
                                Clarkrange, TN 38553




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30876     ASSET RECOVERY MANAGEMENT,                Claim 000956, Payment                               5600-000                                  $2,600.00       $13,967,852.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30877     ASSET RECOVERY MANAGEMENT,                Claim 000957A, Payment                              5600-000                                  $2,600.00       $13,965,252.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30878     JILL VANNUIS                              Claim 000958, Payment                               5600-000                                  $2,600.00       $13,962,652.27
                                                                          100.00000%
                                3301 Hackmatack Dr.
                                Kennesaw, GA 30152
   08/27/14           30879     ARGO PARTNERS                             Claim 000959, Payment                               5600-000                                  $2,600.00       $13,960,052.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30880     ANNE DUPRE                                Claim 000960, Payment                               5600-000                                     $754.00      $13,959,298.27
                                                                          100.00000%
                                22 Pheasant Way
                                Chicopee, MA 01022
   08/27/14           30881     ARGO PARTNERS                             Claim 000961, Payment                               5600-000                                  $2,600.00       $13,956,698.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30882     ELIZABETH COLGAN                          Claim 000962, Payment                               5600-000                                  $1,364.00       $13,955,334.27
                                                                          100.00000%
                                1504 Warfield Road
                                Edgewater, MD 21037
   08/27/14           30883     ARGO PARTNERS                             Claim 000963, Payment                               5600-000                                  $2,600.00       $13,952,734.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30884     ARGO PARTNERS                             Claim 000964, Payment                               5600-000                                  $2,600.00       $13,950,134.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30885     ASSET RECOVERY MANAGEMENT,                Claim 000965, Payment                               5600-000                                  $2,600.00       $13,947,534.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30886     BARBARA BONANG                            Claim 000966, Payment                               5600-000                                     $443.00      $13,947,091.27
                                                                          100.00000%
                                8 Dewey Drive
                                Topsham, ME 04086
   08/27/14           30887     EMMETT JONES                              Claim 000967, Payment                               5600-000                                     $924.00      $13,946,167.27
                                                                          100.00000%
                                293 Eagle Way
                                Stockbridge, GA 30281
   08/27/14           30888     AHMET BOLCA                               Claim 000968, Payment                               5600-000                                     $805.00      $13,945,362.27
                                                                          100.00000%
                                12 Sears Pl
                                Wayne, NJ 07470
   08/27/14           30889     CLAUDIA RANDALL                           Claim 000969, Payment                               5600-000                                     $205.00      $13,945,157.27
                                                                          100.00000%
                                364 Richview Ave Ext
                                North Adams, MA 01247
   08/27/14           30890     ASSET RECOVERY MANAGEMENT,                Claim 000970, Payment                               5600-000                                  $2,600.00       $13,942,557.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30891     ARGO PARTNERS                             Claim 000971, Payment                               5600-000                                  $2,600.00       $13,939,957.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30892     FRANCIS ARCHAMBAULT                       Claim 000972, Payment                               5600-000                                     $519.00      $13,939,438.27
                                                                          100.00000%
                                66 Washington St
                                Shrewsbury, MA 01545
   08/27/14           30893     ARGO PARTNERS                             Claim 000973, Payment                               5600-000                                  $2,600.00       $13,936,838.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $13,296.00
                                                                             Document          Page 107 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30894     VALERIE EUBANKS                           Claim 000974, Payment                               5600-000                                  $2,600.00       $13,934,238.27
                                                                          100.00000%
                                2654 Smith Pike
                                Flemingsburg, KY 41041
   08/27/14           30895     DOROTHY WARREN                            Claim 000975A, Payment                              5600-000                                     $373.00      $13,933,865.27
                                                                          100.00000%
                                1191 Cocoville Rd
                                Mansura, LA 71350
   08/27/14           30896     ERNESTO MANTILLA                          Claim 000976, Payment                               5600-000                                  $2,600.00       $13,931,265.27
                                                                          100.00000%
                                79 William Street
                                Hartford, CT 06120
   08/27/14           30897     JASPER MCNEILL                            Claim 000977, Payment                               5600-000                                      $30.00      $13,931,235.27
                                                                          100.00000%
                                2010 Athens St.
                                Durham, NC 27707
   08/27/14           30898     HOWARD EITEL                              Claim 000978, Payment                               5600-000                                  $2,600.00       $13,928,635.27
                                                                          100.00000%
                                355 Appletree Drive
                                Levittown, PA 19055
   08/27/14           30899     SECOND CHANCE CREDIT                      Claim 000981, Payment                               5600-000                                  $1,552.00       $13,927,083.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30900     ROSSANA RESEK                             Claim 000982, Payment                               5600-000                                     $545.00      $13,926,538.27
                                                                          100.00000%
                                228 Nagle Ave Apt 7E
                                New York, NY 10034
   08/27/14           30901     ANGELA BASHAM                             Claim 000983, Payment                               5600-000                                     $450.00      $13,926,088.27
                                                                          100.00000%
                                PO Box 1341
                                Shady Springs, WV 25918
   08/27/14           30902     ARGO PARTNERS                             Claim 000984, Payment                               5600-000                                  $2,600.00       $13,923,488.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $13,350.00
                                                                             Document          Page 108 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30903     ARGO PARTNERS                             Claim 000985, Payment                               5600-000                                  $2,600.00       $13,920,888.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30904     JACQUELINE WEAVER                         Claim 000986, Payment                               5600-000                                     $452.00      $13,920,436.27
                                                                          100.00000%
                                4401 Ivory Jade
                                North Las Vegas, NV 89031
   08/27/14           30905     LENNOX GARRICK                            Claim 000987A, Payment                              5600-000                                  $2,600.00       $13,917,836.27
                                                                          100.00000%
                                1529 Hassock Street
                                Far Rockaway, NY 11691
   08/27/14           30906     RACHAEL TAYLOR                            Claim 000988, Payment                               5600-000                                     $444.00      $13,917,392.27
                                                                          100.00000%
                                103 Faircloth Street
                                Andalusia, AL 36420
   08/27/14           30907     ANTRONETT BRADLEY                         Claim 000989, Payment                               5600-000                                     $450.00      $13,916,942.27
                                                                          100.00000%
                                420 Sanders Dr
                                Rocky Mount, NC 27801
   08/27/14           30908     ARGO PARTNERS                             Claim 000990, Payment                               5600-000                                  $2,600.00       $13,914,342.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30909     LIQUIDITY SOLUTIONS, INC.                 Claim 000991, Payment                               5600-000                                  $2,600.00       $13,911,742.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30910     ARGO PARTNERS                             Claim 000992, Payment                               5600-000                                  $2,600.00       $13,909,142.27
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           30911     BONNIE TEBEAU                             Claim 000993, Payment                               5600-004                                  $2,600.00       $13,906,542.27
                                                                          100.00000%
                                PO BOX 9035
                                Augusta, GA 30916
   08/27/14           30912     ARGO PARTNERS                             Claim 000994, Payment                               5600-000                                  $2,600.00       $13,903,942.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $19,546.00
                                                                             Document          Page 109 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30913     WANDA HENSON                              Claim 000995, Payment                               5600-000                                     $369.00      $13,903,573.27
                                                                          100.00000%
                                5018 Madalyn Ln
                                Houston, TX 77021
   08/27/14           30914     HOLLY JACKSON                             Claim 000996, Payment                               5600-000                                  $2,047.00       $13,901,526.27
                                                                          100.00000%
                                208 Belfast Augusta Rd. W
                                Searsmont, ME 04973
   08/27/14           30915     LIQUIDITY SOLUTIONS, INC.                 Claim 000997, Payment                               5600-000                                  $2,600.00       $13,898,926.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30916     JUDITH LAIL                               Claim 000998, Payment                               5600-000                                  $2,600.00       $13,896,326.27
                                                                          100.00000%
                                1316 Holly Bend Circle
                                Kettering, OH 45429
   08/27/14           30917     DAVID BUXTON                              Claim 000999, Payment                               5600-000                                  $2,600.00       $13,893,726.27
                                                                          100.00000%
                                790 South 1680 East
                                Pleasant Grove, UT 84062
   08/27/14           30918     LEROY MCCULLOUGH                          Claim 001000, Payment                               5600-000                                  $2,600.00       $13,891,126.27
                                                                          100.00000%
                                7710 Adolphus Drive
                                Fayetteville, NC 28314
   08/27/14           30919     KEN HORN                                  Claim 001001, Payment                               5600-000                                     $730.00      $13,890,396.27
                                                                          100.00000%
                                15 Old Depot Hill Road
                                Endfield, CT 06082
   08/27/14           30920     SYLVIA SPEARS                             Claim 001002, Payment                               5600-000                                  $2,600.00       $13,887,796.27
                                                                          100.00000%
                                827 West 123rd Street
                                Los Angeles, CA 90044-3959
   08/27/14           30921     ALAN BONNER                               Claim 001003, Payment                               5600-000                                  $2,600.00       $13,885,196.27
                                                                          100.00000%
                                737 Parkwest Blvd.
                                Saginaw, TX 76179




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 110 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30922     MARC WINNIX                               Claim 001004, Payment                               5600-000                                     $847.00      $13,884,349.27
                                                                          100.00000%
                                4924 Rumley Rd.
                                Graham, NC 27253
   08/27/14           30923     DUSTIN SCHIMMELPFENNIG                    Claim 001005, Payment                               5600-000                                  $1,181.00       $13,883,168.27
                                                                          100.00000%
                                7744 7th Ave PO Box 151
                                New Auburn, MN 55366
   08/27/14           30924     ROBERT FELDER                             Claim 001006, Payment                               5600-000                                  $2,600.00       $13,880,568.27
                                                                          100.00000%
                                6702 ELMHURST ST
                                DISTRICT HEIGHTS, MD 20747
   08/27/14           30925     KIRBY VANDEROSTYNE                        Claim 001007, Payment                               5600-000                                  $2,600.00       $13,877,968.27
                                                                          100.00000%
                                526 Stokes Street
                                Kewanee, IL 61443
   08/27/14           30926     OLGA CAJAS                                Claim 001008, Payment                               5600-004                                  $2,600.00       $13,875,368.27
                                                                          100.00000%
                                4029 97th Street
                                Corona, NY 11368
   08/27/14           30927     GREG SCHMIT                               Claim 001009, Payment                               5600-000                                  $2,600.00       $13,872,768.27
                                                                          100.00000%
                                3915 STH PACIFIC HWY
                                STE B
                                MEDFORD, OR 97501
   08/27/14           30928     KARYN CORBINO                             Claim 001010, Payment                               5600-000                                     $633.00      $13,872,135.27
                                                                          100.00000%
                                781 Panorama Drive
                                Mohegan Lake, NY 10547
   08/27/14           30929     CHRISTOPHER PERDUE                        Claim 001011, Payment                               5600-000                                  $2,600.00       $13,869,535.27
                                                                          100.00000%
                                933 NE 23rd Ave
                                Cape Coral, FL 33909
   08/27/14           30930     ARGO PARTNERS                             Claim 001012, Payment                               5600-000                                  $2,600.00       $13,866,935.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 111 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           30931     ROBERTO LEDESMA                           Claim 001013, Payment                               5600-000                                  $2,600.00      $13,864,335.27
                                                                          100.00000%
                                714 West Route 176
                                Mchenry, IL 60051
   08/27/14           30932     ASSET RECOVERY MANAGEMENT,                Claim 001014, Payment                               5600-000                                  $2,600.00      $13,861,735.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30933     JERMAINE JOSEPH                           Claim 001015, Payment                               5600-004                                  $2,600.00      $13,859,135.27
                                                                          100.00000%
                                PSC Box 2378
                                Little Rock AFB, AR 72099
   08/27/14           30934     ASSET RECOVERY MANAGEMENT,                Claim 001016, Payment                               5600-000                                  $2,600.00      $13,856,535.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30935     RAY STEWART                               Claim 001017, Payment                               5600-004                                  $2,099.00      $13,854,436.27
                                                                          100.00000%
                                30628 BEECH RD
                                WENTWORTH, MO 64873
   08/27/14           30936     ANTHONY HEARD                             Claim 001018, Payment                               5600-004                                  $1,518.00      $13,852,918.27
                                                                          100.00000%
                                601 South 91st Street
                                Tacoma, WA 98444
   08/27/14           30937     LIQUIDITY SOLUTIONS, INC.                 Claim 001019, Payment                               5600-000                                  $2,600.00      $13,850,318.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30938     LIQUIDITY SOLUTIONS, INC.                 Claim 001020, Payment                               5600-000                                  $2,600.00      $13,847,718.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30939     ARGO PARTNERS                             Claim 001021, Payment                               5600-000                                  $2,600.00      $13,845,118.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           30940     ARGO PARTNERS                             Claim 001022A, Payment                              5600-000                                  $2,600.00      $13,842,518.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30941     ARGO PARTNERS                             Claim 001023, Payment                               5600-000                                  $2,600.00      $13,839,918.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30942     RONALD GIAQUINTO                          Claim 001024, Payment                               5600-000                                  $2,600.00      $13,837,318.27
                                                                          100.00000%
                                5785 Picasso Drive
                                Yorba Linda, CA 92887
   08/27/14           30943     IVRY CUMMINGS                             Claim 001025, Payment                               5600-000                                  $2,600.00      $13,834,718.27
                                                                          100.00000%
                                PO BOX 492704
                                Lawrenceville, GA 30049
   08/27/14           30944     JEFF ZIMMERMAN                            Claim 001026, Payment                               5600-000                                  $2,600.00      $13,832,118.27
                                                                          100.00000%
                                4411 South 00 EW 71
                                Kokomo, IN 46902
   08/27/14           30945     ASSET RECOVERY MANAGEMENT,                Claim 001027, Payment                               5600-000                                  $2,600.00      $13,829,518.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30946     MICHAEL NELSON                            Claim 001028A, Payment                              5600-000                                  $2,600.00      $13,826,918.27
                                                                          100.00000%
                                1951 Rolling Vista Drive 46
                                Lomita, CA 90717
   08/27/14           30947     ARGO PARTNERS                             Claim 001029, Payment                               5600-000                                  $2,600.00      $13,824,318.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30948     LIQUIDITY SOLUTIONS, INC.                 Claim 001030, Payment                               5600-000                                  $2,600.00      $13,821,718.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 113 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           30949     ARGO PARTNERS                             Claim 001031, Payment                               5600-000                                  $2,600.00      $13,819,118.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30950     SECOND CHANCE CREDIT                      Claim 001032, Payment                               5600-000                                  $2,600.00      $13,816,518.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           30951     LILIA WILLIAMS                            Claim 001033, Payment                               5600-000                                  $2,600.00      $13,813,918.27
                                                                          100.00000%
                                17352 N W Guilford Circle
                                Blountstown, FL 32424
   08/27/14           30952     COLEY MCKENZIE                            Claim 001034, Payment                               5600-000                                  $2,600.00      $13,811,318.27
                                                                          100.00000%
                                147 fairleaf Circle
                                Camden, SC 29020
   08/27/14           30953     MARY TATRO                                Claim 001035, Payment                               5600-000                                  $2,600.00      $13,808,718.27
                                                                          100.00000%
                                14 Ramhead Road
                                Narragansett, RI 02882
   08/27/14           30954     JOSEPH DOS SANTOS                         Claim 001036, Payment                               5600-000                                  $2,600.00      $13,806,118.27
                                                                          100.00000%
                                475 Adams Avenue
                                Staten Island, NY 10306
   08/27/14           30955     JOYCE DUNLOP                              Claim 001037, Payment                               5600-000                                  $2,600.00      $13,803,518.27
                                                                          100.00000%
                                6 Jackson Street
                                Boscawen, NH 03303
   08/27/14           30956     MARY IBRAHIM                              Claim 001038, Payment                               5600-000                                  $2,600.00      $13,800,918.27
                                8117 W. Manchester Ave., Unit 533Playa    100.00000%
                                Del Ray, CA 90293
   08/27/14           30957     ARGO PARTNERS                             Claim 001039A, Payment                              5600-000                                  $2,165.00      $13,798,753.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $22,965.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           30958     LIQUIDITY SOLUTIONS, INC.                 Claim 001040, Payment                               5600-000                                  $2,564.00      $13,796,189.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30959     ARGO PARTNERS                             Claim 001041, Payment                               5600-000                                  $2,600.00      $13,793,589.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30960     JAMES WILLIAMS                            Claim 001043, Payment                               5600-000                                  $1,862.00      $13,791,727.27
                                                                          100.00000%
                                8050 Rodney Street
                                Philadelphia, PA 19150
   08/27/14           30961     ANGELA GRAVES                             Claim 001044, Payment                               5600-000                                  $2,600.00      $13,789,127.27
                                                                          100.00000%
                                607 Edgewood Ave.
                                Newport, NC 28570
   08/27/14           30962     ASSET RECOVERY MANAGEMENT,                Claim 001045, Payment                               5600-000                                  $2,600.00      $13,786,527.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           30963     ANGELA MOODY                              Claim 001046, Payment                               5600-000                                  $2,600.00      $13,783,927.27
                                                                          100.00000%
                                2403 Koval Ct SW
                                Wilson, NC 27893
   08/27/14           30964     KATRINA WHITEHEAD                         Claim 001047A, Payment                              5600-004                                  $1,293.00      $13,782,634.27
                                                                          100.00000%
                                4613 Woody Hill Court
                                Lithonia, GA 30038
   08/27/14           30965     MARY HENINGER                             Claim 001048, Payment                               5600-000                                  $1,471.00      $13,781,163.27
                                                                          100.00000%
                                54999 Martinez Trail Space 67
                                Yucca Valley, CA92284
   08/27/14           30966     JOANN USHER                               Claim 001049, Payment                               5600-000                                  $2,600.00      $13,778,563.27
                                                                          100.00000%
                                1207 Friendly Heights Blvd
                                Decatur, GA 30035




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $20,190.00
                                                                             Document          Page 115 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30967     ARGO PARTNERS                             Claim 001050, Payment                               5600-000                                  $2,600.00       $13,775,963.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30968     JAMES ODONNELL                            Claim 001051, Payment                               5600-000                                  $2,600.00       $13,773,363.27
                                                                          100.00000%
                                282 Weed Avenue
                                Staten Island, NY 10306
   08/27/14           30969     STACEY THOMPSON                           Claim 001052, Payment                               5600-000                                     $557.00      $13,772,806.27
                                                                          100.00000%
                                8000 W. Crestline Ave. #821
                                Littleton, CO 80123
   08/27/14           30970     ARGO PARTNERS                             Claim 001053, Payment                               5600-000                                  $2,600.00       $13,770,206.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30971     SHIRLEY SANTOS                            Claim 001054, Payment                               5600-000                                  $1,741.00       $13,768,465.27
                                                                          100.00000%
                                181 Farragut St
                                Hercules, CA 94547
   08/27/14           30972     ARGO PARTNERS                             Claim 001055, Payment                               5600-000                                  $2,600.00       $13,765,865.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30973     ROBIN SLATE                               Claim 001056A, Payment                              5600-000                                  $2,236.00       $13,763,629.27
                                                                          100.00000%
                                29388 Martin Road North
                                Evansmills, NY 13637
   08/27/14           30974     PETER HINZ                                Claim 001057, Payment                               5600-000                                     $606.00      $13,763,023.27
                                                                          100.00000%
                                PO Box 1018
                                Bethel, AK 99559
   08/27/14           30975     LAURA HENDERSHOT WAY                      Claim 001058, Payment                               5600-000                                     $590.00      $13,762,433.27
                                806 Susan St.Patterson, CA 95363          100.00000%
   08/27/14           30976     SECOND CHANCE CREDIT                      Claim 001059, Payment                               5600-000                                     $622.00      $13,761,811.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124


                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $16,752.00
                                                                             Document          Page 116 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30977     LEO BERNIER                               Claim 001060, Payment                               5600-000                                  $2,600.00       $13,759,211.27
                                                                          100.00000%
                                229 Rancho Villa
                                Walla-Walla, WA 99362
   08/27/14           30978     LIQUIDITY SOLUTIONS, INC.                 Claim 001061, Payment                               5600-000                                  $1,870.00       $13,757,341.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30979     ANNIELEE GILMORE                          Claim 001062, Payment                               5600-000                                  $2,600.00       $13,754,741.27
                                                                          100.00000%
                                111 Brookstone Road
                                Santee, SC 29142
   08/27/14           30980     DAVID MONTENEGRO                          Claim 001063, Payment                               5600-000                                  $1,284.00       $13,753,457.27
                                                                          100.00000%
                                11407 SE 326th Place
                                Auburn, WA 98092
   08/27/14           30981     ANNE SCOTT                                Claim 001064, Payment                               5600-000                                  $2,341.00       $13,751,116.27
                                                                          100.00000%
                                PO Box1237
                                Calais, ME 04619
   08/27/14           30982     MARY WALLACE                              Claim 001065, Payment                               5600-000                                     $619.00      $13,750,497.27
                                                                          100.00000%
                                500 Polk Street
                                Clearfield, PA 16830
   08/27/14           30983     NYDIA PEREZ                               Claim 001066A, Payment                              5600-004                                  $2,600.00       $13,747,897.27
                                                                          100.00000%
                                750 River Dr Apt 2B
                                Passaic, NJ 07055
   08/27/14           30984     MACK PRUITT                               Claim 001067, Payment                               5600-000                                  $2,600.00       $13,745,297.27
                                                                          100.00000%
                                1017 W Gary St
                                Moses Lake, WA 98837
   08/27/14           30985     ARGO PARTNERS                             Claim 001068, Payment                               5600-000                                  $2,600.00       $13,742,697.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           30986     CARMILITA SAMUEL                          Claim 001069, Payment                               5600-000                                  $1,800.00      $13,740,897.27
                                                                          100.00000%
                                79 MILLICENT AVE
                                BUFFALO, NY 14215
   08/27/14           30987     STEVE DARLING                             Claim 001070, Payment                               5600-000                                  $2,600.00      $13,738,297.27
                                                                          100.00000%
                                109 High Street
                                Catskill, NY 12414
   08/27/14           30988     LIQUIDITY SOLUTIONS, INC.                 Claim 001071, Payment                               5600-000                                  $2,600.00      $13,735,697.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30989     SHAQUITA FANNING                          Claim 001072, Payment                               5600-000                                  $2,305.00      $13,733,392.27
                                                                          100.00000%
                                3462 MELROSE DR
                                COLUMBUS, GA 31906
   08/27/14           30990     DEBRA FINCHAM                             Claim 001073, Payment                               5600-000                                  $2,600.00      $13,730,792.27
                                                                          100.00000%
                                203 SOUTH VERMILLION
                                LEXINGTON, IL 61753
   08/27/14           30991     LIQUIDITY SOLUTIONS, INC.                 Claim 001074, Payment                               5600-000                                  $2,600.00      $13,728,192.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30992     ARGO PARTNERS                             Claim 001075, Payment                               5600-000                                  $2,600.00      $13,725,592.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           30993     TAKAYOSHI AOKI                            Claim 001076, Payment                               5600-000                                  $2,600.00      $13,722,992.27
                                127-2 Higashikoya Nasushiobara=           100.00000%
                                shiTochigi, Japan 329-3147
   08/27/14           30994     LIQUIDITY SOLUTIONS, INC.                 Claim 001078, Payment                               5600-000                                  $2,600.00      $13,720,392.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30995     ARGO PARTNERS                             Claim 001079, Payment                               5600-000                                  $2,600.00      $13,717,792.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           30996     LIQUIDITY SOLUTIONS, INC.                 Claim 001080, Payment                               5600-000                                  $2,600.00       $13,715,192.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30997     NATALIE ANDREWS                           Claim 001081, Payment                               5600-000                                  $2,600.00       $13,712,592.27
                                                                          100.00000%
                                972 Dolan Court
                                Folsom, CA 95630
   08/27/14           30998     LIQUIDITY SOLUTIONS, INC.                 Claim 001082, Payment                               5600-000                                  $1,363.00       $13,711,229.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           30999     ERIC BRADDY                               Claim 001083, Payment                               5600-000                                     $241.00      $13,710,988.27
                                                                          100.00000%
                                2030 E. Brookstone St.
                                Derby, KS 67037-9751
   08/27/14           31000     MONIQUE PEARSON                           Claim 001084, Payment                               5600-004                                     $600.00      $13,710,388.27
                                                                          100.00000%
                                20 Lawrence Ln.
                                Colonial Beach, VA 22943
   08/27/14           31001     VICTORIA DANIELE                          Claim 001085, Payment                               5600-000                                     $292.00      $13,710,096.27
                                                                          100.00000%
                                6305 S 20th St. Apt. #29
                                Oak Creek, WI 53154
   08/27/14           31002     MELISSA FLAMMANG                          Claim 001086, Payment                               5600-000                                     $898.00      $13,709,198.27
                                                                          100.00000%
                                2585 282nd Ave.
                                DeWitt, IA 52742
   08/27/14           31003     JUANITA MCGEE                             Claim 001087, Payment                               5600-000                                  $2,600.00       $13,706,598.27
                                                                          100.00000%
                                286 Luella Avenue
                                Caumet City, IL 60409
   08/27/14           31004     ARGO PARTNERS                             Claim 001088A, Payment                              5600-000                                  $2,600.00       $13,703,998.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                                                                                     Desc Main         $13,794.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31005     ARGO PARTNERS                             Claim 001089, Payment                               5600-000                                  $2,600.00       $13,701,398.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31006     KELLY WEBER                               Claim 001090, Payment                               5600-000                                     $294.00      $13,701,104.27
                                W8272 County Road JEllsworth, WI          100.00000%
                                54011
   08/27/14           31007     AUDRA BORACK                              Claim 001091, Payment                               5600-000                                     $271.00      $13,700,833.27
                                                                          100.00000%
                                14408 N 52ND AVE
                                GLENDALE, AZ 85306
   08/27/14           31008     WILLIAM METZ                              Claim 001092A, Payment                              5600-000                                  $2,600.00       $13,698,233.27
                                                                          100.00000%
                                30 Furber Ave
                                Linden, NJ 07036
   08/27/14           31009     TAMMY ALLISON                             Claim 001093, Payment                               5600-000                                     $794.00      $13,697,439.27
                                                                          100.00000%
                                PO Box 351
                                Puryear, TN 38251
   08/27/14           31010     ARTHUR DENNISON                           Claim 001094, Payment                               5600-000                                  $1,045.00       $13,696,394.27
                                                                          100.00000%
                                7815 N John Morton Avenue
                                Hayward, WI 54843
   08/27/14           31011     ALEXANDER ALLEN                           Claim 001095, Payment                               5600-000                                     $259.00      $13,696,135.27
                                                                          100.00000%
                                3851 Heather Dr.
                                Eagan, MN 55122
   08/27/14           31012     SHONDA LARSON                             Claim 001096, Payment                               5600-000                                  $2,600.00       $13,693,535.27
                                                                          100.00000%
                                1014 NE 110 Ave.
                                Danville, KS 67036
   08/27/14           31013     JOHN WINTER                               Claim 001097A, Payment                              5600-000                                  $1,685.00       $13,691,850.27
                                                                          100.00000%
                                PO Box 311
                                Thermopolis, WY 82443
   08/27/14           31014     APRIL LARSON                              Claim 001098, Payment                               5600-000                                  $2,600.00       $13,689,250.27
                                                                          100.00000%
                                117 Sater St.
                                Orfordville, WI 53576


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31015     LEWIS BECKETT                             Claim 001099A, Payment                              5600-004                                  $1,359.00       $13,687,891.27
                                                                          100.00000%
                                PO Box 91
                                Yadkinville, NC 27055
   08/27/14           31016     MARY WILLIAMS                             Claim 001100, Payment                               5600-000                                  $1,095.00       $13,686,796.27
                                                                          100.00000%
                                136 Princeton Street
                                Jackson, MS 39203
   08/27/14           31017     RAYMER BERGMAN                            Claim 001101, Payment                               5600-004                                     $641.00      $13,686,155.27
                                                                          100.00000%
                                902 San Remo Rd
                                Saint Augustine, FL 32086
   08/27/14           31018     RONALD ROSSELLI                           Claim 001103, Payment                               5600-000                                  $2,600.00       $13,683,555.27
                                                                          100.00000%
                                1240 E Avenue S Apt 303
                                Palmdale, CA 93550
   08/27/14           31019     KENNETH SCHMIDGAL                         Claim 001105, Payment                               5600-000                                     $865.00      $13,682,690.27
                                                                          100.00000%
                                1290 Allentown Rd 106-W
                                Lansdale, PA 19446
   08/27/14           31020     DONNA LANDIS                              Claim 001106, Payment                               5600-000                                     $550.00      $13,682,140.27
                                                                          100.00000%
                                334 Garey Rd
                                Birdsboro, PA 19508
   08/27/14           31021     ANGEL PAGAN                               Claim 001107, Payment                               5600-000                                  $2,600.00       $13,679,540.27
                                                                          100.00000%
                                3467 Yale Ct.
                                Woodbridge, VA 22192
   08/27/14           31022     EMANUEL SIMPSON                           Claim 001108, Payment                               5600-000                                  $1,894.00       $13,677,646.27
                                                                          100.00000%
                                2751 N Darien St
                                Philadelphia, PA 19133
   08/27/14           31023     ARGO PARTNERS                             Claim 001109, Payment                               5600-000                                  $2,600.00       $13,675,046.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31024     EVONNE LOPEZ                              Claim 001110, Payment                               5600-004                                     $219.00      $13,674,827.27
                                                                          100.00000%
                                7117 N 26th St
                                Mcallen, TX 78504
   08/27/14           31025     GERALDINE BACON                           Claim 001111A, Payment                              5600-000                                  $1,204.00       $13,673,623.27
                                                                          100.00000%
                                PO BOX 35
                                South Hill, VA 23970-0035
   08/27/14           31026     JASON BURROWS                             Claim 001112, Payment                               5600-000                                  $1,336.00       $13,672,287.27
                                                                          100.00000%
                                516 W 2nd St
                                Maysville, KY 41056
   08/27/14           31027     ARGO PARTNERS                             Claim 001113A, Payment                              5600-000                                  $2,600.00       $13,669,687.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31028     ANN PERLEY                                Claim 001115, Payment                               5600-000                                  $2,600.00       $13,667,087.27
                                                                          100.00000%
                                4495 Angie Marie Way, NE
                                Salem, OR 97305-2786
   08/27/14           31029     THERESA SCARDINO                          Claim 001116, Payment                               5600-000                                     $433.00      $13,666,654.27
                                                                          100.00000%
                                PO Box 116
                                Millbrae, CA 94030
   08/27/14           31030     CLAUDE PATTERSON                          Claim 001117, Payment                               5600-000                                     $555.00      $13,666,099.27
                                                                          100.00000%
                                4955 Palmetto Ave
                                Pacifica, CA 94044
   08/27/14           31031     ROHAN AARONS                              Claim 001118, Payment                               5600-000                                  $2,600.00       $13,663,499.27
                                                                          100.00000%
                                653 E 224th Street
                                Bronx, NY 10466
   08/27/14           31032     THOMAS BARNETT                            Claim 001120, Payment                               5600-000                                     $272.00      $13,663,227.27
                                                                          100.00000%
                                4066 Willow Bend Dr
                                Gardendale, AL 35071




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $11,819.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31033     EDWARD BUELL                              Claim 001121, Payment                               5600-000                                     $753.00      $13,662,474.27
                                                                          100.00000%
                                c/o Patrick Russi
                                2300 W. Ridge Rd.
                                Rochester, NY 14626
   08/27/14           31034     ARGO PARTNERS                             Claim 001122, Payment                               5600-000                                  $2,600.00       $13,659,874.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31035     DARIN MORRIS                              Claim 001123, Payment                               5600-000                                     $329.00      $13,659,545.27
                                                                          100.00000%
                                6012 29th Ave West
                                Bradenton, FL 34209
   08/27/14           31036     LOUIS ALLEN                               Claim 001124A, Payment                              5600-000                                     $916.00      $13,658,629.27
                                                                          100.00000%
                                98 St. Jhons Rd
                                Weirton, WV 26062
   08/27/14           31037     STACY TURNER                              Claim 001125, Payment                               5600-000                                     $803.00      $13,657,826.27
                                                                          100.00000%
                                9927 DEBENTROY
                                LEBANON, IL 62254
   08/27/14           31038     ARGO PARTNERS                             Claim 001126, Payment                               5600-000                                  $2,600.00       $13,655,226.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31039     ARGO PARTNERS                             Claim 001127, Payment                               5600-000                                  $2,600.00       $13,652,626.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31040     BILLY LOWRY                               Claim 001128, Payment                               5600-000                                     $324.00      $13,652,302.27
                                                                          100.00000%
                                904 Goodrich Street
                                Uniondale, NY 11553
   08/27/14           31041     SUZANNE HARRISTAKIS                       Claim 001129, Payment                               5600-000                                     $352.00      $13,651,950.27
                                                                          100.00000%
                                1717 California Drive Apt 90
                                Vacaville, CA 95687




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $11,277.00
                                                                             Document          Page 123 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31042     ARGO PARTNERS                             Claim 001130, Payment                               5600-000                                  $2,600.00       $13,649,350.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31043     CARL BURWELL                              Claim 001131, Payment                               5600-000                                     $641.00      $13,648,709.27
                                                                          100.00000%
                                5017 Charles St
                                Philadelphia, PA 19124
   08/27/14           31044     LIQUIDITY SOLUTIONS, INC.                 Claim 001132, Payment                               5600-000                                  $1,035.00       $13,647,674.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31045     LIQUIDITY SOLUTIONS, INC.                 Claim 001133, Payment                               5600-000                                  $2,600.00       $13,645,074.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31046     DAWN HIPSHER                              Claim 001134, Payment                               5600-000                                  $2,600.00       $13,642,474.27
                                                                          100.00000%
                                1305 Gracelyn St.
                                Orland, CA 95963
   08/27/14           31047     SUSAN COLOVOS                             Claim 001135, Payment                               5600-000                                     $235.00      $13,642,239.27
                                                                          100.00000%
                                2525 GAGE LN
                                LINCOLN, CA 95648
   08/27/14           31048     ASSET RECOVERY MANAGEMENT,                Claim 001136, Payment                               5600-000                                  $2,600.00       $13,639,639.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31049     ARGO PARTNERS                             Claim 001137, Payment                               5600-000                                  $2,600.00       $13,637,039.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31050     GEORGIE MORRIS                            Claim 001138, Payment                               5600-000                                  $2,600.00       $13,634,439.27
                                                                          100.00000%
                                740 Hickory St.
                                Hudson, CO 80642




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31051     LOLITA JORDAN                             Claim 001139, Payment                               5600-000                                  $2,600.00       $13,631,839.27
                                                                          100.00000%
                                25 Pecan Road
                                Newton, MS 39345
   08/27/14           31052     LIQUIDITY SOLUTIONS, INC.                 Claim 001140, Payment                               5600-000                                  $2,600.00       $13,629,239.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31053     LIQUIDITY SOLUTIONS, INC.                 Claim 001141, Payment                               5600-000                                  $1,531.00       $13,627,708.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31054     CHRISTINA MILANO                          Claim 001142, Payment                               5600-000                                     $295.00      $13,627,413.27
                                                                          100.00000%
                                34 Youtz Ave
                                Akron, OH 44301
   08/27/14           31055     TRACEY WEAVER                             Claim 001143A, Payment                              5600-004                                     $909.00      $13,626,504.27
                                                                          100.00000%
                                950 Mckinley Ave Apt 1-C
                                Piqua, OH 45356
   08/27/14           31056     PAM MOORE                                 Claim 001144, Payment                               5600-000                                  $1,248.00       $13,625,256.27
                                                                          100.00000%
                                118 South Troy Road
                                Bellfountain, OH 43311
   08/27/14           31057     SUSAN ARENA                               Claim 001145, Payment                               5600-000                                     $391.00      $13,624,865.27
                                                                          100.00000%
                                16 Willow Place
                                Glen Head, NY 11545
   08/27/14           31058     ARGO PARTNERS                             Claim 001146, Payment                               5600-000                                  $2,600.00       $13,622,265.27
                                12 West 37th St., 9th FlNew York, NY      100.00000%
                                10018
   08/27/14           31059     ED FERNANDEZ                              Claim 001147, Payment                               5600-000                                  $2,600.00       $13,619,665.27
                                                                          100.00000%
                                58 Dogwood Court
                                Jamesburg, NJ 08831
   08/27/14           31060     SHEILA PERENA                             Claim 001148, Payment                               5600-000                                  $2,600.00       $13,617,065.27
                                                                          100.00000%
                                710 W 4TH STREET
                                LYNN HAVEN, FL 32444


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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,374.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31061     PATRICK HAGERTY                           Claim 001149, Payment                               5600-000                                  $2,600.00       $13,614,465.27
                                                                          100.00000%
                                124 Poland Rd
                                New Spingfield, OH 44443
   08/27/14           31062     LIQUIDITY SOLUTIONS, INC.                 Claim 001150, Payment                               5600-000                                  $1,081.00       $13,613,384.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31063     THELMA SORRELL                            Claim 001151, Payment                               5600-000                                  $1,109.00       $13,612,275.27
                                536 St. Peter LaneAugusta, WV 26704       100.00000%
   08/27/14           31064     ASSET RECOVERY MANAGEMENT,                Claim 001153A, Payment                              5600-000                                  $2,600.00       $13,609,675.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31065     YEE MOK                                   Claim 001154, Payment                               5600-004                                  $2,600.00       $13,607,075.27
                                                                          100.00000%
                                10305 Springpark Ave.
                                Baton Rouge, LA 70810
   08/27/14           31066     ARGO PARTNERS                             Claim 001155, Payment                               5600-000                                  $2,600.00       $13,604,475.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31067     TERESA FREEMAN                            Claim 001156, Payment                               5600-000                                  $2,377.00       $13,602,098.27
                                                                          100.00000%
                                6871 Braceo Street
                                Oak Hills, CA 92344
   08/27/14           31068     FE M ORDOVEZA                             Claim 001157, Payment                               5600-000                                  $2,600.00       $13,599,498.27
                                                                          100.00000%
                                225 N Church Street
                                Belleville, IL 62220-4005
   08/27/14           31069     JACQUELINE MCINNIS                        Claim 001158, Payment                               5600-000                                  $2,600.00       $13,596,898.27
                                                                          100.00000%
                                3039 Gillis Hill Road
                                Fayetteville, NC 28306
   08/27/14           31070     MAYME BOLT                                Claim 001159, Payment                               5600-000                                     $204.00      $13,596,694.27
                                                                          100.00000%
                                1359 Summergate Pkwy
                                St Charles, MO 63303


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31071     LIQUIDITY SOLUTIONS, INC.                 Claim 001160, Payment                               5600-000                                  $2,600.00       $13,594,094.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31072     LIQUIDITY SOLUTIONS, INC.                 Claim 001160a, Payment                              5600-000                                  $4,508.00       $13,589,586.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31073     LISA SHIRK                                Claim 001161, Payment                               5600-000                                     $774.00      $13,588,812.27
                                                                          100.00000%
                                3369 Glade Creek Road
                                Sparta, TN 38583
   08/27/14           31074     BENJAMIN WILLARD                          Claim 001162, Payment                               5600-000                                     $420.00      $13,588,392.27
                                                                          100.00000%
                                8330 Dexter Road
                                Cambridge, ME 04923
   08/27/14           31075     LA VITA MURRAY                            Claim 001163, Payment                               5600-000                                  $2,600.00       $13,585,792.27
                                                                          100.00000%
                                6650 S Sandhill Rd APT.240
                                Las Vegas, NV 89120
   08/27/14           31076     ARGO PARTNERS                             Claim 001164, Payment                               5600-000                                  $2,600.00       $13,583,192.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31077     RICHARD ZAMARRIPA                         Claim 001165A, Payment                              5600-000                                  $2,600.00       $13,580,592.27
                                                                          100.00000%
                                4023 Eagle Rock Blvd Apt 6
                                Los Angeles, CA 90065
   08/27/14           31078     ARGO PARTNERS                             Claim 001166, Payment                               5600-000                                  $2,600.00       $13,577,992.27
                                12 West 37th St., 9th FLNew York, NY      100.00000%
                                10018
   08/27/14           31079     JAMES HARRIS                              Claim 001167, Payment                               5600-000                                  $2,600.00       $13,575,392.27
                                                                          100.00000%
                                8213 Ridge Road
                                Sodus, NY 14551
   08/27/14           31080     ARGO PARTNERS                             Claim 001168, Payment                               5600-000                                  $2,600.00       $13,572,792.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31081     COHEN ADAMS                               Claim 001170, Payment                               5600-000                                  $1,445.00       $13,571,347.27
                                                                          100.00000%
                                3851 Imperial Drive
                                Snellville, GA 30039
   08/27/14           31082     KATHERINE KEITH                           Claim 001172, Payment                               5600-000                                  $1,015.00       $13,570,332.27
                                                                          100.00000%
                                100 Mackenzie
                                White Pigeon, MI 49099
   08/27/14           31083     ASSET RECOVERY MANAGEMENT,                Claim 001173, Payment                               5600-000                                  $2,600.00       $13,567,732.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31084     SECOND CHANCE CREDIT                      Claim 001174, Payment                               5600-000                                  $1,025.00       $13,566,707.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31085     ERICA SAMUELS                             Claim 001176, Payment                               5600-000                                     $360.00      $13,566,347.27
                                                                          100.00000%
                                13146 Grey Wolf Lane
                                Covington, GA 30014
   08/27/14           31086     ARGO PARTNERS                             Claim 001177, Payment                               5600-000                                  $2,600.00       $13,563,747.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31087     DARREL RODDENBERRY                        Claim 001179, Payment                               5600-000                                     $638.00      $13,563,109.27
                                                                          100.00000%
                                33460 Valerio Road
                                Hemet, CA 92544
   08/27/14           31088     LAILA WORKE                               Claim 001180, Payment                               5600-000                                  $1,577.00       $13,561,532.27
                                                                          100.00000%
                                1997 Glentana St
                                Simi Valley, CA 93065
   08/27/14           31089     ASSET RECOVERY MANAGEMENT,                Claim 001181, Payment                               5600-000                                  $2,600.00       $13,558,932.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31090     ARGO PARTNERS                             Claim 001182, Payment                               5600-000                                  $2,600.00       $13,556,332.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31091     DICK NELSON                               Claim 001183, Payment                               5600-000                                  $2,600.00       $13,553,732.27
                                                                          100.00000%
                                PO BOX 3
                                Fort Rock, OR 97735
   08/27/14           31092     ARGO PARTNERS                             Claim 001184, Payment                               5600-000                                  $2,600.00       $13,551,132.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31093     FRANCES LADSON                            Claim 001185, Payment                               5600-000                                     $575.00      $13,550,557.27
                                                                          100.00000%
                                12480 Holly Lane
                                Larinburg, NC 28352
   08/27/14           31094     LELAND RYAN                               Claim 001186A, Payment                              5600-004                                  $1,915.00       $13,548,642.27
                                                                          100.00000%
                                408 Savtooth Court
                                kathleen, GA 31047
   08/27/14           31095     PATRICIA GUYE                             Claim 001187, Payment                               5600-004                                     $447.00      $13,548,195.27
                                                                          100.00000%
                                672 Old Mill Rd Apt 153
                                Millersville, MD 21108
   08/27/14           31096     REBECCA ANDERSON                          Claim 001189, Payment                               5600-000                                     $744.00      $13,547,451.27
                                                                          100.00000%
                                5170 Main Street 5
                                Springfield, OR 97478
   08/27/14           31097     DALE KEPLER                               Claim 001190, Payment                               5600-000                                  $1,082.00       $13,546,369.27
                                                                          100.00000%
                                595 Carleton Drive
                                Henderson, NV 89014
   08/27/14           31098     LIQUIDITY SOLUTIONS, INC.                 Claim 001191, Payment                               5600-000                                  $2,315.00       $13,544,054.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31099     DOMINIC ARCHULETA                         Claim 001192, Payment                               5600-004                                  $1,625.00       $13,542,429.27
                                                                          100.00000%
                                1004 PACIFIC GROVE LN APT 4
                                PACIFIC GROVE, CA 93950-3849
   08/27/14           31100     EHAB GHABRIEL                             Claim 001193, Payment                               5600-000                                     $605.00      $13,541,824.27
                                                                          100.00000%
                                21309 Plank Trail Dr.
                                Frankfort, IL 60423
   08/27/14           31101     LIQUIDITY SOLUTIONS, INC.                 Claim 001194, Payment                               5600-000                                  $1,519.00       $13,540,305.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31102     JEFFREY GEORGE                            Claim 001195, Payment                               5600-000                                  $1,879.00       $13,538,426.27
                                                                          100.00000%
                                PO BOX 24504
                                Brooklyn, NY 11202
   08/27/14           31103     MANUEL MORALES                            Claim 001196, Payment                               5600-000                                     $587.00      $13,537,839.27
                                                                          100.00000%
                                55 Montmorenci Street First Floor
                                Springfield, MA 01107
   08/27/14           31104     DELORES RICKETTS                          Claim 001198, Payment                               5600-000                                     $517.00      $13,537,322.27
                                                                          100.00000%
                                2315 Sandgate Rd
                                College Park, GA 30349
   08/27/14           31105     CINDY MCCALL                              Claim 001199, Payment                               5600-000                                     $470.00      $13,536,852.27
                                                                          100.00000%
                                205 buddy eargle rd
                                Chapin, SC 29036
   08/27/14           31106     LESLIE FLU AND FORREST GILL               Claim 001201, Payment                               5600-000                                     $443.00      $13,536,409.27
                                                                          100.00000%
                                2110 JEFFERSON ST SE
                                ALBANY, OR 97322
   08/27/14           31107     DEBBIE OBRIEN                             Claim 001202, Payment                               5600-000                                     $370.00      $13,536,039.27
                                                                          100.00000%
                                4206 Dantzler St.
                                Moss Point, MS 39563




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main          $8,015.00
                                                                             Document          Page 130 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31108     KEVIN TRNKA                               Claim 001203, Payment                               5600-000                                  $1,225.00       $13,534,814.27
                                                                          100.00000%
                                103 Winifred DR
                                Merrick, NY 11566
   08/27/14           31109     NICOLLE GERSHON                           Claim 001204A, Payment                              5600-000                                     $674.00      $13,534,140.27
                                                                          100.00000%
                                3412 Shoaff Park River Rive
                                Fort Wayne, IN 46835
   08/27/14           31110     EUGENE LAKA                               Claim 001205, Payment                               5600-000                                     $231.00      $13,533,909.27
                                                                          100.00000%
                                9824 4th Ave Apt 2
                                Brooklyn, NY 11209
   08/27/14           31111     RICHARD SMITH                             Claim 001206, Payment                               5600-004                                     $794.00      $13,533,115.27
                                                                          100.00000%
                                1208 Country Bend
                                Caufman, TX 75142
   08/27/14           31112     JOHN LEABHART                             Claim 001207, Payment                               5600-000                                  $1,565.00       $13,531,550.27
                                                                          100.00000%
                                4407 Longanberry Lane
                                Dumfries, VA 22025
   08/27/14           31113     DERRICK HODGE                             Claim 001208A, Payment                              5600-000                                  $2,600.00       $13,528,950.27
                                                                          100.00000%
                                2718 Erin Lane
                                Nashville, TN 37221
   08/27/14           31114     LIQUIDITY SOLUTIONS, INC.                 Claim 001210, Payment                               5600-000                                  $2,383.00       $13,526,567.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31115     MRS MIKE (SUSAN) HUSEN                    Claim 001211, Payment                               5600-000                                  $2,600.00       $13,523,967.27
                                                                          100.00000%
                                6151 152th Ave
                                West Olive, MI 49460
   08/27/14           31116     MARLEE GENEREUX                           Claim 001212, Payment                               5600-000                                  $2,600.00       $13,521,367.27
                                                                          100.00000%
                                38306 8th Ave. Ct South
                                Roy, WA 98580




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31117     ARGO PARTNERS                             Claim 001213, Payment                               5600-000                                  $2,600.00       $13,518,767.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31118     ARGO PARTNERS                             Claim 001214, Payment                               5600-000                                     $806.00      $13,517,961.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31119     MARLIN BOGER                              Claim 001215, Payment                               5600-000                                  $2,600.00       $13,515,361.27
                                                                          100.00000%
                                4347 Clover Hollow Road
                                Slatington, PA 18080
   08/27/14           31120     CATHERINE BARFIELD                        Claim 001216, Payment                               5600-000                                  $2,600.00       $13,512,761.27
                                                                          100.00000%
                                7782 Attala Road 4127
                                Sallis, MS 39160
   08/27/14           31121     MARY FRAZIER                              Claim 001217, Payment                               5600-000                                     $423.00      $13,512,338.27
                                                                          100.00000%
                                1008 Southhampton Ct
                                Chesapeake, VA 23320
   08/27/14           31122     BEVERLY FERGUSON                          Claim 001218, Payment                               5600-000                                  $2,600.00       $13,509,738.27
                                                                          100.00000%
                                600 W 6th St.
                                Manchester, OH 45144
   08/27/14           31123     ELMER AFFOLTER                            Claim 001219, Payment                               5600-000                                  $2,600.00       $13,507,138.27
                                                                          100.00000%
                                635 N Water Street
                                Uhrichville, OH 44683
   08/27/14           31124     CYNTHIA DAVIS                             Claim 001220, Payment                               5600-000                                     $861.00      $13,506,277.27
                                                                          100.00000%
                                409 WALDEN PARK DR
                                FORT MILL, SC 29715
   08/27/14           31125     THOMAS MCKAY                              Claim 001221, Payment                               5600-000                                  $2,600.00       $13,503,677.27
                                                                          100.00000%
                                116 Whitefield Trace
                                Mooresville, NC 28115




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                                                                                                                                                     Desc Main         $17,690.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31126     LESLIE CAIN                               Claim 001222, Payment                               5600-000                                     $663.00      $13,503,014.27
                                                                          100.00000%
                                2915 Birdwell Lane
                                Longview, TX 75605
   08/27/14           31127     MARIA MENZEL                              Claim 001223, Payment                               5600-000                                  $2,600.00       $13,500,414.27
                                                                          100.00000%
                                6150 55th Drive
                                Maspeth, NY 11378
   08/27/14           31128     ARGO PARTNERS                             Claim 001224, Payment                               5600-000                                  $2,600.00       $13,497,814.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31129     VIRGIL BROWN                              Claim 001225, Payment                               5600-000                                  $2,600.00       $13,495,214.27
                                                                          100.00000%
                                2136 Noble Road
                                Cleveland, OH 44112
   08/27/14           31130     PAULA HIPPS TEMPLE                        Claim 001226, Payment                               5600-000                                     $408.00      $13,494,806.27
                                                                          100.00000%
                                5774 Rue Royal St.
                                Columbus, OH 43229
   08/27/14           31131     KIM KROCK                                 Claim 001227, Payment                               5600-000                                     $430.00      $13,494,376.27
                                                                          100.00000%
                                20 LT Farm Lane
                                Gates, NC 27937
   08/27/14           31132     ARGO PARTNERS                             Claim 001228, Payment                               5600-000                                  $2,600.00       $13,491,776.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31133     CHARLES DEARING                           Claim 001229, Payment                               5600-000                                  $1,121.00       $13,490,655.27
                                                                          100.00000%
                                145 Steen Road
                                Limestone, TN 37681
   08/27/14           31134     ELSA TEJEDA                               Claim 001230, Payment                               5600-000                                  $2,600.00       $13,488,055.27
                                                                          100.00000%
                                4017 Redwood Dr
                                Bethlehem, PA 18020




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31135     ANTHONY LO                                Claim 001232, Payment                               5600-000                                  $2,600.00       $13,485,455.27
                                                                          100.00000%
                                23742 Monument Canyon Rd
                                Diamond Bar, CA 91765
   08/27/14           31136     JOYCE THOMPSON                            Claim 001233, Payment                               5600-000                                     $219.00      $13,485,236.27
                                                                          100.00000%
                                359 Howe St. E
                                Brookfield, MA 01515
   08/27/14           31137     ARGO PARTNERS                             Claim 001234, Payment                               5600-000                                  $2,600.00       $13,482,636.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31138     JOSE VALENCIA                             Claim 001235, Payment                               5600-000                                     $338.00      $13,482,298.27
                                                                          100.00000%
                                PO Box 5402
                                Calexico, CA 92232
   08/27/14           31139     NICOLE MAGES                              Claim 001236, Payment                               5600-000                                  $2,469.00       $13,479,829.27
                                                                          100.00000%
                                203 Jenna Court
                                Watertown, WI 53098
   08/27/14           31140     LIQUIDITY SOLUTIONS, INC.                 Claim 001237, Payment                               5600-000                                  $1,800.00       $13,478,029.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31141     ASSET RECOVERY MANAGEMENT,                Claim 001238, Payment                               5600-000                                  $2,600.00       $13,475,429.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31142     VIRGINIA JONES                            Claim 001239, Payment                               5600-000                                  $2,600.00       $13,472,829.27
                                                                          100.00000%
                                5333 langdale drive
                                Racine, WI 53402
   08/27/14           31143     ELIZABETH TUCKER                          Claim 001240, Payment                               5600-000                                     $551.00      $13,472,278.27
                                                                          100.00000%
                                1312 S SALTAIR APT 326
                                LOS ANGELES, CA 90025




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31144     RHONDA MITCHELL                           Claim 001241, Payment                               5600-000                                  $2,600.00       $13,469,678.27
                                                                          100.00000%
                                270 GEORGETOWN SHORTCUT RD
                                UNIT 3
                                CRESCENT CITY, FL 32112
   08/27/14           31145     WEDE ESBER                                Claim 001242, Payment                               5600-000                                     $394.00      $13,469,284.27
                                                                          100.00000%
                                2054 RAVINIA CT
                                LAWRENCEVILLE, GA 30044
   08/27/14           31146     KENNETH DROUSE                            Claim 001243, Payment                               5600-000                                  $1,547.00       $13,467,737.27
                                                                          100.00000%
                                4254 West IsabellaRoad
                                Shepard, MI 48883
   08/27/14           31147     CAROLINA GONZALES                         Claim 001244, Payment                               5600-000                                  $2,600.00       $13,465,137.27
                                                                          100.00000%
                                7434 Evans Street
                                Houston, TX 77061
   08/27/14           31148     MARNI WENTZLER                            Claim 001245, Payment                               5600-000                                  $2,600.00       $13,462,537.27
                                                                          100.00000%
                                715 Pent Street
                                Tarpon Springs, FL 34689
   08/27/14           31149     KAREN DANIELS                             Claim 001246, Payment                               5600-000                                     $253.00      $13,462,284.27
                                                                          100.00000%
                                400 Grimes Rd. Apt. 225
                                Sicklerville, NI 08081
   08/27/14           31150     STEPHANIE WULF                            Claim 001247, Payment                               5600-000                                     $237.00      $13,462,047.27
                                                                          100.00000%
                                122 E 5th St. Apt. A
                                Tipton, IA 52772
   08/27/14           31151     SECOND CHANCE CREDIT                      Claim 001248, Payment                               5600-000                                  $2,600.00       $13,459,447.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31152     RUBY PARSONS                              Claim 001249, Payment                               5600-000                                     $936.00      $13,458,511.27
                                                                          100.00000%
                                PO Box 2247
                                Blytheville, AR 72316



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31153     NANCY LEWIS                               Claim 001251, Payment                               5600-000                                     $824.00      $13,457,687.27
                                                                          100.00000%
                                912 Railway Square
                                West Chester, PA 19380
   08/27/14           31154     HOBART KIRSCH                             Claim 001252, Payment                               5600-000                                  $2,600.00       $13,455,087.27
                                                                          100.00000%
                                PO BOX 158
                                Topinaee, MI 49791
   08/27/14           31155     MARY ANN BECK                             Claim 001254, Payment                               5600-000                                     $424.00      $13,454,663.27
                                                                          100.00000%
                                73 Mountain Veiw Lane
                                Pisgah Forest, NC 28768
   08/27/14           31156     ARGO PARTNERS                             Claim 001255, Payment                               5600-000                                  $2,600.00       $13,452,063.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31157     GLENDA SOLOMON                            Claim 001256, Payment                               5600-000                                     $337.00      $13,451,726.27
                                                                          100.00000%
                                306 Riverwood Dr
                                Louisberg, NC 27549
   08/27/14           31158     ASSET RECOVERY MANAGEMENT,                Claim 001257, Payment                               5600-000                                  $2,600.00       $13,449,126.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31159     SYLVIA PARSON                             Claim 001258, Payment                               5600-000                                  $2,600.00       $13,446,526.27
                                                                          100.00000%
                                40 Ravenglass Way
                                Blythewood, SC 29016
   08/27/14           31160     JOHN MANUELE                              Claim 001259, Payment                               5600-000                                     $534.00      $13,445,992.27
                                                                          100.00000%
                                707 Lee St
                                Rome, NY 13440
   08/27/14           31161     ROY NOWITZKE                              Claim 001260, Payment                               5600-000                                  $1,806.00       $13,444,186.27
                                                                          100.00000%
                                111 Cadillac Square
                                DETROIT, MI 48226




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31162     ASSET RECOVERY MANAGEMENT,                Claim 001261, Payment                               5600-000                                  $2,600.00       $13,441,586.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31163     SUAD ZAKARI                               Claim 001262, Payment                               5600-000                                  $2,600.00       $13,438,986.27
                                                                          100.00000%
                                105 Blueberry Ct
                                Stafford, VA 22554
   08/27/14           31164     WALLACE OLSON                             Claim 001263, Payment                               5600-004                                     $671.00      $13,438,315.27
                                                                          100.00000%
                                1400 Chickasaw Road
                                Paris, TN 38242
   08/27/14           31165     SECOND CHANCE CREDIT                      Claim 001264, Payment                               5600-000                                  $1,856.00       $13,436,459.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31166     LIQUIDITY SOLUTIONS, INC.                 Claim 001265, Payment                               5600-000                                  $1,591.00       $13,434,868.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31167     TINA CURTIS                               Claim 001266, Payment                               5600-000                                     $468.00      $13,434,400.27
                                                                          100.00000%
                                2533 South Taylor Place
                                Ontario, CA 91761
   08/27/14           31168     CAROLYN WILBANKS                          Claim 001267, Payment                               5600-004                                  $1,923.00       $13,432,477.27
                                                                          100.00000%
                                7502 GLEN WALKER LN
                                KNOXVILLE, TN 37938
   08/27/14           31169     ROBERT SHIREY                             Claim 001268, Payment                               5600-000                                     $382.00      $13,432,095.27
                                                                          100.00000%
                                541 Airport Rd
                                Bethel, PA 19507
   08/27/14           31170     HARRY TEJEDA                              Claim 001269, Payment                               5600-000                                  $2,600.00       $13,429,495.27
                                                                          100.00000%
                                1767 Marseille Dr
                                Miami Beach, FL 33141



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31171     RONALD ELLIOTT                            Claim 001270, Payment                               5600-000                                     $369.00      $13,429,126.27
                                                                          100.00000%
                                4821 S 3850 West
                                Roy, UT 84067
   08/27/14           31172     GARY L FOLEY                              Claim 001271A, Payment                              5600-000                                     $633.00      $13,428,493.27
                                                                          100.00000%
                                1841 Trosper Rd. SW TRLR 62
                                Tumwater, WA 98512
   08/27/14           31173     THERESA LACANNE                           Claim 001273, Payment                               5600-000                                     $759.00      $13,427,734.27
                                                                          100.00000%
                                E 11239 Cass Rd
                                Clintonville, WI 54929
   08/27/14           31174     ARGO PARTNERS                             Claim 001274, Payment                               5600-000                                  $2,600.00       $13,425,134.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31175     TODD DAVIS                                Claim 001275A, Payment                              5600-000                                  $1,979.00       $13,423,155.27
                                1369 Garden DriveKingsport, TN 37664      100.00000%
   08/27/14           31176     ARGO PARTNERS                             Claim 001276, Payment                               5600-000                                  $2,600.00       $13,420,555.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31177     GERALDINE AND EUGENE KOLBERG              Claim 001277, Payment                               5600-000                                  $2,600.00       $13,417,955.27
                                                                          100.00000%
                                6078 SW 98th Loop
                                Ocala, FL 34476
   08/27/14           31178     FELICIA ZIMMERMAN                         Claim 001278, Payment                               5600-000                                     $166.00      $13,417,789.27
                                                                          100.00000%
                                PO Box 24286
                                Lakeland, FL 33802
   08/27/14           31179     JENNIFER YOLI                             Claim 001280, Payment                               5600-000                                     $304.00      $13,417,485.27
                                                                          100.00000%
                                2405 Central Park Drive
                                Melbourne, FL 32935
   08/27/14           31180     ANDREA STAFFORD                           Claim 001281, Payment                               5600-000                                     $344.00      $13,417,141.27
                                                                          100.00000%
                                331 Bicentennial Court
                                Powell, WY 82435



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $12,354.00
                                                                             Document          Page 138 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31181     SHARON GRANDBERRY                         Claim 001282, Payment                               5600-000                                     $345.00      $13,416,796.27
                                                                          100.00000%
                                3616 PINELL ST
                                Sacramento, CA 95838
   08/27/14           31182     PATRICIA ELLINGTON                        Claim 001283, Payment                               5600-000                                  $2,600.00       $13,414,196.27
                                                                          100.00000%
                                55 East Park Street Apt 11B
                                East Orange, NJ 07017
   08/27/14           31183     SECOND CHANCE CREDIT                      Claim 001284, Payment                               5600-000                                  $1,285.00       $13,412,911.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31184     VICTORIA MAUTERER                         Claim 001285, Payment                               5600-004                                     $319.00      $13,412,592.27
                                                                          100.00000%
                                2275 Dupre Street
                                Mandeville, LA 70448
   08/27/14           31185     PATRICIA RENTZ                            Claim 001286, Payment                               5600-000                                     $493.00      $13,412,099.27
                                                                          100.00000%
                                702 1St Avenue
                                Altoona, PA 16602
   08/27/14           31186     YEIDI FIGUEROA                            Claim 001287, Payment                               5600-000                                  $1,500.00       $13,410,599.27
                                                                          100.00000%
                                10925 N 21st St
                                Tampa, FL 33612
   08/27/14           31187     EDNA BELL                                 Claim 001288, Payment                               5600-000                                  $2,600.00       $13,407,999.27
                                                                          100.00000%
                                PO Box 4 Possum Drive
                                New Fairfield, CT 06812
   08/27/14           31188     SHERRELL RUCKER                           Claim 001289, Payment                               5600-000                                     $252.00      $13,407,747.27
                                                                          100.00000%
                                12126 Corona Ln
                                Houston, TX 77072
   08/27/14           31189     JOSEPH PRIORE                             Claim 001290, Payment                               5600-000                                     $472.00      $13,407,275.27
                                                                          100.00000%
                                126 N Audubon Ave
                                Mooresville, NC 28117




                                    Case 10-30631               Doc 5751       Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main          $9,866.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           31190     MARIA SOSA                               Claim 001291, Payment                               5600-000                                     $659.00      $13,406,616.27
                                                                         100.00000%
                                4141 Glenbrooke Court
                                Houston, TX 77087
   08/27/14           31191     STEVEN DEBERRY                           Claim 001292, Payment                               5600-000                                     $661.00      $13,405,955.27
                                                                         100.00000%
                                65 River Mist Lane
                                Harpers Ferry, WV 25425
   08/27/14           31192     RITA WILLIAMS                            Claim 001293, Payment                               5600-000                                  $1,319.00       $13,404,636.27
                                                                         100.00000%
                                4471 Jockey Whip Lane
                                Parkton, NC 28371
   08/27/14           31193     JULIE WILLIAMS                           Claim 001294, Payment                               5600-000                                     $569.00      $13,404,067.27
                                                                         100.00000%
                                40 Lakeside Avenue
                                Hudson, MA 01749
   08/27/14           31194     KENNETH MCWILLIAMS                       Claim 001295, Payment                               5600-000                                  $2,600.00       $13,401,467.27
                                                                         100.00000%
                                1130 Haynes St.
                                Raleigh, NC 27604
   08/27/14           31195     ORALIA PALOMO                            Claim 001296, Payment                               5600-000                                  $2,600.00       $13,398,867.27
                                                                         100.00000%
                                11536 Burke Street
                                Whittier, CA 90606
   08/27/14           31196     SHON SCOTT                               Claim 001297, Payment                               5600-000                                  $1,764.00       $13,397,103.27
                                                                         100.00000%
                                836 NW 50th Street
                                Miami, FL 33127
   08/27/14           31197     ANTHONY SHIVERS SR.                      Claim 001298, Payment                               5600-000                                     $444.00      $13,396,659.27
                                                                         100.00000%
                                8222 Glencrest St.
                                Houston, TX 77061
   08/27/14           31198     JENNIFER BAKER                           Claim 001299, Payment                               5600-000                                     $325.00      $13,396,334.27
                                                                         100.00000%
                                40 Frew Terrace
                                Enfield, CT 06082




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31199     ARGO PARTNERS                             Claim 001300, Payment                               5600-000                                  $2,600.00       $13,393,734.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31200     CHARLES GOLDBERG                          Claim 001301, Payment                               5600-000                                     $775.00      $13,392,959.27
                                                                          100.00000%
                                PO Box 183
                                Cedar Knolls, NJ 07927
   08/27/14           31201     CHRISTINE HIGBEE                          Claim 001302, Payment                               5600-000                                  $1,789.00       $13,391,170.27
                                                                          100.00000%
                                31-A Village of Stoney Run
                                Maple Shade, NJ 08052
   08/27/14           31202     BETHZAIDA GARCIA                          Claim 001303, Payment                               5600-000                                  $2,600.00       $13,388,570.27
                                                                          100.00000%
                                60 Columbia St Apt 5-E
                                New York, NY 10002
   08/27/14           31203     SECOND CHANCE CREDIT                      Claim 001304, Payment                               5600-000                                     $964.00      $13,387,606.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31204     ELMER HAWES                               Claim 001305, Payment                               5600-000                                  $2,600.00       $13,385,006.27
                                                                          100.00000%
                                860 Clermont St Unit 301
                                Denver, CO 80220
   08/27/14           31205     MARGARET GRANT                            Claim 001306, Payment                               5600-000                                     $200.00      $13,384,806.27
                                                                          100.00000%
                                10050 Highway 22
                                Bolton, MS 39041
   08/27/14           31206     KENNETH SMITH                             Claim 001307, Payment                               5600-000                                     $477.00      $13,384,329.27
                                                                          100.00000%
                                21942 113th Dr.
                                Queens Village, NY 11429
   08/27/14           31207     JOYCE FAGGINS                             Claim 001308, Payment                               5600-000                                     $663.00      $13,383,666.27
                                1272 Columbia Ave.Plainsville, NJ 07062   100.00000%
   08/27/14           31208     CAROLYN BOLIVAR                           Claim 001309, Payment                               5600-000                                     $955.00      $13,382,711.27
                                                                          100.00000%
                                2245 North Smithfield Lane
                                Birmingham, AL 35207


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31209     ARGO PARTNERS                             Claim 001310, Payment                               5600-000                                  $2,600.00       $13,380,111.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31210     JOYCE TALLMADGE                           Claim 001311, Payment                               5600-000                                  $1,091.00       $13,379,020.27
                                                                          100.00000%
                                35 Trails End
                                Beaufort, SC 29907
   08/27/14           31211     DELIA HARRISON                            Claim 001312, Payment                               5600-004                                  $1,859.00       $13,377,161.27
                                                                          100.00000%
                                18291 Carriage Dr
                                Morgan Hill, CA 95037
   08/27/14           31212     ANNMARIE GUILIANO                         Claim 001313, Payment                               5600-000                                  $1,320.00       $13,375,841.27
                                                                          100.00000%
                                3 Walnut Ave
                                Farmingville, NY 11738
   08/27/14           31213     MICHAEL QUIGLEY                           Claim 001314, Payment                               5600-000                                     $492.00      $13,375,349.27
                                                                          100.00000%
                                7303 HUSKY LN
                                SPRINGFIELD, VA 22151
   08/27/14           31214     SCOTT FAZIO                               Claim 001315, Payment                               5600-000                                     $312.00      $13,375,037.27
                                                                          100.00000%
                                2 Nutmeg Road
                                Aberdeen, NJ 07747
   08/27/14           31215     SANDRA BUCUR                              Claim 001316, Payment                               5600-000                                     $549.00      $13,374,488.27
                                                                          100.00000%
                                1890 Junction Blvd. Apt. #514
                                Roseville, CA 95747
   08/27/14           31216     M JOAN DOUGLASS                           Claim 001317, Payment                               5600-000                                  $2,600.00       $13,371,888.27
                                                                          100.00000%
                                79 MCCULLOUGH BLVD
                                MANSFIELD, OH 44907
   08/27/14           31217     DIANE S MURPHY                            Claim 001318, Payment                               5600-000                                  $1,632.00       $13,370,256.27
                                                                          100.00000%
                                PO BOX 131
                                MAPLEWOOD, NJ 07040




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31218     ARGO PARTNERS                             Claim 001319, Payment                               5600-000                                  $2,600.00       $13,367,656.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31219     LAWRENCE JAMES                            Claim 001320A, Payment                              5600-000                                     $389.00      $13,367,267.27
                                                                          100.00000%
                                8109 Springflower Road
                                Columbia, SC 29223
   08/27/14           31220     LORETTA BUTLER                            Claim 001321, Payment                               5600-000                                  $1,625.00       $13,365,642.27
                                                                          100.00000%
                                2412 Richard Rozzelle Drive
                                Charlotte, NC 28214
   08/27/14           31221     MACK CHAFEN                               Claim 001322, Payment                               5600-000                                  $2,600.00       $13,363,042.27
                                PO Box 198958Chicago, IL 60619            100.00000%
   08/27/14           31222     SECOND CHANCE CREDIT                      Claim 001323, Payment                               5600-000                                  $1,771.00       $13,361,271.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31223     JOHN KREWALK                              Claim 001324, Payment                               5600-000                                  $2,600.00       $13,358,671.27
                                                                          100.00000%
                                14 Pheasant Lane
                                Bloomfield, CT 06002
   08/27/14           31224     DORA KARNES                               Claim 001325, Payment                               5600-000                                     $439.00      $13,358,232.27
                                                                          100.00000%
                                21391 Highway 251 A
                                Fort Gibson, OK 74434
   08/27/14           31225     JEAN GIBB                                 Claim 001326, Payment                               5600-000                                     $546.00      $13,357,686.27
                                                                          100.00000%
                                1118 North Vernon St
                                Dearborn, MI 48128
   08/27/14           31226     MANNIE GRAVES JR                          Claim 001327, Payment                               5600-000                                  $1,395.00       $13,356,291.27
                                                                          100.00000%
                                4130 El Paso Rd
                                Bullhead City, AZ 86429




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31227     SECOND CHANCE CREDIT                      Claim 001328, Payment                               5600-000                                  $1,245.00       $13,355,046.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31228     CRYSTAL MILLER                            Claim 001329, Payment                               5600-000                                     $665.00      $13,354,381.27
                                                                          100.00000%
                                404 Virgil Greer Rd 0500171
                                Lancing, NC 28643
   08/27/14           31229     SAMANTHA BLAYLOCK                         Claim 001330, Payment                               5600-000                                  $2,014.00       $13,352,367.27
                                                                          100.00000%
                                700 N SCOTT AVE
                                CAMERON, TX 76520
   08/27/14           31230     JOHNNY WILLS                              Claim 001331, Payment                               5600-000                                  $2,600.00       $13,349,767.27
                                                                          100.00000%
                                403 Cashie Street
                                Windsor, NC 27983
   08/27/14           31231     ARGO PARTNERS                             Claim 001332, Payment                               5600-000                                  $2,600.00       $13,347,167.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31232     MARION CARRIER                            Claim 001333, Payment                               5600-000                                  $1,582.00       $13,345,585.27
                                                                          100.00000%
                                2720 Southern Ridge Drive
                                Lake Charles, LA 70607
   08/27/14           31233     LINDA KEITH                               Claim 001334, Payment                               5600-000                                  $2,600.00       $13,342,985.27
                                                                          100.00000%
                                9713 Springwater Court
                                Louisville, KY 40229
   08/27/14           31234     MIGUEL BETANCOURT                         Claim 001335A, Payment                              5600-000                                     $586.00      $13,342,399.27
                                                                          100.00000%
                                4721 North Orange Drive
                                San Bernardino, CA 92407
   08/27/14           31235     WILLIAM TAYLOR                            Claim 001337, Payment                               5600-000                                  $2,209.00       $13,340,190.27
                                                                          100.00000%
                                315 Grant 580
                                Sheridan, AR 72150




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31236     RACHEL EVANS                              Claim 001338, Payment                               5600-004                                  $1,822.00       $13,338,368.27
                                                                          100.00000%
                                958 Cabot Court
                                Stone Mountain, GA 30083
   08/27/14           31237     ARGO PARTNERS                             Claim 001339A, Payment                              5600-000                                  $2,600.00       $13,335,768.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31238     SHARON SANCHEZ                            Claim 001340, Payment                               5600-000                                     $881.00      $13,334,887.27
                                                                          100.00000%
                                23128 Colony Park Drive
                                Carson, CA 90745
   08/27/14           31239     ARGO PARTNERS                             Claim 001341, Payment                               5600-000                                  $2,600.00       $13,332,287.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31240     BARBARA PATRICK                           Claim 001342, Payment                               5600-000                                  $2,600.00       $13,329,687.27
                                                                          100.00000%
                                171-04 140 Avenue
                                Jamaica, NY 11434
   08/27/14           31241     SABRINA BIBB                              Claim 001343A, Payment                              5600-000                                  $2,600.00       $13,327,087.27
                                                                          100.00000%
                                6147 STRASBURG DR
                                CENTREVILLE, VA 20121-2241
   08/27/14           31242     GLENDA ELLIS                              Claim 001344, Payment                               5600-000                                  $2,256.00       $13,324,831.27
                                                                          100.00000%
                                222 Sweetwater Cir. #E-11
                                Mableton, GA 30126
   08/27/14           31243     BARBARA DUNBAR                            Claim 001345, Payment                               5600-000                                  $2,600.00       $13,322,231.27
                                                                          100.00000%
                                254-07 75th Avenue 2nd Floor
                                Glen Oaks, NY 11004
   08/27/14           31244     GARY TRANBERG                             Claim 001346, Payment                               5600-000                                  $2,144.00       $13,320,087.27
                                                                          100.00000%
                                18833 North 94th Lane
                                Peoria, AZ 85382




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           31245     MANUEL BARONA                             Claim 001347, Payment                               5600-000                                  $2,600.00      $13,317,487.27
                                                                          100.00000%
                                549 North Erie
                                WICHITA, KS 67214
   08/27/14           31246     CHELSEA BRYSON                            Claim 001348, Payment                               5600-000                                  $2,600.00      $13,314,887.27
                                                                          100.00000%
                                74 Jacobs Road
                                Ringgold, GA 30736
   08/27/14           31247     ARGO PARTNERS                             Claim 001349, Payment                               5600-000                                  $2,600.00      $13,312,287.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31248     SECOND CHANCE CREDIT                      Claim 001350, Payment                               5600-000                                  $2,491.00      $13,309,796.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31249     LISA TEDDER                               Claim 001351, Payment                               5600-000                                  $2,600.00      $13,307,196.27
                                                                          100.00000%
                                905 Oxford Trail Drive
                                Saint Peters, MO 63376
   08/27/14           31250     LIQUIDITY SOLUTIONS, INC.                 Claim 001352, Payment                               5600-000                                  $2,600.00      $13,304,596.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31251     BARHAM CAMERON                            Claim 001353, Payment                               5600-000                                  $2,600.00      $13,301,996.27
                                                                          100.00000%
                                CO LEGAL AID
                                PO BOX 1605
                                JOPLIN, MO 64802
   08/27/14           31252     ARGO PARTNERS                             Claim 001354, Payment                               5600-000                                  $2,600.00      $13,299,396.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31253     ARGO PARTNERS                             Claim 001355, Payment                               5600-000                                  $2,600.00      $13,296,796.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $23,291.00
                                                                             Document          Page 146 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31254     ARGO PARTNERS                             Claim 001356, Payment                               5600-000                                  $2,600.00       $13,294,196.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31255     MARY MIDDLETON                            Claim 001357, Payment                               5600-000                                     $856.00      $13,293,340.27
                                                                          100.00000%
                                620 Portage Ave.
                                Three Rivers, MI 49093
   08/27/14           31256     JOHNIE WATTS                              Claim 001358, Payment                               5600-000                                     $758.00      $13,292,582.27
                                                                          100.00000%
                                105 Antler Way
                                Toney, AL35773
   08/27/14           31257     PATRICIA HINSON                           Claim 001359, Payment                               5600-000                                  $1,417.00       $13,291,165.27
                                                                          100.00000%
                                109 Trailridge Lane
                                Princeton, NC 27569
   08/27/14           31258     KHAMLA VILAYSITH                          Claim 001360, Payment                               5600-000                                  $1,261.00       $13,289,904.27
                                                                          100.00000%
                                4364 12 52nd Street
                                San Diego, CA 92115
   08/27/14           31259     ALENA ROOD                                Claim 001361, Payment                               5600-004                                     $256.00      $13,289,648.27
                                                                          100.00000%
                                2005 S ARCADIA ST
                                BOISE, ID 83705-3335
   08/27/14           31260     GLORIA TAVARES                            Claim 001362, Payment                               5600-000                                     $191.00      $13,289,457.27
                                                                          100.00000%
                                33-25 81st Street Apt 5C
                                Jackson Heights, NY 11372
   08/27/14           31261     MARCH AH YUEN                             Claim 001363, Payment                               5600-000                                  $2,600.00       $13,286,857.27
                                                                          100.00000%
                                470 Kaiaulu Loop
                                Makawao, HI 96768
   08/27/14           31262     ELAINE CAUSBY                             Claim 001364, Payment                               5600-000                                  $2,001.00       $13,284,856.27
                                                                          100.00000%
                                1442 Fletcher Road
                                Shelby, NC 28150




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31263     THOMAS KRECKER                            Claim 001365, Payment                               5600-000                                     $299.00      $13,284,557.27
                                                                          100.00000%
                                12936 57th Rd North
                                West Palm Beach, FL 33411
   08/27/14           31264     SECOND CHANCE CREDIT                      Claim 001366, Payment                               5600-000                                  $1,580.00       $13,282,977.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31265     ASSET RECOVERY MANAGEMENT,                Claim 001367, Payment                               5600-000                                  $2,600.00       $13,280,377.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31266     THOMAS BOCKMANN                           Claim 001368, Payment                               5600-000                                     $951.00      $13,279,426.27
                                                                          100.00000%
                                1023 Gleen Ridge Dr.
                                Fort Collins, CO 80524
   08/27/14           31267     SYLVIA ARRINGTON                          Claim 001369, Payment                               5600-000                                     $320.00      $13,279,106.27
                                                                          100.00000%
                                71 Jervis Rd
                                Yonkers, NY 10705
   08/27/14           31268     DESIREE GOMEZ                             Claim 001370, Payment                               5600-000                                     $856.00      $13,278,250.27
                                                                          100.00000%
                                4022 Carthage Road
                                Randallstown, MD 21133
   08/27/14           31269     ARGO PARTNERS                             Claim 001371, Payment                               5600-000                                  $2,600.00       $13,275,650.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31270     ARGO PARTNERS                             Claim 001372, Payment                               5600-000                                  $2,600.00       $13,273,050.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31271     CHERYL ZUBER                              Claim 001373A, Payment                              5600-000                                  $1,108.00       $13,271,942.27
                                                                          100.00000%
                                46 Briarwood Dr
                                West Seneca, NY 14224



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 148 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31272     ARGO PARTNERS                             Claim 001374, Payment                               5600-000                                  $2,600.00       $13,269,342.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31273     ARGO PARTNERS                             Claim 001375, Payment                               5600-000                                  $2,600.00       $13,266,742.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31274     ZACIL NASH                                Claim 001376, Payment                               5600-000                                  $2,600.00       $13,264,142.27
                                                                          100.00000%
                                PO BOX 13305
                                MAUMELLE, AR 72113
   08/27/14           31275     JEWELLENE HARDEN                          Claim 001377, Payment                               5600-000                                  $2,600.00       $13,261,542.27
                                                                          100.00000%
                                20450 Klinger St.
                                Detroit, MI 48234
   08/27/14           31276     TESA LEPORE                               Claim 001378, Payment                               5600-000                                  $1,150.00       $13,260,392.27
                                                                          100.00000%
                                2460 Bear Valley Pkwy #106
                                Escondido, CA 92025
   08/27/14           31277     MARCIA MARTINEZ                           Claim 001379, Payment                               5600-000                                     $286.00      $13,260,106.27
                                                                          100.00000%
                                3476 Jonathan Cirlce
                                Augusta, GA 30906
   08/27/14           31278     ARGO PARTNERS                             Claim 001380, Payment                               5600-000                                  $2,600.00       $13,257,506.27
                                12 West 37th St., 9th FLNew York, NY      100.00000%
                                10018
   08/27/14           31279     SHEILA HOUSTON                            Claim 001381, Payment                               5600-000                                  $2,600.00       $13,254,906.27
                                                                          100.00000%
                                419 Clearview Place
                                Boundbrook, NJ 08805
   08/27/14           31280     MARTHA WALKER                             Claim 001382, Payment                               5600-000                                     $584.00      $13,254,322.27
                                                                          100.00000%
                                37 ARNOLD DR
                                AUGUSTA, KS 67010
   08/27/14           31281     LIQUIDITY SOLUTIONS, INC.                 Claim 001383, Payment                               5600-000                                  $1,429.00       $13,252,893.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           31282     ARGO PARTNERS                             Claim 001384, Payment                               5600-000                                  $2,600.00      $13,250,293.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31283     GRACE CORTES                              Claim 001385, Payment                               5600-000                                  $2,600.00      $13,247,693.27
                                                                          100.00000%
                                609 Hubbard Avenue
                                Union, NJ 07083
   08/27/14           31284     NATASHA HASKUMP                           Claim 001386, Payment                               5600-000                                  $1,285.00      $13,246,408.27
                                                                          100.00000%
                                200 Stedman Ct.
                                Fort Huachuca, AZ 85613
   08/27/14           31285     CHRISTIE MAAS                             Claim 001387, Payment                               5600-000                                  $2,600.00      $13,243,808.27
                                                                          100.00000%
                                1492 Schuyler Road
                                Toledo, OH 43612
   08/27/14           31286     DAVID STATZER                             Claim 001388, Payment                               5600-000                                  $2,600.00      $13,241,208.27
                                                                          100.00000%
                                302 Big Valley Dr
                                Bristol, TN 37620
   08/27/14           31287     ARGO PARTNERS                             Claim 001389, Payment                               5600-000                                  $2,600.00      $13,238,608.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31288     WAYNE NEWMAN                              Claim 001390A, Payment                              5600-000                                  $2,600.00      $13,236,008.27
                                                                          100.00000%
                                46 Union St
                                Dover, NH 03820
   08/27/14           31289     LIQUIDITY SOLUTIONS, INC.                 Claim 001391, Payment                               5600-000                                  $1,735.00      $13,234,273.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31290     SECOND CHANCE CREDIT                      Claim 001392A, Payment                              5600-000                                  $1,054.00      $13,233,219.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31291     LORI CORBETT                              Claim 001393, Payment                               5600-000                                     $641.00      $13,232,578.27
                                                                          100.00000%
                                17425 119th Lane SE D-13
                                Renton, WA 98058
   08/27/14           31292     TASAWAR ALI                               Claim 001395, Payment                               5600-000                                     $788.00      $13,231,790.27
                                                                          100.00000%
                                301 Maple Avenue Apt 206
                                North Plainfield, NJ 07060
   08/27/14           31293     ARGO PARTNERS                             Claim 001397, Payment                               5600-000                                  $2,600.00       $13,229,190.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31294     DAVID MCDONALD                            Claim 001398, Payment                               5600-000                                  $1,657.00       $13,227,533.27
                                                                          100.00000%
                                1853 Oak Harbour Drive southwest
                                013356051
                                Oceanisle, NC 28469
   08/27/14           31295     JUAN LUNA                                 Claim 001399, Payment                               5600-000                                  $2,600.00       $13,224,933.27
                                c/o Azar and Azar                         100.00000%
   08/27/14           31296     SUPAK UAMKLAD                             Claim 001401, Payment                               5600-000                                  $1,720.00       $13,223,213.27
                                                                          100.00000%
                                9990 Sawgrass Dr. East
                                Ponte Vedra Beach, FL 32082
   08/27/14           31297     BIANCA MEDICI                             Claim 001402, Payment                               5600-000                                     $521.00      $13,222,692.27
                                                                          100.00000%
                                2220 EL MOLINO PL
                                SAN MARINO, CA 91108-2317
   08/27/14           31298     KIALA KELLEY-RUBINETTI                    Claim 001403, Payment                               5600-000                                     $333.00      $13,222,359.27
                                1488 Ocean Ave. #14Sea Bright, NJ         100.00000%
                                07760
   08/27/14           31299     HATTIE WALLACE                            Claim 001404, Payment                               5600-004                                  $1,814.00       $13,220,545.27
                                                                          100.00000%
                                667 Holly Circle
                                Aberdeen, MD 21001
   08/27/14           31300     ARGO PARTNERS                             Claim 001405, Payment                               5600-000                                  $2,600.00       $13,217,945.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $15,274.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31301     DIANA CASH                                Claim 001406A, Payment                              5600-000                                  $2,600.00       $13,215,345.27
                                                                          100.00000%
                                178 Lakewood Drive
                                Kingsland, GA 31548
   08/27/14           31302     ASSET RECOVERY MANAGEMENT,                Claim 001407, Payment                               5600-000                                  $2,600.00       $13,212,745.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31303     MICHAEL LASSEN                            Claim 001408, Payment                               5600-000                                  $1,681.00       $13,211,064.27
                                                                          100.00000%
                                8570 W Main St.
                                Winona, MN 55987
   08/27/14           31304     ROBERT EDWARDS                            Claim 001409, Payment                               5600-000                                     $857.00      $13,210,207.27
                                                                          100.00000%
                                1753 Simmons Ave NE
                                Grand Rapids, MI 49505
   08/27/14           31305     JOHN OTERO                                Claim 001410, Payment                               5600-000                                  $1,990.00       $13,208,217.27
                                                                          100.00000%
                                10364 Sheldon Road
                                Elk Grove, CA 95624
   08/27/14           31306     ARGO PARTNERS                             Claim 001411, Payment                               5600-000                                  $2,600.00       $13,205,617.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31307     DRENA JOHNSON                             Claim 001412, Payment                               5600-000                                     $205.00      $13,205,412.27
                                                                          100.00000%
                                1900 Campus Ave Apt 33-B
                                Ontario, CA 91761
   08/27/14           31308     TAD JONES                                 Claim 001413, Payment                               5600-000                                     $921.00      $13,204,491.27
                                                                          100.00000%
                                29530 S. 585 Trail
                                Grove, OK 74344
   08/27/14           31309     KERRI MESA                                Claim 001414, Payment                               5600-000                                  $2,600.00       $13,201,891.27
                                                                          100.00000%
                                451 Shepherd Ave
                                San Jose, CA 95125




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31310     SECOND CHANCE CREDIT                      Claim 001415, Payment                               5600-000                                  $1,360.00       $13,200,531.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31311     EDDIE OCKERT                              Claim 001417, Payment                               5600-004                                  $2,600.00       $13,197,931.27
                                                                          100.00000%
                                4112 CANTERBURY LN
                                TRAVERSE CITY, MI 49685
   08/27/14           31312     ARGO PARTNERS                             Claim 001418, Payment                               5600-000                                  $2,600.00       $13,195,331.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31313     GERALD HERKIMER                           Claim 001419, Payment                               5600-004                                  $2,600.00       $13,192,731.27
                                                                          100.00000%
                                10 West Central
                                Reedpoint, MT 59069
   08/27/14           31314     JON HABER                                 Claim 001420, Payment                               5600-000                                  $2,600.00       $13,190,131.27
                                                                          100.00000%
                                2177 Kings Mountain Drive
                                Conyers, GA 30012
   08/27/14           31315     ARGO PARTNERS                             Claim 001421, Payment                               5600-000                                  $2,600.00       $13,187,531.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31316     LAWRENCE LIGON                            Claim 001422, Payment                               5600-000                                     $981.00      $13,186,550.27
                                                                          100.00000%
                                1413 Palmetto Path
                                Sanford, NC 27330
   08/27/14           31317     SECOND CHANCE CREDIT                      Claim 001423, Payment                               5600-000                                     $840.00      $13,185,710.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31318     ALEXANDER DUPREE                          Claim 001424, Payment                               5600-000                                     $366.00      $13,185,344.27
                                                                          100.00000%
                                118 Berkeley Farms Rd
                                Summerville, SC 29483



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $16,547.00
                                                                             Document          Page 153 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31319     HAEJIN LEE                                Claim 001425, Payment                               5600-000                                     $875.00      $13,184,469.27
                                                                          100.00000%
                                318 Greenfield Rd
                                Bridgewater, NJ 08807
   08/27/14           31320     ASSET RECOVERY MANAGEMENT,                Claim 001426, Payment                               5600-000                                  $2,600.00       $13,181,869.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31321     ARGO PARTNERS                             Claim 001429, Payment                               5600-000                                  $2,600.00       $13,179,269.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31322     LINDA SCHAFER                             Claim 001430, Payment                               5600-000                                  $2,600.00       $13,176,669.27
                                                                          100.00000%
                                36 Duquesne Ct
                                Springdale, PA 15144
   08/27/14           31323     CAROL GILSON                              Claim 001431, Payment                               5600-000                                     $599.00      $13,176,070.27
                                                                          100.00000%
                                102 STORMS DR
                                MAHWAH, NJ 07430-3178
   08/27/14           31324     JERRY ATKINS                              Claim 001432A, Payment                              5600-000                                  $1,417.00       $13,174,653.27
                                                                          100.00000%
                                177 Rocky Ridge Rd
                                Spuce Pine, NC 28777
   08/27/14           31325     MARCIA SAVAGE                             Claim 001433, Payment                               5600-000                                  $2,600.00       $13,172,053.27
                                                                          100.00000%
                                811 Macanic Ave
                                Ravenna, OH 44266
   08/27/14           31326     RICK LEISURE                              Claim 001434, Payment                               5600-000                                     $849.00      $13,171,204.27
                                                                          100.00000%
                                94 Jamison Rd. Lot 219
                                Washington Court House, OH 43160
   08/27/14           31327     RENEE METHERELL                           Claim 001435, Payment                               5600-000                                     $966.00      $13,170,238.27
                                                                          100.00000%
                                10223 Millstone Dr. #4311
                                Lenexa, KS 66220




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $15,106.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31328     IAN BLAISE                                Claim 001436, Payment                               5600-000                                     $444.00      $13,169,794.27
                                                                          100.00000%
                                1109 CHURCH ST 26
                                LYNCHBURG, VA 24504
   08/27/14           31329     DONNA OLIVER                              Claim 001437, Payment                               5600-000                                  $1,527.00       $13,168,267.27
                                                                          100.00000%
                                199 N Harrison St
                                Johnson City, NY 13790
   08/27/14           31330     CHRISTOPHER LIVINGSTON                    Claim 001438A, Payment                              5600-000                                     $534.00      $13,167,733.27
                                                                          100.00000%
                                2500 Dixie Place
                                Santa Rosa, CA 95407
   08/27/14           31331     JOHNNY DOBBINS                            Claim 001439, Payment                               5600-000                                  $2,600.00       $13,165,133.27
                                                                          100.00000%
                                13193 Ben Dr
                                Coker, AL 35452
   08/27/14           31332     SANDRA ELMORE                             Claim 001440, Payment                               5600-004                                  $2,600.00       $13,162,533.27
                                                                          100.00000%
                                65 CAROL LN UNIT 366
                                OAKLEY, CA 94561
   08/27/14           31333     GREGORY ACKERLEY                          Claim 001441, Payment                               5600-000                                  $2,600.00       $13,159,933.27
                                                                          100.00000%
                                136 Finch Drive
                                Tomah, WI 54660
   08/27/14           31334     ASSET RECOVERY MANAGEMENT,                Claim 001442, Payment                               5600-000                                  $2,600.00       $13,157,333.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31335     ROBERT LEE                                Claim 001443, Payment                               5600-000                                     $808.00      $13,156,525.27
                                                                          100.00000%
                                11114 N IH 35 APT 10-108
                                Austin, TX 78753
   08/27/14           31336     ARGO PARTNERS                             Claim 001444, Payment                               5600-000                                  $2,600.00       $13,153,925.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31337     ANDREW LAWS                               Claim 001445, Payment                               5600-004                                     $457.00      $13,153,468.27
                                                                          100.00000%
                                292 Moccasin Rd
                                Lebanon, TN 37090
   08/27/14           31338     ARGO PARTNERS                             Claim 001446, Payment                               5600-000                                  $2,600.00       $13,150,868.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31339     MARY WILLIS                               Claim 001448, Payment                               5600-000                                     $363.00      $13,150,505.27
                                                                          100.00000%
                                2020 Ridge Road
                                New Bern, NC 28560
   08/27/14           31340     ANTONIO ALBURQUERQUE                      Claim 001449, Payment                               5600-004                                  $2,600.00       $13,147,905.27
                                                                          100.00000%
                                2842 S Meadowbrook Apt 7
                                Springfield, MO 65807
   08/27/14           31341     ABDUL MOEEN                               Claim 001450, Payment                               5600-000                                  $2,600.00       $13,145,305.27
                                4515 Wildcat Ave.BAkersfield, CA 93313    100.00000%
   08/27/14           31342     KIMBERLY LITMAN                           Claim 001451, Payment                               5600-000                                     $792.00      $13,144,513.27
                                                                          100.00000%
                                21114 Golden Sycamore Trail
                                Cypress, TX 77433
   08/27/14           31343     ARGO PARTNERS                             Claim 001452, Payment                               5600-000                                  $2,600.00       $13,141,913.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31344     DRISS RAGUI                               Claim 001453, Payment                               5600-000                                  $1,999.00       $13,139,914.27
                                                                          100.00000%
                                152 Dyckman St. Apt 2-C
                                New York, NY 10040
   08/27/14           31345     LIQUIDITY SOLUTIONS, INC.                 Claim 001454, Payment                               5600-000                                  $2,484.00       $13,137,430.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31346     TERESA BARBER                             Claim 001455, Payment                               5600-000                                  $2,600.00       $13,134,830.27
                                                                          100.00000%
                                132 Old Walnut Lane
                                Lexington, NC 27295



                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31347     TRAVIS CROWNINGSHIELD                     Claim 001456, Payment                               5600-000                                  $2,600.00       $13,132,230.27
                                                                          100.00000%
                                PO Box 146
                                Willsboro, NY 12996
   08/27/14           31348     LYDIA DIAZ                                Claim 001457, Payment                               5600-000                                  $2,600.00       $13,129,630.27
                                                                          100.00000%
                                3027 West Ave J4
                                Lancaster, CA 93536
   08/27/14           31349     GARY DEGROOT                              Claim 001458, Payment                               5600-004                                  $1,931.00       $13,127,699.27
                                                                          100.00000%
                                980 PINETREE CIR
                                WOODS CROSS, UT 84087-1939
   08/27/14           31350     ERNEST HARRIS                             Claim 001460, Payment                               5600-000                                  $2,600.00       $13,125,099.27
                                                                          100.00000%
                                163 Greenduck Road
                                Leslie, GA 31764
   08/27/14           31351     KEVIN HUGHES                              Claim 001461, Payment                               5600-000                                  $1,174.00       $13,123,925.27
                                                                          100.00000%
                                4347 Hillview Drive
                                Malibu, CA 90265
   08/27/14           31352     WILMER ROMERO                             Claim 001462, Payment                               5600-000                                  $2,600.00       $13,121,325.27
                                                                          100.00000%
                                110-53 107Th St
                                Ozone Park, NY 11417
   08/27/14           31353     CHERYL WELLMAN                            Claim 001463, Payment                               5600-000                                     $702.00      $13,120,623.27
                                                                          100.00000%
                                632 W Briar Knoll Court
                                Saukville, WI 53080
   08/27/14           31354     ASSET RECOVERY MANAGEMENT,                Claim 001464, Payment                               5600-000                                  $2,600.00       $13,118,023.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31355     SECOND CHANCE CREDIT                      Claim 001465, Payment                               5600-000                                  $1,525.00       $13,116,498.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124



                                    Case 10-30631               Doc 5751       Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $18,332.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31356     ALBERT DONADIO                            Claim 001466, Payment                               5600-000                                  $2,300.00       $13,114,198.27
                                                                          100.00000%
                                2002 Chantilly Lane
                                Salisbury, NC 28146
   08/27/14           31357     JIMMY TINNIN                              Claim 001467, Payment                               5600-000                                  $2,600.00       $13,111,598.27
                                                                          100.00000%
                                3342 Chateau Circle North
                                Southaven, MS 38672
   08/27/14           31358     WILLIAM WALLACE                           Claim 001468, Payment                               5600-000                                     $959.00      $13,110,639.27
                                                                          100.00000%
                                641 Lower Colesburg Rd
                                Elizabethtown, KY 42701
   08/27/14           31359     CASSIE MILLER                             Claim 001469, Payment                               5600-004                                     $325.00      $13,110,314.27
                                                                          100.00000%
                                2625 Gressitt Point Lane
                                Fayetteville, NC 28306
   08/27/14           31360     LINDA WAYBRIGHT                           Claim 001471, Payment                               5600-000                                  $2,216.00       $13,108,098.27
                                                                          100.00000%
                                36 Burketown Rd.
                                Weyers Cave, VA 24486
   08/27/14           31361     JASON WHITE                               Claim 001472, Payment                               5600-000                                     $730.00      $13,107,368.27
                                                                          100.00000%
                                1281 Little Creek Rd
                                Dublin, VA 24084
   08/27/14           31362     HAROLD WILSON                             Claim 001473, Payment                               5600-000                                  $2,600.00       $13,104,768.27
                                                                          100.00000%
                                POB 623
                                East Taunton, MA 02718
   08/27/14           31363     JENNIFER JENSEN                           Claim 001474, Payment                               5600-000                                  $2,398.00       $13,102,370.27
                                3011 Leeann Blvd.BILLINGS, MT 59102       100.00000%
   08/27/14           31364     ARGO PARTNERS                             Claim 001475, Payment                               5600-000                                  $2,600.00       $13,099,770.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31365     OSCAR SANCHEZ                             Claim 001476, Payment                               5600-000                                     $517.00      $13,099,253.27
                                                                          100.00000%
                                851 NE 14TH AVE 403
                                HALLANDALE BEACH, FL 33009



                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $17,245.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31366     LAURA HAYES                               Claim 001477, Payment                               5600-000                                     $286.00      $13,098,967.27
                                                                          100.00000%
                                344 Landis Ave
                                Bridgeton, NJ 08032
   08/27/14           31367     GEORGIA SMEDLEY                           Claim 001478, Payment                               5600-000                                  $2,600.00       $13,096,367.27
                                                                          100.00000%
                                PO BOX 208
                                FLORENCE, OR 97439
   08/27/14           31368     ANGELA BAXTER                             Claim 001479, Payment                               5600-000                                  $2,600.00       $13,093,767.27
                                                                          100.00000%
                                900 Schenectady Avenue
                                Brooklyn, NY 11203
   08/27/14           31369     ODELL NATION                              Claim 001480, Payment                               5600-000                                  $1,580.00       $13,092,187.27
                                                                          100.00000%
                                34-26 110th Street
                                Corona, NY 11368
   08/27/14           31370     RENEE GUGGENMOS                           Claim 001482A, Payment                              5600-000                                     $371.00      $13,091,816.27
                                                                          100.00000%
                                PO Box 212
                                Saint Francis, KS 67756
   08/27/14           31371     DELZIE KELLY                              Claim 001483, Payment                               5600-000                                     $509.00      $13,091,307.27
                                                                          100.00000%
                                310 General Smith Dr.
                                Richmond, KY 40475
   08/27/14           31372     ARGO PARTNERS                             Claim 001484, Payment                               5600-000                                  $2,600.00       $13,088,707.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31373     GEORGE SIDERS                             Claim 001485, Payment                               5600-000                                  $2,600.00       $13,086,107.27
                                                                          100.00000%
                                1108 Cannon Farm Road
                                Oxford, GA 30054
   08/27/14           31374     ARGO PARTNERS                             Claim 001486, Payment                               5600-000                                  $2,600.00       $13,083,507.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31375     ARGO PARTNERS                             Claim 001488, Payment                               5600-000                                  $2,600.00       $13,080,907.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31376     COLLEEN MELTON                            Claim 001489, Payment                               5600-000                                  $2,600.00       $13,078,307.27
                                                                          100.00000%
                                1348 Kennedy St
                                Washington, DC 20021
   08/27/14           31377     JESSICA NOLLEY                            Claim 001490A, Payment                              5600-000                                  $1,937.00       $13,076,370.27
                                                                          100.00000%
                                1627 Carriage Circle
                                Shelbyville, IN 46176
   08/27/14           31378     ARGO PARTNERS                             Claim 001491, Payment                               5600-000                                  $2,600.00       $13,073,770.27
                                12 West 37th St., 9th FlNew York, NY      100.00000%
                                10018
   08/27/14           31379     ARGO PARTNERS                             Claim 001492A, Payment                              5600-000                                  $2,600.00       $13,071,170.27
                                12 West 37th St., 9th FlNew York, NY      100.00000%
                                10018
   08/27/14           31380     GINA PINKHAM                              Claim 001493, Payment                               5600-000                                  $1,950.00       $13,069,220.27
                                                                          100.00000%
                                40 Clarendon Street
                                Worcester, MA 01604
   08/27/14           31381     JERMAINE PERDUE                           Claim 001494, Payment                               5600-000                                     $700.00      $13,068,520.27
                                                                          100.00000%
                                174 Nick Davis Road
                                Madison, AL 35757
   08/27/14           31382     JEFFREY AND TERESA WILER                  Claim 001495, Payment                               5600-000                                     $379.00      $13,068,141.27
                                125 Salem Ct.Wilmingtom, NC 28411         100.00000%
   08/27/14           31383     ASSET RECOVERY MANAGEMENT,                Claim 001496, Payment                               5600-000                                  $2,600.00       $13,065,541.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31384     KIM FORSYTHE                              Claim 001497, Payment                               5600-004                                     $435.00      $13,065,106.27
                                                                          100.00000%
                                800 Bobbins Lane
                                Florissant, MO 63033




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31385     MIKE IVERY                                Claim 001498, Payment                               5600-000                                     $256.00      $13,064,850.27
                                                                          100.00000%
                                10018 114th Street South West
                                Lakewood, WA 98498
   08/27/14           31386     DELLA HOY                                 Claim 001499, Payment                               5600-004                                  $2,600.00       $13,062,250.27
                                                                          100.00000%
                                PO Box 160
                                Chilcoot, CA 96105
   08/27/14           31387     GEORGE KIMURA                             Claim 001500, Payment                               5600-000                                     $660.00      $13,061,590.27
                                                                          100.00000%
                                22704 Maple Ave 3
                                Torrance, CA 90505
   08/27/14           31388     ARGO PARTNERS                             Claim 001501, Payment                               5600-000                                  $2,600.00       $13,058,990.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31389     VALERIE PL WAYNICK                        Claim 001502, Payment                               5600-000                                  $1,175.00       $13,057,815.27
                                                                          100.00000%
                                180 Park Place 2nd floor
                                Irvington, NJ 07111
   08/27/14           31390     BARBARA TYLER                             Claim 001503, Payment                               5600-000                                     $158.00      $13,057,657.27
                                                                          100.00000%
                                5005 Oak Leaf Drive
                                Jackson, MS 39212
   08/27/14           31391     GLENN WEAVER                              Claim 001504, Payment                               5600-000                                  $2,600.00       $13,055,057.27
                                                                          100.00000%
                                K JIN LIM, CHAP 7 TRUSTEE
                                176 S HARVEY
                                PLYMOUTH, MI 48170
   08/27/14           31392     TRINA BIASINI                             Claim 001505, Payment                               5600-000                                     $502.00      $13,054,555.27
                                                                          100.00000%
                                334 Michael Court
                                Mary Esther, FL 32569
   08/27/14           31393     GARY POST JR                              Claim 001507, Payment                               5600-000                                     $442.00      $13,054,113.27
                                                                          100.00000%
                                813 Plentywood Court
                                Raleigh, NC 27615




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $10,993.00
                                                                             Document          Page 161 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31394     ASSET RECOVERY MANAGEMENT,                Claim 001508, Payment                               5600-000                                  $2,600.00       $13,051,513.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31395     MARISSA GARMA-AGODON                      Claim 001509, Payment                               5600-004                                     $725.00      $13,050,788.27
                                                                          100.00000%
                                5416 Leadville Ave.
                                Las Vegas, NV 89130
   08/27/14           31396     DOANNA SMITH-EVERETT                      Claim 001510, Payment                               5600-000                                     $304.00      $13,050,484.27
                                                                          100.00000%
                                10 Maple Dr
                                Waynesboro, MS 39367
   08/27/14           31397     GILMA MENJIVAR                            Claim 001511, Payment                               5600-000                                     $384.00      $13,050,100.27
                                                                          100.00000%
                                1308 S New Hampshire Ave apt 203
                                Los Angeles, CA 90006
   08/27/14           31398     ARGO PARTNERS                             Claim 001512, Payment                               5600-000                                  $2,600.00       $13,047,500.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31399     MICHELLE PACINO                           Claim 001513, Payment                               5600-000                                      $30.00      $13,047,470.27
                                                                          100.00000%
                                4058 E 96th Street
                                Garfield Hts., OH 44125
   08/27/14           31400     CHARLEEN BROWN                            Claim 001514A, Payment                              5600-000                                  $2,600.00       $13,044,870.27
                                                                          100.00000%
                                1967 High Pines Road
                                Rock Hill, SC 29732
   08/27/14           31401     GLORIA GLENN                              Claim 001515, Payment                               5600-000                                  $2,335.00       $13,042,535.27
                                                                          100.00000%
                                9404 N 22nd Street
                                Tampa, FL 33612
   08/27/14           31402     JOHN MCCALL                               Claim 001516, Payment                               5600-000                                  $2,073.00       $13,040,462.27
                                                                          100.00000%
                                2170 Cheshire Bridge Road Apt 805
                                Atlanta, GA 30324




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $13,651.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31403     SECOND CHANCE CREDIT                      Claim 001519, Payment                               5600-000                                  $1,109.00       $13,039,353.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31404     ARGO PARTNERS                             Claim 001521, Payment                               5600-000                                  $2,600.00       $13,036,753.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31405     ORA BANKS                                 Claim 001522, Payment                               5600-000                                     $668.00      $13,036,085.27
                                                                          100.00000%
                                114 Grey Court
                                La Place, LA 70068
   08/27/14           31406     ALAN ECKHARDT                             Claim 001523, Payment                               5600-000                                  $1,085.00       $13,035,000.27
                                                                          100.00000%
                                192 Columbia Dr
                                Iowa City, IA 52245
   08/27/14           31407     KATHERINE GOETSCH                         Claim 001524, Payment                               5600-000                                     $429.00      $13,034,571.27
                                                                          100.00000%
                                1626 North 2510th Road
                                Ottawa, IL 61350
   08/27/14           31408     DAWN MENTZER                              Claim 001526, Payment                               5600-000                                     $426.00      $13,034,145.27
                                                                          100.00000%
                                5822 Ira Ave
                                Cleveland, OH 44144
   08/27/14           31409     FRANCINE E WIGGLESWORTH                   Claim 001527, Payment                               5600-000                                  $2,600.00       $13,031,545.27
                                                                          100.00000%
                                6700 KILLARNEY ST
                                CLINTON, MD 20735
   08/27/14           31410     ARGO PARTNERS                             Claim 001528, Payment                               5600-000                                  $2,600.00       $13,028,945.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31411     ARGO PARTNERS                             Claim 001529, Payment                               5600-000                                  $2,600.00       $13,026,345.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31412     MARILYN MACLAUGHLIN                       Claim 001530, Payment                               5600-000                                     $549.00      $13,025,796.27
                                                                          100.00000%
                                20019 Chris Place
                                Santa Clarita, CA 91350
   08/27/14           31413     JOHN GRAHAM                               Claim 001531, Payment                               5600-000                                     $601.00      $13,025,195.27
                                                                          100.00000%
                                7117 SW Archer Rd Lot 2500
                                Gainesville, FL 32608
   08/27/14           31414     DANI SENDUK-CARIASO                       Claim 001532, Payment                               5600-000                                     $745.00      $13,024,450.27
                                                                          100.00000%
                                1531 Freed Cir.
                                Pittsburg, CA 94565
   08/27/14           31415     ASSET RECOVERY MANAGEMENT,                Claim 001533, Payment                               5600-000                                  $2,600.00       $13,021,850.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31416     MARIBEL ROSARIO                           Claim 001534, Payment                               5600-000                                     $180.00      $13,021,670.27
                                                                          100.00000%
                                120 Saint Albans Way
                                Peachtree City, GA 30269
   08/27/14           31417     LISA MATTSON                              Claim 001535A, Payment                              5600-000                                  $2,600.00       $13,019,070.27
                                                                          100.00000%
                                29 Lee Road
                                Madbury, NH 03823
   08/27/14           31418     LIQUIDITY SOLUTIONS, INC.                 Claim 001536A, Payment                              5600-000                                  $1,514.00       $13,017,556.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31419     ASSET RECOVERY MANAGEMENT,                Claim 001537, Payment                               5600-000                                  $2,600.00       $13,014,956.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31420     LIQUIDITY SOLUTIONS, INC.                 Claim 001538, Payment                               5600-000                                  $2,345.00       $13,012,611.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31421     FRANCINE CATO                             Claim 001539, Payment                               5600-000                                  $2,600.00       $13,010,011.27
                                                                          100.00000%
                                618 High Street
                                Perth Amboy, NJ 08861
   08/27/14           31422     ARGO PARTNERS                             Claim 001540, Payment                               5600-000                                  $2,600.00       $13,007,411.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31423     ASSET RECOVERY MANAGEMENT,                Claim 001541A, Payment                              5600-000                                  $2,600.00       $13,004,811.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31424     JEFFERY BEAVER                            Claim 001542, Payment                               5600-000                                     $456.00      $13,004,355.27
                                                                          100.00000%
                                512 S Greenhill Bottom Road
                                Friendship, TN 38034
   08/27/14           31425     THOMAS WILLIAMS                           Claim 001543, Payment                               5600-000                                   $2,311.00      $13,002,044.27
                                                                          100.00000%
                                538 E 21st St. Apt D-2
                                Brooklyn, NY 11226
   08/27/14           31426     TRAVIS HYER                               Claim 001544, Payment                               5600-000                                     $491.00      $13,001,553.27
                                                                          100.00000%
                                149 Cobleskill
                                NY 12043
   08/27/14           31427     ELISA REISER                              Claim 001545, Payment                               5600-000                                     $353.00      $13,001,200.27
                                10 Mountain Ave.Highland Lakes, NJ        100.00000%
                                07422
   08/27/14           31428     ROCCO PIZZO                               Claim 001546, Payment                               5600-000                                     $347.00      $13,000,853.27
                                                                          100.00000%
                                102 Eppinger St PO Box 207
                                Norma, NJ 08347
   08/27/14           31429     ARGO PARTNERS                             Claim 001547, Payment                               5600-000                                  $2,600.00       $12,998,253.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31430     ALICE MORRIS                              Claim 001548, Payment                               5600-004                                     $582.00      $12,997,671.27
                                                                          100.00000%
                                775 Ridge Rd
                                Orangeville, PA 17859
   08/27/14           31431     ERINN KARMAN                              Claim 001549, Payment                               5600-000                                     $172.00      $12,997,499.27
                                                                          100.00000%
                                3941 Hope Ave.
                                Carlsbad, CA 92008-1820
   08/27/14           31432     JENNIFER MESSINA                          Claim 001550, Payment                               5600-000                                      $30.00      $12,997,469.27
                                                                          100.00000%
                                7 Horizon Dr
                                Huntington, NY 11743
   08/27/14           31433     JASON MESSINA                             Claim 001551, Payment                               5600-000                                      $30.00      $12,997,439.27
                                                                          100.00000%
                                7 Horizon Dr
                                Huntington, NY 11743
   08/27/14           31434     RANDY R HINES                             Claim 001552, Payment                               5600-000                                  $2,600.00       $12,994,839.27
                                                                          100.00000%
                                4724 TALDON LN
                                Benton, LA 71006-4902
   08/27/14           31435     LEE MISH                                  Claim 001553, Payment                               5600-004                                     $600.00      $12,994,239.27
                                                                          100.00000%
                                17865 SW 1st St
                                Pembroke Pines, FL 33028
   08/27/14           31436     ARGO PARTNERS                             Claim 001554, Payment                               5600-000                                  $2,600.00       $12,991,639.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31437     CECIL FRAZIER                             Claim 001555, Payment                               5600-000                                     $252.00      $12,991,387.27
                                                                          100.00000%
                                218 West 113th St. Apt 2-D
                                New York, NY 10026
   08/27/14           31438     ROSARIO PALACIO                           Claim 001556, Payment                               5600-000                                  $2,085.00       $12,989,302.27
                                                                          100.00000%
                                69-46 Grand Ave
                                Maspeth, NY 11378




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31439     ANTHONY LUNGER                            Claim 001557, Payment                               5600-000                                     $668.00      $12,988,634.27
                                                                          100.00000%
                                13133 Vineyard Way
                                Woodbridge, VA 22191
   08/27/14           31440     SECOND CHANCE CREDIT                      Claim 001558, Payment                               5600-000                                  $2,600.00       $12,986,034.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31441     LIQUIDITY SOLUTIONS, INC.                 Claim 001559, Payment                               5600-000                                  $1,218.00       $12,984,816.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31442     LIQUIDITY SOLUTIONS, INC.                 Claim 001560, Payment                               5600-000                                  $2,600.00       $12,982,216.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31443     JOHN YAWE                                 Claim 001561, Payment                               5600-000                                     $720.00      $12,981,496.27
                                                                          100.00000%
                                11 Bartley Street B108
                                Wakefield, MA 01880
   08/27/14           31444     GEORGE EISELE                             Claim 001562, Payment                               5600-000                                  $1,348.00       $12,980,148.27
                                                                          100.00000%
                                651 Fleming Boulevard
                                Rensselaer, IN 47978
   08/27/14           31445     ANGELA GEER                               Claim 001563, Payment                               5600-000                                     $931.00      $12,979,217.27
                                                                          100.00000%
                                913 Van Buren Ave.
                                Elizabeth, NJ 07201
   08/27/14           31446     EVELYN SALAS                              Claim 001564, Payment                               5600-000                                     $465.00      $12,978,752.27
                                                                          100.00000%
                                18745 SAGE CREST ROAD
                                PEYTON, CO 80831
   08/27/14           31447     ANGELO BARBARA                            Claim 001565, Payment                               5600-000                                  $2,025.00       $12,976,727.27
                                                                          100.00000%
                                6806 13th Ave. Apt. #3R
                                Brooklyn, NY 11219




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           31448     ASSET RECOVERY MANAGEMENT,                Claim 001566, Payment                               5600-000                                  $2,600.00      $12,974,127.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31449     ASSET RECOVERY MANAGEMENT,                Claim 001567, Payment                               5600-000                                  $2,600.00      $12,971,527.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31450     DAVID STOLTZFUS                           Claim 001568, Payment                               5600-000                                  $2,553.00      $12,968,974.27
                                                                          100.00000%
                                663 Gault Road.
                                Gap, PA 17527
   08/27/14           31451     MARIA GRINER                              Claim 001569, Payment                               5600-000                                  $2,600.00      $12,966,374.27
                                                                          100.00000%
                                1224 Burgandy Lane
                                Conway, SC 29527
   08/27/14           31452     ARTHUR CURRY                              Claim 001570, Payment                               5600-000                                  $2,600.00      $12,963,774.27
                                                                          100.00000%
                                404 Avenel St
                                Avenel, NJ 07001
   08/27/14           31453     DEBORAH TALBOT                            Claim 001571, Payment                               5600-000                                  $2,600.00      $12,961,174.27
                                                                          100.00000%
                                14498 WHISPERWOOD CT
                                DUMFRIES, VA 22025
   08/27/14           31454     ARGO PARTNERS                             Claim 001572, Payment                               5600-000                                  $2,600.00      $12,958,574.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31455     JONATHAN HARPER                           Claim 001573, Payment                               5600-000                                  $2,600.00      $12,955,974.27
                                                                          100.00000%
                                193 Cain Road
                                Stony Point, NC 28678
   08/27/14           31456     WILLIAM RYNNE                             Claim 001574, Payment                               5600-000                                  $2,600.00      $12,953,374.27
                                                                          100.00000%
                                6 Cherry Hill Rd
                                Nort Cape May, NJ 08204



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31457     DEBRA WALKER                              Claim 001575, Payment                               5600-000                                     $476.00      $12,952,898.27
                                                                          100.00000%
                                10826 Sandpiper Dr
                                Houston, TX 77096
   08/27/14           31458     ARGO PARTNERS                             Claim 001576, Payment                               5600-000                                  $2,600.00       $12,950,298.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31459     ARGO PARTNERS                             Claim 001577, Payment                               5600-000                                  $2,600.00       $12,947,698.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31460     SECOND CHANCE CREDIT                      Claim 001578, Payment                               5600-000                                  $1,102.00       $12,946,596.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31461     YVONNE PRESTON                            Claim 001579, Payment                               5600-000                                  $2,600.00       $12,943,996.27
                                                                          100.00000%
                                125 Bright Star Court
                                Lynchburg, VA 24501
   08/27/14           31462     SARA ELLIOTT                              Claim 001580, Payment                               5600-000                                  $2,600.00       $12,941,396.27
                                                                          100.00000%
                                2253 26th Street NW
                                Cedar Rapids, IA 52405
   08/27/14           31463     NICHOLAS MAGERAS                          Claim 001581, Payment                               5600-000                                  $2,600.00       $12,938,796.27
                                                                          100.00000%
                                PO BOX 2967
                                SILVER CITY, NM 88062
   08/27/14           31464     JOYCE BUELL                               Claim 001582, Payment                               5600-000                                  $1,465.00       $12,937,331.27
                                                                          100.00000%
                                1579 116th Avenue
                                Otsego, MI 49078
   08/27/14           31465     ARGO PARTNERS                             Claim 001583, Payment                               5600-000                                  $2,600.00       $12,934,731.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $18,643.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31466     HELEN ROBINSON                            Claim 001584, Payment                               5600-000                                  $2,600.00       $12,932,131.27
                                                                          100.00000%
                                119 A Meadowwood Drive
                                Clinton, MS 39056
   08/27/14           31467     GARY NUCKOLS                              Claim 001585, Payment                               5600-000                                  $2,600.00       $12,929,531.27
                                                                          100.00000%
                                129 Grant Road N
                                Chuckey, TN 37641
   08/27/14           31468     LORI HOBBS                              Claim 001586, Payment                                 5600-000                                  $2,600.00       $12,926,931.27
                                11522 E. Mission Ave.Spokane Valley, WA 100.00000%
                                99206
   08/27/14           31469     ARGO PARTNERS                             Claim 001587, Payment                               5600-000                                  $2,600.00       $12,924,331.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31470     GARY BEDARD                               Claim 001588A, Payment                              5600-000                                  $2,600.00       $12,921,731.27
                                                                          100.00000%
                                87 Railroad Avenue
                                Beacon Falls, CT 06403
   08/27/14           31471     PHALLA TOUCH                              Claim 001589, Payment                               5600-000                                  $1,053.00       $12,920,678.27
                                                                          100.00000%
                                15 MORNINGSIDE TER
                                STRATFORD, CT 06614
   08/27/14           31472     FRANCES WARREN                            Claim 001590, Payment                               5600-000                                  $2,600.00       $12,918,078.27
                                                                          100.00000%
                                155 S 14th Ave.
                                Mount Vernon, NY 10550
   08/27/14           31473     DEBRA VILLAMERO                           Claim 001591, Payment                               5600-000                                     $181.00      $12,917,897.27
                                                                          100.00000%
                                84490 Makaha Valley Rd
                                Waianae, HI 96792
   08/27/14           31474     LACEY SHEA                                Claim 001592, Payment                               5600-000                                     $390.00      $12,917,507.27
                                                                          100.00000%
                                967 S Townline Rd
                                Sandusky, MI 48471
   08/27/14           31475     FEMI OGUNFOWOKAN                          Claim 001593, Payment                               5600-000                                     $174.00      $12,917,333.27
                                                                          100.00000%
                                2123 Wild Tamarind Blvd
                                Orlando, FL 32828


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31476     PAUL J VILLAMERO                          Claim 001594, Payment                               5600-000                                     $181.00      $12,917,152.27
                                                                          100.00000%
                                84-490 Makaha Valley Rd
                                Waianae, HI 96792
   08/27/14           31477     SECOND CHANCE CREDIT                      Claim 001595, Payment                               5600-000                                  $1,217.00       $12,915,935.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31478     JUDY EDWARDS                              Claim 001597, Payment                               5600-000                                  $2,600.00       $12,913,335.27
                                                                          100.00000%
                                14 CR 311
                                Calhoun City, MS 38916
   08/27/14           31479     LIQUIDITY SOLUTIONS, INC.                 Claim 001598, Payment                               5600-000                                  $2,409.00       $12,910,926.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31480     CORATTIE WIGGINS                          Claim 001599A, Payment                              5600-000                                     $412.00      $12,910,514.27
                                                                          100.00000%
                                PO Box 675
                                Reddick, FL 32686
   08/27/14           31481     ARGO PARTNERS                             Claim 001600, Payment                               5600-000                                  $2,600.00       $12,907,914.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31482     EUGENE TESKE                              Claim 001601, Payment                               5600-000                                  $2,600.00       $12,905,314.27
                                c/o Azar and Azar                         100.00000%
   08/27/14           31483     LIQUIDITY SOLUTIONS, INC.                 Claim 001602, Payment                               5600-000                                  $2,600.00       $12,902,714.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31484     MARK KELLETT                              Claim 001603, Payment                               5600-000                                     $690.00      $12,902,024.27
                                                                          100.00000%
                                269 Clinton ST 0510202
                                Concord, NH 03301
   08/27/14           31485     ROBERT BEISER                             Claim 001604, Payment                               5600-000                                  $2,600.00       $12,899,424.27
                                                                          100.00000%
                                3173 Oak Ridge Lane
                                Loganville, GA 30052


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31486     SEAN HOWARD                               Claim 001605, Payment                               5600-000                                  $1,401.00       $12,898,023.27
                                                                          100.00000%
                                111 Holliday Dr.
                                Cheney, WA 99004
   08/27/14           31487     PHILLIP WILSON                            Claim 001606, Payment                               5600-000                                     $862.00      $12,897,161.27
                                                                          100.00000%
                                18920 MARALJO CT 1
                                Brookfield, WI 53045
   08/27/14           31488     LIQUIDITY SOLUTIONS, INC.                 Claim 001607, Payment                               5600-000                                   $2,115.00      $12,895,046.27
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31489     ANA PAULA HERMES                          Claim 001608, Payment                               5600-000                                  $1,006.00       $12,894,040.27
                                                                          100.00000%
                                1347 Seven Lakes North
                                West End, NC 27376
   08/27/14           31490     GHAZANFAR ALI                             Claim 001609, Payment                               5600-000                                  $1,522.00       $12,892,518.27
                                                                          100.00000%
                                301 Maple Ave Apt 205
                                N.Plainfield, NJ 07060
   08/27/14           31491     ROBINA KAUSAR                             Claim 001610, Payment                               5600-000                                     $598.00      $12,891,920.27
                                                                          100.00000%
                                301 Maple Avenue Apt 168
                                North Plainfield, NJ 07060
   08/27/14           31492     ROBERT GADDIS                             Claim 001612, Payment                               5600-000                                  $2,327.00       $12,889,593.27
                                                                          100.00000%
                                1612 Penny Ln
                                Union, MO 63084
   08/27/14           31493     NOEL WOJTULEWICZ                          Claim 001613, Payment                               5600-000                                  $1,350.00       $12,888,243.27
                                                                          100.00000%
                                7533 W Isham Ave
                                Chicago, IL 60631
   08/27/14           31494     DAVID SPRECHER                            Claim 001614, Payment                               5600-000                                     $668.00      $12,887,575.27
                                                                          100.00000%
                                PO Box 746
                                Spring Green, WI 53588




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31495     ARGO PARTNERS                             Claim 001615, Payment                               5600-000                                  $2,600.00       $12,884,975.27
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31496     EDWARD GOODWIN                            Claim 001616, Payment                               5600-000                                  $2,095.00       $12,882,880.27
                                                                          100.00000%
                                345 North 7th Avenue
                                Canton, IL 61520
   08/27/14           31497     DEBBIE LAKE                               Claim 001617, Payment                               5600-000                                  $2,600.00       $12,880,280.27
                                                                          100.00000%
                                44333 23rd Street West
                                Lancaster, CA 93536
   08/27/14           31498     REBEKAH FRIEND                            Claim 001618, Payment                               5600-004                                  $2,600.00       $12,877,680.27
                                                                          100.00000%
                                812 5th Avenue W
                                Hendersonville, NC 28739
   08/27/14           31499     ASSET RECOVERY MANAGEMENT,                Claim 001619, Payment                               5600-000                                  $2,515.00       $12,875,165.27
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31500     FRANK BOKAL JR                            Claim 001620, Payment                               5600-000                                  $2,600.00       $12,872,565.27
                                                                          100.00000%
                                16 Amsbry Street
                                Binghamton, NY 13901
   08/27/14           31501     KATHRYN TOCKEY                            Claim 001621, Payment                               5600-000                                  $1,593.00       $12,870,972.27
                                                                          100.00000%
                                8941 Poplar Ave
                                Cotati, CA 94931
   08/27/14           31502     LOURDES ESPINAR-CRUZ                      Claim 001622, Payment                               5600-000                                     $655.00      $12,870,317.27
                                                                          100.00000%
                                118 Colonial Court
                                Galloway, NJ 08205
   08/27/14           31503     SECOND CHANCE CREDIT                      Claim 001623, Payment                               5600-000                                     $607.00      $12,869,710.27
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31504     MIGUEL MARTINEZ                           Claim 001624, Payment                               5600-000                                  $2,600.00       $12,867,110.27
                                                                          100.00000%
                                728 Foster Dr
                                Modesto, CA 95351
   08/27/14           31505     MELISSA WILCOWSKI                         Claim 001625, Payment                               5600-000                                  $2,374.37       $12,864,735.90
                                                                          100.00000%
                                9750 230th St. E
                                Lakeville, MN 55044
   08/27/14           31506     SECOND CHANCE CREDIT                      Claim 001626, Payment                               5600-000                                  $1,070.00       $12,863,665.90
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31507     ARGO PARTNERS                             Claim 001627A, Payment                              5600-000                                  $2,600.00       $12,861,065.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31508     JOHN BELLMAN                              Claim 001628, Payment                               5600-000                                     $939.00      $12,860,126.90
                                                                          100.00000%
                                2260 Regan Chapel Road
                                Ohatchee, AL 36271
   08/27/14           31509     ASSET RECOVERY MANAGEMENT,                Claim 001629, Payment                               5600-000                                  $2,600.00       $12,857,526.90
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31510     WAYNE MCPHERSON                           Claim 001630A, Payment                              5600-000                                     $829.00      $12,856,697.90
                                                                          100.00000%
                                60 Hill Rd
                                Harrisville, RI 02830
   08/27/14           31511     BILLIE HIGGINS                            Claim 001632, Payment                               5600-000                                  $1,933.00       $12,854,764.90
                                                                          100.00000%
                                2754 Michelle Circle
                                Dacula, GA 30019
   08/27/14           31512     SUSAN BRITT                               Claim 001633, Payment                               5600-000                                  $2,388.00       $12,852,376.90
                                                                          100.00000%
                                6400 shire lane
                                wilmington, NC 28411



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31513     WILLIAM ALBERTSON                         Claim 001634, Payment                               5600-000                                     $696.00      $12,851,680.90
                                                                          100.00000%
                                7700 Woodbrooke Road
                                Quinton, VA 23141
   08/27/14           31514     MICHAEL INGRAM                            Claim 001635A, Payment                              5600-000                                  $2,419.00       $12,849,261.90
                                                                          100.00000%
                                890 Courtlandt Ave. Apt. 4J
                                Bronx, NY 10451
   08/27/14           31515     JULIO GOMEZ                               Claim 001636A, Payment                              5600-000                                  $2,600.00       $12,846,661.90
                                                                          100.00000%
                                1400 Benson Street 4F
                                Bronx, NY 10461
   08/27/14           31516     SHAWN LEMELIN                             Claim 001637, Payment                               5600-000                                     $283.00      $12,846,378.90
                                                                          100.00000%
                                136 howard ave
                                prospect, CT 06712
   08/27/14           31517     WENDY PEREIRA                             Claim 001638, Payment                               5600-000                                  $2,600.00       $12,843,778.90
                                                                          100.00000%
                                6322 Leaflet Lane
                                Hughson, CA 95326
   08/27/14           31518     SUSAN TUSSEY                              Claim 001639, Payment                               5600-000                                     $351.00      $12,843,427.90
                                                                          100.00000%
                                130 Brandywine Dr
                                Clarkville, TN 37042
   08/27/14           31519     ASSET RECOVERY MANAGEMENT,                Claim 001640, Payment                               5600-000                                  $2,600.00       $12,840,827.90
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31520     RICKY BOUGHTON                            Claim 001641, Payment                               5600-000                                     $612.00      $12,840,215.90
                                                                          100.00000%
                                1258 E 32 Rd
                                Cadillac, MI 49601
   08/27/14           31521     FRANCISCO WONG                            Claim 001642, Payment                               5600-000                                  $1,045.00       $12,839,170.90
                                                                          100.00000%
                                371 E Ross Rd Spc 403
                                El Centro, CA 92243




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31522     LIQUIDITY SOLUTIONS, INC.                 Claim 001643, Payment                               5600-000                                  $1,640.00       $12,837,530.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31523     DENNIS DORIOTT                            Claim 001644, Payment                               5600-000                                  $2,600.00       $12,834,930.90
                                                                          100.00000%
                                26219 Normans Landing Rd
                                Webster, WI 54893
   08/27/14           31524     JUANA HERNANDEZ                           Claim 001645, Payment                               5600-000                                  $2,600.00       $12,832,330.90
                                                                          100.00000%
                                615 Sligo Avenue
                                Silver Springs, MD 20910
   08/27/14           31525     DOROTHY MANKIEWICH                        Claim 001646, Payment                               5600-000                                     $818.00      $12,831,512.90
                                                                          100.00000%
                                1457 Bay View St
                                Tarpon Springs, FL 34689
   08/27/14           31526     ASSET RECOVERY MANAGEMENT,                Claim 001647A, Payment                              5600-000                                  $2,600.00       $12,828,912.90
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31527     ARGO PARTNERS                             Claim 001648, Payment                               5600-000                                  $1,804.00       $12,827,108.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31528     SANDRA AUSTIN                             Claim 001649, Payment                               5600-000                                     $477.00      $12,826,631.90
                                                                          100.00000%
                                10109 Wood Laurel Wy
                                Bowie, MD 20721
   08/27/14           31529     JANICE MYNAR                              Claim 001650, Payment                               5600-000                                  $2,600.00       $12,824,031.90
                                                                          100.00000%
                                PO Box 77
                                Elsinore, UT 84724-0077
   08/27/14           31530     ARGO PARTNERS                             Claim 001651, Payment                               5600-000                                  $2,600.00       $12,821,431.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,739.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31531     DAMARIS MALDONADO                         Claim 001652, Payment                               5600-000                                     $239.00      $12,821,192.90
                                                                          100.00000%
                                22 Manchester Street
                                Rochester, NY 14621
   08/27/14           31532     HANK KURZ                                 Claim 001653, Payment                               5600-000                                  $2,600.00       $12,818,592.90
                                                                          100.00000%
                                400-3 Montauk Hwy
                                East Moriches, NY 11940
   08/27/14           31533     LAZARO REYNA                              Claim 001654, Payment                               5600-000                                     $463.00      $12,818,129.90
                                                                          100.00000%
                                1157 Appalachian Ln
                                Savannah, TX 76227
   08/27/14           31534     ARGO PARTNERS                             Claim 001655, Payment                               5600-000                                  $2,600.00       $12,815,529.90
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           31535     ARGO PARTNERS                             Claim 001655a, Payment                              5600-000                                     $998.00      $12,814,531.90
                                12 West 37th St., 9th FlNew York, NY      100.00000%
                                10018
   08/27/14           31536     ALAN KANNGIESER                           Claim 001656, Payment                               5600-000                                     $650.00      $12,813,881.90
                                                                          100.00000%
                                2017 S 152nd Street
                                Omaha, NE 68144
   08/27/14           31537     TRUPTI LATHIA                             Claim 001657, Payment                               5600-000                                  $2,600.00       $12,811,281.90
                                                                          100.00000%
                                5 Colindale Court
                                Durham, NC 27704
   08/27/14           31538     BETTY ECKERT                              Claim 001658, Payment                               5600-000                                  $2,600.00       $12,808,681.90
                                                                          100.00000%
                                1201 East Ottum Avenue
                                Big Fork, MN 56628
   08/27/14           31539     JANIS LEWIS                               Claim 001659, Payment                               5600-000                                  $2,600.00       $12,806,081.90
                                                                          100.00000%
                                PO BOX 260-443
                                Brooklyn, NY 11226
   08/27/14           31540     ARGO PARTNERS                             Claim 001660, Payment                               5600-000                                  $2,600.00       $12,803,481.90
                                12 West 37th St., 9th FloorNew York, NY   100.00000%
                                10018




                                    Case 10-30631              Doc 5751        Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           31541     ARGO PARTNERS                            Claim 001661, Payment                               5600-000                                  $2,600.00       $12,800,881.90
                                12 West 37th St., 9th Fl.New York, NY    100.00000%
                                10018
   08/27/14           31542     RICHARD HINZ                             Claim 001662, Payment                               5600-000                                  $2,600.00       $12,798,281.90
                                                                         100.00000%
                                5905 W 41st Street
                                Sioux Falls, SD 57106
   08/27/14           31543     DAVID DICKINSON                          Claim 001663A, Payment                              5600-000                                  $2,600.00       $12,795,681.90
                                                                         100.00000%
                                3482 Trailview Ct
                                Brunswick, OH 44212
   08/27/14           31544     SECOND CHANCE CREDIT                     Claim 001664, Payment                               5600-000                                  $2,092.00       $12,793,589.90
                                OPPORTUNITIES,                           100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31545     LAKESHA HEAD                             Claim 001665, Payment                               5600-004                                     $255.00      $12,793,334.90
                                                                         100.00000%
                                1355 MAPLE VALLEY CT
                                UNION CITY, GA 30291-6569
   08/27/14           31546     ASSET RECOVERY MANAGEMENT,               Claim 001666, Payment                               5600-000                                  $2,600.00       $12,790,734.90
                                LLC                                      100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31547     DONNA BURTON                             Claim 001667, Payment                               5600-000                                  $2,600.00       $12,788,134.90
                                                                         100.00000%
                                PO BOX 232
                                Bowling Green, SC 29703
   08/27/14           31548     DANIEL STALICA                           Claim 001668, Payment                               5600-000                                  $2,483.00       $12,785,651.90
                                                                         100.00000%
                                2983 Crittenden Road
                                Alden, NY 14004
   08/27/14           31549     ASSET RECOVERY MANAGEMENT,               Claim 001669, Payment                               5600-000                                  $2,600.00       $12,783,051.90
                                LLC                                      100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                          Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                        Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX3661
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                        ($)
   08/27/14           31550     PAULINA VILLALVAZO                         Claim 001670, Payment                               5600-000                                     $706.00      $12,782,345.90
                                                                           100.00000%
                                720 Evans Road
                                Dixon, CA 95620
   08/27/14           31551     SEAN MARSHALL                              Claim 001672, Payment                               5600-004                                  $1,865.00       $12,780,480.90
                                                                           100.00000%
                                2519 John Smith Rd
                                Fayetteville, NC 28306
   08/27/14           31552     ARGO PARTNERS                              Claim 001673, Payment                               5600-000                                  $2,600.00       $12,777,880.90
                                                                           100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31553     CONNIE KENDALL                             Claim 001674, Payment                               5600-000                                     $201.00      $12,777,679.90
                                                                           100.00000%
                                PO BOX 222
                                Decatur, MS 39327
   08/27/14           31554     JUANITA HACKETT                            Claim 001675, Payment                               5600-000                                     $372.00      $12,777,307.90
                                                                           100.00000%
                                1142 Wesley Chapel Road
                                Hazlehurst, MS 39083
   08/27/14           31555     STEPHANIE DEGALE                           Claim 001676, Payment                               5600-000                                  $1,375.00       $12,775,932.90
                                                                           100.00000%
                                5 VICTOR PL APT B
                                Bloomfield, NJ 07003-6286
   08/27/14           31556     JOCELYN LITTLE                             Claim 001677, Payment                               5600-000                                  $1,197.00       $12,774,735.90
                                1477 Hillcrest Ct., Apt. 806Camphill, PA   100.00000%
                                17011
   08/27/14           31557     ANNIE COBB                                 Claim 001678, Payment                               5600-000                                     $325.00      $12,774,410.90
                                                                           100.00000%
                                1361 Camilla Dr
                                Greenville, NC 27834
   08/27/14           31558     MARGARET ADAMS                             Claim 001679, Payment                               5600-000                                  $2,600.00       $12,771,810.90
                                                                           100.00000%
                                2562 Davisson
                                River Grove, IL 60171
   08/27/14           31559     ELIZABETH WAGER                            Claim 001680, Payment                               5600-000                                  $2,258.00       $12,769,552.90
                                                                           100.00000%
                                627 5th Street
                                New Martinsville, WV 26155


                                    Case 10-30631                Doc 5751       Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31560     LIQUIDITY SOLUTIONS, INC.                 Claim 001681, Payment                               5600-000                                  $2,391.00       $12,767,161.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31561     ARGO PARTNERS                             Claim 001682, Payment                               5600-000                                  $2,600.00       $12,764,561.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31562     KATHIE LINDSEY                            Claim 001683, Payment                               5600-004                                     $361.00      $12,764,200.90
                                                                          100.00000%
                                50 Riceville Apt C215
                                Ashville, NC 28805
   08/27/14           31563     ARGO PARTNERS                             Claim 001684, Payment                               5600-000                                  $2,600.00       $12,761,600.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31564     SECOND CHANCE CREDIT                      Claim 001685, Payment                               5600-000                                  $2,056.00       $12,759,544.90
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31565     LIQUIDITY SOLUTIONS, INC.                 Claim 001686, Payment                               5600-000                                  $2,305.00       $12,757,239.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31566     ROBERT RILEY                              Claim 001687, Payment                               5600-000                                  $2,160.00       $12,755,079.90
                                                                          100.00000%
                                707 11th Ave.
                                Milton, WA 98354
   08/27/14           31567     ARGO PARTNERS                             Claim 001688, Payment                               5600-000                                  $2,600.00       $12,752,479.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31568     PEGGY ACOSTA                              Claim 001689, Payment                               5600-000                                     $886.00      $12,751,593.90
                                                                          100.00000%
                                3264 Arroyo Dr
                                Fairfield, CA 94533




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31569     ARGO PARTNERS                             Claim 001690, Payment                               5600-000                                  $2,600.00       $12,748,993.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31570     LISA WASHINGTON                           Claim 001691, Payment                               5600-000                                     $775.00      $12,748,218.90
                                                                          100.00000%
                                6607 East 30th Avenue
                                Denver, CO 80207
   08/27/14           31571     ARGO PARTNERS                             Claim 001693, Payment                               5600-000                                  $2,600.00       $12,745,618.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31572     JANTIA HART                               Claim 001695, Payment                               5600-004                                  $2,600.00       $12,743,018.90
                                                                          100.00000%
                                7 Lyman Drive
                                Middletown, CT 06457
   08/27/14           31573     LIQUIDITY SOLUTIONS, INC.                 Claim 001696, Payment                               5600-000                                  $1,978.00       $12,741,040.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31574     RONALD HALL                               Claim 001697, Payment                               5600-000                                  $2,600.00       $12,738,440.90
                                                                          100.00000%
                                PO Box 241
                                Grant, OK 74738-0241
   08/27/14           31575     KEITH ALAN AND SHERYL ANN BABB            Claim 001698, Payment                               5600-000                                  $2,600.00       $12,735,840.90
                                                                          100.00000%
                                WILLIAM J RAMEKER, TRUSTEE
                                PO BOX 2038
                                MADISON, WI 53701-2038
   08/27/14           31576     ARGO PARTNERS                             Claim 001699, Payment                               5600-000                                  $2,600.00       $12,733,240.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31577     JEWELDEAN KINNEY                          Claim 001700, Payment                               5600-000                                  $2,600.00       $12,730,640.90
                                                                          100.00000%
                                294 Locust Drive
                                Lexington, NC 27292




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31578     LIQUIDITY SOLUTIONS, INC.                 Claim 001701, Payment                               5600-000                                  $1,086.00       $12,729,554.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31579     JUNE BOMGARDNER                           Claim 001702, Payment                               5600-000                                  $2,600.00       $12,726,954.90
                                                                          100.00000%
                                5072 Ridge Road
                                Elizabethtown, PA 17022
   08/27/14           31580     JUDY KNOTT                                Claim 001703, Payment                               5600-004                                     $224.00      $12,726,730.90
                                                                          100.00000%
                                PO Box 223
                                Tampico, IL 61283
   08/27/14           31581     GARY STEED                                Claim 001704, Payment                               5600-000                                  $2,600.00       $12,724,130.90
                                                                          100.00000%
                                5161 Amberwood Circle
                                Fairfield, CA 94534
   08/27/14           31582     JAMES SACCO                               Claim 001705, Payment                               5600-000                                  $1,372.00       $12,722,758.90
                                                                          100.00000%
                                5 Jonathan Dr
                                Sewell, NJ 08080
   08/27/14           31583     LAURO RIVERA                              Claim 001706A, Payment                              5600-000                                  $2,600.00       $12,720,158.90
                                                                          100.00000%
                                31 Cotswold Circle
                                Ocean, NJ 07712
   08/27/14           31584     ARGO PARTNERS                             Claim 001707, Payment                               5600-000                                  $2,600.00       $12,717,558.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31585     JAVIER BANUELOS                           Claim 001708, Payment                               5600-000                                     $346.00      $12,717,212.90
                                                                          100.00000%
                                1156 Calada St
                                Los Angeles, CA 90023
   08/27/14           31586     DOREEN PERRY                              Claim 001709, Payment                               5600-004                                     $300.00      $12,716,912.90
                                                                          100.00000%
                                870 South 80th St
                                Tacoma, WA 98408




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31587     SECOND CHANCE CREDIT                      Claim 001710A, Payment                              5600-000                                  $1,857.00       $12,715,055.90
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31588     REYMUNDO MIRELES                          Claim 001711, Payment                               5600-000                                     $831.00      $12,714,224.90
                                                                          100.00000%
                                8563 Greenbriar Dr
                                Olmsted Falls, OH 44138
   08/27/14           31589     ARGO PARTNERS                             Claim 001712, Payment                               5600-000                                  $2,600.00       $12,711,624.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31590     LIQUIDITY SOLUTIONS, INC.                 Claim 001713, Payment                               5600-000                                  $2,600.00       $12,709,024.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31591     CAROL ARMSTRONG                           Claim 001714, Payment                               5600-000                                  $1,261.00       $12,707,763.90
                                                                          100.00000%
                                601 Skyline Dr
                                Placerville, CA 95667
   08/27/14           31592     EMILIA ACEVIZ                             Claim 001715, Payment                               5600-000                                  $2,600.00       $12,705,163.90
                                                                          100.00000%
                                16328 Rt 84 North
                                East Moline, IL 61244
   08/27/14           31593     VINAY UBALE                               Claim 001716, Payment                               5600-000                                     $296.00      $12,704,867.90
                                                                          100.00000%
                                14208 284th Ave. NE
                                Duvall, WA 98019
   08/27/14           31594     HARRY JOCK                                Claim 001717, Payment                               5600-000                                     $288.00      $12,704,579.90
                                                                          100.00000%
                                53 Jock Road
                                Akwesasne, NY 13655
   08/27/14           31595     TRAVIS LAMM                               Claim 001718, Payment                               5600-000                                  $2,600.00       $12,701,979.90
                                                                          100.00000%
                                44254 Huron Terrace
                                Ashburn, VA 20147




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31596     YVONNE ROSE                               Claim 001719A, Payment                              5600-000                                  $2,600.00       $12,699,379.90
                                                                          100.00000%
                                16905 NW 52ND PL
                                MIAMI, FL 33055
   08/27/14           31597     JUSTIN BOLEFAHR                           Claim 001720A, Payment                              5600-000                                  $2,600.00       $12,696,779.90
                                                                          100.00000%
                                4164 Diane Street
                                Redding, CA 96002
   08/27/14           31598     ROBERT CHILDS                             Claim 001721, Payment                               5600-000                                  $2,600.00       $12,694,179.90
                                                                          100.00000%
                                1814 South Ringgold St
                                Philadelphia, PA 19145
   08/27/14           31599     SECOND CHANCE CREDIT                      Claim 001723, Payment                               5600-000                                  $2,600.00       $12,691,579.90
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31600     MICHELLE JONES                            Claim 001724, Payment                               5600-000                                     $541.00      $12,691,038.90
                                                                          100.00000%
                                5 Asford Rd
                                Jackson, NJ 08527
   08/27/14           31601     BIJI KOBARA                               Claim 001725, Payment                               5600-000                                  $1,001.00       $12,690,037.90
                                                                          100.00000%
                                1719 Walnut Ave. SW
                                Seattle, WA 98116
   08/27/14           31602     ARGO PARTNERS                             Claim 001726, Payment                               5600-000                                  $2,600.00       $12,687,437.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31603     SHIRLEY GIFFORD                           Claim 001728, Payment                               5600-004                                     $860.00      $12,686,577.90
                                                                          100.00000%
                                1002 Brooks Ave
                                Douglas, GA 31533
   08/27/14           31604     YOLANDA DERRICO                           Claim 001729, Payment                               5600-000                                  $1,151.00       $12,685,426.90
                                                                          100.00000%
                                105 Pomona St.
                                Revere, MA 02151




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $16,553.00
                                                                             Document          Page 184 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31605     JUSTIN TICKLE                             Claim 001730, Payment                               5600-000                                     $652.00      $12,684,774.90
                                                                          100.00000%
                                974 White Buffalo Road
                                Mount Airy, NC 27030
   08/27/14           31606     JOSHUA KAHAN                              Claim 001731, Payment                               5600-000                                  $1,167.00       $12,683,607.90
                                                                          100.00000%
                                10160 E. Emily Dr.
                                Tuscon, AZ 85730-3130
   08/27/14           31607     SECOND CHANCE CREDIT                      Claim 001732, Payment                               5600-000                                     $288.00      $12,683,319.90
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31608     BARTOSZ GORECKI                           Claim 001733, Payment                               5600-000                                  $2,215.00       $12,681,104.90
                                                                          100.00000%
                                9233 Susy Lane Apt1W
                                Schiller Park, IL 60176
   08/27/14           31609     WORREL DELANEY                            Claim 001734, Payment                               5600-000                                     $765.00      $12,680,339.90
                                                                          100.00000%
                                1085 Bluewater Dr., Unit 213
                                Monetta, VA 24121
   08/27/14           31610     CHARLES NANCE                             Claim 001735, Payment                               5600-004                                  $1,418.00       $12,678,921.90
                                                                          100.00000%
                                1579 East Whitten St.
                                Chandler, AZ 85225
   08/27/14           31611     ALAN DEARDORFF                            Claim 001736, Payment                               5600-000                                  $2,434.00       $12,676,487.90
                                                                          100.00000%
                                PO Box 1196
                                Aransas Pass, TX 78335
   08/27/14           31612     LORINE HARRIS                             Claim 001737, Payment                               5600-000                                  $2,600.00       $12,673,887.90
                                                                          100.00000%
                                PO BOX 225
                                Franklinton, NC 27525
   08/27/14           31613     DOROTHY NOEL                              Claim 001738, Payment                               5600-000                                  $1,827.00       $12,672,060.90
                                                                          100.00000%
                                19 Queen Avenue
                                West Warwick, RI 02893




                                    Case 10-30631               Doc 5751       Page Subtotals:
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                                                                                                                                                     Desc Main         $13,366.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31614     LIQUIDITY SOLUTIONS, INC.                 Claim 001739, Payment                               5600-000                                  $2,277.00       $12,669,783.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31615     TARA SIMMONDS                             Claim 001740A, Payment                              5600-000                                     $289.00      $12,669,494.90
                                                                          100.00000%
                                19 Liberty St
                                Auburn, NY 13021
   08/27/14           31616     LIQUIDITY SOLUTIONS, INC.                 Claim 001741, Payment                               5600-000                                  $1,028.00       $12,668,466.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31617     ANTONIO RESENDE                           Claim 001742, Payment                               5600-000                                      $30.00      $12,668,436.90
                                                                          100.00000%
                                2801 Woodsmere Court
                                Kissimmee, FL 34746
   08/27/14           31618     MIRIAM MCNEIL                             Claim 001743, Payment                               5600-000                                     $731.00      $12,667,705.90
                                                                          100.00000%
                                PO Box 5
                                Fulton, TX 78358
   08/27/14           31619     ARGO PARTNERS                             Claim 001744, Payment                               5600-000                                  $2,600.00       $12,665,105.90
                                12 West 37th St., 9th FlNew YOrk, NY      100.00000%
                                10018
   08/27/14           31620     ASSET RECOVERY MANAGEMENT,                Claim 001745, Payment                               5600-000                                  $2,600.00       $12,662,505.90
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31621     MARY HOLT                                 Claim 001746A, Payment                              5600-000                                     $271.00      $12,662,234.90
                                                                          100.00000%
                                21550 Forrest Run Dr
                                Lexington Park, MD 20653
   08/27/14           31622     DEBBIE ROBINSON                           Claim 001747, Payment                               5600-000                                     $463.00      $12,661,771.90
                                                                          100.00000%
                                1397 Downs Dr. SW
                                Atlanta, GA 30311




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31623     ARGO PARTNERS                             Claim 001748, Payment                               5600-000                                  $2,600.00       $12,659,171.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31624     PAUL JACKSON                              Claim 001749, Payment                               5600-000                                     $265.00      $12,658,906.90
                                                                          100.00000%
                                5105 WHEELER CT
                                WINSTON-SALEM, NC 27106
   08/27/14           31625     NEIL FERRARA                              Claim 001750, Payment                               5600-000                                  $2,600.00       $12,656,306.90
                                                                          100.00000%
                                798 East Tyre Rd
                                Senaca Falls, NY 13148
   08/27/14           31626     LISA PRICE                                Claim 001752, Payment                               5600-000                                     $754.00      $12,655,552.90
                                                                          100.00000%
                                PO Box 543
                                China, TX 77613
   08/27/14           31627     CHARLENE MILLA                            Claim 001754, Payment                               5600-004                                      $30.00      $12,655,522.90
                                                                          100.00000%
                                5625 SUMMIT ARCH
                                VIRGINIA BEACH, VA 23462
   08/27/14           31628     ARGO PARTNERS                             Claim 001755, Payment                               5600-000                                  $2,600.00       $12,652,922.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31629     MARSHA AMARAL                             Claim 001756, Payment                               5600-000                                  $1,416.00       $12,651,506.90
                                                                          100.00000%
                                3953 Mission Way
                                San Leandro, CA 94578
   08/27/14           31630     WAYNE MCKAY                               Claim 001757, Payment                               5600-000                                  $2,600.00       $12,648,906.90
                                2722 Albemarle Rd.Montgomery, AL          100.00000%
                                36107
   08/27/14           31631     VIRGINIA HORTON                           Claim 001758, Payment                               5600-000                                     $671.00      $12,648,235.90
                                                                          100.00000%
                                403 Lowe Cir
                                Richland, MS 39218
   08/27/14           31632     LORINE SKILLICORN                         Claim 001759A, Payment                              5600-000                                     $601.00      $12,647,634.90
                                                                          100.00000%
                                1567 Commodore road
                                Lyndhurst, OH 44124


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31633     VICKI GALL                                Claim 001760, Payment                               5600-000                                     $964.00      $12,646,670.90
                                                                          100.00000%
                                4526 Wellington Ave.
                                Parma, OH 44134
   08/27/14           31634     ASSET RECOVERY MANAGEMENT,                Claim 001761A, Payment                              5600-000                                  $2,600.00       $12,644,070.90
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31635     LAURA DONEL SOWERS                        Claim 001762A, Payment                              5600-004                                     $781.00      $12,643,289.90
                                                                          100.00000%
                                19881 Brookhurst C155
                                Huntington Beach, CA 92646-4269
   08/27/14           31636     FRED SUTHERLAND                           Claim 001763, Payment                               5600-000                                     $384.00      $12,642,905.90
                                                                          100.00000%
                                1265 Finch ave
                                Brighton, CO 80601
   08/27/14           31637     ARGO PARTNERS                             Claim 001764, Payment                               5600-000                                  $2,600.00       $12,640,305.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31638     TRINA WALTERS                             Claim 001765, Payment                               5600-000                                  $2,600.00       $12,637,705.90
                                                                          100.00000%
                                6528 US Route 62 SW
                                Washington Courthouse, OH 43160
   08/27/14           31639     ADRIENNE SMITH                            Claim 001766, Payment                               5600-004                                  $2,600.00       $12,635,105.90
                                                                          100.00000%
                                3645 N 7th Ave. #35A
                                Phoenix, AZ 85013
   08/27/14           31640     LIQUIDITY SOLUTIONS, INC.                 Claim 001767, Payment                               5600-000                                  $2,061.00       $12,633,044.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31641     MARIKO SASATOMI                           Claim 001769, Payment                               5600-000                                  $1,651.00       $12,631,393.90
                                                                          100.00000%
                                4313 Vista Largo
                                Torrance, CA 90505




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31642     EVA LUKOSZ                                Claim 001770, Payment                               5600-004                                  $1,345.00       $12,630,048.90
                                                                          100.00000%
                                8775 Costa Verde 101
                                San Diego, CA 92122
   08/27/14           31643     JOE NEUDENBACH                            Claim 001772, Payment                               5600-000                                  $2,600.00       $12,627,448.90
                                                                          100.00000%
                                271 Vivian Dr.
                                Berea, OH 44017
   08/27/14           31644     NIKENSON MIDI                             Claim 001773, Payment                               5600-004                                  $2,600.00       $12,624,848.90
                                                                          100.00000%
                                1800 Grove Point Road Apt 610
                                SAVANNAH, GA 31419
   08/27/14           31645     KARL KRANER                               Claim 001774, Payment                               5600-000                                  $1,195.00       $12,623,653.90
                                                                          100.00000%
                                2501 North Walnut
                                Pittsburg, KS 66762
   08/27/14           31646     ROBERT HIEMSTRA                           Claim 001775, Payment                               5600-000                                  $2,600.00       $12,621,053.90
                                                                          100.00000%
                                108 Snyder Street
                                Hot Springs, AR 71901
   08/27/14           31647     LAURA KAY                                 Claim 001776, Payment                               5600-000                                  $2,600.00       $12,618,453.90
                                                                          100.00000%
                                303 Kay Lane
                                Clinton, AR 72031
   08/27/14           31648     SECOND CHANCE CREDIT                      Claim 001777, Payment                               5600-000                                     $800.00      $12,617,653.90
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31649     ARGO PARTNERS                             Claim 001778, Payment                               5600-000                                  $2,600.00       $12,615,053.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31650     DANA CASON                                Claim 001779, Payment                               5600-004                                     $579.00      $12,614,474.90
                                                                          100.00000%
                                1112 Mount Hope Rd
                                Guyton, GA 31312




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31651     BETHANY BEAUDOIN                          Claim 001780, Payment                               5600-000                                     $646.00      $12,613,828.90
                                                                          100.00000%
                                99 Dickinson St
                                Saint Ignace, MI 49781
   08/27/14           31652     ARGO PARTNERS                             Claim 001781, Payment                               5600-000                                  $2,600.00       $12,611,228.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31653     SUSAN STEIGER                             Claim 001782, Payment                               5600-000                                  $2,600.00       $12,608,628.90
                                                                          100.00000%
                                65 S 900 E
                                Venice, UT 84701
   08/27/14           31654     ARGO PARTNERS                             Claim 001783, Payment                               5600-000                                  $2,600.00       $12,606,028.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31655     MATTIE HOOKER                             Claim 001784, Payment                               5600-000                                  $1,933.00       $12,604,095.90
                                                                          100.00000%
                                115 Daisy St
                                Cleveland, MS 38732
   08/27/14           31656     ARGO PARTNERS                             Claim 001785, Payment                               5600-000                                  $2,600.00       $12,601,495.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31657     ANNETTE BISCHOFF                          Claim 001787, Payment                               5600-000                                  $2,600.00       $12,598,895.90
                                                                          100.00000%
                                1217 Bluff Avenue
                                Sheboygan, WI 53081
   08/27/14           31658     TREVOR MCCARTHY                           Claim 001789, Payment                               5600-000                                  $2,600.00       $12,596,295.90
                                                                          100.00000%
                                2518 Fredrick Douglas Blvd Apt 5C
                                New York, NY 10030
   08/27/14           31659     SHIRLEY CORNETT                           Claim 001792, Payment                               5600-004                                  $2,600.00       $12,593,695.90
                                                                          100.00000%
                                201 Dodgens Lane
                                Seneca, SC 29672




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31660     SHEILA CODY                               Claim 001793, Payment                               5600-000                                  $1,153.00       $12,592,542.90
                                                                          100.00000%
                                1978 Beach Road
                                Rockstream, NY 14878
   08/27/14           31661     ARGO PARTNERS                             Claim 001794, Payment                               5600-000                                  $2,600.00       $12,589,942.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31662     JOHN LARGE                                Claim 001795, Payment                               5600-000                                     $794.00      $12,589,148.90
                                                                          100.00000%
                                843 Poole Ave
                                Hazlet, NJ 07730
   08/27/14           31663     WANDA BRUNER                              Claim 001796, Payment                               5600-000                                  $2,600.00       $12,586,548.90
                                                                          100.00000%
                                471 Middle Ground Way
                                London, KY 40744
   08/27/14           31664     DELORES MARLING                           Claim 001797, Payment                               5600-000                                  $2,600.00       $12,583,948.90
                                                                          100.00000%
                                1009 Wildwood Court
                                Seymore, IN 47274
   08/27/14           31665     JOHANNY LOPEZ                             Claim 001798, Payment                               5600-000                                     $300.00      $12,583,648.90
                                                                          100.00000%
                                555 South Street
                                Peekskill, NY 10566
   08/27/14           31666     PATRICIA VALERIO                          Claim 001800, Payment                               5600-000                                  $2,342.00       $12,581,306.90
                                                                          100.00000%
                                301 Bartlett Ave
                                Staten Island, NY 10312
   08/27/14           31667     ABDELHADI QOURISSE                        Claim 001801, Payment                               5600-000                                  $2,600.00       $12,578,706.90
                                                                          100.00000%
                                PO BOX 3384
                                Peabody, MA 01961
   08/27/14           31668     LOIS FREEMAN                              Claim 001802, Payment                               5600-000                                  $1,861.00       $12,576,845.90
                                                                          100.00000%
                                179 Adrianne Ave
                                Clinton, AR 72031




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


       1                2                           3                                             4                                                   5                6                     7

Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31669     BEULAH MABIN                              Claim 001805, Payment                               5600-000                                  $2,600.00       $12,574,245.90
                                                                          100.00000%
                                16425 Half Moon Court
                                Moreno Valley, CA 92551
   08/27/14           31670     ALBERT AND LETHA PIERCE                   Claim 001806, Payment                               5600-000                                     $495.00      $12,573,750.90
                                                                          100.00000%
                                812 S McGowan St
                                Burns, OR 97720
   08/27/14           31671     ARGO PARTNERS                             Claim 001807, Payment                               5600-000                                  $2,600.00       $12,571,150.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31672     LIQUIDITY SOLUTIONS, INC.                 Claim 001808, Payment                               5600-000                                  $2,600.00       $12,568,550.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31673     VANESSA CLARK                             Claim 001809, Payment                               5600-000                                  $2,600.00       $12,565,950.90
                                                                          100.00000%
                                1449 Cranleigh Lane
                                Williamtown, NJ 08094
   08/27/14           31674     LIQUIDITY SOLUTIONS, INC.                 Claim 001810, Payment                               5600-000                                  $2,400.00       $12,563,550.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31675     HUGH BROWN                                Claim 001811, Payment                               5600-000                                  $2,600.00       $12,560,950.90
                                                                          100.00000%
                                408 34TH ST
                                West Palm Beach, FL 33407
   08/27/14           31676     RICHARD FANNON                            Claim 001812, Payment                               5600-000                                  $2,600.00       $12,558,350.90
                                                                          100.00000%
                                PO BOX 126
                                Ballard, WV 24918
   08/27/14           31677     ALFA LOPEZ                                Claim 001813, Payment                               5600-000                                  $2,600.00       $12,555,750.90
                                38-07 58th St.Woodside, NY 11377          100.00000%
   08/27/14           31678     MARICELA AGUILAR                          Claim 001814, Payment                               5600-000                                  $2,600.00       $12,553,150.90
                                                                          100.00000%
                                2345 Academy Ave.
                                Pomona, CA 91768



                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 192 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31679     SANDRA SMALL                              Claim 001815, Payment                               5600-000                                     $631.00      $12,552,519.90
                                                                          100.00000%
                                184 Silver Eagle Way
                                Vacaville, CA 95688
   08/27/14           31680     LIQUIDITY SOLUTIONS, INC.                 Claim 001816, Payment                               5600-000                                  $1,749.00       $12,550,770.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31681     ARGO PARTNERS                             Claim 001817, Payment                               5600-000                                  $2,600.00       $12,548,170.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31682     VICTOR DI PUMA                            Claim 001818, Payment                               5600-000                                  $2,600.00       $12,545,570.90
                                                                          100.00000%
                                24 Bartman Rd
                                East Brunswick, NJ 08816
   08/27/14           31683     ZENAIDA FONTANILLA                        Claim 001819, Payment                               5600-000                                  $2,600.00       $12,542,970.90
                                                                          100.00000%
                                86-15 Elmhurst Avenue Apt 6-L
                                Elmhurst, NY 11373
   08/27/14           31684     SECOND CHANCE CREDIT                      Claim 001820, Payment                               5600-000                                  $1,709.00       $12,541,261.90
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31685     KIM WAREHIME                              Claim 001822, Payment                               5600-000                                     $361.00      $12,540,900.90
                                                                          100.00000%
                                424 Cherokee Dr
                                Kechi, KS 67067
   08/27/14           31686     TIMBRE COSTER                             Claim 001824, Payment                               5600-000                                  $2,600.00       $12,538,300.90
                                                                          100.00000%
                                305 S Blauvelt Ave.
                                Sioux Falls, SD 57103
   08/27/14           31687     ERICA MOORE                               Claim 001825A, Payment                              5600-000                                     $960.00      $12,537,340.90
                                                                          100.00000%
                                1685 Wexford Lane
                                Shakopee, MN 55379




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31688     EDGAR MOORE                               Claim 001826A, Payment                              5600-000                                  $2,249.00       $12,535,091.90
                                                                          100.00000%
                                1685 Wexford Lane
                                Shakopee, MN 55379
   08/27/14           31689     ARGO PARTNERS                             Claim 001827A, Payment                              5600-000                                  $2,600.00       $12,532,491.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31690     ARGO PARTNERS                             Claim 001829, Payment                               5600-000                                  $2,600.00       $12,529,891.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31691     ARGO PARTNERS                             Claim 001830, Payment                               5600-000                                  $2,600.00       $12,527,291.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31692     LYURHAN CHANG                             Claim 001831A, Payment                              5600-004                                  $2,600.00       $12,524,691.90
                                                                          100.00000%
                                656 Corwin Avenue
                                Glendale, CA 91206
   08/27/14           31693     MARGARET BUERSKEN                         Claim 001832A, Payment                              5600-000                                  $2,600.00       $12,522,091.90
                                                                          100.00000%
                                801 8th Street N.W. #175
                                LITTLE FALLS, MN 56345-1514
   08/27/14           31694     CARMELO MALDONADO                         Claim 001833, Payment                               5600-000                                  $2,600.00       $12,519,491.90
                                                                          100.00000%
                                62-42 Woodhaven Blvd Apt. N67
                                Rego Park, NY 11374
   08/27/14           31695     TODD KROUGH                               Claim 001834, Payment                               5600-000                                  $2,600.00       $12,516,891.90
                                                                          100.00000%
                                64309 Lincoln Hwy
                                Nevada, IA 50201
   08/27/14           31696     JERRI PAZDZIOR                            Claim 001835, Payment                               5600-000                                     $470.00      $12,516,421.90
                                                                          100.00000%
                                1305 Chatham Ln
                                Roselle, IL 60172




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31697     KAYLIN EVANS                              Claim 001837, Payment                               5600-000                                     $828.00      $12,515,593.90
                                                                          100.00000%
                                560 5th Avenue South
                                Carrington, ND 58421
   08/27/14           31698     ARGO PARTNERS                             Claim 001838, Payment                               5600-000                                  $2,600.00       $12,512,993.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31699     GERALD ELLIS                              Claim 001839, Payment                               5600-000                                  $2,600.00       $12,510,393.90
                                                                          100.00000%
                                104 Knott St
                                Jasper, MO 64755
   08/27/14           31700     ARGO PARTNERS                             Claim 001840, Payment                               5600-000                                  $2,600.00       $12,507,793.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31701     ARGO PARTNERS                             Claim 001841, Payment                               5600-000                                  $2,600.00       $12,505,193.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31702     ARGO PARTNERS                             Claim 001842, Payment                               5600-000                                  $2,600.00       $12,502,593.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31703     ARGO PARTNERS                             Claim 001843, Payment                               5600-000                                  $2,600.00       $12,499,993.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31704     BRIAN HALSEY                              Claim 001844, Payment                               5600-000                                     $651.00      $12,499,342.90
                                                                          100.00000%
                                215 Leavitt Rd
                                Pittsfield, NH 03263
   08/27/14           31705     ARGO PARTNERS                             Claim 001845, Payment                               5600-000                                  $2,600.00       $12,496,742.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31706     ARGO PARTNERS                             Claim 001846, Payment                               5600-000                                  $2,600.00       $12,494,142.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31707     LIQUIDITY SOLUTIONS, INC.                 Claim 001847, Payment                               5600-000                                  $2,600.00       $12,491,542.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31708     EMMANUELA VALESCOT                        Claim 001848A, Payment                              5600-004                                  $2,521.00       $12,489,021.90
                                                                          100.00000%
                                150 West Eckerson Road Apt 4C
                                Spring Valley, NY 10977
   08/27/14           31709     LUCIA VACCARO                             Claim 001849, Payment                               5600-000                                  $2,600.00       $12,486,421.90
                                                                          100.00000%
                                3880 Orloff Ave. #6A
                                Bronx, NY 10463
   08/27/14           31710     L`TONYA BENNETT                           Claim 001850A, Payment                              5600-000                                     $702.00      $12,485,719.90
                                                                          100.00000%
                                46 Burgh Ave Apt: A 6
                                Cliffton, NJ 07011
   08/27/14           31711     ALPHONSUS EKPEMOGU                        Claim 001852, Payment                               5600-000                                  $2,600.00       $12,483,119.90
                                                                          100.00000%
                                19434 Santa Rosa Drive
                                Detroit, MI 48221
   08/27/14           31712     DAVIDSON OWAN                             Claim 001853, Payment                               5600-000                                  $1,228.00       $12,481,891.90
                                                                          100.00000%
                                95-207 Pahala Pl
                                Mililani, HI 96789
   08/27/14           31713     LEEANN PEREZ                              Claim 001854, Payment                               5600-000                                     $721.00      $12,481,170.90
                                                                          100.00000%
                                3651 Whispering Creek Circle
                                Stockton, CA 95219
   08/27/14           31714     ARGO PARTNERS                             Claim 001856A, Payment                              5600-000                                  $2,600.00       $12,478,570.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31715     RICHARD COOK                              Claim 001857, Payment                               5600-004                                     $925.00      $12,477,645.90
                                                                          100.00000%
                                1838 30TH STREET ENSLEY
                                BIRMINGHAM, AL 35208-1503
   08/27/14           31716     ASSET RECOVERY MANAGEMENT,                Claim 001858, Payment                               5600-000                                  $2,600.00       $12,475,045.90
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31717     PRISCILLA HALL                            Claim 001859, Payment                               5600-000                                     $299.00      $12,474,746.90
                                                                          100.00000%
                                1114 Bradshaw Garden Road
                                Knoxville, TN 37912
   08/27/14           31718     STEFFANIE WIGGINS FKA MURRAY              Claim 001860, Payment                               5600-000                                  $1,844.00       $12,472,902.90
                                                                          100.00000%
                                385 ART CAMP RD
                                HEFLIN, LA 71039-3321
   08/27/14           31719     ARGO PARTNERS                             Claim 001861, Payment                               5600-000                                  $2,600.00       $12,470,302.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31720     MARIA SANCHEZ                             Claim 001862, Payment                               5600-000                                  $2,600.00       $12,467,702.90
                                                                          100.00000%
                                196 Astor St
                                NEWARK, NJ 07114
   08/27/14           31721     SECOND CHANCE CREDIT                      Claim 001863, Payment                               5600-000                                     $674.00      $12,467,028.90
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31722     RICHARD HARRIS                            Claim 001864, Payment                               5600-000                                     $769.00      $12,466,259.90
                                                                          100.00000%
                                105 Sandpiper Avenue
                                Royal Palm Beach, FL 33411
   08/27/14           31723     REUBEN WILLIAMS                           Claim 001865, Payment                               5600-000                                  $1,950.00       $12,464,309.90
                                                                          100.00000%
                                105 Linden Avenue
                                Irvington, NJ 07111



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31724     LESA JEFFERSON                            Claim 001866, Payment                               5600-004                                     $694.00      $12,463,615.90
                                                                          100.00000%
                                14479 Brentwood Court
                                Woodbridge, VA 22193
   08/27/14           31725     ASHLEY BOHLKEN                            Claim 001867, Payment                               5600-000                                     $479.00      $12,463,136.90
                                                                          100.00000%
                                4922 Shadow Lane
                                Wichita, KS 67219
   08/27/14           31726     VILERIA HERNDON                           Claim 001868, Payment                               5600-000                                  $2,600.00       $12,460,536.90
                                                                          100.00000%
                                735 Charlotte Pl NW
                                Atlanta, GA 30318
   08/27/14           31727     DANIEL MCAULEY                            Claim 001869, Payment                               5600-000                                  $2,600.00       $12,457,936.90
                                                                          100.00000%
                                1510 Beaumont Terrace
                                Spring Hill, TN 37174
   08/27/14           31728     CARVIA WILLIAMS                           Claim 001870, Payment                               5600-000                                   $2,115.00      $12,455,821.90
                                                                          100.00000%
                                4 Lost Tree Court
                                Durham, NC 27703
   08/27/14           31729     ARGO PARTNERS                             Claim 001871A, Payment                              5600-000                                  $2,600.00       $12,453,221.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31730     FELECIA LLOYD                             Claim 001872, Payment                               5600-000                                  $2,600.00       $12,450,621.90
                                                                          100.00000%
                                1310 North 6th Street
                                Wilmington, NC 28401
   08/27/14           31731     ARGO PARTNERS                             Claim 001873, Payment                               5600-000                                  $2,600.00       $12,448,021.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31732     GLORIA RANSOM                             Claim 001874, Payment                               5600-000                                  $2,187.00       $12,445,834.90
                                                                          100.00000%
                                1679A St Johns PL Apt 79A
                                Brooklyn, NY 11233




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31733     LIQUIDITY SOLUTIONS, INC.                 Claim 001875, Payment                               5600-000                                  $1,085.00       $12,444,749.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31734     ARGO PARTNERS                             Claim 001876, Payment                               5600-000                                  $2,600.00       $12,442,149.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31735     LIQUIDITY SOLUTIONS, INC.                 Claim 001878A, Payment                              5600-000                                  $1,161.00       $12,440,988.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31736     JOAN KUENY                                Claim 001879, Payment                               5600-000                                     $328.00      $12,440,660.90
                                                                          100.00000%
                                7 Florence Avenue
                                Marlton, NJ 08053
   08/27/14           31737     LIQUIDITY SOLUTIONS, INC.                 Claim 001880, Payment                               5600-000                                  $2,600.00       $12,438,060.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31738     SECOND CHANCE CREDIT                      Claim 001881, Payment                               5600-000                                     $717.00      $12,437,343.90
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31739     STEVE ROWBOTHAM                           Claim 001882, Payment                               5600-000                                  $1,070.00       $12,436,273.90
                                                                          100.00000%
                                118 bear cub way
                                bogart, GA 30622
   08/27/14           31740     ISIAH JONES                               Claim 001883, Payment                               5600-000                                  $2,600.00       $12,433,673.90
                                                                          100.00000%
                                4167 Darby Drive
                                Tallahassee, FL 32310
   08/27/14           31741     ROBERT DAMBRA                             Claim 001884, Payment                               5600-000                                     $537.00      $12,433,136.90
                                                                          100.00000%
                                50 Lambert St
                                Revere, MA 02151




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $12,698.00
                                                                             Document          Page 199 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31742     GARY DUPUIS                               Claim 001885, Payment                               5600-000                                  $2,269.00       $12,430,867.90
                                                                          100.00000%
                                46 Fitchburg Road
                                Ashburnham, MA 01430
   08/27/14           31743     ZORAIDA CRUZ                              Claim 001886, Payment                               5600-004                                  $2,600.00       $12,428,267.90
                                                                          100.00000%
                                85 Mary Avenue
                                Stratford, CT 06614
   08/27/14           31744     JULIE WELLONS COFFEY                      Claim 001887, Payment                               5600-000                                  $2,321.00       $12,425,946.90
                                1028 S. Belvedere Ave.Gastonia, NC        100.00000%
                                28054
   08/27/14           31745     SECOND CHANCE CREDIT                      Claim 001888, Payment                               5600-000                                  $2,410.00       $12,423,536.90
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31746     SHIRLEY TREBOTICA                         Claim 001889, Payment                               5600-000                                  $2,536.00       $12,421,000.90
                                                                          100.00000%
                                2 Willow Brooke Road
                                Freehold, NJ 07728
   08/27/14           31747     LUPE DUARTE                               Claim 001890, Payment                               5600-000                                     $385.00      $12,420,615.90
                                                                          100.00000%
                                2816 N Anchor Ave
                                Orange, CA 92865
   08/27/14           31748     SINAPATI REUPENA                          Claim 001891A, Payment                              5600-000                                     $608.00      $12,420,007.90
                                                                          100.00000%
                                6315 Orange Ave
                                Long beach, CA 90805
   08/27/14           31749     ARGO PARTNERS                             Claim 001892, Payment                               5600-000                                  $2,600.00       $12,417,407.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31750     DANIELLE FUDGE                            Claim 001893, Payment                               5600-004                                  $1,066.00       $12,416,341.90
                                                                          100.00000%
                                128852 State Route 26
                                Colfax, WA 99111




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $16,795.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31751     DARLEEN BAKER                             Claim 001894, Payment                               5600-000                                  $2,105.00       $12,414,236.90
                                                                          100.00000%
                                200 6A Hawthorne Lane West
                                Wilson, NC 27893
   08/27/14           31752     MARY MEACHUM                              Claim 001895, Payment                               5600-000                                     $918.00      $12,413,318.90
                                                                          100.00000%
                                503 Westwood Dr.
                                Pontotoc, MS 38863
   08/27/14           31753     LARRY DECHANT                             Claim 001896A, Payment                              5600-000                                  $2,600.00       $12,410,718.90
                                                                          100.00000%
                                1206 Cumberland Avenue
                                Flatwoods, KY 41139
   08/27/14           31754     ASSET RECOVERY MANAGEMENT,                Claim 001897, Payment                               5600-000                                  $2,600.00       $12,408,118.90
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31755     TYRONE DUNLAP                             Claim 001898A, Payment                              5600-000                                  $2,031.00       $12,406,087.90
                                                                          100.00000%
                                3425 Leisure Lane
                                College Park, GA 30349
   08/27/14           31756     ARGO PARTNERS                             Claim 001899A, Payment                              5600-000                                  $2,600.00       $12,403,487.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31757     REX ARDERY                                Claim 001900A, Payment                              5600-000                                     $722.00      $12,402,765.90
                                                                          100.00000%
                                1804 Scott St.
                                Purcell, OK 73080
   08/27/14           31758     SHIRLEY DUKES                             Claim 001901A, Payment                              5600-000                                  $1,802.00       $12,400,963.90
                                                                          100.00000%
                                PO Box 555173
                                Orlando, FL 32855-5173
   08/27/14           31759     SANDRA SUNZERI                            Claim 001902, Payment                               5600-000                                     $486.00      $12,400,477.90
                                                                          100.00000%
                                6717 Hillcrest Drive
                                Boston, NY 14025




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           31760     ARGO PARTNERS                            Claim 001903A, Payment                              5600-000                                  $2,600.00       $12,397,877.90
                                12 West 37th St., 9th Fl.New York, NY    100.00000%
                                10018
   08/27/14           31761     JOANNE SOLEM                             Claim 001904, Payment                               5600-000                                  $2,600.00       $12,395,277.90
                                                                         100.00000%
                                5770 West 3rd Ave.
                                Lakewood, CO 80226
   08/27/14           31762     ANNA LALANGAN                            Claim 001905A, Payment                              5600-000                                     $497.00      $12,394,780.90
                                                                         100.00000%
                                31409 Arena Drive
                                Castaic, CA 91384
   08/27/14           31763     GEORGE TROWBRIDGE                        Claim 001906, Payment                               5600-004                                     $310.00      $12,394,470.90
                                                                         100.00000%
                                PO BOX 2424
                                Flemington, NJ 08822-2424
   08/27/14           31764     GREGORY SCHNACK                          Claim 001907, Payment                               5600-000                                  $2,600.00       $12,391,870.90
                                                                         100.00000%
                                PO Box 2222
                                Ashburn, VA 20146
   08/27/14           31765     DARLENE VANDERHOEF                       Claim 001908, Payment                               5600-000                                  $2,600.00       $12,389,270.90
                                                                         100.00000%
                                20098 Hoover Rd
                                Big Rapids, MI 49307
   08/27/14           31766     ASSET RECOVERY MANAGEMENT,               Claim 001911, Payment                               5600-000                                  $2,600.00       $12,386,670.90
                                LLC                                      100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31767     TIMOTHY COOPER                           Claim 001912, Payment                               5600-000                                  $2,600.00       $12,384,070.90
                                                                         100.00000%
                                3673 Silver Bluff Blvd
                                Orange Park, FL 32065
   08/27/14           31768     TAMELA MICHEL                            Claim 001913, Payment                               5600-000                                      $30.00      $12,384,040.90
                                                                         100.00000%
                                2872 State Route 103
                                Bluffton, OH 45817




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31769     SECOND CHANCE CREDIT                      Claim 001914, Payment                               5600-000                                  $1,915.00       $12,382,125.90
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31770     JOANNE FOSCO                              Claim 001915, Payment                               5600-000                                  $2,025.00       $12,380,100.90
                                                                          100.00000%
                                1 Stonewood Park Apt B
                                Rochester, NY 14616
   08/27/14           31771     ADEWUNMI OLOKUN                           Claim 001916, Payment                               5600-000                                     $652.00      $12,379,448.90
                                                                          100.00000%
                                128 Douglas Road Apt 292
                                Roselle, NJ 07203
   08/27/14           31772     JUANITA ALVAREZ                           Claim 001917, Payment                               5600-000                                  $2,600.00       $12,376,848.90
                                                                          100.00000%
                                PO Box 432733
                                San Isidro, CA 92143
   08/27/14           31773     AYMAN HUSSEIN                             Claim 001918A, Payment                              5600-000                                  $2,600.00       $12,374,248.90
                                                                          100.00000%
                                1978 42nd Ave
                                San Francisco, CA 94116
   08/27/14           31774     MARIA PARRA                               Claim 001919, Payment                               5600-000                                     $738.00      $12,373,510.90
                                                                          100.00000%
                                75 Milhaven Dr
                                West Haven, CT 06516
   08/27/14           31775     ARGO PARTNERS                             Claim 001920, Payment                               5600-000                                  $2,600.00       $12,370,910.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31776     JAE KIM                                   Claim 001922, Payment                               5600-000                                  $1,051.00       $12,369,859.90
                                                                          100.00000%
                                4507 SPENCER ST APT 302
                                TORRANCE, CA 90503
   08/27/14           31777     MICHAEL DOLL                              Claim 001924, Payment                               5600-000                                     $388.00      $12,369,471.90
                                                                          100.00000%
                                132 Kelly Circle
                                York, PA 17402




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31778     DARREL FITCH                              Claim 001925, Payment                               5600-000                                     $427.00      $12,369,044.90
                                                                          100.00000%
                                8612 27th Ave NE
                                Tulalip, WA 98271
   08/27/14           31779     ARGO PARTNERS                             Claim 001926, Payment                               5600-000                                  $2,600.00       $12,366,444.90
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           31780     MANDY BALE-ANGLEN                         Claim 001927, Payment                               5600-000                                  $1,423.00       $12,365,021.90
                                                                          100.00000%
                                107 Hillsboro Dr.
                                Elizabethton, TN 37643
   08/27/14           31781     BETTY PERSINGER                           Claim 001928, Payment                               5600-000                                     $360.00      $12,364,661.90
                                                                          100.00000%
                                702 W Macalan Dr
                                Marion, IN 46952
   08/27/14           31782     MILDRED MITCHELL                          Claim 001929, Payment                               5600-000                                     $544.00      $12,364,117.90
                                                                          100.00000%
                                60 Southwood Drive
                                Windsor, CT 06095
   08/27/14           31783     LIQUIDITY SOLUTIONS, INC.                 Claim 001930, Payment                               5600-000                                  $1,377.00       $12,362,740.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31784     FRED WEAVER                               Claim 001931, Payment                               5600-000                                  $1,361.00       $12,361,379.90
                                                                          100.00000%
                                1907 Robinson Avenue 109
                                San Deigo, CA 92104
   08/27/14           31785     MERRY JENSON                              Claim 001933, Payment                               5600-000                                  $1,828.00       $12,359,551.90
                                                                          100.00000%
                                1595 Rome Road
                                Manvel, ND 58256
   08/27/14           31786     LINDA WINCHESTER                          Claim 001934, Payment                               5600-000                                  $2,600.00       $12,356,951.90
                                                                          100.00000%
                                82 Hickory Woods Road
                                Aylett, VA 23009
   08/27/14           31787     KATHLEEN RICHARDSON                       Claim 001935, Payment                               5600-000                                  $2,600.00       $12,354,351.90
                                                                          100.00000%
                                10571 Colorado Blvd, Unit H104
                                THORNTON, CO 80233


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31788     ARGO PARTNERS                             Claim 001936, Payment                               5600-000                                  $2,600.00       $12,351,751.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31789     LIQUIDITY SOLUTIONS, INC.                 Claim 001937, Payment                               5600-000                                  $2,147.00       $12,349,604.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31790     ARGO PARTNERS                             Claim 001939, Payment                               5600-000                                  $2,600.00       $12,347,004.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31791     JENNIFER STANLEY                          Claim 001940, Payment                               5600-000                                     $276.00      $12,346,728.90
                                                                          100.00000%
                                13067 Helen Street
                                Southgate, MI 48195-2471
   08/27/14           31792     ARGO PARTNERS                             Claim 001941, Payment                               5600-000                                  $2,600.00       $12,344,128.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31793     THAD PHELPS                               Claim 001942, Payment                               5600-000                                  $2,241.00       $12,341,887.90
                                                                          100.00000%
                                2202 Copious Ct.
                                Caldwell, ID 83607
   08/27/14           31794     SECOND CHANCE CREDIT                      Claim 001943, Payment                               5600-000                                     $572.00      $12,341,315.90
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31795     DMITRY STEPANENKO                         Claim 001944A, Payment                              5600-000                                  $2,600.00       $12,338,715.90
                                                                          100.00000%
                                118-18 Metropolitan Ave Apt 6-E
                                Kew Gardens, NY 11415
   08/27/14           31796     DMITRY STEPANENKO                         Claim 001944Aa, Payment                             5600-000                                  $2,290.00       $12,336,425.90
                                                                          100.00000%
                                118-18 Metropolitan Ave Apt 6-E
                                Kew Gardens, NY 11415




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31797     ROGER ISRAEL                              Claim 001945, Payment                               5600-000                                  $1,456.00       $12,334,969.90
                                                                          100.00000%
                                712 NE 72 Street
                                Miami, FL 33138
   08/27/14           31798     ARGO PARTNERS                             Claim 001947, Payment                               5600-000                                  $2,600.00       $12,332,369.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31799     STEVEN TATLOCK                            Claim 001948A, Payment                              5600-000                                  $2,600.00       $12,329,769.90
                                409 Red Coat Ct.Waterford, WI 53185       100.00000%
   08/27/14           31800     TERESA WALTER                             Claim 001949, Payment                               5600-000                                  $2,600.00       $12,327,169.90
                                                                          100.00000%
                                6728 -B Bevington Ridge Road
                                Charlotte, NC 28277
   08/27/14           31801     KEEGAN CALLAHAN                           Claim 001950, Payment                               5600-000                                  $2,581.00       $12,324,588.90
                                                                          100.00000%
                                1617 Sumpter ln
                                Monroe, NC 28110
   08/27/14           31802     JUDITH ALANIZ                             Claim 001951, Payment                               5600-004                                  $2,600.00       $12,321,988.90
                                                                          100.00000%
                                1892 N Madison Avenue
                                Pasadena, CA 91104
   08/27/14           31803     FLORENCE DUVERGER                         Claim 001952, Payment                               5600-000                                     $194.00      $12,321,794.90
                                                                          100.00000%
                                610 W Yarmouth Rd
                                West Yarmouth, MA 02673
   08/27/14           31804     ASSET RECOVERY MANAGEMENT,                Claim 001953A, Payment                              5600-000                                  $2,600.00       $12,319,194.90
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31805     RICHARD MELENDREZ                         Claim 001954, Payment                               5600-000                                  $2,028.00       $12,317,166.90
                                                                          100.00000%
                                9038 Buhman Avenue
                                Downey, CA 90240
   08/27/14           31806     YU OK                                     Claim 001955, Payment                               5600-000                                  $2,600.00       $12,314,566.90
                                                                          100.00000%
                                441 Hillcrest Place A
                                Palisades Park, NJ 07650


                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           31807     SECOND CHANCE CREDIT                      Claim 001956, Payment                               5600-000                                  $1,343.00      $12,313,223.90
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31808     LIQUIDITY SOLUTIONS, INC.                 Claim 001957, Payment                               5600-000                                  $2,000.00      $12,311,223.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31809     LIQUIDITY SOLUTIONS, INC.                 Claim 001958, Payment                               5600-000                                  $2,008.00      $12,309,215.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31810     ARGO PARTNERS                             Claim 001959, Payment                               5600-000                                  $2,600.00      $12,306,615.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31811     FLORENCE WEST                             Claim 001960, Payment                               5600-000                                  $2,600.00      $12,304,015.90
                                                                          100.00000%
                                600 Flatcreek Rd
                                St Maries, ID 83861
   08/27/14           31812     MARIA DEPINA                              Claim 001961, Payment                               5600-000                                  $2,600.00      $12,301,415.90
                                                                          100.00000%
                                14757 Laguna Beach Cir.
                                Orlando, FL 32824
   08/27/14           31813     JORGE QUILES                              Claim 001962, Payment                               5600-000                                  $2,600.00      $12,298,815.90
                                                                          100.00000%
                                235 S. Pacific Coast Hwy. Apt. 1
                                Redondo Beach, CA 90277
   08/27/14           31814     MAZIE MCRAE                               Claim 001964, Payment                               5600-000                                  $2,600.00      $12,296,215.90
                                                                          100.00000%
                                400 Mars St Apt 22C
                                Petersburg, VA 23803
   08/27/14           31815     ARGO PARTNERS                             Claim 001965, Payment                               5600-000                                  $2,600.00      $12,293,615.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $20,951.00
                                                                             Document          Page 207 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           31816     LIQUIDITY SOLUTIONS, INC.                 Claim 001966, Payment                               5600-000                                  $2,600.00      $12,291,015.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31817     JOYCE ZEPP                                Claim 001967, Payment                               5600-004                                  $2,165.00      $12,288,850.90
                                                                          100.00000%
                                156 Broughton Hallow Rd
                                Wellsboro, PA 16901
   08/27/14           31818     CORALIE BAUSCHER                          Claim 001969, Payment                               5600-000                                  $2,600.00      $12,286,250.90
                                                                          100.00000%
                                310 Sage Road
                                Burbank, WA 99323
   08/27/14           31819     RICHARD WOLTHER JR                        Claim 001970, Payment                               5600-000                                  $1,546.00      $12,284,704.90
                                                                          100.00000%
                                12120 Tacoma Ridge Drive
                                Keller, TX 76244
   08/27/14           31820     JOSEPH DUPUIS                             Claim 001971, Payment                               5600-000                                  $2,485.00      $12,282,219.90
                                                                          100.00000%
                                11170 Hendry Rd
                                Gulfport, MS 39503
   08/27/14           31821     LIQUIDITY SOLUTIONS, INC.                 Claim 001972, Payment                               5600-000                                  $2,461.00      $12,279,758.90
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31822     ARGO PARTNERS                             Claim 001973, Payment                               5600-000                                  $2,600.00      $12,277,158.90
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31823     MERLENE MAY                               Claim 001974, Payment                               5600-000                                  $2,600.00      $12,274,558.90
                                                                          100.00000%
                                1206 Wilderness Dr
                                Spring Lake, NC 28390
   08/27/14           31824     ANDRE D ROBINSON                          Claim 001975, Payment                               5600-000                                  $2,600.00      $12,271,958.90
                                                                          100.00000%
                                12759 Westwood Lakes Blvd
                                Tampa, FL 33626




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $21,657.00
                                                                             Document          Page 208 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           31825     KENNETH ADKINS                           Claim 001976, Payment                               5600-000                                  $2,374.00       $12,269,584.90
                                                                         100.00000%
                                7950 Mentor Avenue Apt M3
                                Mentor, OH 44060
   08/27/14           31826     WALTAYA PICHARDO                         Claim 001977, Payment                               5600-000                                     $430.00      $12,269,154.90
                                                                         100.00000%
                                14 Metorpolitan Oval Apt 11F
                                Bronx, NY 10462
   08/27/14           31827     CARMEN PUGLISI JR                        Claim 001979, Payment                               5600-000                                  $2,600.00       $12,266,554.90
                                                                         100.00000%
                                293 Maple Avenue
                                Smithtown, NY 11787
   08/27/14           31828     JILL WELMER                              Claim 001980, Payment                               5600-000                                  $2,600.00       $12,263,954.90
                                                                         100.00000%
                                9215 Newburgh Drive
                                Houston, TX 77095
   08/27/14           31829     DEAN INGERSOLL                           Claim 001981, Payment                               5600-000                                  $1,000.00       $12,262,954.90
                                                                         100.00000%
                                782 Howell Rd
                                Port Byron, NY 13140
   08/27/14           31830     MANUEL CURRA                             Claim 001982, Payment                               5600-000                                  $2,426.42       $12,260,528.48
                                                                         100.00000%
                                10318 N W 127 Street
                                Hialeah Gardens, FL 33018
   08/27/14           31831     SECOND CHANCE CREDIT                     Claim 001983A, Payment                              5600-000                                  $2,006.00       $12,258,522.48
                                OPPORTUNITIES,                           100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31832     LORI ZACK                                Claim 001984A, Payment                              5600-000                                  $2,600.00       $12,255,922.48
                                                                         100.00000%
                                35858 Jolaine Court
                                Richmond, MI 48062
   08/27/14           31833     JANINE PEREGO                            Claim 001985A, Payment                              5600-000                                  $1,020.00       $12,254,902.48
                                                                         100.00000%
                                843 CASTLE DR
                                TOMS RIVER, NJ 08753




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $17,056.42
                                                                            Document          Page 209 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31834     ARGO PARTNERS                             Claim 001986, Payment                               5600-000                                  $2,600.00       $12,252,302.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31835     ARGO PARTNERS                             Claim 001987, Payment                               5600-000                                  $2,600.00       $12,249,702.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31836     MARCIA BADLEY                             Claim 001988, Payment                               5600-000                                  $2,600.00       $12,247,102.48
                                                                          100.00000%
                                7386 202nd Road
                                Winfield, KS 67156
   08/27/14           31837     BRIAN CLARK                               Claim 001989, Payment                               5600-000                                  $2,600.00       $12,244,502.48
                                                                          100.00000%
                                2230 N 61st Terrace
                                Hollywood, FL 33024
   08/27/14           31838     LIQUIDITY SOLUTIONS, INC.                 Claim 001990, Payment                               5600-000                                  $1,674.00       $12,242,828.48
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31839     ERIN HOOK                                 Claim 001991, Payment                               5600-000                                     $560.00      $12,242,268.48
                                                                          100.00000%
                                5254 Cherry Run Rd
                                Hedgesville, WV 25427
   08/27/14           31840     LIQUIDITY SOLUTIONS, INC.                 Claim 001992, Payment                               5600-000                                  $2,600.00       $12,239,668.48
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31841     ARGO PARTNERS                             Claim 001993, Payment                               5600-000                                  $2,600.00       $12,237,068.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31842     WILLIAM PA                                Claim 001994, Payment                               5600-000                                     $988.00      $12,236,080.48
                                                                          100.00000%
                                200 Kaiulani Ave. Apt. 303
                                Honolulu, HI 96815




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 210 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31843     ARGO PARTNERS                             Claim 001995, Payment                               5600-000                                  $2,600.00       $12,233,480.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31844     ARGO PARTNERS                             Claim 001996, Payment                               5600-000                                  $2,600.00       $12,230,880.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31845     ARGO PARTNERS                             Claim 001997, Payment                               5600-000                                  $2,600.00       $12,228,280.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31846     ASSET RECOVERY MANAGEMENT,                Claim 001998, Payment                               5600-000                                  $2,600.00       $12,225,680.48
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31847     DAVID CRUZ                                Claim 001999, Payment                               5600-004                                     $220.00      $12,225,460.48
                                                                          100.00000%
                                5065 NW 3rd St Apt B
                                Delray Beach, FL 33445
   08/27/14           31848     HELEN SILO                                Claim 002000, Payment                               5600-000                                  $2,587.00       $12,222,873.48
                                                                          100.00000%
                                2604 Reynier Ave
                                LosAngeles, CA 90034
   08/27/14           31849     DAISY FLORES                              Claim 002001, Payment                               5600-000                                  $2,600.00       $12,220,273.48
                                                                          100.00000%
                                2920 Rollingwood Drive
                                San Pablo, CA 94806
   08/27/14           31850     MARTIN GLICKMAN                           Claim 002002, Payment                               5600-000                                  $2,600.00       $12,217,673.48
                                                                          100.00000%
                                PO Box 6457
                                Silver Spring, MD 20916-6457
   08/27/14           31851     DEBRA JACKSON                             Claim 002003, Payment                               5600-000                                     $324.00      $12,217,349.48
                                                                          100.00000%
                                PO BOX 98530
                                Des Moines, WA 98198




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31852     WILLIAM SINGLETERRY                       Claim 002004, Payment                               5600-000                                  $2,600.00       $12,214,749.48
                                                                          100.00000%
                                319 South Pettit Ave
                                Hominy, OK 74035
   08/27/14           31853     MICHELLE MERRELL                          Claim 002005, Payment                               5600-000                                  $2,600.00       $12,212,149.48
                                                                          100.00000%
                                106 Tree Frog Lane
                                Santa Cruz, CA 95060
   08/27/14           31854     ASSET RECOVERY MANAGEMENT,                Claim 002006, Payment                               5600-000                                  $2,600.00       $12,209,549.48
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31855     PAUL RILEY                                Claim 002007, Payment                               5600-000                                  $2,600.00       $12,206,949.48
                                                                          100.00000%
                                163 Walker Road
                                Conway, AR 72032
   08/27/14           31856     LIQUIDITY SOLUTIONS, INC.                 Claim 002008, Payment                               5600-000                                  $1,050.00       $12,205,899.48
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31857     ADELE YOUNG                               Claim 002009A, Payment                              5600-000                                  $2,600.00       $12,203,299.48
                                                                          100.00000%
                                1662 Baysden Court
                                Fayetteville, NC 28303
   08/27/14           31858     SHARON JOHNSON                            Claim 002010, Payment                               5600-000                                     $981.00      $12,202,318.48
                                                                          100.00000%
                                5986 Fairington Farms Ln
                                Lithonia, GA 30038
   08/27/14           31859     MELANIE HALLAUER                          Claim 002011, Payment                               5600-000                                  $2,001.00       $12,200,317.48
                                                                          100.00000%
                                6540 Old Mill Ln
                                Monroe, GA 30655
   08/27/14           31860     ARGO PARTNERS                             Claim 002012A, Payment                              5600-000                                  $2,600.00       $12,197,717.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31861     JIM KORDZIKOWSKI                          Claim 002013, Payment                               5600-000                                  $2,600.00       $12,195,117.48
                                                                          100.00000%
                                47 Mott Road
                                Blairstown, NJ 07825
   08/27/14           31862     SECOND CHANCE CREDIT                      Claim 002014, Payment                               5600-000                                  $1,035.00       $12,194,082.48
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31863     WALTER WILLIAMS                           Claim 002015, Payment                               5600-000                                     $528.00      $12,193,554.48
                                                                          100.00000%
                                20-04 Seagirt Blvd Apt 2E
                                Farrockaway, NY 11691
   08/27/14           31864     JANE FRAUSTO                              Claim 002016, Payment                               5600-000                                     $344.00      $12,193,210.48
                                                                          100.00000%
                                1305 S E 16 th Avenue
                                Amarillo, TX 79102
   08/27/14           31865     ALEX STAS                                 Claim 002017, Payment                               5600-000                                  $2,600.00       $12,190,610.48
                                                                          100.00000%
                                910 Speake Road NW
                                Huntsville, AL 35816-3532
   08/27/14           31866     DEBBIE WILCOX                             Claim 002018, Payment                               5600-000                                  $2,600.00       $12,188,010.48
                                                                          100.00000%
                                108 Tarlton Court
                                Cherry Hll, NJ 08034
   08/27/14           31867     ARGO PARTNERS                             Claim 002019, Payment                               5600-000                                  $2,600.00       $12,185,410.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31868     MERIAM KELTON                             Claim 002020, Payment                               5600-000                                  $1,767.00       $12,183,643.48
                                                                          100.00000%
                                17 Corcoran Street
                                Randolph, MA 02368
   08/27/14           31869     ANGELA SCHMIDT                            Claim 002021, Payment                               5600-000                                  $2,600.00       $12,181,043.48
                                                                          100.00000%
                                2130 Glenlock Drive
                                Deltona, FL 32725




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 213 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31870     ARGO PARTNERS                             Claim 002022, Payment                               5600-000                                  $2,600.00       $12,178,443.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31871     DEANNA DOHERTY                            Claim 002023, Payment                               5600-000                                  $2,600.00       $12,175,843.48
                                                                          100.00000%
                                20445 Holyoake Ave
                                Lalkeville, MN 55044
   08/27/14           31872     MARY CHICKOS                              Claim 002025, Payment                               5600-000                                     $695.00      $12,175,148.48
                                                                          100.00000%
                                2980 Clearview Drive
                                St. Louis, MO 63121
   08/27/14           31873     FRANCOISE KURKOWSKI                       Claim 002026, Payment                               5600-000                                     $880.00      $12,174,268.48
                                                                          100.00000%
                                24925 West Cedar Lake Drive
                                New Prague, MN 56071
   08/27/14           31874     SECOND CHANCE CREDIT                      Claim 002027, Payment                               5600-000                                     $814.00      $12,173,454.48
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           31875     RAQUEL SANDERS                            Claim 002028, Payment                               5600-000                                     $323.00      $12,173,131.48
                                                                          100.00000%
                                23310 E County 9th Street
                                Welton, AZ 85356
   08/27/14           31876     BONITA FOUST                              Claim 002029, Payment                               5600-000                                  $2,600.00       $12,170,531.48
                                                                          100.00000%
                                4326 West Old Stone Road
                                Peru, IN 46970
   08/27/14           31877     JOHN EKIERT                               Claim 002030, Payment                               5600-000                                  $2,600.00       $12,167,931.48
                                                                          100.00000%
                                6136 Southern Hills Ct
                                Canfield, OH 44406
   08/27/14           31878     ROBERT NECKRITZ                           Claim 002031, Payment                               5600-000                                  $2,135.00       $12,165,796.48
                                                                          100.00000%
                                460 South Livermore Ave
                                Livermore, CA 94550




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           31879     JUAN RODRIGUEZ                           Claim 002032, Payment                               5600-000                                  $2,600.00       $12,163,196.48
                                                                         100.00000%
                                1336 W Angelina St Apt 326
                                Los Angeles, CA 90026
   08/27/14           31880     DAVID DECOURSEY                          Claim 002033, Payment                               5600-004                                  $1,549.00       $12,161,647.48
                                                                         100.00000%
                                CO DONN G DECOURSEY
                                3336 PINERIDGE PL
                                FORT COLLINS, CO 80525
   08/27/14           31881     ASSET RECOVERY MANAGEMENT,               Claim 002034, Payment                               5600-000                                  $2,600.00       $12,159,047.48
                                LLC                                      100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31882     ROBERTA LOWE NORMAN                      Claim 002035A, Payment                              5600-000                                  $1,525.00       $12,157,522.48
                                                                         100.00000%
                                3406 Lost Tree Terrace
                                Columbia, MO 65202
   08/27/14           31883     ASSET RECOVERY MANAGEMENT,               Claim 002036, Payment                               5600-000                                  $2,600.00       $12,154,922.48
                                LLC                                      100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31884     AMELIA GONCALVES                         Claim 002037, Payment                               5600-000                                     $818.00      $12,154,104.48
                                                                         100.00000%
                                424 1st Street
                                Mineola, NY 11501
   08/27/14           31885     MARIE GOMES                              Claim 002039, Payment                               5600-000                                  $2,600.00       $12,151,504.48
                                                                         100.00000%
                                100 Water Street Apt19
                                Stoughton, MA 02072
   08/27/14           31886     RICHARD ROY                              Claim 002040, Payment                               5600-000                                  $2,600.00       $12,148,904.48
                                                                         100.00000%
                                3 EAGLE CT
                                HOWELL, NJ 07731-2000
   08/27/14           31887     KWASI TWUM                               Claim 002041, Payment                               5600-000                                  $2,600.00       $12,146,304.48
                                                                         100.00000%
                                1664 North Vine APTG02
                                Chicago, IL 60614


                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $19,492.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31888     AARON MAASS                               Claim 002042, Payment                               5600-000                                     $374.00      $12,145,930.48
                                                                          100.00000%
                                PO Box 2678
                                Gardena, CA 90247-0678
   08/27/14           31889     ARGO PARTNERS                             Claim 002043, Payment                               5600-000                                  $2,600.00       $12,143,330.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31890     LIQUIDITY SOLUTIONS, INC.                 Claim 002044, Payment                               5600-000                                  $1,776.00       $12,141,554.48
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31891     MICHAEL LUNA                              Claim 002045, Payment                               5600-000                                  $2,600.00       $12,138,954.48
                                                                          100.00000%
                                1037 W. Santee Hwy
                                Charlotte, MI 48813
   08/27/14           31892     SUSAN SPEARS                              Claim 002046, Payment                               5600-000                                  $2,600.00       $12,136,354.48
                                2181 Valleywood DriveSan Bruno, CA        100.00000%
                                94066
   08/27/14           31893     ARGO PARTNERS                             Claim 002047, Payment                               5600-000                                  $2,600.00       $12,133,754.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31894     JESSIE SMITH                              Claim 002048, Payment                               5600-000                                  $2,600.00       $12,131,154.48
                                                                          100.00000%
                                47E River Band
                                Broxton, GA 31519
   08/27/14           31895     LIQUIDITY SOLUTIONS, INC.                 Claim 002049A, Payment                              5600-000                                  $2,413.00       $12,128,741.48
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31896     ANDREW KEMP                               Claim 002050, Payment                               5600-000                                     $325.00      $12,128,416.48
                                                                          100.00000%
                                5440 S Maple City Rd
                                Maple City, MI 49664
   08/27/14           31897     ARGO PARTNERS                             Claim 002051, Payment                               5600-000                                  $2,600.00       $12,125,816.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31898     JOHN ECKERT                               Claim 002052, Payment                               5600-000                                     $560.00      $12,125,256.48
                                                                          100.00000%
                                23164 Old Inlet Bridge Drive
                                Boca Raton, FL 33433
   08/27/14           31899     JOSEPH PAUL                               Claim 002053, Payment                               5600-000                                  $2,268.00       $12,122,988.48
                                                                          100.00000%
                                1406 Kirkland Rd
                                Old Town, ME 04468
   08/27/14           31900     ANTHONY MOONEY                            Claim 002054, Payment                               5600-004                                     $677.00      $12,122,311.48
                                                                          100.00000%
                                225 36TH AVE NE
                                ST PETERSBURG, FL 33704
   08/27/14           31901     ARGO PARTNERS                             Claim 002055, Payment                               5600-000                                  $1,529.00       $12,120,782.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31902     CATHY SECOR                               Claim 002056, Payment                               5600-000                                  $2,600.00       $12,118,182.48
                                                                          100.00000%
                                6419 45th Street North
                                Saint Paul, MN 55128
   08/27/14           31903     ASSET RECOVERY MANAGEMENT,                Claim 002057, Payment                               5600-000                                  $2,600.00       $12,115,582.48
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31904     ARGO PARTNERS                             Claim 002058A, Payment                              5600-000                                  $2,600.00       $12,112,982.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31905     ARGO PARTNERS                             Claim 002059, Payment                               5600-000                                  $2,600.00       $12,110,382.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31906     ARGO PARTNERS                             Claim 002060, Payment                               5600-000                                  $2,600.00       $12,107,782.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31907     TODD MCANDREWS                            Claim 002061, Payment                               5600-004                                  $1,029.00       $12,106,753.48
                                                                          100.00000%
                                6511 W. 8th Pl
                                Los Angeles, CA 90045
   08/27/14           31908     ASSET RECOVERY MANAGEMENT,                Claim 002062, Payment                               5600-000                                  $2,600.00       $12,104,153.48
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31909     ERLYN IRAN                                Claim 002063, Payment                               5600-000                                     $763.00      $12,103,390.48
                                                                          100.00000%
                                102 Old Stage Road
                                East Brunswick, NJ 08816
   08/27/14           31910     ANDREW TILTON                             Claim 002064, Payment                               5600-000                                     $487.00      $12,102,903.48
                                                                          100.00000%
                                96 Trotting Track Road
                                Wolfeboro, NH 03894
   08/27/14           31911     VERONICA MOON                             Claim 002065, Payment                               5600-000                                     $275.00      $12,102,628.48
                                                                          100.00000%
                                883 Washington St. Apt 1
                                Dorchester, MA 02124
   08/27/14           31912     MARY ANN KUGLER                           Claim 002066, Payment                               5600-000                                     $524.00      $12,102,104.48
                                                                          100.00000%
                                8220 Maple Drive
                                Buena Park, CA 90620
   08/27/14           31913     JUNAID ASRAR                              Claim 002067, Payment                               5600-000                                  $2,600.00       $12,099,504.48
                                                                          100.00000%
                                PO Box 118
                                Florida, NY 10921
   08/27/14           31914     HELEN SALOUROU                            Claim 002068, Payment                               5600-000                                     $317.00      $12,099,187.48
                                                                          100.00000%
                                53-11 90th St. Apt. 7-H
                                Elmhurst, NY 11373
   08/27/14           31915     SYLVIA CORDELL                            Claim 002069, Payment                               5600-000                                  $1,828.00       $12,097,359.48
                                                                          100.00000%
                                546 Kennesaw Road
                                Harmony, NC 28634




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           31916     STEVE WILLIAMS                            Claim 002070, Payment                               5600-000                                  $1,731.00      $12,095,628.48
                                                                          100.00000%
                                1925 Hickory Station Cir.
                                Snellvill, GA 30078
   08/27/14           31917     CHARLES LAUVER                            Claim 002071, Payment                               5600-000                                  $2,025.00      $12,093,603.48
                                                                          100.00000%
                                26142 Pond View Lane
                                Windsor, VA 23487
   08/27/14           31918     LIQUIDITY SOLUTIONS, INC.                 Claim 002072, Payment                               5600-000                                  $2,600.00      $12,091,003.48
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31919     ASSET RECOVERY MANAGEMENT,                Claim 002073, Payment                               5600-000                                  $2,600.00      $12,088,403.48
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike, Road, AL 36064
   08/27/14           31920     LOUISE LEE                                Claim 002074, Payment                               5600-000                                  $1,841.00      $12,086,562.48
                                                                          100.00000%
                                111 West St. Apt 1B
                                Englewood, NJ 07631
   08/27/14           31921     DOROTHY JOHNSON                           Claim 002075, Payment                               5600-000                                  $2,600.00      $12,083,962.48
                                                                          100.00000%
                                700 Bruce Lane Unit 616
                                Glenwood, IL 60425
   08/27/14           31922     ESLEIDEN CONFEITEIRO                      Claim 002076, Payment                               5600-000                                  $2,600.00      $12,081,362.48
                                                                          100.00000%
                                71 Tavern Rock Rd
                                Stratford, CT 06614
   08/27/14           31923     ARGO PARTNERS                             Claim 002077, Payment                               5600-000                                  $2,600.00      $12,078,762.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31924     MICHAEL MILLER                            Claim 002078, Payment                               5600-000                                  $2,600.00      $12,076,162.48
                                                                          100.00000%
                                2223 Four Seasons Trail
                                Miamisburg, OH 45342




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31925     JAMES SANFORD                             Claim 002079, Payment                               5600-000                                  $2,600.00       $12,073,562.48
                                                                          100.00000%
                                311 Alexander Rd
                                Mount Pleasant, TX 75455
   08/27/14           31926     ARGO PARTNERS                             Claim 002080, Payment                               5600-000                                  $2,600.00       $12,070,962.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31927     CLEOPHAT TANIS                            Claim 002081, Payment                               5600-000                                     $329.00      $12,070,633.48
                                                                          100.00000%
                                717 PALM SPRINGS BLVD APT B
                                NAPLES, FL 34104-9612
   08/27/14           31928     MONICA THOMAS                             Claim 002083, Payment                               5600-000                                  $2,300.00       $12,068,333.48
                                                                          100.00000%
                                502 South West Indian Key Drive
                                Port Saint Lucie, FL 34986
   08/27/14           31929     MARTINA HOEY                              Claim 002084, Payment                               5600-000                                  $2,600.00       $12,065,733.48
                                                                          100.00000%
                                PO Box 68
                                Pinehurst, MA 01866
   08/27/14           31930     JONATHAN GAGNON                           Claim 002085, Payment                               5600-000                                  $1,586.00       $12,064,147.48
                                                                          100.00000%
                                31 Grant St Apt 1
                                Liberty, NY 12754
   08/27/14           31931     DAWN STRAUSER                             Claim 002086, Payment                               5600-004                                  $2,469.00       $12,061,678.48
                                                                          100.00000%
                                PO Box 585
                                Salem, AR 72576
   08/27/14           31932     CONNIE STRAUSER                           Claim 002087, Payment                               5600-004                                  $2,305.00       $12,059,373.48
                                                                          100.00000%
                                PO Box 585
                                Salem, AR 72576
   08/27/14           31933     RICHARD GUYER                             Claim 002088, Payment                               5600-004                                  $2,600.00       $12,056,773.48
                                                                          100.00000%
                                PO Box 55
                                West Lynn, MA 01905




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31934     STACY KENNEDY                             Claim 002089, Payment                               5600-000                                     $958.00      $12,055,815.48
                                                                          100.00000%
                                5 W Victory Rd
                                Martins Ferry, OH 43935
   08/27/14           31935     ARGO PARTNERS                             Claim 002090, Payment                               5600-000                                  $2,600.00       $12,053,215.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31936     ASSET RECOVERY MANAGEMENT,                Claim 002091, Payment                               5600-000                                  $2,600.00       $12,050,615.48
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           31937     ARGO PARTNERS                             Claim 002092, Payment                               5600-000                                  $2,600.00       $12,048,015.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31938     CHERYL GILBERT                            Claim 002093, Payment                               5600-000                                  $2,600.00       $12,045,415.48
                                                                          100.00000%
                                PO Box 606
                                Onalaska, WA 98570
   08/27/14           31939     CHRISTINA PILLADO                         Claim 002094, Payment                               5600-000                                     $720.00      $12,044,695.48
                                                                          100.00000%
                                15885 Juniper Road
                                La Pine, OR 97739
   08/27/14           31940     CHRISTINA ROBERTS                         Claim 002095, Payment                               5600-000                                     $623.00      $12,044,072.48
                                                                          100.00000%
                                PO Box 2092
                                Valley Center, CA 92083-2092
   08/27/14           31941     HARUNA YAKUBU                             Claim 002096, Payment                               5600-000                                  $1,985.00       $12,042,087.48
                                                                          100.00000%
                                903 Summit Ave. Apt 5-H
                                Bronx, NY 10452
   08/27/14           31942     LIQUIDITY SOLUTIONS, INC.                 Claim 002097, Payment                               5600-000                                  $1,821.00       $12,040,266.48
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31943     LIQUIDITY SOLUTIONS, INC.                 Claim 002098, Payment                               5600-000                                  $2,600.00       $12,037,666.48
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31944     LIQUIDITY SOLUTIONS, INC.                 Claim 002099, Payment                               5600-000                                  $2,393.00       $12,035,273.48
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31945     SANDRA GOEBEL                             Claim 002100A, Payment                              5600-000                                     $237.00      $12,035,036.48
                                                                          100.00000%
                                10300 City Walk Dr. Unit 432
                                Woodbury, MN 55129
   08/27/14           31946     PETER PRINCE                              Claim 002101, Payment                               5600-000                                     $934.00      $12,034,102.48
                                                                          100.00000%
                                4 Indian Trail
                                Medford, NJ 08055
   08/27/14           31947     ARGO PARTNERS                             Claim 002102, Payment                               5600-000                                  $2,600.00       $12,031,502.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31948     PAUL LEGAJ                                Claim 002103, Payment                               5600-000                                  $1,949.00       $12,029,553.48
                                                                          100.00000%
                                4487 Tharrington Road
                                Rocky Mount, NC 27804
   08/27/14           31949     JASON SMALL                               Claim 002104, Payment                               5600-000                                     $203.00      $12,029,350.48
                                                                          100.00000%
                                5635 Beverly Hills Drive, Apt E
                                Columbus, OH 43213
   08/27/14           31950     HOWARD COLLINS                            Claim 002105, Payment                               5600-000                                  $1,888.00       $12,027,462.48
                                                                          100.00000%
                                W11133 Christman Rd Lot 2
                                Bruce, WI 54819
   08/27/14           31951     SECOND CHANCE CREDIT                      Claim 002106A, Payment                              5600-000                                     $725.00      $12,026,737.48
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124




                                    Case 10-30631                 Doc 5751     Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $13,529.00
                                                                             Document          Page 222 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31952     FRANK GLASSER                             Claim 002107, Payment                               5600-000                                     $584.00      $12,026,153.48
                                                                          100.00000%
                                15 Jefferson Ave
                                Rensselear, NY 12144
   08/27/14           31953     JULIE BILLMEYER                           Claim 002108, Payment                               5600-000                                     $443.00      $12,025,710.48
                                                                          100.00000%
                                21764 Brunswick Dr.
                                Woodhaven, MI 48183
   08/27/14           31954     ARGO PARTNERS                             Claim 002110, Payment                               5600-000                                  $2,600.00       $12,023,110.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31955     ARGO PARTNERS                             Claim 002111, Payment                               5600-000                                  $2,600.00       $12,020,510.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31956     STEPHINE SWEENEY                          Claim 002112, Payment                               5600-000                                     $288.00      $12,020,222.48
                                                                          100.00000%
                                3534 Gatling Ave. Apt. A
                                Norfolk, VA 23502
   08/27/14           31957     VERLENA JACKSON                           Claim 002113, Payment                               5600-000                                  $1,789.00       $12,018,433.48
                                                                          100.00000%
                                2826 Murray St
                                Monroe, LA 71202
   08/27/14           31958     CHARISSA KUCERA                           Claim 002114, Payment                               5600-004                                  $2,600.00       $12,015,833.48
                                                                          100.00000%
                                12528 35TH AVE NE APT C305
                                Seattle, WA 98125
   08/27/14           31959     LAURA JOHNSON                             Claim 002115, Payment                               5600-000                                     $859.00      $12,014,974.48
                                                                          100.00000%
                                3619 Somerset Avenue
                                Castro Valley, CA 94546
   08/27/14           31960     CARRIE GARVIN                             Claim 002116, Payment                               5600-000                                  $2,600.00       $12,012,374.48
                                                                          100.00000%
                                38 Colleen Street
                                Newark, NJ 07106




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $14,363.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           31961     ALBERTA GRAHAM                            Claim 002117, Payment                               5600-000                                  $2,600.00      $12,009,774.48
                                                                          100.00000%
                                1538 Picquet Ave
                                Augusta, GA 30901
   08/27/14           31962     CHARLES RINK                              Claim 002118, Payment                               5600-000                                  $2,600.00      $12,007,174.48
                                                                          100.00000%
                                11983 First Avenue
                                Cincinnati, OH 45249
   08/27/14           31963     ARGO PARTNERS                             Claim 002119A, Payment                              5600-000                                  $2,600.00      $12,004,574.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31964     ARGO PARTNERS                             Claim 002120, Payment                               5600-000                                  $2,600.00      $12,001,974.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31965     NOHORA MENAY                              Claim 002121, Payment                               5600-000                                  $2,600.00      $11,999,374.48
                                                                          100.00000%
                                49 Valerie Drive FL 2
                                Yonkers, NY 10703
   08/27/14           31966     KEN SHUMAKE                               Claim 002122, Payment                               5600-000                                  $2,600.00      $11,996,774.48
                                                                          100.00000%
                                4003 Seibert Avenue
                                Saint Louis, MO 63123
   08/27/14           31967     ARGO PARTNERS                             Claim 002123, Payment                               5600-000                                  $2,600.00      $11,994,174.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31968     ARGO PARTNERS                             Claim 002124, Payment                               5600-000                                  $2,600.00      $11,991,574.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31969     ARGO PARTNERS                             Claim 002125, Payment                               5600-000                                  $2,600.00      $11,988,974.48
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31970     DAVID CORNELL                             Claim 002128, Payment                               5600-000                                  $1,749.87       $11,987,224.61
                                                                          100.00000%
                                1021 NE 15th St
                                Cape Coral, FL 33909
   08/27/14           31971     UMILTA SMITH                              Claim 002130, Payment                               5600-000                                  $2,600.00       $11,984,624.61
                                                                          100.00000%
                                2270 Ashton Dr
                                Roswell, GA 30076-4231
   08/27/14           31972     ROBERT HEBERT                             Claim 002131, Payment                               5600-000                                  $2,600.00       $11,982,024.61
                                                                          100.00000%
                                6101 N Bolton Lot 59
                                Alexandria, LA 71303
   08/27/14           31973     ARGO PARTNERS                             Claim 002133, Payment                               5600-000                                  $2,600.00       $11,979,424.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31974     ARGO PARTNERS                             Claim 002136, Payment                               5600-000                                  $2,600.00       $11,976,824.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31975     GASTON LAFORTUNE                          Claim 002138, Payment                               5600-000                                  $2,600.00       $11,974,224.61
                                                                          100.00000%
                                2 Lamoille Avenue
                                Bradford, MA 01835
   08/27/14           31976     BRUCE ARISTEO                             Claim 002139, Payment                               5600-000                                     $385.00      $11,973,839.61
                                                                          100.00000%
                                1640 Nixon Dr Ste 272
                                Moorestown, NJ 08057
   08/27/14           31977     CHARMAINE SLACK                           Claim 002141, Payment                               5600-000                                     $801.00      $11,973,038.61
                                                                          100.00000%
                                1562 Birch Log Place
                                Austell, GA 30168
   08/27/14           31978     ASMA AHMED                                Claim 002142, Payment                               5600-000                                  $2,600.00       $11,970,438.61
                                                                          100.00000%
                                4112 Crawford Court
                                Bridgewater, NJ 08807




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31979     MARIA AND CHARLES K DOSS                  Claim 002143A, Payment                              5600-000                                  $1,023.00       $11,969,415.61
                                                                          100.00000%
                                5760 PONTIAC RD
                                VIRGINIA BEACH, VA 23462
   08/27/14           31980     LAURA CRIM                                Claim 002144, Payment                               5600-000                                  $2,600.00       $11,966,815.61
                                                                          100.00000%
                                PO Box 580
                                Mont Alto, PA 17237
   08/27/14           31981     ARGO PARTNERS                             Claim 002145, Payment                               5600-000                                  $2,600.00       $11,964,215.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31982     ESTHER PARKER                             Claim 002146, Payment                               5600-000                                     $833.00      $11,963,382.61
                                                                          100.00000%
                                5476 Green Dory Ln
                                Columbia, MD 21044
   08/27/14           31983     KELLY GREGORICH                           Claim 002147, Payment                               5600-000                                     $587.00      $11,962,795.61
                                                                          100.00000%
                                M605 Birch Ct.
                                Marshfield, WI 54449
   08/27/14           31984     ARGO PARTNERS                             Claim 002148, Payment                               5600-000                                  $2,600.00       $11,960,195.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31985     MARY FEEHAN                               Claim 002149, Payment                               5600-000                                     $232.00      $11,959,963.61
                                                                          100.00000%
                                90 Beekman Street Apt 5C
                                New York, NY 10038
   08/27/14           31986     LIQUIDITY SOLUTIONS, INC.                 Claim 002150, Payment                               5600-000                                  $2,600.00       $11,957,363.61
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31987     HUGO HERNANDEZ                            Claim 002153, Payment                               5600-000                                     $272.00      $11,957,091.61
                                                                          100.00000%
                                2801 15th St. NW Apt. 408
                                Washington, DC 20009




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                                                                             Document          Page 226 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31988     JOCELYN DIGAL                             Claim 002154, Payment                               5600-000                                  $1,470.00       $11,955,621.61
                                                                          100.00000%
                                410 Wedgewood Drive
                                Turnersville, NJ 08012
   08/27/14           31989     LIQUIDITY SOLUTIONS, INC.                 Claim 002155, Payment                               5600-000                                  $1,090.00       $11,954,531.61
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           31990     BRUNO DISANTE                             Claim 002156, Payment                               5600-000                                  $2,600.00       $11,951,931.61
                                                                          100.00000%
                                1540 Westwood Avenue
                                Columbus, OH 43212
   08/27/14           31991     GWENN MONTAGNINO                          Claim 002157, Payment                               5600-000                                     $554.00      $11,951,377.61
                                                                          100.00000%
                                22 River Road
                                Montague, NJ 07827
   08/27/14           31992     ROY HESTAND                               Claim 002158, Payment                               5600-004                                     $350.00      $11,951,027.61
                                                                          100.00000%
                                2310 MARSELL RD
                                Whitehall, AR 71602
   08/27/14           31993     BERTHA HUGHES                             Claim 002159, Payment                               5600-000                                     $259.00      $11,950,768.61
                                                                          100.00000%
                                1695 Derwin Brown Lane
                                Decator, GA 30035
   08/27/14           31994     AJA ENRIQUEZ                              Claim 002160, Payment                               5600-000                                     $821.00      $11,949,947.61
                                                                          100.00000%
                                1469 Casa Vista Drive
                                Pomona, CA 91768
   08/27/14           31995     ARGO PARTNERS                             Claim 002161A, Payment                              5600-000                                  $2,600.00       $11,947,347.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31996     PAMELA JACOBS                             Claim 002162, Payment                               5600-000                                  $2,325.00       $11,945,022.61
                                                                          100.00000%
                                943 North Defiance Street
                                Ottawa, OH 45875




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           31997     ARGO PARTNERS                             Claim 002163A, Payment                              5600-000                                  $2,600.00       $11,942,422.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           31998     AUNDRAY CUMMINGS                          Claim 002164, Payment                               5600-000                                     $219.00      $11,942,203.61
                                                                          100.00000%
                                344 Leland Street
                                Jacksonville, FL 32254
   08/27/14           31999     SOFIA RIVERA                              Claim 002165, Payment                               5600-000                                     $297.00      $11,941,906.61
                                                                          100.00000%
                                PO Box 2121
                                Aibonito, PR 00705
   08/27/14           32000     ARGO PARTNERS                             Claim 002166, Payment                               5600-000                                  $2,600.00       $11,939,306.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32001     RAFAEL MONTOYA                            Claim 002167, Payment                               5600-000                                  $2,600.00       $11,936,706.61
                                                                          100.00000%
                                1609 HARGROVE ST
                                ANTIOCH, CA 94509
   08/27/14           32002     ALTHEA TANGCO                             Claim 002168, Payment                               5600-000                                     $264.00      $11,936,442.61
                                                                          100.00000%
                                6853 Quinton Lane
                                Tujunga, CA 91042
   08/27/14           32003     ROBIN COOMBS                              Claim 002169, Payment                               5600-000                                   $1,611.00      $11,934,831.61
                                                                          100.00000%
                                36 Russell Hill Rd
                                Bucksport, ME 04416
   08/27/14           32004     DONALD FINLEY                             Claim 002170, Payment                               5600-000                                  $1,624.00       $11,933,207.61
                                                                          100.00000%
                                PO BOX 224
                                Mary Esther, FL 32569
   08/27/14           32005     ARGO PARTNERS                             Claim 002171, Payment                               5600-000                                  $2,600.00       $11,930,607.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32006     RICHARD WILLIAMS                          Claim 002172, Payment                               5600-000                                  $2,600.00       $11,928,007.61
                                                                          100.00000%
                                PO Box 547
                                Ruleville, MS 38771
   08/27/14           32007     ARGO PARTNERS                             Claim 002173, Payment                               5600-000                                  $2,600.00       $11,925,407.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32008     SARAH CLARK                               Claim 002174, Payment                               5600-000                                  $2,600.00       $11,922,807.61
                                1140 Birch Hill DriveKernersville, NC     100.00000%
                                27284
   08/27/14           32009     JULI R PIPPERT                            Claim 002175, Payment                               5600-000                                  $2,600.00       $11,920,207.61
                                                                          100.00000%
                                1401 CLARK ST
                                DYSART, IA 52224
   08/27/14           32010     LISA ZERRENNER                            Claim 002176A, Payment                              5600-000                                  $2,600.00       $11,917,607.61
                                                                          100.00000%
                                90 Palmetto Dr
                                Shirley, NY 11967
   08/27/14           32011     MICHAEL HIGA                              Claim 002177, Payment                               5600-000                                  $2,399.00       $11,915,208.61
                                                                          100.00000%
                                2817 W. 170th Street
                                Torrance, CA 90504
   08/27/14           32012     DEANNA SCOTT                              Claim 002178, Payment                               5600-000                                     $713.00      $11,914,495.61
                                                                          100.00000%
                                137 Inland Beach rd
                                Lucedale, MS 39452
   08/27/14           32013     JENNIFER ROBINSON                         Claim 002179, Payment                               5600-000                                     $819.00      $11,913,676.61
                                                                          100.00000%
                                160 Eliada Home Rd
                                Asheville, NC 28806
   08/27/14           32014     ARGO PARTNERS                             Claim 002180, Payment                               5600-000                                  $2,600.00       $11,911,076.61
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           32015     RONALD PORTZER                            Claim 002181, Payment                               5600-000                                  $2,600.00       $11,908,476.61
                                                                          100.00000%
                                900 Highway 78 East Suite 101
                                Jasper, AL 35501



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32016     JEFFREY TYLO                              Claim 002182, Payment                               5600-000                                     $268.00      $11,908,208.61
                                                                          100.00000%
                                1357 Molner Court
                                Ypsilanti, MI 48198
   08/27/14           32017     ARGO PARTNERS                             Claim 002183, Payment                               5600-000                                  $2,600.00       $11,905,608.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32018     SANDY DELGADO                             Claim 002185, Payment                               5600-000                                  $2,600.00       $11,903,008.61
                                                                          100.00000%
                                1261 Mariposa Dr
                                Denver, CO 80221
   08/27/14           32019     PHILLIP CHEN                              Claim 002186, Payment                               5600-000                                     $829.00      $11,902,179.61
                                2226 Sleepy Hollow Ave.Hayward, CA        100.00000%
                                94545
   08/27/14           32020     MARISA PINTO                              Claim 002187, Payment                               5600-000                                  $2,600.00       $11,899,579.61
                                                                          100.00000%
                                2070 Swan Drive
                                Costa Mesa, CA 92626
   08/27/14           32021     JOHN STAWORSKI                            Claim 002188, Payment                               5600-004                                  $2,563.00       $11,897,016.61
                                                                          100.00000%
                                3053 Yorktown Circle
                                Ft Walton Beach, FL 32547
   08/27/14           32022     ARGO PARTNERS                             Claim 002189, Payment                               5600-000                                  $2,600.00       $11,894,416.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32023     ARGO PARTNERS                             Claim 002190, Payment                               5600-000                                  $2,600.00       $11,891,816.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32024     BURCY HINES                               Claim 002191, Payment                               5600-000                                  $1,568.00       $11,890,248.61
                                                                          100.00000%
                                1221 Fair Oaks Ave.
                                Oak Park, IL 60302
   08/27/14           32025     MILA VITAN                                Claim 002192, Payment                               5600-000                                  $2,600.00       $11,887,648.61
                                                                          100.00000%
                                15 Aspen CT
                                Monmouth Jct, NJ 08852


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $20,828.00
                                                                             Document          Page 230 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32026     ASSET RECOVERY MANAGEMENT,                Claim 002193, Payment                               5600-000                                  $2,600.00       $11,885,048.61
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32027     ARGO PARTNERS                             Claim 002194, Payment                               5600-000                                  $2,600.00       $11,882,448.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32028     LIQUIDITY SOLUTIONS, INC.                 Claim 002195, Payment                               5600-000                                  $2,600.00       $11,879,848.61
                                                                          100.00000%
                                One University Plaza
                                Suite 312
                                Hackensack, NJ 07601
   08/27/14           32029     JARHONDA PERKINS                          Claim 002196, Payment                               5600-004                                     $514.00      $11,879,334.61
                                                                          100.00000%
                                4949 STUMBERG LN APT 238
                                BATON ROUGE, LA 70816
   08/27/14           32030     SECOND CHANCE CREDIT                      Claim 002197, Payment                               5600-000                                  $2,350.00       $11,876,984.61
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32031     ORGILIA THIEBAUD                          Claim 002198, Payment                               5600-000                                  $2,600.00       $11,874,384.61
                                                                          100.00000%
                                3800 South Ocean Drive Apt 724
                                Hollywood, FL 33019
   08/27/14           32032     LORRAINE FERRARA                          Claim 002199, Payment                               5600-000                                  $2,600.00       $11,871,784.61
                                                                          100.00000%
                                5 Pattie Lane
                                Oak Ridge, NJ 07438
   08/27/14           32033     ASSET RECOVERY MANAGEMENT,                Claim 002200A, Payment                              5600-000                                  $2,600.00       $11,869,184.61
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $18,464.00
                                                                             Document          Page 231 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32034     LIQUIDITY SOLUTIONS, INC.                 Claim 002202, Payment                               5600-000                                  $2,600.00       $11,866,584.61
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32035     ESTELLA SANCHEZ                           Claim 002203, Payment                               5600-000                                  $2,600.00       $11,863,984.61
                                                                          100.00000%
                                1360 South Montebello Blvd
                                Montebello, CA 90640
   08/27/14           32036     RICHARD GROOMS                            Claim 002204, Payment                               5600-004                                     $300.00      $11,863,684.61
                                                                          100.00000%
                                2140 N Main St. Lot 5
                                Summerville, SC 29483
   08/27/14           32037     SUSAN TAGER                               Claim 002205A, Payment                              5600-004                                     $300.00      $11,863,384.61
                                                                          100.00000%
                                2140 N Main St Lot 5
                                Summerville, SC 29483
   08/27/14           32038     ASSET RECOVERY MANAGEMENT,                Claim 002206, Payment                               5600-000                                  $2,600.00       $11,860,784.61
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32039     MANUEL JESUS                              Claim 002207, Payment                               5600-000                                  $2,600.00       $11,858,184.61
                                                                          100.00000%
                                59 Washington Street
                                PMB #156
                                Santa Clara, CA 95050
   08/27/14           32040     JOSEPH ZDRAVECKY                          Claim 002208, Payment                               5600-000                                     $601.00      $11,857,583.61
                                                                          100.00000%
                                333 Manown St.
                                Monessen, PA 15062
   08/27/14           32041     JAMES MCKINNEY                            Claim 002209, Payment                               5600-000                                  $2,600.00       $11,854,983.61
                                                                          100.00000%
                                765 Shorter Terrace NW
                                Atlanta, GA 30318
   08/27/14           32042     JAMES SECOR                               Claim 002210, Payment                               5600-000                                  $2,600.00       $11,852,383.61
                                                                          100.00000%
                                6130 Monterey Highway, SPC 79
                                San Jose, CA 95138



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32043     ASSET RECOVERY MANAGEMENT,                Claim 002211, Payment                               5600-000                                  $2,600.00       $11,849,783.61
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32044     JUNE WITTY                                Claim 002212, Payment                               5600-000                                  $2,600.00       $11,847,183.61
                                                                          100.00000%
                                11 Longview Dr
                                Towaco, NJ 07082
   08/27/14           32045     LINDA GALLAND                             Claim 002213, Payment                               5600-000                                     $927.00      $11,846,256.61
                                                                          100.00000%
                                6440 Villa Drive
                                Sacramento, CA 95842
   08/27/14           32046     JIM SICILIANO                             Claim 002214A, Payment                              5600-000                                     $339.00      $11,845,917.61
                                                                          100.00000%
                                8226 Sheed Rd
                                Cincinnati, OH 45247
   08/27/14           32047     ARGO PARTNERS                             Claim 002215, Payment                               5600-000                                  $2,600.00       $11,843,317.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32048     JESSIE SIMON                              Claim 002217A, Payment                              5600-000                                  $2,600.00       $11,840,717.61
                                                                          100.00000%
                                27064 Howard Street
                                Sun City, CA 92586
   08/27/14           32049     LIQUIDITY SOLUTIONS, INC.                 Claim 002218, Payment                               5600-000                                  $1,913.00       $11,838,804.61
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32050     ARGO PARTNERS                             Claim 002219, Payment                               5600-000                                  $2,600.00       $11,836,204.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32051     EDWARD AKERS                              Claim 002220, Payment                               5600-000                                     $775.00      $11,835,429.61
                                                                          100.00000%
                                434 S. Main St.
                                Sullivan, IN 47882




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32052     STEPHANIE DRIGGERS                        Claim 002221, Payment                               5600-000                                  $2,600.00       $11,832,829.61
                                                                          100.00000%
                                6440 Villa Drive
                                Sacramento, CA 95842
   08/27/14           32053     ASSET RECOVERY MANAGEMENT,                Claim 002222, Payment                               5600-000                                  $2,600.00       $11,830,229.61
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32054     RENEE ONDATJE-MOORE                       Claim 002223, Payment                               5600-000                                     $327.00      $11,829,902.61
                                                                          100.00000%
                                1665 S WASHINGTON AVE
                                GLENDORA, CA 91740
   08/27/14           32055     ARGO PARTNERS                             Claim 002224A, Payment                              5600-000                                  $2,600.00       $11,827,302.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32056     AMBER FRAGA                               Claim 002225, Payment                               5600-000                                     $525.00      $11,826,777.61
                                                                          100.00000%
                                215 Prospect Street
                                Manchester, NH 03104
   08/27/14           32057     DANNY CARDEN                              Claim 002226A, Payment                              5600-000                                     $325.00      $11,826,452.61
                                                                          100.00000%
                                2988 Wilderness Trace
                                Clarmont, NC 28610
   08/27/14           32058     GENIEVE DICKENS                           Claim 002227, Payment                               5600-000                                      $30.00      $11,826,422.61
                                                                          100.00000%
                                5040 New Hampshire Ave NW 4
                                Washington, DC 20011
   08/27/14           32059     ANNA MARIE ZABOROWSKI                     Claim 002228, Payment                               5600-000                                  $1,062.00       $11,825,360.61
                                                                          100.00000%
                                PO BOX 61161
                                Raliegh, NC 27661-1161
   08/27/14           32060     JERRY HARRIS                              Claim 002229, Payment                               5600-004                                     $527.00      $11,824,833.61
                                                                          100.00000%
                                1617 South East 21 St
                                Mineral Wells, TX 76067




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32061     LIQUIDITY SOLUTIONS, INC.                 Claim 002230, Payment                               5600-000                                  $1,062.00       $11,823,771.61
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32062     MEGAN BELLESS                             Claim 002232, Payment                               5600-000                                     $396.00      $11,823,375.61
                                                                          100.00000%
                                637 West 450 south
                                Vernal, UT 84078
   08/27/14           32063     JOIE GEROCHE                              Claim 002233, Payment                               5600-000                                  $1,915.00       $11,821,460.61
                                                                          100.00000%
                                370 Willow Rd., West Apt. 2D
                                Staten Island, NY 10314
   08/27/14           32064     MATTHEW GREINER                           Claim 002234, Payment                               5600-000                                     $750.00      $11,820,710.61
                                                                          100.00000%
                                748 South Meadow Pkwy, Unit A-951
                                Reno, NV 89521
   08/27/14           32065     GORDON GREEN                              Claim 002235, Payment                               5600-000                                  $1,009.00       $11,819,701.61
                                                                          100.00000%
                                79 Parkside Trace
                                Dallas, GA 30157
   08/27/14           32066     EDITH ASIEDU                              Claim 002236, Payment                               5600-000                                  $2,600.00       $11,817,101.61
                                                                          100.00000%
                                9206 5th Street
                                Lanham Seabrook, MD 20706
   08/27/14           32067     ARGO PARTNERS                             Claim 002237A, Payment                              5600-000                                  $2,600.00       $11,814,501.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32068     KONE SIMONS                               Claim 002238, Payment                               5600-000                                     $533.00      $11,813,968.61
                                                                          100.00000%
                                219 West Main Street
                                Cut Bank, MT 59427-2924
   08/27/14           32069     GILLIAN RITSCHER                          Claim 002239, Payment                               5600-000                                     $469.00      $11,813,499.61
                                                                          100.00000%
                                400 North 2nd Street
                                Alma, WI 54610




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32070     ROBERT HOWELL                             Claim 002240, Payment                               5600-000                                  $2,600.00       $11,810,899.61
                                                                          100.00000%
                                7455 S Clarkson Cir.
                                Centennial, CO 80122
   08/27/14           32071     RUSSELL HAIRSTON                          Claim 002241, Payment                               5600-000                                     $287.00      $11,810,612.61
                                                                          100.00000%
                                8323 117th Ave SE
                                Newcastle, WA 98056
   08/27/14           32072     ARGO PARTNERS                             Claim 002242A, Payment                              5600-000                                  $1,737.00       $11,808,875.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32073     ARGO PARTNERS                             Claim 002243, Payment                               5600-000                                  $2,600.00       $11,806,275.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32074     BRIAN KUBE                                Claim 002244, Payment                               5600-000                                  $2,474.00       $11,803,801.61
                                                                          100.00000%
                                5455 County Rd G
                                Eagle River, WI 54521
   08/27/14           32075     WENDY NEWELL                              Claim 002246, Payment                               5600-000                                     $525.00      $11,803,276.61
                                                                          100.00000%
                                1854 highway 284
                                Abbeville, SC 29620
   08/27/14           32076     PHYLLIS GIFFORD                           Claim 002247, Payment                               5600-000                                  $2,600.00       $11,800,676.61
                                                                          100.00000%
                                1801 Mission Ridge Road
                                Rossville, GA 30741
   08/27/14           32077     DARRELL ARNDT                             Claim 002248, Payment                               5600-000                                  $1,525.00       $11,799,151.61
                                                                          100.00000%
                                1816 Cedarbrook Lane
                                Stoughton, WI 53589
   08/27/14           32078     SECOND CHANCE CREDIT                      Claim 002249, Payment                               5600-000                                  $1,653.00       $11,797,498.61
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           32079     MARK CASADA                               Claim 002250A, Payment                              5600-000                                  $1,774.00      $11,795,724.61
                                                                          100.00000%
                                4201 Miami Avenue
                                Lorain, OH 44053
   08/27/14           32080     ARGO PARTNERS                             Claim 002251, Payment                               5600-000                                  $2,600.00      $11,793,124.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32081     BETTY BLOODWORTH                          Claim 002252A, Payment                              5600-000                                  $1,028.00      $11,792,096.61
                                                                          100.00000%
                                613 S 14th St
                                Herrin, IL 62948
   08/27/14           32082     MARAT GEYFEN                              Claim 002253A, Payment                              5600-000                                  $2,600.00      $11,789,496.61
                                                                          100.00000%
                                469 30th Avenue
                                San Francisco, CA 94121
   08/27/14           32083     ARGO PARTNERS                             Claim 002254, Payment                               5600-000                                  $2,600.00      $11,786,896.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32084     MICHAEL CRAWFORD                          Claim 002255, Payment                               5600-000                                  $2,261.00      $11,784,635.61
                                6057 Corvus LoopMillington, TN 38053      100.00000%
   08/27/14           32085     JAMES WILLIAMS                            Claim 002256, Payment                               5600-000                                  $1,862.00      $11,782,773.61
                                                                          100.00000%
                                3917 Walnutgrove Church Rd
                                Hillsborrough, NC 27278
   08/27/14           32086     KERRI MATZ                                Claim 002257, Payment                               5600-000                                  $2,600.00      $11,780,173.61
                                                                          100.00000%
                                PO Box 75
                                Mattoon, WI 54450
   08/27/14           32087     PAMELA CAISSE                             Claim 002258, Payment                               5600-000                                  $1,971.00      $11,778,202.61
                                                                          100.00000%
                                118 JB Stroud Road
                                Magnolia, NC 28453
   08/27/14           32088     EDWARD PENATE                             Claim 002259, Payment                               5600-000                                  $2,600.00      $11,775,602.61
                                                                          100.00000%
                                4041 N Leclaire Avenue
                                Chicago, IL 60641



                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           32089     JENIFER REINHARDT                        Claim 002260, Payment                               5600-000                                  $2,600.00       $11,773,002.61
                                                                         100.00000%
                                2571 HARRISON AVE
                                ROCHESTER HILLS, MI 48307
   08/27/14           32090     SUSAN HINES                              Claim 002261, Payment                               5600-000                                     $698.00      $11,772,304.61
                                                                         100.00000%
                                133 Silverwood Drive
                                Taunton, MA 02780
   08/27/14           32091     ASSET RECOVERY MANAGEMENT,               Claim 002262, Payment                               5600-000                                  $2,495.00       $11,769,809.61
                                LLC                                      100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32092     ASSET RECOVERY MANAGEMENT,               Claim 002263, Payment                               5600-000                                  $2,600.00       $11,767,209.61
                                LLC                                      100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32093     JEFFREY ASHWORTH                         Claim 002264, Payment                               5600-000                                  $2,600.00       $11,764,609.61
                                                                         100.00000%
                                505 N. Summit St.
                                Girard, KS 66743
   08/27/14           32094     LIDYA ARAUZ                              Claim 002265, Payment                               5600-000                                  $2,600.00       $11,762,009.61
                                                                         100.00000%
                                2335 Rollingwood Drive
                                San Bruno, CA 94066
   08/27/14           32095     JACOB CLARK                              Claim 002268, Payment                               5600-000                                  $2,600.00       $11,759,409.61
                                                                         100.00000%
                                10950 W UNION HILLS DR 1007
                                SUN CITY, AZ 85373
   08/27/14           32096     KARINE MINASYAN                          Claim 002269A, Payment                              5600-000                                  $2,600.00       $11,756,809.61
                                                                         100.00000%
                                1250 South Orange St.
                                Glendale, CA 91204
   08/27/14           32097     MYRA RUSH                                Claim 002270, Payment                               5600-000                                  $2,600.00       $11,754,209.61
                                                                         100.00000%
                                12995 SR 7 N
                                Dover, AR 72837



                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $21,393.00
                                                                            Document          Page 238 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32098     ARGO PARTNERS                             Claim 002271, Payment                               5600-000                                  $2,600.00       $11,751,609.61
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32099     SHIRLEY REYNOLDS                          Claim 002272, Payment                               5600-000                                      $68.84      $11,751,540.77
                                                                          100.00000%
                                59 C White St
                                Eatontown, NJ 07724
   08/27/14           32100     JAMES MCCROHON                            Claim 002273, Payment                               5600-000                                     $959.00      $11,750,581.77
                                                                          100.00000%
                                8424 Santa Monica Blvd Suite A768
                                West Hollywood, CA 90069
   08/27/14           32101     KRISTA STRAIGHT                           Claim 002274, Payment                               5600-000                                     $468.00      $11,750,113.77
                                                                          100.00000%
                                10233 Mission Gorge Rd APT D-209
                                Santee, CA 92071
   08/27/14           32102     ELWOOD HERSEY                             Claim 002275, Payment                               5600-000                                     $624.00      $11,749,489.77
                                                                          100.00000%
                                PO Box 34
                                Anthony, FL 32617
   08/27/14           32103     CHRISTINE CHACON                          Claim 002276, Payment                               5600-000                                     $490.00      $11,748,999.77
                                                                          100.00000%
                                2701 S Sunland Vista
                                Tuscon, AZ 85713
   08/27/14           32104     SANDRA WILKINS                            Claim 002277, Payment                               5600-000                                  $2,600.00       $11,746,399.77
                                                                          100.00000%
                                22250 Parnell Place NW
                                Poulsbo, WA 98370
   08/27/14           32105     TIFFANY LASKOWSKI                         Claim 002278, Payment                               5600-000                                  $2,600.00       $11,743,799.77
                                                                          100.00000%
                                12457 W Heam Road
                                El Mirage, AZ 85335
   08/27/14           32106     DONALD MOORE                              Claim 002279, Payment                               5600-000                                  $2,600.00       $11,741,199.77
                                                                          100.00000%
                                1050 Rancho Road
                                Duarte, CA 91010




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                                                                                                                                                     Desc Main         $13,009.84
                                                                             Document          Page 239 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32107     BRADLEY HACK                              Claim 002280, Payment                               5600-000                                     $810.00      $11,740,389.77
                                                                          100.00000%
                                95 Sunflower Ave.
                                Chicopee, MA 01013
   08/27/14           32108     LIQUIDITY SOLUTIONS, INC.                 Claim 002281, Payment                               5600-000                                  $1,131.00       $11,739,258.77
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32109     DON SHASTKO                               Claim 002283A, Payment                              5600-000                                  $2,093.00       $11,737,165.77
                                                                          100.00000%
                                2007 Boylston Ave E Apt 100
                                Seattle, WA 98102
   08/27/14           32110     JOHNNY DANIEL                             Claim 002284, Payment                               5600-000                                  $2,600.00       $11,734,565.77
                                                                          100.00000%
                                PO BOX 841
                                Wedowee, AL 36278
   08/27/14           32111     ARGO PARTNERS                             Claim 002285, Payment                               5600-000                                  $2,466.00       $11,732,099.77
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32112     IRANA WARD                                Claim 002286, Payment                               5600-000                                     $627.00      $11,731,472.77
                                                                          100.00000%
                                14250 Cearfoss Pike
                                Hagurstown, MD 21740
   08/27/14           32113     RICHARD REDMON                            Claim 002287, Payment                               5600-004                                  $2,600.00       $11,728,872.77
                                                                          100.00000%
                                PO BOX 208
                                Washington, CA 95986
   08/27/14           32114     LINDA HAAR                                Claim 002288, Payment                               5600-000                                     $359.00      $11,728,513.77
                                                                          100.00000%
                                2843 Township Road 14
                                Woodville, OH 43469
   08/27/14           32115     CLARISSA YATES                            Claim 002289, Payment                               5600-000                                  $2,600.00       $11,725,913.77
                                                                          100.00000%
                                4606 Alleghany Dr
                                Salem, VA 24153




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32116     NORMAN STONE                              Claim 002290, Payment                               5600-000                                     $286.00      $11,725,627.77
                                                                          100.00000%
                                1711 Cardiff Dr
                                Cambria, CA 93428
   08/27/14           32117     LIQUIDITY SOLUTIONS, INC.                 Claim 002291, Payment                               5600-000                                  $2,175.00       $11,723,452.77
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32118     DONNA FISCHER                             Claim 002292, Payment                               5600-000                                     $373.00      $11,723,079.77
                                                                          100.00000%
                                3341 Maple Dr.
                                Plover, WI 54467
   08/27/14           32119     ALEXIS RAHIER                             Claim 002293A, Payment                              5600-000                                  $2,600.00       $11,720,479.77
                                                                          100.00000%
                                404 South Greene Street
                                Rock Rapids, IA 51246
   08/27/14           32120     GLENN HARRINGTON                          Claim 002294, Payment                               5600-000                                  $1,956.00       $11,718,523.77
                                                                          100.00000%
                                9408 NE 81ST AVE
                                VANCOUVER, WA 98662
   08/27/14           32121     MICHELE O`BIER                            Claim 002295, Payment                               5600-000                                     $387.00      $11,718,136.77
                                                                          100.00000%
                                949 FM 3133
                                Anna, TX 75409
   08/27/14           32122     JAMES MITCHELL                            Claim 002296, Payment                               5600-000                                  $2,600.00       $11,715,536.77
                                                                          100.00000%
                                5623 Barrett road
                                Farmville, NC 27828
   08/27/14           32123     HENRY BLASE                               Claim 002297, Payment                               5600-000                                  $2,600.00       $11,712,936.77
                                                                          100.00000%
                                415 N 5th Street 4
                                San Jose, CA 95112
   08/27/14           32124     LANAEDRIA CROWE                           Claim 002298, Payment                               5600-004                                     $651.00      $11,712,285.77
                                                                          100.00000%
                                4420 Oak Hollow Dr. #64
                                Sacramento, CA 95842




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32125     STACEY ARDUESER                           Claim 002299, Payment                               5600-000                                     $429.00      $11,711,856.77
                                                                          100.00000%
                                1175 Ginger Ave
                                Eugene, OR 97404
   08/27/14           32126     ADRIANA BARRETO                           Claim 002300, Payment                               5600-000                                  $2,600.00       $11,709,256.77
                                                                          100.00000%
                                22 Palisade Ave
                                Trumbull, CT 06611
   08/27/14           32127     ERIC MCKAY                                Claim 002301, Payment                               5600-000                                  $2,600.00       $11,706,656.77
                                29 Lancaster Pl.Hempstead, NY 11550       100.00000%
   08/27/14           32128     LARRY CARSWELL                            Claim 002302, Payment                               5600-000                                  $2,600.00       $11,704,056.77
                                                                          100.00000%
                                PO Box 52224
                                Shreveport, LA 71135
   08/27/14           32129     DENNIS LAWRENCE                           Claim 002304A, Payment                              5600-000                                  $1,360.00       $11,702,696.77
                                                                          100.00000%
                                305 Lower Grassy Branch Rd
                                Asheville, NC 28805
   08/27/14           32130     CASEY MEYER                               Claim 002305, Payment                               5600-000                                     $508.00      $11,702,188.77
                                                                          100.00000%
                                337 4th Street
                                Lawrenceburg, IN 47025
   08/27/14           32131     JONATHAN HAYES                            Claim 002306A, Payment                              5600-004                                  $1,500.00       $11,700,688.77
                                                                          100.00000%
                                440 Moffett Blvd Space 132
                                Moutain View, CA 94043
   08/27/14           32132     ROBERT TIGNER                             Claim 002307, Payment                               5600-000                                  $2,600.00       $11,698,088.77
                                                                          100.00000%
                                211 Ocean Blvd. East
                                Greeneville, TN 37745
   08/27/14           32133     KENNETH MILAM                             Claim 002308, Payment                               5600-004                                  $2,550.00       $11,695,538.77
                                                                          100.00000%
                                920 County Rd 64
                                Bremen, AL 35033
   08/27/14           32134     LIQUIDITY SOLUTIONS, INC.                 Claim 002309, Payment                               5600-000                                  $1,869.00       $11,693,669.77
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601



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                                                                                                                                                     Desc Main         $18,616.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32135     DOUGLAS WINT                              Claim 002310, Payment                               5600-000                                     $159.00      $11,693,510.77
                                                                          100.00000%
                                70 Linden Blvd. #5C
                                Brooklyn, NY 11226
   08/27/14           32136     GARY GUERARD                              Claim 002311A, Payment                              5600-000                                  $2,250.00       $11,691,260.77
                                                                          100.00000%
                                235 Blackstone St 235
                                Winsocket, RI 02895
   08/27/14           32137     LINDA FOWLER                              Claim 002312, Payment                               5600-004                                  $2,600.00       $11,688,660.77
                                                                          100.00000%
                                174 West 110 St
                                Miami, FL 33168
   08/27/14           32138     ARGO PARTNERS                             Claim 002313A, Payment                              5600-000                                  $2,600.00       $11,686,060.77
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32139     LIQUIDITY SOLUTIONS, INC.                 Claim 002314, Payment                               5600-000                                  $1,780.00       $11,684,280.77
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32140     QIRONG MAI                                Claim 002315, Payment                               5600-004                                  $2,600.00       $11,681,680.77
                                                                          100.00000%
                                972 66th Street
                                Brooklyn, NY 11219
   08/27/14           32141     ARGO PARTNERS                             Claim 002316, Payment                               5600-000                                  $2,600.00       $11,679,080.77
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32142     LIQUIDITY SOLUTIONS, INC.                 Claim 002317, Payment                               5600-000                                  $2,177.00       $11,676,903.77
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32143     CLAYBORN ARNETT                           Claim 002318, Payment                               5600-000                                  $2,600.00       $11,674,303.77
                                                                          100.00000%
                                1848 Freeman Street
                                Toledo, OH 43606




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                                                                                                                                                     Desc Main         $19,366.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32144     ROSEMARY BEIKES                           Claim 002319, Payment                               5600-004                                  $1,259.00       $11,673,044.77
                                                                          100.00000%
                                2327 MT CLAIRE
                                APT 2
                                LOUISVILLE, KY 40217
   08/27/14           32145     GYRON BRADLEY                             Claim 002320, Payment                               5600-000                                  $1,253.00       $11,671,791.77
                                                                          100.00000%
                                227 Lillie Drive
                                Chickamauga, GA 30707
   08/27/14           32146     MICHELE TUCKER                            Claim 002321, Payment                               5600-000                                     $181.00      $11,671,610.77
                                1105 Gamston LaneVirginia Beach, VA       100.00000%
                                23455
   08/27/14           32147     ARTHUR HAUTALA                            Claim 002322, Payment                               5600-000                                     $275.00      $11,671,335.77
                                                                          100.00000%
                                15 W Euclid Ave
                                New Castle, PA 16105
   08/27/14           32148     BERTHA ANGELI                             Claim 002323, Payment                               5600-000                                  $2,600.00       $11,668,735.77
                                                                          100.00000%
                                915 East 41st Place
                                Los Angeles, CA 90011
   08/27/14           32149     ANGELA AUSTIN                             Claim 002324, Payment                               5600-000                                  $1,807.00       $11,666,928.77
                                                                          100.00000%
                                1328 Mills Landing Ct. SE #B
                                Lacey, WA 98503
   08/27/14           32150     ARGO PARTNERS                             Claim 002326, Payment                               5600-000                                  $2,600.00       $11,664,328.77
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32151     MARY TREMMEL                              Claim 002327, Payment                               5600-000                                     $951.00      $11,663,377.77
                                                                          100.00000%
                                130 Northshore Dr
                                Burlington, VT 05408
   08/27/14           32152     LIQUIDITY SOLUTIONS, INC.                 Claim 002328, Payment                               5600-000                                  $1,637.00       $11,661,740.77
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32153     RALPH NORMAN                              Claim 002329, Payment                               5600-000                                     $396.00      $11,661,344.77
                                                                          100.00000%
                                1023 North Harrison Rd Apt E-3
                                Stone Mountain, GA 30083
   08/27/14           32154     ANNETTE SCHUE                             Claim 002330, Payment                               5600-000                                     $300.00      $11,661,044.77
                                                                          100.00000%
                                1701 Randolph Rd
                                Morrisville, VT 05661
   08/27/14           32155     MARY FLORES                               Claim 002331, Payment                               5600-000                                  $1,895.00       $11,659,149.77
                                                                          100.00000%
                                4614 Boston Avenue Apt A
                                Lubbock, TX 79413
   08/27/14           32156     RITA BALTADONIS                           Claim 002332, Payment                               5600-000                                     $440.00      $11,658,709.77
                                                                          100.00000%
                                PO BOX 2
                                Sherwood, MD 21665
   08/27/14           32157     LIQUIDITY SOLUTIONS, INC.                 Claim 002333, Payment                               5600-000                                   $1,311.00      $11,657,398.77
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32158     DIANA CRAWFORD                            Claim 002334, Payment                               5600-000                                  $2,600.00       $11,654,798.77
                                                                          100.00000%
                                1 Coon Club Road
                                Rock Cave, WI 26234
   08/27/14           32159     JESSIE HENRY JR                           Claim 002335, Payment                               5600-000                                     $461.00      $11,654,337.77
                                                                          100.00000%
                                9936 Shale Avenue
                                Cleveland, OH 44104
   08/27/14           32160     STEVEN HOLMES                             Claim 002336, Payment                               5600-000                                  $2,600.00       $11,651,737.77
                                                                          100.00000%
                                9530 Many Mile Mews
                                Columbia, MD 21046
   08/27/14           32161     BETTY BRASWELL                            Claim 002337, Payment                               5600-000                                     $345.99      $11,651,391.78
                                                                          100.00000%
                                1387 Highgrove Ct
                                College Park, GA 30349




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                                                                                                                                                     Desc Main         $10,348.99
                                                                             Document          Page 245 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32162     ASSET RECOVERY MANAGEMENT,                Claim 002338, Payment                               5600-000                                  $2,600.00       $11,648,791.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32163     GENE VALENTINE                            Claim 002339, Payment                               5600-000                                  $1,670.00       $11,647,121.78
                                                                          100.00000%
                                PO BOX 250600
                                Milwaukee, WI 53225
   08/27/14           32164     ASSET RECOVERY MANAGEMENT,                Claim 002340, Payment                               5600-000                                  $2,600.00       $11,644,521.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32165     LORETTA TRUJILLO                          Claim 002341, Payment                               5600-000                                     $410.00      $11,644,111.78
                                                                          100.00000%
                                PO BOX 592
                                Questa, NM 87556
   08/27/14           32166     RENDA BRADSHAW                            Claim 002342, Payment                               5600-004                                     $532.00      $11,643,579.78
                                                                          100.00000%
                                4398 Three Bridge Rd.
                                Powhatan, VA 23139
   08/27/14           32167     STEPHANIE HOLLOWAY                        Claim 002343A, Payment                              5600-000                                  $1,962.00       $11,641,617.78
                                                                          100.00000%
                                137 Old Hwy 85
                                Fayetteville, GA 30215
   08/27/14           32168     NUNO RODRIGUES                            Claim 002344, Payment                               5600-000                                  $2,600.00       $11,639,017.78
                                                                          100.00000%
                                196 TOLLERTON AVE
                                SAINT JOHNS, FL 32259
   08/27/14           32169     WILLIAM LOTHROP                           Claim 002345, Payment                               5600-000                                     $778.00      $11,638,239.78
                                                                          100.00000%
                                239 Oakridge Rd.
                                Lompoc, CA 93436
   08/27/14           32170     DANIEL RIVERA                             Claim 002346, Payment                               5600-000                                  $2,600.00       $11,635,639.78
                                                                          100.00000%
                                98 West 52nd Street Apt. 2
                                Bayonne, NJ 07002



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32171     ASSET RECOVERY MANAGEMENT,                Claim 002347, Payment                               5600-000                                  $2,600.00       $11,633,039.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32172     ARGO PARTNERS                             Claim 002348, Payment                               5600-000                                  $2,600.00       $11,630,439.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32173     CASSANDRA NIEMEYER                        Claim 002349, Payment                               5600-000                                     $437.00      $11,630,002.78
                                                                          100.00000%
                                5674 S. White Oak Ln.
                                Hereford, AZ 85615
   08/27/14           32174     CHRIS KOELBL                              Claim 002351, Payment                               5600-000                                  $1,012.00       $11,628,990.78
                                                                          100.00000%
                                1906 Arbor Falls Drive
                                Plain Field, IL 60586
   08/27/14           32175     VERGIL COLEMAN                            Claim 002352, Payment                               5600-000                                  $1,999.00       $11,626,991.78
                                                                          100.00000%
                                1396 Raintree Drive
                                Snellville, GA 30078
   08/27/14           32176     ARGO PARTNERS                             Claim 002353, Payment                               5600-000                                  $2,600.00       $11,624,391.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32177     LOUISE COLEMAN                            Claim 002354, Payment                               5600-000                                  $2,527.00       $11,621,864.78
                                                                          100.00000%
                                1396 Raintree Dr
                                Snellville, GA 30078
   08/27/14           32178     LIQUIDITY SOLUTIONS, INC.                 Claim 002355, Payment                               5600-000                                  $1,807.00       $11,620,057.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32179     CAROL NICHOLAS                            Claim 002356, Payment                               5600-000                                     $339.00      $11,619,718.78
                                                                          100.00000%
                                1341 Roberts Dr
                                Houma, LA 70364




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           32180     ARGO PARTNERS                             Claim 002358, Payment                               5600-000                                  $2,600.00      $11,617,118.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32181     MELINDA LONG                              Claim 002359, Payment                               5600-000                                  $2,600.00      $11,614,518.78
                                                                          100.00000%
                                1813 Peak Rd
                                Pomaria, SC 29126
   08/27/14           32182     ASSET RECOVERY MANAGEMENT,                Claim 002360, Payment                               5600-000                                  $2,600.00      $11,611,918.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32183     MARIA CHAFFERS                            Claim 002361, Payment                               5600-000                                  $1,225.00      $11,610,693.78
                                                                          100.00000%
                                1761 Middleton Pl.
                                Los Angles, CA 90062
   08/27/14           32184     ARGO PARTNERS                             Claim 002362, Payment                               5600-000                                  $2,600.00      $11,608,093.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32185     RENEE PAGE                                Claim 002363, Payment                               5600-000                                  $2,600.00      $11,605,493.78
                                                                          100.00000%
                                29016 Sylvia Dr
                                Canyon Country, CA 91387
   08/27/14           32186     ARGO PARTNERS                             Claim 002364, Payment                               5600-000                                  $2,600.00      $11,602,893.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32187     KENNETH MIMS                              Claim 002365, Payment                               5600-000                                  $2,600.00      $11,600,293.78
                                                                          100.00000%
                                5311 Askins Lane
                                Houston, TX 77016
   08/27/14           32188     JESSICA ALONSO                            Claim 002366, Payment                               5600-000                                  $2,600.00      $11,597,693.78
                                                                          100.00000%
                                17721 South West 23rd St.
                                Miramar, FL 33029




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32189     WAYNE BRAUTIGAN                           Claim 002367, Payment                               5600-000                                  $2,215.00       $11,595,478.78
                                                                          100.00000%
                                6479 Gary Drive
                                Independence, KY 41051
   08/27/14           32190     ARGO PARTNERS                             Claim 002368, Payment                               5600-000                                  $2,600.00       $11,592,878.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32191     MARY BISHOP                               Claim 002369, Payment                               5600-000                                  $1,969.00       $11,590,909.78
                                                                          100.00000%
                                23 E 17th Street Apt 4A
                                Brooklyn, NY 11226
   08/27/14           32192     DENISE COOLE-CANTORE                      Claim 002370, Payment                               5600-000                                     $467.00      $11,590,442.78
                                                                          100.00000%
                                2060 Sandy Hill Lane
                                North Palm Beach, FL 33408
   08/27/14           32193     CYNTHIA LEWIS                             Claim 002371, Payment                               5600-000                                  $2,600.00       $11,587,842.78
                                                                          100.00000%
                                700-260 Richmond Rd
                                Susanville, CA 96130
   08/27/14           32194     ARGO PARTNERS                             Claim 002372, Payment                               5600-000                                  $2,600.00       $11,585,242.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32195     ARGO PARTNERS                             Claim 002373, Payment                               5600-000                                  $2,600.00       $11,582,642.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32196     ARGO PARTNERS                             Claim 002374, Payment                               5600-000                                  $2,600.00       $11,580,042.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32197     OMAR FERGUSON                             Claim 002375, Payment                               5600-004                                  $2,600.00       $11,577,442.78
                                                                          100.00000%
                                2050 S. Redondo Blvd.
                                Los Angeles, CA 90016-1259




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           32198     ARGO PARTNERS                             Claim 002376, Payment                               5600-000                                  $2,600.00      $11,574,842.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32199     ALESSANDRO DASILVA                        Claim 002377, Payment                               5600-004                                  $2,600.00      $11,572,242.78
                                                                          100.00000%
                                59 Dartmouth St Apt 2
                                Summerville, MA 02145
   08/27/14           32200     ARGO PARTNERS                             Claim 002378, Payment                               5600-000                                  $2,600.00      $11,569,642.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32201     ARGO PARTNERS                             Claim 002379, Payment                               5600-000                                  $2,600.00      $11,567,042.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32202     RITA THOMAS                               Claim 002380, Payment                               5600-000                                  $2,445.00      $11,564,597.78
                                                                          100.00000%
                                541 Beech Drive
                                Kent, OH 44240
   08/27/14           32203     RODNEY WILLIAMS                           Claim 002381, Payment                               5600-000                                  $2,600.00      $11,561,997.78
                                                                          100.00000%
                                117 Chapel Greens Place
                                Aberdeen, NC 28315
   08/27/14           32204     ARGO PARTNERS                             Claim 002382, Payment                               5600-000                                  $2,600.00      $11,559,397.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32205     BRIAN MOSER                               Claim 002383, Payment                               5600-000                                  $2,285.00      $11,557,112.78
                                                                          100.00000%
                                201 Candlewood Dr
                                Willmington, NC 28411
   08/27/14           32206     ARGO PARTNERS                             Claim 002384, Payment                               5600-000                                  $2,600.00      $11,554,512.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32207     STEVEN JENSEN                             Claim 002385, Payment                               5600-000                                  $1,043.00       $11,553,469.78
                                                                          100.00000%
                                10254 Clla Lily Way
                                Sandy, UT 84092
   08/27/14           32208     JOHN KALLAY                               Claim 002386, Payment                               5600-000                                  $2,600.00       $11,550,869.78
                                                                          100.00000%
                                123 Bellwood Drive
                                Munhall, PA 15120
   08/27/14           32209     ARGO PARTNERS                             Claim 002387, Payment                               5600-000                                  $2,600.00       $11,548,269.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32210     ARGO PARTNERS                             Claim 002388, Payment                               5600-000                                  $2,600.00       $11,545,669.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32211     TIMOTHY REEVES                            Claim 002389, Payment                               5600-000                                     $548.00      $11,545,121.78
                                                                          100.00000%
                                1418 East Ave.
                                Elyria, OH 44035
   08/27/14           32212     ARGO PARTNERS                             Claim 002390, Payment                               5600-000                                  $2,600.00       $11,542,521.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32213     JEANNE WASLOSKY                           Claim 002391, Payment                               5600-000                                  $2,600.00       $11,539,921.78
                                                                          100.00000%
                                517 Laredo Lane
                                Chanhassen, MN 55317
   08/27/14           32214     ALBERT BERRY                              Claim 002392, Payment                               5600-000                                     $283.00      $11,539,638.78
                                                                          100.00000%
                                PO Box 4615
                                Dublin, GA 31040
   08/27/14           32215     JOSEPH ELLIS                              Claim 002393, Payment                               5600-000                                     $925.00      $11,538,713.78
                                                                          100.00000%
                                25305 Ritchie Ave
                                Petersburg, VA 23803




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32216     ARGO PARTNERS                             Claim 002394, Payment                               5600-000                                  $2,600.00       $11,536,113.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32217     CHRISTINE WILLIAMS                        Claim 002395, Payment                               5600-000                                     $169.00      $11,535,944.78
                                                                          100.00000%
                                11 High Ridge Road
                                Wayside, NJ 07712
   08/27/14           32218     EVELYN BLUM                               Claim 002396, Payment                               5600-004                                  $2,600.00       $11,533,344.78
                                                                          100.00000%
                                14849 Cumberland Drive Apt 202 L
                                Delray Beach, FL 33446
   08/27/14           32219     LIQUIDITY SOLUTIONS, INC.                 Claim 002397, Payment                               5600-000                                  $2,225.00       $11,531,119.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32220     KIM AUSTIN                                Claim 002398, Payment                               5600-000                                  $2,600.00       $11,528,519.78
                                                                          100.00000%
                                88 Lord Brook Rd
                                Ridge, NH 03461
   08/27/14           32221     GLENN AUSTIN                              Claim 002399, Payment                               5600-000                                  $2,600.00       $11,525,919.78
                                                                          100.00000%
                                88 Lord Brook Road
                                Ridge, NH 03461
   08/27/14           32222     LINDA RAINES                              Claim 002400, Payment                               5600-000                                  $2,600.00       $11,523,319.78
                                                                          100.00000%
                                PO BOX 1561
                                EASLEY, SC 29641
   08/27/14           32223     ANGELA INGE                               Claim 002401, Payment                               5600-000                                  $2,600.00       $11,520,719.78
                                                                          100.00000%
                                2842 Lincoln Avenue
                                Camden, NJ 08105
   08/27/14           32224     VICKY THOMPSON                            Claim 002402, Payment                               5600-000                                  $2,600.00       $11,518,119.78
                                2783 Station St.Rock Creek, Ohio 44084    100.00000%
   08/27/14           32225     LAVERNE HUGGINS                           Claim 002403, Payment                               5600-000                                     $375.00      $11,517,744.78
                                                                          100.00000%
                                2191 Terrance Court
                                Lithonia, GA 30058



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32226     LIQUIDITY SOLUTIONS, INC.                 Claim 002404, Payment                               5600-000                                  $2,600.00       $11,515,144.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32227     WILSON MEDINA                             Claim 002405, Payment                               5600-000                                  $2,600.00       $11,512,544.78
                                                                          100.00000%
                                2065 N Jerusalem Rd
                                East Meadow, NY 11554
   08/27/14           32228     EARL GEORGSON                             Claim 002406, Payment                               5600-000                                  $1,660.00       $11,510,884.78
                                                                          100.00000%
                                3415 High Road Lot 13
                                Hartford, WI 53027
   08/27/14           32229     ZHE BAO                                   Claim 002407, Payment                               5600-000                                  $2,600.00       $11,508,284.78
                                                                          100.00000%
                                4179 W. Belmont
                                Chicago, IL 60641
   08/27/14           32230     KATHLEEN GERVIND                          Claim 002408, Payment                               5600-000                                  $1,069.00       $11,507,215.78
                                2930 West Camelback Rd., Apt.             100.00000%
                                234Phoenix, AZ 85017
   08/27/14           32231     JAMES SALLEE                              Claim 002409, Payment                               5600-000                                  $1,019.00       $11,506,196.78
                                                                          100.00000%
                                PO BOX 20966
                                Wickenburg, AZ 85358
   08/27/14           32232     LIQUIDITY SOLUTIONS, INC.                 Claim 002410, Payment                               5600-000                                  $2,367.00       $11,503,829.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32233     LESLIE MINGO                              Claim 002411, Payment                               5600-000                                     $996.00      $11,502,833.78
                                                                          100.00000%
                                6050 Placer W Dr 304
                                Rocklin, CA 95677
   08/27/14           32234     JOEL HUERTA AND RUTH DENNIS               Claim 002412, Payment                               5600-000                                     $835.00      $11,501,998.78
                                406 E. 148th CircleGlenpool, OK 74033     100.00000%
   08/27/14           32235     LIQUIDITY SOLUTIONS, INC.                 Claim 002413, Payment                               5600-000                                  $2,600.00       $11,499,398.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32236     JENNIFER BREITIGAN                        Claim 002414, Payment                               5600-000                                  $2,600.00       $11,496,798.78
                                                                          100.00000%
                                PO Box 4112
                                San Dimas, CA 91773
   08/27/14           32237     TONYA ST. CYR                             Claim 002415, Payment                               5600-000                                     $839.00      $11,495,959.78
                                                                          100.00000%
                                8 CRAGGY RD
                                GROVETON, NH 03582
   08/27/14           32238     JESUS SUPNET                              Claim 002416, Payment                               5600-000                                  $2,600.00       $11,493,359.78
                                                                          100.00000%
                                35750 Betten Court Street Apt 20
                                Newark, CA 94560-1047
   08/27/14           32239     LAWRENCE BURRISON                         Claim 002417, Payment                               5600-004                                  $1,675.00       $11,491,684.78
                                                                          100.00000%
                                439 Sanders Road
                                Hardeeville, SC 29927
   08/27/14           32240     LIQUIDITY SOLUTIONS, INC.                 Claim 002418, Payment                               5600-000                                  $2,600.00       $11,489,084.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32241     CHANG KIM                                 Claim 002419, Payment                               5600-004                                     $872.00      $11,488,212.78
                                                                          100.00000%
                                702 Young Way
                                Richmond Hill, GA 31324
   08/27/14           32242     LIQUIDITY SOLUTIONS, INC.                 Claim 002420, Payment                               5600-000                                  $1,647.00       $11,486,565.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32243     ERIN MCCARTHY                             Claim 002421, Payment                               5600-000                                     $449.00      $11,486,116.78
                                                                          100.00000%
                                135 Easy Street
                                Mooresville, NC 28117
   08/27/14           32244     RICHARD JIMENEZ VASQUEZ                   Claim 002422, Payment                               5600-000                                  $2,600.00       $11,483,516.78
                                                                          100.00000%
                                200 Lameshur Lane
                                Monroe, NC 28110




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32245     SUSAN RADOMSKI                            Claim 002423, Payment                               5600-000                                  $1,600.00       $11,481,916.78
                                                                          100.00000%
                                888 Shady Lane 313
                                Neenah, WI 54956
   08/27/14           32246     ASSET RECOVERY MANAGEMENT,                Claim 002424, Payment                               5600-000                                  $2,600.00       $11,479,316.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32247     GRACE ZINGAPAN                            Claim 002425, Payment                               5600-000                                  $2,600.00       $11,476,716.78
                                                                          100.00000%
                                140 George Circle
                                Vallejo, CA 94591
   08/27/14           32248     ROY LEE                                   Claim 002426, Payment                               5600-000                                  $2,600.00       $11,474,116.78
                                                                          100.00000%
                                1001 Speed Road
                                Hobgood, NC 27843
   08/27/14           32249     GUY MADISON                               Claim 002427, Payment                               5600-000                                  $2,600.00       $11,471,516.78
                                                                          100.00000%
                                2011 Country Manor Blvd.
                                Billings, MT 59102
   08/27/14           32250     DANA TISBERT                              Claim 002428, Payment                               5600-000                                     $596.00      $11,470,920.78
                                                                          100.00000%
                                24 Buck St. Ext
                                Epsom, NH 03234
   08/27/14           32251     RICHARD GREEN                             Claim 002429, Payment                               5600-004                                  $1,774.00       $11,469,146.78
                                                                          100.00000%
                                135 East 7th Street
                                Burlington City, NJ 08016
   08/27/14           32252     LIQUIDITY SOLUTIONS, INC.                 Claim 002430, Payment                               5600-000                                  $2,130.00       $11,467,016.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32253     DOROTHEA BRUNELLE                         Claim 002431, Payment                               5600-004                                  $2,600.00       $11,464,416.78
                                                                          100.00000%
                                3405 SE Vineyard Rd 79
                                Milwaukie, OR 97267




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32254     PHILIP MINICOZZI                          Claim 002432, Payment                               5600-000                                  $2,600.00       $11,461,816.78
                                                                          100.00000%
                                74 Clifton Place
                                Port Jefferson Station, NY 11776
   08/27/14           32255     ARGO PARTNERS                             Claim 002433, Payment                               5600-000                                  $2,600.00       $11,459,216.78
                                12 West 37th St., 9th Fl.,New York, NY    100.00000%
                                10018
   08/27/14           32256     DANIEL PHILIP                             Claim 002434, Payment                               5600-000                                  $2,350.00       $11,456,866.78
                                                                          100.00000%
                                10887 Wachter Court
                                St John, IN 46373
   08/27/14           32257     DANIELLE DIXON                            Claim 002435, Payment                               5600-000                                  $2,600.00       $11,454,266.78
                                                                          100.00000%
                                PO BOX 583
                                Ansted, WV 25812
   08/27/14           32258     KAYOUA XIONG                              Claim 002436, Payment                               5600-000                                  $2,600.00       $11,451,666.78
                                                                          100.00000%
                                PO Box 8185
                                Morganton, NC 28680
   08/27/14           32259     HAJRUDIN ZECO                             Claim 002437, Payment                               5600-004                                     $349.00      $11,451,317.78
                                                                          100.00000%
                                1305 W. Cottonwood Lane Unit G11
                                Mt. Prospect, IL 60056
   08/27/14           32260     ARGO PARTNERS                             Claim 002438, Payment                               5600-000                                  $2,600.00       $11,448,717.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32261     BRANDON GOOD                              Claim 002439, Payment                               5600-000                                  $2,600.00       $11,446,117.78
                                                                          100.00000%
                                305 NE Innsbruck Dr
                                Ankeny, IA 50021
   08/27/14           32262     DEBRA MILNER                              Claim 002440, Payment                               5600-000                                     $617.00      $11,445,500.78
                                                                          100.00000%
                                PO BOX 251791
                                Los Angeles, CA 90025
   08/27/14           32263     JENNIFER ANDRUS                           Claim 002441, Payment                               5600-000                                  $2,600.00       $11,442,900.78
                                                                          100.00000%
                                23 River Rd
                                East Brunswick, NJ 08816


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32264     SANDRA SUNZERI                            Claim 002442, Payment                               5600-000                                     $486.00      $11,442,414.78
                                                                          100.00000%
                                123 15TH AVE
                                N TOWAWANDA, NY 14120
   08/27/14           32265     LINDA CARROLL                             Claim 002443, Payment                               5600-000                                  $2,600.00       $11,439,814.78
                                                                          100.00000%
                                1158 Sussex Drive
                                Shallotte, NC 28479
   08/27/14           32266     SANDRA LEE                                Claim 002444, Payment                               5600-000                                  $2,600.00       $11,437,214.78
                                                                          100.00000%
                                253 Rock Crusher Road
                                Walhalla, SC 29691
   08/27/14           32267     LIQUIDITY SOLUTIONS, INC.                 Claim 002445, Payment                               5600-000                                  $2,409.00       $11,434,805.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32268     LISA SORENSEN                             Claim 002446, Payment                               5600-000                                  $1,364.00       $11,433,441.78
                                                                          100.00000%
                                PO Box 119
                                Delco, NC 28436
   08/27/14           32269     DAVID BAUMAN                              Claim 002447, Payment                               5600-000                                     $239.00      $11,433,202.78
                                                                          100.00000%
                                30740 Avondale Street
                                Westland, MI 48186
   08/27/14           32270     GINA CALDWELL                             Claim 002448, Payment                               5600-000                                     $506.00      $11,432,696.78
                                                                          100.00000%
                                3230 Eagle Rd
                                Wisconsin Rapids, WI 54494
   08/27/14           32271     ARGO PARTNERS                             Claim 002450, Payment                               5600-000                                  $2,600.00       $11,430,096.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32272     MELISSA CARPENTER                         Claim 002451, Payment                               5600-000                                     $390.00      $11,429,706.78
                                                                          100.00000%
                                224 S 550 W APT B10
                                SPRINGVILLE, UT 84663




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32273     ROBERT FURLIN                             Claim 002452, Payment                               5600-000                                     $664.00      $11,429,042.78
                                                                          100.00000%
                                710 Forest RD
                                Goldsboro, NC 27534
   08/27/14           32274     ASSET RECOVERY MANAGEMENT,                Claim 002453, Payment                               5600-000                                  $2,600.00       $11,426,442.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32275     LIQUIDITY SOLUTIONS, INC.                 Claim 002454, Payment                               5600-000                                  $2,600.00       $11,423,842.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32276     JOSEPH TONEY                              Claim 002455, Payment                               5600-000                                  $2,600.00       $11,421,242.78
                                                                          100.00000%
                                1523 Kelly Road
                                Mount Holley, NC 28120
   08/27/14           32277     ARGO PARTNERS                             Claim 002456, Payment                               5600-000                                  $2,600.00       $11,418,642.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32278     CANDACE THORPE                            Claim 002457A, Payment                              5600-000                                     $416.00      $11,418,226.78
                                                                          100.00000%
                                8619 Ritchboro Rd
                                District Heights, MD 20747
   08/27/14           32279     CARYL SHAKSHOBER                          Claim 002458, Payment                               5600-000                                  $1,399.00       $11,416,827.78
                                                                          100.00000%
                                53 Patroon Place
                                Ballston Lake, NY 12019
   08/27/14           32280     ARGO PARTNERS                             Claim 002459, Payment                               5600-000                                  $2,600.00       $11,414,227.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32281     ARGO PARTNERS                             Claim 002460, Payment                               5600-000                                  $2,600.00       $11,411,627.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32282     MARK HEINS                                Claim 002461, Payment                               5600-000                                  $2,600.00       $11,409,027.78
                                                                          100.00000%
                                963 Denise Lane
                                Elcajon, CA 92020
   08/27/14           32283     DOUGLAS DRESSLER                          Claim 002462, Payment                               5600-000                                  $2,600.00       $11,406,427.78
                                                                          100.00000%
                                4601 WALLASEY WAY
                                SALIDA, CA 95368
   08/27/14           32284     ARGO PARTNERS                             Claim 002463, Payment                               5600-000                                  $2,600.00       $11,403,827.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32285     JEFFREY HILL                              Claim 002464, Payment                               5600-000                                     $386.00      $11,403,441.78
                                                                          100.00000%
                                W 2331 Axen Rd
                                Gleason, WI 54435
   08/27/14           32286     KIM THURSTON                              Claim 002465A, Payment                              5600-000                                  $2,600.00       $11,400,841.78
                                                                          100.00000%
                                PO Box 192
                                Wisdom, MT 59761
   08/27/14           32287     KENNETH LINDSAY                           Claim 002466, Payment                               5600-000                                  $2,600.00       $11,398,241.78
                                                                          100.00000%
                                662 Grape Street
                                Hammonton, NJ 08037
   08/27/14           32288     BRIAN WHITESIDE                           Claim 002467, Payment                               5600-000                                  $1,215.00       $11,397,026.78
                                                                          100.00000%
                                81261 Red Rock Road
                                La Quinta, CA 92253
   08/27/14           32289     ARGO PARTNERS                             Claim 002468, Payment                               5600-000                                  $2,600.00       $11,394,426.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32290     KENNETH REDLICK                           Claim 002469, Payment                               5600-000                                  $2,600.00       $11,391,826.78
                                                                          100.00000%
                                514 Americas Way
                                PMB 4364
                                Box Elder, SD 57719-7600




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           32291     KATHRYN LANDRUM                           Claim 002470, Payment                               5600-000                                  $2,600.00      $11,389,226.78
                                                                          100.00000%
                                PO Box 4740
                                Arizona City, AZ 85223
   08/27/14           32292     RICHARD VENEZIA                           Claim 002471, Payment                               5600-000                                  $1,753.00      $11,387,473.78
                                                                          100.00000%
                                2031 Foxglove Circle
                                Bellport, NY 11713
   08/27/14           32293     TIMOTHY HORSEY                            Claim 002472, Payment                               5600-000                                  $2,600.00      $11,384,873.78
                                                                          100.00000%
                                685 Laurelton Rd
                                Rochester, NY 14609
   08/27/14           32294     ARGO PARTNERS                             Claim 002473, Payment                               5600-000                                  $2,600.00      $11,382,273.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32295     SERENA SCOZZAFAVA                         Claim 002474, Payment                               5600-000                                  $1,055.00      $11,381,218.78
                                                                          100.00000%
                                44 Osborn Road Apt. D2
                                Naugatuck, CT 06770
   08/27/14           32296     JOHN URBINO                               Claim 002475, Payment                               5600-000                                  $2,400.00      $11,378,818.78
                                                                          100.00000%
                                31010 Citrus Ave
                                Redlands, CA 92374
   08/27/14           32297     ASSET RECOVERY MANAGEMENT,                Claim 002476, Payment                               5600-000                                  $2,600.00      $11,376,218.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32298     SECOND CHANCE CREDIT                      Claim 002477, Payment                               5600-000                                  $2,600.00      $11,373,618.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32299     TIN PHYU                                  Claim 002478, Payment                               5600-000                                  $2,600.00      $11,371,018.78
                                                                          100.00000%
                                15419 64th Ave.
                                Flushing, NY 11367



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32300     ARGO PARTNERS                             Claim 002479, Payment                               5600-000                                  $2,600.00       $11,368,418.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32301     RANDY DONLEY                              Claim 002480, Payment                               5600-000                                     $538.00      $11,367,880.78
                                                                          100.00000%
                                100 S Franklin St Apt 601
                                Washington, PA 15301
   08/27/14           32302     ARGO PARTNERS                             Claim 002481, Payment                               5600-000                                  $2,600.00       $11,365,280.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32303     SECOND CHANCE CREDIT                      Claim 002482, Payment                               5600-000                                   $1,711.00      $11,363,569.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32304     KIMBERLY FOSTER                           Claim 002483, Payment                               5600-000                                     $409.00      $11,363,160.78
                                                                          100.00000%
                                9503 Luverne Hwy
                                Greenville, AL 36037
   08/27/14           32305     ARGO PARTNERS                             Claim 002484, Payment                               5600-000                                  $2,600.00       $11,360,560.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32306     ANN HANKE                                 Claim 002485, Payment                               5600-000                                     $429.00      $11,360,131.78
                                                                          100.00000%
                                711 11th Ave South Unit 1
                                Hopkins, MN 55343
   08/27/14           32307     WILLIAM PAWELCZYK                         Claim 002486, Payment                               5600-000                                  $2,416.00       $11,357,715.78
                                                                          100.00000%
                                19542 Colman
                                Clinton Township, MI 48035
   08/27/14           32308     RICHARD JONES                             Claim 002487, Payment                               5600-000                                  $2,600.00       $11,355,115.78
                                                                          100.00000%
                                7832 South 70th East Avenue
                                Tulsa, OK 74133




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $15,903.00
                                                                             Document          Page 261 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           32309     GARY KING                                Claim 002488, Payment                               5600-000                                     $403.00      $11,354,712.78
                                                                         100.00000%
                                PO Box 212
                                Milford, DE 19963
   08/27/14           32310     LAFAYETTE KING                           Claim 002489, Payment                               5600-000                                     $710.00      $11,354,002.78
                                                                         100.00000%
                                3312 Winesap Road
                                Hope Mills, NC 28348
   08/27/14           32311     RUEL AMO                                 Claim 002490, Payment                               5600-000                                  $2,568.00       $11,351,434.78
                                                                         100.00000%
                                8424 Mercury Dr
                                Buena Park, CA 90620
   08/27/14           32312     MITCHELL MCGRAW                          Claim 002492, Payment                               5600-000                                     $364.00      $11,351,070.78
                                                                         100.00000%
                                1037 Cottonwood Lane
                                Woodville, MS 39669
   08/27/14           32313     SECOND CHANCE CREDIT                     Claim 002493, Payment                               5600-000                                     $924.00      $11,350,146.78
                                OPPORTUNITIES,                           100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32314     JOAN OR CHARLES COOPER                   Claim 002494, Payment                               5600-000                                     $965.00      $11,349,181.78
                                                                         100.00000%
                                116 Northgate Court Apt. B
                                High Point, NC 27265
   08/27/14           32315     EDWARD STANLEY                           Claim 002495, Payment                               5600-000                                     $374.00      $11,348,807.78
                                                                         100.00000%
                                84 Lakeshore Drive
                                Spring Lake, NC 28390
   08/27/14           32316     SAMUEL DEGNER                            Claim 002496, Payment                               5600-000                                  $1,166.00       $11,347,641.78
                                                                         100.00000%
                                8515 Custer Rd SW
                                Lakewood, WA 98499
   08/27/14           32317     ROBERT LEHMANN                           Claim 002497, Payment                               5600-000                                  $1,970.00       $11,345,671.78
                                                                         100.00000%
                                116 Linden Avenue
                                W Long Branch, NJ 07764




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                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32318     WILLIAM O`CONNELL                         Claim 002498, Payment                               5600-000                                  $2,600.00       $11,343,071.78
                                                                          100.00000%
                                203 Cherry Hills Meadows Dr
                                Wildwood, MO 63040
   08/27/14           32319     ARGO PARTNERS                             Claim 002499, Payment                               5600-000                                  $2,600.00       $11,340,471.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32320     LADONNA L BARNEY                          Claim 002500, Payment                               5600-000                                  $2,600.00       $11,337,871.78
                                                                          100.00000%
                                1899 BRACHT-PINER RD
                                MORNINGVIEW, KY 41063
   08/27/14           32321     COREY WOOD                                Claim 002502, Payment                               5600-000                                  $2,600.00       $11,335,271.78
                                                                          100.00000%
                                268 Elkhorn Green Place
                                Georgetown, KY 40324
   08/27/14           32322     ASSET RECOVERY MANAGEMENT,                Claim 002504, Payment                               5600-000                                  $2,600.00       $11,332,671.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32323     CINDY TRITT                               Claim 002505, Payment                               5600-000                                     $499.00      $11,332,172.78
                                                                          100.00000%
                                274 County Road 558
                                Tillatoba, MS 38961
   08/27/14           32324     ARGO PARTNERS                             Claim 002506, Payment                               5600-000                                  $2,600.00       $11,329,572.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32325     PHILLIP LEMIEUX                           Claim 002507, Payment                               5600-000                                     $248.00      $11,329,324.78
                                                                          100.00000%
                                9149 S E Deerberry Place
                                Jupiter, FL 33469
   08/27/14           32326     ARGO PARTNERS                             Claim 002509, Payment                               5600-000                                  $2,600.00       $11,326,724.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32327     DAVID MOORE                               Claim 002510, Payment                               5600-000                                  $1,160.00       $11,325,564.78
                                                                          100.00000%
                                3315 Nostrand Ave. Apt 1-I
                                Brooklyn, NY 11229
   08/27/14           32328     ARGO PARTNERS                             Claim 002511, Payment                               5600-000                                  $2,600.00       $11,322,964.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32329     ARGO PARTNERS                             Claim 002512, Payment                               5600-000                                  $2,600.00       $11,320,364.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32330     JOHN AWA                                  Claim 002514, Payment                               5600-000                                  $2,526.00       $11,317,838.78
                                                                          100.00000%
                                1031 Ala Napunani Street Apt 401
                                Hononlulu, HI 96818
   08/27/14           32331     LIQUIDITY SOLUTIONS, INC.                 Claim 002515, Payment                               5600-000                                  $1,748.00       $11,316,090.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32332     ANA MARIA KRALLZIROGLU                    Claim 002516, Payment                               5600-000                                  $2,600.00       $11,313,490.78
                                                                          100.00000%
                                59-11 Queens Blvd 5H
                                Woodside, NY 11377
   08/27/14           32333     SHERRY N JOHNSON                          Claim 002517, Payment                               5600-000                                     $239.00      $11,313,251.78
                                                                          100.00000%
                                3707 Colborne Road
                                Baltimore, MD 21229
   08/27/14           32334     DEWAYNE WATSON                            Claim 002518, Payment                               5600-000                                     $485.00      $11,312,766.78
                                                                          100.00000%
                                206 East Center Street
                                Sidney, IN 46562-8927
   08/27/14           32335     KATHY HOLZNER                             Claim 002519A, Payment                              5600-000                                  $1,764.00       $11,311,002.78
                                                                          100.00000%
                                550 South Poplar Avenue
                                Brea, CA 92821
   08/27/14           32336     ASHLEY TABORY                             Claim 002520, Payment                               5600-000                                  $1,180.00       $11,309,822.78
                                PO Box 441Burney, CA 96013                100.00000%



                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32337     LORI TRYCHTA                              Claim 002521, Payment                               5600-000                                     $459.00      $11,309,363.78
                                                                          100.00000%
                                400 Joshua Tree Drive
                                Harvard, IL 60033
   08/27/14           32338     ALISON NUCCIO                             Claim 002522, Payment                               5600-004                                  $1,420.00       $11,307,943.78
                                                                          100.00000%
                                5480 Pine Top Circle
                                Raleigh, NC 27612
   08/27/14           32339     CHRISTOPHER FARMER                        Claim 002523, Payment                               5600-000                                     $291.00      $11,307,652.78
                                                                          100.00000%
                                801 Muldowney Avenue
                                West Mifflin, PA 15122
   08/27/14           32340     ARGO PARTNERS                             Claim 002524, Payment                               5600-000                                  $2,600.00       $11,305,052.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32341     ALICE JONES                               Claim 002525, Payment                               5600-000                                  $1,412.00       $11,303,640.78
                                                                          100.00000%
                                696 Cummins Ave.
                                Hueytown, AL 35023
   08/27/14           32342     JEANETTE WILLIAMS                         Claim 002526, Payment                               5600-000                                  $2,600.00       $11,301,040.78
                                                                          100.00000%
                                4925 Greene St.
                                Philadelphia, PA 19144
   08/27/14           32343     JOSEPH MILLER                             Claim 002527, Payment                               5600-000                                  $1,922.00       $11,299,118.78
                                                                          100.00000%
                                2430 Fair Oaks Blvd Apt 75
                                Sacramento, CA 95825
   08/27/14           32344     ARGO PARTNERS                             Claim 002528, Payment                               5600-000                                  $2,600.00       $11,296,518.78
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           32345     SECOND CHANCE CREDIT                      Claim 002529, Payment                               5600-000                                  $2,600.00       $11,293,918.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32346     RICHARD HANNON                            Claim 002530, Payment                               5600-000                                  $2,600.00       $11,291,318.78
                                2523 SEth 20th Ave.Cape Coral, FL         100.00000%
                                33904


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           32347     GERALD TURCK                              Claim 002531, Payment                               5600-000                                  $2,300.00      $11,289,018.78
                                                                          100.00000%
                                13222 12th Place West
                                Everret, WA 98204
   08/27/14           32348     GEORGE VOLPE                              Claim 002532, Payment                               5600-000                                  $2,600.00      $11,286,418.78
                                                                          100.00000%
                                89 Sprague Avenue
                                Staten Island, NY 10307
   08/27/14           32349     JENNA WILLIAMS PARR                       Claim 002533, Payment                               5600-000                                  $2,600.00      $11,283,818.78
                                                                          100.00000%
                                6292 Windmill Lane
                                Grant Park, IL 60940
   08/27/14           32350     LIQUIDITY SOLUTIONS, INC.                 Claim 002534, Payment                               5600-000                                  $2,600.00      $11,281,218.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32351     CARRIE STEPHENS                           Claim 002535, Payment                               5600-000                                  $2,600.00      $11,278,618.78
                                                                          100.00000%
                                1750 S Gordon Street
                                Atlanta, GA 30310
   08/27/14           32352     ARGO PARTNERS                             Claim 002536, Payment                               5600-000                                  $2,600.00      $11,276,018.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32353     MELISSA ROGERS                            Claim 002537, Payment                               5600-000                                  $2,600.00      $11,273,418.78
                                                                          100.00000%
                                PO BOX 140
                                Edneyville, NC 28727
   08/27/14           32354     MARY PHELAN                               Claim 002538, Payment                               5600-000                                  $2,600.00      $11,270,818.78
                                                                          100.00000%
                                4029 Cardinal Boulevard
                                Port Orange, FL 32127
   08/27/14           32355     NADINE BARRY                              Claim 002539, Payment                               5600-000                                  $2,600.00      $11,268,218.78
                                                                          100.00000%
                                147 Ocean Avenue Apt 2E
                                Brooklyn, NY 11225




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           32356     PATRICIA MURRAY                           Claim 002540, Payment                               5600-000                                  $2,600.00      $11,265,618.78
                                                                          100.00000%
                                30 Lachine St
                                Chicopee, MA 01020
   08/27/14           32357     DONNA CIPOLLA                             Claim 002541, Payment                               5600-000                                  $2,600.00      $11,263,018.78
                                                                          100.00000%
                                4458 Jasmine Ave
                                Culver City, CA 90232
   08/27/14           32358     DEBRA WARTHAN                             Claim 002542, Payment                               5600-000                                  $2,600.00      $11,260,418.78
                                                                          100.00000%
                                1900 River Road
                                Sparta, WI 54656
   08/27/14           32359     LENORA GROOMS                             Claim 002543, Payment                               5600-000                                  $2,600.00      $11,257,818.78
                                                                          100.00000%
                                512 Sarah Street
                                Charleston, SC 29407
   08/27/14           32360     ARGO PARTNERS                             Claim 002544, Payment                               5600-000                                  $2,600.00      $11,255,218.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32361     KENNETH WINTER                            Claim 002545, Payment                               5600-000                                  $2,600.00      $11,252,618.78
                                c/o Azar and Azar                         100.00000%
   08/27/14           32362     JAYSON DELISLE                            Claim 002546, Payment                               5600-000                                  $2,600.00      $11,250,018.78
                                                                          100.00000%
                                484 McCartney Dr
                                Highland, MI 48356
   08/27/14           32363     DEBORAH VANCE                             Claim 002547, Payment                               5600-000                                  $2,600.00      $11,247,418.78
                                                                          100.00000%
                                PO Box 773
                                Spindale, NC 28160
   08/27/14           32364     JOSEPH SIMMS                              Claim 002548, Payment                               5600-000                                  $1,376.00      $11,246,042.78
                                                                          100.00000%
                                43 Windcrest Terrace
                                Covington, GA 30016
   08/27/14           32365     ARGO PARTNERS                             Claim 002549, Payment                               5600-000                                  $2,600.00      $11,243,442.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32366     YVONNE HEDLER-SCHMIDT                     Claim 002551A, Payment                              5600-000                                  $2,600.00       $11,240,842.78
                                                                          100.00000%
                                4024 W BELLE AVE
                                BLOOMINGTON, IN 47403
   08/27/14           32367     KATRINA PETTUS                            Claim 002552, Payment                               5600-000                                     $855.00      $11,239,987.78
                                                                          100.00000%
                                1033 Yellow Daisy Dr
                                Stallings, NC 28104
   08/27/14           32368     PEGGY KRAJNIAK                            Claim 002553, Payment                               5600-000                                  $2,600.00       $11,237,387.78
                                                                          100.00000%
                                4443 Mud Lake Road
                                Posen, MI 49776
   08/27/14           32369     EARLINE SCOTT-DOUGLAS                     Claim 002554, Payment                               5600-000                                     $868.00      $11,236,519.78
                                                                          100.00000%
                                2179 Creekview Trail
                                Decatur, GA 30035
   08/27/14           32370     ANGELA HAZZARD                            Claim 002555, Payment                               5600-000                                     $860.00      $11,235,659.78
                                                                          100.00000%
                                2 Foxfield Cove
                                Little Rock, AR 72211
   08/27/14           32371     ARGO PARTNERS                             Claim 002556, Payment                               5600-000                                  $2,600.00       $11,233,059.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32372     SAMANTHA BORNDS                           Claim 002557, Payment                               5600-004                                     $830.00      $11,232,229.78
                                                                          100.00000%
                                26241 LAKE SHORE BLVD APT 961
                                EUCLID, OH 44132-1143
   08/27/14           32373     KEITH OBRIEN AND DIANE K STANTON Claim 002558, Payment                                        5600-000                                  $1,734.00       $11,230,495.78
                                                                 100.00000%
                                29502 E. County Road 1690
                                Elmore City, OK 73433
   08/27/14           32374     DAN WARD                                  Claim 002559, Payment                               5600-000                                  $2,600.00       $11,227,895.78
                                                                          100.00000%
                                239 W US Highway 30
                                Valparaiso, IN 46387-5347




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $15,547.00
                                                                             Document          Page 268 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32375     ARGO PARTNERS                             Claim 002560A, Payment                              5600-000                                  $2,600.00       $11,225,295.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32376     SECOND CHANCE CREDIT                      Claim 002561, Payment                               5600-000                                  $1,123.00       $11,224,172.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32377     MICHAEL LANZARONE                         Claim 002562, Payment                               5600-000                                  $2,300.00       $11,221,872.78
                                                                          100.00000%
                                919 Ave. T
                                Brooklyn, NY 11223
   08/27/14           32378     ROBERT PAGARIGAN                          Claim 002563, Payment                               5600-000                                  $2,600.00       $11,219,272.78
                                                                          100.00000%
                                2317 West Lincoln Ave
                                Montebello, CA 90640
   08/27/14           32379     DANIEL IBARRA                             Claim 002564, Payment                               5600-000                                  $2,600.00       $11,216,672.78
                                                                          100.00000%
                                11517 Haro Ave Apt 14
                                Downey, CA 90241
   08/27/14           32380     HEATHER PORTER                            Claim 002565, Payment                               5600-000                                     $804.00      $11,215,868.78
                                                                          100.00000%
                                104 Meredith Dr
                                Cherryville, NC 28021
   08/27/14           32381     PHYLLIS AGUILERA                          Claim 002566, Payment                               5600-000                                     $160.00      $11,215,708.78
                                                                          100.00000%
                                136 Pecan Grove Ave
                                Goose Creek, SC 29445-3646
   08/27/14           32382     SHIRLEY SIMPSON                           Claim 002567, Payment                               5600-000                                  $2,600.00       $11,213,108.78
                                                                          100.00000%
                                5724 Riverdale road apartment C-1
                                College Park, GA 30349
   08/27/14           32383     SECOND CHANCE CREDIT                      Claim 002568, Payment                               5600-000                                  $2,600.00       $11,210,508.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,387.00
                                                                             Document          Page 269 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32384     ARGO PARTNERS                             Claim 002569, Payment                               5600-000                                  $2,600.00       $11,207,908.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32385     KRISTINA SHIELDS                          Claim 002570, Payment                               5600-000                                  $2,600.00       $11,205,308.78
                                                                          100.00000%
                                3645 North 7th Avenue 35A
                                Phoenix, AZ 85013
   08/27/14           32386     NANCY PEREZ                               Claim 002571, Payment                               5600-000                                  $2,600.00       $11,202,708.78
                                                                          100.00000%
                                100 Asch Loop Apt 8-E
                                Bronx, NY 10475
   08/27/14           32387     BENJAMIN ZINK                             Claim 002572, Payment                               5600-000                                     $608.00      $11,202,100.78
                                                                          100.00000%
                                1214 2nd St
                                Hudson, WI 54016
   08/27/14           32388     DONNA CHAMBERS                            Claim 002573, Payment                               5600-000                                  $1,509.00       $11,200,591.78
                                                                          100.00000%
                                7440 191ST AVE SW
                                Rochester, WA 98579
   08/27/14           32389     ANNALEE DUNN                              Claim 002574A, Payment                              5600-000                                     $649.00      $11,199,942.78
                                                                          100.00000%
                                2736 Xenia St.
                                Bellingham, WA 98226
   08/27/14           32390     JAMES MITCHELL                            Claim 002575, Payment                               5600-000                                     $491.00      $11,199,451.78
                                                                          100.00000%
                                17 Baldwin Ave
                                Addison, NY 14801
   08/27/14           32391     DAWN KAPPELMANN                           Claim 002576, Payment                               5600-000                                     $558.00      $11,198,893.78
                                                                          100.00000%
                                11920 W 82nd Terrace
                                Lenexa, KS 66215
   08/27/14           32392     ARGO PARTNERS                             Claim 002577, Payment                               5600-000                                  $2,600.00       $11,196,293.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                                                                                     Desc Main         $14,215.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32393     ARGO PARTNERS                             Claim 002578, Payment                               5600-000                                  $1,801.00       $11,194,492.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32394     TREVOR FARNSWORTH                         Claim 002579, Payment                               5600-000                                  $2,600.00       $11,191,892.78
                                32 Donegal PlaceIOWA CITY, IA52246        100.00000%
   08/27/14           32395     DANIEL RONDEAU                         Claim 002580, Payment                                  5600-000                                  $2,600.00       $11,189,292.78
                                277 Harantis Lake Rd.Chester, NH 03036 100.00000%
   08/27/14           32396     LIQUIDITY SOLUTIONS, INC.                 Claim 002581, Payment                               5600-000                                  $2,600.00       $11,186,692.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32397     MARLENE CAVALANCIA                        Claim 002582, Payment                               5600-000                                  $2,600.00       $11,184,092.78
                                                                          100.00000%
                                162 Vetter Dr
                                Pittsburgh, PA 15235
   08/27/14           32398     DOROTHY HAROLD                            Claim 002583, Payment                               5600-004                                  $2,600.00       $11,181,492.78
                                                                          100.00000%
                                672 South 6th Street
                                Kerman, CA 93630
   08/27/14           32399     ROBERT JOSEFOWICZ                         Claim 002584, Payment                               5600-000                                  $2,600.00       $11,178,892.78
                                                                          100.00000%
                                PO BOX 1627
                                Apache Junction, AZ 85117
   08/27/14           32400     EDWARD SCHREFFLER                         Claim 002585, Payment                               5600-000                                  $2,600.00       $11,176,292.78
                                                                          100.00000%
                                640 Northeast 77th Street
                                Ocala, FL 34479
   08/27/14           32401     SAUL LOVATO                               Claim 002586, Payment                               5600-000                                     $379.00      $11,175,913.78
                                                                          100.00000%
                                1718 Starr St.
                                Richwood, NY 11385
   08/27/14           32402     EDDA BURGA                                Claim 002587, Payment                               5600-000                                  $2,600.00       $11,173,313.78
                                                                          100.00000%
                                429 W. Plantation Rd.
                                Virginia Bch., VA 23454




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32403     DAVID RAMIREZ                             Claim 002588, Payment                               5600-000                                     $233.00      $11,173,080.78
                                6523 Reed Ct.Arvada, Jefferson, CO        100.00000%
                                80003-4419
   08/27/14           32404     MINDY BATIEN                              Claim 002589, Payment                               5600-000                                  $2,367.00       $11,170,713.78
                                                                          100.00000%
                                2018 Victoria Dr
                                Stafford, VA 22554
   08/27/14           32405     KAREN COOPER                              Claim 002590, Payment                               5600-000                                  $2,600.00       $11,168,113.78
                                                                          100.00000%
                                38462 Morrisonville Road
                                Lovettsville, VA 20180
   08/27/14           32406     SECOND CHANCE CREDIT                      Claim 002592A, Payment                              5600-000                                     $474.00      $11,167,639.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32407     ARGO PARTNERS                             Claim 002593A, Payment                              5600-000                                  $1,775.00       $11,165,864.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32408     LADD MEZER                                Claim 002594, Payment                               5600-000                                     $548.00      $11,165,316.78
                                                                          100.00000%
                                1772 Ingram Rd
                                Penn Yan, NY 14527
   08/27/14           32409     SHARON HUGHES                             Claim 002596, Payment                               5600-000                                     $515.00      $11,164,801.78
                                                                          100.00000%
                                PO Box 45
                                Wheatfield, IN 46392
   08/27/14           32410     ARGO PARTNERS                             Claim 002597, Payment                               5600-000                                  $2,600.00       $11,162,201.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32411     CARLENE SLOAN                             Claim 002598A, Payment                              5600-000                                  $2,600.00       $11,159,601.78
                                                                          100.00000%
                                4404 CHARLESTON PL
                                DUNWOODY, GA 30338




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32412     KELLY EMMONS                              Claim 002599, Payment                               5600-000                                     $617.00      $11,158,984.78
                                                                          100.00000%
                                2316 WEST RIDGE DR
                                FESTUS, MO 63028
   08/27/14           32413     LIQUIDITY SOLUTIONS, INC.                 Claim 002600, Payment                               5600-000                                  $1,645.00       $11,157,339.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32414     ANGEL NIEVES                              Claim 002601, Payment                               5600-000                                  $2,600.00       $11,154,739.78
                                                                          100.00000%
                                159 Wickes Road
                                Bushkill, PA 18324
   08/27/14           32415     BETTY ORTEGA                              Claim 002602, Payment                               5600-000                                     $427.00      $11,154,312.78
                                                                          100.00000%
                                319 N Barnett Ave
                                Dallas, TX 75211
   08/27/14           32416     ANN CHAMPLIN                              Claim 002603, Payment                               5600-000                                     $162.00      $11,154,150.78
                                                                          100.00000%
                                16A Old Mountain Road
                                Wyoming, RI 02898
   08/27/14           32417     ARGO PARTNERS                             Claim 002604, Payment                               5600-000                                  $2,600.00       $11,151,550.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32418     LAUREN MCKENNEY                           Claim 002605, Payment                               5600-004                                     $309.00      $11,151,241.78
                                                                          100.00000%
                                4975 DEL MONTE AVE
                                APT 207
                                San Diego, CA 92107
   08/27/14           32419     LEVAN WATSON                              Claim 002606, Payment                               5600-000                                  $2,600.00       $11,148,641.78
                                                                          100.00000%
                                112 Milan Ln
                                Poinciana, FL 34759
   08/27/14           32420     MERLAN SHAY                               Claim 002607, Payment                               5600-000                                     $638.00      $11,148,003.78
                                                                          100.00000%
                                12116 Nicholas Rd
                                Green Valley, IL 61534




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32421     DANIEL EMERT                              Claim 002608A, Payment                              5600-004                                     $232.00      $11,147,771.78
                                                                          100.00000%
                                355 Allegan Dr.
                                San Jose, CA 95123-5002
   08/27/14           32422     MAKENZIE SCHMIDT                          Claim 002609, Payment                               5600-000                                     $329.00      $11,147,442.78
                                                                          100.00000%
                                7149 W State Road 66
                                Richland, IN 47634
   08/27/14           32423     JEANNIE NGUYEN                            Claim 002610, Payment                               5600-000                                     $295.00      $11,147,147.78
                                                                          100.00000%
                                9215 Kirkmont Dr
                                Houston, TX 77089
   08/27/14           32424     ARGO PARTNERS                             Claim 002611A, Payment                              5600-000                                  $2,600.00       $11,144,547.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32425     DAWN LAMPERS                              Claim 002612, Payment                               5600-000                                     $932.00      $11,143,615.78
                                                                          100.00000%
                                1244 Prairie Du Chien Dr
                                Dubuque, IA 52003
   08/27/14           32426     LESLIE HASS                               Claim 002613, Payment                               5600-000                                     $640.00      $11,142,975.78
                                                                          100.00000%
                                3704 N 2200 East
                                Filer, ID 83328
   08/27/14           32427     SILVESTRE VERGARA                         Claim 002614, Payment                               5600-000                                     $800.00      $11,142,175.78
                                                                          100.00000%
                                2425 Ross Avenue
                                Fort Worth, TX 76164
   08/27/14           32428     HOLLY MILLS                               Claim 002615, Payment                               5600-000                                     $413.00      $11,141,762.78
                                                                          100.00000%
                                305 Fox Trail Dr
                                Atlanta, GA 30349
   08/27/14           32429     MELANIE SLOAN                             Claim 002616, Payment                               5600-000                                  $2,600.00       $11,139,162.78
                                                                          100.00000%
                                101 Clinton Road
                                Antrim, NH 03440




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                                                                             Document          Page 274 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32430     BARBARA WILSON                            Claim 002617, Payment                               5600-000                                  $2,600.00       $11,136,562.78
                                                                          100.00000%
                                3842 Atkins Road
                                Cedar Hill, TN 37032
   08/27/14           32431     ALAN WILSON                               Claim 002618, Payment                               5600-000                                  $2,600.00       $11,133,962.78
                                                                          100.00000%
                                3842 Atkins Road
                                Cedar Hill, TN 37032
   08/27/14           32432     MAUREEN L PLATEK                          Claim 002619, Payment                               5600-000                                     $190.00      $11,133,772.78
                                                                          100.00000%
                                234 North St.
                                Caledonia, NY 14423
   08/27/14           32433     WAYNE JAMBARD                             Claim 002620, Payment                               5600-000                                  $2,600.00       $11,131,172.78
                                                                          100.00000%
                                RR 2 Box 178
                                Ramsey, IL 62080
   08/27/14           32434     ARGO PARTNERS                             Claim 002621, Payment                               5600-000                                  $2,600.00       $11,128,572.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32435     JOSEPH BOSSI                              Claim 002622, Payment                               5600-000                                  $2,600.00       $11,125,972.78
                                                                          100.00000%
                                214 Sedgebrooke Drive
                                Warner Robins, GA 31088
   08/27/14           32436     THOMAS DAWSON                             Claim 002623, Payment                               5600-000                                  $2,600.00       $11,123,372.78
                                                                          100.00000%
                                1008 Whitney Springs Ct
                                Holly Springs, NC 27540
   08/27/14           32437     DEBBIE GREENE                             Claim 002624, Payment                               5600-000                                     $265.00      $11,123,107.78
                                                                          100.00000%
                                6402 Brays Street
                                Lanham, MD 20706-3524
   08/27/14           32438     ERIN WALKER                               Claim 002625, Payment                               5600-000                                  $2,600.00       $11,120,507.78
                                                                          100.00000%
                                216 Fourth St
                                Oconto, WI 54153




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32439     LIQUIDITY SOLUTIONS, INC.                 Claim 002626, Payment                               5600-000                                  $2,600.00       $11,117,907.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32440     GAREY HARTLEY                             Claim 002627, Payment                               5600-000                                  $2,600.00       $11,115,307.78
                                                                          100.00000%
                                1252 Meadow Rd
                                BOWDOIN, ME 04287
   08/27/14           32441     LATORA TAYLOR                             Claim 002629, Payment                               5600-000                                  $2,600.00       $11,112,707.78
                                                                          100.00000%
                                7013 Milport Pl
                                Charlotte, NC 28215
   08/27/14           32442     ROBERT RICHARDS                           Claim 002631, Payment                               5600-000                                     $486.00      $11,112,221.78
                                                                          100.00000%
                                500 Delacy Dr
                                Fairview, TN 37062
   08/27/14           32443     SECOND CHANCE CREDIT                      Claim 002632, Payment                               5600-000                                  $2,145.00       $11,110,076.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32444     ARGO PARTNERS                             Claim 002633, Payment                               5600-000                                  $2,600.00       $11,107,476.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32445     ESPERANZA PIRMAN                          Claim 002634, Payment                               5600-004                                  $1,523.00       $11,105,953.78
                                                                          100.00000%
                                750 Nandina Court
                                Oxnard, CA 93036
   08/27/14           32446     ARGO PARTNERS                             Claim 002635, Payment                               5600-000                                  $2,600.00       $11,103,353.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32447     ANGELICA MARTINEZ                         Claim 002636, Payment                               5600-000                                  $2,600.00       $11,100,753.78
                                                                          100.00000%
                                144 W. Ardmore Rd.
                                Phoenix, AZ 85041-8411




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $19,754.00
                                                                             Document          Page 276 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32448     VATCHE NAJARIAN                           Claim 002637, Payment                               5600-000                                     $228.00      $11,100,525.78
                                                                          100.00000%
                                17 Sexton Street
                                Watertown, MA 02472
   08/27/14           32449     TAIRA CAMACHO                             Claim 002638, Payment                               5600-000                                     $226.00      $11,100,299.78
                                                                          100.00000%
                                3318 Hillmont Circle
                                Orlando, FL 32817
   08/27/14           32450     DALE POPE                                 Claim 002640, Payment                               5600-000                                  $2,600.00       $11,097,699.78
                                                                          100.00000%
                                4378 Earnhardt Road
                                Ashboro, NC 27205
   08/27/14           32451     ROSARIO RIO                               Claim 002642, Payment                               5600-004                                  $2,600.00       $11,095,099.78
                                                                          100.00000%
                                200 South Albany Street Apt 19-B
                                Delano, CA 93215
   08/27/14           32452     LIQUIDITY SOLUTIONS, INC.                 Claim 002643, Payment                               5600-000                                  $2,600.00       $11,092,499.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32453     SCOTT BUSS                                Claim 002645, Payment                               5600-000                                  $2,600.00       $11,089,899.78
                                                                          100.00000%
                                760 24th Avenue
                                Santa Cruz, CA 95062
   08/27/14           32454     DIANE RALEY                               Claim 002646, Payment                               5600-000                                  $2,600.00       $11,087,299.78
                                                                          100.00000%
                                PO Box 324
                                Lakeview, AR 72642
   08/27/14           32455     INGRID FUENTES IEON                       Claim 002647A, Payment                              5600-000                                     $201.00      $11,087,098.78
                                                                          100.00000%
                                7141 Plaza Street
                                Westminster, CA 92683
   08/27/14           32456     ROBERT MILLER                             Claim 002648, Payment                               5600-000                                     $949.00      $11,086,149.78
                                                                          100.00000%
                                145 Gill Lane
                                Stockbridge, GA 30281




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32457     ARGO PARTNERS                             Claim 002649, Payment                               5600-000                                  $2,600.00       $11,083,549.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32458     GREGORY MCPHERSON                         Claim 002650, Payment                               5600-000                                  $2,600.00       $11,080,949.78
                                                                          100.00000%
                                2422 Crescent Lake Road
                                Waterford, MI 48329
   08/27/14           32459     ARGO PARTNERS                             Claim 002651, Payment                               5600-000                                  $2,600.00       $11,078,349.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32460     ANJA DIAL                                 Claim 002652, Payment                               5600-000                                     $283.00      $11,078,066.78
                                                                          100.00000%
                                3861 Hwy 9
                                Leola, AR 72084
   08/27/14           32461     MELANIA MEJIA                             Claim 002653, Payment                               5600-000                                  $1,177.00       $11,076,889.78
                                                                          100.00000%
                                7847 Los Arboles Place
                                Riverside, CA 92504
   08/27/14           32462     STEPHANIE AND JAMES MOSES                 Claim 002654, Payment                               5600-004                                     $843.00      $11,076,046.78
                                                                          100.00000%
                                1238 CHESTNUT ST
                                Kingsport, TN 37664-2464
   08/27/14           32463     OSCAR ALANIZ                              Claim 002655, Payment                               5600-000                                  $2,600.00       $11,073,446.78
                                                                          100.00000%
                                3786 FM 626
                                Karnes City, TX 78118
   08/27/14           32464     EDWARD TAMANO                             Claim 002656, Payment                               5600-000                                     $273.00      $11,073,173.78
                                                                          100.00000%
                                15738 Paseo Largavista
                                San Lorenzo, CA 94580
   08/27/14           32465     TIFFANY BLAKELEY OCAMPO                   Claim 002658, Payment                               5600-000                                  $2,437.00       $11,070,736.78
                                                                          100.00000%
                                PO Box 34900 #315
                                Kailua HI 96734




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $15,413.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32466     LIQUIDITY SOLUTIONS, INC.                 Claim 002659A, Payment                              5600-000                                  $2,600.00       $11,068,136.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32467     LIQUIDITY SOLUTIONS, INC.                 Claim 002660, Payment                               5600-000                                  $2,600.00       $11,065,536.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32468     HAYLEY MCCREARY                           Claim 002661, Payment                               5600-000                                  $1,131.00       $11,064,405.78
                                                                          100.00000%
                                25 Pell St. Apt. 5F
                                New York, NY 10013
   08/27/14           32469     JAMES WILLIAMS                            Claim 002662, Payment                               5600-004                                     $368.00      $11,064,037.78
                                                                          100.00000%
                                5700 Bunkerhill Street Apt 1904
                                Pittsburgh, PA 15206
   08/27/14           32470     ARGO PARTNERS                             Claim 002663, Payment                               5600-000                                  $2,600.00       $11,061,437.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32471     LIQUIDITY SOLUTIONS, INC.                 Claim 002664, Payment                               5600-000                                  $2,600.00       $11,058,837.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32472     JOHNNIE STALEY                            Claim 002665, Payment                               5600-000                                  $2,365.00       $11,056,472.78
                                                                          100.00000%
                                262 SQUIRREL RD
                                SALLEY, SC 29137
   08/27/14           32473     VERNA I ADAMS                             Claim 002666, Payment                               5600-004                                  $2,600.00       $11,053,872.78
                                                                          100.00000%
                                PO Box 1142
                                Vaughn, WA 98394
   08/27/14           32474     ANGELA HUNTLEY                            Claim 002667, Payment                               5600-000                                  $2,600.00       $11,051,272.78
                                                                          100.00000%
                                3218 Sutton Drive
                                Charalotte, NC 28216




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                                                                                                                                                     Desc Main         $19,464.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32475     CATHERINE HILL                            Claim 002668, Payment                               5600-000                                  $2,600.00       $11,048,672.78
                                                                          100.00000%
                                244 Fairview Circle
                                Middle Island, NY 11953
   08/27/14           32476     IMA ADAMS                                 Claim 002669, Payment                               5600-000                                     $878.00      $11,047,794.78
                                                                          100.00000%
                                207 Sunnybrook Lane
                                Warner Robins, GA 31088
   08/27/14           32477     DAVID HERMRECK                            Claim 002670, Payment                               5600-000                                  $2,600.00       $11,045,194.78
                                                                          100.00000%
                                20583 S Stanley Rd
                                Quenemo, KS 66528
   08/27/14           32478     PATRICIA NEAL                             Claim 002671, Payment                               5600-000                                     $709.00      $11,044,485.78
                                                                          100.00000%
                                10450 Dallas Hollow Rd
                                Soddy Daisy, TN 37379
   08/27/14           32479     IRETHA LAWRENCE                           Claim 002672, Payment                               5600-000                                     $343.00      $11,044,142.78
                                                                          100.00000%
                                301 Ebon Road
                                Durham, NC 27713
   08/27/14           32480     KERI LEXA                                 Claim 002673, Payment                               5600-000                                     $683.00      $11,043,459.78
                                                                          100.00000%
                                11602 NE 14th ST
                                Vancouver, WA 98684
   08/27/14           32481     SHARON HAYS                               Claim 002674, Payment                               5600-000                                     $344.00      $11,043,115.78
                                                                          100.00000%
                                37832 Willowmere St.
                                Harrison Township, MI 48045
   08/27/14           32482     ALBA ORDONEZ                              Claim 002675, Payment                               5600-000                                  $2,569.00       $11,040,546.78
                                                                          100.00000%
                                55 Liberty St.
                                Revere, MA 02151
   08/27/14           32483     LIQUIDITY SOLUTIONS, INC.                 Claim 002676, Payment                               5600-000                                  $2,393.00       $11,038,153.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           32484     KENNY BLAKENEY                           Claim 002677A, Payment                              5600-000                                  $1,201.00       $11,036,952.78
                                                                         100.00000%
                                2112 Cunningham Rd
                                Columbia, SC 29210
   08/27/14           32485     TIM GRAHAM                               Claim 002678, Payment                               5600-004                                  $1,070.00       $11,035,882.78
                                                                         100.00000%
                                140 Nash Ct.
                                Mooresville, NC 28115
   08/27/14           32486     MABEL VERGARA                          Claim 002679, Payment                                 5600-000                                  $2,600.00       $11,033,282.78
                                1742 S. Woodland Blvd.Deland, FL 32720 100.00000%
   08/27/14           32487     SECOND CHANCE CREDIT                     Claim 002680, Payment                               5600-000                                     $651.00      $11,032,631.78
                                OPPORTUNITIES,                           100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32488     JANIS SCHWADRON-DIAZ                     Claim 002681, Payment                               5600-000                                     $819.00      $11,031,812.78
                                                                         100.00000%
                                37-18 Berdan Ave
                                Fairlawn, NJ 07410
   08/27/14           32489     ARGO PARTNERS                            Claim 002682, Payment                               5600-000                                  $2,600.00       $11,029,212.78
                                12 West 37th St., 9th Fl.New York, NY    100.00000%
                                10018
   08/27/14           32490     DELORIS PETERSON                         Claim 002683, Payment                               5600-000                                     $750.00      $11,028,462.78
                                                                         100.00000%
                                1827 Savannah Court
                                Wilmington, NC 28403-5382
   08/27/14           32491     MARITA ALEXANDER                         Claim 002685, Payment                               5600-004                                     $731.00      $11,027,731.78
                                                                         100.00000%
                                PO Box 521
                                Ralston, WY 82440
   08/27/14           32492     BANKRUPTCY ESTATE OF SABRINA             Claim 002686, Payment                               5600-000                                  $2,205.00       $11,025,526.78
                                HURST                                    100.00000%

                                CARL B DAVIS TRUSTEE
                                PO BOX 12686
                                CASE NO 09-13847
                                WICHITA, KS 67277




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32493     MELVIN JACKSON                            Claim 002687, Payment                               5600-000                                  $2,600.00       $11,022,926.78
                                                                          100.00000%
                                3841 North Sweet Leaf Ave
                                Rialto, CA 92377
   08/27/14           32494     ARCHELLE ROGACION                         Claim 002688, Payment                               5600-000                                  $2,600.00       $11,020,326.78
                                27432 146th Ave. SEKent, WA 98042         100.00000%
   08/27/14           32495     SECOND CHANCE CREDIT                      Claim 002689, Payment                               5600-000                                     $848.00      $11,019,478.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32496     LIQUIDITY SOLUTIONS, INC.                 Claim 002690, Payment                               5600-000                                  $2,600.00       $11,016,878.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32497     LIGAYA AMAT                               Claim 002691A, Payment                              5600-000                                  $2,600.00       $11,014,278.78
                                                                          100.00000%
                                32515 JACKLYN DRIVE
                                UNION CITY, CA 94587
   08/27/14           32498     LIQUIDITY SOLUTIONS, INC.                 Claim 002692, Payment                               5600-000                                  $1,121.00       $11,013,157.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32499     ARGO PARTNERS                             Claim 002693, Payment                               5600-000                                  $2,600.00       $11,010,557.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32500     KEVIN YATSKO                              Claim 002694, Payment                               5600-000                                  $2,600.00       $11,007,957.78
                                                                          100.00000%
                                26548 Locust Drive
                                Olmsted Falls, OH 44138
   08/27/14           32501     ELAINE KENFIELD                           Claim 002695, Payment                               5600-000                                  $2,600.00       $11,005,357.78
                                                                          100.00000%
                                631 GAGE ROAD
                                DELANSON, NY 12053
   08/27/14           32502     COREY THOMPSON                            Claim 002696, Payment                               5600-000                                  $2,600.00       $11,002,757.78
                                                                          100.00000%
                                17620 Krameria Avenue
                                Riverside, CA 92504


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32503     ARGO PARTNERS                             Claim 002697A, Payment                              5600-000                                  $2,600.00       $11,000,157.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32504     CATHY DUNBAR                              Claim 002698, Payment                               5600-000                                     $525.00      $10,999,632.78
                                                                          100.00000%
                                233 Pearl Lane
                                Williston, SC 29853
   08/27/14           32505     WILLIAM FODOR                             Claim 002699, Payment                               5600-000                                  $1,340.00       $10,998,292.78
                                                                          100.00000%
                                27 Annetta Ave
                                Northport, NY 11768
   08/27/14           32506     RAJ REMHARACK                             Claim 002700, Payment                               5600-000                                  $2,600.00       $10,995,692.78
                                                                          100.00000%
                                1999 NE 176th St.
                                North Miami Beach, FL 33162
   08/27/14           32507     CRYSTAL COLON                             Claim 002701, Payment                               5600-004                                     $985.00      $10,994,707.78
                                                                          100.00000%
                                60 E 102nd Street Apt 7-A
                                New York, NY 10029
   08/27/14           32508     ARGO PARTNERS                             Claim 002702A, Payment                              5600-000                                  $1,017.00       $10,993,690.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32509     FRED AND WANDA BYERS                      Claim 002703A, Payment                              5600-000                                  $2,221.00       $10,991,469.78
                                                                          100.00000%
                                CO BENSON T PITTS ESQ
                                137 BILTMORE AVE
                                ASHEVILLE, NC 28801
   08/27/14           32510     CHARLES DICKTON                           Claim 002704, Payment                               5600-000                                  $1,439.00       $10,990,030.78
                                                                          100.00000%
                                PO Box 226
                                Sparks, NV 89432
   08/27/14           32511     MARISOL GONZALEZ                          Claim 002705, Payment                               5600-000                                  $2,600.00       $10,987,430.78
                                                                          100.00000%
                                290 Park Ave.
                                East Hartford, CT 06108




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32512     ARGO PARTNERS                             Claim 002706, Payment                               5600-000                                  $2,600.00       $10,984,830.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32513     TEJINDER WALIA                            Claim 002707, Payment                               5600-000                                  $2,600.00       $10,982,230.78
                                                                          100.00000%
                                207 East Crestview Ave
                                Galloway, NJ 08205
   08/27/14           32514     LAKEISHA COOK                             Claim 002708, Payment                               5600-000                                     $525.00      $10,981,705.78
                                                                          100.00000%
                                100 Kramer Street Apt 1C
                                Staten Island, NY 10305
   08/27/14           32515     LIA ZUVILIVIA                             Claim 002709, Payment                               5600-000                                     $685.00      $10,981,020.78
                                                                          100.00000%
                                117 S 4th St Bsmt
                                Brooklyn, NY 11211
   08/27/14           32516     RANDY ROUTON                              Claim 002710, Payment                               5600-000                                  $2,245.00       $10,978,775.78
                                                                          100.00000%
                                1500 South Park
                                Sedalia, MO 65301
   08/27/14           32517     DONALD LATTIMORE                          Claim 002711, Payment                               5600-004                                  $2,600.00       $10,976,175.78
                                                                          100.00000%
                                80 East 93rd St Apt B-321
                                Brooklyn, NY 11212
   08/27/14           32518     HARRY HARPER                              Claim 002712, Payment                               5600-000                                     $427.00      $10,975,748.78
                                                                          100.00000%
                                17213 Sunderland Road
                                Detroit, MI 48219
   08/27/14           32519     LIQUIDITY SOLUTIONS, INC.                 Claim 002713, Payment                               5600-000                                  $2,600.00       $10,973,148.78
                                One University Plaza, Suite               100.00000%
                                312Hackensack, NJ 07601
   08/27/14           32520     FRANCIS DEGUZMAN                          Claim 002714, Payment                               5600-004                                     $300.00      $10,972,848.78
                                                                          100.00000%
                                250 N College Park Drive Apt E17
                                upland, CA 91786
   08/27/14           32521     ARGO PARTNERS                             Claim 002715, Payment                               5600-000                                  $2,600.00       $10,970,248.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,182.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32522     ARGO PARTNERS                             Claim 002716, Payment                               5600-000                                  $2,600.00       $10,967,648.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32523     JULIA SMITH                               Claim 002717, Payment                               5600-004                                  $1,945.00       $10,965,703.78
                                                                          100.00000%
                                144 Rhea Lane
                                Pisgah Forest, NC 28768
   08/27/14           32524     NEIL GILLETTE                             Claim 002718, Payment                               5600-000                                  $2,600.00       $10,963,103.78
                                                                          100.00000%
                                7209 E 5th Ave
                                Spokane Valley, WA 99212
   08/27/14           32525     ESTELLE DRISCO                            Claim 002719, Payment                               5600-004                                  $2,600.00       $10,960,503.78
                                                                          100.00000%
                                7990 SE 174 Bellhaven Loop
                                The Villages, FL 32162
   08/27/14           32526     TANA CAMPBELL                             Claim 002720, Payment                               5600-000                                     $514.00      $10,959,989.78
                                                                          100.00000%
                                1779 E TIME ZONE DR
                                MERIDIAN, ID 83642-4507
   08/27/14           32527     RAMONA MOORE                              Claim 002721, Payment                               5600-000                                  $2,600.00       $10,957,389.78
                                                                          100.00000%
                                18152 W Paradise Lane
                                Surprise, AZ 85388
   08/27/14           32528     ARGO PARTNERS                             Claim 002722, Payment                               5600-000                                  $2,600.00       $10,954,789.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32529     VAN WILSON                                Claim 002723, Payment                               5600-000                                  $2,600.00       $10,952,189.78
                                                                          100.00000%
                                6807 Aerial Court
                                Charlotte, NC 28213
   08/27/14           32530     ARGO PARTNERS                             Claim 002724, Payment                               5600-000                                  $2,600.00       $10,949,589.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32531     KRISTINA GALELLA                          Claim 002725A, Payment                              5600-000                                  $2,600.00       $10,946,989.78
                                                                          100.00000%
                                1456 E. Mulberry St.
                                Lancaster, OH 43130
   08/27/14           32532     ARGO PARTNERS                             Claim 002726, Payment                               5600-000                                  $2,600.00       $10,944,389.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32533     SEAN PENCILLE                             Claim 002727, Payment                               5600-000                                  $2,600.00       $10,941,789.78
                                                                          100.00000%
                                5303 Bryant St
                                Erie, PA 16509
   08/27/14           32534     SECOND CHANCE CREDIT                      Claim 002728, Payment                               5600-000                                     $793.00      $10,940,996.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32535     VIVIAN COX                                Claim 002729, Payment                               5600-000                                  $1,207.00       $10,939,789.78
                                                                          100.00000%
                                128 Honeysuckle Dr
                                Ewing, NJ 08638
   08/27/14           32536     KIMBERLY ORTIZ-FABORITO                   Claim 002731, Payment                               5600-000                                  $2,600.00       $10,937,189.78
                                                                          100.00000%
                                9905 197th Avenue Court East
                                Bonney Lake, WA 98391
   08/27/14           32537     FRANCES BAILEY                            Claim 002732, Payment                               5600-000                                  $2,600.00       $10,934,589.78
                                                                          100.00000%
                                2927 West 86th Street
                                Chicago, IL 60652
   08/27/14           32538     ALLISON KALPAKOFF                         Claim 002733, Payment                               5600-000                                  $2,600.00       $10,931,989.78
                                                                          100.00000%
                                720 Carlsbad Ct
                                Petaluma, CA 94954
   08/27/14           32539     HANK BINGHAM                              Claim 002734, Payment                               5600-000                                  $2,600.00       $10,929,389.78
                                                                          100.00000%
                                3305 Holly Springs Rd
                                Pendergrass, GA 30567




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32540     KEITH CRAVEN                              Claim 002736, Payment                               5600-000                                  $1,651.00       $10,927,738.78
                                                                          100.00000%
                                5825 W Isabella Road
                                Mt. Pleasant, MI 48858
   08/27/14           32541     ARGO PARTNERS                             Claim 002737, Payment                               5600-000                                  $2,600.00       $10,925,138.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32542     PHUIL DAGOUT                              Claim 002738A, Payment                              5600-000                                     $398.00      $10,924,740.78
                                                                          100.00000%
                                1606 Concord Lake Road
                                Kannapolis, NC 28083
   08/27/14           32543     NICHOLE HANKINS                           Claim 002739, Payment                               5600-000                                     $878.00      $10,923,862.78
                                                                          100.00000%
                                PO Box 4
                                Milan, IN 47031
   08/27/14           32544     WAI LUN LI                                Claim 002740, Payment                               5600-000                                  $2,600.00       $10,921,262.78
                                                                          100.00000%
                                184 Summit Street
                                Norwich, CT 06360
   08/27/14           32545     ARGO PARTNERS                             Claim 002741, Payment                               5600-000                                  $2,600.00       $10,918,662.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32546     DANIEL T MOREY                            Claim 002742, Payment                               5600-000                                  $2,243.00       $10,916,419.78
                                                                          100.00000%
                                178 AVENUE D
                                APT 10C
                                New York, NY 10009-4331
   08/27/14           32547     NANCY MAHONEY                             Claim 002743, Payment                               5600-000                                  $1,625.00       $10,914,794.78
                                                                          100.00000%
                                2985 Lawton Avenue
                                Bronx, NY 10465
   08/27/14           32548     VICTOR ARIAS                              Claim 002744, Payment                               5600-000                                     $570.00      $10,914,224.78
                                                                          100.00000%
                                603 Kent Avenue
                                Teaneck, NJ 07666




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32549     JOEL MELOFSKY                             Claim 002745, Payment                               5600-000                                     $512.00      $10,913,712.78
                                                                          100.00000%
                                2719 Throop Ave
                                Bronx, NY 10469
   08/27/14           32550     JOE AND MICHELLE BLASIUS                  Claim 002747, Payment                               5600-000                                  $2,600.00       $10,911,112.78
                                                                          100.00000%
                                13115 192 12 Court NW
                                Elk River, MN 55330
   08/27/14           32551     SECOND CHANCE CREDIT                      Claim 002748, Payment                               5600-000                                  $1,777.00       $10,909,335.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32552     AARON LEHMAN                              Claim 002749, Payment                               5600-000                                     $331.00      $10,909,004.78
                                                                          100.00000%
                                1929 Academy Blvd
                                Cape Coral, FL 33990
   08/27/14           32553     ROCELYN DUMLAO                            Claim 002750, Payment                               5600-004                                  $2,426.00       $10,906,578.78
                                                                          100.00000%
                                492 Van Cortlandt Park Ave. Apt. 2
                                Yonkers, NY 10705-3380
   08/27/14           32554     OLGA SAMUSENKO                            Claim 002751, Payment                               5600-000                                  $2,600.00       $10,903,978.78
                                                                          100.00000%
                                1901 Avenue N Apt 2D
                                Brooklyn, NY 11230
   08/27/14           32555     CRYSTAL WILEY                             Claim 002752, Payment                               5600-000                                     $307.00      $10,903,671.78
                                                                          100.00000%
                                10613 Abingdon Chase
                                Orlando, FL 32817
   08/27/14           32556     MARIAN WEST                               Claim 002753, Payment                               5600-000                                  $2,600.00       $10,901,071.78
                                                                          100.00000%
                                8325 Carter Creek Drive, Apt. 204
                                Charlotte, NC 28227
   08/27/14           32557     CANDICE CURD                              Claim 002754, Payment                               5600-000                                  $2,600.00       $10,898,471.78
                                                                          100.00000%
                                320 5t Avenue
                                Folsom, PA 19033




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32558     LILLIE EPTING-THOMAS                      Claim 002756, Payment                               5600-004                                     $637.00      $10,897,834.78
                                                                          100.00000%
                                1405 East Colon Street
                                Wilmington, CA 90744
   08/27/14           32559     APRIL RUDICK                              Claim 002757, Payment                               5600-000                                     $675.00      $10,897,159.78
                                                                          100.00000%
                                14 S Washington St
                                Mechanicsburg, PA 17055
   08/27/14           32560     SUSAN HECLA                               Claim 002758, Payment                               5600-000                                  $2,600.00       $10,894,559.78
                                                                          100.00000%
                                PO Box 488
                                Allyn, WA 98524
   08/27/14           32561     ARGO PARTNERS                             Claim 002759, Payment                               5600-000                                  $2,600.00       $10,891,959.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32562     DAVID MOORE                               Claim 002760, Payment                               5600-000                                  $2,600.00       $10,889,359.78
                                                                          100.00000%
                                1009 Headlands Drive
                                Napa, CA 94558
   08/27/14           32563     ANTHONY CORUM                             Claim 002761, Payment                               5600-000                                  $2,600.00       $10,886,759.78
                                                                          100.00000%
                                5218 Federalsburg Rd
                                Bridgeville, DE 19933
   08/27/14           32564     LIQUIDITY SOLUTIONS, INC.                 Claim 002762, Payment                               5600-000                                  $2,600.00       $10,884,159.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32565     ARGO PARTNERS                             Claim 002764, Payment                               5600-000                                  $2,600.00       $10,881,559.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32566     ARGO PARTNERS                             Claim 002765, Payment                               5600-000                                  $2,600.00       $10,878,959.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32567     ERIC STOUDEMIRE                           Claim 002766, Payment                               5600-000                                  $2,439.00       $10,876,520.78
                                                                          100.00000%
                                1279 Liberty Ave. Apt. 2
                                Hillside, NJ 07205
   08/27/14           32568     TIMOTHY SHANNON                           Claim 002767, Payment                               5600-000                                  $2,254.00       $10,874,266.78
                                                                          100.00000%
                                PO Box 602
                                Avon, CO 81620
   08/27/14           32569     LORINDA PRUDENCIO                         Claim 002768, Payment                               5600-000                                  $2,600.00       $10,871,666.78
                                                                          100.00000%
                                2850 Riverside Drive Apt 214
                                Los Angelos, CA 90039
   08/27/14           32570     ASSET RECOVERY MANAGEMENT,                Claim 002769, Payment                               5600-000                                  $2,600.00       $10,869,066.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32571     DIANNE GRIBBON                            Claim 002770A, Payment                              5600-000                                  $2,600.00       $10,866,466.78
                                                                          100.00000%
                                508 Pasadena Drive
                                Magnolia, NJ 08049
   08/27/14           32572     EILEEN BERNICK                            Claim 002771, Payment                               5600-000                                  $2,600.00       $10,863,866.78
                                                                          100.00000%
                                1385 Sequoia Circle
                                Toms River, NJ 08753
   08/27/14           32573     LARMARETTA STINSON                        Claim 002772, Payment                               5600-000                                     $644.00      $10,863,222.78
                                                                          100.00000%
                                710 E F ST
                                NEWTON, NC 28658
   08/27/14           32574     MANUEL ZAMORANO                           Claim 002773, Payment                               5600-000                                  $2,360.00       $10,860,862.78
                                                                          100.00000%
                                3101 North Central Ave. Ste. 500
                                Phoenix, AZ 85012
   08/27/14           32575     MARY LOU INGMAN                           Claim 002774, Payment                               5600-000                                     $940.00      $10,859,922.78
                                                                          100.00000%
                                8365 SW Colony Creek CT
                                Portland, OR 97224




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32576     RALPH MOORE                               Claim 002775, Payment                               5600-000                                  $1,847.00       $10,858,075.78
                                                                          100.00000%
                                1432 N Waller Ave
                                Chicago, IL 60651
   08/27/14           32577     KATEENA LUKKES - KENNEDY                  Claim 002776, Payment                               5600-000                                  $1,017.00       $10,857,058.78
                                                                          100.00000%
                                6524 Parkview Avenue
                                Kansas City, KS 66104
   08/27/14           32578     JEFFREY HANSEN                            Claim 002777, Payment                               5600-000                                     $306.00      $10,856,752.78
                                                                          100.00000%
                                1503 Parkplace Court
                                Abilene, KS 67410
   08/27/14           32579     ARGO PARTNERS                             Claim 002778, Payment                               5600-000                                  $2,600.00       $10,854,152.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32580     BRIAN MARTIN                              Claim 002779, Payment                               5600-000                                     $683.00      $10,853,469.78
                                                                          100.00000%
                                1829 N Stoney Point St
                                Wichita, KS 67212
   08/27/14           32581     WANDA LAFRENAYE                           Claim 002781, Payment                               5600-000                                  $2,600.00       $10,850,869.78
                                                                          100.00000%
                                50 Monty Avenue
                                Woonsocket, RI 02895
   08/27/14           32582     CRYSTAL MCDEVITT                          Claim 002782, Payment                               5600-000                                  $2,463.00       $10,848,406.78
                                                                          100.00000%
                                15 East Fieldstone
                                Pataskala, OH 43062
   08/27/14           32583     WAYNE SMITH                               Claim 002783, Payment                               5600-000                                  $2,600.00       $10,845,806.78
                                                                          100.00000%
                                20701 Ryepatch Road PO Box 12
                                Murphy, ID 83650
   08/27/14           32584     ARGO PARTNERS                             Claim 002784, Payment                               5600-000                                  $2,600.00       $10,843,206.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $16,716.00
                                                                             Document          Page 291 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32585     PHILLIP GREER                             Claim 002785, Payment                               5600-004                                     $269.00      $10,842,937.78
                                                                          100.00000%
                                9341 Tortellini Drive
                                Sandy, UT 84043
   08/27/14           32586     GEORGE BIRO                               Claim 002786A, Payment                              5600-000                                  $2,600.00       $10,840,337.78
                                                                          100.00000%
                                3021 Fritz Lane
                                Pahrump, NV 89048
   08/27/14           32587     DEBORAH PODGER                            Claim 002787, Payment                               5600-000                                  $1,430.00       $10,838,907.78
                                                                          100.00000%
                                891 Green Hill rd
                                Franklinton, NC 27525
   08/27/14           32588     ARGO PARTNERS                             Claim 002788, Payment                               5600-000                                  $2,600.00       $10,836,307.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32589     RONALD HUNT                               Claim 002789, Payment                               5600-000                                  $2,600.00       $10,833,707.78
                                                                          100.00000%
                                8174 South Las Vegas Blvd Unit 109 Box
                                412
                                Las Vegas, NV 89123
   08/27/14           32590     JOSEPH NOVAK                              Claim 002790, Payment                               5600-000                                   $1,116.00      $10,832,591.78
                                                                          100.00000%
                                1809 N 11th Ave. Apt. 5
                                Wausau, WI 54401
   08/27/14           32591     JERI-LYNN KIRSCH                          Claim 002791, Payment                               5600-000                                  $2,600.00       $10,829,991.78
                                                                          100.00000%
                                851 South Dorr Street
                                Antigo, WI 54409
   08/27/14           32592     MONTRESS GRIFFIN                          Claim 002792, Payment                               5600-000                                  $2,600.00       $10,827,391.78
                                                                          100.00000%
                                c/o Stanley Kartchner, Trustee
                                7090 N. Oracle Road
                                Tucson, AZ 85704
   08/27/14           32593     ARGO PARTNERS                             Claim 002793, Payment                               5600-000                                  $2,600.00       $10,824,791.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $18,415.00
                                                                             Document          Page 292 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           32594     ARGO PARTNERS                             Claim 002794, Payment                               5600-000                                  $2,600.00      $10,822,191.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32595     RICHARD CHAMBERLAIN                       Claim 002795, Payment                               5600-000                                  $1,099.00      $10,821,092.78
                                                                          100.00000%
                                58 Farley Road
                                Hollis, NH 03049
   08/27/14           32596     CHRISTOPHER ROBERTS                       Claim 002796, Payment                               5600-000                                  $2,443.00      $10,818,649.78
                                                                          100.00000%
                                185 Beaver Ridge Dr
                                Youngsville, NC 27596
   08/27/14           32597     TIAH YORK                                 Claim 002797, Payment                               5600-000                                  $2,600.00      $10,816,049.78
                                                                          100.00000%
                                209 EAST TUCKER RD
                                PHILADELPHIA, MS 39350
   08/27/14           32598     LIQUIDITY SOLUTIONS, INC.                 Claim 002798A, Payment                              5600-000                                  $1,934.00      $10,814,115.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32599     LESLIE MATTHEWS                           Claim 002799, Payment                               5600-000                                  $2,600.00      $10,811,515.78
                                                                          100.00000%
                                4363 grover place
                                Granite Falls, NC 28630
   08/27/14           32600     ARGO PARTNERS                             Claim 002800, Payment                               5600-000                                  $2,600.00      $10,808,915.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32601     MARYJANE BAKER                            Claim 002801, Payment                               5600-000                                  $2,600.00      $10,806,315.78
                                                                          100.00000%
                                1620 Josephine Street
                                Martinsville, IN 46151
   08/27/14           32602     JOHN W PRUSSEN                            Claim 002803, Payment                               5600-000                                  $1,299.00      $10,805,016.78
                                                                          100.00000%
                                203 Leonard St
                                Bellmore, NY 11710




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                                                                                                                                                     Desc Main         $19,775.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32603     RENEE GRAY                                Claim 002804, Payment                               5600-000                                     $377.00      $10,804,639.78
                                                                          100.00000%
                                15171 Brighton Lane
                                Davie, FL 33331
   08/27/14           32604     ARGO PARTNERS                             Claim 002805, Payment                               5600-000                                  $2,600.00       $10,802,039.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32605     LIQUIDITY SOLUTIONS, INC.                 Claim 002806, Payment                               5600-000                                  $2,600.00       $10,799,439.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32606     MICHAEL SABO                              Claim 002807, Payment                               5600-000                                  $2,600.00       $10,796,839.78
                                                                          100.00000%
                                347 Western Avenue
                                Lehigh Acres, FL 33974
   08/27/14           32607     ARGO PARTNERS                             Claim 002810, Payment                               5600-000                                  $2,600.00       $10,794,239.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32608     JOSEPH A SQUATRITO                        Claim 002811, Payment                               5600-000                                  $2,449.00       $10,791,790.78
                                                                          100.00000%
                                41 MONTEREY DR
                                BRISTOL, RI 02809
   08/27/14           32609     NINA KING                                 Claim 002812, Payment                               5600-000                                     $805.00      $10,790,985.78
                                                                          100.00000%
                                789 Kent St
                                Berlin, NH 03570
   08/27/14           32610     AMANDA RODGERS                            Claim 002813, Payment                               5600-000                                     $953.00      $10,790,032.78
                                                                          100.00000%
                                5914 Belcrest St
                                Houston, TX 77033
   08/27/14           32611     CAROLYN FARMER                            Claim 002814, Payment                               5600-000                                  $2,600.00       $10,787,432.78
                                                                          100.00000%
                                1455 Allensville Rd
                                Roxboro, NC 27574




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                                                                                                                                                     Desc Main         $17,584.00
                                                                             Document          Page 294 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32612     DEBORAH CUEVAS                            Claim 002815, Payment                               5600-000                                  $1,425.00       $10,786,007.78
                                                                          100.00000%
                                7 Carriage Ln
                                Hampstead, NH 03841
   08/27/14           32613     NORMA JOHNSON                             Claim 002816, Payment                               5600-000                                  $1,450.00       $10,784,557.78
                                                                          100.00000%
                                7154 Northridge Drive
                                Cincinnati, OH 45231
   08/27/14           32614     GWENDOLYN T ADAMS                         Claim 002817, Payment                               5600-000                                     $317.00      $10,784,240.78
                                                                          100.00000%
                                2233 Margurette Street
                                Columbia, SC 29204
   08/27/14           32615     CORBIN POLLITT                            Claim 002818, Payment                               5600-000                                  $1,215.00       $10,783,025.78
                                                                          100.00000%
                                319 Columbia Ave Apt. 325 At Cornell
                                Manor
                                Stratford, NJ 08084
   08/27/14           32616     ARGO PARTNERS                             Claim 002819, Payment                               5600-000                                  $2,600.00       $10,780,425.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32617     DAVID PRIGGE                              Claim 002820, Payment                               5600-000                                     $474.00      $10,779,951.78
                                                                          100.00000%
                                415 Sheffield Ave
                                Napoleon, OH 43545
   08/27/14           32618     SANDRA LAPP                               Claim 002821, Payment                               5600-000                                     $575.00      $10,779,376.78
                                                                          100.00000%
                                2016 Cypress Avenue
                                Allentown, PA 18103
   08/27/14           32619     ROSA EPPS                                 Claim 002822, Payment                               5600-000                                     $691.00      $10,778,685.78
                                                                          100.00000%
                                PO Box 581
                                Fountain Inn, SC 29644
   08/27/14           32620     WENDY MCLEOD                              Claim 002823, Payment                               5600-000                                     $503.00      $10,778,182.78
                                                                          100.00000%
                                2911 Oakwood Dr
                                Port Huron, MI 48060




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                                                                                                                                                     Desc Main          $9,250.00
                                                                             Document          Page 295 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32621     DWAYNE BRUGH                              Claim 002824, Payment                               5600-000                                     $538.00      $10,777,644.78
                                                                          100.00000%
                                13605 S E Mill Street
                                Portland, OR 97233
   08/27/14           32622     MARIBEL BITTNER                           Claim 002825, Payment                               5600-000                                  $2,600.00       $10,775,044.78
                                                                          100.00000%
                                295 Monument Parkway
                                Perris, CA 92570
   08/27/14           32623     VERONICA LEWIS                            Claim 002826, Payment                               5600-000                                  $2,280.00       $10,772,764.78
                                1020 Riverview TerraceNew Martinsville,   100.00000%
                                WV 26155
   08/27/14           32624     SUSAN WILKERSON                           Claim 002827, Payment                               5600-000                                     $853.00      $10,771,911.78
                                                                          100.00000%
                                108 Blueberry Ct.
                                Rolesville, NC 27571
   08/27/14           32625     SECOND CHANCE CREDIT                      Claim 002828, Payment                               5600-000                                     $648.00      $10,771,263.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32626     GARY H SAWYER                             Claim 002829, Payment                               5600-000                                     $386.00      $10,770,877.78
                                                                          100.00000%
                                505 S Pearl
                                Tecumseh, MI 49286
   08/27/14           32627     DEBORAH CLIFTON                           Claim 002830, Payment                               5600-000                                  $2,600.00       $10,768,277.78
                                                                          100.00000%
                                1034 County Road 189
                                Valley, AL 36854
   08/27/14           32628     NICOLE LAWRENCE                           Claim 002831, Payment                               5600-000                                  $1,175.00       $10,767,102.78
                                                                          100.00000%
                                3949 25th Ave S
                                Minneapolis, MN 55406
   08/27/14           32629     CARLA OWENS                               Claim 002832, Payment                               5600-000                                     $412.00      $10,766,690.78
                                                                          100.00000%
                                2507 Polk Street
                                Gulfport, MS 39501




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32630     CLAUDIA CALDERON                          Claim 002834, Payment                               5600-000                                  $2,600.00       $10,764,090.78
                                                                          100.00000%
                                3006 Highridge Road
                                La Crescenta, CA 91214
   08/27/14           32631     JOANN GEBROSKY                            Claim 002835, Payment                               5600-000                                     $760.00      $10,763,330.78
                                                                          100.00000%
                                236 Gary Hallman Circle
                                Leesville, SC 29070-9771
   08/27/14           32632     SUSAN SEAMAN                              Claim 002837, Payment                               5600-000                                     $603.00      $10,762,727.78
                                                                          100.00000%
                                295 Pine Oak Lane
                                New Smyrna Beach, FL 32168
   08/27/14           32633     ARGO PARTNERS                             Claim 002839, Payment                               5600-000                                  $2,600.00       $10,760,127.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32634     BONNIE JEAN VARNES                        Claim 002840, Payment                               5600-000                                  $2,600.00       $10,757,527.78
                                                                          100.00000%
                                803 Wright Ave
                                Toledo, OH 43609
   08/27/14           32635     ARGO PARTNERS                             Claim 002841A, Payment                              5600-000                                  $2,600.00       $10,754,927.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32636     JEREMY BARTKOWICZ                         Claim 002842, Payment                               5600-000                                  $2,600.00       $10,752,327.78
                                                                          100.00000%
                                3 Forest Hill Ln.
                                Swanville, MN 56382
   08/27/14           32637     REBEKAH DRONEBURG                         Claim 002843, Payment                               5600-000                                  $2,600.00       $10,749,727.78
                                                                          100.00000%
                                PO Box 85
                                Rohrersville, MD 21779
   08/27/14           32638     JEREMY WALLACE                            Claim 002844, Payment                               5600-000                                     $180.00      $10,749,547.78
                                                                          100.00000%
                                20321 East 48th Place
                                Denver, CO 80249




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32639     ARGO PARTNERS                             Claim 002845, Payment                               5600-000                                  $2,600.00       $10,746,947.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32640     LANA WARNICKI                             Claim 002846, Payment                               5600-004                                  $2,018.00       $10,744,929.78
                                                                          100.00000%
                                36882 HOLLY AVE
                                BURNEY, CA 96013
   08/27/14           32641     HELEN MURALT                              Claim 002847, Payment                               5600-000                                  $2,600.00       $10,742,329.78
                                                                          100.00000%
                                891 Larson Blvd
                                Belfair, WA 98528
   08/27/14           32642     ARGO PARTNERS                             Claim 002848, Payment                               5600-000                                  $2,600.00       $10,739,729.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32643     ARGO PARTNERS                             Claim 002849, Payment                               5600-000                                  $2,600.00       $10,737,129.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32644     CHERYL NAPIER                             Claim 002850, Payment                               5600-000                                     $404.00      $10,736,725.78
                                                                          100.00000%
                                568 Wetherington Landing Rd.
                                Stella, NC 28582
   08/27/14           32645     ARGO PARTNERS                             Claim 002851, Payment                               5600-000                                  $2,600.00       $10,734,125.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32646     DEBRA WISEMAN                             Claim 002852, Payment                               5600-000                                     $322.00      $10,733,803.78
                                                                          100.00000%
                                2990 Crossroads Dr SW
                                Mauckport, IN 47142
   08/27/14           32647     JAMES DUBOIS                              Claim 002854, Payment                               5600-000                                  $2,600.00       $10,731,203.78
                                15 Livingston Ln.Lumberton, NJ 08048      100.00000%
   08/27/14           32648     ARGO PARTNERS                             Claim 002855, Payment                               5600-000                                  $2,600.00       $10,728,603.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32649     KENNETH MCFARLAND                         Claim 002856, Payment                               5600-000                                  $2,600.00       $10,726,003.78
                                                                          100.00000%
                                579 Meadowlane Drive
                                Richmond Heights, OH 44143
   08/27/14           32650     MICHAEL BEDE                              Claim 002857, Payment                               5600-000                                  $2,600.00       $10,723,403.78
                                                                          100.00000%
                                5342 Lenora Avenue
                                San Jose, CA 95124
   08/27/14           32651     BRIAN NESS                                Claim 002858, Payment                               5600-000                                     $640.00      $10,722,763.78
                                                                          100.00000%
                                1512 Iris Drive
                                Manitowoc, WI 54220
   08/27/14           32652     ARGO PARTNERS                             Claim 002859, Payment                               5600-000                                  $2,600.00       $10,720,163.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32653     LIQUIDITY SOLUTIONS, INC.                 Claim 002860, Payment                               5600-000                                  $2,224.00       $10,717,939.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32654     LALA MAIGA                                Claim 002861A, Payment                              5600-000                                  $2,600.00       $10,715,339.78
                                                                          100.00000%
                                346 East 156th Street Apt. 11e
                                Bronx, NY 10451
   08/27/14           32655     ANITA TAYLOR                              Claim 002862, Payment                               5600-000                                  $2,600.00       $10,712,739.78
                                                                          100.00000%
                                50 E 91st Street
                                Brooklyn, NY 11212
   08/27/14           32656     ROBERT FARMER                             Claim 002863, Payment                               5600-000                                  $2,600.00       $10,710,139.78
                                                                          100.00000%
                                PO BOX 1500
                                Wheelwright, KY 41669
   08/27/14           32657     CLIFFORD SMITH                            Claim 002865, Payment                               5600-000                                     $557.00      $10,709,582.78
                                                                          100.00000%
                                1153 East Old Hayneville Road
                                Montgomery, AL 36105




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $19,021.00
                                                                             Document          Page 299 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32658     RYAN HAWKES                               Claim 002866, Payment                               5600-000                                  $2,600.00       $10,706,982.78
                                                                          100.00000%
                                250 Sunset Villa Ln
                                O`Fallon, MO 63366
   08/27/14           32659     MICHELLE ORR                              Claim 002867, Payment                               5600-000                                     $289.00      $10,706,693.78
                                                                          100.00000%
                                1355 Stallion Run
                                Lawrenceville, GA 30043
   08/27/14           32660     GERALD KNIGHT                             Claim 002868, Payment                               5600-000                                     $733.00      $10,705,960.78
                                                                          100.00000%
                                12408 Village Lane
                                Oklahoma City, OK 73170
   08/27/14           32661     JERRY WICHROSKI                           Claim 002869A, Payment                              5600-000                                  $2,600.00       $10,703,360.78
                                                                          100.00000%
                                12107 Agana St.
                                Orlando, FL 32837
   08/27/14           32662     BRENDA DODGE                              Claim 002870, Payment                               5600-004                                  $2,600.00       $10,700,760.78
                                                                          100.00000%
                                RR 1 Box 108
                                Amsterdam, MO 64723
   08/27/14           32663     SCOTT HOLLAND                             Claim 002871A, Payment                              5600-000                                  $2,378.00       $10,698,382.78
                                                                          100.00000%
                                378 County Road 4245
                                Mt. Pleasant, TX 75455
   08/27/14           32664     EMIL ANGLERO                              Claim 002872, Payment                               5600-000                                  $2,600.00       $10,695,782.78
                                                                          100.00000%
                                294 MILE SQUARE RD
                                YONKERS, NY 10701
   08/27/14           32665     LIQUIDITY SOLUTIONS, INC.                 Claim 002873, Payment                               5600-000                                  $1,059.00       $10,694,723.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32666     DONALD PHILLIPS                           Claim 002874, Payment                               5600-004                                  $2,600.00       $10,692,123.78
                                                                          100.00000%
                                11545 N FLW Boulevard, Apt. 1125
                                Scottsdale, AZ 85759




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,459.00
                                                                             Document          Page 300 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           32667     SHARON PINSON                            Claim 002875, Payment                               5600-000                                  $2,600.00       $10,689,523.78
                                                                         100.00000%
                                575 Pinson Ln
                                El Dorado, AR 71730
   08/27/14           32668     TODD ERCANBRACK                          Claim 002876, Payment                               5600-000                                  $2,600.00       $10,686,923.78
                                                                         100.00000%
                                8133 Thomasbrook Court
                                Magna, UT 84044
   08/27/14           32669     SHAUN METCALFE                           Claim 002877, Payment                               5600-000                                     $383.00      $10,686,540.78
                                                                         100.00000%
                                10477 Wagner Rd
                                Dansville, NY 14437
   08/27/14           32670     CHANDI BROOKS                            Claim 002878, Payment                               5600-000                                     $626.00      $10,685,914.78
                                                                         100.00000%
                                2826 Boyer Road
                                Randolph, NY 14772
   08/27/14           32671     LOIS REEVES                              Claim 002879, Payment                               5600-004                                  $2,600.00       $10,683,314.78
                                c/o Azar and Azar                        100.00000%
   08/27/14           32672     SELINA SHIRER                            Claim 002880, Payment                               5600-000                                     $340.00      $10,682,974.78
                                                                         100.00000%
                                744 Alabama Ave
                                Brooklyn, NY 11207
   08/27/14           32673     QUANEESHA NEWTON                         Claim 002881, Payment                               5600-004                                  $2,275.00       $10,680,699.78
                                                                         100.00000%
                                608 Maple St Apt 5
                                Brooklyn, NY 11203
   08/27/14           32674     ANDREW SMITH                             Claim 002882, Payment                               5600-000                                     $251.00      $10,680,448.78
                                                                         100.00000%
                                7674 AL Highway 61
                                New Bern, AL 36765
   08/27/14           32675     FRANCES GUNDRUM                          Claim 002883, Payment                               5600-000                                     $290.00      $10,680,158.78
                                                                         100.00000%
                                512 Schrey Hollow Road
                                Port Trevorton, PA 17864
   08/27/14           32676     AMY MCCORMICK                            Claim 002884, Payment                               5600-000                                     $313.00      $10,679,845.78
                                                                         100.00000%
                                706 S Birdsey Street
                                Columbus, WI 53925



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                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32677     SECOND CHANCE CREDIT                      Claim 002885, Payment                               5600-000                                  $1,539.00       $10,678,306.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32678     TITA CASTILLO                             Claim 002886, Payment                               5600-000                                  $1,273.00       $10,677,033.78
                                                                          100.00000%
                                28985 CALLE DEL LAGO APT D
                                MURRIETA, CA 92563
   08/27/14           32679     VICTORIA MANANGHAYA                       Claim 002887, Payment                               5600-004                                  $2,600.00       $10,674,433.78
                                                                          100.00000%
                                9871 Central Avenue Apt 3
                                Garden Grove, CA 92844
   08/27/14           32680     BARBARA TRIMBLE                           Claim 002889, Payment                               5600-000                                     $306.00      $10,674,127.78
                                                                          100.00000%
                                14961 Normandy Blvd.
                                Jacksonville, FL 32234
   08/27/14           32681     JOSHUA REBER                              Claim 002890, Payment                               5600-000                                     $498.00      $10,673,629.78
                                103 Sandhurst Dr.Upper St. Clair, PA      100.00000%
                                15241
   08/27/14           32682     ARGO PARTNERS                             Claim 002891, Payment                               5600-000                                  $2,600.00       $10,671,029.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32683     ROGER GECK                                Claim 002892A, Payment                              5600-000                                  $2,600.00       $10,668,429.78
                                                                          100.00000%
                                PO BOX 231
                                Mapleton, ND 58059
   08/27/14           32684     ARGO PARTNERS                             Claim 002893, Payment                               5600-000                                  $2,600.00       $10,665,829.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32685     DARRON MURRAY                             Claim 002894, Payment                               5600-000                                  $2,600.00       $10,663,229.78
                                                                          100.00000%
                                919 Eastern Parkway Apt 2B
                                Brooklyn, NY 11213




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           32686     HOLLY PALMER                              Claim 002895, Payment                               5600-000                                  $1,745.00      $10,661,484.78
                                                                          100.00000%
                                12741 Clear Springs Drive
                                Jacksonville, FL 32225
   08/27/14           32687     ANDREW MARQUEZ                            Claim 002896, Payment                               5600-000                                  $2,600.00      $10,658,884.78
                                                                          100.00000%
                                2999 Silverland Drive
                                San Jose, CA 95135-2023
   08/27/14           32688     LAWRENCE KYI                              Claim 002897, Payment                               5600-000                                  $2,600.00      $10,656,284.78
                                                                          100.00000%
                                912 William Drive
                                San Lorenzo, CA 94580
   08/27/14           32689     ARMANDO CUERVO                            Claim 002898, Payment                               5600-000                                  $2,600.00      $10,653,684.78
                                                                          100.00000%
                                11514 Falconhill Dr
                                Whittier, CA 90604
   08/27/14           32690     LIQUIDITY SOLUTIONS, INC.                 Claim 002899, Payment                               5600-000                                  $2,178.00      $10,651,506.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32691     ARGO PARTNERS                             Claim 002900, Payment                               5600-000                                  $2,600.00      $10,648,906.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32692     TOMASZ STANOWSKI                          Claim 002901A, Payment                              5600-000                                  $2,600.00      $10,646,306.78
                                                                          100.00000%
                                129 Madrid Way
                                Sonoma, CA 95476
   08/27/14           32693     KARL COFFIELD                             Claim 002903, Payment                               5600-000                                  $2,600.00      $10,643,706.78
                                                                          100.00000%
                                6153 S Oakmont Drive
                                Chandler, AZ 85249
   08/27/14           32694     ARGO PARTNERS                             Claim 002904, Payment                               5600-000                                  $2,600.00      $10,641,106.78
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           32695     ARGO PARTNERS                             Claim 002905, Payment                               5600-000                                  $2,600.00      $10,638,506.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 303 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32696     HERBERT LARA                              Claim 002906, Payment                               5600-000                                  $2,600.00       $10,635,906.78
                                                                          100.00000%
                                1632 12 Mohawk St
                                Los Angeles, CA 90026
   08/27/14           32697     LORRAINE FITZPATRICK                      Claim 002907, Payment                               5600-000                                  $2,600.00       $10,633,306.78
                                                                          100.00000%
                                14230 Montclair Dr
                                Brooksville, FL 34613
   08/27/14           32698     MELISSA EPPARD                            Claim 002908, Payment                               5600-000                                  $2,432.00       $10,630,874.78
                                                                          100.00000%
                                1236 Manis Lane
                                Elkton, VA 22827
   08/27/14           32699     LYNDSEY O`CONNOR                          Claim 002909, Payment                               5600-000                                     $363.00      $10,630,511.78
                                                                          100.00000%
                                197 BRITTON AVE
                                APT 205
                                Stoughton, MA 02072
   08/27/14           32700     ARLENE KAY OWNEY                          Claim 002910, Payment                               5600-000                                  $2,600.00       $10,627,911.78
                                                                          100.00000%
                                1034 Perkins Lane
                                Elizabeth City, NC 27909
   08/27/14           32701     JULIE KAPELLER                            Claim 002911, Payment                               5600-000                                  $1,825.00       $10,626,086.78
                                                                          100.00000%
                                3551 SHELL RD
                                GLADWIN, MI 48624
   08/27/14           32702     MELISSA HENDRIX-WARDO                     Claim 002912, Payment                               5600-000                                  $2,600.00       $10,623,486.78
                                                                          100.00000%
                                156 Hickory Grove Road
                                Harmony, NC 28634
   08/27/14           32703     JESENIA VARNER                            Claim 002913, Payment                               5600-000                                     $435.00      $10,623,051.78
                                                                          100.00000%
                                3945 Johnson St., NE
                                Columbia Heights, MN 55421
   08/27/14           32704     SHAUN LESLIE                              Claim 002914, Payment                               5600-000                                  $2,600.00       $10,620,451.78
                                                                          100.00000%
                                6607 Snowhollow Drive
                                West Valley, UT 84128




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                                                                                                                                                     Desc Main         $18,055.00
                                                                             Document          Page 304 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32705     JOSE ZAVALA                               Claim 002915, Payment                               5600-000                                  $2,600.00       $10,617,851.78
                                                                          100.00000%
                                381 Monterey Road
                                S Pasadena, CA 91030
   08/27/14           32706     LIQUIDITY SOLUTIONS, INC                  Claim 002916, Payment                               5600-000                                  $1,777.00       $10,616,074.78
                                One University Plaza, Suite               100.00000%
                                312Hackensack, NJ 07601
   08/27/14           32707     KEVON-JAMES EMILE                         Claim 002917, Payment                               5600-000                                  $1,425.00       $10,614,649.78
                                                                          100.00000%
                                2270 Ashton Dr
                                Rosewell, GA 30076
   08/27/14           32708     ARGO PARTNERS                             Claim 002918, Payment                               5600-000                                  $2,600.00       $10,612,049.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32709     ROOSEVELT MYLES                         Claim 002919, Payment                                 5600-000                                  $2,600.00       $10,609,449.78
                                7L White Gate DriveWappingers Falls, NY 100.00000%
                                12590
   08/27/14           32710     BARBARA CARLSON                           Claim 002920, Payment                               5600-000                                  $2,600.00       $10,606,849.78
                                                                          100.00000%
                                18087 Holly Ridge Drive
                                Hammond, LA 70403
   08/27/14           32711     PATRICIA PHILLIPS                         Claim 002921, Payment                               5600-000                                  $2,600.00       $10,604,249.78
                                                                          100.00000%
                                170 Pleasant Street
                                Whitman, MA 02382
   08/27/14           32712     PERRENA BERNOUDY                          Claim 002922, Payment                               5600-004                                     $671.00      $10,603,578.78
                                                                          100.00000%
                                705 FRANKLIN RD SE APT 26V
                                Marietta, GA 30067
   08/27/14           32713     ARGO PARTNERS                             Claim 002923A, Payment                              5600-000                                  $2,600.00       $10,600,978.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32714     LIQUIDITY SOLUTIONS, INC.                 Claim 002924A, Payment                              5600-000                                  $2,600.00       $10,598,378.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32715     FELIX ALLENDE                             Claim 002925, Payment                               5600-000                                     $600.00      $10,597,778.78
                                                                          100.00000%
                                8429 153rd Ave Apt 3CD
                                Howard Beach, NY 11414
   08/27/14           32716     MARANDA GIBSON                            Claim 002926, Payment                               5600-000                                  $1,549.00       $10,596,229.78
                                                                          100.00000%
                                697 Nelson Rd
                                Clarkson, KY 42726
   08/27/14           32717     ASSET RECOVERY MANAGEMENT,                Claim 002927, Payment                               5600-000                                  $2,600.00       $10,593,629.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32718     JEFFREY BROCKLEHURST                      Claim 002929, Payment                               5600-000                                  $2,600.00       $10,591,029.78
                                                                          100.00000%
                                1830 Colorado Avenue
                                Manville, NJ 08835
   08/27/14           32719     DENAE ENGLISH                             Claim 002930, Payment                               5600-000                                  $2,600.00       $10,588,429.78
                                                                          100.00000%
                                5616 95th Street
                                Lubbock, TX 79424
   08/27/14           32720     BROOKE BARBER                             Claim 002933, Payment                               5600-000                                  $2,300.00       $10,586,129.78
                                                                          100.00000%
                                PO BOX 3671
                                Incline Village, NV 89450
   08/27/14           32721     ARGO PARTNERS                             Claim 002934, Payment                               5600-000                                  $2,600.00       $10,583,529.78
                                12 West 37th St., 9th FlNew York, NY      100.00000%
                                10018
   08/27/14           32722     DAVID JOHNSON                             Claim 002935, Payment                               5600-000                                  $2,573.00       $10,580,956.78
                                                                          100.00000%
                                8601 S Vernon Road
                                Durand, MI 48429
   08/27/14           32723     JUDY WINTERS                              Claim 002936, Payment                               5600-000                                  $1,033.00       $10,579,923.78
                                                                          100.00000%
                                59 Woleott St.
                                Camden, NY 13316




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32724     SHEREUREKA MCDAVID                        Claim 002937, Payment                               5600-000                                     $524.00      $10,579,399.78
                                                                          100.00000%
                                3219-3F Pleasant Rd.
                                Greensboro, NC 27406
   08/27/14           32725     BANKRUPTCY ESTATE OF DAVID AND Claim 002938, Payment                                          5600-000                                  $2,600.00       $10,576,799.78
                                CYNT                           100.00000%

                                CO LYNN MARTINEZ TRUSTEE
                                DIST COLO CASE NO 09-31863
                                1123 NO ELIZABETH ST
                                PUEBLO, CO 81003
   08/27/14           32726     JEREMY IWANOWSKI                          Claim 002940, Payment                               5600-000                                  $2,600.00       $10,574,199.78
                                                                          100.00000%
                                3390 Rose Dr.
                                Nechanicsville, VA 23111
   08/27/14           32727     TINA O`HERON                              Claim 002941, Payment                               5600-000                                     $476.00      $10,573,723.78
                                                                          100.00000%
                                9712 Whitestone Terrace
                                Rockhill, MO 63119
   08/27/14           32728     MICHAEL ROWE                              Claim 002942, Payment                               5600-000                                  $2,600.00       $10,571,123.78
                                                                          100.00000%
                                POB 8139
                                Covington, WA 98042
   08/27/14           32729     JENNY PHOUTHAVONE                         Claim 002943, Payment                               5600-000                                  $2,129.00       $10,568,994.78
                                                                          100.00000%
                                5210 W. Ian Dr.
                                Laveen, AZ 85339
   08/27/14           32730     SCOTT WHISMAN                             Claim 002944, Payment                               5600-000                                     $536.00      $10,568,458.78
                                                                          100.00000%
                                3563 Dunmovin Dr
                                John`s Island, SC 29455
   08/27/14           32731     HAZEL ALICE TUBBESING                     Claim 002945, Payment                               5600-000                                     $570.00      $10,567,888.78
                                                                          100.00000%
                                7662 Newbury Rd
                                Woodbury, MN 55125
   08/27/14           32732     ARGO PARTNERS                             Claim 002947, Payment                               5600-000                                  $2,600.00       $10,565,288.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $14,635.00
                                                                             Document          Page 307 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32733     MATTHEW IWINSKI                           Claim 002948, Payment                               5600-000                                  $1,565.00       $10,563,723.78
                                                                          100.00000%
                                55 Sea Park Blvd. Apt. 113
                                Satellite Beach, FL 32937
   08/27/14           32734     ARGO PARTNERS                             Claim 002949, Payment                               5600-000                                  $2,600.00       $10,561,123.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32735     TRACY VIGO                                Claim 002950, Payment                               5600-004                                     $280.00      $10,560,843.78
                                                                          100.00000%
                                3101 Allendale Blvd
                                Casper, WY 82601
   08/27/14           32736     CECILLE GRIMSLEY                          Claim 002951, Payment                               5600-004                                     $959.00      $10,559,884.78
                                                                          100.00000%
                                235 E Orange Ave Apt E4
                                Chula Vista, CA 91911
   08/27/14           32737     ARGO PARTNERS                             Claim 002952, Payment                               5600-000                                  $2,600.00       $10,557,284.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32738     JAIME REYES                               Claim 002953, Payment                               5600-000                                     $441.00      $10,556,843.78
                                                                          100.00000%
                                2327 Oakmont Street
                                Philadelphia, PA 19152
   08/27/14           32739     ANA REYES                                 Claim 002954, Payment                               5600-000                                     $462.00      $10,556,381.78
                                                                          100.00000%
                                2327 Oakmont Street
                                Philadelphia, PA 19152
   08/27/14           32740     ALICIA JORDAN                             Claim 002955, Payment                               5600-000                                  $2,600.00       $10,553,781.78
                                                                          100.00000%
                                3221 Ozark Ave.
                                McAllen, TX 78504
   08/27/14           32741     JOHN WRIGHT                               Claim 002956, Payment                               5600-004                                  $2,600.00       $10,551,181.78
                                                                          100.00000%
                                3625 Grady Smith Rd
                                Loganville, GA 30052




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32742     JAMES ZIEL                                Claim 002957, Payment                               5600-000                                     $662.00      $10,550,519.78
                                                                          100.00000%
                                17 Exitir Steet
                                Toms River, NJ 08757
   08/27/14           32743     WILLIAM BUONO JR                          Claim 002958, Payment                               5600-000                                  $2,600.00       $10,547,919.78
                                                                          100.00000%
                                PO BOX 1722
                                Latham, NY 12110
   08/27/14           32744     JAMES JONES                               Claim 002959, Payment                               5600-000                                  $1,636.00       $10,546,283.78
                                                                          100.00000%
                                4305 Hartford Hills Drive
                                Suitland, MD 20746
   08/27/14           32745     ARGO PARTNERS                             Claim 002960, Payment                               5600-000                                  $2,600.00       $10,543,683.78
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           32746     KIMBBERLY DONOVAN                         Claim 002961, Payment                               5600-000                                     $825.00      $10,542,858.78
                                                                          100.00000%
                                4080 W. Nicholas Dr.
                                Cass City, MI 48726-9046
   08/27/14           32747     ROBERT GEHRINGER                          Claim 002962, Payment                               5600-000                                  $2,600.00       $10,540,258.78
                                                                          100.00000%
                                267 N View Road
                                Fleetwood, PA 19522
   08/27/14           32748     JACKIE SMITH                              Claim 002963, Payment                               5600-004                                  $2,078.00       $10,538,180.78
                                                                          100.00000%
                                1315 Hartsoe Road
                                Lincolnton, NC 28092
   08/27/14           32749     KATHRYN SCLESKY                           Claim 002964, Payment                               5600-000                                     $719.00      $10,537,461.78
                                                                          100.00000%
                                57 Boucher Ln
                                Ligonier, PA 15658
   08/27/14           32750     ARGO PARTNERS                             Claim 002965, Payment                               5600-000                                  $2,600.00       $10,534,861.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32751     ARGO PARTNERS                             Claim 002966, Payment                               5600-000                                  $2,600.00       $10,532,261.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $18,920.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32752     JAMES BEASLEY                             Claim 002967, Payment                               5600-000                                  $2,258.00       $10,530,003.78
                                                                          100.00000%
                                40943 13th St. W
                                Palmdale, CA 93551
   08/27/14           32753     AMBER HURD                                Claim 002968, Payment                               5600-004                                     $816.00      $10,529,187.78
                                                                          100.00000%
                                1825 SE 15th Place Apt B
                                Cape Coral, FL 33990
   08/27/14           32754     ARNOLDO GARCIA                            Claim 002969, Payment                               5600-004                                  $1,786.00       $10,527,401.78
                                                                          100.00000%
                                808 Golden Eye Way
                                Suisun City, CA 94585
   08/27/14           32755     LIQUIDITY SOLUTIONS, INC.                 Claim 002970, Payment                               5600-000                                  $2,600.00       $10,524,801.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32756     JOHN COLEN                                Claim 002971, Payment                               5600-000                                     $716.00      $10,524,085.78
                                                                          100.00000%
                                735 River Lake Way
                                Sacremento, CA 95831
   08/27/14           32757     LARRY AND ROBIN FARRIS                    Claim 002972, Payment                               5600-000                                  $2,600.00       $10,521,485.78
                                                                          100.00000%
                                PO Box 768
                                Okemah, OK 74859
   08/27/14           32758     LIQUIDITY SOLUTIONS, INC.                 Claim 002973, Payment                               5600-000                                  $2,600.00       $10,518,885.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32759     CATHERINE RILEY                           Claim 002974, Payment                               5600-000                                  $2,247.00       $10,516,638.78
                                                                          100.00000%
                                86 Schulman Veslak Rd
                                East Haddam, CT 06423
   08/27/14           32760     PAMELA RODGERS                            Claim 002975, Payment                               5600-000                                  $1,429.00       $10,515,209.78
                                                                          100.00000%
                                3336 Belsouth Drive
                                Belmont, NC 28012-2775




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 310 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32761     NANCY SWETT                               Claim 002976, Payment                               5600-000                                  $2,600.00       $10,512,609.78
                                                                          100.00000%
                                16700 Birngard Dr.
                                Detroit, MI 48205
   08/27/14           32762     SECOND CHANCE CREDIT                      Claim 002977, Payment                               5600-000                                  $1,007.00       $10,511,602.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32763     ROSA LOPEZ                                Claim 002978, Payment                               5600-000                                     $456.00      $10,511,146.78
                                                                          100.00000%
                                4636 Leonis St.
                                Commerce, CA 90040
   08/27/14           32764     ARGO PARTNERS                             Claim 002979, Payment                               5600-000                                  $2,600.00       $10,508,546.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32765     ALICE WILCOX                              Claim 002980, Payment                               5600-000                                   $1,811.00      $10,506,735.78
                                                                          100.00000%
                                6407 Roanoke dr
                                Kannapolis, NC 28081
   08/27/14           32766     DENISE BIRD                               Claim 002981, Payment                               5600-000                                  $2,600.00       $10,504,135.78
                                                                          100.00000%
                                3397 Sterner Mill Rd
                                Quakertown, PA 18951
   08/27/14           32767     PAUL LAMPELA                              Claim 002982, Payment                               5600-000                                  $1,464.00       $10,502,671.78
                                                                          100.00000%
                                15122 PUURI RD
                                PELKIE, MI 49958
   08/27/14           32768     PATRICIA JORDAN                           Claim 002983, Payment                               5600-000                                  $2,600.00       $10,500,071.78
                                                                          100.00000%
                                4968 State Route 150
                                Dillonvale, OH 43917
   08/27/14           32769     PATRICIA WHOBREY                          Claim 002984, Payment                               5600-000                                  $1,282.00       $10,498,789.78
                                                                          100.00000%
                                4727 9th St. N
                                St. Petersburg, FL 33703




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 311 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32770     APRIL BROOKS                              Claim 002985, Payment                               5600-000                                  $2,600.00       $10,496,189.78
                                                                          100.00000%
                                5803 Hemlock Ave Apt G-003
                                Gary, IN 46403
   08/27/14           32771     DONNA WISE                                Claim 002986, Payment                               5600-000                                  $1,159.00       $10,495,030.78
                                                                          100.00000%
                                323 Jacqueline Ct
                                Irvine, KY 40336
   08/27/14           32772     LIQUIDITY SOLUTIONS, INC.                 Claim 002987, Payment                               5600-000                                  $2,600.00       $10,492,430.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32773     MATTHEW CARVIN                            Claim 002988, Payment                               5600-000                                     $636.00      $10,491,794.78
                                                                          100.00000%
                                2012 Double Cedar Drive
                                Charlotte, NC 28214
   08/27/14           32774     MARCELLINA ROLLINS                        Claim 002989, Payment                               5600-000                                     $386.00      $10,491,408.78
                                                                          100.00000%
                                1815 Woolsey
                                Berkley, CA 94703
   08/27/14           32775     MARCIE ROLLINS                            Claim 002990, Payment                               5600-000                                  $1,013.00       $10,490,395.78
                                                                          100.00000%
                                1815 Woolsey St
                                Berkley, CA 94703
   08/27/14           32776     JIM NGUYEN                                Claim 002991, Payment                               5600-000                                  $2,600.00       $10,487,795.78
                                                                          100.00000%
                                591 FRANKFURT AVE
                                W COVINA, CA 91792
   08/27/14           32777     LINDA GRISSETT                            Claim 002993, Payment                               5600-000                                  $2,600.00       $10,485,195.78
                                                                          100.00000%
                                481 Eaton Sq. Apt. C
                                Jonesboro, GA 30236
   08/27/14           32778     ANNIE THACH                               Claim 002994, Payment                               5600-000                                  $2,600.00       $10,482,595.78
                                                                          100.00000%
                                10013 East Skinner Street
                                Wichita, KS 67207




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32779     ARGO PARTNERS                             Claim 002995, Payment                               5600-000                                  $2,600.00       $10,479,995.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32780     CHRISTINA NUNEZ                           Claim 002996, Payment                               5600-000                                  $2,600.00       $10,477,395.78
                                                                          100.00000%
                                201 Coral View Street
                                Monteray Park, CA 91755
   08/27/14           32781     DEBORAH MOORE                             Claim 002997, Payment                               5600-000                                  $2,305.00       $10,475,090.78
                                                                          100.00000%
                                19176 Verona Street
                                Detroit, MI 48205
   08/27/14           32782     ARGO PARTNERS                             Claim 002998, Payment                               5600-000                                  $2,600.00       $10,472,490.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32783     ARGO PARTNERS                             Claim 002999, Payment                               5600-000                                  $2,600.00       $10,469,890.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32784     RAJEEV THAROOR                            Claim 003000, Payment                               5600-000                                     $402.00      $10,469,488.78
                                                                          100.00000%
                                819 Ridgeview Ter
                                Fremont, CA 94536
   08/27/14           32785     ARGO PARTNERS                             Claim 003001A, Payment                              5600-000                                  $2,600.00       $10,466,888.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32786     ERIC WOODSON                              Claim 003002, Payment                               5600-000                                  $2,600.00       $10,464,288.78
                                                                          100.00000%
                                3669 Forest Garden Ave
                                Gwynn Oak, MD 21207
   08/27/14           32787     DELORIS JAMES                             Claim 003003A, Payment                              5600-004                                     $355.00      $10,463,933.78
                                                                          100.00000%
                                3501 Bradshaw Rd 50
                                Sacramento, CA 95827




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32788     NOELIA VILLANUEVA-MARTINEZ                Claim 003004, Payment                               5600-000                                  $2,600.00       $10,461,333.78
                                                                          100.00000%
                                5543 Rockhampton Path
                                Clay, NY 13041
   08/27/14           32789     ARGO PARTNERS                             Claim 003005A, Payment                              5600-000                                  $2,600.00       $10,458,733.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32790     ARGO PARTNERS                             Claim 003006, Payment                               5600-000                                  $2,200.00       $10,456,533.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32791     LIQUIDITY SOLUTIONS, INC.                 Claim 003007, Payment                               5600-000                                  $2,600.00       $10,453,933.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32792     CATHERINE BARTUSH                         Claim 003008, Payment                               5600-000                                     $395.00      $10,453,538.78
                                                                          100.00000%
                                11501 Marion Road Apt 1205
                                Sanger, TX 76266
   08/27/14           32793     BRADLEY JARMAN                            Claim 003009, Payment                               5600-000                                  $2,415.00       $10,451,123.78
                                                                          100.00000%
                                20797 1800 Rd
                                Altoona, KS 66710
   08/27/14           32794     ARGO PARTNERS                             Claim 003010, Payment                               5600-000                                  $2,600.00       $10,448,523.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32795     JEFFERY DODDS                             Claim 003011, Payment                               5600-000                                     $816.00      $10,447,707.78
                                                                          100.00000%
                                943 Durnin Dr.
                                Denham Springs, LA 70726
   08/27/14           32796     WALLY HEHR                                Claim 003012, Payment                               5600-000                                     $214.00      $10,447,493.78
                                                                          100.00000%
                                1007 Hicks Pike
                                Cynthiana, KY 41031




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $16,440.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32797     JENNIFER METHVIN                          Claim 003013, Payment                               5600-000                                  $2,600.00       $10,444,893.78
                                                                          100.00000%
                                R R 2 Box 65A
                                Hooker, OK 73945
   08/27/14           32798     SUZETTE NUGENT                            Claim 003014, Payment                               5600-000                                     $681.00      $10,444,212.78
                                                                          100.00000%
                                108 Whitehill Ave
                                Jamestown, NY 14701
   08/27/14           32799     JANINE SYLSTRA                            Claim 003015, Payment                               5600-000                                  $2,600.00       $10,441,612.78
                                                                          100.00000%
                                138 12 West Mariposa
                                San Clemente, CA 92672
   08/27/14           32800     LIQUIDITY SOLUTIONS, INC.                 Claim 003016, Payment                               5600-000                                  $2,600.00       $10,439,012.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32801     ARGO PARTNERS                             Claim 003017, Payment                               5600-000                                  $2,600.00       $10,436,412.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32802     DIXON BROWN                               Claim 003018, Payment                               5600-000                                  $2,600.00       $10,433,812.78
                                                                          100.00000%
                                1335 Pullen Road
                                Sevierville, TN 37862
   08/27/14           32803     VICKI COLEMAN FKA HAMILTON                Claim 003019, Payment                               5600-000                                  $2,600.00       $10,431,212.78
                                                                          100.00000%
                                3515 N Naylor Circle
                                Corpus Christi, TX 78408
   08/27/14           32804     BARBARA HAWKINS                           Claim 003020, Payment                               5600-000                                  $1,087.00       $10,430,125.78
                                                                          100.00000%
                                692 Gleneagles Avenue
                                Pomona, CA 91768
   08/27/14           32805     AUGUSTINE ADEYEMI                         Claim 003021, Payment                               5600-000                                  $2,600.00       $10,427,525.78
                                                                          100.00000%
                                199 Brookside Ave
                                Irvington, NJ 07111




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $19,968.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32806     NANCY KOERNER                             Claim 003022, Payment                               5600-000                                     $200.00      $10,427,325.78
                                                                          100.00000%
                                925 Central Ave.
                                Louisville, KY 40208
   08/27/14           32807     ARGO PARTNERS                             Claim 003023, Payment                               5600-000                                  $2,600.00       $10,424,725.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32808     LIQUIDITY SOLUTIONS, INC.                 Claim 003024, Payment                               5600-000                                  $2,600.00       $10,422,125.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32809     EVERETT WARNER                            Claim 003025, Payment                               5600-000                                  $2,600.00       $10,419,525.78
                                                                          100.00000%
                                6461 CENTENNIAL RD
                                BLACKSBURG, VA 24060
   08/27/14           32810     ARGO PARTNERS                             Claim 003026, Payment                               5600-000                                  $2,600.00       $10,416,925.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32811     SOMMAR AND MICHAEL D WATERS               Claim 003027, Payment                               5600-000                                  $2,349.00       $10,414,576.78
                                                                          100.00000%
                                820 Hamilton Road
                                Rutherfordton, NC 28139
   08/27/14           32812     RUGIATU SENESSIE                          Claim 003028, Payment                               5600-000                                  $1,588.00       $10,412,988.78
                                                                          100.00000%
                                8081 Storrow Dr
                                Westerville, OH 43081
   08/27/14           32813     ARGO PARTNERS                             Claim 003029, Payment                               5600-000                                  $2,600.00       $10,410,388.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32814     FRANCES MAJANE                            Claim 003030, Payment                               5600-000                                  $2,600.00       $10,407,788.78
                                                                          100.00000%
                                6200 BLACK HORSE PIKE APT 104
                                EGG HARBOR TOWNSHIP, NJ 08234




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32815     TOM FROMHERZ                              Claim 003031, Payment                               5600-000                                  $2,600.00       $10,405,188.78
                                                                          100.00000%
                                26481 Arboretum Way 2005
                                Murrieta, CA 92563-7208
   08/27/14           32816     ANNA POLANCO                              Claim 003032, Payment                               5600-000                                     $292.00      $10,404,896.78
                                                                          100.00000%
                                2120 Crotona Ave Apt 27
                                Bronx, NY 10457
   08/27/14           32817     LORENZO DE VEGA                           Claim 003033, Payment                               5600-000                                  $2,600.00       $10,402,296.78
                                                                          100.00000%
                                2027 Universal Drive
                                Stockton, CA 95206
   08/27/14           32818     ARGO PARTNERS                             Claim 003034, Payment                               5600-000                                  $2,600.00       $10,399,696.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32819     ELAINE ALBERT                             Claim 003035, Payment                               5600-000                                     $566.00      $10,399,130.78
                                                                          100.00000%
                                4151 Bakman Avenue
                                Studio City, CA 91602
   08/27/14           32820     ARGO PARTNERS                             Claim 003036, Payment                               5600-000                                  $2,600.00       $10,396,530.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32821     JOEL RABINOVITZ                           Claim 003037, Payment                               5600-000                                  $1,364.00       $10,395,166.78
                                1685 H. St. #877Blaine, WA 98230          100.00000%
   08/27/14           32822     VERN BOLES                                Claim 003038, Payment                               5600-000                                  $2,600.00       $10,392,566.78
                                                                          100.00000%
                                PO BOX 971
                                Yemassee, SC 29945
   08/27/14           32823     DONNA HICKS                               Claim 003039A, Payment                              5600-000                                  $2,600.00       $10,389,966.78
                                                                          100.00000%
                                223 Thomas Place
                                Arena, WI 53503
   08/27/14           32824     PRISCILLA SARVEN                          Claim 003040, Payment                               5600-000                                  $2,036.00       $10,387,930.78
                                183 Gemini TrailGeorgetown, KY 40324      100.00000%




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 317 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32825     KEYLA LATINO                              Claim 003042, Payment                               5600-000                                  $2,600.00       $10,385,330.78
                                                                          100.00000%
                                308 Kettering Rd
                                Deltona, FL 32725
   08/27/14           32826     HERBERT DUDLEY                            Claim 003043, Payment                               5600-000                                     $617.00      $10,384,713.78
                                                                          100.00000%
                                1605 N Franklin Street
                                Philadelphia, PA 19122
   08/27/14           32827     THERON BROWN                              Claim 003044, Payment                               5600-000                                  $2,600.00       $10,382,113.78
                                                                          100.00000%
                                1620 NW 4th Ave Apt 13A
                                Miami, FL 33136
   08/27/14           32828     RICHARD MONTOYA                           Claim 003045, Payment                               5600-000                                  $2,600.00       $10,379,513.78
                                                                          100.00000%
                                518 Spring Creek Parkway
                                Spring Creek, NV 89815
   08/27/14           32829     SARAH ELLISTON                            Claim 003046, Payment                               5600-000                                  $2,600.00       $10,376,913.78
                                                                          100.00000%
                                29 W 64th St. Apt 6B
                                New York, NY 10023-6724
   08/27/14           32830     LINDY ANN CALLOW                          Claim 003047, Payment                               5600-000                                  $2,600.00       $10,374,313.78
                                                                          100.00000%
                                18.5 SOUTH ST
                                10
                                LEBANON, NH 03766
   08/27/14           32831     ARGO PARTNERS                             Claim 003048A, Payment                              5600-000                                  $2,600.00       $10,371,713.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32832     JOSEPH CROWLEY                            Claim 003049, Payment                               5600-000                                  $2,600.00       $10,369,113.78
                                                                          100.00000%
                                408 Aurora Blvd
                                Matthews, NC 28105
   08/27/14           32833     KIM DENNIS                                Claim 003050, Payment                               5600-000                                  $1,207.00       $10,367,906.78
                                                                          100.00000%
                                PO Box 903
                                Dallas, GA 30132




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32834     NORMA JO HARDER                           Claim 003051, Payment                               5600-000                                  $2,600.00       $10,365,306.78
                                                                          100.00000%
                                221 Pinecove Dr
                                Inman, SC 29349
   08/27/14           32835     LIQUIDITY SOLUTIONS, INC.                 Claim 003052, Payment                               5600-000                                  $1,743.00       $10,363,563.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32836     ROBERT MCDOUGALL                          Claim 003053, Payment                               5600-000                                  $2,600.00       $10,360,963.78
                                                                          100.00000%
                                20 Matthew Avenue
                                Carteret, NJ 07008
   08/27/14           32837     FRANK MILINSKI                            Claim 003054, Payment                               5600-000                                  $1,494.00       $10,359,469.78
                                                                          100.00000%
                                10 Sidney Drive
                                Berwick, ME 03901-2728
   08/27/14           32838     NORA HARRIS                               Claim 003055, Payment                               5600-000                                  $2,580.00       $10,356,889.78
                                                                          100.00000%
                                824 Middle Road
                                Portsmouth, RI 02871
   08/27/14           32839     JAMES BETZ                                Claim 003056, Payment                               5600-000                                  $2,600.00       $10,354,289.78
                                                                          100.00000%
                                c/o Alan Treinish
                                1370 Ontario St. Ste. 700
                                Cleveland, OH 44113
   08/27/14           32840     SECOND CHANCE CREDIT                      Claim 003057, Payment                               5600-000                                  $2,600.00       $10,351,689.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32841     JOHN ROCCO FANELLI                        Claim 003058, Payment                               5600-000                                     $757.00      $10,350,932.78
                                                                          100.00000%
                                235 Basin Rd
                                Hammonton, NJ 08037
   08/27/14           32842     GLENDA MATT                               Claim 003059A, Payment                              5600-000                                  $2,600.00       $10,348,332.78
                                                                          100.00000%
                                7380 SW 130th Street
                                Miami, FL 33156



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           32843     ABDUL ALHASSAN                            Claim 003060, Payment                               5600-004                                  $2,600.00      $10,345,732.78
                                                                          100.00000%
                                16000 Sherman Way 232
                                Van Nuys, CA 91406
   08/27/14           32844     JENNIFER SAITTA                           Claim 003061, Payment                               5600-000                                  $2,600.00      $10,343,132.78
                                                                          100.00000%
                                15805 NW 16th Court
                                Pembroke Pines, FL 33028
   08/27/14           32845     LAURA PEASLEE                             Claim 003062, Payment                               5600-000                                  $2,600.00      $10,340,532.78
                                                                          100.00000%
                                PO BOX 1442
                                CHARLESTOWN, NH 03603
   08/27/14           32846     GENNARO INGENITO                          Claim 003063, Payment                               5600-000                                  $2,600.00      $10,337,932.78
                                                                          100.00000%
                                25 Birch Road
                                Pompton Plains, NJ 07444
   08/27/14           32847     ARGO PARTNERS                             Claim 003064A, Payment                              5600-000                                  $2,600.00      $10,335,332.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32848     ROBERT EUSTACE                            Claim 003065, Payment                               5600-000                                  $2,600.00      $10,332,732.78
                                                                          100.00000%
                                PO BOX 1289
                                MEADVILLE, PA 16335
   08/27/14           32849     JENNIFER WAKEFIELD                        Claim 003066, Payment                               5600-000                                  $2,600.00      $10,330,132.78
                                                                          100.00000%
                                402 East Liberty St
                                Girard, OH 44420
   08/27/14           32850     TANIA B GARCIA                            Claim 003067A, Payment                              5600-000                                  $2,600.00      $10,327,532.78
                                                                          100.00000%
                                401 E Knott Ave Apt 3E
                                Anaheim, CA 92804
   08/27/14           32851     IAN BLAIR                                 Claim 003068, Payment                               5600-000                                  $2,520.00      $10,325,012.78
                                                                          100.00000%
                                11938 Clair St.
                                Hartland, MI 48353




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 320 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32852     NATALIE LITTLE                            Claim 003069A, Payment                              5600-000                                     $899.00      $10,324,113.78
                                                                          100.00000%
                                2123 Cabernat Cir
                                Brandon, MS 39047
   08/27/14           32853     MARSHA HENRY                              Claim 003070, Payment                               5600-000                                     $925.00      $10,323,188.78
                                                                          100.00000%
                                13138 Moorpark St. Apt. 19
                                Sherman Oaks, CA 91423
   08/27/14           32854     ARGO PARTNERS                             Claim 003071, Payment                               5600-000                                  $2,600.00       $10,320,588.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32855     RONALD PARTIN                             Claim 003072, Payment                               5600-000                                     $750.00      $10,319,838.78
                                                                          100.00000%
                                519 Windy Ridge
                                Bedford, KY 40006
   08/27/14           32856     JAMES GRAY                                Claim 003073, Payment                               5600-000                                     $470.00      $10,319,368.78
                                                                          100.00000%
                                1219 Three Meadows Dr
                                Rockledge, FL 32955-4662
   08/27/14           32857     JUAN ESTEVE                               Claim 003074A, Payment                              5600-000                                  $1,808.00       $10,317,560.78
                                                                          100.00000%
                                1616 N. Bluebird Ln.
                                Homestead, FL 33035
   08/27/14           32858     AMARA TOURE                               Claim 003075, Payment                               5600-004                                     $877.00      $10,316,683.78
                                                                          100.00000%
                                PO Box 1198
                                New York, NY 10029
   08/27/14           32859     KEVIN MCQUEEN                             Claim 003076, Payment                               5600-004                                     $509.00      $10,316,174.78
                                                                          100.00000%
                                19138 Frontier Road
                                Saucier, MS 39574
   08/27/14           32860     DONNA CORNWELL                            Claim 003077, Payment                               5600-000                                     $589.00      $10,315,585.78
                                                                          100.00000%
                                3025 Casper AVE
                                Hilliard, OH 43026




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32861     SECOND CHANCE CREDIT                      Claim 003078A, Payment                              5600-000                                  $1,170.00       $10,314,415.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32862     ROCIO I PEREZ                             Claim 003079, Payment                               5600-000                                  $2,600.00       $10,311,815.78
                                                                          100.00000%
                                67 Mary Street
                                Bordentown, NJ 08505
   08/27/14           32863     MARK A REID                               Claim 003080, Payment                               5600-004                                  $2,600.00       $10,309,215.78
                                                                          100.00000%
                                150 Secatogue Avenue Apt. 6A
                                Farmingdale, NY 11735
   08/27/14           32864     GENEVA NIX                                Claim 003081, Payment                               5600-000                                  $1,291.00       $10,307,924.78
                                                                          100.00000%
                                37 Mercer Street
                                Carteret, NJ 07008
   08/27/14           32865     MELISSA DOLESH                            Claim 003082, Payment                               5600-000                                  $2,225.00       $10,305,699.78
                                                                          100.00000%
                                1579 Majestic Terrace
                                Colfax, NC 27235
   08/27/14           32866     ARGO PARTNERS                             Claim 003083, Payment                               5600-000                                  $2,600.00       $10,303,099.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32867     EVA NEWCOMB                               Claim 003084A, Payment                              5600-000                                     $599.00      $10,302,500.78
                                                                          100.00000%
                                8948 Shoal Creek Lane
                                Boynton Beach, FL 33472-2507
   08/27/14           32868     LIQUIDITY SOLUTIONS, INC.                 Claim 003085, Payment                               5600-000                                  $2,423.00       $10,300,077.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32869     SAMUEL CHO                                Claim 003086, Payment                               5600-000                                  $2,600.00       $10,297,477.78
                                                                          100.00000%
                                2227 Valley Creek East Lane
                                Indianapolis, IN 46229




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $18,108.00
                                                                             Document          Page 322 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32870     EDWARD ARMENDARIZ                         Claim 003087, Payment                               5600-000                                  $2,600.00       $10,294,877.78
                                                                          100.00000%
                                10214 Cades Creek Court
                                Houston, TX 77089
   08/27/14           32871     STEVEN HOYT                               Claim 003088A, Payment                              5600-000                                  $2,600.00       $10,292,277.78
                                                                          100.00000%
                                120 Turner Street
                                Bethlehem, NH 03574
   08/27/14           32872     MELANIE GEHRMAN                           Claim 003089, Payment                               5600-000                                  $2,600.00       $10,289,677.78
                                                                          100.00000%
                                382 75th St.
                                Clear Lake, WI 54005
   08/27/14           32873     NICHOLIS JAEB                             Claim 003090, Payment                               5600-000                                     $500.00      $10,289,177.78
                                                                          100.00000%
                                8236 17th Ave S
                                Bloomington, MN 55425
   08/27/14           32874     VIVIANA LOPEZ-DE-PALAZZO                  Claim 003091, Payment                               5600-000                                  $1,388.00       $10,287,789.78
                                                                          100.00000%
                                757 Jerusalem Avenue
                                Uniondale, NY 11553
   08/27/14           32875     JAMES AGAR                                Claim 003092, Payment                               5600-000                                  $2,600.00       $10,285,189.78
                                                                          100.00000%
                                714 Park Avenue
                                Martinsville, WV 26155
   08/27/14           32876     REBECCA WANNER                            Claim 003093, Payment                               5600-000                                  $1,229.00       $10,283,960.78
                                                                          100.00000%
                                1625 Morton Court
                                Lansdale, PA 19446
   08/27/14           32877     JUDITH DALTON-NAZARIO                     Claim 003094, Payment                               5600-000                                  $2,600.00       $10,281,360.78
                                                                          100.00000%
                                2377 Samia Drive
                                Duluth, GA 30096
   08/27/14           32878     ARGO PARTNERS                             Claim 003095, Payment                               5600-000                                  $2,600.00       $10,278,760.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32879     TIMOTHY TETER                             Claim 003096, Payment                               5600-000                                  $2,600.00       $10,276,160.78
                                                                          100.00000%
                                782 Allen Hill Road
                                Shanks, WV 26761
   08/27/14           32880     ARGO PARTNERS                             Claim 003097, Payment                               5600-000                                  $2,600.00       $10,273,560.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32881     LUCY CLARK                                Claim 003098, Payment                               5600-000                                  $2,600.00       $10,270,960.78
                                                                          100.00000%
                                203 Clearwater Rd
                                Landrum, SC 29356
   08/27/14           32882     PEDRO VERA                                Claim 003099, Payment                               5600-000                                  $2,189.00       $10,268,771.78
                                                                          100.00000%
                                231 JENNIFER PL
                                DALLAS, GA 30157
   08/27/14           32883     LISA FISH                                 Claim 003100, Payment                               5600-000                                  $2,600.00       $10,266,171.78
                                                                          100.00000%
                                137 Village Way
                                Lawrenceville, GA 30046
   08/27/14           32884     PHILIP FRANKLIN                           Claim 003101, Payment                               5600-000                                     $665.00      $10,265,506.78
                                                                          100.00000%
                                8009 Bishop Pine Rd.
                                Denton, TX 76208
   08/27/14           32885     TRAVIS RIFENBURG                          Claim 003102A, Payment                              5600-000                                  $2,600.00       $10,262,906.78
                                                                          100.00000%
                                506 REDBIRD ST
                                LYNN HAVEN, FL 32444
   08/27/14           32886     ARGO PARTNERS                             Claim 003103, Payment                               5600-000                                  $2,600.00       $10,260,306.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32887     MARILYN DILWORTH                          Claim 003104, Payment                               5600-000                                  $2,600.00       $10,257,706.78
                                                                          100.00000%
                                2521 46th Ave West
                                Bradenton, FL 34207




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32888     ROBERT WAUDBY                             Claim 003105A, Payment                              5600-000                                  $2,600.00       $10,255,106.78
                                                                          100.00000%
                                1003 French Scout Ct
                                Indian Trail, NC 28079
   08/27/14           32889     GARY HUNTER                               Claim 003106A, Payment                              5600-000                                     $315.00      $10,254,791.78
                                                                          100.00000%
                                4931 E. 26th St.
                                Tulsa, OK 74114
   08/27/14           32890     KAREN KAUFMAN                             Claim 003107, Payment                               5600-000                                     $314.00      $10,254,477.78
                                                                          100.00000%
                                608 S Poplar St
                                Leipsic, OH 45856
   08/27/14           32891     ROGELIO VILLAR                            Claim 003108, Payment                               5600-000                                  $2,600.00       $10,251,877.78
                                                                          100.00000%
                                6602 Thalia Way
                                Citrus Heights, CA 95621
   08/27/14           32892     ARGO PARTNERS                             Claim 003109, Payment                               5600-000                                  $2,600.00       $10,249,277.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32893     PAULINE CHAHALES                          Claim 003110, Payment                               5600-000                                     $559.00      $10,248,718.78
                                                                          100.00000%
                                17 Blueberry Hill Road
                                Mahopac, NY 10541
   08/27/14           32894     KATHY M DEARMAN                           Claim 003111, Payment                               5600-000                                  $2,600.00       $10,246,118.78
                                                                          100.00000%
                                208 Eastwood Dr
                                Salisbury, NC 28146
   08/27/14           32895     SUSAN SANTORO                             Claim 003112, Payment                               5600-000                                  $2,600.00       $10,243,518.78
                                                                          100.00000%
                                88-46 75th Avenue
                                Glendale, NY 11385
   08/27/14           32896     MICHELLE BILLIOT                          Claim 003113, Payment                               5600-000                                     $481.00      $10,243,037.78
                                                                          100.00000%
                                20339 Helenberg Rd
                                Covington, LA 70433




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32897     MARIA ESCOTO                              Claim 003114, Payment                               5600-004                                     $798.00      $10,242,239.78
                                                                          100.00000%
                                16378 Saddlebrook Ln
                                Moreno Valley, CA 92551
   08/27/14           32898     LIQUIDITY SOLUTIONS, INC.                 Claim 003115, Payment                               5600-000                                  $1,162.00       $10,241,077.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32899     JAMES HOLCOMB                             Claim 003116, Payment                               5600-000                                  $2,600.00       $10,238,477.78
                                                                          100.00000%
                                PO BOX 301
                                Craigsville, WV 26205
   08/27/14           32900     ARGO PARTNERS                             Claim 003117, Payment                               5600-000                                  $2,600.00       $10,235,877.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32901     LIQUIDITY SOLUTIONS, INC.                 Claim 003118, Payment                               5600-000                                  $2,285.00       $10,233,592.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32902     LIQUIDITY SOLUTIONS, INC.                 Claim 003119, Payment                               5600-000                                  $2,600.00       $10,230,992.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32903     LIQUIDITY SOLUTIONS, INC.                 Claim 003120, Payment                               5600-000                                  $1,375.00       $10,229,617.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32904     GWEN LAKES                                Claim 003121, Payment                               5600-000                                  $1,314.00       $10,228,303.78
                                                                          100.00000%
                                2821 6th Street
                                Muskegon, MI 49444
   08/27/14           32905     JOHN DIAZ                                 Claim 003122, Payment                               5600-000                                  $2,600.00       $10,225,703.78
                                                                          100.00000%
                                1132 Lemans Terrace
                                Sunnyvale, CA 94089




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32906     MICHAEL STOVER                            Claim 003123, Payment                               5600-000                                  $2,600.00       $10,223,103.78
                                                                          100.00000%
                                5040 Highland Meadows Drive
                                Hilliard, OH 43026
   08/27/14           32907     ARGO PARTNERS                             Claim 003124, Payment                               5600-000                                  $2,600.00       $10,220,503.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32908     KARIN EDENMARK AND JOSE                   Claim 003125, Payment                               5600-000                                  $2,600.00       $10,217,903.78
                                SANCHEZKARI                               100.00000%

                                2607 LINCOLN ST
                                HOLLYWOOD, FL 33020
   08/27/14           32909     ASSET RECOVERY MANAGEMENT,                Claim 003126, Payment                               5600-000                                  $2,600.00       $10,215,303.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           32910     ARGO PARTNERS                             Claim 003127, Payment                               5600-000                                  $2,600.00       $10,212,703.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32911     COLLEEN GERVAIS                           Claim 003128, Payment                               5600-000                                     $830.00      $10,211,873.78
                                                                          100.00000%
                                2721 South Heights Drive
                                Coon Rapids, MN 55433
   08/27/14           32912     ARGO PARTNERS                             Claim 003129, Payment                               5600-000                                  $2,600.00       $10,209,273.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32913     DIANNA KRULICH                            Claim 003130, Payment                               5600-000                                     $773.00      $10,208,500.78
                                                                          100.00000%
                                7508 Cody St. W 4
                                Lakewood, WA 98499
   08/27/14           32914     STEVE DANG                                Claim 003131, Payment                               5600-000                                  $2,600.00       $10,205,900.78
                                                                          100.00000%
                                3638 Sandpiper Way
                                Brea, CA 92823



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32915     CRISTINA PANKS                            Claim 003132, Payment                               5600-004                                     $367.00      $10,205,533.78
                                                                          100.00000%
                                648 Thornewood Place
                                Las Vegas, NV 89123
   08/27/14           32916     ARGO PARTNERS                             Claim 003133, Payment                               5600-000                                  $2,600.00       $10,202,933.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32917     JENNIFER LIEN                             Claim 003134, Payment                               5600-000                                     $774.00      $10,202,159.78
                                                                          100.00000%
                                1112 1St Avenue
                                Honolulu, HI 96816
   08/27/14           32918     REBECCA LOEWEN                            Claim 003135, Payment                               5600-000                                     $838.00      $10,201,321.78
                                                                          100.00000%
                                22 W157 Arbor Lane
                                Glen Ellyn 60137
   08/27/14           32919     RONALD SCIPIOR                            Claim 003136, Payment                               5600-000                                     $993.00      $10,200,328.78
                                                                          100.00000%
                                671 Market Ave
                                Port Edwards, WI 54469-1550
   08/27/14           32920     ARGO PARTNERS                             Claim 003138, Payment                               5600-000                                  $2,600.00       $10,197,728.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32921     SANDREA TYSON                             Claim 003139, Payment                               5600-000                                     $669.00      $10,197,059.78
                                                                          100.00000%
                                4049 Miami St.
                                St. Louis, MO 63116
   08/27/14           32922     DAVID REDGER                              Claim 003140, Payment                               5600-000                                  $2,600.00       $10,194,459.78
                                                                          100.00000%
                                1381 Oakmont Street
                                McPherson, KS 67460
   08/27/14           32923     SECOND CHANCE CREDIT                      Claim 003141, Payment                               5600-000                                   $1,110.00      $10,193,349.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32924     RODNEY WEBER                              Claim 003142, Payment                               5600-000                                  $1,517.00       $10,191,832.78
                                                                          100.00000%
                                141 Fairview Oaks Drive
                                Campobello, SC 29322
   08/27/14           32925     ARGO PARTNERS                             Claim 003143, Payment                               5600-000                                  $2,600.00       $10,189,232.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32926     ARGO PARTNERS                             Claim 003144, Payment                               5600-000                                  $2,600.00       $10,186,632.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32927     LIZBETH HANNA                             Claim 003145, Payment                               5600-000                                  $2,600.00       $10,184,032.78
                                                                          100.00000%
                                2255 Cedar Forks Dr
                                Marietta, GA 30062
   08/27/14           32928     ARGO PARTNERS                             Claim 003146, Payment                               5600-000                                  $2,600.00       $10,181,432.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32929     LORY CUNANAN                              Claim 003147, Payment                               5600-000                                  $2,600.00       $10,178,832.78
                                                                          100.00000%
                                28815 Sandcreek Drive
                                Hayward, CA 94545
   08/27/14           32930     SECOND CHANCE CREDIT                      Claim 003148, Payment                               5600-000                                     $664.00      $10,178,168.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           32931     ARGO PARTNERS                             Claim 003150, Payment                               5600-000                                  $2,600.00       $10,175,568.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32932     LIQUIDITY SOLUTIONS, INC.                 Claim 003151, Payment                               5600-000                                  $2,198.00       $10,173,370.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32933     BRIAN ONESCHAK                            Claim 003152, Payment                               5600-000                                     $371.00      $10,172,999.78
                                15352 Blackgold Ct.Noblesville, Hamilton, 100.00000%
                                IN 46060
   08/27/14           32934     JAMES HANCOCK                             Claim 003153, Payment                               5600-000                                  $2,319.00       $10,170,680.78
                                                                          100.00000%
                                107 Horseman Association Rd
                                Tallahasse, FL 32304
   08/27/14           32935     STEPHANIE HOWARD                          Claim 003154, Payment                               5600-000                                     $741.00      $10,169,939.78
                                                                          100.00000%
                                9987 C Boca Gardens Trail Apt C
                                Boca Raton, FL 33496
   08/27/14           32936     LIQUIDITY SOLUTIONS, INC.                 Claim 003155, Payment                               5600-000                                  $2,600.00       $10,167,339.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32937     DOUGLAS OMLI                              Claim 003156, Payment                               5600-000                                  $2,600.00       $10,164,739.78
                                                                          100.00000%
                                1409 Santolina Lane
                                Lewisville, NC 27023
   08/27/14           32938     NANCY HANCOCK                             Claim 003157, Payment                               5600-000                                  $2,600.00       $10,162,139.78
                                                                          100.00000%
                                132 Gary Brewer Road
                                Cobb, GA 31735
   08/27/14           32939     GERALD ROACH                              Claim 003158, Payment                               5600-000                                     $807.00      $10,161,332.78
                                                                          100.00000%
                                2007 Savoy Court
                                Indian Trail, NC 28079
   08/27/14           32940     ARGO PARTNERS                             Claim 003159, Payment                               5600-000                                  $2,600.00       $10,158,732.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32941     KIM HARDIN                                Claim 003160, Payment                               5600-000                                  $2,600.00       $10,156,132.78
                                                                          100.00000%
                                2139 Sugartree Drive
                                Pittsburgh, CA 94565
   08/27/14           32942     JOELLEN HOLDER                            Claim 003161, Payment                               5600-000                                  $1,369.00       $10,154,763.78
                                                                          100.00000%
                                2104 Whispering Pines Drive
                                Clayton, NC 27520


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           32943     KAREN AZMAN                               Claim 003162, Payment                               5600-000                                  $1,250.00      $10,153,513.78
                                                                          100.00000%
                                5667 South Nasturtium Place
                                Boise, ID 83716
   08/27/14           32944     ARGO PARTNERS                             Claim 003163, Payment                               5600-000                                  $2,600.00      $10,150,913.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32945     NICOLAS MALIC                             Claim 003164, Payment                               5600-000                                  $2,600.00      $10,148,313.78
                                                                          100.00000%
                                13819 TRENTON OVAL
                                STRONGSVILLE, OH 44136
   08/27/14           32946     ARGO PARTNERS                             Claim 003165, Payment                               5600-000                                  $2,600.00      $10,145,713.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32947     MICHELLE HARDIN                           Claim 003166, Payment                               5600-000                                  $2,170.00      $10,143,543.78
                                                                          100.00000%
                                209 Argyll Road
                                Columbia, SC 29212
   08/27/14           32948     ROBERT TIPAN                              Claim 003167, Payment                               5600-000                                  $2,600.00      $10,140,943.78
                                                                          100.00000%
                                3 Butterfly Lane
                                Freehold, NJ 07728
   08/27/14           32949     KRISTY VERMILYEA                          Claim 003168, Payment                               5600-000                                  $2,600.00      $10,138,343.78
                                                                          100.00000%
                                202A Colesville Road
                                Binghamton, NY 13904
   08/27/14           32950     MARVELLA HEARD                         Claim 003169, Payment                                  5600-000                                  $2,145.00      $10,136,198.78
                                218 Arta Burnham Rd.Bridgton, ME 04009 100.00000%
   08/27/14           32951     ARGO PARTNERS                             Claim 003170, Payment                               5600-000                                  $2,600.00      $10,133,598.78
                                12 West 37th St., 9th FlNew York, NY      100.00000%
                                10018
   08/27/14           32952     ARGO PARTNERS                             Claim 003171, Payment                               5600-000                                  $2,600.00      $10,130,998.78
                                12 West 37th Street, 9th FloorNew York,   100.00000%
                                NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           32953     ARGO PARTNERS                             Claim 003172, Payment                               5600-000                                  $2,600.00      $10,128,398.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32954     GABRIEL AND MAYRA ORTEGA                  Claim 003173, Payment                               5600-000                                  $2,600.00      $10,125,798.78
                                                                          100.00000%
                                12715 GOLDEN LEAF DR
                                RANCHO CUCAMONGA, CA 91739
   08/27/14           32955     ARGO PARTNERS                             Claim 003174, Payment                               5600-000                                  $2,600.00      $10,123,198.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32956     DALE SMITH                                Claim 003175, Payment                               5600-000                                  $2,600.00      $10,120,598.78
                                                                          100.00000%
                                PO Box 128
                                Marion, IA 52302-0128
   08/27/14           32957     KERRY BELLEROSE                           Claim 003176, Payment                               5600-000                                  $2,600.00      $10,117,998.78
                                                                          100.00000%
                                3320 Auburn Way South Apt. 11C
                                Auburn, WA 98092
   08/27/14           32958     SAMEEH A RAMIZ                            Claim 003177, Payment                               5600-000                                  $2,375.00      $10,115,623.78
                                                                          100.00000%
                                9 Player Place
                                Flanders, NJ 07836
   08/27/14           32959     JENNIFER PROCTOR                          Claim 003178A, Payment                              5600-000                                  $2,600.00      $10,113,023.78
                                                                          100.00000%
                                304 Yost Farm Road
                                Salisbury, NC 28146
   08/27/14           32960     CARA MURRAY                               Claim 003179, Payment                               5600-000                                  $2,600.00      $10,110,423.78
                                                                          100.00000%
                                1 Spring St
                                North Providence, RI 02904
   08/27/14           32961     KHASRU CHOWDHURY                          Claim 003180, Payment                               5600-000                                  $2,600.00      $10,107,823.78
                                                                          100.00000%
                                2354 S. Cannon Dr. Apt. 202
                                Mount Prospect, IL 60056




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32962     ARGO PARTNERS                             Claim 003181, Payment                               5600-000                                  $2,600.00       $10,105,223.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32963     LIQUIDITY SOLUTIONS, INC.                 Claim 003182, Payment                               5600-000                                  $2,600.00       $10,102,623.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32964     JOEL PINTER                               Claim 003183, Payment                               5600-000                                  $2,600.00       $10,100,023.78
                                                                          100.00000%
                                1542 Woodruff Way
                                Hartford, WI 53027
   08/27/14           32965     MICHAEL MCCARTHY                          Claim 003184A, Payment                              5600-000                                  $2,600.00       $10,097,423.78
                                                                          100.00000%
                                80 W. Main St. UPPR
                                Macedon, NY 14502
   08/27/14           32966     JULIE A WALSH (SHANNON)                   Claim 003185, Payment                               5600-000                                     $925.00      $10,096,498.78
                                                                          100.00000%
                                2084 JOHN WAYNE DR
                                KINGMAN, AZ 86409
   08/27/14           32967     CHAD SUMAN                                Claim 003186, Payment                               5600-000                                  $2,600.00       $10,093,898.78
                                                                          100.00000%
                                10 Shrokman Road
                                Shelocta, PA 15774
   08/27/14           32968     ARGO PARTNERS                             Claim 003187, Payment                               5600-000                                  $2,600.00       $10,091,298.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32969     JULIE EHRENTRAUT                          Claim 003188, Payment                               5600-004                                  $2,600.00       $10,088,698.78
                                                                          100.00000%
                                199 W Groton Rd
                                Locke, NY 13092
   08/27/14           32970     EDWARD LAMONTAGNE                         Claim 003189, Payment                               5600-000                                  $2,600.00       $10,086,098.78
                                                                          100.00000%
                                163 Middle Road
                                Preston, CT 06365




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           32971     KARINA HERNANDEZ                          Claim 003190, Payment                               5600-000                                  $2,600.00      $10,083,498.78
                                                                          100.00000%
                                91-17 218 PLACE
                                QUEENS VILLAGE, NY 11428
   08/27/14           32972     JEAN LEGENTUS                             Claim 003191, Payment                               5600-000                                  $2,600.00      $10,080,898.78
                                                                          100.00000%
                                3253 SE Quay Streeet
                                Port Saint Lucie, FL 34984
   08/27/14           32973     NOLAN MARRERO                             Claim 003192, Payment                               5600-000                                  $2,600.00      $10,078,298.78
                                                                          100.00000%
                                5828 Akron Street
                                Philadelphia, PA 19149
   08/27/14           32974     ARGO PARTNERS                             Claim 003194, Payment                               5600-000                                  $2,600.00      $10,075,698.78
                                12 West 27th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           32975     RUBEN ANGUIANO                            Claim 003195, Payment                               5600-000                                  $2,600.00      $10,073,098.78
                                                                          100.00000%
                                31121 Avenida Valdez
                                Cathedral City, CA 92234
   08/27/14           32976     JOHN ENNIS                                Claim 003196, Payment                               5600-000                                  $2,600.00      $10,070,498.78
                                                                          100.00000%
                                2633 Oakdale Road
                                Dublin, GA 31021
   08/27/14           32977     ROBERT WARREN                             Claim 003197, Payment                               5600-000                                  $2,529.00      $10,067,969.78
                                                                          100.00000%
                                2242 Nameoke Street
                                Far Rockaway, NY 11691
   08/27/14           32978     LAUREN LACKEY                             Claim 003198, Payment                               5600-000                                  $2,600.00      $10,065,369.78
                                                                          100.00000%
                                914 Prior Station Rd
                                Cedartown, GA 30125
   08/27/14           32979     ARGO PARTNERS                             Claim 003199, Payment                               5600-000                                  $2,600.00      $10,062,769.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32980     ARGO PARTNERS                             Claim 003200, Payment                               5600-000                                  $2,600.00      $10,060,169.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32981     ARGO PARTNERS                             Claim 003201, Payment                               5600-000                                  $2,600.00       $10,057,569.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32982     LIQUIDITY SOLUTIONS, INC.                 Claim 003202, Payment                               5600-000                                  $2,600.00       $10,054,969.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32983     ARGO PARTNERS                             Claim 003204A, Payment                              5600-000                                  $2,600.00       $10,052,369.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32984     ROBERT COFIELD                            Claim 003205, Payment                               5600-000                                     $196.00      $10,052,173.78
                                                                          100.00000%
                                PO Box 397
                                Windsor, NC 27983
   08/27/14           32985     LIQUIDITY SOLUTIONS, INC.                 Claim 003206, Payment                               5600-000                                  $2,305.00       $10,049,868.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           32986     DEBBIE MOBBS                              Claim 003207, Payment                               5600-000                                  $1,631.00       $10,048,237.78
                                                                          100.00000%
                                120 County Rd 654
                                Cedar Bluff, AL 35959
   08/27/14           32987     JOSEPH JURCZAK                            Claim 003208, Payment                               5600-000                                  $2,600.00       $10,045,637.78
                                                                          100.00000%
                                2447 Straight Road
                                Forestville, NY 14062
   08/27/14           32988     JERI MILLER                               Claim 003209, Payment                               5600-000                                     $289.00      $10,045,348.78
                                208 S. 35th Ave.Yakima, WA 98902          100.00000%
   08/27/14           32989     MICHAEL HOLLAND                           Claim 003210A, Payment                              5600-000                                     $800.00      $10,044,548.78
                                4761 Castleton Dr.Fairfield, OH 45014     100.00000%
   08/27/14           32990     BEN BUSQUE                                Claim 003212, Payment                               5600-000                                  $2,600.00       $10,041,948.78
                                                                          100.00000%
                                BOX 9121
                                CANOGA PARK, CA 91309




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           32991     ARGO PARTNERS                             Claim 003213, Payment                               5600-000                                  $2,600.00       $10,039,348.78
                                12 West 37th St., 9th FlNew York, NY      100.00000%
                                10018
   08/27/14           32992     DEBORAH ROBINSON                          Claim 003214, Payment                               5600-000                                  $2,600.00       $10,036,748.78
                                                                          100.00000%
                                110 Midwood Ave.
                                Nesconset, NY 11767
   08/27/14           32993     MICHAEL SMITH                             Claim 003215, Payment                               5600-000                                  $2,600.00       $10,034,148.78
                                                                          100.00000%
                                622 Belle Dora CRT
                                Arnold, MD 21012
   08/27/14           32994     ARGO PARTNERS                             Claim 003216, Payment                               5600-000                                  $2,600.00       $10,031,548.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32995     GASTON ANDRES MONTES                      Claim 003217, Payment                               5600-000                                  $2,600.00       $10,028,948.78
                                                                          100.00000%
                                ADAM FOX
                                BROWN FOX PLLC
                                750 N. Saint Paul St. Ste. 1320
                                Dallas, TX 75201
   08/27/14           32996     ARGO PARTNERS                             Claim 003218, Payment                               5600-000                                  $2,600.00       $10,026,348.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           32997     MANFRED SCHWEIZER                         Claim 003220, Payment                               5600-000                                     $317.00      $10,026,031.78
                                                                          100.00000%
                                7656 Broadview Rd, Apt 124
                                Cleveland (Parma), OH 44134
   08/27/14           32998     WALTER DYLENSKI                           Claim 003221, Payment                               5600-000                                  $2,600.00       $10,023,431.78
                                                                          100.00000%
                                3521 W. Fuson Rd.
                                Muncie, IN 47302-9408
   08/27/14           32999     CORNELIUS BENFORD                         Claim 003222, Payment                               5600-000                                  $1,895.00       $10,021,536.78
                                                                          100.00000%
                                5102 Jezebel Street
                                Houston, TX 77033




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           33000     ALICIA SPARKS                             Claim 003223, Payment                               5600-000                                  $2,600.00      $10,018,936.78
                                                                          100.00000%
                                510 N 7th Street
                                Millville, NJ 08332
   08/27/14           33001     ARGO PARTNERS                             Claim 003225, Payment                               5600-000                                  $2,600.00      $10,016,336.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33002     RANDI NELSON                              Claim 003226, Payment                               5600-000                                  $2,253.00      $10,014,083.78
                                                                          100.00000%
                                902 E. Boise Ave.
                                Boise, ID 83706
   08/27/14           33003     BRENDALYN CROOM                           Claim 003227, Payment                               5600-000                                  $2,600.00      $10,011,483.78
                                                                          100.00000%
                                4511 E 126th Street
                                Garfield Heights, OH 44105
   08/27/14           33004     ANDREW MCDONNELL                          Claim 003228, Payment                               5600-000                                  $1,283.00      $10,010,200.78
                                                                          100.00000%
                                21176 Kenwood Avenue
                                Rocky River, OH 44116
   08/27/14           33005     ARGO PARTNERS                             Claim 003229, Payment                               5600-000                                  $2,600.00      $10,007,600.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33006     ALEXIS SALKIN                             Claim 003230, Payment                               5600-000                                  $2,057.00      $10,005,543.78
                                                                          100.00000%
                                103 Anacapa Dr
                                Santa Rosa, CA 95403
   08/27/14           33007     ARGO PARTNERS                             Claim 003231, Payment                               5600-000                                  $2,600.00      $10,002,943.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33008     ARGO PARTNERS                             Claim 003232A, Payment                              5600-000                                  $2,600.00      $10,000,343.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33009     ARGO PARTNERS                             Claim 003233, Payment                               5600-000                                  $2,600.00        $9,997,743.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33010     ERIC WOLFE                                Claim 003234, Payment                               5600-000                                     $381.00       $9,997,362.78
                                                                          100.00000%
                                5227 W 63RD TER
                                PRAIRIE VILLAGE, KS 66208
   08/27/14           33011     SECOND CHANCE CREDIT                      Claim 003235, Payment                               5600-000                                  $2,600.00        $9,994,762.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           33012     STEVEN ANDREWS                            Claim 003236, Payment                               5600-000                                     $870.00       $9,993,892.78
                                                                          100.00000%
                                1320 Fox River Dr
                                Algonquin, IL 60102
   08/27/14           33013     LEROY COLE                                Claim 003237, Payment                               5600-000                                  $2,600.00        $9,991,292.78
                                                                          100.00000%
                                3116 Sherman Island Rd
                                West Sacramento, CA 95691
   08/27/14           33014     ARGO PARTNERS                             Claim 003238, Payment                               5600-000                                  $2,600.00        $9,988,692.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33015     JENNIFER COHEN                            Claim 003239A, Payment                              5600-000                                     $304.00       $9,988,388.78
                                                                          100.00000%
                                689 MC CLOUD
                                A 109
                                THOUSAND OAKS, CA 91360
   08/27/14           33016     SOULEYMANE DIALLO                         Claim 003240, Payment                               5600-000                                     $277.00        $9,988,111.78
                                                                          100.00000%
                                2828 JFK Blvd 221
                                Jersey City, NJ 07306-7909
   08/27/14           33017     BRUCE BULLAMORE                           Claim 003241A, Payment                              5600-000                                  $2,600.00        $9,985,511.78
                                                                          100.00000%
                                35 North Trail
                                Edgewood, NM 87015



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                                                                                                                                                     Desc Main         $14,832.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33018     SCOTT KRYGOWSKI                           Claim 003242, Payment                               5600-000                                      $89.00       $9,985,422.78
                                                                          100.00000%
                                28 Lachine St
                                Chicopee, MA 01020
   08/27/14           33019     ARGO PARTNERS                             Claim 003243, Payment                               5600-000                                  $2,600.00        $9,982,822.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33020     ASSET RECOVERY MANAGEMENT,                Claim 003244, Payment                               5600-000                                  $2,600.00        $9,980,222.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           33021     LAWRENCE MOTEN                            Claim 003245, Payment                               5600-000                                  $2,600.00        $9,977,622.78
                                                                          100.00000%
                                PO Box 1970
                                Blaine, WA 98231
   08/27/14           33022     JEFFREY L AND DEBRA M REPKA               Claim 003246, Payment                               5600-000                                  $2,600.00        $9,975,022.78
                                                                          100.00000%
                                64 Christina Ave.
                                Smithfield, NC 27577
   08/27/14           33023     ARGO PARTNERS                             Claim 003247, Payment                               5600-000                                  $2,600.00        $9,972,422.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33024     SIBYL HUNT                                Claim 003248, Payment                               5600-000                                     $559.00       $9,971,863.78
                                                                          100.00000%
                                6224 Cling Lane
                                Crozet, VA 22932
   08/27/14           33025     LAVERNE DALEY                             Claim 003249, Payment                               5600-000                                     $780.00       $9,971,083.78
                                                                          100.00000%
                                815 E 51st Street
                                Brooklyn, NY 11203
   08/27/14           33026     PATRICIA KING                             Claim 003250, Payment                               5600-000                                     $434.00       $9,970,649.78
                                                                          100.00000%
                                1 Fellows Rd Apt 41
                                Oakdale, CT 06370




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33027     DEBRA BENEDICT                            Claim 003251, Payment                               5600-000                                  $1,370.00        $9,969,279.78
                                                                          100.00000%
                                4740 S Genoa Ct
                                Centennial, CO 80015
   08/27/14           33028     STEPHANIE FISH                            Claim 003252, Payment                               5600-000                                  $2,600.00        $9,966,679.78
                                                                          100.00000%
                                5464 Windflower Drive
                                Livermore, CA 94551
   08/27/14           33029     DONNA SKELTON                             Claim 003253, Payment                               5600-000                                  $1,950.00        $9,964,729.78
                                                                          100.00000%
                                292 Boundary Ave
                                Massapequa, NY 11758
   08/27/14           33030     SANDRA HARRY                              Claim 003254, Payment                               5600-000                                  $1,021.00        $9,963,708.78
                                                                          100.00000%
                                280 Pickering Dr.
                                Amherstburg, Canada N9V1R6
   08/27/14           33031     SEIDOU GONI                               Claim 003255, Payment                               5600-000                                     $548.00       $9,963,160.78
                                                                          100.00000%
                                88 17th Avenue Apt D
                                Newark, NJ 07103
   08/27/14           33032     HARMONY MASON                             Claim 003257A, Payment                              5600-000                                  $2,600.00        $9,960,560.78
                                                                          100.00000%
                                285 River Rd
                                Claremont, NH 03743
   08/27/14           33033     FRANCIS TAPIA                             Claim 003258, Payment                               5600-000                                     $476.00       $9,960,084.78
                                                                          100.00000%
                                PO Box 74
                                Kaunaakai, HI 96748
   08/27/14           33034     DAVID COLAVITA                            Claim 003259, Payment                               5600-000                                  $2,273.00        $9,957,811.78
                                                                          100.00000%
                                303 Mountainview Dr.
                                Chesterbrook, PA 19087
   08/27/14           33035     ARGO PARTNERS                             Claim 003260, Payment                               5600-000                                  $2,600.00        $9,955,211.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33036     CARMEN HEREDIA                            Claim 003261A, Payment                              5600-000                                  $2,600.00        $9,952,611.78
                                                                          100.00000%
                                617 East 22nd Street
                                Erie, PA 16503
   08/27/14           33037     LIQUIDITY SOLUTIONS, INC.                 Claim 003263, Payment                               5600-000                                  $2,600.00        $9,950,011.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33038     MARIA TOLEDO                              Claim 003264, Payment                               5600-000                                  $2,600.00        $9,947,411.78
                                                                          100.00000%
                                PO Box 7249
                                Pheonix, AZ 85011
   08/27/14           33039     JACOB TURNER                              Claim 003265, Payment                               5600-000                                     $426.00       $9,946,985.78
                                                                          100.00000%
                                1003 Medfield Rd
                                Lugoff, SC 29078
   08/27/14           33040     CECIL ROGERS                              Claim 003266, Payment                               5600-000                                     $741.00       $9,946,244.78
                                                                          100.00000%
                                221 Laurel Lane
                                Lizella, GA 31052
   08/27/14           33041     LIQUIDITY SOLUTIONS, INC.                 Claim 003267, Payment                               5600-000                                  $2,600.00        $9,943,644.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33042     ARGO PARTNERS                             Claim 003268, Payment                               5600-000                                  $2,600.00        $9,941,044.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33043     CINDY BAUER                               Claim 003269, Payment                               5600-004                                     $368.00       $9,940,676.78
                                                                          100.00000%
                                99 Route 519
                                Newton, NJ 07860
   08/27/14           33044     GRACITA DIMAPELES                         Claim 003270, Payment                               5600-004                                     $241.00       $9,940,435.78
                                                                          100.00000%
                                4114 Rosewood Ave 8
                                Los Angeles, CA 90004




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33045     LEWIS HARBOUR                             Claim 003271, Payment                               5600-000                                     $387.00       $9,940,048.78
                                                                          100.00000%
                                2117 Foster Ave. Apt D1
                                Brooklyn, NY 11210
   08/27/14           33046     LIQUIDITY SOLUTIONS, INC.                 Claim 003272, Payment                               5600-000                                  $2,328.00        $9,937,720.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33047     ARGO PARTNERS                             Claim 003273, Payment                               5600-000                                  $2,600.00        $9,935,120.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33048     CYNTHIA HARRIS                            Claim 003274A, Payment                              5600-000                                  $2,155.00        $9,932,965.78
                                                                          100.00000%
                                616 St Paul Ave. #745
                                Los Angeles, CA 90017
   08/27/14           33049     MATTHEW KISS                              Claim 003275, Payment                               5600-000                                     $574.00       $9,932,391.78
                                3112 Calumet Dr.Orlando, FL 32810         100.00000%
   08/27/14           33050     THOMAS WOSSILEK                           Claim 003276, Payment                               5600-000                                  $2,049.00        $9,930,342.78
                                                                          100.00000%
                                52429 Ward Rd
                                Wakeman, OH 44889
   08/27/14           33051     SHEILA MULLINS                            Claim 003277, Payment                               5600-000                                  $1,125.00        $9,929,217.78
                                                                          100.00000%
                                1289 Matthews Way
                                Bryan, TX 77807
   08/27/14           33052     YASSER ZEKRY                              Claim 003278, Payment                               5600-000                                  $1,165.00        $9,928,052.78
                                                                          100.00000%
                                421 E. Darmouthe Dr. Apt. 2
                                Sterling, VA 20164
   08/27/14           33053     SAK SAWANGJAI                             Claim 003279, Payment                               5600-004                                  $2,600.00        $9,925,452.78
                                                                          100.00000%
                                1203 PARK AVE
                                BRIDGEPORT, CT 06604
   08/27/14           33054     KATHLEEN DONOHUE                          Claim 003280, Payment                               5600-000                                     $543.00       $9,924,909.78
                                                                          100.00000%
                                56 Blossom Heath Road
                                Buffalo, NY 14221



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33055     SCOTT NOE                                 Claim 003281A, Payment                              5600-000                                  $2,600.00        $9,922,309.78
                                                                          100.00000%
                                P.O. Box 1158
                                Oshcosh, WI 54904
   08/27/14           33056     PAMELA POWELL                             Claim 003282, Payment                               5600-000                                     $707.00       $9,921,602.78
                                                                          100.00000%
                                415 Hunters Mill Lane
                                Evington, VA 24550
   08/27/14           33057     MAURICE FAMBROUGH                         Claim 003283, Payment                               5600-000                                  $2,380.00        $9,919,222.78
                                                                          100.00000%
                                2319 Maple Street
                                Florence, SC 29501
   08/27/14           33058     CHARIS MAGALI                             Claim 003284, Payment                               5600-000                                  $2,600.00        $9,916,622.78
                                4005 StarwayStockton, CA 95206            100.00000%
   08/27/14           33059     LIQUIDITY SOLUTIONS, INC.                 Claim 003285, Payment                               5600-000                                  $2,600.00        $9,914,022.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33060     BETTY JACKSON                             Claim 003286, Payment                               5600-000                                  $2,600.00        $9,911,422.78
                                                                          100.00000%
                                1206 Angiers Drive
                                Dayton, OH 45417
   08/27/14           33061     LIQUIDITY SOLUTIONS, INC.                 Claim 003287, Payment                               5600-000                                  $1,105.00        $9,910,317.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33062     TARA WASHINGTON                           Claim 003288A, Payment                              5600-000                                  $2,600.00        $9,907,717.78
                                                                          100.00000%
                                18332 Williams Rd
                                Triangle, VA 22172
   08/27/14           33063     ARGO PARTNERS                             Claim 003289, Payment                               5600-000                                  $2,600.00        $9,905,117.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33064     ANDERSON CLAYTON                          Claim 003290, Payment                               5600-000                                  $2,600.00        $9,902,517.78
                                                                          100.00000%
                                2005 Young Farm Place
                                Montgomery, AL 36106



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33065     BEVERLY CHELUS                            Claim 003291, Payment                               5600-000                                  $1,104.00        $9,901,413.78
                                                                          100.00000%
                                7263 Boston State Rd
                                Hamburg, NY 14075
   08/27/14           33066     NANCY BOTHERN                             Claim 003292A, Payment                              5600-000                                  $1,105.00        $9,900,308.78
                                                                          100.00000%
                                PO BOX 732
                                SHADY COVE, OR 97539
   08/27/14           33067     LIQUIDITY SOLUTIONS, INC.                 Claim 003293A, Payment                              5600-000                                  $2,039.00        $9,898,269.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33068     BRYAN CHELUS                              Claim 003294, Payment                               5600-000                                     $403.00       $9,897,866.78
                                                                          100.00000%
                                7263 Boston State Road
                                Hamburg, NY 14075
   08/27/14           33069     ARGO PARTNERS                             Claim 003295, Payment                               5600-000                                  $2,600.00        $9,895,266.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33070     MILDRED CASTILLO                          Claim 003296, Payment                               5600-000                                  $2,600.00        $9,892,666.78
                                                                          100.00000%
                                1939 Batchelder Street
                                Brooklyn, NY 11229
   08/27/14           33071     LIQUIDITY SOLUTIONS, INC.                 Claim 003297, Payment                               5600-000                                  $2,287.00        $9,890,379.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33072     TRACI CONGEDO                             Claim 003298, Payment                               5600-000                                     $981.00       $9,889,398.78
                                                                          100.00000%
                                21 WOODCUT DR
                                MASTIC BEACH, NY 11951
   08/27/14           33073     ELENA GUITY                               Claim 003299, Payment                               5600-000                                  $1,905.00        $9,887,493.78
                                                                          100.00000%
                                1455 Geneva Loop Apt. 3A
                                Brooklyn, NY 11239




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33074     THELMA GROW                               Claim 003300, Payment                               5600-000                                     $475.00       $9,887,018.78
                                                                          100.00000%
                                8615 Indian Bay Road
                                Montague, MI 49437-9797
   08/27/14           33075     FRANK MANALO                              Claim 003301, Payment                               5600-000                                  $2,600.00        $9,884,418.78
                                                                          100.00000%
                                11 Ontario Way
                                Lawrenceville, NJ 08648
   08/27/14           33076     ADAM SCOTT                                Claim 003302, Payment                               5600-000                                  $2,025.00        $9,882,393.78
                                                                          100.00000%
                                3209 E DENTON AVE
                                ST FRANCIS, WI 53235
   08/27/14           33077     LIQUIDITY SOLUTIONS, INC.                 Claim 003303, Payment                               5600-000                                  $1,591.00        $9,880,802.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33078     POLLY WILSON                              Claim 003304, Payment                               5600-000                                     $486.00       $9,880,316.78
                                                                          100.00000%
                                880 Miles Still Road
                                Waycross, GA 31503
   08/27/14           33079     SUSAN SCHULTZE                            Claim 003305, Payment                               5600-000                                     $247.00       $9,880,069.78
                                                                          100.00000%
                                2300 Clearwater Ln
                                Newton, NC 28658
   08/27/14           33080     MARGIE HICKS                              Claim 003306, Payment                               5600-000                                     $792.00       $9,879,277.78
                                                                          100.00000%
                                2066 Longwood Drive
                                Creedmoor, NC 27522
   08/27/14           33081     ARGO PARTNERS                             Claim 003307, Payment                               5600-000                                  $2,600.00        $9,876,677.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33082     ARLENE WRIGHT                             Claim 003308, Payment                               5600-004                                     $881.00       $9,875,796.78
                                                                          100.00000%
                                219 Equinox Landing
                                Suffolk, VA 23434




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $11,697.00
                                                                             Document          Page 345 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           33083     REBECCA MOODY                            Claim 003309, Payment                               5600-000                                  $2,600.00        $9,873,196.78
                                                                         100.00000%
                                5761 North 96th Street
                                Milwaukee, WI 53225
   08/27/14           33084     MELISSA PARKER                           Claim 003310, Payment                               5600-000                                  $1,093.00        $9,872,103.78
                                                                         100.00000%
                                16320 Loren Cuevas Rd
                                Gulfport, MS 39503
   08/27/14           33085     DOUGLAS DAVIS                            Claim 003311, Payment                               5600-000                                  $1,426.00        $9,870,677.78
                                                                         100.00000%
                                1160 Cresthaven Lane Apt 101
                                Naperville, IL 60564
   08/27/14           33086     ROBERT SCHWIETERT                        Claim 003312, Payment                               5600-000                                     $601.00       $9,870,076.78
                                                                         100.00000%
                                PO Box 382
                                Manchester, IA 52057
   08/27/14           33087     SECOND CHANCE CREDIT                     Claim 003315, Payment                               5600-000                                  $2,281.00        $9,867,795.78
                                OPPORTUNITIES,                           100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           33088     ANNETTE ADAM                             Claim 003316, Payment                               5600-000                                  $1,316.00        $9,866,479.78
                                                                         100.00000%
                                166 WALLACE ST
                                NORTH GLENN, CO 80234
   08/27/14           33089     BARBARA WORSTER                          Claim 003317A, Payment                              5600-000                                  $2,600.00        $9,863,879.78
                                                                         100.00000%
                                16 Marietta Dr
                                Apt 7
                                Lincoln, ME 04457
   08/27/14           33090     MARGARET (MARGARITA) GUTIERREZ Claim 003318A, Payment                                        5600-000                                     $899.00       $9,862,980.78
                                                               100.00000%
                                3863 Wild Rose Way
                                Sacramento, CA 95826
   08/27/14           33091     ASSET RECOVERY MANAGEMENT,               Claim 003319A, Payment                              5600-000                                  $2,600.00        $9,860,380.78
                                LLC                                      100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064


                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33092     IVAN KANAREK                              Claim 003320, Payment                               5600-000                                  $1,476.00        $9,858,904.78
                                                                          100.00000%
                                3313 S 65TH ST
                                MILWAUKEE, WI 53219
   08/27/14           33093     JEFF GROW                                 Claim 003321, Payment                               5600-000                                     $498.00       $9,858,406.78
                                                                          100.00000%
                                8615 Indian Bay Rd
                                Montague, MI 49437
   08/27/14           33094     JACQUELINE OYOLA                          Claim 003322, Payment                               5600-004                                  $2,600.00        $9,855,806.78
                                                                          100.00000%
                                2733 Morris Ave Apt 5G
                                Bronx, NY 10468
   08/27/14           33095     ARGO PARTNERS                             Claim 003323, Payment                               5600-000                                  $2,600.00        $9,853,206.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33096     ARGO PARTNERS                             Claim 003324, Payment                               5600-000                                  $2,600.00        $9,850,606.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33097     LOEKI LAKSMANA                            Claim 003325, Payment                               5600-000                                  $2,600.00        $9,848,006.78
                                                                          100.00000%
                                208 6th Ave
                                Lenoir, TN 37771
   08/27/14           33098     ARGO PARTNERS                             Claim 003326, Payment                               5600-000                                  $2,600.00        $9,845,406.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33099     ARGO PARTNERS                             Claim 003328, Payment                               5600-000                                  $2,600.00        $9,842,806.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33100     CECELIA SZYMANSKI                         Claim 003329, Payment                               5600-000                                     $644.00       $9,842,162.78
                                                                          100.00000%
                                90 Maitland Place
                                Garfield, NJ 07026




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                                                                                                                                                     Desc Main         $18,218.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33101     TAMMY TANNER                              Claim 003330A, Payment                              5600-000                                     $860.00       $9,841,302.78
                                                                          100.00000%
                                4121 Harmony Lane
                                San Angelo, TX 76904
   08/27/14           33102     JULIE KOELSCH                             Claim 003331, Payment                               5600-000                                  $2,600.00        $9,838,702.78
                                                                          100.00000%
                                39 CORTLAND ST
                                NORWALK, OH 44857
   08/27/14           33103     SECOND CHANCE CREDIT                      Claim 003332, Payment                               5600-000                                     $673.00       $9,838,029.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           33104     MARTIN UNGVARSKY                          Claim 003333, Payment                               5600-000                                     $682.00       $9,837,347.78
                                                                          100.00000%
                                470 Starlight Drive
                                Seven Hills, OH 44131
   08/27/14           33105     JEANNIE MARS                              Claim 003334, Payment                               5600-000                                  $2,600.00        $9,834,747.78
                                                                          100.00000%
                                336 Elm Street
                                Geneva, OH 44041
   08/27/14           33106     JOHN DAVIS                                Claim 003335, Payment                               5600-000                                     $701.00       $9,834,046.78
                                                                          100.00000%
                                18345 Williams Road
                                Triangle, VA 22172
   08/27/14           33107     DEBORAH PISCITELLI                        Claim 003336, Payment                               5600-000                                  $2,600.00        $9,831,446.78
                                                                          100.00000%
                                60 Blakeslee Road
                                Wallingford, CT 06492
   08/27/14           33108     ARGO PARTNERS                             Claim 003338, Payment                               5600-000                                  $2,600.00        $9,828,846.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33109     MAUREEN BRILES                            Claim 003339, Payment                               5600-000                                     $428.00       $9,828,418.78
                                                                          100.00000%
                                PO Box 175
                                Waukee, IA 50263




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33110     DERRICK NANTZ                             Claim 003341, Payment                               5600-000                                     $477.00       $9,827,941.78
                                                                          100.00000%
                                6744 QUEEN ANNE`S DR
                                RALEIGH, NC 27613
   08/27/14           33111     ARGO PARTNERS                             Claim 003342, Payment                               5600-000                                  $2,600.00        $9,825,341.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33112     VILMA RIVAS                               Claim 003343, Payment                               5600-004                                     $652.00       $9,824,689.78
                                                                          100.00000%
                                1228 N Screenland Drive
                                Burbank, CA 91505
   08/27/14           33113     KATHLEEN MURPHY                           Claim 003344, Payment                               5600-000                                  $2,600.00        $9,822,089.78
                                9821 Woodwind Dr.Houston, TX 77025        100.00000%
   08/27/14           33114     LEE WOOD                                  Claim 003346, Payment                               5600-000                                  $2,600.00        $9,819,489.78
                                                                          100.00000%
                                4107 Irish Hill Dr 3b
                                South Bend, IN 46614
   08/27/14           33115     SHEILA BURKE                              Claim 003347, Payment                               5600-000                                  $2,600.00        $9,816,889.78
                                                                          100.00000%
                                4728 Millpond Lane
                                Tampa, FL 33624
   08/27/14           33116     JOYCE CAMBRONERO                          Claim 003348, Payment                               5600-000                                  $2,600.00        $9,814,289.78
                                                                          100.00000%
                                10800 Crestwood Drive South
                                Seattle, WA 98178
   08/27/14           33117     ARGO PARTNERS                             Claim 003349, Payment                               5600-000                                  $2,600.00        $9,811,689.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33118     ASSET RECOVERY MANAGEMENT,                Claim 003350, Payment                               5600-000                                  $2,600.00        $9,809,089.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           33119     PATRICIA EDWARDS                          Claim 003351, Payment                               5600-000                                  $2,600.00        $9,806,489.78
                                                                          100.00000%
                                498 County Rte 50
                                New Hampton, NY 10958


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33120     MARC RONQUILLO                            Claim 003352, Payment                               5600-000                                     $440.00       $9,806,049.78
                                                                          100.00000%
                                12375 Edgefield Street
                                Cerritos, CA 90703
   08/27/14           33121     LIQUIDITY SOLUTIONS, INC.                 Claim 003353, Payment                               5600-000                                  $1,615.00        $9,804,434.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33122     DAVID DUNFORD                             Claim 003354, Payment                               5600-000                                     $604.00       $9,803,830.78
                                                                          100.00000%
                                5 East Cotton Hill Rd
                                New Hartford, CT 06057
   08/27/14           33123     NICK FERREIRA                             Claim 003355, Payment                               5600-000                                  $2,600.00        $9,801,230.78
                                                                          100.00000%
                                2223 S 10TH
                                SPRINGFIELD, IL 62703
   08/27/14           33124     EDWARD KAUFMAN                            Claim 003356, Payment                               5600-000                                  $2,600.00        $9,798,630.78
                                                                          100.00000%
                                11220 Cashmere Street
                                Los Angeles, CA 90049
   08/27/14           33125     VICKY ANGELL                              Claim 003357, Payment                               5600-000                                     $919.00       $9,797,711.78
                                                                          100.00000%
                                14 Water Street
                                Thurmont, MD 21788
   08/27/14           33126     EMMA BRAZIEL                              Claim 003358, Payment                               5600-000                                  $2,600.00         $9,795,111.78
                                                                          100.00000%
                                4003 EASTRIDGE DR 0720139
                                SNYDER, TX 79549
   08/27/14           33127     IPRIDELLA SCOTT                           Claim 003359, Payment                               5600-000                                  $2,600.00        $9,792,511.78
                                                                          100.00000%
                                7140 Bethal Rd
                                Florence, SC 29501
   08/27/14           33128     ARGO PARTNERS                             Claim 003360A, Payment                              5600-000                                  $2,600.00        $9,789,911.78
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           33129     PAMELA SWANSON                            Claim 003361, Payment                               5600-004                                  $2,600.00        $9,787,311.78
                                                                          100.00000%
                                PO Box 6097
                                YUMA, AZ 85366


                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           33130     DOMINGA GONZALEZ                          Claim 003363, Payment                               5600-000                                  $2,600.00       $9,784,711.78
                                                                          100.00000%
                                2051 HOLLY AVE
                                S PLAINFIELD, NJ 07080
   08/27/14           33131     ARGO PARTNERS                             Claim 003364, Payment                               5600-000                                  $2,600.00        $9,782,111.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33132     ROXANNE BAUMANN                           Claim 003365, Payment                               5600-000                                  $2,600.00       $9,779,511.78
                                                                          100.00000%
                                610 Highland Avenue
                                Watertown, WI 53098
   08/27/14           33133     JACQUELINE SEXTON                         Claim 003366, Payment                               5600-000                                  $1,425.00       $9,778,086.78
                                                                          100.00000%
                                2556 Presley Lane
                                Goshen, OH 45122
   08/27/14           33134     LAVEDA WAHWEOTTEN                         Claim 003367, Payment                               5600-000                                  $2,600.00       $9,775,486.78
                                                                          100.00000%
                                100 E 8th st
                                Hoyt, KS 66440
   08/27/14           33135     PATSY NUSS                                Claim 003368, Payment                               5600-000                                  $2,600.00       $9,772,886.78
                                                                          100.00000%
                                157 Apache Cir.
                                Oroville, CA 95966
   08/27/14           33136     VOLODYMYR SUDARENKO                       Claim 003369, Payment                               5600-000                                  $2,140.00       $9,770,746.78
                                                                          100.00000%
                                8 Avery Ct
                                Bridgewater, NJ 08807
   08/27/14           33137     KATHY AND RAMIN LOPEZ                     Claim 003370, Payment                               5600-000                                  $2,600.00       $9,768,146.78
                                                                          100.00000%
                                3 Butterfly Lane
                                freehold, NJ 07728
   08/27/14           33138     ROBERT MANTHEI SR                         Claim 003371, Payment                               5600-000                                  $2,101.00       $9,766,045.78
                                                                          100.00000%
                                6944 Charlotte
                                Shawnee, KS 66216




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33139     KEVIN ANDERSON                            Claim 003372, Payment                               5600-000                                  $2,600.00        $9,763,445.78
                                                                          100.00000%
                                1324 Shell Bark Crt
                                Havelock, NC 28532
   08/27/14           33140     CAROLYN CAMPBELL                          Claim 003374, Payment                               5600-000                                     $831.00       $9,762,614.78
                                                                          100.00000%
                                7111 Strupwood Court
                                Kansas City, MO 64133
   08/27/14           33141     SARAH SIMMONS                             Claim 003375, Payment                               5600-000                                  $2,600.00        $9,760,014.78
                                                                          100.00000%
                                2816 Pelham Road
                                Rocky Mount, NC 27804
   08/27/14           33142     ARGO PARTNERS                             Claim 003376, Payment                               5600-000                                  $2,600.00        $9,757,414.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33143     JAVIER ROCHA                              Claim 003377, Payment                               5600-000                                  $2,600.00        $9,754,814.78
                                                                          100.00000%
                                1120 Seneca Dr
                                Arlington, TX 76017
   08/27/14           33144     ARGO PARTNERS                             Claim 003378, Payment                               5600-000                                  $2,600.00        $9,752,214.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33145     BRADLEY CHARLES                           Claim 003379, Payment                               5600-000                                  $2,600.00        $9,749,614.78
                                                                          100.00000%
                                104 WOODYS PLACE
                                WINCHESTER, VA 22602
   08/27/14           33146     JASON MILLER                              Claim 003380A, Payment                              5600-000                                  $2,600.00        $9,747,014.78
                                                                          100.00000%
                                147 Rolling Valley Lane
                                Butler, PA 16001
   08/27/14           33147     ARGO PARTNERS                             Claim 003381, Payment                               5600-000                                  $2,600.00        $9,744,414.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $21,631.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33148     SHANNON WOOD                              Claim 003382, Payment                               5600-000                                     $370.00       $9,744,044.78
                                                                          100.00000%
                                1 Hunters Way
                                Hatbro, PA 19040
   08/27/14           33149     TINA TYNER                                Claim 003383, Payment                               5600-000                                  $2,080.00        $9,741,964.78
                                280 Hooten RoadWinston, OR 97496          100.00000%
   08/27/14           33150     DANIELLE CHAMBERS                         Claim 003384, Payment                               5600-004                                  $2,352.00        $9,739,612.78
                                                                          100.00000%
                                1135 N Franklin Avenue 1135E
                                Homestead, FL 33034
   08/27/14           33151     LIQUIDITY SOLUTIONS, INC.                 Claim 003385, Payment                               5600-000                                  $1,690.00        $9,737,922.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33152     ARGO PARTNERS                             Claim 003386, Payment                               5600-000                                  $2,600.00        $9,735,322.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33153     EDWARD MITREUTER                          Claim 003387, Payment                               5600-000                                  $2,600.00        $9,732,722.78
                                                                          100.00000%
                                2 Topaz Drive
                                Jackson, NJ 08527
   08/27/14           33154     ARGO PARTNERS                             Claim 003388, Payment                               5600-000                                  $2,600.00        $9,730,122.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33155     ARGO PARTNERS                             Claim 003389, Payment                               5600-000                                  $2,600.00        $9,727,522.78
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           33156     DAVID KRETZ                               Claim 003390, Payment                               5600-000                                  $2,315.00        $9,725,207.78
                                                                          100.00000%
                                1339 LOCUST ST
                                READING, PA 19604
   08/27/14           33157     NORMAN W BRIDGES JR                       Claim 003391, Payment                               5600-000                                  $1,806.00        $9,723,401.78
                                                                          100.00000%
                                8232 CEDARBROOK AVE
                                PHILADELPHIA, PA 19150




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33158     RONALD WINEGARDNER                        Claim 003392, Payment                               5600-000                                  $2,600.00        $9,720,801.78
                                                                          100.00000%
                                11681 State Rt 13 NW
                                Thornville, OH 43076
   08/27/14           33159     CYNTHIA MEEKS                             Claim 003393, Payment                               5600-000                                  $2,600.00        $9,718,201.78
                                                                          100.00000%
                                15840 123rd Avenue SE
                                Yelm, WA 98597
   08/27/14           33160     ARGO PARTNERS                             Claim 003394, Payment                               5600-000                                  $2,600.00        $9,715,601.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33161     ARGO PARTNERS                             Claim 003395, Payment                               5600-000                                  $2,600.00        $9,713,001.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33162     STEVE GALBRAITH                           Claim 003396, Payment                               5600-000                                     $708.00       $9,712,293.78
                                                                          100.00000%
                                13663 S Locust St
                                Olathe, KS 66062
   08/27/14           33163     KAREN BALLARD                             Claim 003397, Payment                               5600-000                                  $2,600.00        $9,709,693.78
                                                                          100.00000%
                                6526 Lowell Ave
                                Overland Park, KS 66202
   08/27/14           33164     SECOND CHANCE CREDIT                      Claim 003398, Payment                               5600-000                                     $572.00       $9,709,121.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           33165     ARGO PARTNERS                             Claim 003399, Payment                               5600-000                                  $2,600.00        $9,706,521.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33166     DAVID HEBERLIG                            Claim 003400A, Payment                              5600-000                                  $2,600.00        $9,703,921.78
                                                                          100.00000%
                                12 South Chestnut Court
                                Perkasie, PA 18944




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33167     ASSET RECOVERY MANAGEMENT,                Claim 003401, Payment                               5600-000                                  $2,600.00        $9,701,321.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           33168     LINDA ABERNATHY                           Claim 003403, Payment                               5600-004                                  $1,687.00        $9,699,634.78
                                                                          100.00000%
                                2835 McVay Trail
                                Memphis, TN 38119
   08/27/14           33169     LEAH PACIONE                              Claim 003404, Payment                               5600-000                                  $2,600.00        $9,697,034.78
                                                                          100.00000%
                                43 Prescott Rd
                                Epping, NH 03042
   08/27/14           33170     ARGO PARTNERS                             Claim 003405, Payment                               5600-000                                  $2,600.00        $9,694,434.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33171     ROGER PATTERSON                           Claim 003406, Payment                               5600-000                                     $989.00       $9,693,445.78
                                                                          100.00000%
                                2531 Wildwood Circle
                                Amissville, VA 20106
   08/27/14           33172     WAYNE HAMILTON                            Claim 003407, Payment                               5600-000                                  $2,600.00        $9,690,845.78
                                                                          100.00000%
                                494 Carillon Lane
                                Stone Mountain, GA 30083
   08/27/14           33173     CHRISTINA CURTIS                          Claim 003408, Payment                               5600-000                                     $566.00       $9,690,279.78
                                                                          100.00000%
                                3428 Pin Oaks St.
                                Leavenworth, KS 66048
   08/27/14           33174     LIQUIDITY SOLUTIONS                       Claim 003409, Payment                               5600-000                                  $2,600.00        $9,687,679.78
                                1 University Plaza, Ste.                  100.00000%
                                312Hackensack,NJ 07601
   08/27/14           33175     ARGO PARTNERS                             Claim 003410, Payment                               5600-000                                  $2,600.00        $9,685,079.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33176     GLEN SQUIRE                               Claim 003411, Payment                               5600-000                                  $2,504.00        $9,682,575.78
                                                                          100.00000%
                                11730 Southwest 77th Circle
                                Ocala, FL 34476
   08/27/14           33177     ELISSA WATKINS                            Claim 003412, Payment                               5600-000                                  $2,600.00        $9,679,975.78
                                10 Thunder Run, 39 CIrvin, CA 92614       100.00000%
   08/27/14           33178     CASSANDRA LEAL                            Claim 003413, Payment                               5600-000                                     $299.00       $9,679,676.78
                                21 Garfield St.Leominster, MA 01453       100.00000%
   08/27/14           33179     MELISSA WILLIAMS                          Claim 003414, Payment                               5600-004                                  $2,600.00        $9,677,076.78
                                                                          100.00000%
                                2630 Coconut Bay Lane Apt 2k
                                Sarasota, FL 34237
   08/27/14           33180     ARGO PARTNERS                             Claim 003415, Payment                               5600-000                                  $2,600.00        $9,674,476.78
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           33181     ARGO PARTNERS                             Claim 003416, Payment                               5600-000                                  $2,600.00        $9,671,876.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33182     LIQUIDITY SOLUTIONS, INC.                 Claim 003417A, Payment                              5600-000                                  $2,600.00        $9,669,276.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33183     ARGO PARTNERS                             Claim 003418, Payment                               5600-000                                  $2,002.00        $9,667,274.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33184     NICHOLAS MESSINA                          Claim 003419, Payment                               5600-000                                  $2,600.00        $9,664,674.78
                                                                          100.00000%
                                121 Weaver Ave
                                Bloomfield, NJ 07003
   08/27/14           33185     MARIA REYES                               Claim 003420A, Payment                              5600-000                                  $2,600.00        $9,662,074.78
                                                                          100.00000%
                                636 Umbra St
                                Baltimore, MD 21224




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           33186     ALAYNE YEASH                              Claim 003422, Payment                               5600-000                                  $2,027.00       $9,660,047.78
                                                                          100.00000%
                                10611 NE 11th Court
                                Miami Shores, FL 33138
   08/27/14           33187     ARGO PARTNERS                             Claim 003423, Payment                               5600-000                                  $2,600.00       $9,657,447.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33188     LAURA ESTRADA                             Claim 003424, Payment                               5600-004                                  $2,600.00       $9,654,847.78
                                                                          100.00000%
                                1756 South Highway 61 Unit 91
                                Lake City, MN 55041
   08/27/14           33189     LIQUIDITY SOLUTIONS, INC.                 Claim 003425, Payment                               5600-000                                  $2,103.00       $9,652,744.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33190     MARIAM GERGES                             Claim 003426, Payment                               5600-004                                  $1,367.00       $9,651,377.78
                                                                          100.00000%
                                523 Kennedy Blvd Apt 1
                                Bayonne, NJ 07002
   08/27/14           33191     LINDSLEY BERRY                            Claim 003427, Payment                               5600-000                                  $1,455.00       $9,649,922.78
                                                                          100.00000%
                                19 Gunn Loop Vil Vue
                                Morauia, NY 13118
   08/27/14           33192     GERALD FALSONE                            Claim 003428, Payment                               5600-000                                  $2,600.00       $9,647,322.78
                                                                          100.00000%
                                2702 Apostle LN
                                Murfreesboro, TN 37129
   08/27/14           33193     JAMES FINLEY                              Claim 003429, Payment                               5600-000                                  $2,600.00       $9,644,722.78
                                                                          100.00000%
                                2997 Kentville Drive
                                Sun Prairie, WI 53590
   08/27/14           33194     FRANK COLEMAN                             Claim 003430A, Payment                              5600-000                                  $2,600.00       $9,642,122.78
                                                                          100.00000%
                                8187 Troxler Mill Road
                                Gibsonville, NC 27249




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           33195     MARK LAMPHERE                            Claim 003431, Payment                               5600-000                                  $2,306.00        $9,639,816.78
                                                                         100.00000%
                                po box 904
                                Chokoloskee, FL 34138
   08/27/14           33196     CAROLYN EVERLEY                          Claim 003432, Payment                               5600-000                                  $1,835.00        $9,637,981.78
                                                                         100.00000%
                                22 Scenic Ave.
                                Hamburg, PA 19526
   08/27/14           33197     CONSUELO SPENCER                         Claim 003433A, Payment                              5600-000                                  $2,600.00        $9,635,381.78
                                                                         100.00000%
                                465 New Pleasent Rd
                                Gaffney, SC 29341
   08/27/14           33198     CHRISTAL SMITH                           Claim 003434, Payment                               5600-000                                  $2,600.00        $9,632,781.78
                                                                         100.00000%
                                5319 Belk Mill Rd
                                Monroe, NC 28112
   08/27/14           33199     ARGO PARTNERS                            Claim 003435, Payment                               5600-000                                  $2,600.00        $9,630,181.78
                                12 West 37th St., 9th FlNew York, NY     100.00000%
                                10018
   08/27/14           33200     CAROL L HUSTIS                           Claim 003436, Payment                               5600-000                                  $2,600.00        $9,627,581.78
                                                                         100.00000%
                                71 CYNTHIA ST
                                WATERBURY, CT06708
   08/27/14           33201     DAVID ODETTE                             Claim 003437, Payment                               5600-000                                  $2,600.00        $9,624,981.78
                                                                         100.00000%
                                289 Curtis Tignor Rd
                                Newport News, VA 23608
   08/27/14           33202     LEAH WILCOX                              Claim 003438, Payment                               5600-000                                  $2,600.00        $9,622,381.78
                                                                         100.00000%
                                11635 SE Stanley Ave.
                                Milwaukie, OR 97222
   08/27/14           33203     JOHN GUERRIERO                           Claim 003439, Payment                               5600-000                                  $1,350.00        $9,621,031.78
                                                                         100.00000%
                                61 Peconic Dr.
                                Massapequa, NY 11758-8318
   08/27/14           33204     ROXANNE RICH                             Claim 003440, Payment                               5600-000                                     $688.00       $9,620,343.78
                                                                         100.00000%
                                5932 WESTRIDGE DR
                                GREAT BEND, KS 67530


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33205     ARGO PARTNERS                             Claim 003441, Payment                               5600-000                                  $2,600.00        $9,617,743.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33206     ARGO PARTNERS                             Claim 003442, Payment                               5600-000                                  $2,600.00        $9,615,143.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33207     LIEZLE MEDUA                              Claim 003443, Payment                               5600-000                                  $1,878.00        $9,613,265.78
                                                                          100.00000%
                                20 Velma Road
                                Randolph, MA 02368
   08/27/14           33208     TIN ZAR                                   Claim 003445A, Payment                              5600-004                                     $826.00       $9,612,439.78
                                                                          100.00000%
                                1130 3rd Ave. 809
                                Oakland, CA 94606
   08/27/14           33209     JENNIFER OSBORN                           Claim 003446, Payment                               5600-000                                  $2,600.00        $9,609,839.78
                                                                          100.00000%
                                301 Cascade Place
                                Rochester, NY 14609
   08/27/14           33210     VICTORIA LUNDBERG                         Claim 003447, Payment                               5600-000                                  $2,600.00        $9,607,239.78
                                                                          100.00000%
                                PO Box 4620
                                Crestline, CA 92325
   08/27/14           33211     ARGO PARTNERS                             Claim 003448A, Payment                              5600-000                                  $2,600.00        $9,604,639.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33212     REMELL PALMER                             Claim 003449, Payment                               5600-000                                     $544.00       $9,604,095.78
                                                                          100.00000%
                                2907 Mill Crossing Drive
                                Fort Washington, MD 20744
   08/27/14           33213     WALTER E DAYMON                           Claim 003450, Payment                               5600-000                                  $2,532.00        $9,601,563.78
                                                                          100.00000%
                                PO BOX 327
                                WARETOWN, NJ 08758




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33214     KENNETH PIZZOLI                           Claim 003451, Payment                               5600-000                                  $2,600.00        $9,598,963.78
                                                                          100.00000%
                                328 SOUTH MARKET ST
                                MOUNT CARMEL, PA 17851
   08/27/14           33215     ARGO PARTNERS                             Claim 003453, Payment                               5600-000                                  $2,600.00        $9,596,363.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33216     LIQUIDITY SOLUTIONS, INC.                 Claim 003454, Payment                               5600-000                                  $1,616.00        $9,594,747.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33217     ARGO PARTNERS                             Claim 003455, Payment                               5600-000                                  $2,600.00        $9,592,147.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33218     ARGO PARTNERS                             Claim 003456, Payment                               5600-000                                  $2,600.00        $9,589,547.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33219     RICHARD CLARK                             Claim 003457A, Payment                              5600-000                                  $2,600.00        $9,586,947.78
                                                                          100.00000%
                                257 Clark Rd
                                Wells, ME 04090
   08/27/14           33220     TIMOTHY PITZER                            Claim 003458, Payment                               5600-000                                  $2,600.00        $9,584,347.78
                                                                          100.00000%
                                1023 NW Timber Oak Dr.
                                Blue Springs, MO 64015
   08/27/14           33221     PAULA NORWOOD                             Claim 003459, Payment                               5600-000                                  $2,600.00        $9,581,747.78
                                84 Elaine St.Springville, AL 35146        100.00000%
   08/27/14           33222     LIQUIDITY SOLUTIONS, INC.                 Claim 003460, Payment                               5600-000                                  $1,280.00        $9,580,467.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33223     DANIEL PETERSON                           Claim 003461, Payment                               5600-000                                     $515.00       $9,579,952.78
                                                                          100.00000%
                                308 118TH AVE SE APT 1
                                BELLEVUE, WA 98005



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           33224     KATIE BRAY-JUDKINS                        Claim 003462, Payment                               5600-000                                  $2,600.00       $9,577,352.78
                                                                          100.00000%
                                16 N Colin Dr
                                Portsmoueh, VA 23701
   08/27/14           33225     WAYNE ZIMNOCH                             Claim 003463, Payment                               5600-000                                  $2,600.00       $9,574,752.78
                                                                          100.00000%
                                192 Kensington Avenue Apt. 401
                                Jersey City, NJ 07306
   08/27/14           33226     THOMAS HUDINSKY                           Claim 003464, Payment                               5600-000                                  $1,161.00       $9,573,591.78
                                                                          100.00000%
                                6950 Country Ln
                                Rockford, MN 55373
   08/27/14           33227     VALERIE LYTE                              Claim 003465, Payment                               5600-000                                  $2,600.00       $9,570,991.78
                                                                          100.00000%
                                1498 Putnam Ave
                                Brooklyn, NY 11237
   08/27/14           33228     DONALD BAILEY                             Claim 003466, Payment                               5600-000                                  $2,600.00       $9,568,391.78
                                                                          100.00000%
                                625 S Main Street
                                Andover, ME 04216
   08/27/14           33229     MURIEL COAKLEY                            Claim 003467A, Payment                              5600-000                                  $2,600.00       $9,565,791.78
                                                                          100.00000%
                                12 Rutland St
                                Edison, NJ 08817
   08/27/14           33230     THERESA JAMES                             Claim 003468, Payment                               5600-004                                  $2,500.00       $9,563,291.78
                                                                          100.00000%
                                907 W 76th Street 2nd Floor
                                Chicago, IL 60620
   08/27/14           33231     REBECCA POPE                              Claim 003469, Payment                               5600-000                                  $2,600.00       $9,560,691.78
                                                                          100.00000%
                                1003 Roberts Way, Apt. 208
                                New Market,MN 55054
   08/27/14           33232     WILLIAM SHEPPARD                          Claim 003470, Payment                               5600-000                                  $2,600.00       $9,558,091.78
                                2112 Turtle Creek Drive, Apt. 8Henrico,   100.00000%
                                VA 23233
   08/27/14           33233     WENDY DIERS                               Claim 003471, Payment                               5600-000                                  $1,139.00       $9,556,952.78
                                                                          100.00000%
                                222 S Linden St Apt 101
                                Belle Plaine, MN 56011


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33234     JOSEPH SIDE                               Claim 003472, Payment                               5600-000                                      $30.00       $9,556,922.78
                                                                          100.00000%
                                PO Box 436
                                Miller Place, NY 11764
   08/27/14           33235     TIMOTHY THOMASSON                         Claim 003473, Payment                               5600-000                                  $1,076.00        $9,555,846.78
                                                                          100.00000%
                                1616 West Third Street
                                Lawrence, KS 66044
   08/27/14           33236     ARGO PARTNERS                             Claim 003474, Payment                               5600-000                                  $2,600.00        $9,553,246.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33237     DUSTIN ROEBUCK                            Claim 003475, Payment                               5600-000                                  $1,055.00        $9,552,191.78
                                                                          100.00000%
                                2511 SW 35th PL Apt. 35
                                Gainesville, FL 32608
   08/27/14           33238     TERESA BURGESS                            Claim 003476, Payment                               5600-000                                  $1,487.00        $9,550,704.78
                                                                          100.00000%
                                6311 Bach Drive
                                Westchester, OH 45069
   08/27/14           33239     JESSICA WEBBER                            Claim 003477, Payment                               5600-000                                  $2,600.00        $9,548,104.78
                                                                          100.00000%
                                1001 Frazier Road
                                Redfield, AR 72132
   08/27/14           33240     BRITTANY TROCHE                           Claim 003478, Payment                               5600-004                                     $321.00       $9,547,783.78
                                                                          100.00000%
                                976 S 150 East
                                Orem, UT 84058
   08/27/14           33241     ARGO PARTNERS                             Claim 003479, Payment                               5600-000                                  $2,600.00        $9,545,183.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33242     VERONICA HARTMAN                          Claim 003480, Payment                               5600-000                                  $2,600.00        $9,542,583.78
                                                                          100.00000%
                                515 Burlington St
                                Savanna, IL 61074




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33243     ASSET RECOVERY MANAGEMENT,                Claim 003481, Payment                               5600-000                                  $2,600.00        $9,539,983.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           33244     FRANCESCA WILLIAMS                        Claim 003482, Payment                               5600-000                                     $910.00       $9,539,073.78
                                                                          100.00000%
                                10020 West 20th St
                                Wichita, KS 67212
   08/27/14           33245     ASSET RECOVERY MANAGEMENT,                Claim 003483, Payment                               5600-000                                  $2,600.00        $9,536,473.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           33246     JASON CASTRO                              Claim 003484, Payment                               5600-000                                  $2,600.00        $9,533,873.78
                                                                          100.00000%
                                638 Elkins Lane
                                Fillmore, CA 93015
   08/27/14           33247     PATRICIA KARBER                           Claim 003485, Payment                               5600-000                                  $2,600.00        $9,531,273.78
                                                                          100.00000%
                                1007 E MARINA
                                PIERRE, SD 57501
   08/27/14           33248     HEIDI MERCER                              Claim 003486, Payment                               5600-004                                     $298.00       $9,530,975.78
                                                                          100.00000%
                                50 Midshipmans Drive
                                Inwood, WV 25428
   08/27/14           33249     ARGO PARTNERS                             Claim 003487, Payment                               5600-000                                  $2,600.00        $9,528,375.78
                                12 West 37th St., 9th FloorNew York, NY   100.00000%
                                10018
   08/27/14           33250     JASON YARD                                Claim 003488, Payment                               5600-000                                  $2,600.00        $9,525,775.78
                                                                          100.00000%
                                152-08 119th Ave
                                Jamaica, NY 11434
   08/27/14           33251     JAMES WEST                                Claim 003489, Payment                               5600-000                                     $193.00       $9,525,582.78
                                                                          100.00000%
                                801 Prince Albert Court
                                Virginia Beach, VA 23454




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33252     ARGO PARTNERS                             Claim 003490, Payment                               5600-000                                  $2,600.00        $9,522,982.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33253     ARGO PARTNERS                             Claim 003491, Payment                               5600-000                                  $2,600.00        $9,520,382.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33254     GERI GILMAN                               Claim 003492, Payment                               5600-000                                  $2,600.00        $9,517,782.78
                                                                          100.00000%
                                48 Green Mesa Pl
                                Parachute, CO 81635
   08/27/14           33255     ADALBERTO QUINTERO                        Claim 003493A, Payment                              5600-000                                  $2,600.00        $9,515,182.78
                                                                          100.00000%
                                265 Ebony Street
                                San Benito, TX 78586
   08/27/14           33256     KORENE CALDERWOOD                         Claim 003494, Payment                               5600-000                                  $2,600.00        $9,512,582.78
                                                                          100.00000%
                                28 Gold Creek Road NW
                                Bremerton, WA 98312
   08/27/14           33257     DAINA PROPHETE-DOCTEUR                    Claim 003495, Payment                               5600-004                                     $496.00       $9,512,086.78
                                                                          100.00000%
                                10827 SW 90 Lane
                                Miami, FL 33176
   08/27/14           33258     ARGO PARTNERS                             Claim 003496, Payment                               5600-000                                  $2,600.00        $9,509,486.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33259     JOSEPH DAMAS                              Claim 003497, Payment                               5600-000                                  $2,600.00        $9,506,886.78
                                                                          100.00000%
                                c/o Parker Law Offices
                                185 Alewife Brook Parkway, Ste. 404
                                Cambridge, MA 02138
   08/27/14           33260     ANTHONY PASQUARELLA                       Claim 003498, Payment                               5600-000                                  $2,600.00        $9,504,286.78
                                                                          100.00000%
                                20 Buhl Lane
                                East Northport, NY 11731




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33261     PENNY THOMPSON                            Claim 003499, Payment                               5600-000                                  $2,600.00        $9,501,686.78
                                                                          100.00000%
                                PO Box 8501
                                Kent, WA 98042
   08/27/14           33262     TAMMY EDWARDS                             Claim 003500, Payment                               5600-000                                     $353.00       $9,501,333.78
                                                                          100.00000%
                                710 London Way
                                Lithia Springs, GA 30122
   08/27/14           33263     BRYAN BERNIER                             Claim 003501, Payment                               5600-000                                  $2,600.00        $9,498,733.78
                                                                          100.00000%
                                PO Box 655
                                Dracut, MA 01826
   08/27/14           33264     ARGO PARTNERS                             Claim 003502, Payment                               5600-000                                  $2,600.00        $9,496,133.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33265     ANNETTE RICHARDSON                      Claim 003503, Payment                                 5600-000                                     $455.00       $9,495,678.78
                                300 Hidden Ridge Ct., 102South Park, GA 100.00000%
                                15129
   08/27/14           33266     LESLIE B. SMITH                           Claim 003504, Payment                               5600-000                                  $2,035.00        $9,493,643.78
                                                                          100.00000%
                                4045 Irene Bridge Hwy
                                Hickory Grove, SC 29717
   08/27/14           33267     JAMES ROSENBERGER                         Claim 003505, Payment                               5600-000                                  $1,731.00        $9,491,912.78
                                                                          100.00000%
                                3687 Mtn Shadow Ln
                                Fayetteville, A 17222
   08/27/14           33268     DEVELIZ MILLAN                            Claim 003506, Payment                               5600-000                                  $1,899.00        $9,490,013.78
                                1453 Walton Ave., Apt. 6ABronx, NY        100.00000%
                                10452
   08/27/14           33269     MONICA FIGUEROA                           Claim 003507, Payment                               5600-000                                     $552.00       $9,489,461.78
                                                                          100.00000%
                                4723 Woodson Lane
                                Kingwood, TX 77345
   08/27/14           33270     LISA ROATH                                Claim 003508A, Payment                              5600-000                                  $2,600.00        $9,486,861.78
                                                                          100.00000%
                                PO Box 772
                                Crane, OR 97732



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33271     JAMES CROM                                Claim 003509, Payment                               5600-000                                     $354.00       $9,486,507.78
                                                                          100.00000%
                                628 Cambridge Dr
                                Schaumburg, IL 60193
   08/27/14           33272     DANIEL DIAZ                               Claim 003510, Payment                               5600-000                                  $1,381.00        $9,485,126.78
                                                                          100.00000%
                                28448 Victoria Road
                                Castaic, CA 91384
   08/27/14           33273     ARGO PARTNERS                             Claim 003511, Payment                               5600-000                                  $2,600.00        $9,482,526.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33274     WILLIAM BRIDGES                           Claim 003512A, Payment                              5600-000                                  $1,030.00        $9,481,496.78
                                                                          100.00000%
                                2065 Finley Rd
                                Memphis, TN 38116
   08/27/14           33275     ARGO PARTNERS                             Claim 003513, Payment                               5600-000                                  $2,600.00        $9,478,896.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33276     DEBRA WALTER                              Claim 003514, Payment                               5600-000                                  $2,600.00        $9,476,296.78
                                                                          100.00000%
                                3522 Mt Burnham Court
                                San Diego, CA 92111
   08/27/14           33277     ARGO PARTNERS                             Claim 003515A, Payment                              5600-000                                  $2,600.00        $9,473,696.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33278     ARGO PARTNERS                             Claim 003516, Payment                               5600-000                                  $2,600.00        $9,471,096.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33279     GLORIA WATKINS                            Claim 003517A, Payment                              5600-004                                  $2,600.00        $9,468,496.78
                                                                          100.00000%
                                1231 Elva Dr SW
                                Atlanta, GA 30331




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33280     LIQUIDITY SOLUTIONS, INC.                 Claim 003518, Payment                               5600-000                                  $1,770.00        $9,466,726.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33281     ASSET RECOVERY MANAGEMENT,                Claim 003519, Payment                               5600-000                                  $2,600.00        $9,464,126.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           33282     JEANETTE SHACK                            Claim 003520, Payment                               5600-000                                     $633.00       $9,463,493.78
                                                                          100.00000%
                                208 Greencrest Dr
                                Little Rock, AR 72204
   08/27/14           33283     JOSHUA HENDERSON                          Claim 003521, Payment                               5600-000                                  $1,805.00        $9,461,688.78
                                70 Commons PathPittsboro, NC 27312        100.00000%
   08/27/14           33284     ARGO PARTNERS                             Claim 003522, Payment                               5600-000                                  $2,600.00        $9,459,088.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33285     ARGO PARTNERS                             Claim 003523, Payment                               5600-000                                  $2,600.00        $9,456,488.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33286     MAHA DRIDI                                Claim 003524, Payment                               5600-000                                  $2,600.00        $9,453,888.78
                                                                          100.00000%
                                101 W 46th St Apt 2
                                BAYONNE, NJ 07002
   08/27/14           33287     VICKI EAST                                Claim 003525, Payment                               5600-000                                  $2,418.00        $9,451,470.78
                                                                          100.00000%
                                136 Blair Mountain Road
                                Lineville, AL 36266
   08/27/14           33288     GENIA EAST                                Claim 003526, Payment                               5600-000                                  $2,600.00        $9,448,870.78
                                                                          100.00000%
                                136 Blair Mountain Road
                                Lineville, AL 36266




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


       1                2                           3                                             4                                                   5                6                     7

Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33289     ASSET RECOVERY MANAGEMENT,                Claim 003527, Payment                               5600-000                                  $2,600.00        $9,446,270.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           33290     MICHAEL HARDING                           Claim 003528, Payment                               5600-000                                  $2,600.00        $9,443,670.78
                                                                          100.00000%
                                3408 SW 21st St
                                Topeka, KS 66604
   08/27/14           33291     ELIZABETH LARSON                          Claim 003529, Payment                               5600-004                                     $547.00       $9,443,123.78
                                                                          100.00000%
                                2916 La Mesa Dr
                                Henderson, NV 89014
   08/27/14           33292     ARGO PARTNERS                             Claim 003530, Payment                               5600-000                                  $2,600.00        $9,440,523.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33293     JAMES SHERMAN                             Claim 003531, Payment                               5600-004                                     $290.00       $9,440,233.78
                                                                          100.00000%
                                1411 CR 245-A
                                Oxford, FL 34484
   08/27/14           33294     ARGO PARTNERS                             Claim 003532, Payment                               5600-000                                  $2,000.00        $9,438,233.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33295     SHARON FULMER                             Claim 003533, Payment                               5600-000                                  $2,600.00        $9,435,633.78
                                                                          100.00000%
                                1288 Ridge Road
                                Burgetstown, PA 15021
   08/27/14           33296     GEORGE BIDDLECOMBE                        Claim 003534, Payment                               5600-000                                  $2,600.00        $9,433,033.78
                                                                          100.00000%
                                5798 Campanella Place
                                Rancho Cucamonga, CA 91739
   08/27/14           33297     ARGO PARTNERS                             Claim 003535, Payment                               5600-000                                  $2,600.00        $9,430,433.78
                                12 West 37th St. 9th Fl.New York, NY      100.00000%
                                10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $18,437.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33298     PAULETTE POWELL                           Claim 003536, Payment                               5600-004                                  $2,600.00        $9,427,833.78
                                                                          100.00000%
                                29 Eldride Street
                                Portchester, NY 10573
   08/27/14           33299     JOHN BATTEL                               Claim 003537, Payment                               5600-000                                  $2,600.00        $9,425,233.78
                                                                          100.00000%
                                142 Argent Way
                                Bluffton, SC 29909
   08/27/14           33300     ARGO PARTNERS                             Claim 003538, Payment                               5600-000                                  $2,600.00        $9,422,633.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33301     ARGO PARTNERS                             Claim 003539, Payment                               5600-000                                  $2,600.00        $9,420,033.78
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           33302     ARGO PARTNERS                             Claim 003540, Payment                               5600-000                                  $2,600.00        $9,417,433.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33303     ARGO PARTNERS                             Claim 003541, Payment                               5600-000                                  $2,600.00        $9,414,833.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33304     WILLIAM LORD                              Claim 003542, Payment                               5600-000                                  $2,600.00        $9,412,233.78
                                                                          100.00000%
                                1968 Marie Drive
                                Carson City, NV 89706
   08/27/14           33305     HONG SHIN                                 Claim 003543, Payment                               5600-000                                  $2,068.00        $9,410,165.78
                                                                          100.00000%
                                211 S Main Street
                                Hackensack, NJ 07601
   08/27/14           33306     FRANCINE HARRIS                           Claim 003544, Payment                               5600-000                                   $1,211.00       $9,408,954.78
                                                                          100.00000%
                                5231 Western Avenue, NW
                                Washington, DC 20015
   08/27/14           33307     JOSELITO DABU                             Claim 003545, Payment                               5600-000                                  $2,600.00        $9,406,354.78
                                                                          100.00000%
                                1069 Mt Dana Drive
                                Chula Vista, CA 91913


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $24,079.00
                                                                             Document          Page 369 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33308     PAMELA TULLIS                             Claim 003546, Payment                               5600-000                                  $1,709.00        $9,404,645.78
                                                                          100.00000%
                                702 D Brevard Road
                                Ashville, NC 28806
   08/27/14           33309     ERIN MCMASTER                             Claim 003547, Payment                               5600-000                                  $1,351.00        $9,403,294.78
                                                                          100.00000%
                                4284 Oakland Ave.
                                Fort Knox, KY 40121
   08/27/14           33310     KELLY GALLAGHER                           Claim 003548, Payment                               5600-000                                     $497.00       $9,402,797.78
                                                                          100.00000%
                                340 Madison Ave
                                New Milford, NJ 07646
   08/27/14           33311     CONDA LUEDTKE                             Claim 003549, Payment                               5600-000                                  $2,600.00        $9,400,197.78
                                                                          100.00000%
                                9927 N 112th E Ave.
                                Owasso, OK 79055
   08/27/14           33312     ARGO PARTNERS                             Claim 003550, Payment                               5600-000                                  $2,600.00        $9,397,597.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33313     MIGUEL AND ANGELICA PRECIADO              Claim 003551, Payment                               5600-000                                     $678.00       $9,396,919.78
                                                                          100.00000%
                                12918 DOWNEY AVE
                                DOWNEY, CA 90242
   08/27/14           33314     TRICIA NASSAR                             Claim 003552, Payment                               5600-000                                  $2,600.00        $9,394,319.78
                                                                          100.00000%
                                8 THOMAS ST APT 2
                                New York, NY 10007-1139
   08/27/14           33315     ARGO PARTNERS                             Claim 003554, Payment                               5600-000                                  $2,600.00        $9,391,719.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33316     KERRY FOSTER                              Claim 003555, Payment                               5600-004                                  $2,600.00        $9,389,119.78
                                                                          100.00000%
                                4870 Friar Tuck Avenue
                                Las Vegas, NV 89130




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,235.00
                                                                             Document          Page 370 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           33317     ARGO PARTNERS                             Claim 003556, Payment                               5600-000                                  $2,600.00       $9,386,519.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33318     AMANDA ROY FKA GRAVEL                     Claim 003557, Payment                               5600-000                                  $2,600.00       $9,383,919.78
                                                                          100.00000%
                                11 Randolph St. 2nd Floor
                                Southbridge, MA 01550
   08/27/14           33319     ARGO PARTNERS                             Claim 003558, Payment                               5600-000                                  $2,600.00       $9,381,319.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33320     AMY GAUGHRAN                              Claim 003559, Payment                               5600-000                                  $1,253.00       $9,380,066.78
                                                                          100.00000%
                                113 Golf View Blvd
                                Toms River, NJ 08753
   08/27/14           33321     LIQUIDITY SOLUTIONS, INC.                 Claim 003560, Payment                               5600-000                                  $2,600.00       $9,377,466.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33322     ARGO PARTNERS                             Claim 003561, Payment                               5600-000                                  $2,600.00       $9,374,866.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33323     STEPHANIE FEDOR                           Claim 003562, Payment                               5600-000                                  $2,600.00       $9,372,266.78
                                                                          100.00000%
                                691 Furnace Road
                                Conneaut, OH 44030
   08/27/14           33324     BARBARA LOWERY                            Claim 003563, Payment                               5600-000                                  $2,055.00       $9,370,211.78
                                                                          100.00000%
                                PO BOX 124
                                Tornado, WV 25202
   08/27/14           33325     ARGO PARTNERS                             Claim 003564A, Payment                              5600-000                                  $2,600.00       $9,367,611.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $21,508.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33326     JOANNA MAY                                Claim 003565, Payment                               5600-000                                     $191.00       $9,367,420.78
                                                                          100.00000%
                                23076 Chelsea Ct
                                Elkhart, IN 46516
   08/27/14           33327     ASSET RECOVERY MANAGEMENT,                Claim 003566, Payment                               5600-000                                  $2,600.00        $9,364,820.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           33328     ROBERTA CORDLE                            Claim 003567, Payment                               5600-000                                     $382.00       $9,364,438.78
                                                                          100.00000%
                                3003 Bermuda Dr
                                Killeen, TX 76549
   08/27/14           33329     JOSEPH AND NATALIE AMOIA                  Claim 003568, Payment                               5600-000                                  $2,600.00        $9,361,838.78
                                                                          100.00000%
                                194 Hasbrock Avenue
                                Emerson, NJ 07630
   08/27/14           33330     ORLANDO TORRES                            Claim 003569, Payment                               5600-000                                  $2,600.00        $9,359,238.78
                                c/o Azar and Azar                         100.00000%
   08/27/14           33331     JODI RITZ                                 Claim 003570, Payment                               5600-004                                  $2,600.00        $9,356,638.78
                                                                          100.00000%
                                101 Woodland St
                                Meriden, CT 06451
   08/27/14           33332     JOEL RIVERA                               Claim 003571, Payment                               5600-000                                     $200.00       $9,356,438.78
                                                                          100.00000%
                                3481 Premier Drive
                                Casselberry, FL 32707
   08/27/14           33333     CELESTE ROBICHAUX                         Claim 003572, Payment                               5600-000                                     $584.00       $9,355,854.78
                                                                          100.00000%
                                581 Fredrick Drive
                                Thibodaux, LA 70301
   08/27/14           33334     JOHN DUKOVICH                             Claim 003573, Payment                               5600-000                                  $1,236.00        $9,354,618.78
                                                                          100.00000%
                                9379 Fairfield Drive
                                Twinsburg, OH 44087
   08/27/14           33335     ARGO PARTNERS                             Claim 003574, Payment                               5600-000                                  $2,600.00        $9,352,018.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $15,593.00
                                                                             Document          Page 372 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33336     DABARION TAYLOR                           Claim 003575, Payment                               5600-004                                     $503.00       $9,351,515.78
                                                                          100.00000%
                                123 Town Square Place 611
                                Jersey City, NJ 07310
   08/27/14           33337     ASSET RECOVERY MANAGEMENT,                Claim 003576, Payment                               5600-000                                  $2,487.00        $9,349,028.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           33338     DEBORAH ANDERSON                          Claim 003577, Payment                               5600-000                                  $2,600.00        $9,346,428.78
                                                                          100.00000%
                                2541 Olinville Ave Apt B
                                Bronx, NY 10467
   08/27/14           33339     AMANDA CHRISTLIEB                         Claim 003578, Payment                               5600-000                                  $1,205.00        $9,345,223.78
                                                                          100.00000%
                                74 Renshaw Dr.
                                Palm Coast, FL 32164
   08/27/14           33340     NICK FERRARI                              Claim 003579A, Payment                              5600-004                                  $2,600.00        $9,342,623.78
                                                                          100.00000%
                                6108 10TH ST
                                RIO LINDA, CA 95673-4303
   08/27/14           33341     ARGO PARTNERS                             Claim 003580, Payment                               5600-000                                  $2,600.00        $9,340,023.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33342     CARYL KIDD                                Claim 003581, Payment                               5600-000                                     $647.00       $9,339,376.78
                                                                          100.00000%
                                7004 Burnell Drive
                                Eau Claire, WI 54703
   08/27/14           33343     JOHN BEDNARSKI                            Claim 003582A, Payment                              5600-000                                  $2,600.00        $9,336,776.78
                                                                          100.00000%
                                823 Pine St.
                                De Pere, WI 54115
   08/27/14           33344     ARGO PARTNERS                             Claim 003583, Payment                               5600-000                                  $2,600.00        $9,334,176.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,842.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33345     JOSE CALDERON                             Claim 003584, Payment                               5600-000                                     $992.00       $9,333,184.78
                                                                          100.00000%
                                1348 West 37th Dr
                                Los Angeles, CA 90007
   08/27/14           33346     MELISSA CAIN                              Claim 003586, Payment                               5600-000                                  $1,106.00        $9,332,078.78
                                                                          100.00000%
                                6207 Taylor St
                                Frederick, CO 80530
   08/27/14           33347     ARGO PARTNERS                             Claim 003587A, Payment                              5600-000                                  $2,600.00        $9,329,478.78
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           33348     ROBERT LUTZ                               Claim 003588, Payment                               5600-000                                  $2,600.00        $9,326,878.78
                                                                          100.00000%
                                140 Oakhaven Drive
                                Lynchburg, VA 24502
   08/27/14           33349     ARGO PARTNERS                             Claim 003589, Payment                               5600-000                                  $2,600.00        $9,324,278.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33350     KATHLEEN HERZOG                           Claim 003590, Payment                               5600-000                                  $2,600.00        $9,321,678.78
                                                                          100.00000%
                                134 N 18th Street
                                St Maries, ID 83861-1205
   08/27/14           33351     SHAWN MCMAHON                             Claim 003591, Payment                               5600-000                                     $843.00       $9,320,835.78
                                                                          100.00000%
                                879 Blue Factory Road
                                Cropseyville, NY 12052
   08/27/14           33352     SHIOBHAN REVIE                            Claim 003592, Payment                               5600-000                                     $843.00       $9,319,992.78
                                                                          100.00000%
                                54 North Franklin Turnpike Apt. 9
                                Ramsey, NJ 07446
   08/27/14           33353     MARC IHRIG                                Claim 003593, Payment                               5600-004                                  $2,600.00        $9,317,392.78
                                                                          100.00000%
                                65-41 SAUNDERS ST
                                3B
                                REGO PARK, NY 11374




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33354     JAMES LANDRUM                             Claim 003594, Payment                               5600-000                                  $2,600.00        $9,314,792.78
                                                                          100.00000%
                                295 Emu Lane
                                Diboll, TX 75941
   08/27/14           33355     SUSANNE ROSE                              Claim 003595, Payment                               5600-000                                  $1,336.00        $9,313,456.78
                                                                          100.00000%
                                PO Box 727
                                Lyndonville, VT 05851
   08/27/14           33356     SUSAN BICKLEY                             Claim 003596, Payment                               5600-004                                     $799.00       $9,312,657.78
                                                                          100.00000%
                                1592 Rock Creek Ridge Blvd. SW
                                North Bend, WA 98045
   08/27/14           33357     ARGO PARTNERS                             Claim 003597, Payment                               5600-000                                  $2,600.00        $9,310,057.78
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           33358     ARGO PARTNERS                             Claim 003598A, Payment                              5600-000                                  $2,600.00        $9,307,457.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33359     LIQUIDITY SOLUTIONS, INC.                 Claim 003599, Payment                               5600-000                                  $1,005.00        $9,306,452.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33360     PENNY PITTS                               Claim 003600, Payment                               5600-000                                  $2,600.00        $9,303,852.78
                                                                          100.00000%
                                638 Louisa St
                                Lansing, MI 48911
   08/27/14           33361     CHATABUSH ROONGRAT                        Claim 003602, Payment                               5600-000                                     $522.00       $9,303,330.78
                                                                          100.00000%
                                2201 ROCKBROOK DR
                                APT 922
                                LEWISVILLE, TX 75067
   08/27/14           33362     WILLIAM SEIBELS                           Claim 003604, Payment                               5600-000                                     $600.00       $9,302,730.78
                                                                          100.00000%
                                2300 Country Club Place
                                Birmingham, AL 35223




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $14,662.00
                                                                             Document          Page 375 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33363     SHONA SPAETH                              Claim 003605, Payment                               5600-000                                  $2,600.00        $9,300,130.78
                                                                          100.00000%
                                PO Box 337
                                Plymouth, CA 95669
   08/27/14           33364     DIANA BAKER                               Claim 003606, Payment                               5600-000                                  $1,640.00        $9,298,490.78
                                                                          100.00000%
                                117 Klockner Rd
                                Trenton, NJ 08619
   08/27/14           33365     REBECCA EVANS WILSON                      Claim 003607, Payment                               5600-000                                     $551.00       $9,297,939.78
                                                                          100.00000%
                                5036 PARKVIEW WAY
                                MATTHEWS, NC 28104
   08/27/14           33366     ARGO PARTNERS                             Claim 003608, Payment                               5600-000                                  $2,600.00        $9,295,339.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33367     JULIUS KLEPPINGER                         Claim 003609, Payment                               5600-000                                  $2,600.00        $9,292,739.78
                                                                          100.00000%
                                8 Locksley Street 9 E
                                San Francisco, CA 94122
   08/27/14           33368     MARY A BENNER                             Claim 003611A, Payment                              5600-000                                  $2,600.00        $9,290,139.78
                                                                          100.00000%
                                CO CHARLES M MCCUEN ESQ
                                PO BOX 446
                                SELINSGROVE, PA 17870
   08/27/14           33369     BERNICE YATES                             Claim 003616, Payment                               5600-000                                     $679.00       $9,289,460.78
                                                                          100.00000%
                                9370 CASPIAN WAY UNIT 202
                                MANASSAS, VA 20110
   08/27/14           33370     JAMES HEATHERLY                           Claim 003617, Payment                               5600-000                                     $554.00       $9,288,906.78
                                                                          100.00000%
                                38 Westover Ridge
                                Adairsville, GA 30103
   08/27/14           33371     WILLIAM CONNOLLY                          Claim 003618, Payment                               5600-000                                  $2,600.00        $9,286,306.78
                                                                          100.00000%
                                493 Forrest Road
                                Wallkill, NY 12589




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $16,424.00
                                                                             Document          Page 376 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33372     JOSEPH LAUBIE                             Claim 003619, Payment                               5600-000                                  $2,600.00        $9,283,706.78
                                                                          100.00000%
                                2623 Seneca Court
                                Brea, CA 92821
   08/27/14           33373     MICHAEL BAUM                              Claim 003621, Payment                               5600-000                                  $2,600.00        $9,281,106.78
                                                                          100.00000%
                                1382 W. Maplecrest St.
                                Warsaw, IN 46580
   08/27/14           33374     JOSEPH THURBER                            Claim 003622, Payment                               5600-000                                  $2,600.00        $9,278,506.78
                                                                          100.00000%
                                200 Old River Rd. Apt. 4
                                Lincoln, RI 02865
   08/27/14           33375     GARY DOBRANSKY                            Claim 003623, Payment                               5600-000                                  $2,600.00        $9,275,906.78
                                                                          100.00000%
                                203 Nicholas Ave
                                Johnson City, NY 13790-1613
   08/27/14           33376     STEVE PEREZ                               Claim 003624, Payment                               5600-000                                  $2,600.00        $9,273,306.78
                                                                          100.00000%
                                PO Box 26521
                                Santa Anna, CA 92799
   08/27/14           33377     REGINA BALAGTAS                           Claim 003625A, Payment                              5600-000                                  $1,369.00        $9,271,937.78
                                                                          100.00000%
                                1171 Queen Ann Place
                                Los Angeles, CA 90019
   08/27/14           33378     CHARLIE SLEETH                            Claim 003626, Payment                               5600-000                                     $660.00       $9,271,277.78
                                                                          100.00000%
                                3063 w. Chapman Ave. #2201
                                Orange, CA 92868
   08/27/14           33379     JASON SNYDER                              Claim 003627, Payment                               5600-000                                  $2,464.00        $9,268,813.78
                                                                          100.00000%
                                490 Griffin Rd
                                Helena, MT 59602
   08/27/14           33380     CHRISTOPHER PETERSEN                      Claim 003628A, Payment                              5600-004                                     $737.00       $9,268,076.78
                                                                          100.00000%
                                PO BOX 1492
                                Wlynnwood, WA 98046




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33381     ASSET RECOVERY MANAGEMENT,                Claim 003629, Payment                               5600-000                                  $2,600.00        $9,265,476.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           33382     LIQUIDITY SOLUTIONS, INC.                 Claim 003631, Payment                               5600-000                                  $1,554.00        $9,263,922.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33383     DANA JUE                                  Claim 003632, Payment                               5600-000                                  $2,600.00        $9,261,322.78
                                                                          100.00000%
                                13775 Grand Isle Dr
                                Moorpark, CA 93021
   08/27/14           33384     RENEE FINNERAN                            Claim 003633, Payment                               5600-000                                     $478.00       $9,260,844.78
                                                                          100.00000%
                                11 Bogert Ave
                                White Plains, NY 10606
   08/27/14           33385     MICHELLE DAHL                             Claim 003634, Payment                               5600-004                                     $712.00       $9,260,132.78
                                                                          100.00000%
                                1300 S WILLOW ST
                                10-206
                                DENVER, CO 80247
   08/27/14           33386     STEPHANIE WAPLES                          Claim 003635, Payment                               5600-000                                     $710.00       $9,259,422.78
                                                                          100.00000%
                                2814 Harrison Ave.
                                Camden, NJ 08105
   08/27/14           33387     LIQUIDITY SOLUTIONS, INC.                 Claim 003636, Payment                               5600-000                                  $2,600.00        $9,256,822.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33388     DANIEL FORREST                            Claim 003637, Payment                               5600-000                                     $843.00       $9,255,979.78
                                                                          100.00000%
                                116 Holden Rd
                                Paxton, MA 01612
   08/27/14           33389     JAY LOWENSTEIN                            Claim 003638, Payment                               5600-000                                     $257.00       $9,255,722.78
                                                                          100.00000%
                                13214 Harbour Heights Dr
                                Mukilteo, WA 98275



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                                                                             Document          Page 378 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33390     GREG AULTMAN                              Claim 003639, Payment                               5600-000                                  $2,137.00        $9,253,585.78
                                                                          100.00000%
                                38601 Highway 78
                                Eldridge, AL 35554
   08/27/14           33391     SALVADOR TORRES                           Claim 003640, Payment                               5600-000                                     $661.00       $9,252,924.78
                                                                          100.00000%
                                205 Prospect Street
                                Alice, TX 78332
   08/27/14           33392     LIQUIDITY SOLUTIONS, INC.                 Claim 003641, Payment                               5600-000                                  $2,600.00        $9,250,324.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33393     ARGO PARTNERS                             Claim 003642, Payment                               5600-000                                  $2,600.00        $9,247,724.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33394     CYNTHIA KLINE                             Claim 003643, Payment                               5600-000                                     $313.00       $9,247,411.78
                                                                          100.00000%
                                7229 Columbia Way
                                Lancaster, CA 93536
   08/27/14           33395     JEFFREY SHAFFER                           Claim 003644, Payment                               5600-000                                     $359.00       $9,247,052.78
                                                                          100.00000%
                                591 The Hideout
                                Lake Ariel, PA 18436
   08/27/14           33396     ARGO PARTNERS                             Claim 003645, Payment                               5600-000                                  $2,600.00        $9,244,452.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33397     COLEMAN ELLSWORTH                         Claim 003646, Payment                               5600-004                                     $757.00       $9,243,695.78
                                                                          100.00000%
                                2324 South Desert Cassia Street
                                Ridgecrest, CA 93555
   08/27/14           33398     BETTY JADLOSKI                            Claim 003647, Payment                               5600-000                                  $2,600.00        $9,241,095.78
                                                                          100.00000%
                                1371 Church St.
                                Mineral Ridge, OH 44440




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33399     MAXINE MCCOLLA                            Claim 003648, Payment                               5600-000                                  $1,038.00        $9,240,057.78
                                                                          100.00000%
                                19439 Silver Crest St
                                Southfield, MI 48075
   08/27/14           33400     NORRIS EVERSON                            Claim 003649, Payment                               5600-000                                  $2,600.00        $9,237,457.78
                                                                          100.00000%
                                17609 157th PL SE
                                Monroe, WA 98272-1602
   08/27/14           33401     ARGO PARTNERS                             Claim 003650, Payment                               5600-000                                  $2,600.00        $9,234,857.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33402     ESTATE OF DENISE CAILLER                  Claim 003651, Payment                               5600-000                                  $2,600.00        $9,232,257.78
                                                                          100.00000%
                                DONNA M FONTAINE, EXECUTRIX
                                50 EUSTIS AVE
                                LOWELL, MA 01850
   08/27/14           33403     ANDREW MILES                              Claim 003652, Payment                               5600-000                                  $2,600.00        $9,229,657.78
                                                                          100.00000%
                                1125 Park Rd.
                                Lancaster, WI 53813
   08/27/14           33404     MUBARAKAT ADETORO                         Claim 003653, Payment                               5600-000                                     $363.00       $9,229,294.78
                                                                          100.00000%
                                8425 Meadow Green Way
                                Gaithersburg, MD 20877
   08/27/14           33405     GLEN FAIR                                 Claim 003654, Payment                               5600-000                                  $2,600.00        $9,226,694.78
                                                                          100.00000%
                                47 Belgian Way
                                Charles Town, WV 25414
   08/27/14           33406     ARGO PARNTERS                             Claim 003656, Payment                               5600-000                                  $2,600.00        $9,224,094.78
                                12 West 37th St., 9th FlNew York, NY      100.00000%
                                10018
   08/27/14           33407     SECOND CHANCE CREDIT                      Claim 003657A, Payment                              5600-000                                  $2,225.00        $9,221,869.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33408     JENNIFER SCHNELKER                        Claim 003658, Payment                               5600-000                                  $2,600.00        $9,219,269.78
                                                                          100.00000%
                                1099 Bass Lake Rd
                                Traverse City, MI 49685
   08/27/14           33409     LIQUIDITY SOLUTIONS, INC.                 Claim 003659A, Payment                              5600-000                                  $1,055.00        $9,218,214.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33410     ANNALEE CRUZ                              Claim 003660, Payment                               5600-000                                  $2,600.00        $9,215,614.78
                                                                          100.00000%
                                66 Arroyo Drive 5
                                South San Francisco, CA 94080
   08/27/14           33411     JULIA SULLIVAN                            Claim 003661, Payment                               5600-000                                     $697.00       $9,214,917.78
                                                                          100.00000%
                                8 Hendricks Court
                                Sayreville, NJ 08872
   08/27/14           33412     JESSE VOSE                                Claim 003662, Payment                               5600-000                                     $868.00       $9,214,049.78
                                                                          100.00000%
                                241 Executive Meadows Dr
                                Lenoir City, TN 37771
   08/27/14           33413     PAULA MABRY                               Claim 003663, Payment                               5600-000                                     $836.00       $9,213,213.78
                                                                          100.00000%
                                9122 Town Center Pkwy Ste. 107
                                Lakewood Ranch, FL 34202
   08/27/14           33414     AMY WESTBROEK                             Claim 003664A, Payment                              5600-004                                  $1,036.00        $9,212,177.78
                                                                          100.00000%
                                7C DOGWOOD AVE
                                SAVANNAH, GA 31410
   08/27/14           33415     ARGO PARTNERS                             Claim 003665, Payment                               5600-000                                  $2,600.00        $9,209,577.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33416     LIQUIDITY SOLUTIONS, INC.                 Claim 003667, Payment                               5600-000                                  $2,600.00        $9,206,977.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33417     RYAN DATLAG                               Claim 003668, Payment                               5600-000                                  $2,600.00        $9,204,377.78
                                                                          100.00000%
                                663 CROCKER AVE
                                DALY CITY, CA94014
   08/27/14           33418     SECOND CHANCE CREDIT                      Claim 003669, Payment                               5600-000                                  $1,564.00        $9,202,813.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           33419     LIQUIDITY SOLUTIONS, INC.                 Claim 003670, Payment                               5600-000                                  $2,190.00        $9,200,623.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33420     ROGER SEXTON                              Claim 003671, Payment                               5600-000                                     $505.00       $9,200,118.78
                                                                          100.00000%
                                3520 88TH ST E
                                TACOMA, WA 98446-2514
   08/27/14           33421     LEILANI HOFFMAN                           Claim 003672, Payment                               5600-000                                     $837.00       $9,199,281.78
                                                                          100.00000%
                                49 Kendale Rd
                                Cheektowaga, NY 14215
   08/27/14           33422     ELIZABETH SESCILLA                        Claim 003673, Payment                               5600-000                                  $2,600.00        $9,196,681.78
                                                                          100.00000%
                                1219 Brooklyn Ave Ext
                                Ramseur, NC 27316
   08/27/14           33423     MATTHEW SESCILLA                          Claim 003674, Payment                               5600-000                                  $2,600.00        $9,194,081.78
                                                                          100.00000%
                                c/o Everett B. Saslow, Jr.
                                PO Box 989
                                Greensboro, NC 27402
   08/27/14           33424     JAMES LEE                                 Claim 003675, Payment                               5600-000                                  $2,600.00        $9,191,481.78
                                                                          100.00000%
                                275 Dahoon Holly Dr.
                                Daytona Beach, FL 32117
   08/27/14           33425     REBECCA SCHOENFELDER                      Claim 003676, Payment                               5600-000                                     $622.00       $9,190,859.78
                                                                          100.00000%
                                48 Shane Drive Apt. G
                                Cabot, AR 72023



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33426     SANDRA BROWN                              Claim 003677, Payment                               5600-000                                  $1,667.00        $9,189,192.78
                                                                          100.00000%
                                5901 Elmore Ave. #U-2
                                Davenport, IA 52807
   08/27/14           33427     ASSET RECOVERY MANAGEMENT,                Claim 003678, Payment                               5600-000                                  $2,600.00        $9,186,592.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           33428     ARGO PARTNERS                             Claim 003679, Payment                               5600-000                                  $2,600.00        $9,183,992.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33429     IRENE FARAONE FKA TSIKITAS                Claim 003680, Payment                               5600-000                                     $610.00       $9,183,382.78
                                                                          100.00000%
                                21 CIANCI RD
                                NEW BRITAIN, CT 06051
   08/27/14           33430     JOHN DI STEFANO                           Claim 003681, Payment                               5600-000                                  $2,600.00        $9,180,782.78
                                                                          100.00000%
                                PO Box 452
                                Redondo Beach, CA 90277
   08/27/14           33431     ALEXANDRA DAVIS                           Claim 003682, Payment                               5600-000                                     $273.00       $9,180,509.78
                                                                          100.00000%
                                665 Classon Ave Apt 4A
                                Brooklyn, NY 11238
   08/27/14           33432     WILLIAM JONES                             Claim 003683, Payment                               5600-000                                  $2,600.00        $9,177,909.78
                                1919 Curtis Dr.North Augusta, SC 29841    100.00000%
   08/27/14           33433     NANCY LESLIE                              Claim 003684, Payment                               5600-004                                  $2,600.00        $9,175,309.78
                                                                          100.00000%
                                PO Box 432
                                Martinsburg, PA 16662
   08/27/14           33434     ARGO PARTNERS                             Claim 003685, Payment                               5600-000                                  $2,600.00        $9,172,709.78
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           33435     LIQUIDITY SOLUTIONS, INC.                 Claim 003686, Payment                               5600-000                                  $2,005.00        $9,170,704.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33436     HALLIE PEACE                              Claim 003687, Payment                               5600-000                                  $1,006.00        $9,169,698.78
                                                                          100.00000%
                                1083 Deberrys Mill Rd
                                Pendleton, NC 27862
   08/27/14           33437     CHRISTOPHER FOSTER                        Claim 003689, Payment                               5600-000                                  $2,600.00        $9,167,098.78
                                                                          100.00000%
                                620 Sunset Drive
                                Bay Saint Louis, MS 39520
   08/27/14           33438     ANTOINE FRANCIS                           Claim 003690, Payment                               5600-000                                     $725.00       $9,166,373.78
                                                                          100.00000%
                                901 NW 1ST AVE
                                Hallandale, FL 33009
   08/27/14           33439     DESIREE CARUTHERS                         Claim 003691, Payment                               5600-000                                     $415.00       $9,165,958.78
                                                                          100.00000%
                                831 Rood Ave.
                                Sacramento, CA 95838
   08/27/14           33440     ROBERT MELONI                             Claim 003692, Payment                               5600-004                                     $341.00       $9,165,617.78
                                                                          100.00000%
                                1604 Acorn Place
                                Clementon, NJ 08021
   08/27/14           33441     STACEY CAMPBELL                           Claim 003693, Payment                               5600-000                                  $1,950.00        $9,163,667.78
                                                                          100.00000%
                                11708 Canterbury Dr
                                Warren, MI 48093
   08/27/14           33442     THERESA BROWN                             Claim 003694, Payment                               5600-000                                  $2,600.00        $9,161,067.78
                                                                          100.00000%
                                17 Portland Ave 4
                                Dover, NH 03820
   08/27/14           33443     PHYLLIS DAVIS                             Claim 003695, Payment                               5600-000                                     $426.00       $9,160,641.78
                                                                          100.00000%
                                3509 Lake Avenue Apt. 1243
                                Columbia, SC 29206
   08/27/14           33444     JEREMY DRESEN                             Claim 003696, Payment                               5600-000                                     $763.00       $9,159,878.78
                                                                          100.00000%
                                PO BOX 2431
                                Idaho Falls, ID 83403




                                    Case 10-30631               Doc 5751       Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33445     FERNANDO VELARDE                          Claim 003697, Payment                               5600-000                                  $1,252.00        $9,158,626.78
                                                                          100.00000%
                                PO BOX 542
                                Yermo, CA 92398
   08/27/14           33446     LORI KRAUS                                Claim 003698, Payment                               5600-000                                  $2,600.00        $9,156,026.78
                                                                          100.00000%
                                5615 Brookside Road
                                Independence, OH 44131
   08/27/14           33447     DIANA PUZ                                 Claim 003699, Payment                               5600-000                                  $1,281.00        $9,154,745.78
                                                                          100.00000%
                                3360 Darbyshire Dr
                                Canfield, OH 44406
   08/27/14           33448     LINDA DEN BLEYKER                         Claim 003702A, Payment                              5600-000                                     $788.00       $9,153,957.78
                                                                          100.00000%
                                588 South Wynn Wood Circle
                                Camden, DE 19934
   08/27/14           33449     HOLLY NELSON                              Claim 003704, Payment                               5600-000                                  $1,124.00        $9,152,833.78
                                                                          100.00000%
                                1664 253rd Street
                                Harbor City, CA 90710
   08/27/14           33450     LISA HOLLAND-DILL                         Claim 003705, Payment                               5600-000                                     $242.00       $9,152,591.78
                                                                          100.00000%
                                418 S STEPNEY RD
                                ABERDEEN, MD 21001
   08/27/14           33451     L DWAYNE FLINN                            Claim 003706, Payment                               5600-000                                  $2,600.00        $9,149,991.78
                                                                          100.00000%
                                4387 West Garff Ranch Road
                                Kamas, UT 84036
   08/27/14           33452     LAAULI IFOPO                              Claim 003708, Payment                               5600-004                                  $2,600.00        $9,147,391.78
                                                                          100.00000%
                                1708 Sea Ventures Lane
                                Langley AFB, VA 23665
   08/27/14           33453     ARGO PARTNERS                             Claim 003709A, Payment                              5600-000                                  $2,600.00        $9,144,791.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33454     ARLEEN VEGA                               Claim 003710A, Payment                              5600-000                                  $1,327.00        $9,143,464.78
                                                                          100.00000%
                                542 West Westmorland St.
                                Philadelphia, PA 19140
   08/27/14           33455     GERARDO JAVIER DIAZ                       Claim 003711, Payment                               5600-004                                  $2,600.00        $9,140,864.78
                                                                          100.00000%
                                14949 Roscoe Blvd 212
                                Panorama City, CA 91402
   08/27/14           33456     LIQUIDITY SOLUTIONS, INC.                 Claim 003712, Payment                               5600-000                                  $2,600.00        $9,138,264.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33457     STEVEN DIPIAZZA                           Claim 003713, Payment                               5600-000                                  $2,600.00        $9,135,664.78
                                                                          100.00000%
                                130 Seneca Circle
                                Winfield, WV 25213
   08/27/14           33458     DANIEL NAEGELIN                           Claim 003714, Payment                               5600-000                                  $2,600.00        $9,133,064.78
                                                                          100.00000%
                                2905 FM 1136
                                Orange, TX 77632
   08/27/14           33459     ARGO PARTNERS                             Claim 003716, Payment                               5600-000                                  $2,600.00        $9,130,464.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33460     JAMES SIERAWSKI                           Claim 003718A, Payment                              5600-000                                  $2,600.00        $9,127,864.78
                                                                          100.00000%
                                PO Box 771
                                Moyock, NC 27958
   08/27/14           33461     ARGO PARTNERS                             Claim 003719, Payment                               5600-000                                  $2,600.00        $9,125,264.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33462     GLORIA CADIZ                              Claim 003720, Payment                               5600-000                                     $856.00       $9,124,408.78
                                                                          100.00000%
                                6112 Aruba Court
                                Bakersfireld, CA 93313




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           33463     ARGO PARTNERS                             Claim 003721, Payment                               5600-000                                  $2,600.00       $9,121,808.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33464     ASSET RECOVERY MANAGEMENT,                Claim 003722, Payment                               5600-000                                  $2,600.00       $9,119,208.78
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           33465     SECOND CHANCE CREDIT                      Claim 003723, Payment                               5600-000                                  $2,415.00       $9,116,793.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           33466     TINA BAKER                                Claim 003724, Payment                               5600-000                                  $2,161.00       $9,114,632.78
                                                                          100.00000%
                                1144 Alexander Avenue
                                Monessen, PA 15062
   08/27/14           33467     TAMMY WAUGH                               Claim 003725, Payment                               5600-000                                  $2,600.00       $9,112,032.78
                                                                          100.00000%
                                758 West River Road
                                Waterloo, NY 13165
   08/27/14           33468     LAWANNA HATCHETT                          Claim 003727, Payment                               5600-000                                  $2,405.00       $9,109,627.78
                                                                          100.00000%
                                6163 Deans Way
                                Morrow, GA 30260
   08/27/14           33469     LIQUIDITY SOLUTIONS, INC.                 Claim 003728, Payment                               5600-000                                  $2,600.00       $9,107,027.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33470     KARI WILKINSON                            Claim 003729, Payment                               5600-000                                  $1,379.00       $9,105,648.78
                                                                          100.00000%
                                8233 CORDELIA CIR
                                CITRUS HEIGHTS, CA 95621-1343
   08/27/14           33471     JOYCE TAYLOR                              Claim 003730, Payment                               5600-000                                  $2,600.00       $9,103,048.78
                                                                          100.00000%
                                69 Tudor Street
                                Waltham, MA 02451



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33472     LIQUIDITY SOLUTIONS, INC.                 Claim 003731, Payment                               5600-000                                  $2,247.00        $9,100,801.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33473     LORI GOBLESKY                             Claim 003732, Payment                               5600-000                                     $552.00       $9,100,249.78
                                                                          100.00000%
                                PO Box 97
                                Cokeburg, PA 15324
   08/27/14           33474     GAIL FELICIANO                            Claim 003733, Payment                               5600-000                                     $246.00       $9,100,003.78
                                                                          100.00000%
                                599 Delano Rd
                                Ticonderoga, NY 12883
   08/27/14           33475     ARGO PARTNERS                             Claim 003734, Payment                               5600-000                                  $2,600.00        $9,097,403.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33476     RUBY ALLEN                                Claim 003735, Payment                               5600-000                                     $371.00       $9,097,032.78
                                                                          100.00000%
                                200 E 34th Street 2nd Floor
                                Brooklyn, NY 11203
   08/27/14           33477     ARGO PARTNERS                             Claim 003737, Payment                               5600-000                                  $2,600.00        $9,094,432.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33478     CHRISTY FLOYD                             Claim 003738, Payment                               5600-004                                  $2,600.00        $9,091,832.78
                                                                          100.00000%
                                723 Riverbend Drive
                                Martinez, GA 30907
   08/27/14           33479     CARLA HARRISON                            Claim 003740, Payment                               5600-000                                     $815.00       $9,091,017.78
                                                                          100.00000%
                                15338 W. Little York Rd.
                                Houston, TX 77084
   08/27/14           33480     STEPHEN FULGHUM                           Claim 003741, Payment                               5600-000                                     $559.00       $9,090,458.78
                                                                          100.00000%
                                7640 Fulghum Rd
                                Kenly, NC 27542




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33481     KATHY VILLALOBOS                          Claim 003742, Payment                               5600-000                                  $1,908.00        $9,088,550.78
                                                                          100.00000%
                                1656 Citrus Hills Lane
                                Escondido, CA 92027
   08/27/14           33482     ESPERANZA POLANCO                         Claim 003743, Payment                               5600-000                                     $173.00       $9,088,377.78
                                                                          100.00000%
                                1201 University Ave Apt 1E
                                Bronx, NY 10452
   08/27/14           33483     DONNA BOWLES                              Claim 003744, Payment                               5600-000                                  $2,600.00        $9,085,777.78
                                                                          100.00000%
                                112 County Rd. 233
                                Oxford, MS 38655
   08/27/14           33484     KEVIN LEVINE                              Claim 003745, Payment                               5600-000                                     $916.00       $9,084,861.78
                                                                          100.00000%
                                201 Needle Court
                                Roseville, CA 95678
   08/27/14           33485     VALERIE SENKO                             Claim 003746, Payment                               5600-000                                  $2,600.00        $9,082,261.78
                                                                          100.00000%
                                18318 Jovan St.
                                Tarzana, CA 91335
   08/27/14           33486     JOHN CASTRO                               Claim 003747, Payment                               5600-000                                     $549.00       $9,081,712.78
                                                                          100.00000%
                                3512 Beethoven Street
                                Los Angeles, CA 90066
   08/27/14           33487     LISA DENBAUGH                             Claim 003748, Payment                               5600-000                                  $2,444.00        $9,079,268.78
                                28165 La GallinaLaguna Niguel, CA         100.00000%
                                92677
   08/27/14           33488     COLLEEN THOMAS                            Claim 003749, Payment                               5600-000                                  $1,718.00        $9,077,550.78
                                PO Box 1808Belfair, WA 98528              100.00000%
   08/27/14           33489     ARGO PARTNERS                             Claim 003750, Payment                               5600-000                                  $2,600.00        $9,074,950.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33490     NANCY MOORE                               Claim 003751, Payment                               5600-000                                  $2,315.00        $9,072,635.78
                                                                          100.00000%
                                3110 Lakeside Circle
                                Covington, GA 30016




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33491     MICHAEL KOLBECK                           Claim 003752, Payment                               5600-000                                  $2,600.00        $9,070,035.78
                                                                          100.00000%
                                11 Jensen Avenue
                                Spotswood, NJ 08884
   08/27/14           33492     PHILIP FULLER                             Claim 003754, Payment                               5600-000                                  $1,588.00        $9,068,447.78
                                                                          100.00000%
                                1315 N Main St.
                                Lakeport, CA 95453
   08/27/14           33493     DANIEL WORONICK                           Claim 003755, Payment                               5600-000                                  $2,600.00        $9,065,847.78
                                                                          100.00000%
                                822 Langston Ave.
                                Haines City, FL 33844
   08/27/14           33494     ADRIENNE LEWIS                            Claim 003756, Payment                               5600-000                                  $2,151.00        $9,063,696.78
                                                                          100.00000%
                                4162 Sardis Road
                                Pittsburgh, PA 15239
   08/27/14           33495     SECOND CHANCE CREDIT                      Claim 003757, Payment                               5600-000                                     $953.00       $9,062,743.78
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           33496     DAVID HURST                               Claim 003758, Payment                               5600-000                                  $2,600.00        $9,060,143.78
                                                                          100.00000%
                                1123 South East Sanchez Avenue
                                Ocala, FL 34471
   08/27/14           33497     DONAVAN WILLCUTT                          Claim 003759, Payment                               5600-000                                  $2,600.00        $9,057,543.78
                                                                          100.00000%
                                3536 74th Ave. SE
                                Olympia, WA 98501
   08/27/14           33498     ARGO PARTNERS                             Claim 003760, Payment                               5600-000                                  $2,600.00        $9,054,943.78
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33499     JULIE ELLIS                               Claim 003761, Payment                               5600-000                                     $534.00       $9,054,409.78
                                                                          100.00000%
                                PO Box 123
                                New Matamoras, OH 45767




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                                                                                                                                                     Desc Main         $18,226.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33500     ROBERT STEWART                            Claim 003762, Payment                               5600-000                                     $531.00       $9,053,878.78
                                                                          100.00000%
                                5319 Springdale Ave
                                Minthill, NC 28227
   08/27/14           33501     LOIS LIGHTFOOT                            Claim 003763, Payment                               5600-000                                  $2,600.00        $9,051,278.78
                                                                          100.00000%
                                409 MEADOWS AVE
                                TILLAMOOK, OR 97141
   08/27/14           33502     RON MCCARDEN                              Claim 003764, Payment                               5600-000                                     $717.00       $9,050,561.78
                                153 South Anton DriveMontgomery, AL       100.00000%
                                36105
   08/27/14           33503     LUZ OROZCO                                Claim 003765, Payment                               5600-000                                     $581.00       $9,049,980.78
                                                                          100.00000%
                                54491 Hwy 332
                                Milton-Freewater, OR 97862
   08/27/14           33504     LIQUIDITY SOLUTIONS, INC.                 Claim 003768, Payment                               5600-000                                  $2,600.00        $9,047,380.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33505     EDNA V DAVIS                              Claim 003769, Payment                               5600-000                                  $2,600.00        $9,044,780.78
                                                                          100.00000%
                                3322 W WEAVER RD
                                HAMPTON, VA 23666
   08/27/14           33506     ALBERT RAMOS                              Claim 003771, Payment                               5600-000                                     $450.00       $9,044,330.78
                                                                          100.00000%
                                20 Sunrise Rd
                                Wolcott, CT 06716
   08/27/14           33507     ROBERT GOLDBLATT JR                       Claim 003772, Payment                               5600-004                                  $2,600.00        $9,041,730.78
                                                                          100.00000%
                                PO Box 2262
                                So Hackensack, NJ 07606
   08/27/14           33508     DONETA CASEY                              Claim 003775, Payment                               5600-000                                  $2,600.00        $9,039,130.78
                                                                          100.00000%
                                1444 S 19th St.
                                Columbus, OH 43207
   08/27/14           33509     LIQUIDITY SOLUTIONS, INC.                 Claim 003776, Payment                               5600-000                                   $1,118.00       $9,038,012.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $16,397.00
                                                                             Document          Page 391 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33510     LORA RUDOLPH                              Claim 003778, Payment                               5600-000                                  $2,600.00        $9,035,412.78
                                                                          100.00000%
                                25153 AULAC NORTH
                                CHESTERFIELD TOWNSHIP, MI 48051
   08/27/14           33511     BENJAMIN AMAZU                            Claim 003779, Payment                               5600-000                                     $667.00       $9,034,745.78
                                                                          100.00000%
                                PO Box 16584
                                Sugar Land, TX 77496
   08/27/14           33512     LIQUIDITY SOLUTIONS, INC.                 Claim 003780, Payment                               5600-000                                  $1,915.00        $9,032,830.78
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33513     TIFFANY HERBERT                           Claim 003781, Payment                               5600-000                                     $227.00       $9,032,603.78
                                                                          100.00000%
                                535 Patrick Street
                                Minden, LA 71055
   08/27/14           33514     BASIL BESHKOV                             Claim 003782A, Payment                              5600-000                                  $2,600.00        $9,030,003.78
                                                                          100.00000%
                                521 N ROXBURY DR
                                BEVERLY HILLS, CA 90210
   08/27/14           33515     CHARLES BENWAY                            Claim 003783, Payment                               5600-000                                     $835.00       $9,029,168.78
                                                                          100.00000%
                                1224 Trinity Pl
                                Granite Falls, NC 28630
   08/27/14           33516     HAOWEI YI                                 Claim 003784, Payment                               5600-004                                  $1,616.00        $9,027,552.78
                                                                          100.00000%
                                319 BRACKEN PL
                                JACKSONVILLE, NC 28540
   08/27/14           33517     LATITIA FIGGS                             Claim 003785, Payment                               5600-000                                  $2,600.00        $9,024,952.78
                                                                          100.00000%
                                104 Esquire Lane
                                Elizabeth City, NC 27909
   08/27/14           33518     ROBERT AND DEBBIE VAN CAMP                Claim 003786, Payment                               5600-000                                  $2,005.00        $9,022,947.78
                                216 E. 4th St.Navarre, OH 44662           100.00000%
   08/27/14           33519     MICHEAL LONG                              Claim 003787, Payment                               5600-000                                  $2,480.49        $9,020,467.29
                                                                          100.00000%
                                5651 MEINHARDT RD
                                WESTMINSTER, CA 92683



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,545.49
                                                                             Document          Page 392 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           33520     JOSEPH SIEGMUND                          Claim 003788, Payment                               5600-000                                  $1,956.00        $9,018,511.29
                                                                         100.00000%
                                11975 Huntley Drive
                                Rancho Cucamunga, CA 91739
   08/27/14           33521     JOSEPHINE DELPINO                        Claim 003789, Payment                               5600-004                                  $2,600.00        $9,015,911.29
                                                                         100.00000%
                                PO Box 770464
                                Coral Springs, FL 33077
   08/27/14           33522     CAMILLE CRAYBAS                          Claim 003790, Payment                               5600-000                                     $444.00       $9,015,467.29
                                                                         100.00000%
                                76 Eldredge Avenue
                                East Greenwich, RI 02818
   08/27/14           33523     COURTNEY WISE                            Claim 003791, Payment                               5600-000                                     $344.00       $9,015,123.29
                                                                         100.00000%
                                116 Pond Oak Lane
                                Columbia, SC 29212
   08/27/14           33524     FRANK CUNNINGHAM                         Claim 003792, Payment                               5600-004                                     $373.00       $9,014,750.29
                                                                         100.00000%
                                PO Box 12454
                                Columbus, GA 31917
   08/27/14           33525     KATHLEEN BLAKELEY                        Claim 003793, Payment                               5600-000                                  $2,600.00        $9,012,150.29
                                                                         100.00000%
                                69 Tapestry Lane
                                Newnan, GA 30265
   08/27/14           33526     DANNY GIVENS                             Claim 003794, Payment                               5600-000                                  $1,336.00        $9,010,814.29
                                                                         100.00000%
                                1767 South East Harrison St
                                Stewart, FL 34997
   08/27/14           33527     FRANK KALER                              Claim 003795, Payment                               5600-000                                  $2,600.00        $9,008,214.29
                                                                         100.00000%
                                6563 Irving Ave
                                Pennsauken, NJ 08109
   08/27/14           33528     JORDAN SMITHSON                          Claim 003796, Payment                               5600-004                                  $2,185.00        $9,006,029.29
                                                                         100.00000%
                                1429 Sarver Road
                                Worthington, PA 16262




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $14,438.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33529     PHYLLIS WILSON                            Claim 003797, Payment                               5600-000                                     $531.00       $9,005,498.29
                                                                          100.00000%
                                PO BOX 22
                                Minneapolis, NC 28652
   08/27/14           33530     SECOND CHANCE CREDIT                      Claim 003798, Payment                               5600-000                                     $810.00       $9,004,688.29
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           33531     ARGO PARTNERS                             Claim 003799, Payment                               5600-000                                  $2,600.00        $9,002,088.29
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33532     JESSICA SEYFARTH                          Claim 003800, Payment                               5600-004                                  $2,600.00        $8,999,488.29
                                                                          100.00000%
                                415 Martin Road
                                Portland, TN 37148
   08/27/14           33533     SYRITTA FLORENCE                          Claim 003801, Payment                               5600-000                                     $612.00       $8,998,876.29
                                                                          100.00000%
                                203 Lawndale Drive
                                Memphis, TN 38107
   08/27/14           33534     JANINE KRUPA FKA KHALIFA                  Claim 003802, Payment                               5600-000                                     $791.00       $8,998,085.29
                                                                          100.00000%
                                240 Mason Ave
                                Hamilton, NJ 08610
   08/27/14           33535     JAMES HANSBERRY                           Claim 003803, Payment                               5600-000                                     $307.00       $8,997,778.29
                                                                          100.00000%
                                8210 Autumnwood Road
                                Mabeldale, AR 72103
   08/27/14           33536     ARGO PARTNERS                             Claim 003804, Payment                               5600-000                                  $2,600.00        $8,995,178.29
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33537     LETTIE RANDELLS                           Claim 003805, Payment                               5600-000                                  $2,600.00        $8,992,578.29
                                                                          100.00000%
                                2422 Wainwright Street
                                Camden, NJ 08104




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 394 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33538     LIQUIDITY SOLUTIONS, INC.                 Claim 003806, Payment                               5600-000                                  $2,160.00        $8,990,418.29
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33539     DOUGLAS BODDEN                            Claim 003807A, Payment                              5600-000                                  $2,359.00        $8,988,059.29
                                1733 Dayton St., Apt. 4Mayville, WI 53050 100.00000%
   08/27/14           33540     CHRISTINE THOMPSON                        Claim 003808, Payment                               5600-000                                     $407.00       $8,987,652.29
                                703 Jackson Ave.Spirit Lake, IA 51360     100.00000%
   08/27/14           33541     VAN STEVENSON                             Claim 003809, Payment                               5600-000                                     $933.00       $8,986,719.29
                                                                          100.00000%
                                3101 Gough St Apt 102
                                San Francisco, CA 94123
   08/27/14           33542     SIMEON LUADERS                            Claim 003810A, Payment                              5600-000                                     $316.00       $8,986,403.29
                                                                          100.00000%
                                2313 Saline Rd.
                                Fenton, MO 63026
   08/27/14           33543     ARGO PARTNERS                             Claim 003811, Payment                               5600-000                                  $2,600.00        $8,983,803.29
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33544     ARGO PARTNERS                             Claim 003812, Payment                               5600-000                                  $2,600.00        $8,981,203.29
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33545     KRISTINA HALLING                          Claim 003813, Payment                               5600-000                                     $403.00       $8,980,800.29
                                                                          100.00000%
                                137 E Campo Bello Dr
                                Phoenix, AZ 85022
   08/27/14           33546     ARGO PARTNERS                             Claim 003814A, Payment                              5600-000                                  $2,600.00        $8,978,200.29
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33547     LATHYRELL ISLER                           Claim 003815, Payment                               5600-000                                  $2,350.00        $8,975,850.29
                                                                          100.00000%
                                7405 Landsworth Ave.
                                Henrico, VA 23228




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $16,728.00
                                                                             Document          Page 395 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33548     DEREK DANIELS                             Claim 003817, Payment                               5600-000                                     $418.00       $8,975,432.29
                                                                          100.00000%
                                4926 Anderson Rd
                                Hermantown, MN 55811
   08/27/14           33549     TIM VASSION                               Claim 003818, Payment                               5600-000                                     $493.00       $8,974,939.29
                                                                          100.00000%
                                1222 S. 4th St.
                                Philadelphia, PA 19147
   08/27/14           33550     NATHAN MILES                              Claim 003819, Payment                               5600-000                                  $2,600.00        $8,972,339.29
                                                                          100.00000%
                                27942 Bridlewood Dr
                                Castaic, CA 91384
   08/27/14           33551     SECOND CHANCE CREDIT                      Claim 003820, Payment                               5600-000                                  $2,600.00        $8,969,739.29
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           33552     ARGO PARTNERS                             Claim 003821, Payment                               5600-000                                  $2,600.00        $8,967,139.29
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33553     ROBERT DOLE                               Claim 003822, Payment                               5600-000                                  $1,318.00        $8,965,821.29
                                                                          100.00000%
                                21303 E. Maya Rd.
                                Queen Creek, AZ 85142
   08/27/14           33554     ARGO PARTNERS                             Claim 003823, Payment                               5600-000                                  $2,600.00        $8,963,221.29
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33555     NAPA PROMJAK                              Claim 003824A, Payment                              5600-000                                  $2,600.00        $8,960,621.29
                                                                          100.00000%
                                PO Box 6021
                                Arlington, VA 22206
   08/27/14           33556     STEPHAN CUNY                              Claim 003826, Payment                               5600-000                                  $2,600.00        $8,958,021.29
                                                                          100.00000%
                                70276 D Street
                                Covington, LA 70433




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33557     MICHAEL MONTEIRO                          Claim 003827, Payment                               5600-000                                  $1,946.00        $8,956,075.29
                                                                          100.00000%
                                279 Somers Rd
                                Ellington, CT 06029
   08/27/14           33558     RICKY LEWIS                               Claim 003828, Payment                               5600-000                                  $2,600.00        $8,953,475.29
                                                                          100.00000%
                                1548 Halls Top Rd
                                Newport, TN 37821
   08/27/14           33559     LORIE WHITE                               Claim 003829, Payment                               5600-000                                     $238.00       $8,953,237.29
                                                                          100.00000%
                                27489 Bordeau
                                Romulus, MI 48174
   08/27/14           33560     RONDELL RIVERA                            Claim 003830, Payment                               5600-004                                     $295.00       $8,952,942.29
                                                                          100.00000%
                                19120 Woodside Street
                                Harper Woods, MI 48225
   08/27/14           33561     ARGO PARTNERS                             Claim 003831, Payment                               5600-000                                  $2,600.00        $8,950,342.29
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33562     CATHY MOEN                                Claim 003833, Payment                               5600-000                                     $854.00       $8,949,488.29
                                                                          100.00000%
                                164 Hillery Trace
                                Brunswick, GA 31523
   08/27/14           33563     ARGO PARTNERS                             Claim 003834, Payment                               5600-000                                  $2,600.00        $8,946,888.29
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           33564     SANDRA RUTHERFORD                         Claim 003835, Payment                               5600-000                                     $365.00       $8,946,523.29
                                                                          100.00000%
                                1370 County Road 825
                                Blue Mountain, MS 38610
   08/27/14           33565     TRACY BROCK                               Claim 003836, Payment                               5600-000                                     $381.00       $8,946,142.29
                                                                          100.00000%
                                2 Par Lane
                                Pine Bluff, AR 71603
   08/27/14           33566     VIRGINIA TERRELL                          Claim 003837, Payment                               5600-000                                     $717.00       $8,945,425.29
                                                                          100.00000%
                                7337 Berkshire Downs Dr
                                Raleigh, NC 27616


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $12,596.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33567     KENNETH DODSON                            Claim 003838A, Payment                              5600-000                                  $1,200.00        $8,944,225.29
                                                                          100.00000%
                                1210 Caroline Street
                                Winchester, VA 22601-2904
   08/27/14           33568     GARY MANDIAK                              Claim 003839, Payment                               5600-000                                     $737.00       $8,943,488.29
                                                                          100.00000%
                                4515 Hedgewood Dr
                                Williamsville, NY 14221
   08/27/14           33569     SECOND CHANCE CREDIT                      Claim 003840, Payment                               5600-000                                  $1,215.00        $8,942,273.29
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           33570     KERI CALVERT                              Claim 003841, Payment                               5600-000                                  $2,600.00        $8,939,673.29
                                                                          100.00000%
                                671 County Rd 1635
                                Cullman, AL 35058
   08/27/14           33571     LARRY MASCARENAZ                          Claim 003843, Payment                               5600-000                                  $1,124.27        $8,938,549.02
                                                                          100.00000%
                                44 Left Hand Ditch Road
                                Riverton, WY 82501
   08/27/14           33572     REGINA CASARES                            Claim 003844, Payment                               5600-000                                      $30.00       $8,938,519.02
                                                                          100.00000%
                                26 South 20th Street
                                Kansas City, KS 66102
   08/27/14           33573     ARGO PARTNERS                             Claim 003845, Payment                               5600-000                                  $2,600.00        $8,935,919.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33574     GAIL ZULE                                 Claim 003846, Payment                               5600-000                                  $1,236.00        $8,934,683.02
                                                                          100.00000%
                                19705 K-192 Highway
                                Winchestor, KS 66097
   08/27/14           33575     MARIE LYNCH                               Claim 003847, Payment                               5600-000                                  $1,887.00        $8,932,796.02
                                                                          100.00000%
                                4809 Harvard Ave
                                Kansas City, MO 64133




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33576     ARGO PARTNERS                             Claim 003848, Payment                               5600-000                                  $2,600.00        $8,930,196.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33577     MYRIAM CIFUENTES                          Claim 003849, Payment                               5600-000                                  $2,600.00        $8,927,596.02
                                                                          100.00000%
                                ATTN: TIMOTHY PATRICK MAGUIRE
                                MAGUIRE MAGUIRE PC
                                200 JACKSON AVE
                                NORTHFIELD, NJ 08225
   08/27/14           33578     ARGO PARTNERS                             Claim 003852A, Payment                              5600-000                                  $2,600.00        $8,924,996.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33579     CODY STEWART                              Claim 003853, Payment                               5600-004                                     $835.00       $8,924,161.02
                                                                          100.00000%
                                517 W 19th St.
                                Clovis, NM 88101
   08/27/14           33580     ISABEL CANAS                              Claim 003855, Payment                               5600-000                                  $2,600.00        $8,921,561.02
                                                                          100.00000%
                                18815 Fairfax Ave
                                Dels Palos, CA 93620
   08/27/14           33581     LIQUIDITY SOLUTIONS, INC.                 Claim 003856, Payment                               5600-000                                  $2,417.00        $8,919,144.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33582     MIKE RIVERA                               Claim 003857, Payment                               5600-000                                     $636.00       $8,918,508.02
                                                                          100.00000%
                                9248 Edmondston Road
                                Greenbelt, MD 20770
   08/27/14           33583     CANDY RIEKEN                              Claim 003858, Payment                               5600-000                                     $263.00       $8,918,245.02
                                                                          100.00000%
                                511 Avenue H, NW
                                Childress, TX 79201
   08/27/14           33584     ASSET RECOVERY MANAGEMENT,                Claim 003859, Payment                               5600-000                                  $2,600.00        $8,915,645.02
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike, Road, AL 36064


                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33585     JOHN ROMANO                               Claim 003860, Payment                               5600-000                                  $2,600.00        $8,913,045.02
                                                                          100.00000%
                                14325 Stirling Drive
                                Lakewood Ranch, FL 34202-5701
   08/27/14           33586     LIQUIDITY SOLUTIONS, INC.                 Claim 003861, Payment                               5600-000                                  $1,516.00        $8,911,529.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33587     JOSE ORTIZ                                Claim 003862A, Payment                              5600-000                                  $2,600.00        $8,908,929.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           33588     ARGO PARTNERS                             Claim 003863, Payment                               5600-000                                  $2,600.00        $8,906,329.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33589     CHRISTOPHER KEPLEY                        Claim 003864, Payment                               5600-000                                  $2,600.00        $8,903,729.02
                                                                          100.00000%
                                374 Rexmont Rd.
                                Lebanon, PA 17042
   08/27/14           33590     ROLANDO MONTALBAN                         Claim 003865, Payment                               5600-000                                  $2,600.00        $8,901,129.02
                                                                          100.00000%
                                3314 Cannongate Ct.
                                San Jose, CA 95121
   08/27/14           33591     ROBERT CARDAZZONE                         Claim 003866, Payment                               5600-000                                     $369.00       $8,900,760.02
                                                                          100.00000%
                                69-66 74th St
                                Middle Village, NY 11379
   08/27/14           33592     SUE MCCRARY                               Claim 003867, Payment                               5600-000                                     $695.00       $8,900,065.02
                                                                          100.00000%
                                45 N Coleman Lane Space 118
                                Mills, WY 82604
   08/27/14           33593     HEIDI MANNING                             Claim 003868, Payment                               5600-004                                     $323.00       $8,899,742.02
                                                                          100.00000%
                                11410 North East 124th Street 649
                                Kirkland, WA 98034
   08/27/14           33594     STEPHEN CONNERS                           Claim 003869, Payment                               5600-000                                     $332.00       $8,899,410.02
                                                                          100.00000%
                                925 Sessions Ln
                                Kenner, LA 70065



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33595     CHRISTINE MCMAHON                         Claim 003870, Payment                               5600-004                                     $432.00       $8,898,978.02
                                                                          100.00000%
                                16330 Terrace Court
                                Orland Hills, IL 60487
   08/27/14           33596     ARGO PARTNERS                             Claim 003871, Payment                               5600-000                                  $2,600.00        $8,896,378.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33597     DEBRA ROACHE                              Claim 003872, Payment                               5600-000                                     $465.00       $8,895,913.02
                                                                          100.00000%
                                PO Box 892
                                Evans, GA 30809
   08/27/14           33598     LUIZ PEDRO RODRIGUES                      Claim 003873, Payment                               5600-000                                     $935.00       $8,894,978.02
                                                                          100.00000%
                                330 NW 22St.
                                Boca Raton, FL 33431
   08/27/14           33599     ARGO PARTNERS                             Claim 003874, Payment                               5600-000                                  $2,600.00        $8,892,378.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33600     FRED GALIARDO                             Claim 003875, Payment                               5600-000                                  $2,600.00        $8,889,778.02
                                                                          100.00000%
                                405 Park Ave. Apt. P
                                Rutherford, NJ 07070
   08/27/14           33601     VIVIAN F DORGAY                           Claim 003876, Payment                               5600-004                                  $2,600.00        $8,887,178.02
                                                                          100.00000%
                                PO BOX 295
                                ELGIN, SC 29045
   08/27/14           33602     DARLENE ATHEY                             Claim 003878, Payment                               5600-000                                     $373.00       $8,886,805.02
                                                                          100.00000%
                                140 Courtney Lane
                                Redgranite, WI 54970
   08/27/14           33603     LIQUIDITY SOLUTIONS, INC.                 Claim 003880, Payment                               5600-000                                  $2,600.00        $8,884,205.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33604     GEORGE NEWBERRY                           Claim 003881, Payment                               5600-000                                     $797.00       $8,883,408.02
                                                                          100.00000%
                                5205 Bannister Place
                                Mobile, AL 36608
   08/27/14           33605     ALBERT LOPEZ                              Claim 003883A, Payment                              5600-000                                     $808.00       $8,882,600.02
                                                                          100.00000%
                                122 West Emerson Avenue
                                Hoquiam, WA 98550
   08/27/14           33606     TEODORO A CORDERO                         Claim 003884, Payment                               5600-000                                     $710.00       $8,881,890.02
                                                                          100.00000%
                                PO BOX 2409
                                KENNER, LA 70063
   08/27/14           33607     JOSE LOPEZ                                Claim 003885, Payment                               5600-000                                  $1,690.00        $8,880,200.02
                                                                          100.00000%
                                7408 Cartwright Ave
                                Sun Valley, CA 91352-5108
   08/27/14           33608     THALYA OLMOS                              Claim 003886, Payment                               5600-000                                     $502.00       $8,879,698.02
                                                                          100.00000%
                                300 NW 67TH Avenue
                                Hollywood, FL 33024
   08/27/14           33609     SHANISHA N CAMPBELL                       Claim 003887, Payment                               5600-004                                      $99.00       $8,879,599.02
                                                                          100.00000%
                                5303 HICKORY CIR
                                MOUNTAIN HOME AFB, ID 83648
   08/27/14           33610     LIQUIDITY SOLUTIONS, INC.                 Claim 003888, Payment                               5600-000                                  $1,454.00        $8,878,145.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33611     DAVID FERNANDEZ                           Claim 003889, Payment                               5600-000                                     $416.00       $8,877,729.02
                                354 Collfield Ave.Staten Island, NY 10314 100.00000%
   08/27/14           33612     DANIEL MORRISON                           Claim 003890, Payment                               5600-000                                  $2,600.00        $8,875,129.02
                                                                          100.00000%
                                3909 Stough Rd
                                Concord, NC 28027
   08/27/14           33613     FELITA MARTINEZ                           Claim 003891, Payment                               5600-000                                  $2,209.00        $8,872,920.02
                                                                          100.00000%
                                127 W CEDARWOOD CIRCLE
                                KISSIMMEE, FL 34743



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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           33614     ARGO PARTNERS                            Claim 003893, Payment                               5600-000                                  $2,600.00        $8,870,320.02
                                12 West 37th St., 9th Fl.New York, NY    100.00000%
                                10018
   08/27/14           33615     JACQUELINE FANTASIA                      Claim 003897, Payment                               5600-000                                  $2,600.00        $8,867,720.02
                                                                         100.00000%
                                120 Alcott Place 8G
                                Bronx, NY 10475
   08/27/14           33616     MEREDITH GALYEAN                         Claim 003901, Payment                               5600-000                                  $2,600.00        $8,865,120.02
                                                                         100.00000%
                                131 Lindley Street
                                Rural Hall, NC 27045
   08/27/14           33617     WILFREDO PINZON                          Claim 003902, Payment                               5600-004                                  $1,033.00        $8,864,087.02
                                                                         100.00000%
                                18-54 Putnam Ave Apt 3L
                                Ridgewood, NY 11385
   08/27/14           33618     ROBERT AND SUSAN FORCIER AKINS Claim 003903, Payment                                         5600-000                                  $2,600.00        $8,861,487.02
                                                               100.00000%
                                1518 College Way
                                New Bern, NC 28562
   08/27/14           33619     JENNIFER BEAVER                          Claim 003905, Payment                               5600-000                                  $2,600.00        $8,858,887.02
                                                                         100.00000%
                                8631 Sea Pines Lane
                                Dayton, OH 45458
   08/27/14           33620     LEONARDO RAMOS                           Claim 003907, Payment                               5600-000                                  $2,600.00        $8,856,287.02
                                                                         100.00000%
                                c/o Paul Kramer, Esq.
                                103 N. 7th St.
                                Stroudsburg, PA 18360
   08/27/14           33621     ERIN SHINE                               Claim 003908, Payment                               5600-000                                     $268.00       $8,856,019.02
                                                                         100.00000%
                                PO Box 6142
                                Garden Grove, CA 92846
   08/27/14           33622     APOLINAR QUIROZ                          Claim 003909, Payment                               5600-000                                     $348.00       $8,855,671.02
                                                                         100.00000%
                                1020 Glenfinnan Dr
                                San Jose, CA 95122




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33623     SECOND CHANCE CREDIT                      Claim 003910, Payment                               5600-000                                  $1,305.00        $8,854,366.02
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           33624     DANIELLE JACOB                            Claim 003911, Payment                               5600-000                                     $259.00       $8,854,107.02
                                                                          100.00000%
                                156 Dreamfield Dr
                                Battle Creek, MI 49014
   08/27/14           33625     MARIE PAMELA B ROMERO                     Claim 003912, Payment                               5600-000                                     $875.00       $8,853,232.02
                                                                          100.00000%
                                949 Sunbonnet Loop
                                San Jose, CA 95125
   08/27/14           33626     DAVID MORAN                               Claim 003913A, Payment                              5600-000                                     $883.00       $8,852,349.02
                                                                          100.00000%
                                8270 W Oak Lawn Rd
                                Beloxi, MS 39532
   08/27/14           33627     LEAH GRIFFITH                             Claim 003919, Payment                               5600-000                                  $1,070.00        $8,851,279.02
                                                                          100.00000%
                                PO BOX 409176
                                Chicago, IL 60640
   08/27/14           33628     SHARON MAULDIN                            Claim 003920, Payment                               5600-000                                  $1,971.00        $8,849,308.02
                                                                          100.00000%
                                1894 Felix Canyon Road
                                Flying H, NM 88339
   08/27/14           33629     ESTHER PEOPLES                            Claim 003921, Payment                               5600-000                                  $2,600.00        $8,846,708.02
                                                                          100.00000%
                                6833 Riverdale Road Apt D-101
                                Riverdale, MD 20737
   08/27/14           33630     ANNETTA SMITH                             Claim 003922, Payment                               5600-000                                  $2,600.00        $8,844,108.02
                                                                          100.00000%
                                135-12 245TH ST
                                ROSEDALE, NY 11422
   08/27/14           33631     ARGO PARTNERS                             Claim 003923, Payment                               5600-000                                  $2,600.00        $8,841,508.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 404 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33632     MICHELLE TSVETANOV                        Claim 003924, Payment                               5600-000                                     $287.00       $8,841,221.02
                                                                          100.00000%
                                1238 Hermosa Dr
                                Lakewood, NJ 08701
   08/27/14           33633     ARGO PARTNERS                             Claim 003925, Payment                               5600-000                                  $2,600.00        $8,838,621.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33634     LIQUIDITY SOLUTIONS, INC.                 Claim 003926, Payment                               5600-000                                  $2,600.00        $8,836,021.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33635     DEBORAH VONSPRECKEN                       Claim 003927, Payment                               5600-000                                     $848.00       $8,835,173.02
                                                                          100.00000%
                                5016 Ridgeview Ct
                                North Richland Hills, TX 76180
   08/27/14           33636     JOANN GULLOCTTI                           Claim 003929, Payment                               5600-000                                  $2,600.00        $8,832,573.02
                                                                          100.00000%
                                2775 Woods Avenue
                                Oceanside, NY 11572
   08/27/14           33637     WENDY ABEL                                Claim 003930, Payment                               5600-000                                  $2,600.00        $8,829,973.02
                                                                          100.00000%
                                10348 Micah Lane
                                Hillsboro, MO 63050-5812
   08/27/14           33638     STEPHANIE GARCIA                          Claim 003931A, Payment                              5600-000                                  $1,969.00        $8,828,004.02
                                                                          100.00000%
                                17130 NW 42nd Pl
                                Miami, FL 33055
   08/27/14           33639     ARTURO ROBINSON                           Claim 003932, Payment                               5600-000                                  $2,600.00        $8,825,404.02
                                                                          100.00000%
                                5721 NW 199th St
                                Miami, FL 33015
   08/27/14           33640     BRIAN GRAY                                Claim 003933, Payment                               5600-000                                     $254.00       $8,825,150.02
                                                                          100.00000%
                                3795 GREGORY DR
                                NORTHBROOK, IL 60062




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           33641     ELANA ESPINOSA                            Claim 003934A, Payment                              5600-000                                  $2,600.00       $8,822,550.02
                                                                          100.00000%
                                AKA Elana Chua
                                162 Redwood Ave
                                Wayne, NJ 07470
   08/27/14           33642     LAURA MEJIA                               Claim 003935, Payment                               5600-004                                  $2,600.00       $8,819,950.02
                                                                          100.00000%
                                9715 S Armley Ave
                                WHITTIER, CA 90604
   08/27/14           33643     ROSALBA TORRES                            Claim 003936, Payment                               5600-004                                  $2,600.00       $8,817,350.02
                                                                          100.00000%
                                9715 Armley Ave
                                Whittier, CA 90604
   08/27/14           33644     ARGO PARTNERS                             Claim 003937, Payment                               5600-000                                  $2,600.00       $8,814,750.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33645     ARGO PARTNERS                             Claim 003940A, Payment                              5600-000                                  $2,600.00       $8,812,150.02
                                12 West 37th St., 9th Fl.New York, NY     100.00000%
                                10018
   08/27/14           33646     RUSSELL PINE                              Claim 003943A, Payment                              5600-000                                  $2,600.00       $8,809,550.02
                                                                          100.00000%
                                112B Casentini Street
                                Salinas, CA 93907
   08/27/14           33647     ARGO PARTNERS                             Claim 003945, Payment                               5600-000                                  $2,600.00       $8,806,950.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33648     MARY GARZA                                Claim 003946, Payment                               5600-000                                  $1,775.00       $8,805,175.02
                                                                          100.00000%
                                4414 52nd Street
                                Holland, MI 49423
   08/27/14           33649     ARGO PARTNERS                             Claim 003947, Payment                               5600-000                                  $2,600.00       $8,802,575.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $22,575.00
                                                                             Document          Page 406 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33650     TIMOTHY F BURROUGHS                       Claim 003948, Payment                               5600-000                                  $2,600.00        $8,799,975.02
                                                                          100.00000%
                                1812 31ST AVE
                                GULFPORT, MS 39501
   08/27/14           33651     JOHN MCHUGH                               Claim 003949, Payment                               5600-000                                     $718.00       $8,799,257.02
                                                                          100.00000%
                                65 Kenwood Ave.
                                Worcester, MA 01605
   08/27/14           33652     ARGO PARTNERS                             Claim 003950, Payment                               5600-000                                  $1,184.00        $8,798,073.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33653     ASSET RECOVERY MANAGEMENT,                Claim 003951, Payment                               5600-000                                  $2,600.00        $8,795,473.02
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           33654     CARMEN TEMPONE                            Claim 003953, Payment                               5600-000                                  $2,600.00        $8,792,873.02
                                                                          100.00000%
                                690 MICHELLE DR
                                BILOXI, MS 39532
   08/27/14           33655     DANIEL FRANCIS                            Claim 003954, Payment                               5600-000                                   $2,118.00       $8,790,755.02
                                                                          100.00000%
                                6804 Breen Drive
                                Liberty, NC 27298
   08/27/14           33656     SHERRY SUNKLER                            Claim 003956, Payment                               5600-000                                     $581.00       $8,790,174.02
                                                                          100.00000%
                                21964 Harrington Park Road
                                Rock Hall, MD 21661
   08/27/14           33657     SECOND CHANCE CREDIT                      Claim 003957A, Payment                              5600-000                                  $2,443.00        $8,787,731.02
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           33658     MCKINNEY GINGER AND ROBERT L JR Claim 003958, Payment                                         5600-000                                  $2,600.00        $8,785,131.02
                                                                100.00000%
                                POB 327
                                South Charleston, OH 45368



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                                                                                                                                                     Desc Main         $17,444.00
                                                                             Document          Page 407 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           33659     JONATHAN R BRANDT                        Claim 003959, Payment                               5600-000                                  $2,600.00        $8,782,531.02
                                                                         100.00000%
                                4389 WEST 48
                                CLEVELAND, OH 44144
   08/27/14           33660     LISA KRAUSE                              Claim 003960, Payment                               5600-000                                  $1,103.00        $8,781,428.02
                                                                         100.00000%
                                510 Birdie Court
                                Onalaska, WI 54650
   08/27/14           33661     MARGARET FREEMAN                         Claim 003962, Payment                               5600-000                                     $963.00       $8,780,465.02
                                                                         100.00000%
                                1105 Fowler Ford Rd
                                Portland, TN 37148
   08/27/14           33662     JUAN ORTIZ                               Claim 003963, Payment                               5600-000                                  $2,600.00        $8,777,865.02
                                                                         100.00000%
                                48 East Munson Ave.
                                Dover, NJ 07801
   08/27/14           33663     MIRIAM GOMEZ                             Claim 003964, Payment                               5600-000                                     $768.00       $8,777,097.02
                                                                         100.00000%
                                129 Jewel St Apt 1R
                                Brooklyn, NY 11222
   08/27/14           33664     FRANCISCO FERNANDEZ                      Claim 003965, Payment                               5600-000                                  $2,600.00        $8,774,497.02
                                                                         100.00000%
                                104 Cortland Avenue
                                Hicksville, NY 11801
   08/27/14           33665     DONNA PINTO                              Claim 003966, Payment                               5600-000                                     $631.00       $8,773,866.02
                                                                         100.00000%
                                10223 VillA Arceno Ave
                                Las Vagas, NV 89135
   08/27/14           33666     DAVID DANIELS                            Claim 003967, Payment                               5600-000                                  $2,600.00        $8,771,266.02
                                                                         100.00000%
                                7052 East 71st Court
                                Tulsa, OK 74133
   08/27/14           33667     MARIE NGUYEN                             Claim 003968, Payment                               5600-000                                     $681.00       $8,770,585.02
                                                                         100.00000%
                                3695 Briarhill St. #1
                                Mohegan Lake, NY 10547




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33668     ARGO PARTNERS                             Claim 003969, Payment                               5600-000                                  $2,600.00        $8,767,985.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33669     ROBERT J WALTERS JR                       Claim 003970A, Payment                              5600-000                                  $2,600.00        $8,765,385.02
                                                                          100.00000%
                                311 E CLARK ST
                                GRANTSVILLE, UT 84029
   08/27/14           33670     SUZETTE SWERKO                            Claim 003971, Payment                               5600-000                                  $2,600.00        $8,762,785.02
                                                                          100.00000%
                                143 Southern Pecan Circle Unit 208
                                Winter Garden, FL 34787
   08/27/14           33671     BARBARA BOONE                             Claim 003972, Payment                               5600-000                                     $866.00       $8,761,919.02
                                                                          100.00000%
                                4265 Sterling Pointe Dr
                                Douglasville, GA 30135
   08/27/14           33672     ROBERT JONES                              Claim 003975, Payment                               5600-000                                  $2,600.00        $8,759,319.02
                                                                          100.00000%
                                226 Sunset Drive
                                Hurricane, WV 25526
   08/27/14           33673     LIQUIDITY SOLUTIONS, INC.                 Claim 003976, Payment                               5600-000                                  $2,082.00        $8,757,237.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33674     LIQUIDITY SOLUTIONS, INC.                 Claim 003977, Payment                               5600-000                                  $2,600.00        $8,754,637.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33675     GARY ALLISON                              Claim 003978, Payment                               5600-000                                  $2,600.00        $8,752,037.02
                                                                          100.00000%
                                5050 TAMARUS ST 105
                                LAS VEGAS, NV 89119
   08/27/14           33676     JUAN ROSA                                 Claim 003980, Payment                               5600-000                                     $480.00       $8,751,557.02
                                                                          100.00000%
                                13612 Pondorosa Ranch
                                Roanoke, TX 76262




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33677     PATRICIA BAZNER                           Claim 003981, Payment                               5600-000                                  $2,600.00        $8,748,957.02
                                                                          100.00000%
                                2027 WILL ROGERS WAY
                                KINGMAN, AZ 86409
   08/27/14           33678     LIQUIDITY SOLUTIONS, INC.                 Claim 003982, Payment                               5600-000                                  $2,600.00        $8,746,357.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33679     SARA CONNOLLY                             Claim 003983, Payment                               5600-000                                  $1,201.00        $8,745,156.02
                                                                          100.00000%
                                212 READING AVE
                                OAKLYN, NJ 08107
   08/27/14           33680     TESSA VERNSTROM                           Claim 003984, Payment                               5600-000                                     $419.00       $8,744,737.02
                                                                          100.00000%
                                3607 35TH AVE W
                                VANCOUVER, BC V6N 2N6 CANADA
   08/27/14           33681     SUSANA NUNEZ                              Claim 003985, Payment                               5600-000                                  $2,600.00        $8,742,137.02
                                                                          100.00000%
                                5100 Parkerwood Dr
                                Knightdale, NC 27545
   08/27/14           33682     CHARLES P DALE                            Claim 003986, Payment                               5600-000                                     $857.00       $8,741,280.02
                                                                          100.00000%
                                1588 WILDWOOD LN
                                ELGIN, SC 29045
   08/27/14           33683     JAMES GOSSETT                             Claim 003988, Payment                               5600-004                                  $2,600.00        $8,738,680.02
                                                                          100.00000%
                                410 N Kimmons St.
                                Landis, NC 28088
   08/27/14           33684     JOE AND KARLA APPELHANS                   Claim 003989, Payment                               5600-000                                  $2,600.00        $8,736,080.02
                                                                          100.00000%
                                35855 POPPY RIDGE RD
                                SOLDOTNA, AK 99669
   08/27/14           33685     LIQUIDITY SOLUTIONS, INC.                 Claim 003990, Payment                               5600-000                                  $1,797.00        $8,734,283.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33686     SHIRLEY WALKER                            Claim 003991, Payment                               5600-004                                     $306.00       $8,733,977.02
                                                                          100.00000%
                                420 Villa Trace
                                Apt D2
                                Villa Rica, GA 30180
   08/27/14           33687     SHANNON HECTOR                            Claim 003992, Payment                               5600-000                                     $164.00       $8,733,813.02
                                                                          100.00000%
                                12 Mystic Lane
                                Norwalk, CT 06850
   08/27/14           33688     ASSET RECOVERY MANAGEMENT,                Claim 003993, Payment                               5600-000                                  $2,600.00        $8,731,213.02
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           33689     MARIAN PARCO                              Claim 003994, Payment                               5600-000                                     $670.00       $8,730,543.02
                                                                          100.00000%
                                13 School St
                                Rockport, MA 01966
   08/27/14           33690     JUAN BANDA                                Claim 003995A, Payment                              5600-000                                  $2,600.00        $8,727,943.02
                                                                          100.00000%
                                13096 Blackbird St. Space 53
                                Garden Grove, CA 92843
   08/27/14           33691     DENISE HARDWICK                           Claim 003996, Payment                               5600-000                                  $2,600.00        $8,725,343.02
                                                                          100.00000%
                                6040 BROOKHILL CT
                                ORLANDO, FL 32810
   08/27/14           33692     GLORIA GALLEGO                            Claim 003998, Payment                               5600-000                                  $2,600.00        $8,722,743.02
                                                                          100.00000%
                                39-14 57th Street
                                Woodside, NY 11377
   08/27/14           33693     LIQUIDITY SOLUTIONS, INC.                 Claim 004000, Payment                               5600-000                                  $2,600.00        $8,720,143.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33694     MARSHA POOL                               Claim 004003, Payment                               5600-000                                     $636.00       $8,719,507.02
                                                                          100.00000%
                                104 S Rye Blvd
                                Gun Barrel City, TX 75156



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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           33695     ESTEBAN GOMEZ                            Claim 004004, Payment                               5600-004                                  $1,299.00        $8,718,208.02
                                                                         100.00000%
                                627 East 53rd street
                                Los Angeles, CA 90011
   08/27/14           33696     RITCHIE L WOOD                           Claim 004005, Payment                               5600-000                                     $709.00       $8,717,499.02
                                                                         100.00000%
                                2510 WOODS CIR
                                JONESVILLE, NC 28642
   08/27/14           33697     DARREN RUSSO                             Claim 004006, Payment                               5600-004                                     $494.00       $8,717,005.02
                                                                         100.00000%
                                34 Lynn Pl
                                Bethpage, NY 11714
   08/27/14           33698     DOLAN TORRES                             Claim 004007, Payment                               5600-000                                  $2,600.00        $8,714,405.02
                                                                         100.00000%
                                117 Lancha Circle, Apt 203
                                Indian Harbour Beach, FL 32937
   08/27/14           33699     TOMMIE CRUMEDY                           Claim 004008, Payment                               5600-000                                  $2,600.00        $8,711,805.02
                                                                         100.00000%
                                2530 Harry Wurzbach Apt. 2210
                                San Antonio, TX 78209
   08/27/14           33700     KEVIN AND CELINA DAMPIER                 Claim 004010, Payment                               5600-000                                  $2,600.00        $8,709,205.02
                                                                         100.00000%
                                3320 57th Ave.
                                Vero Beach, FL 32966
   08/27/14           33701     PEARLEAN DAY                             Claim 004011, Payment                               5600-000                                     $276.00       $8,708,929.02
                                                                         100.00000%
                                812 Charles St.
                                Ruleville, MS 38771
   08/27/14           33702     MARITZA PEREZ                            Claim 004013, Payment                               5600-000                                  $2,600.00        $8,706,329.02
                                                                         100.00000%
                                16166 Firestone Ln
                                Chino Hills, CA 91709
   08/27/14           33703     HIESEN AND JEFF BIRMINGHAM               Claim 004014, Payment                               5600-000                                  $2,600.00        $8,703,729.02
                                                                         100.00000%
                                1730 JEWEL STAR CT
                                RENO, NV 89506




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33704     JENNIFER THOMAS                           Claim 004015, Payment                               5600-000                                  $2,600.00        $8,701,129.02
                                                                          100.00000%
                                544 N AIRWAY DR
                                TUCSON, AZ 85750
   08/27/14           33705     JANIE BADE                                Claim 004016, Payment                               5600-000                                  $2,600.00        $8,698,529.02
                                                                          100.00000%
                                302 N CHESTNUT
                                WENONA, IL 61377
   08/27/14           33706     ANITA MALPICA                             Claim 004018, Payment                               5600-000                                  $2,600.00        $8,695,929.02
                                                                          100.00000%
                                11 Worthington Court
                                Carmel, NY 10512
   08/27/14           33707     HILARY ERBE                               Claim 004019, Payment                               5600-000                                     $260.00       $8,695,669.02
                                                                          100.00000%
                                1635 W HAVENWOOD AVE
                                NAMPA, ID 83651
   08/27/14           33708     DORINE BRACKET                            Claim 004028A, Payment                              5600-000                                     $615.00       $8,695,054.02
                                                                          100.00000%
                                427 Charles Street
                                Pittsburg, PA 15210
   08/27/14           33709     SUZETTE MASCHI                            Claim 004030, Payment                               5600-000                                  $2,600.00        $8,692,454.02
                                                                          100.00000%
                                827 Oronoke Rd 9-7
                                Waterbury, CT 06708
   08/27/14           33710     KEVIN HITZGES                             Claim 004032, Payment                               5600-000                                  $2,600.00        $8,689,854.02
                                                                          100.00000%
                                3702 SE 8th Ave
                                Cape Coral, FL 33904
   08/27/14           33711     THOMAS DALY                               Claim 004033, Payment                               5600-000                                  $2,600.00        $8,687,254.02
                                                                          100.00000%
                                PO BOX 650555
                                Vero Beach, FL 32965
   08/27/14           33712     TERRY MOSER                               Claim 004034, Payment                               5600-000                                  $2,164.00        $8,685,090.02
                                                                          100.00000%
                                211 South 3rd Street
                                Saint Clair, PA 17970




                                    Case 10-30631               Doc 5751       Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $18,639.00
                                                                             Document          Page 413 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33713     KAYLYNN DO                                Claim 004035, Payment                               5600-000                                  $2,600.00        $8,682,490.02
                                                                          100.00000%
                                6 DARA LN
                                WORCESTER, MA 01609-1053
   08/27/14           33714     COLLEEN M MAZZELLA                        Claim 004036, Payment                               5600-000                                  $1,500.00        $8,680,990.02
                                                                          100.00000%
                                1914 S. Sneed Ave.
                                SEDALIA, MO 65301
   08/27/14           33715     ASSET RECOVERY MANAGEMENT,                Claim 004037, Payment                               5600-000                                  $2,600.00        $8,678,390.02
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           33716     ARGO PARTNERS                             Claim 004038, Payment                               5600-000                                  $2,600.00        $8,675,790.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33717     EMMA SANCHEZ                              Claim 004040, Payment                               5600-000                                  $2,600.00        $8,673,190.02
                                                                          100.00000%
                                162 Onondaga Ave.
                                San Francisco, CA 94112
   08/27/14           33718     SALLY RAUWOLF                             Claim 004041, Payment                               5600-004                                  $2,600.00        $8,670,590.02
                                                                          100.00000%
                                PO BOX 162
                                Wilseyville, CA 95257
   08/27/14           33719     JOSEPH RAULWOLF                           Claim 004042, Payment                               5600-004                                  $1,465.00        $8,669,125.02
                                                                          100.00000%
                                4350 Blue Mountain Rd PO Box 162
                                Wilseyville, CA 95257
   08/27/14           33720     DOROTHY BIGGS                             Claim 004044, Payment                               5600-000                                      $30.00       $8,669,095.02
                                                                          100.00000%
                                134 Dillard Lane
                                Montgomery, AL 36116
   08/27/14           33721     NANITA SULIT                              Claim 004045, Payment                               5600-000                                  $2,361.00        $8,666,734.02
                                                                          100.00000%
                                53 CROMAN CT
                                HAZLET, NJ 07730




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 414 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33722     PAUL SCHLEHR                              Claim 004046, Payment                               5600-000                                     $736.00       $8,665,998.02
                                                                          100.00000%
                                2200 Van Diest Road
                                Winnemucca, NV 89445
   08/27/14           33723     MONICA SILAPHET                           Claim 004047, Payment                               5600-000                                  $1,452.00        $8,664,546.02
                                                                          100.00000%
                                349 Second Ave 8
                                San Francisco, CA 94118
   08/27/14           33724     ROBIN KUNKEL                              Claim 004048, Payment                               5600-000                                  $1,206.00        $8,663,340.02
                                                                          100.00000%
                                2211 NE 244TH AVE
                                CAMAS, WA 98607
   08/27/14           33725     CHRISTINA BONILLA                         Claim 004049, Payment                               5600-004                                  $2,600.00        $8,660,740.02
                                                                          100.00000%
                                184 Beach 61 Street 1st Floor
                                Arverne, NY 11692
   08/27/14           33726     BLANCA MUNOZ                              Claim 004050, Payment                               5600-000                                     $377.00       $8,660,363.02
                                                                          100.00000%
                                2545 Linden Blvd Apt 5E
                                Brooklyn, NY 11208
   08/27/14           33727     ARGO PARTNERS                             Claim 004051, Payment                               5600-000                                  $2,600.00        $8,657,763.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33728     SECOND CHANCE CREDIT                      Claim 004052, Payment                               5600-000                                  $1,671.00        $8,656,092.02
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           33729     JAMES KEMLY                               Claim 004053, Payment                               5600-000                                  $2,600.00        $8,653,492.02
                                                                          100.00000%
                                484 B County Road 614
                                Asbury, NJ 08802
   08/27/14           33730     MARIA GUZMAN                              Claim 004054, Payment                               5600-000                                     $428.00       $8,653,064.02
                                                                          100.00000%
                                657 W 161 St Apt 4-H
                                New York, NY 10032




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $13,670.00
                                                                             Document          Page 415 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33731     STEPHANIE MANCINI                         Claim 004055A, Payment                              5600-000                                  $1,866.00        $8,651,198.02
                                                                          100.00000%
                                19 WAGNER ST
                                STATEN ISLAND, NY 10305
   08/27/14           33732     GUSTAVO PENA                              Claim 004056, Payment                               5600-000                                  $2,600.00        $8,648,598.02
                                                                          100.00000%
                                13030 Signature Point 24
                                San Diego, CA 92130
   08/27/14           33733     MARCELINA A MACASAET                      Claim 004057, Payment                               5600-004                                     $478.00       $8,648,120.02
                                                                          100.00000%
                                9752 75th Street Apt A-33
                                Ozone Park, NY 11416
   08/27/14           33734     LENNY FOUNTAIN                            Claim 004058, Payment                               5600-000                                  $2,493.00        $8,645,627.02
                                                                          100.00000%
                                9177 Knight St
                                Mecosta, MI 49332
   08/27/14           33735     GLORIA CLOTEYKINE                         Claim 004059, Payment                               5600-000                                  $2,600.00        $8,643,027.02
                                                                          100.00000%
                                3722 Shepard Street
                                Brentwood, MD 20722
   08/27/14           33736     JOHN SANTANA                              Claim 004060, Payment                               5600-000                                  $1,655.00        $8,641,372.02
                                                                          100.00000%
                                2761 Sw District Ave
                                Port St. Lucie, FL 34953
   08/27/14           33737     VALERIE VESS JIMENEZ                      Claim 004061, Payment                               5600-000                                     $331.00       $8,641,041.02
                                                                          100.00000%
                                2756 SCOTT BLVD
                                3
                                SANTA CLARA, CA 95050
   08/27/14           33738     SECOND CHANCE CREDIT                      Claim 004062, Payment                               5600-000                                     $956.00       $8,640,085.02
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           33739     SARA KEY                                  Claim 004063, Payment                               5600-000                                     $210.00       $8,639,875.02
                                                                          100.00000%
                                4088 Stevenson Blvd Apt. 904
                                Fremont, CA 94538



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $13,189.00
                                                                             Document          Page 416 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33740     JOSE CASILLAS                             Claim 004064, Payment                               5600-000                                  $2,305.00        $8,637,570.02
                                                                          100.00000%
                                7531 Lindsey Ave.
                                Pico Rivera, CA 90660
   08/27/14           33741     LIQUIDITY SOLUTIONS, INC.                 Claim 004065, Payment                               5600-000                                  $2,600.00        $8,634,970.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           33742     LIQUIDITY SOLUTIONS                       Claim 004066, Payment                               5600-000                                  $2,600.00        $8,632,370.02
                                1 University Plaza, Ste. 312Hackensack,   100.00000%
                                NJ 07601
   08/27/14           33743     ARGO PARTNERS                             Claim 004068, Payment                               5600-000                                  $2,600.00        $8,629,770.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33744     TIMOTHY A BURCH                           Claim 004069, Payment                               5600-000                                  $2,600.00        $8,627,170.02
                                                                          100.00000%
                                311 S JOHN ST
                                GOLDSBORO, NC 27530
   08/27/14           33745     ALLEN E PARKER                            Claim 004070, Payment                               5600-000                                  $2,600.00        $8,624,570.02
                                                                          100.00000%
                                4931 BAKER PLANTATION WAY
                                ACWORTH, GA 30101
   08/27/14           33746     KAREN DILLON                              Claim 004072, Payment                               5600-004                                     $152.00       $8,624,418.02
                                                                          100.00000%
                                1617 Willoughby Drive
                                Parkersburgh, WV 26101
   08/27/14           33747     PATRICIA ROONEY                           Claim 004074, Payment                               5600-000                                     $336.00       $8,624,082.02
                                                                          100.00000%
                                108 Totten Ave.
                                Deer Park, NY 11729
   08/27/14           33748     CATHERINE NAVALES                         Claim 004075A, Payment                              5600-000                                     $618.00       $8,623,464.02
                                                                          100.00000%
                                14667 Plummer Street
                                Panorama City, CA 91402




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 417 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33749     LORI SHAFER                               Claim 004076, Payment                               5600-004                                  $1,300.00        $8,622,164.02
                                                                          100.00000%
                                4920 ASHLEY LN
                                231
                                INVER GROVE, MN 55077
   08/27/14           33750     HELEN GUTIERREZ                           Claim 004079, Payment                               5600-000                                     $353.00       $8,621,811.02
                                                                          100.00000%
                                14813 White Magnolia Ct.
                                Orlando, Fl 32824
   08/27/14           33751     BRANDON BATES                             Claim 004081A, Payment                              5600-000                                     $500.00       $8,621,311.02
                                                                          100.00000%
                                3908 E 400 North
                                Rigby, ID 83442
   08/27/14           33752     ARGO PARTNERS                             Claim 004082, Payment                               5600-000                                  $2,600.00        $8,618,711.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33753     JOSEPH D MARKEY                           Claim 004083, Payment                               5600-000                                  $1,166.00        $8,617,545.02
                                                                          100.00000%
                                1091 Manzaniz Drive
                                Pacifica, CA 94044
   08/27/14           33754     DARCEY MESARIS                            Claim 004084, Payment                               5600-000                                     $537.00       $8,617,008.02
                                20926 Pine Ridge Dr.Cornelius, NC         100.00000%
                                28031
   08/27/14           33755     BOYD AND JENNIFER FREDERICK               Claim 004085, Payment                               5600-004                                     $707.00       $8,616,301.02
                                                                          100.00000%
                                6818 53RD ST
                                15
                                KENOSHO, WI 53144
   08/27/14           33756     MILAGROS SANCHEZ                          Claim 004086, Payment                               5600-000                                  $2,390.00        $8,613,911.02
                                                                          100.00000%
                                10 E Bell Rd Apt 2079
                                Phoenix, AZ 85022
   08/27/14           33757     CONSTANCE GRUSZEWSKI                      Claim 004087, Payment                               5600-000                                     $361.00       $8,613,550.02
                                                                          100.00000%
                                8496 Limeridge Rd
                                Ravenna, OH 44266




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 418 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33758     TYLER FREIHEIT                            Claim 004089, Payment                               5600-000                                  $2,152.00        $8,611,398.02
                                                                          100.00000%
                                5930 SORRELL HUNT RD
                                HAYMARKET, VA20169
   08/27/14           33759     WILL WILLIAMS JR                          Claim 004090, Payment                               5600-000                                  $2,600.00        $8,608,798.02
                                                                          100.00000%
                                4800 NORTHVIEW
                                EL PASO, TX 79934
   08/27/14           33760     ARGO PARTNERS                             Claim 004092, Payment                               5600-000                                  $2,600.00        $8,606,198.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33761     ARGO PARTNERS                             Claim 004094, Payment                               5600-000                                  $2,600.00        $8,603,598.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33762     EMILIO RAMIREZ                            Claim 004095, Payment                               5600-004                                     $459.00       $8,603,139.02
                                                                          100.00000%
                                103 Thayer St
                                52C
                                New York, NY 10040
   08/27/14           33763     MARILYN RIVERA                            Claim 004096, Payment                               5600-000                                  $2,600.00        $8,600,539.02
                                                                          100.00000%
                                600 Beideman Ave
                                Camden, NJ 08105
   08/27/14           33764     MICHAEL AND JEANETTE BATES                Claim 004097, Payment                               5600-000                                  $2,209.00        $8,598,330.02
                                                                          100.00000%
                                502 E 7TH
                                HUTCHINSON, KS 67501-6313
   08/27/14           33765     ARGO PARTNERS                             Claim 004098, Payment                               5600-000                                  $2,600.00        $8,595,730.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33766     ARGO PARTNERS                             Claim 004100, Payment                               5600-000                                  $2,600.00        $8,593,130.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 419 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33767     JODY MURRAY                               Claim 004102, Payment                               5600-000                                  $2,600.00        $8,590,530.02
                                                                          100.00000%
                                17518 NW Hintzville Rd.
                                Seabeck, WA 98380
   08/27/14           33768     MELANIA MEJIA                             Claim 004104, Payment                               5600-000                                  $1,177.00        $8,589,353.02
                                                                          100.00000%
                                7847 Los Arboles Place
                                Riverside, CA 92504
   08/27/14           33769     JUAN MARTIN                               Claim 004105, Payment                               5600-000                                     $369.00       $8,588,984.02
                                                                          100.00000%
                                804 South Casa Rd
                                Pharr, TX 78577
   08/27/14           33770     JOSE MONTELONGO                           Claim 004106, Payment                               5600-000                                     $496.00       $8,588,488.02
                                                                          100.00000%
                                7324 E JUNE ST
                                MESA, AZ 85207
   08/27/14           33771     PATRICK REED                              Claim 004107, Payment                               5600-000                                  $2,600.00        $8,585,888.02
                                                                          100.00000%
                                1501 Austin Cir
                                Salina, KS 67401
   08/27/14           33772     MICHAEL HILL                              Claim 004108, Payment                               5600-000                                     $849.00       $8,585,039.02
                                                                          100.00000%
                                1236 Canyon Maple Rd
                                Pflugerville, TX 78660
   08/27/14           33773     JEFF CARTER                               Claim 004109, Payment                               5600-000                                     $719.00       $8,584,320.02
                                                                          100.00000%
                                14802 Waverly Lane
                                Irvine, CA 92604
   08/27/14           33774     SCOTT WRIGHT                              Claim 004110, Payment                               5600-004                                  $2,600.00        $8,581,720.02
                                                                          100.00000%
                                3195 S 300E 17
                                SOUTH SALT LAKE, UT 84115
   08/27/14           33775     ARGO PARTNERS                             Claim 004111, Payment                               5600-000                                  $2,600.00        $8,579,120.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33776     ARGO PARTNERS                             Claim 004113A, Payment                              5600-000                                  $2,600.00        $8,576,520.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33777     ZOILA GONZALEZ                            Claim 004114, Payment                               5600-000                                  $1,212.00        $8,575,308.02
                                                                          100.00000%
                                407 Pemberton Blvd
                                Browns Mills, NJ 08015-1047
   08/27/14           33778     CYNTHIA GRIDLEY                           Claim 004115, Payment                               5600-004                                  $2,145.00        $8,573,163.02
                                                                          100.00000%
                                1108 A HILLSIDE DR
                                KODIAK, AK 99615
   08/27/14           33779     REINHOLD SCHOUWEILER                      Claim 004116, Payment                               5600-004                                  $2,600.00        $8,570,563.02
                                                                          100.00000%
                                PO Box 9210
                                Des Moines, IA 50306
   08/27/14           33780     ARGO PARTNERS                             Claim 004117, Payment                               5600-000                                  $2,600.00        $8,567,963.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33781     ARGO PARTNERS                             Claim 004118, Payment                               5600-000                                  $2,600.00        $8,565,363.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33782     CALVIN HENDERSON                          Claim 004119, Payment                               5600-004                                     $393.00       $8,564,970.02
                                                                          100.00000%
                                6601 South Westshore Blvd. Apt. 1122
                                Tampa, FL 33616
   08/27/14           33783     JUAN RAMIREZ                              Claim 004120, Payment                               5600-000                                     $973.00       $8,563,997.02
                                                                          100.00000%
                                2319 Bragg St
                                Brooklyn, NY 11229
   08/27/14           33784     THOMAS IADISERNIA                         Claim 004121, Payment                               5600-000                                  $2,600.00        $8,561,397.02
                                                                          100.00000%
                                40 Dunnigan Dr
                                Pomona, NY 10970
   08/27/14           33785     JACQUELINE ORONA                          Claim 004122, Payment                               5600-000                                     $242.00       $8,561,155.02
                                PSC 94 Box 2562APO, AE 09824              100.00000%



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,965.00
                                                                             Document          Page 421 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33786     ARGO PARTNERS                             Claim 004123, Payment                               5600-000                                  $2,600.00        $8,558,555.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           33787     CANDY KAY PHIFER                          Claim 004124, Payment                               5600-000                                     $316.00       $8,558,239.02
                                                                          100.00000%
                                CO ROBERT L BAER CH 7 TRUSTEE
                                534 S KANSAS AVE
                                STE 1100
                                TOPEKA, KS 66603
   08/27/14           33788     SHASTASIA MCLANE                          Claim 004125, Payment                               5600-000                                  $1,525.00        $8,556,714.02
                                                                          100.00000%
                                1114 NTH 30TH ST
                                RICHMOND, VA 23223-6606
   08/27/14           33789     R TYLER GRONDAHL                          Claim 004126, Payment                               5600-000                                     $202.00       $8,556,512.02
                                                                          100.00000%
                                3308 161ST ST E
                                TACOMA, WA 98446
   08/27/14           33790     CLYDE ALLEN                               Claim 004127, Payment                               5600-000                                  $2,600.00        $8,553,912.02
                                                                          100.00000%
                                5346 Pyles Rd.
                                Columbiaville, MI 48421
   08/27/14           33791     JACKIE L BRELAND                          Claim 004128, Payment                               5600-000                                     $902.00       $8,553,010.02
                                                                          100.00000%
                                5858 ST ELLEN RD
                                LEAKESVILLE, MS 39451
   08/27/14           33792     MARY GRACE DACUYCUY                       Claim 004130, Payment                               5600-000                                  $1,963.00        $8,551,047.02
                                                                          100.00000%
                                95 735 Kahikinui Pl
                                Mililani, HI 96789
   08/27/14           33793     DESIRE WOI                                Claim 004131, Payment                               5600-000                                     $213.00       $8,550,834.02
                                                                          100.00000%
                                11649 E CRESCENT ST
                                DESERT HOT SPRINGS, CA 92240
   08/27/14           33794     EDWARD LOPEZ                              Claim 004132, Payment                               5600-000                                     $169.00       $8,550,665.02
                                                                          100.00000%
                                14360 STONE AVE N
                                SEATTLE, WA 98133



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $10,490.00
                                                                             Document          Page 422 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           33795     TIMOTHY NICHOLSON                         Claim 004133, Payment                               5600-000                                  $2,600.00        $8,548,065.02
                                                                          100.00000%
                                372 White Flash Road
                                Mount Olive, NC 28365
   08/27/14           33796     JANELLE CLEMENTE                          Claim 004134, Payment                               5600-000                                     $953.00       $8,547,112.02
                                                                          100.00000%
                                2024 Fisher St. APT 23
                                Madison, WI 53713
   08/27/14           33797     SHERI MORAN                               Claim 004135, Payment                               5600-004                                     $224.00       $8,546,888.02
                                                                          100.00000%
                                750 Torch Dr.
                                Billings, MT 59102
   08/27/14           33798     ROSEANN GENUARIO                          Claim 004136, Payment                               5600-000                                  $2,600.00        $8,544,288.02
                                                                          100.00000%
                                7 Fritz St
                                Bloomfield, NJ 07003
   08/27/14           33799     THOMAS DAVEL                              Claim 004137, Payment                               5600-000                                     $409.00       $8,543,879.02
                                                                          100.00000%
                                227 15th Ave.
                                Nekoosa, WI 54457
   08/27/14           33800     RACHAEL DAVIS-SOUTHARD                    Claim 004138, Payment                               5600-000                                  $2,508.00        $8,541,371.02
                                                                          100.00000%
                                191 Grand View Drive
                                Dedham, ME 04429
   08/27/14           33801     LINDA MEEHAN                              Claim 004139A, Payment                              5600-000                                  $1,235.00        $8,540,136.02
                                                                          100.00000%
                                116 Jamestown Rd
                                Pocahontas, IL 62275
   08/27/14           33802     SECOND CHANCE CREDIT                      Claim 004140, Payment                               5600-000                                  $2,070.00        $8,538,066.02
                                OPPORTUNITIES,                            100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           33803     THOMAS DARROW HANSEN                      Claim 004141, Payment                               5600-000                                  $2,600.00        $8,535,466.02
                                                                          100.00000%
                                2165 EMERSON AVE
                                SALT LAKE CITY, UT 84108-2303




                                    Case 10-30631               Doc 5751       Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           33804     STACEY TERRY                             Claim 004142, Payment                               5600-000                                  $2,600.00        $8,532,866.02
                                                                         100.00000%
                                321 RIDGEWAY CI
                                TROUTVILLE, VA 24175
   08/27/14           33805     DAVID BERUMEN                            Claim 004143, Payment                               5600-000                                  $2,600.00        $8,530,266.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33806     LANCE FISHER                             Claim 004144, Payment                               5600-000                                  $2,600.00        $8,527,666.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33807     GABRIEL O`HERN                           Claim 004145, Payment                               5600-000                                  $2,600.00        $8,525,066.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33808     JUDITH SCHOCH                            Claim 004146, Payment                               5600-000                                  $1,009.00        $8,524,057.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33809     ALISON ABBOTT                            Claim 004148, Payment                               5600-000                                  $2,600.00        $8,521,457.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33810     STEPHANIE ADAMS                          Claim 004149, Payment                               5600-000                                  $1,330.00        $8,520,127.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33811     EDWARD AFOLABI                           Claim 004150, Payment                               5600-000                                  $2,600.00        $8,517,527.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33812     INGRID ALBRECHT                          Claim 004153, Payment                               5600-000                                  $2,600.00        $8,514,927.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33813     DENNIE M ALETTE                          Claim 004154, Payment                               5600-000                                  $2,254.00        $8,512,673.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33814     LUIS ALZARADO                            Claim 004155, Payment                               5600-000                                  $2,600.00        $8,510,073.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33815     RICCARDO ESNERALDA AMATO                 Claim 004156, Payment                               5600-000                                  $2,305.00        $8,507,768.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33816     GLEORIA MITCHELL                         Claim 004157, Payment                               5600-000                                  $2,600.00        $8,505,168.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33817     MARK S NORRIS                            Claim 004158, Payment                               5600-000                                  $2,459.00        $8,502,709.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33818     ROCIO AMORES                             Claim 004159, Payment                               5600-000                                     $200.00       $8,502,509.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33819     FARISH ANDERSON SR                       Claim 004160, Payment                               5600-000                                  $2,600.00        $8,499,909.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33820     JOYCE ANDERSON                           Claim 004161, Payment                               5600-000                                     $646.00       $8,499,263.02
                                c/o Azar and Azar                        100.00000%


                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                            Document          Page 424 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           33821     SUSAN ANDERSON                           Claim 004162, Payment                               5600-000                                  $2,600.00        $8,496,663.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33822     MARILYN ANG                              Claim 004163, Payment                               5600-000                                  $2,600.00        $8,494,063.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33823     PATRICIA ANNEN                           Claim 004164, Payment                               5600-000                                  $1,276.00        $8,492,787.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33824     ROD ARMENT                               Claim 004167, Payment                               5600-000                                  $2,600.00        $8,490,187.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33825     DONALD ARMSTRONG                         Claim 004168, Payment                               5600-000                                  $1,232.00        $8,488,955.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33826     JOANNE ARNOLD                            Claim 004169, Payment                               5600-000                                  $2,600.00        $8,486,355.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33827     SONYA BAKER                              Claim 004171, Payment                               5600-000                                  $2,600.00        $8,483,755.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33828     JUANITA BALL                             Claim 004172, Payment                               5600-000                                     $494.00       $8,483,261.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33829     JANICE BAUGHMAN                          Claim 004174, Payment                               5600-000                                  $2,600.00        $8,480,661.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33830     MICHAEL BEAUDOIN                         Claim 004176, Payment                               5600-000                                     $300.00       $8,480,361.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33831     CHRISTOPHER BENNETT                      Claim 004177, Payment                               5600-000                                     $100.00       $8,480,261.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33832     DORIS BERGERON                           Claim 004178, Payment                               5600-000                                  $1,547.00        $8,478,714.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33833     DICK BONTATIBUS                          Claim 004179, Payment                               5600-000                                  $1,009.00        $8,477,705.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33834     EVALENA LORICK                           Claim 004181, Payment                               5600-000                                  $2,600.00        $8,475,105.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33835     DOROTHY BOTTONE                          Claim 004182, Payment                               5600-000                                  $2,600.00        $8,472,505.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33836     ERNEST BOWEN                             Claim 004183, Payment                               5600-000                                  $2,203.00        $8,470,302.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33837     WILLIAM D BRABSON                        Claim 004185, Payment                               5600-000                                     $775.00       $8,469,527.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $29,736.00
                                                                            Document          Page 425 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           33838     EMMETT R BROPHY                          Claim 004186, Payment                               5600-000                                   $2,411.00       $8,467,116.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33839     DAVID TROY BROWN                         Claim 004187, Payment                               5600-000                                  $2,600.00        $8,464,516.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33840     SHIRLEY M BRUNSON                        Claim 004188, Payment                               5600-000                                  $2,581.00        $8,461,935.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33841     PATRICIA R BULLOCH                       Claim 004190, Payment                               5600-000                                  $2,600.00        $8,459,335.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33842     KENNETH T BURCHAM                        Claim 004191, Payment                               5600-000                                     $489.00       $8,458,846.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33843     MICHAEL CALARCO                          Claim 004192, Payment                               5600-000                                  $2,600.00        $8,456,246.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33844     KATIE CASEY                              Claim 004193, Payment                               5600-000                                  $1,761.00        $8,454,485.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33845     JOHN CHANDLER                            Claim 004194, Payment                               5600-000                                     $455.00       $8,454,030.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33846     ALBERTO CHAVEZ                           Claim 004195, Payment                               5600-000                                  $2,600.00        $8,451,430.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33847     WALTER CONDRON                           Claim 004196, Payment                               5600-000                                  $2,600.00        $8,448,830.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33848     MARIE COX                                Claim 004197, Payment                               5600-000                                  $2,408.00        $8,446,422.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33849     FRANKIE ALVARADO                         Claim 004198, Payment                               5600-000                                  $2,600.00        $8,443,822.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33850     SUE E COY                                Claim 004199, Payment                               5600-000                                  $2,600.00        $8,441,222.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33851     AMELIA ALMEIDA                           Claim 004200, Payment                               5600-000                                  $2,600.00        $8,438,622.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33852     EDDIE ALLISON                            Claim 004201, Payment                               5600-000                                  $2,600.00        $8,436,022.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33853     SAMUEL ALLEN                             Claim 004202, Payment                               5600-000                                  $2,600.00        $8,433,422.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33854     DAVID CRAMER                             Claim 004203, Payment                               5600-000                                  $1,624.00        $8,431,798.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                                                                                                    Desc Main         $37,729.00
                                                                            Document          Page 426 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                   Code                                                       ($)
   08/27/14           33855     LUERINE ALLEN                            Claim 004204, Payment                               5600-000                                  $2,600.00       $8,429,198.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33856     KATHY CLAPP                              Claim 004206, Payment                               5600-000                                  $2,573.00       $8,426,625.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33857     LAKETHIA ALLEN                           Claim 004207, Payment                               5600-000                                  $2,423.00       $8,424,202.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33858     JAMES E ALEXANDER                        Claim 004208, Payment                               5600-000                                  $2,600.00       $8,421,602.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33859     ASHUTUSH DATTA                           Claim 004209, Payment                               5600-000                                  $2,600.00       $8,419,002.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33860     LUTHA ABRAMS                             Claim 004210, Payment                               5600-000                                  $2,600.00       $8,416,402.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33861     GLORIA ACEVEDO                           Claim 004211, Payment                               5600-000                                  $2,281.00       $8,414,121.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33862     JEAN ADRASSE                             Claim 004212, Payment                               5600-000                                  $2,600.00       $8,411,521.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33863     STEPHEN ADAMS                            Claim 004213, Payment                               5600-000                                  $2,000.00       $8,409,521.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33864     OSWALD DAWSON                            Claim 004214, Payment                               5600-000                                  $2,600.00       $8,406,921.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33865     ALONZO F ADAMS                           Claim 004215, Payment                               5600-000                                  $2,600.00       $8,404,321.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33866     OKECHUKWU AHAMBA                         Claim 004216, Payment                               5600-000                                  $2,600.00       $8,401,721.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33867     STEPHEN D WINN                           Claim 004217, Payment                               5600-000                                  $2,488.00       $8,399,233.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33868     LOIS DENNIS                              Claim 004218, Payment                               5600-000                                  $2,600.00       $8,396,633.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33869     JOHN ZEMAN                               Claim 004219, Payment                               5600-000                                  $2,600.00       $8,394,033.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33870     KHANDI TARNO                             Claim 004220, Payment                               5600-000                                  $1,825.00       $8,392,208.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33871     CARL TEAGUE                              Claim 004223, Payment                               5600-000                                  $2,600.00       $8,389,608.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $42,190.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                   Code                                                       ($)
   08/27/14           33872     LINDA THOMPSON                           Claim 004225, Payment                               5600-000                                  $2,600.00       $8,387,008.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33873     PAUL AND DENISE BERNIER                  Claim 004226, Payment                               5600-000                                  $2,600.00       $8,384,408.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33874     TERRY HOPPA                              Claim 004227, Payment                               5600-000                                  $2,600.00       $8,381,808.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33875     JACKIE BERRY                             Claim 004228, Payment                               5600-000                                  $2,600.00       $8,379,208.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33876     CLEO HOLMES                              Claim 004229, Payment                               5600-000                                  $2,600.00       $8,376,608.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33877     COREY BETUEL                             Claim 004230, Payment                               5600-000                                  $2,600.00       $8,374,008.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33878     GLADYS HOLLAND                           Claim 004231, Payment                               5600-000                                  $2,515.00       $8,371,493.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33879     HANNIA BIANCHINI                         Claim 004232, Payment                               5600-000                                  $2,600.00       $8,368,893.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33880     MICHAEL HOGG                             Claim 004233, Payment                               5600-000                                  $2,600.00       $8,366,293.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33881     DARRYL MARCEL DANIEL                     Claim 004234, Payment                               5600-000                                  $2,600.00       $8,363,693.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33882     DOMINADOR DATANGEL JR                    Claim 004235, Payment                               5600-000                                  $1,603.00       $8,362,090.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33883     TANISHA DAVIS                            Claim 004236, Payment                               5600-000                                  $2,600.00       $8,359,490.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33884     DEBRA DAWSON                             Claim 004237, Payment                               5600-000                                  $1,309.00       $8,358,181.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33885     DIANA DE LA ROSA                         Claim 004238, Payment                               5600-000                                  $2,600.00       $8,355,581.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33886     MARIA DE LEON                            Claim 004239, Payment                               5600-000                                  $2,600.00       $8,352,981.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33887     GENE DEJEAN                              Claim 004240, Payment                               5600-000                                  $2,600.00       $8,350,381.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33888     MATTHEW DELANEY                          Claim 004241, Payment                               5600-000                                  $2,455.00       $8,347,926.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                   Code                                                       ($)
   08/27/14           33889     EDNA DE LEON                             Claim 004242, Payment                               5600-000                                  $2,600.00       $8,345,326.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33890     RONALD DETTORE                           Claim 004244, Payment                               5600-000                                  $2,600.00       $8,342,726.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33891     BRENDA L DICKSON                         Claim 004245, Payment                               5600-000                                  $2,430.00       $8,340,296.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33892     THERESIA A DILLARD                       Claim 004246, Payment                               5600-000                                  $2,600.00       $8,337,696.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33893     JENNY DIZONA                             Claim 004247, Payment                               5600-000                                  $2,600.00       $8,335,096.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33894     CAROLYN DODD                             Claim 004248, Payment                               5600-000                                  $2,600.00       $8,332,496.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33895     ROBERT L DONOHUE                         Claim 004249, Payment                               5600-000                                  $2,600.00       $8,329,896.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33896     FELICIA DOROSZKIENICZ                    Claim 004250, Payment                               5600-000                                  $2,268.00       $8,327,628.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33897     SHARON DOSS                              Claim 004251, Payment                               5600-000                                  $2,600.00       $8,325,028.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33898     WILLIAM DUNN JR                          Claim 004252, Payment                               5600-000                                  $2,600.00       $8,322,428.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33899     CLIFTON EDMOND                           Claim 004253, Payment                               5600-000                                  $2,196.00       $8,320,232.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33900     THOMAS EDWARDS                           Claim 004254, Payment                               5600-000                                  $2,600.00       $8,317,632.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33901     J C ELLIS                                Claim 004256, Payment                               5600-000                                  $2,600.00       $8,315,032.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33902     CATHY ENOS                               Claim 004257, Payment                               5600-000                                  $2,600.00       $8,312,432.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33903     TIMOTHY BARBER                           Claim 004258, Payment                               5600-000                                  $2,600.00       $8,309,832.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33904     NATALIE ESQUIVEL                         Claim 004259, Payment                               5600-000                                  $2,600.00       $8,307,232.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33905     KELLY ESSMEN                             Claim 004260, Payment                               5600-000                                  $2,600.00       $8,304,632.02
                                c/o Azar and Azar                        100.00000%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           33906     EDWARD FABIE                             Claim 004261, Payment                               5600-000                                  $2,600.00        $8,302,032.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33907     DOMINIC FIGARO JR                        Claim 004264, Payment                               5600-000                                  $1,915.00        $8,300,117.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33908     JOHN FISHER                              Claim 004265, Payment                               5600-000                                  $2,600.00        $8,297,517.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33909     GRACE FLETCHER                           Claim 004266, Payment                               5600-000                                  $2,600.00        $8,294,917.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33910     ALEXANDRA D FLOODY                       Claim 004267, Payment                               5600-000                                  $2,600.00        $8,292,317.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33911     JOHN AND DIANE FORD                      Claim 004268, Payment                               5600-000                                  $1,879.00        $8,290,438.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33912     OWEN DAVID FOWLER                        Claim 004269, Payment                               5600-000                                     $696.00       $8,289,742.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33913     ARETHA FRANKLIN                          Claim 004270, Payment                               5600-000                                     $463.00       $8,289,279.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33914     REBECCA FRANKLIN                         Claim 004271, Payment                               5600-000                                  $1,437.00        $8,287,842.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33915     BERNA DEAN FREDERICK                     Claim 004272, Payment                               5600-000                                  $2,548.00        $8,285,294.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33916     BOB FREIMARK                             Claim 004273, Payment                               5600-000                                  $2,600.00        $8,282,694.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33917     DAVID FRIERSON                           Claim 004274, Payment                               5600-000                                  $2,600.00        $8,280,094.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33918     DAWN FRYE                                Claim 004275, Payment                               5600-000                                  $2,600.00        $8,277,494.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33919     DIEDRA FURBUSH                           Claim 004276, Payment                               5600-000                                     $300.00       $8,277,194.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33920     JOHN R GAY                               Claim 004277, Payment                               5600-000                                  $2,600.00        $8,274,594.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33921     LOISTEEN GIBSON                          Claim 004278, Payment                               5600-000                                  $2,600.00        $8,271,994.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33922     RAY GILBERT                              Claim 004279, Payment                               5600-000                                  $2,600.00        $8,269,394.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                            Document          Page 430 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           33923     SUSIE GILL                               Claim 004280, Payment                               5600-000                                     $268.00       $8,269,126.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33924     VANDERLEI GONCALVES                      Claim 004281, Payment                               5600-000                                  $2,600.00        $8,266,526.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33925     EDWARD GONDEK                            Claim 004282, Payment                               5600-000                                  $2,600.00        $8,263,926.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33926     TOD DEGENSTEIN                           Claim 004283, Payment                               5600-000                                  $2,600.00        $8,261,326.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33927     JENNY AGUIRRE                            Claim 004284, Payment                               5600-000                                  $1,653.00        $8,259,673.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33928     SHIRLEY AKINSHADE                        Claim 004286, Payment                               5600-000                                  $2,600.00        $8,257,073.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33929     NELSON ALBA                              Claim 004287, Payment                               5600-000                                  $2,600.00        $8,254,473.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33930     DANA WANZER                              Claim 004288, Payment                               5600-000                                  $1,985.00        $8,252,488.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33931     MARY ROGERS                              Claim 004289, Payment                               5600-000                                  $2,600.00        $8,249,888.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33932     CORA WATSON                              Claim 004290, Payment                               5600-000                                     $961.00       $8,248,927.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33933     DEBORAH WEINGARDNER                      Claim 004291, Payment                               5600-000                                  $1,255.00        $8,247,672.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33934     PHYLLIS A WELCH                          Claim 004292, Payment                               5600-000                                  $1,170.00        $8,246,502.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33935     CHARLES DELANEY                          Claim 004293, Payment                               5600-000                                  $2,441.00        $8,244,061.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33936     KAREN HURST                              Claim 004294, Payment                               5600-000                                  $1,858.00        $8,242,203.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33937     VIVIAN WHITE                             Claim 004295, Payment                               5600-000                                     $627.00       $8,241,576.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33938     JEFF WILSON                              Claim 004296, Payment                               5600-000                                  $1,825.00        $8,239,751.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33939     RYAN WILLIS                              Claim 004297, Payment                               5600-000                                  $2,600.00        $8,237,151.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                            Document          Page 431 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           33940     VICTOR DEMARCO                           Claim 004298, Payment                               5600-000                                  $2,600.00        $8,234,551.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33941     MARVIS A ROBERTS                         Claim 004299, Payment                               5600-000                                  $2,144.00        $8,232,407.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33942     CAROLYN HUTCHERSON                       Claim 004300, Payment                               5600-000                                  $2,600.00        $8,229,807.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33943     LORRIE DEMIAN                            Claim 004301, Payment                               5600-000                                  $1,121.00        $8,228,686.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33944     IVAN INCENCIO                            Claim 004302, Payment                               5600-000                                  $2,600.00        $8,226,086.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33945     ROSE WILSON                              Claim 004303, Payment                               5600-000                                  $2,600.00        $8,223,486.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33946     THOMAS C ROBBINS                         Claim 004304, Payment                               5600-000                                  $2,544.00        $8,220,942.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33947     NED R WITTE                              Claim 004305, Payment                               5600-000                                  $2,130.00        $8,218,812.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33948     KIM TOMLINSON                            Claim 004306, Payment                               5600-000                                  $1,950.00        $8,216,862.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33949     DEBORAH E TOWNSEND                       Claim 004307, Payment                               5600-000                                  $1,677.00        $8,215,185.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33950     ARTHUR VARELA                            Claim 004308, Payment                               5600-000                                  $1,125.00        $8,214,060.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33951     JEREMY S VERBLE                          Claim 004309, Payment                               5600-000                                  $1,530.00        $8,212,530.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33952     LEONARD RICHMAN                          Claim 004310, Payment                               5600-000                                  $2,600.00        $8,209,930.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33953     LILLIE M WALKER                          Claim 004311, Payment                               5600-000                                     $379.00       $8,209,551.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33954     NEVILL STONE                             Claim 004312, Payment                               5600-000                                  $2,600.00        $8,206,951.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33955     ANDY SPAINIER                            Claim 004313, Payment                               5600-000                                  $2,229.00        $8,204,722.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33956     ANDREA SCHMIDT                           Claim 004314, Payment                               5600-000                                  $2,600.00        $8,202,122.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                   Code                                                       ($)
   08/27/14           33957     ROBERT SCARNA                            Claim 004315, Payment                               5600-000                                  $1,642.00       $8,200,480.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33958     JEFFREY DENNY                            Claim 004316, Payment                               5600-000                                  $2,600.00       $8,197,880.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33959     GEORGIA JOHNSON                          Claim 004317, Payment                               5600-000                                  $1,250.00       $8,196,630.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33960     MICHELLE SANTIFUL                        Claim 004318, Payment                               5600-000                                  $2,600.00       $8,194,030.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33961     VINCENTE SALORICMAN                      Claim 004319, Payment                               5600-000                                  $2,600.00       $8,191,430.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33962     JOANNE DONNELLY                          Claim 004320, Payment                               5600-000                                  $2,600.00       $8,188,830.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33963     KAREN SCHRADER                           Claim 004322, Payment                               5600-000                                  $2,600.00       $8,186,230.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33964     HARLEY LEAK                              Claim 004324, Payment                               5600-000                                  $2,600.00       $8,183,630.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33965     JANELL SEARS                             Claim 004325, Payment                               5600-000                                  $2,510.00       $8,181,120.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33966     RONALD SEYMORE                           Claim 004326, Payment                               5600-000                                  $1,915.00       $8,179,205.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33967     MICHAEL DOWNS                            Claim 004327, Payment                               5600-000                                  $1,215.00       $8,177,990.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33968     GERALD REMTER                            Claim 004328, Payment                               5600-000                                  $2,600.00       $8,175,390.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33969     THEODORE SHOMSKY                         Claim 004330, Payment                               5600-000                                  $2,600.00       $8,172,790.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33970     SHIRLEY LAGASSE                          Claim 004331, Payment                               5600-000                                  $2,053.00       $8,170,737.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33971     ANGELA SHIPMAN                           Claim 004332, Payment                               5600-000                                  $2,600.00       $8,168,137.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33972     GEORGE HERBERT SHORNEY III               Claim 004333, Payment                               5600-000                                  $2,600.00       $8,165,537.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33973     GEORGE SMITH                             Claim 004334, Payment                               5600-000                                  $2,257.00       $8,163,280.02
                                C/O Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $38,842.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


       1                2                           3                                            4                                                   5                6                     7

Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           33974     JODY SILVA                               Claim 004335, Payment                               5600-000                                  $2,600.00        $8,160,680.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33975     WALTER KUZMIN                            Claim 004336, Payment                               5600-000                                  $2,600.00        $8,158,080.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33976     DANA ROWE                                Claim 004338, Payment                               5600-000                                  $2,600.00        $8,155,480.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33977     TIMESHA PINKARD                          Claim 004339, Payment                               5600-000                                     $571.00       $8,154,909.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33978     VICTOR PIZARRO                           Claim 004340, Payment                               5600-000                                  $2,401.00        $8,152,508.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33979     GREGG KRUGMAN                            Claim 004341, Payment                               5600-000                                  $1,433.00        $8,151,075.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33980     CORY A POPE                              Claim 004342, Payment                               5600-000                                  $2,600.00        $8,148,475.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33981     JOSEPH M PORTER JR                       Claim 004344, Payment                               5600-000                                  $2,600.00        $8,145,875.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33982     GARY ROSS                                Claim 004345, Payment                               5600-000                                  $2,600.00        $8,143,275.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33983     LOUIS DRUSBACKY                          Claim 004346, Payment                               5600-000                                  $2,600.00        $8,140,675.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33984     KEITH KOSTER                             Claim 004348, Payment                               5600-000                                  $2,600.00        $8,138,075.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33985     AMANDA K ROSS                            Claim 004349, Payment                               5600-000                                  $2,600.00        $8,135,475.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33986     HAZEL P POULIN                           Claim 004350, Payment                               5600-000                                  $2,600.00        $8,132,875.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33987     PERRIE EARBY                             Claim 004351, Payment                               5600-000                                   $1,411.00       $8,131,464.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33988     STEWART ERISMAN                          Claim 004353, Payment                               5600-000                                  $2,600.00        $8,128,864.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33989     MARY KIENOW                              Claim 004355, Payment                               5600-000                                  $2,600.00        $8,126,264.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33990     GLORIA MOORE                             Claim 004356, Payment                               5600-000                                  $1,814.00        $8,124,450.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           33991     DAVID KING                               Claim 004357, Payment                               5600-000                                  $2,600.00        $8,121,850.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33992     TIMOTHY WAYNE MOORE                      Claim 004358, Payment                               5600-000                                  $1,425.00        $8,120,425.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33993     ALLEN EVANQELISTA                        Claim 004359, Payment                               5600-000                                  $2,600.00        $8,117,825.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33994     KOKOSKA JOHN                             Claim 004360, Payment                               5600-000                                  $2,600.00        $8,115,225.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33995     ABRAHAM GOMEZ                            Claim 004361, Payment                               5600-000                                  $2,600.00        $8,112,625.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33996     RODNEY S GORDON                          Claim 004362, Payment                               5600-000                                  $2,338.00        $8,110,287.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33997     LESLIE LOVELACE                          Claim 004363, Payment                               5600-000                                  $2,514.00        $8,107,773.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33998     ARTHUR GOULD                             Claim 004364, Payment                               5600-000                                  $2,600.00        $8,105,173.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           33999     TANGIE GIVENS                            Claim 004365, Payment                               5600-000                                  $1,334.00        $8,103,839.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34000     VALERIA FURLOW                           Claim 004366, Payment                               5600-000                                  $1,276.00        $8,102,563.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34001     JOHN LOW                                 Claim 004367, Payment                               5600-000                                     $325.00       $8,102,238.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34002     JAMES FLYNN                              Claim 004368, Payment                               5600-000                                     $325.00       $8,101,913.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34003     JOHN FLORES                              Claim 004369, Payment                               5600-000                                     $855.00       $8,101,058.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34004     CHARLES FENISON                          Claim 004370, Payment                               5600-000                                  $2,600.00        $8,098,458.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34005     ROBERT FERRELL                           Claim 004372, Payment                               5600-000                                  $2,600.00        $8,095,858.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34006     AMANDEE FLETCHER                         Claim 004373, Payment                               5600-000                                  $1,025.00        $8,094,833.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34007     MARIE EXALUS                             Claim 004374, Payment                               5600-000                                  $1,722.00         $8,093,111.02
                                c/o Azar and Azar                        100.00000%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                   Code                                                       ($)
   08/27/14           34008     GLORIA LIVINGSTON                        Claim 004375, Payment                               5600-000                                  $2,578.00       $8,090,533.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34009     WALTER EZELL                             Claim 004376, Payment                               5600-000                                  $1,495.00       $8,089,038.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34010     LOUIS MURA                               Claim 004378, Payment                               5600-000                                  $2,600.00       $8,086,438.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34011     ANTHONY FALZONE                          Claim 004379, Payment                               5600-000                                  $2,600.00       $8,083,838.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34012     KENNETH W HAMMOND                        Claim 004380, Payment                               5600-000                                  $2,600.00       $8,081,238.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34013     MAXINE LINDNER                           Claim 004381, Payment                               5600-000                                  $2,600.00       $8,078,638.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34014     FREDDY LEON                              Claim 004383, Payment                               5600-000                                  $2,600.00       $8,076,038.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34015     NED HAMADNY                              Claim 004385, Payment                               5600-000                                  $2,421.00       $8,073,617.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34016     NERISSA NAUTH                            Claim 004387, Payment                               5600-000                                  $2,600.00       $8,071,017.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34017     BETTY BIGHAM                             Claim 004388, Payment                               5600-000                                  $2,600.00       $8,068,417.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34018     JOHN HOFSTETTER                          Claim 004389, Payment                               5600-000                                  $2,600.00       $8,065,817.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34019     DAMON BLAND                              Claim 004390, Payment                               5600-000                                  $1,075.00       $8,064,742.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34020     THOMAS BLAZER                            Claim 004391, Payment                               5600-000                                  $2,600.00       $8,062,142.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34021     JERRY HODGES                             Claim 004392, Payment                               5600-000                                  $2,600.00       $8,059,542.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34022     JOHN BLEVINS                             Claim 004393, Payment                               5600-000                                  $2,600.00       $8,056,942.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34023     RONALD HINMAN                            Claim 004394, Payment                               5600-000                                  $2,600.00       $8,054,342.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34024     KENT BOETTCHER                           Claim 004395, Payment                               5600-000                                  $2,600.00       $8,051,742.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $41,369.00
                                                                            Document          Page 436 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34025     ANITA MALLARD                             Claim 004396, Payment                               5600-000                                  $2,600.00        $8,049,142.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34026     SHARON HARRIS                             Claim 004397, Payment                               5600-000                                     $246.00       $8,048,896.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34027     KARL NYLANDER                             Claim 004399, Payment                               5600-000                                  $2,600.00        $8,046,296.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34028     BETTY MARTIN                              Claim 004400, Payment                               5600-000                                  $2,600.00        $8,043,696.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34029     MARK HEBA                                 Claim 004401, Payment                               5600-000                                  $1,567.00        $8,042,129.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34030     LUTHER HENRY                              Claim 004402, Payment                               5600-000                                  $2,600.00        $8,039,529.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34031     CHRIS PARTLOW                             Claim 004403, Payment                               5600-000                                  $2,600.00        $8,036,929.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34032     L B HIGGINBOTHAM                          Claim 004404, Payment                               5600-000                                  $1,968.00        $8,034,961.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34033     GLORIA GORDON                             Claim 004405, Payment                               5600-000                                     $729.00       $8,034,232.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34034     MICHAEL GORDON                            Claim 004406, Payment                               5600-000                                  $1,368.00        $8,032,864.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34035     GLENDON GRAHAM                            Claim 004407, Payment                               5600-000                                  $1,839.00        $8,031,025.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34036     STEVEN GRATZER                            Claim 004409, Payment                               5600-000                                  $2,600.00        $8,028,425.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34037     JEREMY GREEN                              Claim 004410, Payment                               5600-000                                  $2,600.00        $8,025,825.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34038     SANDRA GREEN                              Claim 004411, Payment                               5600-000                                     $981.00       $8,024,844.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34039     BARRY GREGORY                             Claim 004412, Payment                               5600-000                                  $2,600.00        $8,022,244.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34040     CHARLIE MATTHEWS                          Claim 004413, Payment                               5600-000                                  $1,205.00        $8,021,039.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34041     ARGO PARTNERS                             Claim 004414, Payment                               5600-000                                  $2,600.00        $8,018,439.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 437 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34042     JANNIE PENNINGTON                        Claim 004415, Payment                               5600-000                                  $2,041.00        $8,016,398.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34043     LYDIA MATTHEWS                           Claim 004416, Payment                               5600-000                                   $1,115.00       $8,015,283.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34044     EZEKIEL HOLE                             Claim 004417, Payment                               5600-000                                  $2,130.00        $8,013,153.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34045     DELORES JEAN HUBBARD                     Claim 004418, Payment                               5600-000                                  $2,600.00        $8,010,553.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34046     FRANK JAMES MAY                          Claim 004419, Payment                               5600-000                                  $2,600.00        $8,007,953.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34047     DANETTE PIERCE                           Claim 004420, Payment                               5600-000                                  $2,600.00        $8,005,353.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34048     SHANICE MCCABE                           Claim 004421, Payment                               5600-000                                  $1,165.00        $8,004,188.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34049     JASON MCCLAIN                            Claim 004423, Payment                               5600-000                                  $2,600.00        $8,001,588.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34050     RENEE HUGHES                             Claim 004424, Payment                               5600-000                                  $2,149.00        $7,999,439.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34051     ROBERT HUMPHRIES                         Claim 004426, Payment                               5600-000                                  $2,600.00        $7,996,839.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34052     SHARPER JONES                            Claim 004427, Payment                               5600-000                                  $2,600.00        $7,994,239.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34053     CAROL JORDAN                             Claim 004429, Payment                               5600-000                                  $2,600.00        $7,991,639.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34054     BARBARA MCQUILKEN                        Claim 004433, Payment                               5600-000                                  $1,341.00        $7,990,298.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34055     JERRY JONES                              Claim 004434, Payment                               5600-000                                  $1,165.00        $7,989,133.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34056     JULIA MILLHOUSE                          Claim 004436, Payment                               5600-000                                  $2,600.00        $7,986,533.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34057     RODRIGO MEJIA                            Claim 004437, Payment                               5600-000                                  $2,272.00        $7,984,261.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34058     ESMERALDA AMATO                          Claim 004438, Payment                               5600-000                                  $2,305.00        $7,981,956.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                            Document          Page 438 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34059     LUKE AMENDOLARO                          Claim 004439, Payment                               5600-000                                  $2,600.00        $7,979,356.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34060     ROBERT AMICUCCI                          Claim 004440, Payment                               5600-000                                  $2,600.00        $7,976,756.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34061     DENNIS ANDERSON                          Claim 004441, Payment                               5600-000                                  $2,600.00        $7,974,156.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34062     ABRAHAM ARAKELIAN                        Claim 004442, Payment                               5600-000                                  $2,600.00        $7,971,556.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34063     FELIX BOOKER                             Claim 004443, Payment                               5600-000                                  $2,600.00        $7,968,956.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34064     GERALD HILL                              Claim 004444, Payment                               5600-000                                  $2,600.00        $7,966,356.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34065     LORETTA BORGMANN                         Claim 004445, Payment                               5600-000                                  $2,600.00        $7,963,756.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34066     BARBARA BRANNON                          Claim 004446, Payment                               5600-000                                  $1,592.00        $7,962,164.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34067     RICHARD HESTON                           Claim 004447, Payment                               5600-000                                  $2,600.00        $7,959,564.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34068     KEVIN BRAY                               Claim 004448, Payment                               5600-000                                  $2,600.00        $7,956,964.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34069     ARGELY BRITO                             Claim 004450, Payment                               5600-000                                  $2,518.00        $7,954,446.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34070     BARBARA ARRINGTON                        Claim 004451, Payment                               5600-000                                  $2,600.00        $7,951,846.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34071     MARLENE ARTIS-SPANN                      Claim 004452, Payment                               5600-000                                     $951.00       $7,950,895.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34072     ALAIN ATECHI                             Claim 004453, Payment                               5600-000                                  $2,600.00        $7,948,295.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34073     DANIEL AURIT                             Claim 004454, Payment                               5600-000                                  $2,600.00        $7,945,695.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34074     JOAN BAKER                               Claim 004456, Payment                               5600-000                                  $2,600.00        $7,943,095.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34075     ANGELO BARONE                            Claim 004457, Payment                               5600-000                                  $2,600.00        $7,940,495.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                   Code                                                       ($)
   08/27/14           34076     EMMANUEL BATEAU                          Claim 004458, Payment                               5600-000                                  $2,600.00       $7,937,895.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34077     FRANK T GUEVARA                          Claim 004459, Payment                               5600-000                                  $2,600.00       $7,935,295.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34078     JOSEPH A GUZMAN                          Claim 004460, Payment                               5600-000                                  $2,347.00       $7,932,948.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34079     NATHEN HACHE                             Claim 004461, Payment                               5600-000                                  $1,575.00       $7,931,373.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34080     TODD HAGADONE                            Claim 004462, Payment                               5600-000                                  $2,600.00       $7,928,773.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34081     DENNIS HAIR                              Claim 004463, Payment                               5600-000                                  $2,600.00       $7,926,173.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34082     DENNIS BEASLEY                           Claim 004464, Payment                               5600-000                                  $2,600.00       $7,923,573.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34083     CHARLES BECKWITH                         Claim 004465, Payment                               5600-000                                  $2,600.00       $7,920,973.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34084     NAIRA BEKTCHYAN                          Claim 004466, Payment                               5600-000                                  $1,965.00       $7,919,008.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34085     LORRAINE BELLINO                         Claim 004467, Payment                               5600-000                                  $2,600.00       $7,916,408.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34086     GAIL BENNASSER                           Claim 004468, Payment                               5600-000                                  $1,917.00       $7,914,491.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34087     GARY HOWARD                              Claim 004469, Payment                               5600-000                                  $2,600.00       $7,911,891.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34088     ANDRE` K BENTON                          Claim 004470, Payment                               5600-000                                  $2,437.00       $7,909,454.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34089     REBECCA ANN BROWN                        Claim 004471, Payment                               5600-000                                  $2,600.00       $7,906,854.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34090     DAVID HESS                               Claim 004472, Payment                               5600-000                                  $2,434.00       $7,904,420.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34091     CHARLES BRUFFETT                         Claim 004473, Payment                               5600-000                                  $2,600.00       $7,901,820.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34092     ISMAEL HERNANDEZ JR                      Claim 004474, Payment                               5600-000                                  $2,600.00       $7,899,220.02
                                c/o Azar and Azar                        100.00000%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34093     JERRY BRUNSON                            Claim 004475, Payment                               5600-000                                  $1,955.00        $7,897,265.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34094     GLEN BUGOS                               Claim 004476, Payment                               5600-000                                  $2,600.00        $7,894,665.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34095     MONA L BURDETTE                          Claim 004477, Payment                               5600-000                                  $2,600.00        $7,892,065.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34096     JOHN M BURKE                             Claim 004478, Payment                               5600-000                                  $2,600.00        $7,889,465.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34097     DEBRA BURMEISTER                         Claim 004479, Payment                               5600-000                                  $2,600.00        $7,886,865.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34098     DONNA BURRELL                            Claim 004480, Payment                               5600-000                                  $2,600.00        $7,884,265.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34099     WILLIAM D HENRY                          Claim 004481, Payment                               5600-000                                  $1,499.00        $7,882,766.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34100     MARY BUTTERFIELD                         Claim 004482, Payment                               5600-000                                  $2,600.00        $7,880,166.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34101     BARBARA BYRNES                           Claim 004483, Payment                               5600-000                                  $2,600.00        $7,877,566.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34102     DAVID HARRISON                           Claim 004484, Payment                               5600-000                                  $1,469.00        $7,876,097.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34103     TERESITA CABLE                           Claim 004485, Payment                               5600-000                                  $2,600.00        $7,873,497.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34104     MARY CAIN                                Claim 004486, Payment                               5600-000                                  $1,525.00        $7,871,972.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34105     GREG CARBAJAL                            Claim 004489, Payment                               5600-000                                  $2,600.00        $7,869,372.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34106     LILIANA CARDONA                          Claim 004491, Payment                               5600-000                                  $1,754.00        $7,867,618.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34107     DIANA L HARRIS                           Claim 004492, Payment                               5600-000                                  $2,600.00        $7,865,018.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34108     GERTRUDE CATALLI                         Claim 004493, Payment                               5600-000                                   $1,511.00       $7,863,507.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34109     JUDY CAVALIERE                           Claim 004494, Payment                               5600-000                                  $1,665.00        $7,861,842.02
                                c/o Azar and Azar                        100.00000%




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                                                                            Document          Page 441 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                   Code                                                       ($)
   08/27/14           34110     DARELL CHAMBERS                          Claim 004495, Payment                               5600-000                                  $2,122.00       $7,859,720.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34111     KILEY CHAMBERS                           Claim 004496, Payment                               5600-000                                  $2,600.00       $7,857,120.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34112     NANCY HANEY                              Claim 004497, Payment                               5600-000                                  $2,408.00       $7,854,712.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34113     CARLIN CHAMPAGNE                         Claim 004498, Payment                               5600-000                                  $1,323.00       $7,853,389.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34114     ELIZABETH CHAVEZ                         Claim 004499, Payment                               5600-000                                  $2,510.00       $7,850,879.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34115     KIM HAMILTON                             Claim 004500, Payment                               5600-000                                  $2,600.00       $7,848,279.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34116     KIM COAKLEY                              Claim 004502, Payment                               5600-000                                  $2,600.00       $7,845,679.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34117     RUDOLPH A COBOS                          Claim 004503, Payment                               5600-000                                  $2,569.00       $7,843,110.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34118     MARIA CODDINGTON                         Claim 004504, Payment                               5600-000                                  $2,600.00       $7,840,510.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34119     THOMAS COLLINS                           Claim 004505, Payment                               5600-000                                  $2,600.00       $7,837,910.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34120     ODELL COLSON                             Claim 004506, Payment                               5600-000                                  $2,600.00       $7,835,310.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34121     PATRICIA S COONEY                        Claim 004507, Payment                               5600-000                                  $2,600.00       $7,832,710.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34122     DAVID CORSO                              Claim 004508, Payment                               5600-000                                  $2,600.00       $7,830,110.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34123     HASIBULLAH HAMID                         Claim 004509, Payment                               5600-000                                  $2,095.00       $7,828,015.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34124     ALBERT V COTE JR                         Claim 004510, Payment                               5600-000                                  $2,600.00       $7,825,415.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34125     GILDA COUCH                              Claim 004511, Payment                               5600-000                                  $2,026.00       $7,823,389.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34126     LAMAR CULPEPPER JR                       Claim 004512, Payment                               5600-000                                  $2,600.00       $7,820,789.02
                                c/o Azar and Azar                        100.00000%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34127     KENNETH AND PAMELA HALL                  Claim 004513, Payment                               5600-000                                  $2,600.00        $7,818,189.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34128     LYDIA HUG                                Claim 004515, Payment                               5600-000                                  $2,022.00        $7,816,167.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34129     JEFFERSON HULL                           Claim 004516, Payment                               5600-000                                  $2,600.00        $7,813,567.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34130     DAVID IACOVELLI                          Claim 004517, Payment                               5600-000                                  $2,600.00        $7,810,967.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34131     MICHAEL IVY                              Claim 004518, Payment                               5600-000                                  $2,600.00        $7,808,367.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34132     JANIE JAIMEZ                             Claim 004519, Payment                               5600-000                                  $2,600.00        $7,805,767.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34133     KRISTEN JARAMILLO                        Claim 004520, Payment                               5600-000                                  $2,600.00        $7,803,167.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34134     BRIAN JENKINS                            Claim 004521, Payment                               5600-000                                     $267.00       $7,802,900.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34135     CARLA JENKINS                            Claim 004522, Payment                               5600-000                                  $2,600.00        $7,800,300.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34136     NICOLAS A MARTINEZ                       Claim 004523, Payment                               5600-000                                  $2,600.00        $7,797,700.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34137     PAUL M JOHNSEN                           Claim 004524, Payment                               5600-000                                  $2,134.00        $7,795,566.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34138     REYNALDO MARTINEZ                        Claim 004525, Payment                               5600-000                                  $2,600.00        $7,792,966.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34139     DARON JOHNSON                            Claim 004526, Payment                               5600-000                                  $2,600.00        $7,790,366.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34140     EVANINIA JOHNSON                         Claim 004527, Payment                               5600-000                                     $879.00       $7,789,487.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34141     JACQUELINE MATHIS                        Claim 004529, Payment                               5600-000                                     $637.00       $7,788,850.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34142     ANN MAUPIN                               Claim 004531, Payment                               5600-000                                  $2,600.00        $7,786,250.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34143     ROOSEVELT JOHNSON                        Claim 004532, Payment                               5600-000                                  $2,600.00        $7,783,650.02
                                c/o Azar and Azar                        100.00000%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                   Code                                                       ($)
   08/27/14           34144     CORA MC INTOSH                           Claim 004533, Payment                               5600-000                                  $2,582.00       $7,781,068.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34145     ALVIN T. JONES                           Claim 004534, Payment                               5600-000                                  $2,600.00       $7,778,468.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34146     DONYELL JONES                            Claim 004536, Payment                               5600-000                                  $2,600.00       $7,775,868.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34147     ELIZABETH JONES                          Claim 004537, Payment                               5600-000                                  $2,600.00       $7,773,268.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34148     LAURA MCCLEARY                           Claim 004539, Payment                               5600-000                                  $2,600.00       $7,770,668.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34149     WILLIAM MCELROY                          Claim 004541, Payment                               5600-000                                  $2,600.00       $7,768,068.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34150     JULIE JONES-BEY                          Claim 004542, Payment                               5600-000                                  $2,600.00       $7,765,468.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34151     LYNDA A. KAHN                            Claim 004545, Payment                               5600-000                                  $1,349.00       $7,764,119.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34152     MELODIE MCLANE                           Claim 004546, Payment                               5600-000                                  $2,600.00       $7,761,519.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34153     LAWRENCE KIBLER                          Claim 004547, Payment                               5600-000                                  $2,600.00       $7,758,919.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34154     FAYE KILLIAN                             Claim 004548, Payment                               5600-000                                  $2,600.00       $7,756,319.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34155     RORY KIRCHHOFER                          Claim 004549, Payment                               5600-000                                  $2,600.00       $7,753,719.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34156     HYMAN KISLAK                             Claim 004550, Payment                               5600-000                                  $2,600.00       $7,751,119.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34157     THOMAS MCNEILL                           Claim 004551, Payment                               5600-000                                  $2,600.00       $7,748,519.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34158     ROSETTA KNIGHT                           Claim 004552, Payment                               5600-000                                  $1,845.00       $7,746,674.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34159     CARL P KOCIUBA                           Claim 004553, Payment                               5600-000                                  $2,600.00       $7,744,074.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34160     CYNTHIA MCQUIGG                          Claim 004554, Payment                               5600-000                                  $2,600.00       $7,741,474.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $42,176.00
                                                                            Document          Page 444 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                   Code                                                       ($)
   08/27/14           34161     AMELIA MEDINA                            Claim 004555, Payment                               5600-000                                  $2,600.00       $7,738,874.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34162     TROY KOFFLER                             Claim 004556, Payment                               5600-000                                  $1,066.00       $7,737,808.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34163     RONALD F KRETSCHMER SR                   Claim 004558, Payment                               5600-000                                  $2,600.00       $7,735,208.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34164     KEVIN JAMES KYSER                        Claim 004559, Payment                               5600-000                                  $2,600.00       $7,732,608.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34165     TIMOTHY MEDLEY                           Claim 004560, Payment                               5600-000                                  $2,600.00       $7,730,008.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34166     JEFFREY M LADISIC                        Claim 004561, Payment                               5600-000                                  $2,600.00       $7,727,408.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34167     ARTHUR LADUE                             Claim 004562, Payment                               5600-000                                  $2,600.00       $7,724,808.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34168     LORENZO LAMBERT                          Claim 004563, Payment                               5600-000                                  $1,975.00       $7,722,833.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34169     JOHN LANE                                Claim 004564, Payment                               5600-000                                  $2,600.00       $7,720,233.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34170     GENEVIEVE LAURENT                        Claim 004565, Payment                               5600-000                                  $2,600.00       $7,717,633.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34171     LEANDA LAWRENCE                          Claim 004566, Payment                               5600-000                                  $2,600.00       $7,715,033.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34172     SHANIEL LEAVITT                          Claim 004567, Payment                               5600-000                                  $2,600.00       $7,712,433.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34173     JOANN MENDEZ                             Claim 004568, Payment                               5600-000                                  $2,600.00       $7,709,833.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34174     HENRY J MERLINO                          Claim 004569, Payment                               5600-000                                  $2,600.00       $7,707,233.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34175     HUGO MILLAN                              Claim 004570, Payment                               5600-000                                  $2,600.00       $7,704,633.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34176     THOMAS PHILLIPS                          Claim 004572, Payment                               5600-000                                  $2,600.00       $7,702,033.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34177     MICHAEL F LEBLANC JR                     Claim 004574, Payment                               5600-000                                  $1,723.00       $7,700,310.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                            Document          Page 445 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34178     JACK B MITCHELL                          Claim 004575, Payment                               5600-000                                  $2,600.00        $7,697,710.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34179     JOYCE POOLE                              Claim 004577, Payment                               5600-000                                  $2,600.00        $7,695,110.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34180     ROSEMARY POOLE                           Claim 004578, Payment                               5600-000                                  $2,600.00        $7,692,510.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34181     MONIQUE MOORE                            Claim 004579, Payment                               5600-000                                  $2,481.00        $7,690,029.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34182     RENEE LECLERC                            Claim 004580, Payment                               5600-000                                  $2,065.00        $7,687,964.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34183     JENNIFER LEDWIDGE                        Claim 004581, Payment                               5600-000                                  $1,988.00        $7,685,976.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34184     ROBYN LEE                                Claim 004582, Payment                               5600-000                                  $2,600.00        $7,683,376.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34185     PAULA MOORE                              Claim 004583, Payment                               5600-000                                     $643.00       $7,682,733.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34186     LEWIS R MORTON                           Claim 004584, Payment                               5600-000                                  $2,600.00        $7,680,133.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34187     FERNANDO MORALES                         Claim 004585, Payment                               5600-000                                  $2,600.00        $7,677,533.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34188     CAROLYN MORIN                            Claim 004586, Payment                               5600-000                                  $2,600.00        $7,674,933.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34189     ELSIE MORRIS                             Claim 004587, Payment                               5600-000                                  $1,165.00        $7,673,768.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34190     DAVID LEGER                              Claim 004588, Payment                               5600-000                                  $2,600.00        $7,671,168.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34191     OSVALDO LIMA                             Claim 004590, Payment                               5600-000                                  $2,600.00        $7,668,568.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34192     DOUGLAS S LOFTHOUSE                      Claim 004591, Payment                               5600-000                                  $2,600.00        $7,665,968.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34193     JOAN POTHOFF                             Claim 004592, Payment                               5600-000                                  $2,600.00        $7,663,368.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34194     TARA LOPEZ                               Claim 004593, Payment                               5600-000                                  $2,600.00        $7,660,768.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                            Document          Page 446 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34195     DONALD PRATHER                           Claim 004595, Payment                               5600-000                                     $554.00       $7,660,214.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34196     ELIZABETH MURRAY                         Claim 004596, Payment                               5600-000                                  $2,600.00        $7,657,614.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34197     KENNETH PRED                             Claim 004597, Payment                               5600-000                                  $2,209.00        $7,655,405.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34198     MARGARITA LUNA                           Claim 004598, Payment                               5600-000                                     $375.00       $7,655,030.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34199     MARY VIOLA MAKLE                         Claim 004599, Payment                               5600-000                                  $1,655.00        $7,653,375.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34200     MARK MALONEY                             Claim 004600, Payment                               5600-000                                  $1,268.00        $7,652,107.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34201     JAMES A PROPST                           Claim 004601, Payment                               5600-000                                  $2,600.00        $7,649,507.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34202     JERRY MARSHALL                           Claim 004602, Payment                               5600-000                                  $2,600.00        $7,646,907.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34203     RONALD PUCKETT                           Claim 004603, Payment                               5600-000                                  $2,600.00        $7,644,307.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34204     JAY R MYERS                              Claim 004604, Payment                               5600-000                                  $2,600.00        $7,641,707.02
                                c.o Azar and Azar                        100.00000%
   08/27/14           34205     APRIL RAGO                               Claim 004606, Payment                               5600-000                                  $2,600.00        $7,639,107.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34206     ROSE S NICOLOSI                          Claim 004607, Payment                               5600-000                                  $2,272.00        $7,636,835.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34207     JOSEPH NIKLES                            Claim 004608, Payment                               5600-000                                  $1,762.00        $7,635,073.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34208     LYNDA C NORTON                           Claim 004609, Payment                               5600-000                                  $1,442.00        $7,633,631.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34209     PAUL ORLEY                               Claim 004611, Payment                               5600-000                                  $2,505.00        $7,631,126.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34210     ROBBY OSEGUERA                           Claim 004613, Payment                               5600-000                                  $2,600.00        $7,628,526.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34211     DORA RAMIREZ                             Claim 004614, Payment                               5600-000                                  $1,686.00        $7,626,840.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                            Document          Page 447 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                   Code                                                       ($)
   08/27/14           34212     CISSE OUSMANE                            Claim 004615, Payment                               5600-000                                  $2,600.00       $7,624,240.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34213     LANDER RAMIREZ                           Claim 004616, Payment                               5600-000                                  $2,600.00       $7,621,640.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34214     BOBBY OWENS                              Claim 004617, Payment                               5600-000                                  $2,600.00       $7,619,040.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34215     MONIC SOUTHERN-ARENAS                    Claim 004618, Payment                               5600-000                                  $2,600.00       $7,616,440.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34216     JAHALAR RAVIZEE                          Claim 004619, Payment                               5600-000                                  $2,423.00       $7,614,017.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34217     ROMEO F PAAT                             Claim 004620, Payment                               5600-000                                  $2,600.00       $7,611,417.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34218     LINDA SPEER                              Claim 004621, Payment                               5600-000                                  $2,600.00       $7,608,817.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34219     DORLISTA R REED                          Claim 004622, Payment                               5600-000                                  $2,600.00       $7,606,217.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34220     JIMMY STALLARD                           Claim 004623, Payment                               5600-000                                  $2,309.00       $7,603,908.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34221     ESTRELITA STANFIELD                      Claim 004624, Payment                               5600-000                                  $2,600.00       $7,601,308.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34222     MAGARET PAPOTTA                          Claim 004625, Payment                               5600-000                                  $2,600.00       $7,598,708.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34223     ALICE STANLEY                            Claim 004626, Payment                               5600-000                                  $1,555.00       $7,597,153.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34224     GREG REED                                Claim 004627, Payment                               5600-000                                  $2,600.00       $7,594,553.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34225     JHOVANY PARRA                            Claim 004628, Payment                               5600-000                                  $2,600.00       $7,591,953.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34226     JOHN STEPEHNS                            Claim 004629, Payment                               5600-000                                  $1,882.00       $7,590,071.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34227     ROSE STEWART                             Claim 004630, Payment                               5600-000                                  $2,600.00       $7,587,471.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34228     VARY STINSON                             Claim 004631, Payment                               5600-000                                  $2,600.00       $7,584,871.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                   Code                                                       ($)
   08/27/14           34229     JUDY STOVER                              Claim 004633, Payment                               5600-000                                  $2,600.00       $7,582,271.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34230     JANET STRINGFIELD                        Claim 004634, Payment                               5600-000                                  $2,600.00       $7,579,671.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34231     JAMES PATTERSON                          Claim 004635, Payment                               5600-000                                  $2,173.00       $7,577,498.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34232     ESTHER PEARSON                           Claim 004636, Payment                               5600-000                                  $2,600.00       $7,574,898.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34233     THERESA PEEDEN                           Claim 004637, Payment                               5600-000                                  $2,600.00       $7,572,298.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34234     HERMIE PENDLEBURY                        Claim 004638, Payment                               5600-000                                  $2,600.00       $7,569,698.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34235     EDWARD PERRIELLO                         Claim 004639, Payment                               5600-000                                  $2,600.00       $7,567,098.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34236     JAMES PERSKE                             Claim 004640, Payment                               5600-000                                  $2,600.00       $7,564,498.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34237     RICARDO PESQUERA                         Claim 004641, Payment                               5600-000                                  $2,600.00       $7,561,898.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34238     LEONARD PETERS                           Claim 004642, Payment                               5600-000                                  $2,600.00       $7,559,298.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34239     JUDITH PEZZELLA                          Claim 004643, Payment                               5600-000                                  $2,600.00       $7,556,698.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34240     PAMELA REID                              Claim 004644, Payment                               5600-000                                  $2,600.00       $7,554,098.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34241     DANIEL REYES                             Claim 004646, Payment                               5600-000                                  $2,600.00       $7,551,498.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34242     LARRY THOMAS                             Claim 004647, Payment                               5600-000                                  $2,600.00       $7,548,898.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34243     HUBERT E REYNOLDS                        Claim 004648, Payment                               5600-000                                  $2,600.00       $7,546,298.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34244     JESSICA RICHARDS                         Claim 004649, Payment                               5600-000                                  $1,855.00       $7,544,443.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34245     PATRICIA THOME                           Claim 004650, Payment                               5600-000                                  $2,600.00       $7,541,843.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34246     DAVID TOMASCHEFSKI                        Claim 004651, Payment                               5600-000                                  $2,600.00        $7,539,243.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34247     MARANDA JO DAVIS                          Claim 004652, Payment                               5600-000                                  $2,600.00        $7,536,643.02
                                                                          100.00000%
                                CO ROBERT L BAER TRUSTEE
                                534 S KANSAS AVE
                                STE 1100
                                TOPEKA, KS 66603
   08/27/14           34248     GERRI ROSE-VILLA                          Claim 004653, Payment                               5600-000                                  $2,571.00        $7,534,072.02
                                                                          100.00000%
                                6794 San Arturo Cir.
                                Buena Park, CA 90620
   08/27/14           34249     ARGO PARTNERS                             Claim 004654, Payment                               5600-000                                  $2,600.00        $7,531,472.02
                                12 West 37th Street, 9th FloorNew York,   100.00000%
                                NY 10018
   08/27/14           34250     ARGO PARTNERS                             Claim 004655, Payment                               5600-000                                  $2,600.00        $7,528,872.02
                                12 West 37th Street, 9th FloorNew York,   100.00000%
                                NY 10018
   08/27/14           34251     KAY F SMITH                               Claim 004656, Payment                               5600-004                                     $533.00       $7,528,339.02
                                                                          100.00000%
                                531 BRIDLE RIDGE LN 201
                                RALEIGH, NC 27609
   08/27/14           34252     ROBERT STROUGH                            Claim 004657, Payment                               5600-000                                  $2,600.00        $7,525,739.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34253     ELIZABETH STROUP                          Claim 004658, Payment                               5600-000                                  $2,078.00        $7,523,661.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34254     TOMMIE E STUCKEY                          Claim 004659, Payment                               5600-000                                     $625.00       $7,523,036.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34255     DAVID TORRES                              Claim 004660, Payment                               5600-000                                  $1,569.00        $7,521,467.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34256     RENA TROUTMAN                             Claim 004663, Payment                               5600-000                                  $2,600.00        $7,518,867.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34257     MELVIN TATUM                              Claim 004665, Payment                               5600-000                                  $2,600.00        $7,516,267.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34258     ELVA TORRES                               Claim 004666, Payment                               5600-000                                  $2,600.00        $7,513,667.02
                                c/o Azar and Azar                         100.00000%




                                    Case 10-30631              Doc 5751        Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $28,176.00
                                                                             Document          Page 450 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


       1                2                           3                                            4                                                   5                6                     7

Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34259     VICTOR TAVAREZ                           Claim 004667, Payment                               5600-000                                  $2,600.00        $7,511,067.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34260     HANH TRAN                                Claim 004668, Payment                               5600-000                                  $2,600.00        $7,508,467.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34261     DIANNE TAYLOR                            Claim 004669, Payment                               5600-000                                  $1,539.00        $7,506,928.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34262     HEIDI TOSTI                              Claim 004672, Payment                               5600-000                                  $1,263.00        $7,505,665.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34263     VINCENT TRUPIA                           Claim 004673, Payment                               5600-000                                  $2,600.00        $7,503,065.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34264     CHRISTOPHER VAIL                         Claim 004674, Payment                               5600-000                                  $2,600.00        $7,500,465.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34265     FRED VALDEZ                              Claim 004675, Payment                               5600-000                                  $2,600.00        $7,497,865.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34266     CINTHIA VARGAS                           Claim 004676, Payment                               5600-000                                  $2,600.00        $7,495,265.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34267     MICHAEL VARKEY                           Claim 004677, Payment                               5600-000                                  $2,600.00        $7,492,665.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34268     MARGARET VASQUEZ                         Claim 004678, Payment                               5600-000                                     $985.00       $7,491,680.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34269     ANGEL VAZQUEZ                            Claim 004679, Payment                               5600-000                                  $2,600.00        $7,489,080.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34270     JORGE VILORIA                            Claim 004680, Payment                               5600-000                                  $1,598.00        $7,487,482.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34271     JOSEPH VITANZA                           Claim 004681, Payment                               5600-000                                  $2,600.00        $7,484,882.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34272     KAREN PILGRIM                            Claim 004682, Payment                               5600-000                                  $2,600.00        $7,482,282.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34273     GERRY D POINDEXTER SR                    Claim 004683, Payment                               5600-000                                  $1,034.00        $7,481,248.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34274     SANDRA POLK                              Claim 004684, Payment                               5600-000                                  $2,201.00        $7,479,047.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34275     RANDY VOLOSEVICH                         Claim 004685, Payment                               5600-000                                  $2,600.00        $7,476,447.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $37,220.00
                                                                            Document          Page 451 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                   Code                                                       ($)
   08/27/14           34276     BRIAN RISCH                              Claim 004686, Payment                               5600-000                                  $2,600.00       $7,473,847.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34277     SAMUEL VURA                              Claim 004687, Payment                               5600-000                                  $2,600.00       $7,471,247.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34278     DWAIN RITCHIE                            Claim 004688, Payment                               5600-000                                  $2,600.00       $7,468,647.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34279     SHARON G RIVERS                          Claim 004689, Payment                               5600-000                                  $2,600.00       $7,466,047.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34280     KRISTY WAECKERLIN                        Claim 004691, Payment                               5600-000                                  $2,351.00       $7,463,696.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34281     BEVERLEY ROBINSON                        Claim 004692, Payment                               5600-000                                  $1,709.00       $7,461,987.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34282     ROBERT WAHL                              Claim 004693, Payment                               5600-000                                  $2,520.00       $7,459,467.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34283     MADISON E WAITS                          Claim 004694, Payment                               5600-000                                  $2,545.00       $7,456,922.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34284     JAMES L ROBINSON                         Claim 004695, Payment                               5600-000                                  $2,600.00       $7,454,322.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34285     BILLY WAYNE WALTERS                      Claim 004696, Payment                               5600-000                                  $2,600.00       $7,451,722.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34286     PHYLLIS WARE                             Claim 004697, Payment                               5600-000                                  $1,919.00       $7,449,803.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34287     WINDDEER WASHINGTON                      Claim 004698, Payment                               5600-000                                  $2,600.00       $7,447,203.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34288     JESSICA WAUGAMAN                         Claim 004699, Payment                               5600-000                                  $2,600.00       $7,444,603.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34289     SHIRLEY ROGERS                           Claim 004700, Payment                               5600-000                                  $2,552.00       $7,442,051.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34290     MATTHEW ROHNER                           Claim 004701, Payment                               5600-000                                  $2,600.00       $7,439,451.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34291     PATRICIA WEATHERSPOON                    Claim 004702, Payment                               5600-000                                  $1,649.00       $7,437,802.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34292     JIMMY ROMERO                             Claim 004703, Payment                               5600-000                                  $2,600.00       $7,435,202.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                            Document          Page 452 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34293     VICTORIA L WEGENER                       Claim 004704, Payment                               5600-000                                  $1,964.00        $7,433,238.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34294     LEONARD ROSATI                           Claim 004705, Payment                               5600-000                                  $2,600.00        $7,430,638.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34295     ANTHONY R WENGLER                        Claim 004706, Payment                               5600-000                                  $2,600.00        $7,428,038.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34296     ANGELA ROYAL                             Claim 004707, Payment                               5600-000                                  $2,600.00        $7,425,438.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34297     TOMMY N WEST                             Claim 004708, Payment                               5600-000                                  $1,460.00        $7,423,978.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34298     PAMELA D RUSH                            Claim 004709, Payment                               5600-000                                  $2,600.00        $7,421,378.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34299     BETTY JOE RUTLEDGE                       Claim 004710, Payment                               5600-000                                  $2,600.00        $7,418,778.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34300     MAGGIE SALAC                             Claim 004711, Payment                               5600-000                                  $2,600.00        $7,416,178.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34301     SEVERINO G SALAC JR                      Claim 004712, Payment                               5600-000                                  $2,600.00        $7,413,578.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34302     MELISSA SALISBURY                        Claim 004713, Payment                               5600-000                                     $808.00       $7,412,770.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34303     ADAM SANCHEZ                             Claim 004714, Payment                               5600-000                                  $2,600.00        $7,410,170.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34304     CHARLES SANDERS                          Claim 004715, Payment                               5600-000                                  $2,600.00        $7,407,570.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34305     OSEY SANDERS                             Claim 004716, Payment                               5600-000                                  $2,600.00        $7,404,970.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34306     ANTONIO M SANTA CRUZ                     Claim 004717, Payment                               5600-000                                  $2,600.00        $7,402,370.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34307     RICHARD SCHAEFER                         Claim 004718, Payment                               5600-000                                  $1,685.00        $7,400,685.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34308     JOHN SCHMIDT                             Claim 004719, Payment                               5600-000                                  $2,600.00        $7,398,085.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34309     LILA SCROGGINS                           Claim 004720, Payment                               5600-000                                  $2,600.00        $7,395,485.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                            Document          Page 453 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34310     EMMA LOU SHELTON                         Claim 004721, Payment                               5600-000                                  $2,179.00        $7,393,306.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34311     KENNETH B SIMMONS                        Claim 004722, Payment                               5600-000                                  $2,600.00        $7,390,706.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34312     SALLY SIMON                              Claim 004723, Payment                               5600-000                                  $1,280.00        $7,389,426.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34313     MARY SINGLETON                           Claim 004724, Payment                               5600-000                                     $604.00       $7,388,822.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34314     HOSEA SKIPPER                            Claim 004725, Payment                               5600-000                                  $2,600.00        $7,386,222.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34315     KIM SMISCHNEY                            Claim 004726, Payment                               5600-000                                  $2,174.00        $7,384,048.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34316     GARY E SMITH                             Claim 004728, Payment                               5600-000                                  $2,600.00        $7,381,448.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34317     JAMES F SMITH                            Claim 004729, Payment                               5600-000                                  $1,093.00        $7,380,355.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34318     JULIUS SMITH                             Claim 004730, Payment                               5600-000                                  $2,600.00        $7,377,755.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34319     OCIE SMITH                               Claim 004731, Payment                               5600-000                                  $2,600.00        $7,375,155.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34320     RANDY SMITH                              Claim 004732, Payment                               5600-000                                  $2,600.00        $7,372,555.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34321     LEAH SMITHSON                            Claim 004733, Payment                               5600-000                                     $781.00       $7,371,774.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34322     ULYSSES SOLOMON                          Claim 004737, Payment                               5600-000                                     $832.00       $7,370,942.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34323     HECTOR L SOTO                            Claim 004738, Payment                               5600-000                                  $2,518.00        $7,368,424.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34324     JOHN WHEATLEY                            Claim 004739, Payment                               5600-000                                  $2,600.00        $7,365,824.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34325     DORIS WHISONANT                          Claim 004740, Payment                               5600-000                                  $1,149.00        $7,364,675.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34326     BETTY WHITE                              Claim 004742, Payment                               5600-000                                  $2,600.00        $7,362,075.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                            Document          Page 454 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34327     DORINDA WILHELM                          Claim 004743, Payment                               5600-000                                  $2,600.00        $7,359,475.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34328     STEPHEN WILLEY                           Claim 004745, Payment                               5600-000                                  $2,600.00        $7,356,875.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34329     AMANDA MARIE WILLIAMS                    Claim 004746, Payment                               5600-000                                  $2,600.00        $7,354,275.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34330     EVANS WILLIAMS                           Claim 004747, Payment                               5600-000                                  $2,600.00        $7,351,675.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34331     MICHAEL WILLIAMS                         Claim 004748, Payment                               5600-000                                  $2,600.00        $7,349,075.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34332     LISA WILT                                Claim 004749, Payment                               5600-000                                  $1,569.00        $7,347,506.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34333     LESTER WITHERSPOON                       Claim 004751, Payment                               5600-000                                  $2,600.00        $7,344,906.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34334     LAURIE A WOOTEN                          Claim 004752, Payment                               5600-000                                  $1,663.00        $7,343,243.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34335     DANA G WORTHY                            Claim 004753, Payment                               5600-000                                  $2,600.00        $7,340,643.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34336     CHEDDI WRIGHT                            Claim 004754, Payment                               5600-000                                  $2,600.00        $7,338,043.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34337     JASON WRIGHT                             Claim 004755, Payment                               5600-000                                   $2,211.00       $7,335,832.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34338     DAVID WYLIE                              Claim 004756, Payment                               5600-000                                  $2,600.00        $7,333,232.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34339     DALE WYZYKOWSKI                          Claim 004757, Payment                               5600-000                                  $2,600.00        $7,330,632.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34340     RICARDO YABES                            Claim 004758, Payment                               5600-000                                  $1,924.00        $7,328,708.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34341     RENEE YALLEY                             Claim 004759, Payment                               5600-000                                  $1,003.00        $7,327,705.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34342     DEBRA YARBROUGH                          Claim 004760, Payment                               5600-000                                  $1,821.00        $7,325,884.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34343     RANDOLPH YORK                            Claim 004761, Payment                               5600-000                                  $2,185.00        $7,323,699.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                                                                                                    Desc Main         $38,376.00
                                                                            Document          Page 455 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34344     CHRISTINE YOUNG                           Claim 004762, Payment                               5600-000                                  $2,600.00        $7,321,099.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34345     ROLANDO V YOUNG                           Claim 004763, Payment                               5600-000                                  $2,600.00        $7,318,499.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34346     ELLA ZACAHUA                              Claim 004764, Payment                               5600-000                                     $351.00       $7,318,148.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34347     GREGORY ZIMMERMAN                         Claim 004765, Payment                               5600-000                                  $2,240.00        $7,315,908.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34348     ANTHONY ZARRO                             Claim 004766, Payment                               5600-000                                  $1,809.00        $7,314,099.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34349     LOURDES ZARATE                            Claim 004767, Payment                               5600-000                                  $2,600.00        $7,311,499.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34350     RONALD MEJIA                              Claim 004768A, Payment                              5600-000                                  $2,600.00        $7,308,899.02
                                3962 Fairman St.Lakewood, CA 90712        100.00000%
   08/27/14           34351     ARGO PARTNERS                             Claim 004769, Payment                               5600-000                                  $2,600.00        $7,306,299.02
                                12 West 37th Street, 9th FloorNew York,   100.00000%
                                NY 10018
   08/27/14           34352     ARGO PARTNERS                             Claim 004770, Payment                               5600-000                                  $2,600.00        $7,303,699.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34353     BEVERLY WILLIAMS                          Claim 004771, Payment                               5600-000                                     $448.00       $7,303,251.02
                                                                          100.00000%
                                712 W MADISON
                                O FALLON, IL 62269
   08/27/14           34354     DARA YANG                                 Claim 004772, Payment                               5600-000                                  $2,600.00        $7,300,651.02
                                                                          100.00000%
                                3250 Monterey Ave.
                                Vadnais Heights, MN 55127
   08/27/14           34355     LIQUIDITY SOLUTIONS, INC.                 Claim 004773A, Payment                              5600-000                                  $2,600.00        $7,298,051.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34356     JOSHUA DOW                                Claim 004774, Payment                               5600-000                                     $303.00       $7,297,748.02
                                                                          100.00000%
                                115 124th Street SE F-7
                                Everett, WA 98208


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $25,951.00
                                                                             Document          Page 456 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34357     ARGO PARTNERS                             Claim 004775A, Payment                              5600-000                                  $2,600.00        $7,295,148.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34358     ROGELIO DELGADO                           Claim 004776, Payment                               5600-000                                  $2,600.00        $7,292,548.02
                                                                          100.00000%
                                1002 SUMMERFIELD DR
                                MILPITAS, CA 95035
   08/27/14           34359     VICTORIA MCBRIDE                          Claim 004777, Payment                               5600-000                                     $666.00       $7,291,882.02
                                                                          100.00000%
                                215 12 BASSETT ST
                                PETALUMA, CA 94952
   08/27/14           34360     ARTHUR WILSON                             Claim 004778, Payment                               5600-000                                     $664.00       $7,291,218.02
                                                                          100.00000%
                                919 Oak Street
                                Roselle, NJ 07203
   08/27/14           34361     JOHN GOOD                                 Claim 004780A, Payment                              5600-000                                  $2,600.00        $7,288,618.02
                                                                          100.00000%
                                4913 Oakmast Trail
                                Fort Wayne, IN 46804
   08/27/14           34362     HEATHER KARPAN                            Claim 004782, Payment                               5600-000                                  $1,960.00        $7,286,658.02
                                                                          100.00000%
                                311 S. Evergreen Rd. Unit P-360
                                Woodburn, OK 97071
   08/27/14           34363     KRISTIAN FLINN                            Claim 004783A, Payment                              5600-000                                  $1,819.00        $7,284,839.02
                                                                          100.00000%
                                285 Castleair Dr., NE
                                Kennesaw, GA 30144
   08/27/14           34364     ERIC JURACEK                           Claim 004784, Payment                                  5600-000                                     $166.00       $7,284,673.02
                                2808 N. 192nd Ct., 3AElkhorn, NE 68022 100.00000%
   08/27/14           34365     ARGO PARTNERS                             Claim 004785, Payment                               5600-000                                  $1,821.00        $7,282,852.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34366     WALTER F AND URSULA M PERRY               Claim 004787, Payment                               5600-000                                  $2,379.00        $7,280,473.02
                                                                          100.00000%
                                232 S KIOWA CT
                                JUNCTION CITY, KS 66441



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,275.00
                                                                             Document          Page 457 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34367     LIQUIDITY SOLUTIONS, INC.                 Claim 004788, Payment                               5600-000                                  $1,475.00        $7,278,998.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34368     CHRISTINA BURNS                           Claim 004789, Payment                               5600-000                                     $320.00       $7,278,678.02
                                1609 Haven PlaceAllen, TX 75002           100.00000%
   08/27/14           34369     ROBERT AGUILAR                            Claim 004793, Payment                               5600-000                                  $2,600.00        $7,276,078.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34370     THOMAS COSTANZO                           Claim 004795, Payment                               5600-000                                     $901.00       $7,275,177.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34371     JANIF YOKHANA                             Claim 004796, Payment                               5600-000                                  $1,595.00        $7,273,582.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34372     JOHN RUIZ                                 Claim 004798, Payment                               5600-000                                  $2,600.00        $7,270,982.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34373     SAMUEL J LEMBO                            Claim 004799, Payment                               5600-000                                  $2,600.00        $7,268,382.02
                                7 HICKORY LNROCHESTER, NY 14625           100.00000%
   08/27/14           34374     ARGO PARTNERS                             Claim 004800, Payment                               5600-000                                  $2,600.00        $7,265,782.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34375     LISA CERVANTES                            Claim 004801, Payment                               5600-000                                  $1,985.00        $7,263,797.02
                                                                          100.00000%
                                602 Wimbledon Dr Apt 105
                                Lodi, CA 95240
   08/27/14           34376     REBECCA SMILES                            Claim 004802A, Payment                              5600-000                                  $2,600.00        $7,261,197.02
                                C/O EDWARD M WAYLAND913 E.                100.00000%
                                Jefferson St.Charlottesville, VA 22902
   08/27/14           34377     BARBARA VIRAMONTEZ                        Claim 004803, Payment                               5600-000                                  $2,600.00        $7,258,597.02
                                                                          100.00000%
                                9711 Cornelison
                                Wichita, KS 67212
   08/27/14           34378     PAIGE BALDRIDGE                           Claim 004804, Payment                               5600-000                                  $1,621.00        $7,256,976.02
                                                                          100.00000%
                                PO Box 1028
                                White Deer, TX 79097




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 458 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34379     JAMES AND SABINA MARTIN                   Claim 004805, Payment                               5600-000                                  $2,475.00        $7,254,501.02
                                                                          100.00000%
                                3131 S BERNITA CIR
                                TUCSON, AZ 85730
   08/27/14           34380     ARGO PARTNERS                             Claim 004809, Payment                               5600-000                                  $2,600.00        $7,251,901.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34381     JOSEPH AST                                Claim 004810, Payment                               5600-000                                  $2,349.00        $7,249,552.02
                                                                          100.00000%
                                22 Carol Drive
                                Glenwood, NJ 07418
   08/27/14           34382     YESENIA RIVERA-ADORNO                     Claim 004811, Payment                               5600-000                                     $791.00       $7,248,761.02
                                                                          100.00000%
                                3240 Riverdale Avenue Apt 5D
                                Bronx, NY 10463
   08/27/14           34383     ARGO PARTNERS                             Claim 004813, Payment                               5600-000                                  $2,600.00        $7,246,161.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34384     DIANE MONTAGNESE                          Claim 004814, Payment                               5600-000                                  $2,600.00        $7,243,561.02
                                                                          100.00000%
                                194 KETAY DR SOUTH
                                EAST NORTHPORT, NY 11731
   08/27/14           34385     ELVIRA RICE                               Claim 004815, Payment                               5600-000                                  $2,600.00        $7,240,961.02
                                                                          100.00000%
                                7326 Dean Dr
                                Dittmer, MO 63023
   08/27/14           34386     ARGO PARTNERS                             Claim 004817, Payment                               5600-000                                  $2,600.00        $7,238,361.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34387     ARGO PARTNERS                             Claim 004819, Payment                               5600-000                                  $2,600.00        $7,235,761.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34388     JAVIER NORIEGA                            Claim 004820, Payment                               5600-000                                  $2,600.00        $7,233,161.02
                                                                          100.00000%
                                2801 Persing Drive Apt 3
                                El Paso, TX 79903
   08/27/14           34389     PERICLES FOTENOS                          Claim 004821, Payment                               5600-000                                  $2,600.00        $7,230,561.02
                                                                          100.00000%
                                1745 Bellmore Avenue
                                North Bellmore, NY 11710
   08/27/14           34390     ARGO PARTNERS                             Claim 004822, Payment                               5600-000                                  $2,600.00        $7,227,961.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34391     ARGO PARTNERS                             Claim 004823A, Payment                              5600-000                                  $2,600.00        $7,225,361.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34392     ANITA ARCHER                              Claim 004825, Payment                               5600-000                                  $1,805.00        $7,223,556.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34393     VINCENT ANASAGASTI                        Claim 004826, Payment                               5600-000                                   $2,115.00       $7,221,441.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34394     ARGO PARTNERS                             Claim 004827, Payment                               5600-000                                  $2,600.00        $7,218,841.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34395     WENDY THOMPSON                            Claim 004828, Payment                               5600-000                                     $298.00       $7,218,543.02
                                                                          100.00000%
                                1209 Dale St
                                Muscatine, IA 52761
   08/27/14           34396     BETTY ORTEGA                              Claim 004829, Payment                               5600-000                                     $427.00       $7,218,116.02
                                                                          100.00000%
                                319 N Barnett Ave
                                Dallas, TX 75211
   08/27/14           34397     MELISSA-ANN K GORA                        Claim 004830, Payment                               5600-000                                  $1,486.00        $7,216,630.02
                                                                          100.00000%
                                91-927 WAIAPO PL
                                EWA BEACH, HI 96706-1869




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 460 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34398     ELIA CABALLERO                            Claim 004831, Payment                               5600-000                                     $442.00       $7,216,188.02
                                                                          100.00000%
                                5808 Estates Drive
                                Oakland, CA 94611
   08/27/14           34399     VICTOR AND WILHELMINA GABRIEL             Claim 004832, Payment                               5600-000                                  $2,600.00        $7,213,588.02
                                                                          100.00000%
                                2406 E 8TH ST
                                DAVIS, CA 95618
   08/27/14           34400     MYRTLE D WILLISTON                        Claim 004833, Payment                               5600-000                                     $892.00       $7,212,696.02
                                                                          100.00000%
                                PO BOX 1831
                                IDABEL, OK 74745
   08/27/14           34401     ARMANDO ZAMORA                            Claim 004834, Payment                               5600-000                                  $2,600.00        $7,210,096.02
                                                                          100.00000%
                                8621 13th Place NE
                                Lake Stevens, WA 98258
   08/27/14           34402     ARGO PARTNERS                             Claim 004835, Payment                               5600-000                                  $2,600.00        $7,207,496.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34403     GERALD A BOLEY                            Claim 004836, Payment                               5600-000                                     $385.00        $7,207,111.02
                                                                          100.00000%
                                4508 DEER STREAM LN
                                RALEIGH, NC 27603
   08/27/14           34404     GEOFFERY LEWIS                            Claim 004837, Payment                               5600-000                                     $434.00       $7,206,677.02
                                                                          100.00000%
                                14790 Whipple Court
                                San Jose, CA 95127
   08/27/14           34405     DAVID FOX                                 Claim 004839, Payment                               5600-000                                     $485.00       $7,206,192.02
                                                                          100.00000%
                                21 MILLBROOK DR
                                NASHUA, NH 03062
   08/27/14           34406     RONNY ALZAMORA                            Claim 004840, Payment                               5600-000                                  $2,600.00        $7,203,592.02
                                                                          100.00000%
                                37 Hilton St
                                Belleville, NJ 07109




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34407     DEBBIE TARANTINO                          Claim 004841, Payment                               5600-000                                  $2,600.00        $7,200,992.02
                                                                          100.00000%
                                24 Moriner Dr
                                Sewell, NJ 08080
   08/27/14           34408     GERMAN PLAZA                              Claim 004842, Payment                               5600-000                                  $2,600.00        $7,198,392.02
                                                                          100.00000%
                                633 Nighthawk Circle
                                Winter Springs, FL 32708-2371
   08/27/14           34409     ARGO PARTNERS                             Claim 004843, Payment                               5600-000                                  $2,600.00        $7,195,792.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34410     MICHELE PREBLE                            Claim 004844, Payment                               5600-000                                     $506.00       $7,195,286.02
                                                                          100.00000%
                                345 Billings Ave
                                Paulsboro, NJ 08066
   08/27/14           34411     NANCY CHAPPELL                            Claim 004845, Payment                               5600-000                                  $2,600.00        $7,192,686.02
                                                                          100.00000%
                                1345 Sprucewood Court
                                Amelia, OH 45102
   08/27/14           34412     ARGO PARTNERS                             Claim 004846, Payment                               5600-000                                  $2,600.00        $7,190,086.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34413     ARGO PARTNERS                             Claim 004847, Payment                               5600-000                                  $2,600.00        $7,187,486.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34414     FRANCES X RICCA                           Claim 004848, Payment                               5600-000                                  $2,600.00        $7,184,886.02
                                                                          100.00000%
                                45 Mantua Grove R19 White Swan Mobile
                                Park
                                West Deptford, NJ 08066
   08/27/14           34415     ROGER HOLLINGSWORTH                       Claim 004849A, Payment                              5600-000                                  $1,840.00        $7,183,046.02
                                                                          100.00000%
                                5908 S. Talman Ave. Apt.3D
                                Chicago, IL 60629




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $20,546.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34416     STANLEY GRANT                             Claim 004850, Payment                               5600-004                                     $212.00       $7,182,834.02
                                                                          100.00000%
                                714 Logan Street Apt 2
                                Brooklyn, NY 11208
   08/27/14           34417     ARGO PARTNERS                             Claim 004852, Payment                               5600-000                                  $2,600.00        $7,180,234.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34418     JILL GUTIERREZ                            Claim 004853, Payment                               5600-004                                  $2,600.00        $7,177,634.02
                                                                          100.00000%
                                580 North Spring Cir
                                Susanville, CA 96130
   08/27/14           34419     SHARON NARANJO                            Claim 004854, Payment                               5600-000                                     $746.00       $7,176,888.02
                                                                          100.00000%
                                PO Box 3332
                                Blue Jay, CA 92317
   08/27/14           34420     ARGO PARTNERS                             Claim 004855A, Payment                              5600-000                                     $564.00       $7,176,324.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34421     TERRY ALVAREZ                             Claim 004856, Payment                               5600-004                                     $160.00       $7,176,164.02
                                                                          100.00000%
                                11254 54th Street North
                                West Palm Beach, FL 33411
   08/27/14           34422     MARILYN ANGERS                            Claim 004857, Payment                               5600-000                                  $2,600.00        $7,173,564.02
                                                                          100.00000%
                                59 Leroy Place
                                Red Bank, NJ 07701
   08/27/14           34423     RUTH N HERNANDEZ                          Claim 004858, Payment                               5600-000                                  $1,193.00        $7,172,371.02
                                                                          100.00000%
                                PO Box 426 Bullville
                                New York, NY 10915
   08/27/14           34424     ARGO PARTNERS                             Claim 004859, Payment                               5600-000                                  $2,600.00        $7,169,771.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $13,275.00
                                                                             Document          Page 463 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34425     TANYA SELL                               Claim 004860, Payment                               5600-000                                     $511.00       $7,169,260.02
                                                                         100.00000%
                                442 Shipley Road
                                Linthiucm, MD 21090
   08/27/14           34426     MATTHEW RODGERS                          Claim 004862, Payment                               5600-000                                  $2,600.00        $7,166,660.02
                                                                         100.00000%
                                2977 Schaffer Circle
                                LAS VEGAS, NV 89121
   08/27/14           34427     MELVIN DENNY                             Claim 004863, Payment                               5600-000                                     $298.00       $7,166,362.02
                                                                         100.00000%
                                871 W. Erie St.
                                Chandler, AZ 85225
   08/27/14           34428     BONNIE DOSS                              Claim 004864, Payment                               5600-000                                     $319.00       $7,166,043.02
                                                                         100.00000%
                                2958 Millers Pond Dr
                                Memphis, TN 38119
   08/27/14           34429     THOMAS PATRICK MILLANE                   Claim 004865, Payment                               5600-000                                   $1,119.00       $7,164,924.02
                                                                         100.00000%
                                11024 TILLSON DR
                                SOUTH LYON, MI 48178
   08/27/14           34430     EDWARD ESCALANTE                         Claim 004867, Payment                               5600-000                                     $515.00       $7,164,409.02
                                                                         100.00000%
                                3878 Anita Ave
                                Yucca Valley, CA92284
   08/27/14           34431     TAKIYA ANDERSON                          Claim 004868, Payment                               5600-000                                  $1,025.00        $7,163,384.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34432     MICHAEL BANHA                            Claim 004870A, Payment                              5600-000                                  $2,600.00        $7,160,784.02
                                                                         100.00000%
                                3 BRIARWOOD CT
                                EMERSON, NJ 07630
   08/27/14           34433     CHEREE MCCLATCHEY                        Claim 004871, Payment                               5600-000                                     $803.00       $7,159,981.02
                                                                         100.00000%
                                1342 Golf Club Rd SE
                                Lacey, WA 98503
   08/27/14           34434     GERALD WILSON                            Claim 004872, Payment                               5600-000                                  $2,600.00        $7,157,381.02
                                                                         100.00000%
                                14352 JOYCE AVE
                                WESTMINSTER, CA 92683



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                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $12,390.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34435     CINDY KRAUS                              Claim 004874, Payment                               5600-000                                  $2,600.00        $7,154,781.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34436     CLAUDIA ANDAHL                           Claim 004875, Payment                               5600-000                                  $2,600.00        $7,152,181.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34437     KATHERINE ZHDANOVA PALAT                 Claim 004876, Payment                               5600-000                                  $2,600.00        $7,149,581.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34438     JUSTIN PERKINS                           Claim 004877, Payment                               5600-000                                  $2,600.00        $7,146,981.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34439     FRANK MAGRISCIANO                        Claim 004878, Payment                               5600-000                                  $2,600.00        $7,144,381.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34440     ASHLEY TERPSTRA                          Claim 004879, Payment                               5600-004                                     $470.00       $7,143,911.02
                                1740 Carolyn St.La Crosse, WI 54603      100.00000%
   08/27/14           34441     LESA BYKOWSKI                            Claim 004880, Payment                               5600-000                                     $454.00       $7,143,457.02
                                4619 Wesley TerramceSchiller Park, IL    100.00000%
                                60176
   08/27/14           34442     JAVIER MARQUEZ                           Claim 004881, Payment                               5600-000                                  $2,600.00        $7,140,857.02
                                PO Box 1901South Gate, CA 90280          100.00000%
   08/27/14           34443     LIQUIDITY SOLUTIONS, INC.                Claim 004882, Payment                               5600-000                                  $2,600.00        $7,138,257.02
                                One University Plaza, Ste.               100.00000%
                                312Hackensack, NJ 07601
   08/27/14           34444     CARLENE PYNE                             Claim 004883, Payment                               5600-000                                  $2,600.00        $7,135,657.02
                                                                         100.00000%
                                5 Patricia Drive
                                Milton, MA 02186
   08/27/14           34445     CARLOS CRUZ                              Claim 004884, Payment                               5600-000                                  $2,600.00        $7,133,057.02
                                                                         100.00000%
                                1627 E. Logan Dr.
                                Tempe, AZ 85282
   08/27/14           34446     JEFFREY HORBERT                          Claim 004885, Payment                               5600-000                                  $2,600.00        $7,130,457.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34447     ANTONIO SANTAMARINA                      Claim 004886, Payment                               5600-004                                  $2,600.00        $7,127,857.02
                                                                         100.00000%
                                65 CEDAR AVE UNIT C-4
                                LONG BRANCH, NJ 07740




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                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $29,524.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34448     MICHAEL T JACKSON                        Claim 004887, Payment                               5600-000                                  $2,600.00        $7,125,257.02
                                                                         100.00000%
                                947 GLENMORE TRAIL
                                BROWNSBURG, IN 46112
   08/27/14           34449     KEITH VISCOMI                            Claim 004888, Payment                               5600-000                                  $2,600.00        $7,122,657.02
                                                                         100.00000%
                                15427 Tysor Park Lane
                                Houston, TX 77095
   08/27/14           34450     NICOLE BUCHANA                           Claim 004889, Payment                               5600-000                                  $2,600.00        $7,120,057.02
                                PO Box 16383Tampa, FL 33687              100.00000%
   08/27/14           34451     KENNETH W HENDRICKS                      Claim 004896, Payment                               5600-000                                  $2,600.00        $7,117,457.02
                                                                         100.00000%
                                2939 N DEKALB DR
                                APT 205
                                DORAVILLE, GA 30340
   08/27/14           34452     JUANITA SHEFFIELD                        Claim 004900, Payment                               5600-000                                  $2,600.00        $7,114,857.02
                                                                         100.00000%
                                1488 Topside
                                Wharton, NJ 07885
   08/27/14           34453     GLANDLY M MURRAY                         Claim 004901, Payment                               5600-000                                  $2,600.00        $7,112,257.02
                                                                         100.00000%
                                112 OLIVER LN
                                ST SIMONS ISLAND, GA 31522
   08/27/14           34454     FERNANDO RODRIGUEZ                       Claim 004911, Payment                               5600-000                                     $294.00        $7,111,963.02
                                                                         100.00000%
                                1401 Village Blvd Apt 712
                                West Palm Beach, FL 33409
   08/27/14           34455     TERRI B READ                             Claim 004912, Payment                               5600-000                                  $2,265.00        $7,109,698.02
                                                                         100.00000%
                                616 Porto Cristo Avenue
                                St. Augustine, FL 32092
   08/27/14           34456     MOLLY CERRETANI                          Claim 004913, Payment                               5600-000                                  $2,600.00        $7,107,098.02
                                                                         100.00000%
                                14253 Bakerwood Place
                                Haymarket, VA 20169
   08/27/14           34457     BEVERLY POORKER                          Claim 004914, Payment                               5600-000                                  $2,600.00        $7,104,498.02
                                                                         100.00000%
                                1213 Ave P
                                Carter Lake, IA 51510


                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $23,359.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34458     DONALD F. NEIMAN                     Claim 004915, Payment                                   5600-000                                  $2,600.00        $7,101,898.02
                                Bankruptcy Estate of RANDI L VAN     100.00000%
                                REES801 Grand Ave., #3700Des Moines,
                                IA 50309-8004
   08/27/14           34459     ASSET RECOVERY MANAGEMENT,               Claim 004916A, Payment                              5600-000                                  $2,600.00        $7,099,298.02
                                LLC                                      100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34460     WES WALLACE                              Claim 004917, Payment                               5600-000                                  $2,600.00        $7,096,698.02
                                                                         100.00000%
                                6514 Carrington Sky Dr
                                Apollo Beach, FL 33572
   08/27/14           34461     RICARDO MARQUEZ                          Claim 004919, Payment                               5600-000                                  $1,856.00        $7,094,842.02
                                                                         100.00000%
                                3485 Doe Spring Circle
                                Corona, CA 92882
   08/27/14           34462     EMMERY PRESENDIEU                        Claim 004920, Payment                               5600-000                                  $2,390.00        $7,092,452.02
                                                                         100.00000%
                                140 Pelham Rd Apt 5J
                                New Rochelle, NY 10805
   08/27/14           34463     MELITA RINES                             Claim 004923, Payment                               5600-000                                     $383.00       $7,092,069.02
                                                                         100.00000%
                                750 O`FARRELL ST APT 107
                                SAN FRANCISCO, CA 94109
   08/27/14           34464     BUFFY HOPKINS                            Claim 004924, Payment                               5600-000                                     $475.00       $7,091,594.02
                                                                         100.00000%
                                5460 White Oak Ave. Unit K308
                                Encino, Ca 91316
   08/27/14           34465     SANDRA BERNAL                            Claim 004925, Payment                               5600-000                                  $1,876.00        $7,089,718.02
                                                                         100.00000%
                                742 W Jones Ave
                                Phoenix, AZ 85041
   08/27/14           34466     JESSICA M DIAZ                           Claim 004926, Payment                               5600-000                                  $1,439.00        $7,088,279.02
                                                                         100.00000%
                                3711 GUTHRIE CIR
                                LAWRENCEVILLE, GA 30044




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                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $16,219.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34467     SHONTAE GILLUS                            Claim 004927, Payment                               5600-004                                     $854.00       $7,087,425.02
                                                                          100.00000%
                                1142 Princeton Park Drive
                                Lithonia, GA 30058
   08/27/14           34468     ARGO PARTNERS                             Claim 004928, Payment                               5600-000                                  $2,600.00        $7,084,825.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34469     VINCENT D BRATHWAITE                      Claim 004929, Payment                               5600-000                                  $2,600.00        $7,082,225.02
                                                                          100.00000%
                                1065 VERMONT ST 5D
                                BROOKLYN, NY 11207
   08/27/14           34470     ARGO PARTNERS                             Claim 004930, Payment                               5600-000                                  $2,600.00        $7,079,625.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34471     KAREN EVERETT                             Claim 004931, Payment                               5600-000                                  $1,986.00        $7,077,639.02
                                                                          100.00000%
                                2224 WILSON RD UNIT 1
                                LITTLE ROCK, AR 72205
   08/27/14           34472     JOHN HACKETT                              Claim 004933, Payment                               5600-000                                  $1,392.00        $7,076,247.02
                                                                          100.00000%
                                77 Jeniford Road
                                Fairfield, CT 06824
   08/27/14           34473     JOSH BROWNING                             Claim 004934, Payment                               5600-000                                  $1,225.00        $7,075,022.02
                                                                          100.00000%
                                Po Box 28
                                Coperopolis, CA 95228
   08/27/14           34474     JOSEPH CUTRONE                            Claim 004935, Payment                               5600-000                                     $418.00       $7,074,604.02
                                                                          100.00000%
                                975 Market St ste 101
                                Fort Mill, SC 29708
   08/27/14           34475     BEN HEGEDISH                              Claim 004936, Payment                               5600-000                                   $1,116.00       $7,073,488.02
                                                                          100.00000%
                                2731 Williamsburg Circle
                                Stow, OH 44224




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34476     EDWARD ROMEO                              Claim 004937, Payment                               5600-000                                  $2,600.00        $7,070,888.02
                                                                          100.00000%
                                18 Bedford Drive
                                N Grafton, MA 01536
   08/27/14           34477     PATRICIA BEAL                             Claim 004938, Payment                               5600-004                                  $1,213.00        $7,069,675.02
                                                                          100.00000%
                                42295 Via Del Monte
                                Temecula, CA 92592
   08/27/14           34478     JOSE A SALAZAR                            Claim 004940, Payment                               5600-000                                  $1,165.00        $7,068,510.02
                                                                          100.00000%
                                11818 Avalon Blvd
                                Los Angeles, CA 90061
   08/27/14           34479     MICHELE STANLEY                           Claim 004941, Payment                               5600-000                                  $1,930.00        $7,066,580.02
                                                                          100.00000%
                                109 Squirrellwood Court
                                Effort, PA 18330
   08/27/14           34480     MARGARITO HERNANDEZ                       Claim 004942, Payment                               5600-000                                     $344.00       $7,066,236.02
                                                                          100.00000%
                                7719 Catalpa Ave.
                                Hammond, IN 46324
   08/27/14           34481     FRANK MILLER III                          Claim 004943, Payment                               5600-000                                     $444.00       $7,065,792.02
                                                                          100.00000%
                                350 Vistacourt Dr. Apt. 3201
                                Plano, TX 75074
   08/27/14           34482     LISA T MERRITT                            Claim 004944, Payment                               5600-000                                     $464.00       $7,065,328.02
                                                                          100.00000%
                                2605 WOODS END LN
                                GREENSBORO, NC 27410
   08/27/14           34483     JENNY WONG                                Claim 004945, Payment                               5600-000                                     $237.00       $7,065,091.02
                                16430 Saratoga St., Apt. CSan Leandro,    100.00000%
                                CA 94578
   08/27/14           34484     CLEMENCIA OCHOA                           Claim 004946, Payment                               5600-000                                     $887.00       $7,064,204.02
                                                                          100.00000%
                                50341 San Capristrano Dr
                                Coachella, CA 92236
   08/27/14           34485     PHYLLIS GRAVINE                           Claim 004948, Payment                               5600-000                                  $2,475.00        $7,061,729.02
                                                                          100.00000%
                                528 Gaghan Ct
                                Archbald, PA 18403


                                    Case 10-30631               Doc 5751       Page Subtotals:
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                                                                                                                                                     Desc Main         $11,759.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34486     ROBERT ROCHELLE                           Claim 004950, Payment                               5600-000                                  $1,399.00        $7,060,330.02
                                                                          100.00000%
                                28 Dunham Dr
                                Texarkana, TX 75503
   08/27/14           34487     DARLENE HARRIS                            Claim 004951, Payment                               5600-004                                  $1,474.00        $7,058,856.02
                                                                          100.00000%
                                3011 Park Row Ave. #165
                                Dallas, TX 75215
   08/27/14           34488     YOON C PARK                               Claim 004952, Payment                               5600-000                                  $2,600.00        $7,056,256.02
                                                                          100.00000%
                                64-45 Booth Street Apt. 406
                                Rego Park, NY 11374
   08/27/14           34489     DIANE WILLIAMS                            Claim 004953, Payment                               5600-000                                  $2,329.00        $7,053,927.02
                                                                          100.00000%
                                255 Legion Street
                                Brooklyn, NY 11212
   08/27/14           34490     MELISSA NEVERS                            Claim 004954, Payment                               5600-000                                  $1,712.00        $7,052,215.02
                                                                          100.00000%
                                63 Peterborough St
                                Apt 3
                                Jaffrey, NH 03452
   08/27/14           34491     BARBARA LOFTIN                            Claim 004955, Payment                               5600-000                                     $289.00       $7,051,926.02
                                                                          100.00000%
                                PO Box 111
                                LaGrange, NC 28551
   08/27/14           34492     KARI PETERSON                             Claim 004956, Payment                               5600-000                                  $2,600.00        $7,049,326.02
                                                                          100.00000%
                                PO BOX 217
                                Hovland, MN 55606
   08/27/14           34493     ARGO PARTNERS                             Claim 004957, Payment                               5600-000                                  $2,600.00        $7,046,726.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34494     BANKRUPTCY ESTATE OF GEORGE               Claim 004958, Payment                               5600-000                                  $2,600.00        $7,044,126.02
                                AND MON                                   100.00000%

                                STANLEY J KARTCHNER, TRUSTEE
                                7090 N ORACLE RD 178-204
                                TUCSON, AZ 85704


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,603.00
                                                                             Document          Page 470 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34495     ELIZABETH ALVAREZ                        Claim 004959, Payment                               5600-000                                     $369.00       $7,043,757.02
                                                                         100.00000%
                                314 E 143rd St. Apt 3C
                                Bronx, NY 10451
   08/27/14           34496     CAROL BOWERS                             Claim 004961, Payment                               5600-000                                  $2,600.00        $7,041,157.02
                                                                         100.00000%
                                62 Overlook Dr
                                Jackson, NJ 08527
   08/27/14           34497     JORGE ORTIZ                              Claim 004962, Payment                               5600-000                                  $2,176.00        $7,038,981.02
                                                                         100.00000%
                                673 West Jersey Way
                                Queen Creek, AZ 85243
   08/27/14           34498     SESIKUANA TAFUNA                         Claim 004963, Payment                               5600-000                                     $430.00       $7,038,551.02
                                                                         100.00000%
                                10638 South 1155 West
                                South Jordan, UT 84095
   08/27/14           34499     ESTHER BENNETT                           Claim 004964, Payment                               5600-000                                     $308.00       $7,038,243.02
                                                                         100.00000%
                                6027 Winterset Dr
                                Lansing, MI 48911
   08/27/14           34500     ANDER BROWN                              Claim 004965, Payment                               5600-000                                     $965.00       $7,037,278.02
                                                                         100.00000%
                                5477 Entrada Cedros
                                San Jose, CA 95123
   08/27/14           34501     TERESA MILLER                            Claim 004966, Payment                               5600-000                                  $2,256.00        $7,035,022.02
                                203 Penn Lake Dr.Reidsville, NC 27320    100.00000%
   08/27/14           34502     RANDOLPH E BENNETT                       Claim 004967, Payment                               5600-000                                     $885.00       $7,034,137.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34503     NICOLE CHARELLE VIVIAN                   Claim 004968, Payment                               5600-000                                     $269.00       $7,033,868.02
                                                                         100.00000%
                                2221 12 W 21ST
                                LOS ANGELES, CA 90018
   08/27/14           34504     MELISSA MONTERO                          Claim 004969, Payment                               5600-000                                  $2,029.00        $7,031,839.02
                                                                         100.00000%
                                P O Box 286
                                Gold Beach, OR 97444




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                            Document          Page 471 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34505     GROVER M SUTTON                           Claim 004970, Payment                               5600-000                                     $650.00       $7,031,189.02
                                                                          100.00000%
                                451 ANDY ST
                                SPRINGDALE, AR 72762
   08/27/14           34506     CLAUDIA LOPEZ                             Claim 004971, Payment                               5600-000                                     $665.00       $7,030,524.02
                                                                          100.00000%
                                187 Dongan Street
                                Staten Island, NY 10310
   08/27/14           34507     HASSAN EL-SOUKIE                          Claim 004972A, Payment                              5600-004                                     $330.00       $7,030,194.02
                                                                          100.00000%
                                8113 PORT WOOD TURN
                                APT 9
                                MANASSAS, VA 20109
   08/27/14           34508     ARGO PARTNERS                             Claim 004973A, Payment                              5600-000                                  $2,600.00        $7,027,594.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34509     LIQUIDITY SOLUTIONS, INC.                 Claim 004974, Payment                               5600-000                                  $2,600.00        $7,024,994.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34510     HENRY WILSON                              Claim 004976, Payment                               5600-000                                  $2,600.00        $7,022,394.02
                                                                          100.00000%
                                4502 14th Street NW
                                Washington, DC 20011
   08/27/14           34511     DEXTER WELLS                              Claim 004977A, Payment                              5600-000                                  $2,600.00        $7,019,794.02
                                                                          100.00000%
                                5904 Sweet Cherry Road
                                Fredericksburg, VA 22407
   08/27/14           34512     ARGO PARTNERS                             Claim 004979, Payment                               5600-000                                  $2,600.00        $7,017,194.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34513     MICHELLE BILKOO                           Claim 004980, Payment                               5600-000                                  $1,055.00        $7,016,139.02
                                                                          100.00000%
                                14 PALAZZO GRANDE
                                MORGANVILLE, NJ 07751




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34514     JAMES J HAYES JR                         Claim 004982, Payment                               5600-004                                     $825.00       $7,015,314.02
                                                                         100.00000%
                                606 GREEN CASTLE DR
                                DALLAS, TX 75232
   08/27/14           34515     JEHAD NABHAN                             Claim 004983, Payment                               5600-000                                  $2,600.00        $7,012,714.02
                                                                         100.00000%
                                9117 S ROBERTS RD
                                APT 7C
                                HICKORY HILLS, IL 60457
   08/27/14           34516     MELISSA WHITE                            Claim 004984, Payment                               5600-000                                  $1,169.00        $7,011,545.02
                                                                         100.00000%
                                1406 Three Creeks Rd
                                Junction City, AR 71749
   08/27/14           34517     SHARON WENDEL                            Claim 004986, Payment                               5600-000                                  $1,975.00        $7,009,570.02
                                                                         100.00000%
                                2409 Beaver Road
                                Stella, MO 64867
   08/27/14           34518     ROBERT B HARLOW                          Claim 004987, Payment                               5600-000                                     $508.00       $7,009,062.02
                                                                         100.00000%
                                HC 33 Box 3810
                                Petersburg, WV 26847
   08/27/14           34519     KENNETH W GORDON AS CH7                  Claim 004990, Payment                               5600-000                                  $2,600.00        $7,006,462.02
                                TRUSTEE FOR                              100.00000%

                                (WESTERN DISTRICT OF NY 10-22978)
                                1039 MONROE AVE
                                ROCHESTER, NY 14620
   08/27/14           34520     MATTHEW C RADO                           Claim 004991, Payment                               5600-000                                  $2,600.00        $7,003,862.02
                                                                         100.00000%
                                5923 W NATIONAL RD
                                SPRINGFIELD, OH 45504-3226
   08/27/14           34521     NEIL BRAASCH                             Claim 004992, Payment                               5600-000                                  $2,600.00        $7,001,262.02
                                                                         100.00000%
                                PO Box 306
                                Sharon, WI 53585
   08/27/14           34522     DARREN W LUCAS                           Claim 004993, Payment                               5600-000                                     $645.00       $7,000,617.02
                                                                         100.00000%
                                417 CASEY ST
                                SANDSTON, VA 23150


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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34523     STEVE ROX                                Claim 004994, Payment                               5600-000                                     $409.00       $7,000,208.02
                                                                         100.00000%
                                35 Fowle St.
                                Woburn, MA 01801
   08/27/14           34524     SECOND CHANCE CREDIT                     Claim 004995, Payment                               5600-000                                  $2,267.00        $6,997,941.02
                                OPPORTUNITIES,                           100.00000%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           34525     LAWRENCE D DEPRIEST                      Claim 004996, Payment                               5600-000                                  $2,600.00        $6,995,341.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34526     RANDY GRIFFITH                           Claim 004997, Payment                               5600-000                                  $2,600.00        $6,992,741.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34527     ROBERT STROUGH                           Claim 004998, Payment                               5600-000                                  $2,600.00        $6,990,141.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34528     CHARLES MISIAK                           Claim 004999, Payment                               5600-000                                  $2,600.00        $6,987,541.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34529     JAMES CHITTENDON                         Claim 005001, Payment                               5600-000                                  $1,138.00        $6,986,403.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34530     SUNIL MORGAN                             Claim 005002, Payment                               5600-000                                     $702.00       $6,985,701.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34531     ABDULKADIR AHMEDI                        Claim 005003, Payment                               5600-000                                  $2,600.00        $6,983,101.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34532     ANNETTE MCSHANE                          Claim 005004, Payment                               5600-000                                  $2,594.00        $6,980,507.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34533     CHRISTINE WIESE                          Claim 005005, Payment                               5600-000                                  $2,600.00        $6,977,907.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34534     NORMAN ORSON                             Claim 005006, Payment                               5600-000                                  $1,081.00        $6,976,826.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34535     JANISE JURDENS                           Claim 005008, Payment                               5600-000                                  $2,600.00        $6,974,226.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34536     WILMER ESPINOVA                          Claim 005009, Payment                               5600-000                                  $1,650.00        $6,972,576.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34537     SAM REIMER                               Claim 005010, Payment                               5600-000                                  $1,299.00        $6,971,277.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $29,340.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34538     DEBORAH STOTZ                            Claim 005011, Payment                               5600-000                                  $2,600.00        $6,968,677.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34539     MELODY BELOCURA                          Claim 005012, Payment                               5600-000                                  $2,073.00        $6,966,604.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34540     JEFF LARSON                              Claim 005013, Payment                               5600-000                                  $2,600.00        $6,964,004.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34541     STEVEN ROADMAN                           Claim 005014, Payment                               5600-000                                  $2,600.00        $6,961,404.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34542     BETHANY HOWELL                           Claim 005015, Payment                               5600-000                                  $2,600.00        $6,958,804.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34543     TRUDY KAUFMAN                            Claim 005016, Payment                               5600-000                                  $2,600.00        $6,956,204.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34544     KEN PERREIRA                             Claim 005017, Payment                               5600-000                                  $1,677.00        $6,954,527.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34545     UMILE CROCCO                             Claim 005018, Payment                               5600-000                                  $2,600.00        $6,951,927.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34546     JASON PETERSON                           Claim 005019, Payment                               5600-000                                     $885.00       $6,951,042.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34547     BRUCE STILLWILL                          Claim 005020, Payment                               5600-000                                  $2,600.00        $6,948,442.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34548     SUZAN A RHODES                           Claim 005021, Payment                               5600-000                                  $2,600.00        $6,945,842.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34549     THOMAS CAMPBELL                          Claim 005022, Payment                               5600-000                                  $2,084.00        $6,943,758.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34550     RACHEL THOMAS                            Claim 005023, Payment                               5600-000                                  $1,004.00        $6,942,754.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34551     ROBERT MCCONNELL                         Claim 005024, Payment                               5600-000                                  $2,600.00        $6,940,154.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34552     PIERRE PIERRE                            Claim 005025, Payment                               5600-000                                  $2,600.00        $6,937,554.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34553     KATHY ROGERS                             Claim 005026, Payment                               5600-000                                     $279.00       $6,937,275.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34554     JESSE ROSENWALD                          Claim 005027, Payment                               5600-000                                  $2,600.00        $6,934,675.02
                                c/o Azar and Azar                        100.00000%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34555     JOHN PAUL AYAD                           Claim 005028, Payment                               5600-000                                  $2,600.00        $6,932,075.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34556     JACQUELINE MAXWELL                       Claim 005029, Payment                               5600-000                                     $829.00       $6,931,246.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34557     PAUL YEROSHEFSKY                         Claim 005030, Payment                               5600-000                                  $2,600.00        $6,928,646.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34558     ROBERT WEAVER                            Claim 005031, Payment                               5600-000                                  $2,600.00        $6,926,046.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34559     JOAN KOERBER                             Claim 005032, Payment                               5600-000                                  $2,600.00        $6,923,446.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34560     ODESSA BURKE-RYAN                        Claim 005034, Payment                               5600-000                                     $749.00       $6,922,697.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34561     SANDRA RIVERA                            Claim 005035, Payment                               5600-000                                     $350.00       $6,922,347.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34562     BRADLEY ELLENBERGER                      Claim 005036, Payment                               5600-000                                  $2,600.00        $6,919,747.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34563     DEBORAH REDDIX                           Claim 005037, Payment                               5600-000                                  $1,225.00        $6,918,522.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34564     NICOLE COOPER                            Claim 005038, Payment                               5600-000                                  $2,600.00        $6,915,922.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34565     CLYDE KEELS                              Claim 005039, Payment                               5600-000                                  $2,600.00        $6,913,322.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34566     VICKIE STOEGER                           Claim 005040, Payment                               5600-000                                  $2,600.00        $6,910,722.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34567     KAREN MILLS                              Claim 005041, Payment                               5600-000                                  $2,220.00        $6,908,502.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34568     MARTHA BROCKLEHURST                      Claim 005042, Payment                               5600-000                                  $2,600.00        $6,905,902.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34569     VIET PHAM                                Claim 005043, Payment                               5600-000                                  $2,600.00        $6,903,302.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34570     GUY BURLESON                             Claim 005044, Payment                               5600-000                                  $2,600.00        $6,900,702.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34571     CHAD THOMPSON                            Claim 005045, Payment                               5600-000                                  $1,163.00        $6,899,539.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $35,136.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


       1                2                           3                                             4                                                   5                6                    7

Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           34572     JOHN GLISTA                               Claim 005046, Payment                               5600-000                                  $2,600.00       $6,896,939.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34573     GAYLE WESTBROOK                           Claim 005047, Payment                               5600-000                                  $2,600.00       $6,894,339.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34574     DENON K WILSON                            Claim 005048, Payment                               5600-000                                  $1,605.00       $6,892,734.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34575     HALBERT JAMES                             Claim 005049, Payment                               5600-000                                  $1,705.00       $6,891,029.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34576     GUYLOT JEAN-LOUIS                         Claim 005050, Payment                               5600-000                                  $2,600.00       $6,888,429.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34577     MARILYN MANOEL                            Claim 005051, Payment                               5600-000                                  $2,600.00       $6,885,829.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34578     ORLANDO SICILIANO                         Claim 005052, Payment                               5600-000                                  $2,600.00       $6,883,229.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34579     JOHN NEECE                                Claim 005053, Payment                               5600-000                                  $2,600.00       $6,880,629.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34580     EDWARD WRIGHT                             Claim 005054, Payment                               5600-000                                  $2,600.00       $6,878,029.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34581     LAUREN A. HELBLING                        Claim 005055, Payment                               5600-000                                  $2,600.00       $6,875,429.02
                                                                          100.00000%
                                BK. Trustee for Krissie Gonzalez
                                1370 Ontario St. #450
                                Cleveland, OH 44113
   08/27/14           34582     MANUEL DELEON                             Claim 005057, Payment                               5600-000                                  $2,600.00       $6,872,829.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34583     CYNTHIA DONER                             Claim 005058, Payment                               5600-000                                  $1,176.00       $6,871,653.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34584     BETTY COX                                 Claim 005059, Payment                               5600-000                                  $1,280.00       $6,870,373.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34585     LEROY LESLIE                              Claim 005060, Payment                               5600-000                                  $1,492.00       $6,868,881.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34586     LAWRENCE ELSON                            Claim 005062, Payment                               5600-000                                  $2,600.00       $6,866,281.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34587     WILLIAM J MOORE SR                        Claim 005063, Payment                               5600-000                                  $1,492.00       $6,864,789.02
                                c/o Azar and Azar                         100.00000%



                                    Case 10-30631               Doc 5751       Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $34,750.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34588     MILDRED MCMILLIAN                        Claim 005064, Payment                               5600-000                                  $1,361.00        $6,863,428.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34589     MATT LOUCY                               Claim 005065, Payment                               5600-000                                  $2,583.00        $6,860,845.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34590     GARY L WILKERSON                         Claim 005066, Payment                               5600-000                                  $2,600.00        $6,858,245.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34591     JAMES W SPIVEY                           Claim 005067, Payment                               5600-000                                  $2,600.00        $6,855,645.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34592     JR , WILLARD LOCKE                       Claim 005068, Payment                               5600-000                                  $1,554.00        $6,854,091.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34593     GERRY T WICHAEL                          Claim 005069, Payment                               5600-000                                  $2,600.00        $6,851,491.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34594     HENRY DANIELS                            Claim 005073, Payment                               5600-000                                  $2,600.00        $6,848,891.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34595     JUSTIN LEUZINGER                         Claim 005074, Payment                               5600-000                                  $1,297.00        $6,847,594.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34596     ROMAIN DALBERISTE                        Claim 005075, Payment                               5600-000                                  $2,600.00        $6,844,994.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34597     MARGARET STANO                           Claim 005076, Payment                               5600-000                                  $2,240.00        $6,842,754.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34598     MELVIN MEADOWS                           Claim 005077, Payment                               5600-000                                  $1,671.00        $6,841,083.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34599     ENRIGUE PEREZ                            Claim 005078, Payment                               5600-000                                  $1,015.00        $6,840,068.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34600     PAULA NICHOLS-DILLE                      Claim 005079, Payment                               5600-000                                  $1,163.00        $6,838,905.02
                                C/O Azar and Azar                        100.00000%
   08/27/14           34601     JOSEPH S HARMON                          Claim 005080, Payment                               5600-000                                  $1,849.00        $6,837,056.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34602     REBECCA DOSS                             Claim 005081, Payment                               5600-000                                     $305.00       $6,836,751.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34603     SANDRA ARNOLD                            Claim 005082, Payment                               5600-000                                  $2,600.00        $6,834,151.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34604     RAPHEL PAULA                             Claim 005083, Payment                               5600-000                                  $1,534.00        $6,832,617.02
                                c/o Azar and Azar                        100.00000%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34605     BARBARA WATTS                            Claim 005084, Payment                               5600-000                                  $2,600.00        $6,830,017.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34606     SHAWN AND JENNIFER WOLFORD               Claim 005085, Payment                               5600-000                                  $2,600.00        $6,827,417.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34607     FRED JONES                               Claim 005086, Payment                               5600-000                                  $2,094.00        $6,825,323.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34608     VERNA KRUEGER                            Claim 005087, Payment                               5600-000                                  $2,600.00        $6,822,723.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34609     MICHELLE CAMPOS                          Claim 005088, Payment                               5600-000                                  $2,600.00        $6,820,123.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34610     ROBERT TRIBBLE                           Claim 005089, Payment                               5600-000                                  $2,425.00        $6,817,698.02
                                C/o Azar and Azar                        100.00000%
   08/27/14           34611     RONALD JOHNSON                           Claim 005090, Payment                               5600-000                                  $2,600.00        $6,815,098.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34612     MIKE WHITEHEAD                           Claim 005091, Payment                               5600-000                                  $2,600.00        $6,812,498.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34613     CHOYICE ROBINSON                         Claim 005092, Payment                               5600-000                                  $2,600.00        $6,809,898.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34614     HAZEL HOLLOWAY                           Claim 005093, Payment                               5600-000                                     $798.00       $6,809,100.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34615     TARLON STEWART                           Claim 005094, Payment                               5600-000                                  $2,600.00        $6,806,500.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34616     TONY LOFTIS                              Claim 005095, Payment                               5600-000                                     $325.00       $6,806,175.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34617     JEWEL CHEEKS                             Claim 005096, Payment                               5600-000                                  $2,600.00        $6,803,575.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34618     EFRAIN CORTES                            Claim 005097, Payment                               5600-000                                  $2,600.00        $6,800,975.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34619     MICHAEL CANTAGALLO                       Claim 005098, Payment                               5600-000                                  $1,797.00        $6,799,178.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34620     GERALDINE DAVIS                          Claim 005099, Payment                               5600-000                                  $2,230.00        $6,796,948.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34621     MONICA BENTON                            Claim 005100, Payment                               5600-000                                  $2,600.00        $6,794,348.02
                                c/o Azar and Azar                        100.00000%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34622     DANIEL TREAT                             Claim 005101, Payment                               5600-000                                  $2,600.00        $6,791,748.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34623     NATHANIEL ROSS                           Claim 005102, Payment                               5600-000                                  $2,600.00        $6,789,148.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34624     VONDRIA N FAUNTLEROY                     Claim 005103, Payment                               5600-000                                  $2,600.00        $6,786,548.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34625     KATHLEEN M KRAKLALL                      Claim 005104, Payment                               5600-000                                  $2,285.00        $6,784,263.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34626     DEBRA MENDENHALL                         Claim 005105, Payment                               5600-000                                  $2,600.00        $6,781,663.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34627     DEBRA MENDENHALL                         Claim 005105a, Payment                              5600-000                                     $301.00       $6,781,362.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34628     KAREN DAVIS                              Claim 005106, Payment                               5600-000                                  $2,600.00        $6,778,762.02
                                                                         100.00000%
                                3971 RICHWOOD RD
                                RICHWOOD, WV 26261
   08/27/14           34629     JIM MAREAN                               Claim 005107, Payment                               5600-000                                  $2,235.00        $6,776,527.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34630     PAUL WHITFORD                            Claim 005108, Payment                               5600-000                                  $2,358.00        $6,774,169.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34631     RICHARD VONDERHAAR                       Claim 005110, Payment                               5600-000                                     $494.00       $6,773,675.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34632     JAMES ELLIS                              Claim 005111, Payment                               5600-000                                  $2,600.00        $6,771,075.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34633     FRANKIE WILSON                           Claim 005112, Payment                               5600-000                                  $2,600.00        $6,768,475.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34634     ROGER COY                                Claim 005113, Payment                               5600-000                                  $2,600.00        $6,765,875.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34635     RICHARD KRINER                           Claim 005114, Payment                               5600-000                                  $2,600.00        $6,763,275.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34636     FLORENCE HALAS                           Claim 005115, Payment                               5600-000                                  $2,600.00        $6,760,675.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34637     BRIGGS E HARRIS                          Claim 005118, Payment                               5600-000                                  $2,600.00        $6,758,075.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34638     WILLIAM A WALKER III                     Claim 005119, Payment                               5600-000                                  $2,600.00        $6,755,475.02
                                c/o Azar and Azar                        100.00000%


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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34639     DEBRA PETTY                              Claim 005120, Payment                               5600-000                                  $2,600.00        $6,752,875.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34640     JERRY L WELLS                            Claim 005121, Payment                               5600-000                                  $2,600.00        $6,750,275.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34641     ANDRA GAJDOS                             Claim 005122, Payment                               5600-000                                     $375.00       $6,749,900.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34642     DOROTHY MATTHEWS                         Claim 005123, Payment                               5600-000                                  $2,600.00        $6,747,300.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34643     ROSE M FAHNBULLEH                        Claim 005124, Payment                               5600-000                                  $2,600.00        $6,744,700.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34644     STEVEN SOUSA                             Claim 005125, Payment                               5600-000                                  $1,775.00        $6,742,925.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34645     PATRICIA STRUBE                          Claim 005127, Payment                               5600-000                                  $2,600.00        $6,740,325.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34646     RENEE RHODES                             Claim 005128, Payment                               5600-000                                  $2,600.00        $6,737,725.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34647     KATHY COLE                               Claim 005129, Payment                               5600-000                                  $2,575.00        $6,735,150.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34648     IDA JEAN TYACK                           Claim 005130, Payment                               5600-000                                  $2,600.00        $6,732,550.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34649     MARK SEIP                                Claim 005131, Payment                               5600-000                                  $2,159.00        $6,730,391.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34650     DANNY HIPPLER                            Claim 005132, Payment                               5600-000                                  $1,155.00        $6,729,236.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34651     PHETH THADAVONG                          Claim 005133, Payment                               5600-000                                     $400.00       $6,728,836.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34652     WILLIARD MORROW                          Claim 005134, Payment                               5600-000                                  $2,600.00        $6,726,236.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34653     KATHLEEN FILER                           Claim 005135, Payment                               5600-000                                  $2,600.00        $6,723,636.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34654     TINA KING                                Claim 005136, Payment                               5600-000                                  $1,069.00        $6,722,567.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34655     KEITH L MAY                              Claim 005137, Payment                               5600-000                                  $2,600.00        $6,719,967.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34656     JOSEPH ZACHERY                            Claim 005138, Payment                               5600-000                                  $2,600.00        $6,717,367.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34657     EARL JOHNSON                              Claim 005139, Payment                               5600-000                                     $725.00       $6,716,642.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34658     GARY PATYNKO                              Claim 005140, Payment                               5600-000                                  $2,600.00        $6,714,042.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34659     JEFF PURINGPON                            Claim 005142, Payment                               5600-000                                  $2,600.00        $6,711,442.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34660     KELLIE E HAWS                             Claim 005143, Payment                               5600-000                                  $1,021.00        $6,710,421.02
                                                                          100.00000%
                                2118 S RIVA RIDGE
                                BOISE, ID 83709
   08/27/14           34661     ARGO PARTNERS                             Claim 005144, Payment                               5600-000                                  $2,600.00        $6,707,821.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34662     ALAN NOCILO                               Claim 005145, Payment                               5600-004                                  $2,320.00        $6,705,501.02
                                2725 WORDEN STSAN DIEGO, CA               100.00000%
                                92110
   08/27/14           34663     RUSSELL SPILLMAN                          Claim 005147, Payment                               5600-000                                  $2,600.00        $6,702,901.02
                                C/O Azar and Azar                         100.00000%
   08/27/14           34664     TOMMY FASCIOLO                            Claim 005148, Payment                               5600-000                                  $2,600.00        $6,700,301.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34665     PATRICIA PRUITT                           Claim 005149, Payment                               5600-000                                  $2,600.00        $6,697,701.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34666     LINDA NICK                                Claim 005150, Payment                               5600-000                                  $2,600.00        $6,695,101.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34667     LYRA DURHAM                               Claim 005151, Payment                               5600-000                                  $1,305.00        $6,693,796.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34668     MELVA ARCHER                              Claim 005152, Payment                               5600-000                                  $2,306.00        $6,691,490.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34669     WILLIAM AND LORA JEAN WILSON              Claim 005153, Payment                               5600-000                                  $2,022.00        $6,689,468.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34670     COOLIDGE WARE                             Claim 005155, Payment                               5600-000                                  $2,600.00        $6,686,868.02
                                c/o Azar and Azar                         100.00000%




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $33,099.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34671     LORI KRASCH                              Claim 005156, Payment                               5600-000                                  $2,600.00        $6,684,268.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34672     VILMA S SERRANO                          Claim 005157, Payment                               5600-000                                  $2,600.00        $6,681,668.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34673     EDWARD AND MARGARET CARROLL              Claim 005158, Payment                               5600-000                                  $2,600.00        $6,679,068.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34674     SHERYL MINTER`BROOKS                     Claim 005159, Payment                               5600-000                                  $1,625.00        $6,677,443.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34675     JAMES CERMOT                             Claim 005160, Payment                               5600-000                                  $2,600.00        $6,674,843.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34676     GENNIE FOSTER                            Claim 005161, Payment                               5600-000                                  $2,600.00        $6,672,243.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34677     GENNIE FOSTER                            Claim 005161a, Payment                              5600-000                                     $698.00       $6,671,545.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34678     JOSE CARCHI                              Claim 005162, Payment                               5600-000                                  $2,600.00        $6,668,945.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34679     JANE ROBERSON                            Claim 005164, Payment                               5600-000                                  $1,735.00        $6,667,210.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34680     SHANEEN WILSON                           Claim 005165, Payment                               5600-000                                  $2,247.00        $6,664,963.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34681     JOHN GHIZ                                Claim 005166, Payment                               5600-000                                     $825.00       $6,664,138.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34682     ANNEN BOODRAM                            Claim 005167, Payment                               5600-000                                  $2,600.00        $6,661,538.02
                                c/o azar and Azar                        100.00000%
   08/27/14           34683     SANDY TAYLOR                             Claim 005168, Payment                               5600-000                                     $915.00       $6,660,623.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34684     KATHLEEN UTZ                             Claim 005169, Payment                               5600-000                                  $1,643.00        $6,658,980.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34685     TASANA JOHNSON                           Claim 005170, Payment                               5600-000                                  $2,038.00        $6,656,942.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34686     JOHNATHON PRESSMAN                       Claim 005171, Payment                               5600-000                                  $1,838.00        $6,655,104.02
                                c/o Azar and Azar                        100.00000%
   08/27/14           34687     PAUL FULLMORE                            Claim 005172, Payment                               5600-000                                  $2,600.00        $6,652,504.02
                                c/o Azar and Azar                        100.00000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $34,364.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34688     MAUREEN MATHESON                          Claim 005173, Payment                               5600-000                                   $1,311.00       $6,651,193.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34689     MARY NAPPER                               Claim 005174, Payment                               5600-000                                  $2,580.00        $6,648,613.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34690     MARK SANTORE                              Claim 005175, Payment                               5600-000                                     $632.00       $6,647,981.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34691     RYAN GARST                                Claim 005176, Payment                               5600-000                                  $2,600.00        $6,645,381.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34692     CONSTANCE HARGE                           Claim 005177, Payment                               5600-000                                  $2,600.00        $6,642,781.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34693     MONICA MELSON                             Claim 005178, Payment                               5600-000                                  $2,557.00        $6,640,224.02
                                c/o Azar and Azar                         100.00000%
   08/27/14           34694     MARY ANN SHAMY                            Claim 005179, Payment                               5600-000                                  $2,600.00        $6,637,624.02
                                                                          100.00000%
                                102 E FULTON ST
                                MIDDLESEX, NJ 08846
   08/27/14           34695     NEAL VALLETTE                             Claim 005181, Payment                               5600-000                                     $765.00       $6,636,859.02
                                                                          100.00000%
                                2400 N Fry Street
                                Boise, ID 83704
   08/27/14           34696     ASSET RECOVERY MANAGEMENT,                Claim 005182, Payment                               5600-000                                  $2,503.00        $6,634,356.02
                                LLC                                       100.00000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34697     ARGO PARTNERS                             Claim 005184, Payment                               5600-000                                  $2,600.00        $6,631,756.02
                                                                          100.00000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34698     KYLE RINGEISEN                            Claim 005187A, Payment                              5600-000                                  $2,600.00        $6,629,156.02
                                                                          100.00000%
                                1000 S PEARL ST APT 18
                                CENTRALIA, WA 98531
   08/27/14           34699     PAMELA TULNER                             Claim 005188, Payment                               5600-000                                  $2,600.00        $6,626,556.02
                                                                          100.00000%
                                137 Pine Street
                                Bridgewater, NJ 08807



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 484 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34700     PATRICIA D MESSNER                        Claim 005189, Payment                               5600-000                                  $2,600.00        $6,623,956.02
                                1089 Country Club Dr.St. Clair Shores, MI 100.00000%
                                48082
   08/27/14           34701     CYNTHIA SHARP                             Claim 005190A, Payment                              5600-000                                     $925.00       $6,623,031.02
                                                                          100.00000%
                                2339 W Mall Ave
                                Anaheim, CA 92804
   08/27/14           34702     LIQUIDITY SOLUTIONS, INC.                 Claim 005191, Payment                               5600-000                                  $2,600.00        $6,620,431.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34703     LIQUIDITY SOLUTIONS, INC.                 Claim 005192, Payment                               5600-000                                  $2,005.00        $6,618,426.02
                                                                          100.00000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34704     ISRAEL RUBINFELD                          Claim 005193, Payment                               5600-000                                  $2,600.00        $6,615,826.02
                                143 MARION CTLAKEWOOD, NJ 08701           100.00000%
   08/27/14           34705     DANIEL M AND DONNA M                      Claim 005194, Payment                               5600-000                                     $462.00       $6,615,364.02
                                CALCATERRA SR                             100.00000%

                                1293 JAMAICA DR
                                EDWARDSVILLE, IL 62025
   08/27/14           34706     SUSAN SAPINO                              Claim 005195, Payment                               5600-000                                  $2,600.00        $6,612,764.02
                                                                          100.00000%
                                1900 N Bayshore Dr Apt 3614
                                MIAMI, FL 33132
   08/27/14           34707     RICHARD AND KATHRYN MOORE                 Claim 005196, Payment                               5600-000                                  $1,121.00        $6,611,643.02
                                                                          100.00000%
                                30 ELM ST
                                BLACKSTONE, MA 01504
   08/27/14           34708     ADRIANA LINA                              Claim 005198, Payment                               5600-000                                  $2,600.00        $6,609,043.02
                                                                          100.00000%
                                358 W. 231st.
                                Carson, CA 90745-4714
   08/27/14           34709     JODI FLORENTINE                           Claim 005199, Payment                               5600-000                                     $534.00       $6,608,509.02
                                                                          100.00000%
                                1 REGIS CIR
                                STERLING, VA 20164



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $18,047.00
                                                                             Document          Page 485 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34710     ELIZABETH MARICS                          Claim 005201, Payment                               5600-000                                  $2,600.00        $6,605,909.02
                                                                          100.00000%
                                151 MORRIS AVE
                                APT 102
                                SOUTH PLAINFIELD, NJ 07080
   08/27/14           34711     BRITTANY JOHNSON                          Claim 005202, Payment                               5600-004                                  $2,468.00        $6,603,441.02
                                                                          100.00000%
                                103 N Oaks St Apt 4
                                Greenville, NC 27858
   08/27/14           34712     SHELDON STEIN, TRUSTEE                    Claim 005207A, Payment                              5600-000                                  $2,600.00        $6,600,841.02
                                Bankruptcy (Case No. 11-                  100.00000%
                                15832)Bankruptcy Estate of Stanley R
                                NogaPO Box 5606Cleveland, OH 44101
   08/27/14           34713     SEEBOL OROURKE                            Claim 005209, Payment                               5600-000                                     $235.00       $6,600,606.02
                                                                          100.00000%
                                61 First Street
                                Dover, NJ 07801
   08/27/14           34714     AZAR & AZAR L.L.C.                        Claim 005213, Payment                               5600-000                                  $2,600.00        $6,598,006.02
                                                                          100.00000%
                                George B. Azar
                                Zack M. Azar
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           34715     ARGO PARTNERS                             Claim 000001a, Payment                              7100-000                                  $1,296.99        $6,596,709.03
                                                                          55.88065%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34716     ASSET RECOVERY MANAGEMENT,                Claim 000003a, Payment                              7100-000                                  $3,374.06        $6,593,334.97
                                LLC                                       55.88042%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34717     AILENE SALSGIVER-WHITE                    Claim 000007a, Payment                              7100-000                                  $4,704.02        $6,588,630.95
                                                                          55.88049%
                                3104 Teal Terrace
                                Safety Harbor, FL 34695




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $19,878.07
                                                                             Document          Page 486 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34718     ANTHONY COLONE                            Claim 000009a, Payment                              7100-000                                  $3,613.79        $6,585,017.16
                                                                          55.88047%
                                24 W. 47th Street
                                Bayonne, NJ 07002
   08/27/14           34719     ARGO PARTNERS                             Claim 000011a, Payment                              7100-000                                     $686.77       $6,584,330.39
                                                                          55.88039%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34720     ARGO PARTNERS                             Claim 000014a, Payment                              7100-000                                     $615.24       $6,583,715.15
                                                                          55.88011%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34721     ASSET RECOVERY MANAGEMENT,                Claim 000022a, Payment                              7100-000                                     $823.12       $6,582,892.03
                                LLC                                       55.88052%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34722     HOWARD N. CAREY                           Claim 000026a, Payment                              7100-000                                  $2,785.65        $6,580,106.38
                                                                          55.88064%
                                5289 E. State Road 350
                                Milan, IN 47031-9038
   08/27/14           34723     ARGO PARTNERS                             Claim 000027a, Payment                              7100-000                                     $666.10       $6,579,440.28
                                                                          55.88087%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34724     ASSET RECOVERY MANAGEMENT,                Claim 000028a, Payment                              7100-000                                  $1,185.23        $6,578,255.05
                                LLC                                       55.88072%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34725     CHASE BANK USA, N.A.                      Claim 000029, Payment                               7100-000                              $1,024,289.58        $5,553,965.47
                                                                          55.88050%
                                c/o Ballard Spahr LLP
                                Attention: Tobey M. Daluz, Esquire
                                919 North Market Street, 12th Floor
                                Wilmington, Delaware 19801




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 487 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34726     ARGO PARTNERS                             Claim 000031a, Payment                              7100-000                                     $117.91       $5,553,847.56
                                                                          55.88152%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34727     ROSA MARINERO                             Claim 000037a, Payment                              7100-000                                  $2,215.66        $5,551,631.90
                                                                          55.88045%
                                1520 Peterson Lane
                                Santa Rosa, CA. 95403
   08/27/14           34728     ARGO PARTNERS                             Claim 000039a, Payment                              7100-000                                     $911.41       $5,550,720.49
                                                                          55.88044%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34729     VICKIE L. SHEDDEN                         Claim 000040a, Payment                              7100-000                                  $1,019.82        $5,549,700.67
                                                                          55.88055%
                                192 Brookside Dr.
                                Monroeton, PA 18832
   08/27/14           34730     VANCO SERVICES, LLC                       Claim 000042, Payment                               7100-000                                 $23,363.08        $5,526,337.59
                                                                          55.88050%
                                12600 Whitewater Drive, Suite 200
                                Minnetonka, MN 55343
   08/27/14           34731     CLOTEA MACK                               Claim 000043a, Payment                              7100-000                                     $464.36       $5,525,873.23
                                                                          55.87966%
                                25370 Glenbrook Boulevard
                                Euclid, Ohio 44117
   08/27/14           34732     RYAN ANNIS                                Claim 000044a, Payment                              7100-000                                  $5,456.73        $5,520,416.50
                                                                          55.88049%
                                c/o Azar & Azar LLC
                                4276 Lomac St.
                                Montgomery, AL 3610
   08/27/14           34733     ROSE NEWTON                               Claim 000045a, Payment                              7100-000                                 $12,256.27        $5,508,160.23
                                                                          55.88050%
                                c/o Azar & Azar LLC
                                4276 Lomac St.
                                Montgomery, AL 36106
   08/27/14           34734     SANTO ROMEO                               Claim 000049a, Payment                              7100-000                                  $2,803.52        $5,505,356.71
                                                                          55.88041%
                                C/O Azar & Azar, LLC
                                4276 Lomac Street
                                Montgomery, AL 36106


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                                                                                                                                                     Desc Main         $48,608.76
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           34735     KENT DAVIS                               Claim 000052a, Payment                              7100-000                                     $239.73       $5,505,116.98
                                                                         55.88112%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           34736     DAWN GREGORY                             Claim 000053a, Payment                              7100-000                                  $3,166.75        $5,501,950.23
                                                                         55.88054%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           34737     ALICE HATCHER                            Claim 000055a, Payment                              7100-000                                  $1,591.48        $5,500,358.75
                                                                         55.88062%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           34738     JONATHAN R. SCHNEIDER                    Claim 000057a, Payment                              7100-000                                     $300.08       $5,500,058.67
                                                                         55.88082%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           34739     JALAL FARUQUE                            Claim 000061a, Payment                              7100-000                                     $290.02       $5,499,768.65
                                                                         55.88054%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           34740     CRAIG GIVAN                              Claim 000062a, Payment                              7100-000                                     $837.65       $5,498,931.00
                                                                         55.88059%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           34741     DARRELL J. STINSON                       Claim 000064a, Payment                              7100-000                                  $1,685.91        $5,497,245.09
                                                                         55.88034%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           34742     ROLAND PEEK                              Claim 000066a, Payment                              7100-000                                  $2,641.47        $5,494,603.62
                                                                         55.88047%
                                C/O Zack M. Azar
                                4276 Lomac Street
                                Montgomery, AL 36106


                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $10,753.09
                                                                            Document          Page 489 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


       1                2                             3                                          4                                                    5                6                     7

Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34743     MICHAEL C. SCISCIANI                      Claim 000068a, Payment                              7100-000                                  $1,152.26        $5,493,451.36
                                                                          55.88070%
                                C/O Zack M. Azar
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           34744     TRUDY KAUFFMAN                            Claim 000071a, Payment                              7100-000                                  $1,486.98        $5,491,964.38
                                                                          55.88050%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           34745     CAROLYN K. WELLS                          Claim 000074a, Payment                              7100-000                                  $3,155.57        $5,488,808.81
                                                                          55.88047%
                                C/O Azar & Azar, L.L.C.
                                4276 Lomac Street
                                Montgomery, AL 36106
   08/27/14           34746     WILLIAM LUBERTO                           Claim 000075a, Payment                              7100-004                                  $4,357.00        $5,484,451.81
                                                                          55.88047%
                                PO Box 756
                                Eastpoint, FL 32328
   08/27/14           34747     MELETE GEGZIABHER                         Claim 000077a, Payment                              7100-000                                  $1,138.84        $5,483,312.97
                                                                          55.88027%
                                2128 Fry Street, Apt # 5
                                Roseville, MN 55113
   08/27/14           34748     DALTON RAY OR DORIS COX                   Claim 000078a, Payment                              7100-000                                  $4,210.04        $5,479,102.93
                                                                          55.88054%
                                9167 County Highway 5
                                Hayden, Alabama 35079
   08/27/14           34749     GEINE P (EUGENIA) MARTINEZ                Claim 000081a, Payment                              7100-000                                     $346.46       $5,478,756.47
                                                                          55.88065%
                                2960 S 9150 W
                                MAGNA, UT 84044
   08/27/14           34750     DONALD ANDERSON                           Claim 000085a, Payment                              7100-000                                  $3,679.17        $5,475,077.30
                                                                          55.88047%
                                8440 N POINT RD
                                MANASSAS, VA 20112
   08/27/14           34751     JASON HENDERSON                           Claim 000088Aa, Payment                             7100-000                                  $3,127.07        $5,471,950.23
                                                                          55.88045%
                                986 Brenda Lee Dr
                                Manteca, CA 95337


                                    Case 10-30631               Doc 5751       Page Subtotals:
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                                                                                                                                                     Desc Main         $22,653.39
                                                                             Document          Page 490 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34752     EDWIN LASALLE                             Claim 000090a, Payment                              7100-000                                  $1,430.54        $5,470,519.69
                                                                          55.88047%
                                PO BOX 353
                                Bronx, NY 10458-0353
   08/27/14           34753     OWEN THORNSEN                             Claim 000093a, Payment                              7100-000                                  $4,753.72        $5,465,765.97
                                                                          55.88049%
                                220 Church St
                                Warrens, WI 54666
   08/27/14           34754     DANIEL DAY                                Claim 000095a, Payment                              7100-000                                     $986.29       $5,464,779.68
                                                                          55.88045%
                                879 Linden Circle
                                Thousand Oaks, CA 91360
   08/27/14           34755     DELORES JONES                             Claim 000098a, Payment                              7100-000                                  $2,105.02        $5,462,674.66
                                                                          55.88054%
                                11317 Sugar Pine Dr Apt 224
                                Florissant, MO 63033
   08/27/14           34756     LIQUIDITY SOLUTIONS, INC.                 Claim 000099a, Payment                              7100-000                                  $3,241.07        $5,459,433.59
                                                                          55.88052%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34757     ELENA ALVES                               Claim 000101a, Payment                              7100-000                                  $1,395.90        $5,458,037.69
                                                                          55.88070%
                                4931 W Glenrosa Ave
                                Phoenix, AZ 85031
   08/27/14           34758     DARENE GILBERT                            Claim 000102a, Payment                              7100-000                                     $376.08       $5,457,661.61
                                                                          55.88113%
                                124 Worthington St
                                Winterville, NC 28590
   08/27/14           34759     JAMANDAS MOORE                            Claim 000105Aa, Payment                             7100-000                                  $1,362.93        $5,456,298.68
                                                                          55.88069%
                                83 Lutie Street
                                Nashville, TN 37210
   08/27/14           34760     NED BRAATZ                                Claim 000106a, Payment                              7100-000                                     $751.03       $5,455,547.65
                                                                          55.88021%
                                2339 W. Hammer Lane, Suite C-120
                                Stockton, CA 95209




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $16,402.58
                                                                             Document          Page 491 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34761     FREDRICA WORLDS                           Claim 000107a, Payment                              7100-000                                      $57.00       $5,455,490.65
                                                                          55.88235%
                                8138 S Fairfield Avenue
                                Chicago, IL 60652
   08/27/14           34762     HILARIO CRUZ                              Claim 000109a, Payment                              7100-000                                     $697.95       $5,454,792.70
                                                                          55.88070%
                                333 Cherry Street
                                Blissfield, MI 49228
   08/27/14           34763     ARGO PARTNERS                             Claim 000111a, Payment                              7100-000                                     $468.83       $5,454,323.87
                                                                          55.87962%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34764     LIQUIDITY SOLUTIONS, INC.                 Claim 000112a, Payment                              7100-000                                  $2,164.25        $5,452,159.62
                                                                          55.88045%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34765     ARGO PARTNERS                             Claim 000115a, Payment                              7100-000                                     $434.19       $5,451,725.43
                                                                          55.88031%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34766     ARGO PARTNERS                             Claim 000116a, Payment                              7100-000                                     $164.85       $5,451,560.58
                                                                          55.88136%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34767     LIQUIDITY SOLUTIONS, INC.                 Claim 000118a, Payment                              7100-000                                     $943.26       $5,450,617.32
                                                                          55.88033%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34768     ARGO PARTNERS                             Claim 000120a, Payment                              7100-000                                  $4,651.49        $5,445,965.83
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34769     ASSET RECOVERY MANAGEMENT,                Claim 000122a, Payment                              7100-000                                  $2,265.96        $5,443,699.87
                                LLC                                       55.88064%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064




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                                                                                                                                                     Desc Main         $11,847.78
                                                                             Document          Page 492 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34770     SHIRLEY WILSON                            Claim 000125a, Payment                              7100-000                                      $78.79       $5,443,621.08
                                                                          55.87943%
                                27954 Tate Rd
                                Sun City, CA 92585
   08/27/14           34771     ARGO PARTNERS                             Claim 000129A, Payment                              7100-000                                   $1,811.09       $5,441,809.99
                                                                          55.88059%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34772     ARGO PARTNERS                             Claim 000130a, Payment                              7100-000                                  $1,350.63        $5,440,459.36
                                                                          55.88043%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34773     JOHN WILEY                                Claim 000131a, Payment                              7100-004                                     $566.63       $5,439,892.73
                                                                          55.88067%
                                25 Massachusetts Ave
                                Rensselaer, NY 12144
   08/27/14           34774     ASSET RECOVERY MANAGEMENT,                Claim 000133Aa, Payment                             7100-000                                      $15.65       $5,439,877.08
                                LLC                                       55.89286%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34775     ARGO PARTNERS                             Claim 000143a, Payment                              7100-000                                     $210.11       $5,439,666.97
                                                                          55.88032%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34776     CHER LINDAHL                              Claim 000151a, Payment                              7100-000                                      $17.32       $5,439,649.65
                                                                          55.87097%
                                721 3rd Ave. E
                                Spencer, IA 51301
   08/27/14           34777     ASSET RECOVERY MANAGEMENT,                Claim 000153a, Payment                              7100-000                                  $1,824.50        $5,437,825.15
                                LLC                                       55.88055%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34778     ARGO PARTNERS                             Claim 000155a, Payment                              7100-000                                     $214.02       $5,437,611.13
                                                                          55.87990%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



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                                                                             Document          Page 493 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34779     ARGO PARTNERS                             Claim 000157a, Payment                              7100-000                                  $4,058.04        $5,433,553.09
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34780     ARGO PARTNERS                             Claim 000158a, Payment                              7100-000                                  $1,713.30        $5,431,839.79
                                                                          55.88063%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34781     ARGO PARTNERS                             Claim 000162a, Payment                              7100-000                                     $531.98       $5,431,307.81
                                                                          55.88025%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34782     TSEHAI ABATE                              Claim 000165a, Payment                              7100-000                                  $3,519.91        $5,427,787.90
                                                                          55.88046%
                                39247 Seraphina Road
                                Murrieta, CA 92563
   08/27/14           34783     ARGO PARTNERS                             Claim 000167a, Payment                              7100-000                                  $2,490.59        $5,425,297.31
                                                                          55.88041%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34784     ARGO PARTNERS                             Claim 000170a, Payment                              7100-000                                  $1,462.40        $5,423,834.91
                                                                          55.88078%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34785     ASSET RECOVERY MANAGEMENT,                Claim 000171a, Payment                              7100-000                                     $894.09       $5,422,940.82
                                LLC                                       55.88063%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34786     ASSET RECOVERY MANAGEMENT,                Claim 000175a, Payment                              7100-000                                     $558.25       $5,422,382.57
                                LLC                                       55.88088%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34787     MARILYN ANDERSON                          Claim 000178a, Payment                              7100-000                                  $2,569.38        $5,419,813.19
                                                                          55.88038%
                                25 Voseck Ct Bldg 32
                                Lawrenceville, NJ 08648



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 494 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                    Code                                                          ($)
   08/27/14           34788     ASSET RECOVERY MANAGEMENT,                Claim 000179a, Payment                              7100-000                                      $324.11        $5,419,489.08
                                LLC                                       55.88103%

                                29 S. Onyx Ct.
                                Pike, Road, AL 36064
   08/27/14           34789     ARGO PARTNERS                             Claim 000180a, Payment                              7100-000                                  $1,056.70          $5,418,432.38
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34790     ASSET RECOVERY MANAGEMENT,                Claim 000187a, Payment                              7100-000                                      $180.49        $5,418,251.89
                                LLC                                       55.87926%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34791     SEAN WALE                                 Claim 000190a, Payment                              7100-000                                      $136.91        $5,418,114.98
                                                                          55.88163%
                                5930 Highway 152 East
                                Rockwell, NC 28138
   08/27/14           34792     ASSET RECOVERY MANAGEMENT,                Claim 000192a, Payment                              7100-000                                      $542.60        $5,417,572.38
                                LLC                                       55.88054%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34793     ASSET RECOVERY MANAGEMENT,                Claim 000196a, Payment                              7100-000                                      $385.58        $5,417,186.80
                                LLC                                       55.88116%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34794     RALPH COCOVE                              Claim 000197a, Payment                              7100-000                                  $1,218.19          $5,415,968.61
                                                                          55.88028%
                                144 Silver Lake Rd
                                Bridgeton, NJ 08302
   08/27/14           34795     ANTHONY IDIGO                             Claim 000205a, Payment                              7100-004                                     $5,111.95       $5,410,856.66
                                                                          55.88052%
                                369 Park Street
                                Hackensack, NJ 07601




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34796     ARGO PARTNERS                             Claim 000206a, Payment                              7100-000                                  $5,486.35        $5,405,370.31
                                                                          55.88053%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34797     WILLIAM BALLARD                           Claim 000207a, Payment                              7100-000                                     $908.06       $5,404,462.25
                                c/o Azar and Azar                         55.88062%
   08/27/14           34798     LOUIS CHABUEL                             Claim 000208a, Payment                              7100-004                                  $2,833.70        $5,401,628.55
                                                                          55.88050%
                                1405 Farrell Ave Lot 135
                                Cherry Hill, NJ 08002
   08/27/14           34799     ARGO PARTNERS                             Claim 000213a, Payment                              7100-000                                  $1,056.70        $5,400,571.85
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34800     JOSEPH KESSLER                            Claim 000219a, Payment                              7100-000                                  $2,472.71        $5,398,099.14
                                                                          55.88045%
                                18 Sawyer Brook Circle
                                South Portland, ME 04106
   08/27/14           34801     KEVIN MURPHY                              Claim 000225a, Payment                              7100-004                                      $89.41       $5,398,009.73
                                                                          55.88125%
                                1376 Haywood Street
                                Haw River, NC 27258
   08/27/14           34802     HILDA SUMRALL                             Claim 000232a, Payment                              7100-000                                  $5,023.10        $5,392,986.63
                                                                          55.88052%
                                61 Little Pacific Drive
                                Hattiesburg, MS 39402
   08/27/14           34803     DAVID MARTIN                              Claim 000233a, Payment                              7100-000                                  $2,769.43        $5,390,217.20
                                                                          55.88035%
                                20601 SW 122nd Court
                                Miami, FL 33177
   08/27/14           34804     SANDRA FINDLAY                            Claim 000234a, Payment                              7100-000                                  $1,662.44        $5,388,554.76
                                                                          55.88034%
                                1465 SW 46th Avenue
                                Ft Lauderdale, FL 33312
   08/27/14           34805     ARGO PARTNERS                             Claim 000235a, Payment                              7100-000                                     $562.72       $5,387,992.04
                                                                          55.88083%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $22,864.62
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34806     STEVEN COOPERMAN                          Claim 000236a, Payment                              7100-004                                  $3,607.09        $5,384,384.95
                                                                          55.88056%
                                2 Aspetuck Hill Lane
                                Weston, CT 06883
   08/27/14           34807     ARGO PARTNERS                             Claim 000237a, Payment                              7100-000                                  $1,013.67        $5,383,371.28
                                                                          55.88037%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34808     ARGO PARTNERS                             Claim 000241a, Payment                              7100-000                                     $354.84       $5,383,016.44
                                                                          55.88031%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34809     PATT POK                                  Claim 000243a, Payment                              7100-000                                     $663.30       $5,382,353.14
                                                                          55.88037%
                                2919 AMHERST DRIVE
                                STOCKTON, CA 95209
   08/27/14           34810     ASSET RECOVERY MANAGEMENT,                Claim 000247Aa, Payment                             7100-000                                     $125.73       $5,382,227.41
                                LLC                                       55.88000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34811     JESSE BROWN                               Claim 000253a, Payment                              7100-000                                  $1,492.01        $5,380,735.40
                                                                          55.88052%
                                5407 Dutch Iris Court
                                Elk Grove, CA 95757
   08/27/14           34812     ARGO PARTNERS                             Claim 000266a, Payment                              7100-000                                  $4,476.59        $5,376,258.81
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34813     ASSET RECOVERY MANAGEMENT,                Claim 000267a, Payment                              7100-000                                     $231.90       $5,376,026.91
                                LLC                                       55.87952%

                                29 S. Onyx Ct.
                                Pike, Road, AL 36064
   08/27/14           34814     LIQUIDITY SOLUTIONS, INC.                 Claim 000269a, Payment                              7100-000                                  $4,707.93        $5,371,318.98
                                                                          55.88047%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $16,673.06
                                                                             Document          Page 497 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34815     ARGO PARTNERS                             Claim 000270a, Payment                              7100-000                                  $1,690.39        $5,369,628.59
                                                                          55.88066%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34816     SALVADOR CASTRO                           Claim 000275a, Payment                              7100-000                                     $381.66       $5,369,246.93
                                                                          55.87994%
                                259 Macarther Blvd 201
                                Oakland, CA 94610
   08/27/14           34817     ASSET RECOVERY MANAGEMENT,                Claim 000276a, Payment                              7100-000                                  $2,499.53        $5,366,747.40
                                LLC                                       55.88039%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34818     ARGO PARTNERS                             Claim 000277a, Payment                              7100-000                                     $100.59       $5,366,646.81
                                                                          55.88333%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34819     LIQUIDITY SOLUTIONS                       Claim 000278a, Payment                              7100-000                                  $5,043.22        $5,361,603.59
                                One University Plaza, Ste.                55.88055%
                                312Hackensack, NJ 07601
   08/27/14           34820     YOCANDA CASTILLO                          Claim 000282a, Payment                              7100-000                                  $1,228.81        $5,360,374.78
                                                                          55.88040%
                                12021 Pounds Avenue
                                Whittier, CA 90604
   08/27/14           34821     ARGO PARTNERS                             Claim 000283a, Payment                              7100-000                                     $424.69       $5,359,950.09
                                                                          55.88026%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34822     HILDA PASOUR                              Claim 000290Aa, Payment                             7100-000                                  $1,243.34        $5,358,706.75
                                                                          55.88045%
                                932 Caroline Cir
                                Kings Mountain, NC 28086
   08/27/14           34823     ARGO PARTNERS                             Claim 000293a, Payment                              7100-000                                  $1,619.98        $5,357,086.77
                                                                          55.88065%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 498 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34824     SHELDON VOIGT                             Claim 000294a, Payment                              7100-000                                  $1,290.28        $5,355,796.49
                                                                          55.88047%
                                363 East 1900 South
                                Clearfield, UT 84015
   08/27/14           34825     ASSET RECOVERY MANAGEMENT,                Claim 000300a, Payment                              7100-000                                  $2,414.04        $5,353,382.45
                                LLC                                       55.88056%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34826     ARGO PARTNERS                             Claim 000302a, Payment                              7100-000                                  $1,344.48        $5,352,037.97
                                                                          55.88030%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34827     DONNA SWEENEY                             Claim 000303a, Payment                              7100-000                                     $811.38       $5,351,226.59
                                                                          55.88017%
                                200 Capeview Lane
                                Anderson, SC 29626
   08/27/14           34828     ASSET RECOVERY MANAGEMENT,                Claim 000305a, Payment                              7100-000                                  $2,453.16        $5,348,773.43
                                LLC                                       55.88064%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34829     ASSET RECOVERY MANAGEMENT,                Claim 000306a, Payment                              7100-000                                  $2,277.13        $5,346,496.30
                                LLC                                       55.88049%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34830     ARGO PARTNERS                             Claim 000316a, Payment                              7100-000                                      $34.65       $5,346,461.65
                                                                          55.88710%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34831     STEVE KESSLER                             Claim 000319a, Payment                              7100-000                                     $572.78       $5,345,888.87
                                                                          55.88098%
                                770 Lindsay Lane
                                Florissant, MO 63031




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $11,197.90
                                                                             Document          Page 499 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34832     ASSET RECOVERY MANAGEMENT,                Claim 000322a, Payment                              7100-000                                  $1,007.52        $5,344,881.35
                                LLC                                       55.88020%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34833     ARGO PARTNERS                             Claim 000325a, Payment                              7100-000                                  $1,337.78        $5,343,543.57
                                                                          55.88053%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34834     JENNIFER FOPEANO                          Claim 000326a, Payment                              7100-000                                     $345.34       $5,343,198.23
                                                                          55.88026%
                                392 Spotswood-Gravel Hill Rd.
                                Monroe, NJ 08831
   08/27/14           34835     JANET OLTER                               Claim 000331a, Payment                              7100-000                                  $2,614.65        $5,340,583.58
                                24400 Berry Ave.Warren, MI 48089          55.88053%
   08/27/14           34836     MARTIN AREVALO                            Claim 000333a, Payment                              7100-000                                  $2,668.85        $5,337,914.73
                                                                          55.88044%
                                410 Spruce Place
                                Uniondale, NY 11553
   08/27/14           34837     PHILLIP HOLLAND                           Claim 000334a, Payment                              7100-000                                     $373.84       $5,337,540.89
                                                                          55.88042%
                                273 Acacia Street
                                Altadena, CA 91001
   08/27/14           34838     GRACE LANG                                Claim 000338a, Payment                              7100-004                                     $555.45       $5,336,985.44
                                                                          55.88028%
                                2043 Whitehall Pl
                                Alameda, CA 94501
   08/27/14           34839     ARGO PARTNERS                             Claim 000345a, Payment                              7100-000                                     $670.57       $5,336,314.87
                                                                          55.88083%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34840     ARGO PARTNERS                             Claim 000346a, Payment                              7100-000                                  $1,436.13        $5,334,878.74
                                12 West 37th St., 9th Fl.,New York, NY    55.88054%
                                10018
   08/27/14           34841     ARGO PARTNERS                             Claim 000348a, Payment                              7100-000                                  $2,491.15        $5,332,387.59
                                                                          55.88044%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $13,501.28
                                                                             Document          Page 500 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34842     ARGO PARTNERS                             Claim 000352a, Payment                              7100-000                                      $92.20       $5,332,295.39
                                                                          55.87879%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34843     ARGO PARTNERS                             Claim 000356Aa, Payment                             7100-000                                  $1,822.26        $5,330,473.13
                                                                          55.88040%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34844     DEBRA DRAKE                               Claim 000358a, Payment                              7100-000                                  $1,212.63        $5,329,260.50
                                                                          55.88054%
                                94 South Monroe St.
                                Beverly Hills, FL 34465
   08/27/14           34845     ARGO PARTNERS                             Claim 000361a, Payment                              7100-000                                   $2,112.84       $5,327,147.66
                                                                          55.88045%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34846     JOHN BELLEZI                              Claim 000363a, Payment                              7100-000                                     $362.11       $5,326,785.55
                                                                          55.88117%
                                170 Wilbar Drive
                                Stratford, CT 06614
   08/27/14           34847     LIQUIDITY SOLUTIONS, INC.                 Claim 000364a, Payment                              7100-000                                     $306.23       $5,326,479.32
                                                                          55.88139%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34848     ARGO PARTNERS                             Claim 000365a, Payment                              7100-000                                  $1,536.15        $5,324,943.17
                                                                          55.88032%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34849     HAZEL HINDSMAN                            Claim 000367a, Payment                              7100-004                                     $381.66       $5,324,561.51
                                                                          55.87994%
                                327 Meadowgrove Drive
                                Englewood, OH 45322
   08/27/14           34850     ASSET RECOVERY MANAGEMENT,                Claim 000368a, Payment                              7100-000                                  $1,132.14        $5,323,429.37
                                LLC                                       55.88055%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064




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                                                                                                                                                     Desc Main          $8,958.22
                                                                             Document          Page 501 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34851     BEN WONG                                  Claim 000379a, Payment                              7100-004                                      $91.09       $5,323,338.28
                                                                          55.88344%
                                232 E Emerson Avenue C
                                Monterey Park, CA 91755
   08/27/14           34852     ASSET RECOVERY MANAGEMENT,                Claim 000380a, Payment                              7100-000                                     $437.54       $5,322,900.74
                                LLC                                       55.87995%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34853     ARGO PARTNERS                             Claim 000384a, Payment                              7100-000                                     $255.93       $5,322,644.81
                                                                          55.87991%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34854     ARGO PARTNERS                             Claim 000385a, Payment                              7100-000                                  $5,719.37        $5,316,925.44
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34855     LIQUIDITY SOLUTIONS, INC.                 Claim 000386a, Payment                              7100-000                                     $429.73       $5,316,495.71
                                                                          55.88166%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34856     LEROY COLLINS                             Claim 000397a, Payment                              7100-000                                   $1,127.11       $5,315,368.60
                                                                          55.88052%
                                11043 Reservoir Place Dr
                                Cleveland, OH 44104
   08/27/14           34857     LEO RIMMELE                               Claim 000400a, Payment                              7100-000                                     $447.60       $5,314,921.00
                                                                          55.88015%
                                1930 Burbank Avenue NW
                                Olympia, WA 98502
   08/27/14           34858     ARGO PARTNERS                             Claim 000404a, Payment                              7100-000                                  $1,615.51        $5,313,305.49
                                                                          55.88066%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34859     ARGO PARTNERS                             Claim 000409a, Payment                              7100-000                                     $205.64       $5,313,099.85
                                                                          55.88043%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $10,329.52
                                                                             Document          Page 502 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34860     ASSET RECOVERY MANAGEMENT,                Claim 000413Aa, Payment                             7100-000                                  $4,904.63        $5,308,195.22
                                LLC                                       55.88048%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34861     LIQUIDITY SOLUTIONS, INC.                 Claim 000415a, Payment                              7100-000                                      $92.20       $5,308,103.02
                                                                          55.87879%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34862     ARGO PARTNERS                             Claim 000416a, Payment                              7100-000                                  $1,889.88        $5,306,213.14
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34863     ARGO PARTNERS                             Claim 000418Aa, Payment                             7100-000                                     $868.94       $5,305,344.20
                                                                          55.88039%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34864     ARGO PARTNERS                             Claim 000420a, Payment                              7100-000                                  $6,012.74        $5,299,331.46
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34865     ARGO PARTNERS                             Claim 000424a, Payment                              7100-000                                     $618.04       $5,298,713.42
                                                                          55.88065%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34866     ARGO PARTNERS                             Claim 000425a, Payment                              7100-000                                      $78.79       $5,298,634.63
                                                                          55.87943%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34867     LESTER KOSHIOL                            Claim 000428a, Payment                              7100-000                                     $550.98       $5,298,083.65
                                                                          55.88032%
                                2927 MAINE PRAIRIE RD APT 201
                                ST CLOUD, MN 56301-4088
   08/27/14           34868     JIM RUDNICK                               Claim 000433a, Payment                              7100-000                                  $1,757.44        $5,296,326.21
                                c/o Azar and Azar                         55.88045%
   08/27/14           34869     FRANKLIN PARTEE                           Claim 000434a, Payment                              7100-000                                  $1,631.71        $5,294,694.50
                                                                          55.88048%
                                4609 Cimmaron Dr
                                Memphis, TN 38109


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $18,405.35
                                                                             Document          Page 503 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34870     ARLENE SINGLETON                          Claim 000437a, Payment                              7100-000                                  $4,603.44        $5,290,091.06
                                                                          55.88055%
                                PO Box 2458
                                Middleburg, FL 32050-2458
   08/27/14           34871     BRENDA LANE                               Claim 000439a, Payment                              7100-000                                  $1,870.32        $5,288,220.74
                                                                          55.88049%
                                PO Box 598
                                Watson, LA 70786
   08/27/14           34872     ARGO PARTNERS                             Claim 000440a, Payment                              7100-000                                     $701.30       $5,287,519.44
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34873     EDNA VIVO                                 Claim 000448a, Payment                              7100-000                                  $1,387.51        $5,286,131.93
                                                                          55.88039%
                                1030 Waverly Cir.
                                Hercules, CA 94547
   08/27/14           34874     SECOND CHANCE CREDIT                      Claim 000451Aa, Payment                             7100-000                                     $265.44       $5,285,866.49
                                OPPORTUNITIES,                            55.88211%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           34875     ROBERT B BROWN                            Claim 000452a, Payment                              7100-000                                  $1,452.89        $5,284,413.60
                                6930 Haven Creek Dr.Katy, TX 77449        55.88038%
   08/27/14           34876     MICHAEL SMITH                             Claim 000464a, Payment                              7100-000                                 $23,988.94        $5,260,424.66
                                                                          55.88050%
                                7954 Shira Street
                                Windsor, CA 95492
   08/27/14           34877     DONALD WILLIAMSON                         Claim 000469a, Payment                              7100-000                                  $6,328.47        $5,254,096.19
                                                                          55.88053%
                                N 6490 Long Meadow Dr
                                Elkhorn, WI 53121
   08/27/14           34878     ARGO PARTNERS                             Claim 000471Aa, Payment                             7100-000                                  $1,653.50        $5,252,442.69
                                                                          55.88036%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34879     ARGO PARTNERS                             Claim 000473a, Payment                              7100-000                                     $134.11       $5,252,308.58
                                                                          55.87917%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34880     ROBERT CARTER                             Claim 000474Aa, Payment                             7100-000                                  $3,864.14        $5,248,444.44
                                                                          55.88055%
                                1256 NC 126
                                Morganton, NC 28655
   08/27/14           34881     ANDREA OWENS                              Claim 000475a, Payment                              7100-000                                     $237.49       $5,248,206.95
                                                                          55.88000%
                                1400 CROSSOVER RIDGE RD
                                BIRMINGHAM, AL 35243
   08/27/14           34882     GARY WRIGHT                               Claim 000477a, Payment                              7100-000                                  $3,234.92        $5,244,972.03
                                                                          55.88046%
                                1644 Hwy 9
                                Bearden, AR 71720
   08/27/14           34883     JAMES CLUCKEY                             Claim 000479a, Payment                              7100-000                                     $351.49       $5,244,620.54
                                                                          55.88076%
                                4967 Scott Drive
                                Greenwood, LA 71033
   08/27/14           34884     BROOKS DEAN                               Claim 000480a, Payment                              7100-004                                  $1,598.18        $5,243,022.36
                                                                          55.88042%
                                7054 Veterans Pkwy
                                Pell City, AL 35125
   08/27/14           34885     ARGO PARTNERS                             Claim 000481a, Payment                              7100-000                                     $827.59       $5,242,194.77
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34886     JAMES WELSH                               Claim 000482a, Payment                              7100-000                                     $787.92       $5,241,406.85
                                                                          55.88085%
                                1181 48th Street South East
                                Kentwood, MI 49508
   08/27/14           34887     IVAN MALDONADO                            Claim 000483a, Payment                              7100-000                                  $7,495.25        $5,233,911.60
                                                                          55.88049%
                                402 Willow St.
                                Cary, NC 27511
   08/27/14           34888     CHRISTY LEDBETTER                         Claim 000486Aa, Payment                             7100-000                                  $1,581.42        $5,232,330.18
                                                                          55.88057%
                                300 East Old Mill Drive
                                Hendersonville, NC 28792




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $19,978.40
                                                                             Document          Page 505 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34889     ARGO PARTNERS                             Claim 000487a, Payment                              7100-000                                  $1,041.05        $5,231,289.13
                                                                          55.88030%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34890     DEE DELLINGER                             Claim 000490Aa, Payment                             7100-000                                     $879.00       $5,230,410.13
                                                                          55.88048%
                                120 Wilson Ave
                                Niles, OH 44446
   08/27/14           34891     JACOB GORENSTEIN                          Claim 000491a, Payment                              7100-000                                  $1,377.46        $5,229,032.67
                                                                          55.88073%
                                1042 North Stanley ave.8
                                West Hollywood, CA 90046
   08/27/14           34892     JOHN RENIKER                              Claim 000492a, Payment                              7100-004                                  $1,480.27        $5,227,552.40
                                6821 N. 24th Dr.Phoenix, AZ 85015         55.88033%
   08/27/14           34893     ARGO PARTNERS                             Claim 000493a, Payment                              7100-000                                  $1,788.18        $5,225,764.22
                                                                          55.88063%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34894     LIQUIDITY SOLUTIONS, INC.                 Claim 000494a, Payment                              7100-000                                  $8,669.86        $5,217,094.36
                                                                          55.88050%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34895     SHANNON BENNETT                           Claim 000497a, Payment                              7100-000                                  $2,490.59        $5,214,603.77
                                                                          55.88041%
                                5901 W. Behrend Drive #1135
                                Glendale, AZ 85308
   08/27/14           34896     ARGO PARTNERS                             Claim 000498Aa, Payment                             7100-000                                 $14,489.26        $5,200,114.51
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34897     ROBERT CARLSON                            Claim 000499a, Payment                              7100-000                                  $3,294.16        $5,196,820.35
                                                                          55.88058%
                                2146 N 193RD ST
                                SHORELINE, WA 98133
   08/27/14           34898     ALVARO BONILLA                            Claim 000500Aa, Payment                             7100-000                                     $304.55       $5,196,515.80
                                                                          55.88073%
                                11651 Jurupa Road
                                Mira Loma, CA 91752



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $35,814.38
                                                                             Document          Page 506 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34899     ARGO PARTNERS                             Claim 000502a, Payment                              7100-000                                  $1,618.86        $5,194,896.94
                                                                          55.88057%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34900     MIKE CULBRETH                             Claim 000503a, Payment                              7100-000                                     $114.00       $5,194,782.94
                                                                          55.88235%
                                514 Eldenberry St. SE
                                Demotte, IN 46310
   08/27/14           34901     ROBERT THATCHER                           Claim 000505a, Payment                              7100-004                                  $1,103.64        $5,193,679.30
                                                                          55.88051%
                                109 North Jones Street
                                Proctorville, OH 45669
   08/27/14           34902     LEEVON MOORE                              Claim 000506a, Payment                              7100-000                                  $5,071.15        $5,188,608.15
                                                                          55.88044%
                                11714 Meridian Dr
                                Frisco, TX 75035
   08/27/14           34903     CHARLOTTE REYNOLDS                        Claim 000513a, Payment                              7100-000                                     $713.04       $5,187,895.11
                                100 Darlena Ct. Apt. CCary, NC 27511      55.88088%
   08/27/14           34904     WANDA CARROLL                             Claim 000515a, Payment                              7100-000                                     $112.32       $5,187,782.79
                                                                          55.88060%
                                290 Ironhill Road
                                Taylorsville, GA 30178
   08/27/14           34905     NORMA SARENANA                            Claim 000516a, Payment                              7100-000                                      $33.52       $5,187,749.27
                                                                          55.86667%
                                341 Hannalei Dr
                                Vista, CA 92083
   08/27/14           34906     DOROTHY SACCOCCIA                         Claim 000517a, Payment                              7100-000                                  $4,265.36        $5,183,483.91
                                                                          55.88052%
                                777 Cowesett Road Apt. B210
                                Warwick, RI 02886
   08/27/14           34907     ARGO PARTNERS                             Claim 000519a, Payment                              7100-000                                      $69.85       $5,183,414.06
                                                                          55.88000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34908     ANTHONY VENTURA                           Claim 000521a, Payment                              7100-000                                  $2,136.31        $5,181,277.75
                                                                          55.88046%
                                1031 Crawfrod Avenue
                                Brooklyn, NY 11223



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $15,238.05
                                                                             Document          Page 507 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34909     ALTON BRYAN                               Claim 000522a, Payment                              7100-000                                     $128.53       $5,181,149.22
                                                                          55.88261%
                                145-14 220 St
                                Springfield Gardens, NY 11413
   08/27/14           34910     ARGO PARTNERS                             Claim 000523a, Payment                              7100-000                                     $711.36       $5,180,437.86
                                                                          55.88060%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34911     JAMES MELVIN                              Claim 000525a, Payment                              7100-000                                     $237.49       $5,180,200.37
                                                                          55.88000%
                                9 North First Street
                                Franklinton, NC 27525
   08/27/14           34912     RONICE BOATWRIGHT                         Claim 000527a, Payment                              7100-000                                     $321.31       $5,179,879.06
                                                                          55.88000%
                                101 Terry Ave
                                East Brewton, AL 36426
   08/27/14           34913     LIQUIDITY SOLUTIONS, INC.                 Claim 000529a, Payment                              7100-000                                  $1,873.67        $5,178,005.39
                                                                          55.88041%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34914     ARGO PARTNERS                             Claim 000531a, Payment                              7100-000                                 $21,242.41        $5,156,762.98
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34915     ASSET RECOVERY MANAGEMENT,                Claim 000532a, Payment                              7100-000                                     $602.95       $5,156,160.03
                                LLC                                       55.88044%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34916     TERESITA DELAROSA                         Claim 000535Aa, Payment                             7100-000                                  $4,303.36        $5,151,856.67
                                                                          55.88054%
                                26547 BLADEN AVE
                                MURRIETA, CA 92562
   08/27/14           34917     ARGO PARTNERS                             Claim 000536a, Payment                              7100-000                                  $1,771.97        $5,150,084.70
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $31,193.05
                                                                             Document          Page 508 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34918     AGATA BATOR                               Claim 000541a, Payment                              7100-000                                     $469.40       $5,149,615.30
                                                                          55.88095%
                                815 SHERIDAN ST
                                CHICOPEE, MA 01020
   08/27/14           34919     W T THOMAS                                Claim 000547a, Payment                              7100-000                                      $31.85       $5,149,583.45
                                                                          55.87719%
                                400 Noble Drive
                                Milam, TX 75959
   08/27/14           34920     DEANNA EGGERS                             Claim 000548a, Payment                              7100-000                                  $1,226.58        $5,148,356.87
                                                                          55.88064%
                                3931 Weatherby Ct
                                Stockbridge, MI 49285
   08/27/14           34921     SECOND CHANCE CREDIT                      Claim 000563a, Payment                              7100-000                                     $465.48       $5,147,891.39
                                OPPORTUNITIES,                            55.87995%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           34922     CHARLIE THOMAS                            Claim 000564a, Payment                              7100-000                                      $30.73       $5,147,860.66
                                                                          55.87273%
                                702 Magnolia Lane
                                Cranberry Township, PA16066
   08/27/14           34923     ASSET RECOVERY MANAGEMENT,                Claim 000565a, Payment                              7100-000                                     $492.31       $5,147,368.35
                                LLC                                       55.88082%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34924     LIQUIDITY SOLUTIONS, INC.                 Claim 000567a, Payment                              7100-000                                  $3,445.03        $5,143,923.32
                                                                          55.88045%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34925     LIQUIDITY SOLUTIONS, INC.                 Claim 000568a, Payment                              7100-000                                     $592.90       $5,143,330.42
                                                                          55.88124%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34926     ARGO PARTNERS                             Claim 000575a, Payment                              7100-000                                  $2,078.20        $5,141,252.22
                                                                          55.88061%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main          $8,832.48
                                                                             Document          Page 509 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34927     ARGO PARTNERS                             Claim 000577a, Payment                              7100-000                                  $1,405.95        $5,139,846.27
                                                                          55.88037%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34928     CHANDRA HERMEL                            Claim 000579a, Payment                              7100-000                                  $3,708.23        $5,136,138.04
                                                                          55.88050%
                                9437 Church St
                                Kingsley, MI 49649
   08/27/14           34929     ANGELA LEWIS                              Claim 000580a, Payment                              7100-000                                     $371.61       $5,135,766.43
                                                                          55.88120%
                                2925 Highway 190 South
                                Prattsville, AR 72129
   08/27/14           34930     SECOND CHANCE CREDIT                      Claim 000581a, Payment                              7100-000                                     $732.59       $5,135,033.84
                                OPPORTUNITIES,                            55.88024%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           34931     ARGO PARTNERS                             Claim 000583a, Payment                              7100-000                                  $2,701.82        $5,132,332.02
                                                                          55.88046%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34932     JOSE BENITEZ-RUIZ                         Claim 000584a, Payment                              7100-000                                     $416.87       $5,131,915.15
                                                                          55.88070%
                                61 Woodlawn Ave. Apt. 2
                                Chelsea, WA 02150
   08/27/14           34933     ARGO PARTNERS                             Claim 000585a, Payment                              7100-000                                      $57.56       $5,131,857.59
                                                                          55.88350%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34934     ARGO PARTNERS                             Claim 000587Aa, Payment                             7100-000                                  $1,494.80        $5,130,362.79
                                                                          55.88037%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34935     ARGO PARTNERS                             Claim 000589a, Payment                              7100-000                                  $3,529.97        $5,126,832.82
                                12 West 37th St., 9th Fl.New York, NY     55.88048%
                                10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34936     DAISY RUADO                               Claim 000592a, Payment                              7100-000                                     $709.68       $5,126,123.14
                                                                          55.88031%
                                530 8th Ave Apt 5
                                San Francisco, CA 94118
   08/27/14           34937     ARGO PARTNERS                             Claim 000593a, Payment                              7100-000                                  $6,125.06        $5,119,998.08
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34938     ASSET RECOVERY MANAGEMENT,                Claim 000594a, Payment                              7100-000                                  $1,453.45        $5,118,544.63
                                LLC                                       55.88043%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34939     ARGO PARTNERS                             Claim 000597a, Payment                              7100-000                                     $401.78       $5,118,142.85
                                                                          55.88039%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34940     TINA MILAM                                Claim 000600a, Payment                              7100-000                                  $1,131.58         $5,117,011.27
                                                                          55.88049%
                                702 Farley Branch Road
                                Cool Ridge, WV 25825
   08/27/14           34941     MARLENE BUCSA                             Claim 000601a, Payment                              7100-000                                  $3,151.66        $5,113,859.61
                                                                          55.88050%
                                901 Sweet William Court
                                Leesburg, VA 20175
   08/27/14           34942     ROCHELLE KAGLE                         Claim 000605a, Payment                                 7100-000                                      $47.50        $5,113,812.11
                                2724 N. Pershing AveSan Bernardino, CA 55.88235%
                                92405
   08/27/14           34943     ARGO PARTNERS                             Claim 000608a, Payment                              7100-000                                  $2,740.94         $5,111,071.17
                                                                          55.88053%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34944     GARY COMPTON                              Claim 000612a, Payment                              7100-000                                     $255.37       $5,110,815.80
                                                                          55.87965%
                                293 Sweet Gum Court
                                Calabash, NC 28467
   08/27/14           34945     ARGO PARTNERS                             Claim 000619a, Payment                              7100-000                                  $2,729.21        $5,108,086.59
                                12 West 37th St, 9th Fl.New York, NY      55.88063%
                                10018


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                                                                                                                                                     Desc Main         $18,746.23
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34946     ARGO PARTNERS                             Claim 000621a, Payment                              7100-000                                  $1,870.88        $5,106,215.71
                                12 West 37th St., 9th Fl.New York, NY     55.88053%
                                10018
   08/27/14           34947     HOOVER YOUNGER                            Claim 000622a, Payment                              7100-000                                     $349.81       $5,105,865.90
                                295 Hudson StreetVicksburg, MS 39183      55.88019%
   08/27/14           34948     MELINA PARRAS                             Claim 000624a, Payment                              7100-000                                     $153.67       $5,105,712.23
                                                                          55.88000%
                                PO Box 3242
                                Lacey, WA 98509
   08/27/14           34949     HEATHER PRINDLE                           Claim 000625Aa, Payment                             7100-000                                  $5,150.51        $5,100,561.72
                                                                          55.88055%
                                716 Liberty Village Dr
                                Florrisant, MO 63031
   08/27/14           34950     JOHN MCELHONE                             Claim 000626a, Payment                              7100-000                                   $2,110.61       $5,098,451.11
                                                                          55.88059%
                                6406 Emahiser Road
                                Caledonia, OH 43314
   08/27/14           34951     ELLA SLATER                               Claim 000627a, Payment                              7100-004                                     $362.11       $5,098,089.00
                                                                          55.88117%
                                563 Weaver Dr.
                                Marietta, GA 30066
   08/27/14           34952     SECOND CHANCE CREDIT                      Claim 000628a, Payment                              7100-000                                     $304.55       $5,097,784.45
                                OPPORTUNITIES,                            55.88073%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           34953     ARGO PARTNERS                             Claim 000632a, Payment                              7100-000                                 $20,492.49        $5,077,291.96
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34954     PATTI BISHOP                              Claim 000636a, Payment                              7100-000                                  $2,416.83        $5,074,875.13
                                                                          55.88046%
                                209 S. Kirkpatrick
                                El Dorrado Springs, MO 64744
   08/27/14           34955     LIQUIDITY SOLUTIONS, INC.                 Claim 000637a, Payment                              7100-000                                  $4,886.75        $5,069,988.38
                                                                          55.88050%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $38,098.21
                                                                             Document          Page 512 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34956     JAMES AND SARA ASHBY                      Claim 000639a, Payment                              7100-000                                  $4,312.30        $5,065,676.08
                                8910 Warwick Castle Ln. Apt.              55.88052%
                                1117Indianapolis, IN 46250
   08/27/14           34957     ARGO PARTNERS                             Claim 000640a, Payment                              7100-000                                  $2,691.76        $5,062,984.32
                                                                          55.88042%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34958     ASSET RECOVERY MANAGEMENT,                Claim 000642a, Payment                              7100-000                                  $1,629.48        $5,061,354.84
                                LLC                                       55.88066%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34959     ARGO PARTNERS                             Claim 000647a, Payment                              7100-000                                  $1,247.25        $5,060,107.59
                                                                          55.88038%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34960     DON ROBERTS                               Claim 000648a, Payment                              7100-000                                   $2,011.70       $5,058,095.89
                                                                          55.88056%
                                8111 Augusta Blvd.
                                Hudson, FL 34667
   08/27/14           34961     NORMAJEAN LONGVAL                         Claim 000650a, Payment                              7100-000                                  $2,648.74        $5,055,447.15
                                                                          55.88059%
                                150 Gay Street
                                Norwood, MA 02062
   08/27/14           34962     ARGO PARTNERS                             Claim 000656a, Payment                              7100-000                                  $1,500.39        $5,053,946.76
                                                                          55.88045%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34963     ARGO PARTNERS                             Claim 000661a, Payment                              7100-000                                     $925.94       $5,053,020.82
                                12 West 37th St., 9th Fl.New York, NY     55.88051%
                                10018
   08/27/14           34964     CRYSTAL MADDEN                            Claim 000663a, Payment                              7100-000                                     $712.48       $5,052,308.34
                                                                          55.88078%
                                PO BOX 403
                                Hannibal, NY 13074




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,680.04
                                                                             Document          Page 513 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34965     ASSET RECOVERY MANAGEMENT,                Claim 000665a, Payment                              7100-000                                     $378.31       $5,051,930.03
                                LLC                                       55.88035%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34966     ARGO PARTNERS                             Claim 000666a, Payment                              7100-000                                  $1,041.05        $5,050,888.98
                                                                          55.88030%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34967     ANGEL COLON                               Claim 000668A, Payment                              7100-000                                  $3,585.29        $5,047,303.69
                                                                          55.88046%
                                24 Jones Street
                                Newton, MA 02458
   08/27/14           34968     BENEDICT DONARUMA JR                      Claim 000669a, Payment                              7100-000                                  $1,335.54        $5,045,968.15
                                                                          55.88033%
                                25 Barbertown-Idell Rd.
                                Frenchtown, NJ 08825
   08/27/14           34969     ASSET RECOVERY MANAGEMENT,                Claim 000680a, Payment                              7100-000                                  $1,864.73        $5,044,103.42
                                LLC                                       55.88043%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34970     ASSET RECOVERY MANAGEMENT,                Claim 000682Aa, Payment                             7100-000                                       $5.59       $5,044,097.83
                                LLC                                       55.90000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34971     ARGO PARTNERS                             Claim 000683Aa, Payment                             7100-000                                  $2,720.26        $5,041,377.57
                                                                          55.88044%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34972     SECOND CHANCE CREDIT                      Claim 000684a, Payment                              7100-000                                     $353.17       $5,041,024.40
                                OPPORTUNITIES,                            55.88133%

                                P.O. Box 240067
                                Montgomery, AL 36124




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $11,283.94
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34973     GRACE BEEK                                Claim 000692a, Payment                              7100-000                                  $4,158.07        $5,036,866.33
                                                                          55.88053%
                                215 25th Street SW
                                Mason City, IA 50401
   08/27/14           34974     MELISA MULLINS RAINES                     Claim 000694a, Payment                              7100-000                                     $829.83       $5,036,036.50
                                                                          55.88081%
                                PO Box 84
                                Elkwood, VA 22718
   08/27/14           34975     ARGO PARTNERS                             Claim 000699a, Payment                              7100-000                                  $2,487.80        $5,033,548.70
                                                                          55.88050%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34976     ARGO PARTNERS                             Claim 000708a, Payment                              7100-000                                     $512.42       $5,033,036.28
                                                                          55.88004%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34977     SHIRLEY NESS                              Claim 000715a, Payment                              7100-000                                  $2,454.83        $5,030,581.45
                                                                          55.88049%
                                805 Pine Street
                                Julesburg, CO 80737
   08/27/14           34978     ARGO PARTNERS                             Claim 000719a, Payment                              7100-000                                     $360.99       $5,030,220.46
                                                                          55.88080%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34979     ARGO PARTNERS                             Claim 000720a, Payment                              7100-000                                  $2,025.67        $5,028,194.79
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34980     BRIAN KASPER                              Claim 000723a, Payment                              7100-004                                     $751.59       $5,027,443.20
                                                                          55.88030%
                                122 North Pamela Dr
                                Chicago Heights, IL 60411
   08/27/14           34981     ARGO PARTNERS                             Claim 000725a, Payment                              7100-000                                  $3,638.94        $5,023,804.26
                                                                          55.88053%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34982     ARGO PARTNERS                             Claim 000726a, Payment                              7100-000                                  $3,841.78        $5,019,962.48
                                                                          55.88044%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34983     LIQUIDITY SOLUTIONS, INC.                 Claim 000727a, Payment                              7100-000                                  $5,872.96        $5,014,089.52
                                                                          55.88053%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           34984     DAN EASLEY                                Claim 000728a, Payment                              7100-000                                  $5,199.68        $5,008,889.84
                                                                          55.88049%
                                c/o Everett B. Saslow Jr
                                Chapter 7 Trustee
                                PO Box 989
                                Greensboro NC 27402
   08/27/14           34985     JOHN MITCHELL                             Claim 000730a, Payment                              7100-000                                     $393.96       $5,008,495.88
                                                                          55.88085%
                                446 Mission Dr
                                Pleasanton, CA 94566
   08/27/14           34986     ARGO PARTNERS                             Claim 000731a, Payment                              7100-000                                     $411.84       $5,008,084.04
                                                                          55.88060%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34987     CHRISHELLE CAVOLY                         Claim 000737a, Payment                              7100-000                                     $790.71       $5,007,293.33
                                                                          55.88057%
                                9540 State Route 28
                                Poland, NY 13431
   08/27/14           34988     ARGO PARTNERS                             Claim 000738a, Payment                              7100-000                                  $1,547.33        $5,005,746.00
                                                                          55.88046%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34989     ARGO PARTNERS                             Claim 000739a, Payment                              7100-000                                  $1,618.86        $5,004,127.14
                                                                          55.88057%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34990     LIQUIDITY SOLUTIONS, INC.                 Claim 000741a, Payment                              7100-000                                  $2,229.62        $5,001,897.52
                                                                          55.88048%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           34991     TIMOTHY ST. PIERRE                        Claim 000745a, Payment                              7100-000                                  $4,149.13        $4,997,748.39
                                257 Kimina Dr.Gray, LA 70359              55.88054%
   08/27/14           34992     EDA ACETO                                 Claim 000749a, Payment                              7100-000                                  $1,452.33        $4,996,296.06
                                                                          55.88034%
                                9608 218th St Court East
                                Graham, WA 98338
   08/27/14           34993     ARGO PARTNERS                             Claim 000753a, Payment                              7100-000                                  $4,326.27        $4,991,969.79
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34994     ARGO PARTNERS                             Claim 000756Aa, Payment                             7100-000                                  $1,246.69        $4,990,723.10
                                                                          55.88032%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34995     ORONZO DELISO                             Claim 000764a, Payment                              7100-000                                 $36,731.93        $4,953,991.17
                                                                          55.88050%
                                90 Cranford Street
                                Staten Island, NY 10308
   08/27/14           34996     ASSET RECOVERY MANAGEMENT,                Claim 000768a, Payment                              7100-000                                  $2,087.14        $4,951,904.03
                                LLC                                       55.88059%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           34997     ARGO PARTNERS                             Claim 000773a, Payment                              7100-000                                  $1,243.34        $4,950,660.69
                                                                          55.88045%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34998     ARGO PARTNERS                             Claim 000775a, Payment                              7100-000                                     $986.85       $4,949,673.84
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           34999     ASSET RECOVERY MANAGEMENT,                Claim 000778a, Payment                              7100-000                                  $3,137.69        $4,946,536.15
                                LLC                                       55.88050%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                    Code                                                          ($)
   08/27/14           35000     ARGO PARTNERS                             Claim 000779a, Payment                              7100-000                                      $265.43        $4,946,270.72
                                                                          55.88000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35001     LIQUIDITY SOLUTIONS, INC.                 Claim 000780a, Payment                              7100-000                                      $678.95        $4,945,591.77
                                                                          55.88066%
                                One University Plaza
                                Suite 312
                                Hackensack, NJ 07601
   08/27/14           35002     ALLEN LANGLEY                             Claim 000783a, Payment                              7100-000                                      $857.77        $4,944,734.00
                                                                          55.88078%
                                309 Johnson Street
                                Elton, LA 70532
   08/27/14           35003     ARGO PARTNERS                             Claim 000784a, Payment                              7100-000                                      $680.06        $4,944,053.94
                                                                          55.88003%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35004     HOLLY FARRAR                              Claim 000787a, Payment                              7100-000                                  $2,215.10          $4,941,838.84
                                                                          55.88042%
                                5807 Lowell Rd
                                Everett, WA 98203
   08/27/14           35005     PHILIP PATTERSON                          Claim 000789a, Payment                              7100-000                                  $4,897.93          $4,936,940.91
                                                                          55.88055%
                                160 Senter Rd
                                San Jose, CA 95111
   08/27/14           35006     KYLE LAFOND                               Claim 000791a, Payment                              7100-000                                     $1,911.11       $4,935,029.80
                                417 Orehard DriveMadison, WI 53711        55.88041%
   08/27/14           35007     GARY BROADDUS, REBECCA DENMAN Claim 000792a, Payment                                          7100-000                                  $2,316.81          $4,932,712.99
                                1039 Seymour StReedsburg, WI 53959 55.88061%
   08/27/14           35008     JAMES NAYLOR                              Claim 000794a, Payment                              7100-000                                      $724.77        $4,931,988.22
                                                                          55.88049%
                                596 Richie Road
                                Mocksville, NC 27028
   08/27/14           35009     MALCOLM WILSON                            Claim 000795a, Payment                              7100-000                                      $908.40        $4,931,079.82
                                                                          55.88022%
                                5680 Hwy 349 South
                                Potts Camp, MS 38659




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                                                                             Document          Page 518 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35010     MATTHEW FOX                               Claim 000799a, Payment                              7100-000                                     $532.54       $4,930,547.28
                                                                          55.88038%
                                5197 Devon Drive
                                Vermilion, OH 44089
   08/27/14           35011     DAVID CLOWARD                             Claim 000802a, Payment                              7100-000                                  $2,901.32        $4,927,645.96
                                                                          55.88059%
                                2834 E Caoal Creek Rd
                                Price, UT 84501
   08/27/14           35012     MALCOLM BOYER                             Claim 000803a, Payment                              7100-000                                     $183.85       $4,927,462.11
                                                                          55.88146%
                                504 Oak Ave.
                                Nine Mile Point, LA 70094
   08/27/14           35013     ARGO PARTNERS                             Claim 000805Aa, Payment                             7100-000                                  $1,239.43        $4,926,222.68
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35014     LIQUIDITY SOLUTIONS, INC.                 Claim 000808a, Payment                              7100-000                                     $151.99       $4,926,070.69
                                                                          55.87868%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35015     ARGO PARTNERS                             Claim 000809a, Payment                              7100-000                                  $4,676.64        $4,921,394.05
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35016     LIQUIDITY SOLUTIONS, INC.                 Claim 000813a, Payment                              7100-000                                  $2,459.30        $4,918,934.75
                                                                          55.88048%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35017     KENNETH SEAGRAVE                          Claim 000814a, Payment                              7100-000                                  $1,768.62        $4,917,166.13
                                                                          55.88057%
                                45 PLEASANT VIEW CIR
                                SISTERSVILLE, WV 26175
   08/27/14           35018     CHRISTOPHER MELCHIN                       Claim 000816a, Payment                              7100-000                                  $4,425.18        $4,912,740.95
                                                                          55.88054%
                                388 Beale Street
                                Quincy, MA 02170




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35019     SHLAIMON SAWA                             Claim 000818a, Payment                              7100-000                                     $387.25       $4,912,353.70
                                                                          55.88023%
                                407 West Madison Ave
                                El-Cajon, CA 92020
   08/27/14           35020     ARGO PARTNERS                             Claim 000821a, Payment                              7100-000                                     $915.88       $4,911,437.82
                                12 West 37th St., 9th Fl.New YOrk, NY     55.88041%
                                10018
   08/27/14           35021     ELBERT HARRIS                             Claim 000823a, Payment                              7100-000                                  $1,456.80        $4,909,981.02
                                                                          55.88032%
                                87 East 34th St
                                Paterson, NJ 07514
   08/27/14           35022     VERONICA CHAPLIN                          Claim 000830a, Payment                              7100-000                                      $53.09       $4,909,927.93
                                                                          55.88421%
                                41 Myrtle Ave
                                Troy, NY 12180
   08/27/14           35023     MICHAEL COOPER                            Claim 000831a, Payment                              7100-000                                  $6,191.56        $4,903,736.37
                                                                          55.88051%
                                PO Box 77251
                                Tucson, AZ 85703
   08/27/14           35024     CHRISTINE RILEY                           Claim 000832a, Payment                              7100-000                                      $81.59       $4,903,654.78
                                7435 Birds Eye TerraceBradenton, FL       55.88356%
                                34203
   08/27/14           35025     RODNEY BOWDEN                             Claim 000833a, Payment                              7100-000                                     $132.99       $4,903,521.79
                                                                          55.87815%
                                1806 Gravers Lane
                                Wilmington, DE 19810
   08/27/14           35026     CHRISTINE NYUN-HAN                        Claim 000834a, Payment                              7100-000                                  $3,001.34        $4,900,520.45
                                                                          55.88047%
                                1250 Bel Air Drive
                                Santa Barbara, CA 93105
   08/27/14           35027     ARGO PARTNERS                             Claim 000836a, Payment                              7100-000                                  $5,778.04        $4,894,742.41
                                                                          55.88046%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35028     TAMIKA KELLY                              Claim 000837a, Payment                              7100-000                                     $727.01       $4,894,015.40
                                                                          55.88086%
                                157 Halsteed St Apt 307
                                East Orange, NJ 07018



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $18,725.55
                                                                             Document          Page 520 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35029     ROSAURO TOLEDO                            Claim 000838a, Payment                              7100-000                                  $2,351.45        $4,891,663.95
                                                                          55.88047%
                                1315 Yulupa Avenue
                                Santa Rosa, CA 95405
   08/27/14           35030     JUSTO RUIZ                                Claim 000839a, Payment                              7100-000                                  $3,370.71        $4,888,293.24
                                                                          55.88047%
                                PO Box 85757
                                San Diego, CA 92186-5757
   08/27/14           35031     ARGO PARTNERS                             Claim 000843a, Payment                              7100-000                                     $469.40       $4,887,823.84
                                                                          55.88095%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35032     TAMMY DONOVAN                             Claim 000846a, Payment                              7100-000                                      $87.73       $4,887,736.11
                                                                          55.87898%
                                408 South Craig Ave
                                Covington, VA 24426
   08/27/14           35033     ARGO PARTNERS                             Claim 000847a, Payment                              7100-000                                 $13,083.40        $4,874,652.71
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35034     ARGO PARTNERS                             Claim 000849a, Payment                              7100-000                                  $3,284.66        $4,871,368.05
                                                                          55.88057%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35035     ARGO PARTNERS                             Claim 000850a, Payment                              7100-000                                  $1,946.32        $4,869,421.73
                                                                          55.88056%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35036     ASSET RECOVERY MANAGEMENT,                Claim 000855a, Payment                              7100-000                                  $1,782.03        $4,867,639.70
                                LLC                                       55.88053%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35037     ARGO PARTNERS                             Claim 000870a, Payment                              7100-000                                  $1,009.76        $4,866,629.94
                                                                          55.88046%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $27,385.46
                                                                             Document          Page 521 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35038     MAUREEN WILSON                            Claim 000871a, Payment                              7100-000                                  $3,880.34        $4,862,749.60
                                                                          55.88047%
                                810 SEWICKLEY HEIGHTS DR
                                SEWICKLEY, PA15143-8921
   08/27/14           35039     ARGO PARTNERS                             Claim 000876a, Payment                              7100-000                                  $2,986.81        $4,859,762.79
                                                                          55.88045%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35040     ARGO PARTNERS                             Claim 000880a, Payment                              7100-000                                      $48.06       $4,859,714.73
                                                                          55.88372%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35041     ARGO PARTNERS                             Claim 000883a, Payment                              7100-000                                  $3,945.72        $4,855,769.01
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35042     ARGO PARTNERS                             Claim 000886a, Payment                              7100-000                                  $3,288.57        $4,852,480.44
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35043     ARGO PARTNERS                             Claim 000894a, Payment                              7100-000                                     $176.02       $4,852,304.42
                                                                          55.87937%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35044     ARGO PARTNERS                             Claim 000895a, Payment                              7100-000                                      $89.41       $4,852,215.01
                                                                          55.88125%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35045     LESLIE STRADER                            Claim 000897a, Payment                              7100-004                                  $2,901.87        $4,849,313.14
                                                                          55.88042%
                                6897 FOUNDERS ROW UNIT 112
                                WEST CHESTER, OH 45069
   08/27/14           35046     TAMMY ETHERIDGE                           Claim 000899a, Payment                              7100-000                                  $5,590.84        $4,843,722.30
                                                                          55.88046%
                                207 Old Farm Rd.
                                Roanoke Rapids, NC 27870




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $22,907.64
                                                                             Document          Page 522 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35047     ARGO PARTNERS                             Claim 000908Aa, Payment                             7100-000                                  $1,545.10        $4,842,177.20
                                                                          55.88065%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35048     ARGO PARTNERS                             Claim 000910a, Payment                              7100-000                                     $371.61       $4,841,805.59
                                                                          55.88120%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35049     ARGO PARTNERS                             Claim 000917a, Payment                              7100-000                                  $5,440.53        $4,836,365.06
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35050     ARGO PARTNERS                             Claim 000919a, Payment                              7100-000                                  $1,493.68        $4,834,871.38
                                                                          55.88028%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35051     ARGO PARTNERS                             Claim 000921a, Payment                              7100-000                                  $1,847.97        $4,833,023.41
                                12 West 37th Street, 9th FloorNew York,   55.88056%
                                NY 10018
   08/27/14           35052     LIQUIDITY SOLUTIONS, INC.                 Claim 000924a, Payment                              7100-000                                     $517.45       $4,832,505.96
                                                                          55.88013%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35053     CAROLL ADAMS                              Claim 000925a, Payment                              7100-000                                     $572.78       $4,831,933.18
                                                                          55.88098%
                                2611 Vetter Drive
                                Franklin Park NJ 08823
   08/27/14           35054     NICOLE BROWN                              Claim 000938a, Payment                              7100-000                                  $2,437.51        $4,829,495.67
                                                                          55.88056%
                                PO Box 1583
                                Gillette, WY 82718
   08/27/14           35055     ARGO PARTNERS                             Claim 000940a, Payment                              7100-000                                     $282.19       $4,829,213.48
                                                                          55.87921%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35056     ARGO PARTNERS                             Claim 000943a, Payment                              7100-000                                     $638.71       $4,828,574.77
                                                                          55.88014%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 523 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35057     ARGO PARTNERS                             Claim 000948a, Payment                              7100-000                                 $11,604.14        $4,816,970.63
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35058     CYNTHIA CSASZAR                           Claim 000950a, Payment                              7100-000                                     $371.05       $4,816,599.58
                                                                          55.88102%
                                195 2nd Street
                                Elgin, IL 60123
   08/27/14           35059     VIRGINIA HARRIS                           Claim 000953a, Payment                              7100-000                                  $1,771.41        $4,814,828.17
                                                                          55.88044%
                                5805 Anderson St
                                Philadelphia, PA 19138
   08/27/14           35060     ASSET RECOVERY MANAGEMENT,                Claim 000956a, Payment                              7100-000                                     $110.09       $4,814,718.08
                                LLC                                       55.88325%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35061     ASSET RECOVERY MANAGEMENT,                Claim 000957Aa, Payment                             7100-000                                     $483.37       $4,814,234.71
                                LLC                                       55.88092%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35062     JILL VANNUIS                              Claim 000958a, Payment                              7100-000                                     $475.54       $4,813,759.17
                                                                          55.88014%
                                3301 Hackmatack Dr.
                                Kennesaw, GA 30152
   08/27/14           35063     ARGO PARTNERS                             Claim 000959a, Payment                              7100-000                                  $1,198.08        $4,812,561.09
                                                                          55.88060%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35064     ARGO PARTNERS                             Claim 000961a, Payment                              7100-000                                      $96.67       $4,812,464.42
                                                                          55.87861%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35065     ARGO PARTNERS                             Claim 000963a, Payment                              7100-000                                  $1,642.89        $4,810,821.53
                                                                          55.88061%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 524 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35066     ARGO PARTNERS                             Claim 000964a, Payment                              7100-000                                  $2,398.39        $4,808,423.14
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35067     ASSET RECOVERY MANAGEMENT,                Claim 000965a, Payment                              7100-000                                     $520.81       $4,807,902.33
                                LLC                                       55.88090%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35068     ASSET RECOVERY MANAGEMENT,                Claim 000970a, Payment                              7100-000                                     $180.49       $4,807,721.84
                                LLC                                       55.87926%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35069     ARGO PARTNERS                             Claim 000971a, Payment                              7100-000                                  $2,678.35        $4,805,043.49
                                                                          55.88045%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35070     ARGO PARTNERS                             Claim 000973a, Payment                              7100-000                                  $9,525.39        $4,795,518.10
                                                                          55.88050%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35071     VALERIE EUBANKS                           Claim 000974a, Payment                              7100-000                                  $1,279.66        $4,794,238.44
                                                                          55.88035%
                                2654 Smith Pike
                                Flemingsburg, KY 41041
   08/27/14           35072     ERNESTO MANTILLA                          Claim 000976a, Payment                              7100-000                                     $985.17       $4,793,253.27
                                                                          55.88032%
                                79 William Street
                                Hartford, CT 06120
   08/27/14           35073     HOWARD EITEL                              Claim 000978a, Payment                              7100-000                                  $3,228.22        $4,790,025.05
                                                                          55.88056%
                                355 Appletree Drive
                                Levittown, PA 19055
   08/27/14           35074     ARGO PARTNERS                             Claim 000984a, Payment                              7100-000                                     $747.12       $4,789,277.93
                                                                          55.88033%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 525 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35075     ARGO PARTNERS                             Claim 000985a, Payment                              7100-000                                  $6,290.47        $4,782,987.46
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35076     LENNOX GARRICK                            Claim 000987Aa, Payment                             7100-000                                  $2,980.67        $4,780,006.79
                                                                          55.88058%
                                1529 Hassock Street
                                Far Rockaway, NY 11691
   08/27/14           35077     ARGO PARTNERS                             Claim 000990a, Payment                              7100-000                                     $478.90       $4,779,527.89
                                                                          55.88098%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35078     LIQUIDITY SOLUTIONS, INC.                 Claim 000991a, Payment                              7100-000                                  $2,600.12        $4,776,927.77
                                                                          55.88051%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35079     ARGO PARTNERS                             Claim 000992a, Payment                              7100-000                                     $348.69       $4,776,579.08
                                12 West 37th St., 9th FlNew York, NY      55.87981%
                                10018
   08/27/14           35080     BONNIE TEBEAU                             Claim 000993a, Payment                              7100-004                                     $740.42       $4,775,838.66
                                                                          55.88075%
                                PO BOX 9035
                                Augusta, GA 30916
   08/27/14           35081     ARGO PARTNERS                             Claim 000994a, Payment                              7100-000                                     $968.41       $4,774,870.25
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35082     LIQUIDITY SOLUTIONS, INC.                 Claim 000997a, Payment                              7100-000                                  $1,151.70        $4,773,718.55
                                                                          55.88064%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35083     JUDITH LAIL                               Claim 000998a, Payment                              7100-000                                  $2,718.59        $4,770,999.96
                                                                          55.88058%
                                1316 Holly Bend Circle
                                Kettering, OH 45429
   08/27/14           35084     DAVID BUXTON                              Claim 000999a, Payment                              7100-000                                  $5,500.31        $4,765,499.65
                                                                          55.88042%
                                790 South 1680 East
                                Pleasant Grove, UT 84062


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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35085     LEROY MCCULLOUGH                          Claim 001000a, Payment                              7100-000                                     $743.21       $4,764,756.44
                                                                          55.88045%
                                7710 Adolphus Drive
                                Fayetteville, NC 28314
   08/27/14           35086     SYLVIA SPEARS                             Claim 001002a, Payment                              7100-000                                  $1,009.76        $4,763,746.68
                                                                          55.88046%
                                827 West 123rd Street
                                Los Angeles, CA 90044-3959
   08/27/14           35087     ALAN BONNER                               Claim 001003a, Payment                              7100-000                                  $1,704.91        $4,762,041.77
                                                                          55.88037%
                                737 Parkwest Blvd.
                                Saginaw, TX 76179
   08/27/14           35088     ROBERT FELDER                             Claim 001006a, Payment                              7100-000                                  $1,902.73        $4,760,139.04
                                                                          55.88047%
                                6702 ELMHURST ST
                                DISTRICT HEIGHTS, MD 20747
   08/27/14           35089     KIRBY VANDEROSTYNE                        Claim 001007a, Payment                              7100-000                                     $765.00       $4,759,374.04
                                                                          55.88020%
                                526 Stokes Street
                                Kewanee, IL 61443
   08/27/14           35090     OLGA CAJAS                                Claim 001008a, Payment                              7100-004                                      $69.30       $4,759,304.74
                                                                          55.88710%
                                4029 97th Street
                                Corona, NY 11368
   08/27/14           35091     GREG SCHMIT                               Claim 001009a, Payment                              7100-000                                  $2,225.72        $4,757,079.02
                                                                          55.88049%
                                3915 STH PACIFIC HWY
                                STE B
                                MEDFORD, OR 97501
   08/27/14           35092     CHRISTOPHER PERDUE                        Claim 001011a, Payment                              7100-000                                  $1,816.12        $4,755,262.90
                                                                          55.88062%
                                933 NE 23rd Ave
                                Cape Coral, FL 33909
   08/27/14           35093     ARGO PARTNERS                             Claim 001012a, Payment                              7100-000                                     $433.07       $4,754,829.83
                                                                          55.88000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $10,669.82
                                                                             Document          Page 527 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35094     ROBERTO LEDESMA                           Claim 001013a, Payment                              7100-000                                 $14,529.49        $4,740,300.34
                                                                          55.88050%
                                714 West Route 176
                                Mchenry, IL 60051
   08/27/14           35095     ASSET RECOVERY MANAGEMENT,                Claim 001014a, Payment                              7100-000                                     $274.37       $4,740,025.97
                                LLC                                       55.87984%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35096     JERMAINE JOSEPH                           Claim 001015a, Payment                              7100-004                                     $139.70       $4,739,886.27
                                                                          55.88000%
                                PSC Box 2378
                                Little Rock AFB, AR 72099
   08/27/14           35097     ASSET RECOVERY MANAGEMENT,                Claim 001016a, Payment                              7100-000                                     $414.07       $4,739,472.20
                                LLC                                       55.87989%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35098     LIQUIDITY SOLUTIONS, INC.                 Claim 001019a, Payment                              7100-000                                      $96.12       $4,739,376.08
                                                                          55.88372%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35099     LIQUIDITY SOLUTIONS, INC.                 Claim 001020a, Payment                              7100-000                                  $1,075.70        $4,738,300.38
                                                                          55.88052%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35100     ARGO PARTNERS                             Claim 001021a, Payment                              7100-000                                  $1,542.86        $4,736,757.52
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35101     ARGO PARTNERS                             Claim 001022Aa, Payment                             7100-000                                  $1,916.70        $4,734,840.82
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35102     ARGO PARTNERS                             Claim 001023a, Payment                              7100-000                                   $2,116.20       $4,732,724.62
                                                                          55.88064%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $22,105.21
                                                                             Document          Page 528 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35103     RONALD GIAQUINTO                          Claim 001024a, Payment                              7100-000                                  $3,068.96        $4,729,655.66
                                                                          55.88055%
                                5785 Picasso Drive
                                Yorba Linda, CA 92887
   08/27/14           35104     IVRY CUMMINGS                             Claim 001025a, Payment                              7100-000                                   $1,070.11       $4,728,585.55
                                                                          55.88042%
                                PO BOX 492704
                                Lawrenceville, GA 30049
   08/27/14           35105     JEFF ZIMMERMAN                            Claim 001026a, Payment                              7100-000                                  $2,621.35        $4,725,964.20
                                                                          55.88041%
                                4411 South 00 EW 71
                                Kokomo, IN 46902
   08/27/14           35106     ASSET RECOVERY MANAGEMENT,                Claim 001027a, Payment                              7100-000                                     $581.72       $4,725,382.48
                                LLC                                       55.88088%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35107     MICHAEL NELSON                            Claim 001028Aa, Payment                             7100-000                                     $606.86       $4,724,775.62
                                                                          55.88029%
                                1951 Rolling Vista Drive 46
                                Lomita, CA 90717
   08/27/14           35108     ARGO PARTNERS                             Claim 001029a, Payment                              7100-000                                  $2,530.83        $4,722,244.79
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35109     LIQUIDITY SOLUTIONS, INC.                 Claim 001030a, Payment                              7100-000                                     $385.58       $4,721,859.21
                                                                          55.88116%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35110     ARGO PARTNERS                             Claim 001031a, Payment                              7100-000                                  $5,241.59        $4,716,617.62
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35111     SECOND CHANCE CREDIT                      Claim 001032a, Payment                              7100-000                                  $1,919.50        $4,714,698.12
                                OPPORTUNITIES,                            55.88064%

                                P.O. Box 240067
                                Montgomery, AL 36124



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35112     LILIA WILLIAMS                            Claim 001033a, Payment                              7100-000                                  $1,709.38        $4,712,988.74
                                                                          55.88035%
                                17352 N W Guilford Circle
                                Blountstown, FL 32424
   08/27/14           35113     COLEY MCKENZIE                            Claim 001034a, Payment                              7100-000                                  $3,255.04        $4,709,733.70
                                                                          55.88052%
                                147 fairleaf Circle
                                Camden, SC 29020
   08/27/14           35114     MARY TATRO                                Claim 001035a, Payment                              7100-000                                  $1,865.29        $4,707,868.41
                                                                          55.88047%
                                14 Ramhead Road
                                Narragansett, RI 02882
   08/27/14           35115     JOSEPH DOS SANTOS                         Claim 001036a, Payment                              7100-000                                     $659.95       $4,707,208.46
                                                                          55.88061%
                                475 Adams Avenue
                                Staten Island, NY 10306
   08/27/14           35116     JOYCE DUNLOP                              Claim 001037a, Payment                              7100-000                                  $1,890.44        $4,705,318.02
                                                                          55.88058%
                                6 Jackson Street
                                Boscawen, NH 03303
   08/27/14           35117     MARY IBRAHIM                              Claim 001038a, Payment                              7100-000                                     $474.98       $4,704,843.04
                                8117 W. Manchester Ave., Unit 533Playa    55.88000%
                                Del Ray, CA 90293
   08/27/14           35118     ARGO PARTNERS                             Claim 001041a, Payment                              7100-000                                  $1,448.98        $4,703,394.06
                                                                          55.88045%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35119     ANGELA GRAVES                             Claim 001044a, Payment                              7100-000                                  $4,980.07        $4,698,413.99
                                                                          55.88050%
                                607 Edgewood Ave.
                                Newport, NC 28570
   08/27/14           35120     ASSET RECOVERY MANAGEMENT,                Claim 001045a, Payment                              7100-000                                  $1,246.69        $4,697,167.30
                                LLC                                       55.88032%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $17,530.82
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35121     ANGELA MOODY                              Claim 001046a, Payment                              7100-000                                  $5,623.81        $4,691,543.49
                                                                          55.88047%
                                2403 Koval Ct SW
                                Wilson, NC 27893
   08/27/14           35122     JOANN USHER                               Claim 001049a, Payment                              7100-000                                     $670.57       $4,690,872.92
                                                                          55.88083%
                                1207 Friendly Heights Blvd
                                Decatur, GA 30035
   08/27/14           35123     ARGO PARTNERS                             Claim 001050a, Payment                              7100-000                                  $2,367.66        $4,688,505.26
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35124     JAMES ODONNELL                            Claim 001051a, Payment                              7100-000                                  $1,670.83        $4,686,834.43
                                                                          55.88060%
                                282 Weed Avenue
                                Staten Island, NY 10306
   08/27/14           35125     ARGO PARTNERS                             Claim 001053a, Payment                              7100-000                                  $2,671.65        $4,684,162.78
                                                                          55.88057%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35126     ARGO PARTNERS                             Claim 001055a, Payment                              7100-000                                       $8.38       $4,684,154.40
                                                                          55.86667%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35127     LEO BERNIER                               Claim 001060a, Payment                              7100-000                                     $647.65       $4,683,506.75
                                                                          55.88007%
                                229 Rancho Villa
                                Walla-Walla, WA 99362
   08/27/14           35128     ANNIELEE GILMORE                          Claim 001062a, Payment                              7100-000                                  $1,184.67        $4,682,322.08
                                                                          55.88066%
                                111 Brookstone Road
                                Santee, SC 29142
   08/27/14           35129     NYDIA PEREZ                               Claim 001066Aa, Payment                             7100-004                                     $771.15       $4,681,550.93
                                                                          55.88043%
                                750 River Dr Apt 2B
                                Passaic, NJ 07055




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                                                                             Document          Page 531 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35130     MACK PRUITT                               Claim 001067a, Payment                              7100-000                                     $324.11       $4,681,226.82
                                                                          55.88103%
                                1017 W Gary St
                                Moses Lake, WA 98837
   08/27/14           35131     ARGO PARTNERS                             Claim 001068a, Payment                              7100-000                                     $961.14       $4,680,265.68
                                                                          55.88023%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35132     STEVE DARLING                             Claim 001070a, Payment                              7100-000                                  $5,194.65        $4,675,071.03
                                                                          55.88049%
                                109 High Street
                                Catskill, NY 12414
   08/27/14           35133     LIQUIDITY SOLUTIONS, INC.                 Claim 001071a, Payment                              7100-000                                  $2,787.88        $4,672,283.15
                                                                          55.88054%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35134     DEBRA FINCHAM                             Claim 001073a, Payment                              7100-000                                  $7,124.76        $4,665,158.39
                                                                          55.88047%
                                203 SOUTH VERMILLION
                                LEXINGTON, IL 61753
   08/27/14           35135     LIQUIDITY SOLUTIONS, INC.                 Claim 001074a, Payment                              7100-000                                  $2,519.65        $4,662,638.74
                                                                          55.88046%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35136     ARGO PARTNERS                             Claim 001075a, Payment                              7100-000                                  $1,557.39        $4,661,081.35
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35137     TAKAYOSHI AOKI                            Claim 001076a, Payment                              7100-000                                  $5,974.18        $4,655,107.17
                                127-2 Higashikoya                         55.88046%
                                Nasushiobara=shiTochigigi, Japan 329-
                                3147
   08/27/14           35138     LIQUIDITY SOLUTIONS, INC.                 Claim 001078a, Payment                              7100-000                                     $366.02       $4,654,741.15
                                                                          55.88092%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




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                                                                             Document          Page 532 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35139     ARGO PARTNERS                             Claim 001079a, Payment                              7100-000                                  $1,647.36        $4,653,093.79
                                                                          55.88060%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35140     LIQUIDITY SOLUTIONS, INC.                 Claim 001080a, Payment                              7100-000                                  $1,075.70        $4,652,018.09
                                                                          55.88052%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35141     NATALIE ANDREWS                           Claim 001081a, Payment                              7100-000                                     $567.75       $4,651,450.34
                                                                          55.88091%
                                972 Dolan Court
                                Folsom, CA 95630
   08/27/14           35142     JUANITA MCGEE                             Claim 001087a, Payment                              7100-000                                     $684.54       $4,650,765.80
                                                                          55.88082%
                                286 Luella Avenue
                                Caumet City, IL 60409
   08/27/14           35143     ARGO PARTNERS                             Claim 001088Aa, Payment                             7100-000                                      $50.29       $4,650,715.51
                                                                          55.87778%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35144     ARGO PARTNERS                             Claim 001089a, Payment                              7100-000                                  $1,124.32        $4,649,591.19
                                                                          55.88072%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35145     WILLIAM METZ                              Claim 001092Aa, Payment                             7100-000                                  $3,445.03        $4,646,146.16
                                                                          55.88045%
                                30 Furber Ave
                                Linden, NJ 07036
   08/27/14           35146     SHONDA LARSON                             Claim 001096a, Payment                              7100-000                                     $447.04       $4,645,699.12
                                                                          55.88000%
                                1014 NE 110 Ave.
                                Danville, KS 67036
   08/27/14           35147     APRIL LARSON                              Claim 001098a, Payment                              7100-000                                  $1,985.99        $4,643,713.13
                                                                          55.88042%
                                117 Sater St.
                                Orfordville, WI 53576




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35148     RONALD ROSSELLI                           Claim 001103a, Payment                              7100-000                                  $1,293.07        $4,642,420.06
                                                                          55.88029%
                                1240 E Avenue S Apt 303
                                Palmdale, CA 93550
   08/27/14           35149     ANGEL PAGAN                               Claim 001107a, Payment                              7100-004                                     $151.44       $4,642,268.62
                                                                          55.88192%
                                3467 Yale Ct.
                                Woodbridge, VA 22192
   08/27/14           35150     ARGO PARTNERS                             Claim 001109a, Payment                              7100-000                                     $979.59       $4,641,289.03
                                                                          55.88078%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35151     ARGO PARTNERS                             Claim 001113Aa, Payment                             7100-000                                     $924.26       $4,640,364.77
                                                                          55.88029%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35152     ANN PERLEY                                Claim 001115a, Payment                              7100-000                                  $1,932.91        $4,638,431.86
                                                                          55.88060%
                                4495 Angie Marie Way, NE
                                Salem, OR 97305-2786
   08/27/14           35153     ROHAN AARONS                              Claim 001118a, Payment                              7100-000                                  $6,081.47        $4,632,350.39
                                                                          55.88046%
                                653 E 224th Street
                                Bronx, NY 10466
   08/27/14           35154     ARGO PARTNERS                             Claim 001122a, Payment                              7100-000                                  $1,106.99        $4,631,243.40
                                                                          55.88036%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35155     ARGO PARTNERS                             Claim 001126a, Payment                              7100-000                                  $2,153.08        $4,629,090.32
                                                                          55.88061%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35156     ARGO PARTNERS                             Claim 001127a, Payment                              7100-000                                  $1,003.05        $4,628,087.27
                                                                          55.88022%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $15,625.86
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35157     ARGO PARTNERS                             Claim 001130a, Payment                              7100-000                                     $226.32       $4,627,860.95
                                                                          55.88148%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35158     LIQUIDITY SOLUTIONS, INC.                 Claim 001133a, Payment                              7100-000                                  $2,953.28        $4,624,907.67
                                                                          55.88042%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35159     DAWN HIPSHER                              Claim 001134a, Payment                              7100-000                                  $2,660.47        $4,622,247.20
                                                                          55.88049%
                                1305 Gracelyn St.
                                Orland, CA 95963
   08/27/14           35160     ASSET RECOVERY MANAGEMENT,                Claim 001136a, Payment                              7100-000                                  $2,643.15        $4,619,604.05
                                LLC                                       55.88055%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35161     ARGO PARTNERS                             Claim 001137a, Payment                              7100-000                                     $721.42       $4,618,882.63
                                                                          55.88071%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35162     GEORGIE MORRIS                            Claim 001138a, Payment                              7100-000                                  $3,389.15        $4,615,493.48
                                                                          55.88046%
                                740 Hickory St.
                                Hudson, CO 80642
   08/27/14           35163     LOLITA JORDAN                             Claim 001139a, Payment                              7100-000                                     $405.69       $4,615,087.79
                                                                          55.88017%
                                25 Pecan Road
                                Newton, MS 39345
   08/27/14           35164     LIQUIDITY SOLUTIONS, INC.                 Claim 001140a, Payment                              7100-000                                     $195.02       $4,614,892.77
                                                                          55.87966%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35165     ARGO PARTNERS                             Claim 001146a, Payment                              7100-000                                     $176.03       $4,614,716.74
                                12 West 37th St., 9th Fl.New York, NY     55.88254%
                                10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $13,370.53
                                                                             Document          Page 535 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35166     ED FERNANDEZ                              Claim 001147a, Payment                              7100-000                                   $2,115.08       $4,612,601.66
                                                                          55.88058%
                                58 Dogwood Court
                                Jamesburg, NJ 08831
   08/27/14           35167     SHEILA PERENA                             Claim 001148a, Payment                              7100-000                                     $758.86       $4,611,842.80
                                                                          55.88071%
                                710 W 4TH STREET
                                LYNN HAVEN, FL 32444
   08/27/14           35168     PATRICK HAGERTY                           Claim 001149a, Payment                              7100-000                                  $1,153.93        $4,610,688.87
                                                                          55.88039%
                                124 Poland Rd
                                New Spingfield, OH 44443
   08/27/14           35169     ASSET RECOVERY MANAGEMENT,                Claim 001153Aa, Payment                             7100-000                                  $2,141.90        $4,608,546.97
                                LLC                                       55.88051%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35170     YEE MOK                                   Claim 001154a, Payment                              7100-004                                     $223.52       $4,608,323.45
                                                                          55.88000%
                                10305 Springpark Ave.
                                Baton Rouge, LA 70810
   08/27/14           35171     ARGO PARTNERS                             Claim 001155a, Payment                              7100-000                                      $26.82       $4,608,296.63
                                                                          55.87500%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35172     FE M ORDOVEZA                             Claim 001157a, Payment                              7100-000                                  $1,654.06        $4,606,642.57
                                                                          55.88041%
                                225 N Church Street
                                Belleville, IL 62220-4005
   08/27/14           35173     JACQUELINE MCINNIS                        Claim 001158a, Payment                              7100-000                                  $1,619.98        $4,605,022.59
                                                                          55.88065%
                                3039 Gillis Hill Road
                                Fayetteville, NC 28306
   08/27/14           35174     LA VITA MURRAY                            Claim 001163a, Payment                              7100-000                                  $1,536.15        $4,603,486.44
                                                                          55.88032%
                                6650 S Sandhill Rd APT.240
                                Las Vegas, NV 89120




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $11,230.30
                                                                             Document          Page 536 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35175     ARGO PARTNERS                             Claim 001164a, Payment                              7100-000                                     $262.64       $4,603,223.80
                                                                          55.88085%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35176     RICHARD ZAMARRIPA                         Claim 001165Aa, Payment                             7100-000                                  $1,393.66        $4,601,830.14
                                                                          55.88051%
                                4023 Eagle Rock Blvd Apt 6
                                Los Angeles, CA 90065
   08/27/14           35177     ARGO PARTNERS                             Claim 001166a, Payment                              7100-000                                  $6,733.04        $4,595,097.10
                                12 West 37th St., 9th FlNew York, NY      55.88049%
                                10018
   08/27/14           35178     JAMES HARRIS                              Claim 001167a, Payment                              7100-000                                  $1,799.91        $4,593,297.19
                                                                          55.88047%
                                8213 Ridge Road
                                Sodus, NY 14551
   08/27/14           35179     ARGO PARTNERS                             Claim 001168a, Payment                              7100-000                                     $558.81       $4,592,738.38
                                                                          55.88100%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35180     ASSET RECOVERY MANAGEMENT,                Claim 001173a, Payment                              7100-000                                     $187.20       $4,592,551.18
                                LLC                                       55.88060%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35181     ARGO PARTNERS                             Claim 001177a, Payment                              7100-000                                     $948.29       $4,591,602.89
                                                                          55.88038%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35182     ASSET RECOVERY MANAGEMENT,                Claim 001181a, Payment                              7100-000                                  $1,726.15        $4,589,876.74
                                LLC                                       55.88054%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35183     ARGO PARTNERS                             Claim 001182a, Payment                              7100-000                                  $2,261.48        $4,587,615.26
                                                                          55.88041%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $15,871.18
                                                                             Document          Page 537 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35184     DICK NELSON                               Claim 001183a, Payment                              7100-000                                  $1,389.75        $4,586,225.51
                                                                          55.88058%
                                PO BOX 3
                                Fort Rock, OR 97735
   08/27/14           35185     ARGO PARTNERS                             Claim 001184a, Payment                              7100-000                                     $247.55       $4,585,977.96
                                                                          55.88036%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35186     DERRICK HODGE                             Claim 001208Aa, Payment                             7100-000                                     $975.12       $4,585,002.84
                                                                          55.88080%
                                2718 Erin Lane
                                Nashville, TN 37221
   08/27/14           35187     MRS MIKE (SUSAN) HUSEN                    Claim 001211a, Payment                              7100-000                                  $6,159.71        $4,578,843.13
                                                                          55.88052%
                                6151 152th Ave
                                West Olive, MI 49460
   08/27/14           35188     MARLEE GENEREUX                           Claim 001212a, Payment                              7100-000                                  $3,880.90        $4,574,962.23
                                                                          55.88049%
                                38306 8th Ave. Ct South
                                Roy, WA 98580
   08/27/14           35189     ARGO PARTNERS                             Claim 001213a, Payment                              7100-000                                     $718.06       $4,574,244.17
                                                                          55.88016%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35190     MARLIN BOGER                              Claim 001215a, Payment                              7100-000                                  $2,151.40        $4,572,092.77
                                                                          55.88052%
                                4347 Clover Hollow Road
                                Slatington, PA 18080
   08/27/14           35191     CATHERINE BARFIELD                        Claim 001216a, Payment                              7100-000                                     $888.50       $4,571,204.27
                                                                          55.88050%
                                7782 Attala Road 4127
                                Sallis, MS 39160
   08/27/14           35192     BEVERLY FERGUSON                          Claim 001218a, Payment                              7100-000                                  $1,087.43        $4,570,116.84
                                                                          55.88027%
                                600 W 6th St.
                                Manchester, OH 45144




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $17,498.42
                                                                             Document          Page 538 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35193     ELMER AFFOLTER                            Claim 001219a, Payment                              7100-000                                  $1,357.34        $4,568,759.50
                                                                          55.88061%
                                635 N Water Street
                                Uhrichville, OH 44683
   08/27/14           35194     THOMAS MCKAY                              Claim 001221a, Payment                              7100-000                                     $505.72       $4,568,253.78
                                                                          55.88066%
                                116 Whitefield Trace
                                Mooresville, NC 28115
   08/27/14           35195     MARIA MENZEL                              Claim 001223a, Payment                              7100-000                                  $3,472.97        $4,564,780.81
                                                                          55.88045%
                                6150 55th Drive
                                Maspeth, NY 11378
   08/27/14           35196     ARGO PARTNERS                             Claim 001224a, Payment                              7100-000                                     $258.73       $4,564,522.08
                                                                          55.88121%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35197     VIRGIL BROWN                              Claim 001225a, Payment                              7100-000                                  $1,410.98         $4,563,111.10
                                                                          55.88040%
                                2136 Noble Road
                                Cleveland, OH 44112
   08/27/14           35198     ARGO PARTNERS                             Claim 001228a, Payment                              7100-000                                  $3,138.25        $4,559,972.85
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35199     ELSA TEJEDA                               Claim 001230a, Payment                              7100-000                                  $1,570.80        $4,558,402.05
                                                                          55.88047%
                                4017 Redwood Dr
                                Bethlehem, PA 18020
   08/27/14           35200     ANTHONY LO                                Claim 001232a, Payment                              7100-000                                  $1,841.26        $4,556,560.79
                                                                          55.88042%
                                23742 Monument Canyon Rd
                                Diamond Bar, CA 91765
   08/27/14           35201     ARGO PARTNERS                             Claim 001234a, Payment                              7100-000                                      $21.80       $4,556,538.99
                                                                          55.89744%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35202     ASSET RECOVERY MANAGEMENT,                Claim 001238a, Payment                              7100-000                                     $964.50       $4,555,574.49
                                LLC                                       55.88065%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35203     VIRGINIA JONES                            Claim 001239a, Payment                              7100-000                                      $17.88       $4,555,556.61
                                                                          55.87500%
                                5333 langdale drive
                                Racine, WI 53402
   08/27/14           35204     RHONDA MITCHELL                           Claim 001241a, Payment                              7100-000                                     $824.80       $4,554,731.81
                                                                          55.88076%
                                270 GEORGETOWN SHORTCUT RD
                                UNIT 3
                                CRESCENT CITY, FL 32112
   08/27/14           35205     CAROLINA GONZALES                         Claim 001244a, Payment                              7100-000                                  $3,645.64        $4,551,086.17
                                                                          55.88044%
                                7434 Evans Street
                                Houston, TX 77061
   08/27/14           35206     MARNI WENTZLER                            Claim 001245a, Payment                              7100-000                                  $1,838.47        $4,549,247.70
                                                                          55.88055%
                                715 Pent Street
                                Tarpon Springs, FL 34689
   08/27/14           35207     SECOND CHANCE CREDIT                      Claim 001248a, Payment                              7100-000                                  $1,180.75        $4,548,066.95
                                OPPORTUNITIES,                            55.88027%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           35208     HOBART KIRSCH                             Claim 001252a, Payment                              7100-000                                  $2,530.83        $4,545,536.12
                                                                          55.88055%
                                PO BOX 158
                                Topinaee, MI 49791
   08/27/14           35209     ARGO PARTNERS                             Claim 001255a, Payment                              7100-000                                  $1,736.21        $4,543,799.91
                                                                          55.88059%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35210     ASSET RECOVERY MANAGEMENT,                Claim 001257a, Payment                              7100-000                                  $1,150.58        $4,542,649.33
                                LLC                                       55.88052%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35211     SYLVIA PARSON                             Claim 001258a, Payment                              7100-000                                  $5,056.07        $4,537,593.26
                                                                          55.88053%
                                40 Ravenglass Way
                                Blythewood, SC 29016
   08/27/14           35212     ASSET RECOVERY MANAGEMENT,                Claim 001261a, Payment                              7100-000                                  $1,703.80        $4,535,889.46
                                LLC                                       55.88062%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35213     SUAD ZAKARI                               Claim 001262a, Payment                              7100-000                                  $1,551.24        $4,534,338.22
                                                                          55.88040%
                                105 Blueberry Ct
                                Stafford, VA 22554
   08/27/14           35214     HARRY TEJEDA                              Claim 001269a, Payment                              7100-000                                     $237.49       $4,534,100.73
                                                                          55.88000%
                                1767 Marseille Dr
                                Miami Beach, FL 33141
   08/27/14           35215     ARGO PARTNERS                             Claim 001274a, Payment                              7100-000                                      $11.73       $4,534,089.00
                                                                          55.85714%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35216     ARGO PARTNERS                             Claim 001276a, Payment                              7100-000                                     $277.73       $4,533,811.27
                                                                          55.88129%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35217     GERALDINE AND EUGENE KOLBERG              Claim 001277Aa, Payment                             7100-000                                     $237.49       $4,533,573.78
                                                                          55.88000%
                                6078 SW 98th Loop
                                Ocala, FL 34476
   08/27/14           35218     PATRICIA ELLINGTON                        Claim 001283a, Payment                              7100-000                                     $872.85       $4,532,700.93
                                                                          55.88028%
                                55 East Park Street Apt 11B
                                East Orange, NJ 07017



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35219     EDNA BELL                                 Claim 001288a, Payment                              7100-000                                     $405.13       $4,532,295.80
                                                                          55.88000%
                                PO Box 4 Possum Drive
                                New Fairfield, CT 06812
   08/27/14           35220     KENNETH MCWILLIAMS                        Claim 001295a, Payment                              7100-000                                      $34.93       $4,532,260.87
                                                                          55.88800%
                                1130 Haynes St.
                                Raleigh, NC 27604
   08/27/14           35221     ORALIA PALOMO                             Claim 001296a, Payment                              7100-000                                     $278.84       $4,531,982.03
                                                                          55.87976%
                                11536 Burke Street
                                Whittier, CA 90606
   08/27/14           35222     ARGO PARTNERS                             Claim 001300a, Payment                              7100-000                                  $1,131.02        $4,530,851.01
                                                                          55.88043%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35223     BETHZAIDA GARCIA                          Claim 001303a, Payment                              7100-000                                  $2,777.82        $4,528,073.19
                                                                          55.88051%
                                60 Columbia St Apt 5-E
                                New York, NY 10002
   08/27/14           35224     ELMER HAWES                               Claim 001305a, Payment                              7100-000                                  $2,581.12        $4,525,492.07
                                                                          55.88049%
                                860 Clermont St Unit 301
                                Denver, CO 80220
   08/27/14           35225     ARGO PARTNERS                             Claim 001310a, Payment                              7100-000                                     $550.43       $4,524,941.64
                                                                          55.88122%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35226     M JOAN DOUGLASS                           Claim 001317a, Payment                              7100-000                                  $1,457.36        $4,523,484.28
                                                                          55.88037%
                                79 MCCULLOUGH BLVD
                                MANSFIELD, OH 44907
   08/27/14           35227     ARGO PARTNERS                             Claim 001319a, Payment                              7100-000                                  $1,214.84        $4,522,269.44
                                                                          55.88040%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $10,431.49
                                                                             Document          Page 542 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35228     MACK CHAFEN                               Claim 001322a, Payment                              7100-000                                  $2,779.50        $4,519,489.94
                                                                          55.88058%
                                PO Box 198958
                                Chicago, IL 60619
   08/27/14           35229     JOHN KREWALK                              Claim 001324a, Payment                              7100-000                                  $1,732.30        $4,517,757.64
                                                                          55.88065%
                                14 Pheasant Lane
                                Bloomfield, CT 06002
   08/27/14           35230     JOHNNY WILLS                              Claim 001331a, Payment                              7100-000                                     $888.50       $4,516,869.14
                                                                          55.88050%
                                403 Cashie Street
                                Windsor, NC 27983
   08/27/14           35231     ARGO PARTNERS                             Claim 001332a, Payment                              7100-000                                     $296.17       $4,516,572.97
                                                                          55.88113%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35232     LINDA KEITH                               Claim 001334a, Payment                              7100-000                                      $87.17       $4,516,485.80
                                                                          55.87821%
                                9713 Springwater Court
                                Louisville, KY 40229
   08/27/14           35233     ARGO PARTNERS                             Claim 001339Aa, Payment                             7100-000                                  $1,536.71        $4,514,949.09
                                                                          55.88036%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35234     ARGO PARTNERS                             Claim 001341a, Payment                              7100-000                                  $1,192.49        $4,513,756.60
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35235     BARBARA PATRICK                           Claim 001342a, Payment                              7100-000                                     $181.61       $4,513,574.99
                                                                          55.88000%
                                171-04 140 Avenue
                                Jamaica, NY 11434
   08/27/14           35236     SABRINA BIBB                              Claim 001343Aa, Payment                             7100-000                                     $267.67       $4,513,307.32
                                                                          55.88100%
                                6147 STRASBURG DR
                                CENTREVILLE, VA 20121-2241




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main          $8,962.12
                                                                             Document          Page 543 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35237     BARBARA DUNBAR                            Claim 001345a, Payment                              7100-000                                     $418.54       $4,512,888.78
                                                                          55.87984%
                                254-07 75th Avenue 2nd Floor
                                Glen Oaks, NY 11004
   08/27/14           35238     MANUEL BARONA                             Claim 001347a, Payment                              7100-000                                  $1,799.91        $4,511,088.87
                                                                          55.88047%
                                549 North Erie
                                WICHITA, KS 67214
   08/27/14           35239     CHELSEA BRYSON                            Claim 001348a, Payment                              7100-000                                  $3,198.04        $4,507,890.83
                                                                          55.88048%
                                74 Jacobs Road
                                Ringgold, GA 30736
   08/27/14           35240     ARGO PARTNERS                             Claim 001349a, Payment                              7100-000                                     $902.47       $4,506,988.36
                                                                          55.88050%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35241     LISA TEDDER                               Claim 001351a, Payment                              7100-000                                  $4,199.98        $4,502,788.38
                                                                          55.88052%
                                905 Oxford Trail Drive
                                Saint Peters, MO 63376
   08/27/14           35242     LIQUIDITY SOLUTIONS, INC.                 Claim 001352a, Payment                              7100-000                                  $1,047.76        $4,501,740.62
                                                                          55.88053%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35243     BARHAM CAMERON                            Claim 001353a, Payment                              7100-000                                     $857.77       $4,500,882.85
                                                                          55.88078%
                                CO LEGAL AID
                                PO BOX 1605
                                JOPLIN, MO 64802
   08/27/14           35244     ARGO PARTNERS                             Claim 001354a, Payment                              7100-000                                  $2,728.64        $4,498,154.21
                                                                          55.88040%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35245     ARGO PARTNERS                             Claim 001355a, Payment                              7100-000                                  $6,185.97        $4,491,968.24
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 544 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35246     ARGO PARTNERS                             Claim 001356a, Payment                              7100-000                                  $1,489.22        $4,490,479.02
                                                                          55.88068%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35247     MARCH AH YUEN                             Claim 001363a, Payment                              7100-000                                     $172.67       $4,490,306.35
                                                                          55.88026%
                                470 Kaiaulu Loop
                                Makawao, HI 96768
   08/27/14           35248     ASSET RECOVERY MANAGEMENT,                Claim 001367a, Payment                              7100-000                                     $114.00       $4,490,192.35
                                LLC                                       55.88235%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35249     ARGO PARTNERS                             Claim 001371a, Payment                              7100-000                                  $2,288.31        $4,487,904.04
                                                                          55.88059%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35250     ARGO PARTNERS                             Claim 001372a, Payment                              7100-000                                  $5,529.38        $4,482,374.66
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35251     ARGO PARTNERS                             Claim 001374a, Payment                              7100-000                                     $192.79       $4,482,181.87
                                                                          55.88116%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35252     ARGO PARTNERS                             Claim 001375a, Payment                              7100-000                                     $659.94       $4,481,521.93
                                                                          55.87976%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35253     ZACIL NASH                                Claim 001376a, Payment                              7100-000                                  $1,899.94        $4,479,621.99
                                                                          55.88059%
                                PO BOX 13305
                                MAUMELLE, AR 72113
   08/27/14           35254     JEWELLENE HARDEN                          Claim 001377a, Payment                              7100-000                                  $2,726.97        $4,476,895.02
                                                                          55.88053%
                                20450 Klinger St.
                                Detroit, MI 48234




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35255     ARGO PARTNERS                             Claim 001380a, Payment                              7100-000                                     $266.55       $4,476,628.47
                                12 West 37th St., 9th Fl.New York, NY     55.88050%
                                10018
   08/27/14           35256     SHEILA HOUSTON                            Claim 001381a, Payment                              7100-000                                     $984.61       $4,475,643.86
                                                                          55.88025%
                                419 Clearview Place
                                Boundbrook, NJ 08805
   08/27/14           35257     ARGO PARTNERS                             Claim 001384a, Payment                              7100-000                                     $594.01       $4,475,049.85
                                                                          55.88053%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35258     GRACE CORTES                              Claim 001385a, Payment                              7100-000                                  $1,669.15        $4,473,380.70
                                                                          55.88048%
                                609 Hubbard Avenue
                                Union, NJ 07083
   08/27/14           35259     CHRISTIE MAAS                             Claim 001387a, Payment                              7100-000                                  $2,733.12        $4,470,647.58
                                                                          55.88060%
                                1492 Schuyler Road
                                Toledo, OH 43612
   08/27/14           35260     DAVID STATZER                             Claim 001388a, Payment                              7100-000                                     $983.50       $4,469,664.08
                                                                          55.88068%
                                302 Big Valley Dr
                                Bristol, TN 37620
   08/27/14           35261     ARGO PARTNERS                             Claim 001389a, Payment                              7100-000                                     $381.66       $4,469,282.42
                                                                          55.87994%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35262     WAYNE NEWMAN                              Claim 001390Aa, Payment                             7100-000                                  $3,023.14        $4,466,259.28
                                                                          55.88059%
                                46 Union St
                                Dover, NH 03820
   08/27/14           35263     ARGO PARTNERS                             Claim 001397a, Payment                              7100-000                                     $116.23       $4,466,143.05
                                                                          55.87981%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35264     JUAN LUNA                                 Claim 001399a, Payment                              7100-000                                  $3,197.48        $4,462,945.57
                                c/o Azar and Azar                         55.88046%




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $13,949.45
                                                                             Document          Page 546 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35265     ARGO PARTNERS                             Claim 001405a, Payment                              7100-000                                     $328.58       $4,462,616.99
                                                                          55.88095%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35266     DIANA CASH                                Claim 001406Aa, Payment                             7100-000                                  $1,618.30        $4,460,998.69
                                                                          55.88052%
                                178 Lakewood Drive
                                Kingsland, GA 31548
   08/27/14           35267     ASSET RECOVERY MANAGEMENT,                Claim 001407a, Payment                              7100-000                                  $2,660.47        $4,458,338.22
                                LLC                                       55.88049%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35268     ARGO PARTNERS                             Claim 001411a, Payment                              7100-000                                     $843.23       $4,457,494.99
                                                                          55.88005%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35269     KERRI MESA                                Claim 001414a, Payment                              7100-000                                  $1,139.96        $4,456,355.03
                                                                          55.88039%
                                451 Shepherd Ave
                                San Jose, CA 95125
   08/27/14           35270     EDDIE OCKERT                              Claim 001417a, Payment                              7100-004                                      $46.38       $4,456,308.65
                                                                          55.87952%
                                4112 CANTERBURY LN
                                TRAVERSE CITY, MI 49685
   08/27/14           35271     ARGO PARTNERS                             Claim 001418a, Payment                              7100-000                                  $1,518.27        $4,454,790.38
                                                                          55.88038%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35272     GERALD HERKIMER                           Claim 001419a, Payment                              7100-004                                     $554.33       $4,454,236.05
                                                                          55.88004%
                                10 West Central
                                Reedpoint, MT 59069
   08/27/14           35273     JON HABER                                 Claim 001420a, Payment                              7100-000                                  $1,191.94        $4,453,044.11
                                                                          55.88092%
                                2177 Kings Mountain Drive
                                Conyers, GA 30012




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 547 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35274     ARGO PARTNERS                             Claim 001421a, Payment                              7100-000                                  $1,833.44        $4,451,210.67
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35275     ASSET RECOVERY MANAGEMENT,                Claim 001426a, Payment                              7100-000                                     $189.99       $4,451,020.68
                                LLC                                       55.87941%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35276     ARGO PARTNERS                             Claim 001429a, Payment                              7100-000                                     $618.60       $4,450,402.08
                                                                          55.88076%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35277     LINDA SCHAFER                             Claim 001430a, Payment                              7100-000                                  $1,699.33        $4,448,702.75
                                                                          55.88063%
                                36 Duquesne Ct
                                Springdale, PA 15144
   08/27/14           35278     MARCIA SAVAGE                             Claim 001433a, Payment                              7100-000                                  $5,875.83        $4,442,826.92
                                                                          55.88046%
                                811 Macanic Ave
                                Ravenna, OH 44266
   08/27/14           35279     JOHNNY DOBBINS                            Claim 001439a, Payment                              7100-000                                  $2,065.90        $4,440,761.02
                                                                          55.88044%
                                13193 Ben Dr
                                Coker, AL 35452
   08/27/14           35280     SANDRA ELMORE                             Claim 001440a, Payment                              7100-004                                     $799.09       $4,439,961.93
                                                                          55.88042%
                                65 CAROL LN UNIT 366
                                OAKLEY, CA 94561
   08/27/14           35281     GREGORY ACKERLEY                          Claim 001441a, Payment                              7100-000                                  $1,548.45        $4,438,413.48
                                                                          55.88055%
                                136 Finch Drive
                                Tomah, WI 54660
   08/27/14           35282     ASSET RECOVERY MANAGEMENT,                Claim 001442a, Payment                              7100-000                                     $684.54       $4,437,728.94
                                LLC                                       55.88082%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35283     ARGO PARTNERS                             Claim 001444a, Payment                              7100-000                                  $1,729.50        $4,435,999.44
                                                                          55.88045%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35284     ARGO PARTNERS                             Claim 001446a, Payment                              7100-000                                  $1,555.15        $4,434,444.29
                                                                          55.88034%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35285     ANTONIO ALBURQUERQUE                      Claim 001449a, Payment                              7100-004                                     $348.14       $4,434,096.15
                                                                          55.88122%
                                2842 S Meadowbrook Apt 7
                                Springfield, MO 65807
   08/27/14           35286     ABDUL MOEEN                               Claim 001450a, Payment                              7100-000                                  $1,533.92        $4,432,562.23
                                4515 Wildcat Ave.Bakersfield, CA 93313    55.88051%
   08/27/14           35287     ARGO PARTNERS                             Claim 001452a, Payment                              7100-000                                     $796.30       $4,431,765.93
                                                                          55.88070%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35288     TERESA BARBER                             Claim 001455a, Payment                              7100-000                                     $684.54       $4,431,081.39
                                                                          55.88082%
                                132 Old Walnut Lane
                                Lexington, NC 27295
   08/27/14           35289     TRAVIS CROWNINGSHIELD                     Claim 001456a, Payment                              7100-000                                  $3,022.02        $4,428,059.37
                                                                          55.88055%
                                PO Box 146
                                Willsboro, NY 12996
   08/27/14           35290     LYDIA DIAZ                                Claim 001457a, Payment                              7100-000                                  $3,161.71        $4,424,897.66
                                                                          55.88035%
                                3027 West Ave J4
                                Lancaster, CA 93536
   08/27/14           35291     ERNEST HARRIS                             Claim 001460a, Payment                              7100-000                                  $1,841.82        $4,423,055.84
                                                                          55.88046%
                                163 Greenduck Road
                                Leslie, GA 31764
   08/27/14           35292     WILMER ROMERO                             Claim 001462a, Payment                              7100-000                                     $324.11       $4,422,731.73
                                                                          55.88103%
                                110-53 107Th St
                                Ozone Park, NY 11417



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35293     ASSET RECOVERY MANAGEMENT,                Claim 001464a, Payment                              7100-000                                  $1,392.54        $4,421,339.19
                                LLC                                       55.88042%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35294     JIMMY TINNIN                              Claim 001467a, Payment                              7100-000                                  $6,685.54        $4,414,653.65
                                                                          55.88047%
                                3342 Chateau Circle North
                                Southaven, MS 38672
   08/27/14           35295     HAROLD WILSON                             Claim 001473a, Payment                              7100-000                                  $2,495.06        $4,412,158.59
                                                                          55.88040%
                                POB 623
                                East Taunton, MA 02718
   08/27/14           35296     ARGO PARTNERS                             Claim 001475a, Payment                              7100-000                                     $231.91       $4,411,926.68
                                                                          55.88193%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35297     GEORGIA SMEDLEY                           Claim 001478a, Payment                              7100-000                                     $770.03       $4,411,156.65
                                                                          55.88026%
                                PO BOX 208
                                FLORENCE, OR 97439
   08/27/14           35298     ANGELA BAXTER                             Claim 001479a, Payment                              7100-000                                  $5,266.74        $4,405,889.91
                                                                          55.88053%
                                900 Schenectady Avenue
                                Brooklyn, NY 11203
   08/27/14           35299     ARGO PARTNERS                             Claim 001484a, Payment                              7100-000                                     $304.55       $4,405,585.36
                                                                          55.88073%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35300     GEORGE SIDERS                             Claim 001485a, Payment                              7100-000                                     $149.20       $4,405,436.16
                                                                          55.88015%
                                1108 Cannon Farm Road
                                Oxford, GA 30054
   08/27/14           35301     ARGO PARTNERS                             Claim 001486a, Payment                              7100-000                                  $1,508.77        $4,403,927.39
                                                                          55.88037%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $18,804.34
                                                                             Document          Page 550 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35302     ARGO PARTNERS                             Claim 001488a, Payment                              7100-000                                  $2,381.07        $4,401,546.32
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35303     COLLEEN MELTON                            Claim 001489a, Payment                              7100-000                                  $1,363.48        $4,400,182.84
                                                                          55.88033%
                                1348 Kennedy St
                                Washington, DC 20021
   08/27/14           35304     ARGO PARTNERS                             Claim 001491a, Payment                              7100-000                                     $671.13       $4,399,511.71
                                12 West 37th St., 9th FlNew York, NY      55.88093%
                                10018
   08/27/14           35305     ARGO PARTNERS                             Claim 001492Aa, Payment                             7100-000                                     $614.69       $4,398,897.02
                                12 West 37th St., 9th FlNew York, NY      55.88091%
                                10018
   08/27/14           35306     ASSET RECOVERY MANAGEMENT,                Claim 001496a, Payment                              7100-000                                  $2,246.40        $4,396,650.62
                                LLC                                       55.88060%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35307     DELLA HOY                                 Claim 001499a, Payment                              7100-004                                   $1,114.81       $4,395,535.81
                                                                          55.88020%
                                PO Box 160
                                Chilcoot, CA 96105
   08/27/14           35308     ARGO PARTNERS                             Claim 001501a, Payment                              7100-000                                  $1,242.22        $4,394,293.59
                                                                          55.88034%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35309     GLENN WEAVER                              Claim 001504a, Payment                              7100-000                                  $5,894.83        $4,388,398.76
                                                                          55.88046%
                                K JIN LIM, CHAP 7 TRUSTEE
                                176 S HARVEY
                                PLYMOUTH, MI 48170
   08/27/14           35310     ASSET RECOVERY MANAGEMENT,                Claim 001508a, Payment                              7100-000                                      $85.50       $4,388,313.26
                                LLC                                       55.88235%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35311     ARGO PARTNERS                             Claim 001512a, Payment                              7100-000                                  $1,420.48        $4,386,892.78
                                                                          55.88041%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35312     CHARLEEN BROWN                            Claim 001514Aa, Payment                             7100-000                                  $3,990.99        $4,382,901.79
                                                                          55.88057%
                                1967 High Pines Road
                                Rock Hill, SC 29732
   08/27/14           35313     ARGO PARTNERS                             Claim 001521a, Payment                              7100-000                                     $914.20       $4,381,987.59
                                                                          55.88020%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35314     FRANCINE E WIGGLESWORTH                   Claim 001527a, Payment                              7100-000                                  $7,068.89        $4,374,918.70
                                                                          55.88055%
                                6700 KILLARNEY ST
                                CLINTON, MD 20735
   08/27/14           35315     ARGO PARTNERS                             Claim 001528a, Payment                              7100-000                                  $1,712.74        $4,373,205.96
                                                                          55.88059%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35316     ARGO PARTNERS                             Claim 001529a, Payment                              7100-000                                  $4,395.00        $4,368,810.96
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35317     ASSET RECOVERY MANAGEMENT,                Claim 001533a, Payment                              7100-000                                     $733.71       $4,368,077.25
                                LLC                                       55.88043%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35318     LISA MATTSON                              Claim 001535Aa, Payment                             7100-000                                  $3,551.21        $4,364,526.04
                                                                          55.88057%
                                29 Lee Road
                                Madbury, NH 03823
   08/27/14           35319     ASSET RECOVERY MANAGEMENT,                Claim 001537a, Payment                              7100-000                                  $9,897.55        $4,354,628.49
                                LLC                                       55.88048%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064



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                                                                                                                                                     Desc Main         $33,684.77
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35320     FRANCINE CATO                             Claim 001539a, Payment                              7100-000                                  $1,628.36        $4,353,000.13
                                                                          55.88058%
                                618 High Street
                                Perth Amboy, NJ 08861
   08/27/14           35321     ARGO PARTNERS                             Claim 001540a, Payment                              7100-000                                     $265.43       $4,352,734.70
                                                                          55.88000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35322     ASSET RECOVERY MANAGEMENT,                Claim 001541Aa, Payment                             7100-000                                     $300.08       $4,352,434.62
                                LLC                                       55.88082%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35323     ARGO PARTNERS                             Claim 001547a, Payment                              7100-000                                  $3,901.02        $4,348,533.60
                                                                          55.88053%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35324     RANDY R HINES                             Claim 001552a, Payment                              7100-000                                     $488.95       $4,348,044.65
                                                                          55.88000%
                                4724 TALDON LN
                                Benton, LA 71006-4902
   08/27/14           35325     ARGO PARTNERS                             Claim 001554a, Payment                              7100-000                                  $2,215.10        $4,345,829.55
                                                                          55.88042%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35326     SECOND CHANCE CREDIT                      Claim 001558a, Payment                              7100-000                                      $87.17       $4,345,742.38
                                OPPORTUNITIES,                            55.87821%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           35327     LIQUIDITY SOLUTIONS, INC.                 Claim 001560a, Payment                              7100-000                                  $6,275.94        $4,339,466.44
                                                                          55.88051%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35328     ASSET RECOVERY MANAGEMENT,                Claim 001566a, Payment                              7100-000                                     $500.13       $4,338,966.31
                                LLC                                       55.88045%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064


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                                                                             Document          Page 553 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35329     ASSET RECOVERY MANAGEMENT,                Claim 001567a, Payment                              7100-000                                  $1,812.21        $4,337,154.10
                                LLC                                       55.88067%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35330     MARIA GRINER                              Claim 001569a, Payment                              7100-000                                      $31.85       $4,337,122.25
                                                                          55.87719%
                                1224 Burgandy Lane
                                Conway, SC 29527
   08/27/14           35331     ARTHUR CURRY                              Claim 001570a, Payment                              7100-000                                     $157.58       $4,336,964.67
                                                                          55.87943%
                                404 Avenel St
                                Avenel, NJ 07001
   08/27/14           35332     DEBORAH TALBOT                            Claim 001571a, Payment                              7100-000                                  $1,250.05        $4,335,714.62
                                                                          55.88064%
                                14498 WHISPERWOOD CT
                                DUMFRIES, VA 22025
   08/27/14           35333     ARGO PARTNERS                             Claim 001572a, Payment                              7100-000                                  $2,676.12        $4,333,038.50
                                                                          55.88056%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35334     JONATHAN HARPER                           Claim 001573a, Payment                              7100-000                                  $1,181.31        $4,331,857.19
                                                                          55.88032%
                                193 Cain Road
                                Stony Point, NC 28678
   08/27/14           35335     WILLIAM RYNNE                             Claim 001574a, Payment                              7100-000                                     $943.26       $4,330,913.93
                                                                          55.88033%
                                6 Cherry Hill Rd
                                Nort Cape May, NJ 08204
   08/27/14           35336     ARGO PARTNERS                             Claim 001576a, Payment                              7100-000                                     $155.35       $4,330,758.58
                                                                          55.88129%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35337     ARGO PARTNERS                             Claim 001577a, Payment                              7100-000                                  $2,170.96        $4,328,587.62
                                                                          55.88057%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35338     YVONNE PRESTON                            Claim 001579a, Payment                              7100-000                                     $731.48       $4,327,856.14
                                                                          55.88083%
                                125 Bright Star Court
                                Lynchburg, VA 24501
   08/27/14           35339     SARA ELLIOTT                              Claim 001580a, Payment                              7100-000                                     $324.67       $4,327,531.47
                                                                          55.88124%
                                2253 26th Street NW
                                Cedar Rapids, IA 52405
   08/27/14           35340     NICHOLAS MAGERAS                          Claim 001581a, Payment                              7100-000                                  $1,735.09        $4,325,796.38
                                                                          55.88052%
                                PO BOX 2967
                                SILVER CITY, NM 88062
   08/27/14           35341     ARGO PARTNERS                             Claim 001583a, Payment                              7100-000                                     $570.54       $4,325,225.84
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35342     HELEN ROBINSON                            Claim 001584a, Payment                              7100-000                                     $885.70       $4,324,340.14
                                                                          55.88013%
                                119 A Meadowwood Drive
                                Clinton, MS 39056
   08/27/14           35343     GARY NUCKOLS                              Claim 001585a, Payment                              7100-000                                   $2,809.11       $4,321,531.03
                                                                          55.88045%
                                129 Grant Road N
                                Chuckey, TN 37641
   08/27/14           35344     LORI HOBBS                              Claim 001586a, Payment                                7100-000                                      $72.64       $4,321,458.39
                                11522 E. Mission Ave.Spokane Valley, WA 55.87692%
                                99206
   08/27/14           35345     ARGO PARTNERS                             Claim 001587a, Payment                              7100-000                                  $2,710.77        $4,318,747.62
                                                                          55.88064%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35346     GARY BEDARD                               Claim 001588Aa, Payment                             7100-000                                     $689.01       $4,318,058.61
                                                                          55.88078%
                                87 Railroad Avenue
                                Beacon Falls, CT 06403
   08/27/14           35347     FRANCES WARREN                            Claim 001590a, Payment                              7100-000                                     $442.57       $4,317,616.04
                                                                          55.88005%
                                155 S 14th Ave.
                                Mount Vernon, NY 10550


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35348     JUDY EDWARDS                              Claim 001597a, Payment                              7100-000                                     $871.18       $4,316,744.86
                                                                          55.88069%
                                14 CR 311
                                Calhoun City, MS 38916
   08/27/14           35349     ARGO PARTNERS                             Claim 001600a, Payment                              7100-000                                      $77.67       $4,316,667.19
                                                                          55.87770%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35350     EUGENE TESKE                              Claim 001601a, Payment                              7100-000                                  $2,490.59        $4,314,176.60
                                c/o Azar and Azar                         55.88041%
   08/27/14           35351     LIQUIDITY SOLUTIONS, INC.                 Claim 001602a, Payment                              7100-000                                  $2,333.01        $4,311,843.59
                                                                          55.88048%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35352     ROBERT BEISER                             Claim 001604a, Payment                              7100-000                                     $406.81       $4,311,436.78
                                                                          55.88049%
                                3173 Oak Ridge Lane
                                Loganville, GA 30052
   08/27/14           35353     ARGO PARTNERS                             Claim 001615a, Payment                              7100-000                                     $477.78       $4,310,959.00
                                12 West 37th Street, 9th FloorNew York,   55.88070%
                                NY 10018
   08/27/14           35354     DEBBIE LAKE                               Claim 001617a, Payment                              7100-000                                     $234.70       $4,310,724.30
                                                                          55.88095%
                                44333 23rd Street West
                                Lancaster, CA 93536
   08/27/14           35355     REBEKAH FRIEND                            Claim 001618a, Payment                              7100-004                                  $1,001.94        $4,309,722.36
                                                                          55.88065%
                                812 5th Avenue W
                                Hendersonville, NC 28739
   08/27/14           35356     FRANK BOKAL JR                            Claim 001620a, Payment                              7100-000                                  $3,433.30        $4,306,289.06
                                                                          55.88053%
                                16 Amsbry Street
                                Binghamton, NY 13901
   08/27/14           35357     MIGUEL MARTINEZ                           Claim 001624a, Payment                              7100-000                                     $638.16       $4,305,650.90
                                728 Foster DrModesto, CA 95351            55.88091%




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


       1                2                           3                                             4                                                   5                6                     7

Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35358     SECOND CHANCE CREDIT                      Claim 001626a, Payment                              7100-000                                     $611.89       $4,305,039.01
                                OPPORTUNITIES,                            55.88037%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           35359     ARGO PARTNERS                             Claim 001627Aa, Payment                             7100-000                                      $89.41       $4,304,949.60
                                                                          55.88125%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35360     ASSET RECOVERY MANAGEMENT,                Claim 001629a, Payment                              7100-000                                  $1,028.76        $4,303,920.84
                                LLC                                       55.88050%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35361     SHARON FRANKLIN                           Claim 001631, Payment                               7100-000                                     $129.64       $4,303,791.20
                                2423 Winrock Blvd. Apt. 176Houston, TX    55.87931%
                                77057
   08/27/14           35362     JULIO GOMEZ                               Claim 001636Aa, Payment                             7100-000                                     $796.30       $4,302,994.90
                                                                          55.88070%
                                1400 Benson Street 4F
                                Bronx, NY 10461
   08/27/14           35363     WENDY PEREIRA                             Claim 001638a, Payment                              7100-000                                  $2,768.88        $4,300,226.02
                                                                          55.88052%
                                6322 Leaflet Lane
                                Hughson, CA 95326
   08/27/14           35364     ASSET RECOVERY MANAGEMENT,                Claim 001640a, Payment                              7100-000                                     $749.91       $4,299,476.11
                                LLC                                       55.88003%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35365     DENNIS DORIOTT                            Claim 001644a, Payment                              7100-000                                  $1,824.50        $4,297,651.61
                                26219 Normans Landing RdWebster, WI       55.88055%
                                54893
   08/27/14           35366     JUANA HERNANDEZ                           Claim 001645a, Payment                              7100-000                                     $455.98       $4,297,195.63
                                                                          55.87990%
                                615 Sligo Avenue
                                Silver Springs, MD 20910




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main          $8,455.27
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35367     ASSET RECOVERY MANAGEMENT,                Claim 001647Aa, Payment                             7100-000                                     $366.02       $4,296,829.61
                                LLC                                       55.88092%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35368     JANICE MYNAR                              Claim 001650a, Payment                              7100-000                                  $2,707.97        $4,294,121.64
                                                                          55.88052%
                                PO Box 77
                                Elsinore, UT 84724-0077
   08/27/14           35369     ARGO PARTNERS                             Claim 001651a, Payment                              7100-000                                  $3,079.02        $4,291,042.62
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35370     HANK KURZ                                 Claim 001653a, Payment                              7100-000                                  $2,081.55        $4,288,961.07
                                                                          55.88054%
                                400-3 Montauk Hwy
                                East Moriches, NY 11940
   08/27/14           35371     TRUPTI LATHIA                             Claim 001657a, Payment                              7100-000                                  $6,013.30        $4,282,947.77
                                                                          55.88049%
                                5 Colindale Court
                                Durham, NC 27704
   08/27/14           35372     BETTY ECKERT                              Claim 001658a, Payment                              7100-000                                  $3,043.81        $4,279,903.96
                                                                          55.88048%
                                1201 East Ottum Avenue
                                Big Fork, MN 56628
   08/27/14           35373     JANIS LEWIS                               Claim 001659a, Payment                              7100-000                                     $648.21       $4,279,255.75
                                                                          55.88017%
                                PO BOX 260-443
                                Brooklyn, NY 11226
   08/27/14           35374     ARGO PARTNERS                             Claim 001660a, Payment                              7100-000                                  $1,738.44        $4,277,517.31
                                12 West 37th St., 9th FloorNew York, NY   55.88042%
                                10018
   08/27/14           35375     ARGO PARTNERS                             Claim 001661a, Payment                              7100-000                                  $3,256.16        $4,274,261.15
                                12 West 37th St., 9th Fl.New York, NY     55.88056%
                                10018
   08/27/14           35376     RICHARD HINZ                              Claim 001662a, Payment                              7100-000                                  $5,150.51        $4,269,110.64
                                                                          55.88055%
                                5905 W 41st Street
                                Sioux Falls, SD 57106


                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 558 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35377     DAVID DICKINSON                           Claim 001663Aa, Payment                             7100-000                                     $342.55       $4,268,768.09
                                                                          55.88091%
                                3482 Trailview Ct
                                Brunswick, OH 44212
   08/27/14           35378     ASSET RECOVERY MANAGEMENT,                Claim 001666a, Payment                              7100-000                                     $391.72       $4,268,376.37
                                LLC                                       55.88017%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35379     DONNA BURTON                              Claim 001667a, Payment                              7100-000                                  $1,779.79        $4,266,596.58
                                                                          55.88038%
                                PO BOX 232
                                Bowling Green, SC 29703
   08/27/14           35380     ASSET RECOVERY MANAGEMENT,                Claim 001669a, Payment                              7100-000                                     $248.67       $4,266,347.91
                                LLC                                       55.88090%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35381     ARGO PARTNERS                             Claim 001673a, Payment                              7100-000                                  $2,550.94        $4,263,796.97
                                                                          55.88039%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35382     MARGARET ADAMS                            Claim 001679a, Payment                              7100-000                                  $1,665.80        $4,262,131.17
                                2562 DavissonRiver Grove, IL 60171        55.88058%
   08/27/14           35383     ARGO PARTNERS                             Claim 001682a, Payment                              7100-000                                      $42.47       $4,262,088.70
                                                                          55.88158%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35384     ARGO PARTNERS                             Claim 001684a, Payment                              7100-000                                     $116.79       $4,261,971.91
                                                                          55.88038%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35385     ARGO PARTNERS                             Claim 001688a, Payment                              7100-000                                      $11.73       $4,261,960.18
                                                                          55.85714%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35386     ARGO PARTNERS                             Claim 001690a, Payment                              7100-000                                  $4,149.13        $4,257,811.05
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35387     ARGO PARTNERS                             Claim 001693a, Payment                              7100-000                                      $31.85       $4,257,779.20
                                                                          55.87719%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35388     JANTIA HART                               Claim 001695a, Payment                              7100-004                                  $2,391.69        $4,255,387.51
                                                                          55.88061%
                                7 Lyman Drive
                                Middletown, CT 06457
   08/27/14           35389     RONALD HALL                               Claim 001697a, Payment                              7100-000                                     $344.22       $4,255,043.29
                                                                          55.87987%
                                PO Box 241
                                Grant, OK 74738-0241
   08/27/14           35390     KEITH ALAN AND SHERYL ANN BABB            Claim 001698a, Payment                              7100-000                                  $3,095.78        $4,251,947.51
                                                                          55.88051%
                                WILLIAM J RAMEKER, TRUSTEE
                                PO BOX 2038
                                MADISON, WI 53701-2038
   08/27/14           35391     ARGO PARTNERS                             Claim 001699a, Payment                              7100-000                                  $5,210.86        $4,246,736.65
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35392     JEWELDEAN KINNEY                          Claim 001700a, Payment                              7100-000                                  $4,102.75        $4,242,633.90
                                                                          55.88055%
                                294 Locust Drive
                                Lexington, NC 27292
   08/27/14           35393     JUNE BOMGARDNER                           Claim 001702a, Payment                              7100-000                                  $4,549.79        $4,238,084.11
                                                                          55.88050%
                                5072 Ridge Road
                                Elizabethtown, PA 17022
   08/27/14           35394     GARY STEED                                Claim 001704a, Payment                              7100-000                                  $8,617.89        $4,229,466.22
                                                                          55.88050%
                                5161 Amberwood Circle
                                Fairfield, CA 94534




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35395     LAURO RIVERA                              Claim 001706Aa, Payment                             7100-000                                  $2,440.30        $4,227,025.92
                                                                          55.88047%
                                31 Cotswold Circle
                                Ocean, NJ 07712
   08/27/14           35396     ARGO PARTNERS                             Claim 001707a, Payment                              7100-000                                     $344.78       $4,226,681.14
                                                                          55.88006%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35397     ARGO PARTNERS                             Claim 001712a, Payment                              7100-000                                     $712.48       $4,225,968.66
                                                                          55.88078%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35398     LIQUIDITY SOLUTIONS, INC.                 Claim 001713a, Payment                              7100-000                                  $1,318.78        $4,224,649.88
                                                                          55.88051%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35399     EMILIA ACEVIZ                             Claim 001715a, Payment                              7100-000                                  $1,599.30        $4,223,050.58
                                                                          55.88050%
                                16328 Rt 84 North
                                East Moline, IL 61244
   08/27/14           35400     TRAVIS LAMM                               Claim 001718a, Payment                              7100-000                                  $9,161.05        $4,213,889.53
                                                                          55.88051%
                                44254 Huron Terrace
                                Ashburn, VA 20147
   08/27/14           35401     YVONNE ROSE                               Claim 001719Aa, Payment                             7100-000                                     $842.68       $4,213,046.85
                                                                          55.88064%
                                16905 NW 52ND PL
                                MIAMI, FL 33055
   08/27/14           35402     JUSTIN BOLEFAHR                           Claim 001720Aa, Payment                             7100-000                                  $2,556.53        $4,210,490.32
                                                                          55.88044%
                                4164 Diane Street
                                Redding, CA 96002
   08/27/14           35403     ROBERT CHILDS                             Claim 001721a, Payment                              7100-000                                     $397.87       $4,210,092.45
                                                                          55.88062%
                                1814 South Ringgold St
                                Philadelphia, PA 19145




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35404     SECOND CHANCE CREDIT                      Claim 001723a, Payment                              7100-000                                  $1,241.10        $4,208,851.35
                                OPPORTUNITIES,                            55.88023%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           35405     ARGO PARTNERS                             Claim 001726a, Payment                              7100-000                                     $357.08       $4,208,494.27
                                                                          55.88106%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35406     LORINE HARRIS                             Claim 001737a, Payment                              7100-000                                     $961.70       $4,207,532.57
                                                                          55.88030%
                                PO BOX 225
                                Franklinton, NC 27525
   08/27/14           35407     ARGO PARTNERS                             Claim 001744a, Payment                              7100-000                                     $588.98       $4,206,943.59
                                12 West 37th St., 9th Fl.New York, NY     55.88046%
                                10018
   08/27/14           35408     ASSET RECOVERY MANAGEMENT,                Claim 001745a, Payment                              7100-000                                  $1,442.83        $4,205,500.76
                                LLC                                       55.88033%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35409     ARGO PARTNERS                             Claim 001748a, Payment                              7100-000                                     $853.30       $4,204,647.46
                                                                          55.88081%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35410     NEIL FERRARA                              Claim 001750a, Payment                              7100-000                                     $136.91       $4,204,510.55
                                                                          55.88163%
                                798 East Tyre Rd
                                Senaca Falls, NY 13148
   08/27/14           35411     ARGO PARTNERS                             Claim 001755a, Payment                              7100-000                                  $2,933.17        $4,201,577.38
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35412     WAYNE MCKAY                               Claim 001757a, Payment                              7100-000                                     $348.13       $4,201,229.25
                                2722 Albemarle Rd.Montgomery, AL          55.87961%
                                36107




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35413     ASSET RECOVERY MANAGEMENT,                Claim 001761Aa, Payment                             7100-000                                     $716.95       $4,200,512.30
                                LLC                                       55.88075%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35414     ARGO PARTNERS                             Claim 001764a, Payment                              7100-000                                     $902.61       $4,199,609.69
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35415     TRINA WALTERS                             Claim 001765a, Payment                              7100-000                                  $3,304.77        $4,196,304.92
                                                                          55.88045%
                                6528 US Route 62 SW
                                Washington Courthouse, OH 43160
   08/27/14           35416     ADRIENNE SMITH                            Claim 001766a, Payment                              7100-004                                     $236.93       $4,196,067.99
                                                                          55.87972%
                                3645 N 7th Ave. #35A
                                Phoenix, AZ 85013
   08/27/14           35417     JOE NEUDENBACH                            Claim 001772a, Payment                              7100-000                                     $578.92       $4,195,489.07
                                                                          55.88031%
                                271 Vivian Dr.
                                Berea, OH 44017
   08/27/14           35418     NIKENSON MIDI                             Claim 001773a, Payment                              7100-004                                  $1,764.15        $4,193,724.92
                                                                          55.88058%
                                1800 Grove Point Road Apt 610
                                SAVANNAH, GA 31419
   08/27/14           35419     ROBERT HIEMSTRA                           Claim 001775a, Payment                              7100-000                                  $5,178.45        $4,188,546.47
                                                                          55.88054%
                                108 Snyder Street
                                Hot Springs, AR 71901
   08/27/14           35420     LAURA KAY                                 Claim 001776a, Payment                              7100-000                                  $1,656.86        $4,186,889.61
                                                                          55.88061%
                                303 Kay Lane
                                Clinton, AR 72031
   08/27/14           35421     ARGO PARTNERS                             Claim 001778a, Payment                              7100-000                                  $1,202.55        $4,185,687.06
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 563 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35422     ARGO PARTNERS                             Claim 001781a, Payment                              7100-000                                     $155.35       $4,185,531.71
                                                                          55.88129%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35423     SUSAN STEIGER                             Claim 001782a, Payment                              7100-000                                  $1,068.99        $4,184,462.72
                                                                          55.88029%
                                65 S 900 E
                                Venice, UT 84701
   08/27/14           35424     ARGO PARTNERS                             Claim 001783a, Payment                              7100-000                                  $1,047.76        $4,183,414.96
                                                                          55.88053%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35425     ARGO PARTNERS                             Claim 001785a, Payment                              7100-000                                     $335.28       $4,183,079.68
                                                                          55.88000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35426     ANNETTE BISCHOFF                          Claim 001787a, Payment                              7100-000                                     $237.49       $4,182,842.19
                                                                          55.88000%
                                1217 Bluff Avenue
                                Sheboygan, WI 53081
   08/27/14           35427     ARGO PARTNERS                             Claim 001788a, Payment                              7100-000                                  $3,179.62        $4,179,662.57
                                                                          55.88045%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35428     TREVOR MCCARTHY                           Claim 001789a, Payment                              7100-000                                  $1,244.46        $4,178,418.11
                                                                          55.88056%
                                2518 Fredrick Douglas Blvd Apt 5C
                                New York, NY 10030
   08/27/14           35429     SHIRLEY CORNETT                           Claim 001792a, Payment                              7100-004                                  $2,048.58        $4,176,369.53
                                                                          55.88052%
                                201 Dodgens Lane
                                Seneca, SC 29672
   08/27/14           35430     ARGO PARTNERS                             Claim 001794a, Payment                              7100-000                                  $2,248.63        $4,174,120.90
                                12 West 37th Street, 9th FloorNew York,   55.88047%
                                NY 10018
   08/27/14           35431     WANDA BRUNER                              Claim 001796a, Payment                              7100-000                                     $262.64       $4,173,858.26
                                                                          55.88085%
                                471 Middle Ground Way
                                London, KY 40744


                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35432     DELORES MARLING                           Claim 001797a, Payment                              7100-000                                     $603.51       $4,173,254.75
                                                                          55.88056%
                                1009 Wildwood Court
                                Seymore, IN 47274
   08/27/14           35433     ABDELHADI QOURISSE                        Claim 001801a, Payment                              7100-000                                  $6,230.68        $4,167,024.07
                                                                          55.88054%
                                PO BOX 3384
                                Peabody, MA 01961
   08/27/14           35434     ARGO PARTNERS                             Claim 001807a, Payment                              7100-000                                  $1,156.73        $4,165,867.34
                                                                          55.88068%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35435     LIQUIDITY SOLUTIONS, INC.                 Claim 001808a, Payment                              7100-000                                  $2,696.23        $4,163,171.11
                                                                          55.88041%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35436     VANESSA CLARK                             Claim 001809a, Payment                              7100-000                                  $4,177.63        $4,158,993.48
                                                                          55.88055%
                                1449 Cranleigh Lane
                                Williamtown, NJ 08094
   08/27/14           35437     HUGH BROWN                                Claim 001811a, Payment                              7100-000                                  $2,472.71        $4,156,520.77
                                                                          55.88045%
                                408 34TH ST
                                West Palm Beach, FL 33407
   08/27/14           35438     RICHARD FANNON                            Claim 001812a, Payment                              7100-000                                  $4,630.82        $4,151,889.95
                                                                          55.88054%
                                PO BOX 126
                                Ballard, WV 24918
   08/27/14           35439     ALFA LOPEZ                                Claim 001813a, Payment                              7100-000                                     $615.80       $4,151,274.15
                                38-07 58th St.,Woodside, NY 11377         55.88022%
   08/27/14           35440     MARICELA AGUILAR                          Claim 001814a, Payment                              7100-000                                  $4,622.99        $4,146,651.16
                                                                          55.88045%
                                2345 Academy Ave.
                                Pomona, CA 91768
   08/27/14           35441     ARGO PARTNERS                             Claim 001817a, Payment                              7100-000                                  $3,967.52        $4,142,683.64
                                                                          55.88056%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $31,174.62
                                                                             Document          Page 565 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35442     VICTOR DI PUMA                            Claim 001818a, Payment                              7100-000                                  $7,878.59        $4,134,805.05
                                                                          55.88049%
                                24 Bartman Rd
                                East Brunswick, NJ 08816
   08/27/14           35443     ZENAIDA FONTANILLA                        Claim 001819a, Payment                              7100-000                                 $10,019.37        $4,124,785.68
                                                                          55.88048%
                                86-15 Elmhurst Avenue Apt 6-L
                                Elmhurst, NY 11373
   08/27/14           35444     TIMBRE COSTER                             Claim 001824a, Payment                              7100-000                                  $5,138.21        $4,119,647.47
                                                                          55.88048%
                                305 S Blauvelt Ave.
                                Sioux Falls, SD 57103
   08/27/14           35445     ARGO PARTNERS                             Claim 001827Aa, Payment                             7100-000                                  $1,841.26        $4,117,806.21
                                                                          55.88042%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35446     ARGO PARTNERS                             Claim 001829a, Payment                              7100-000                                  $1,628.36        $4,116,177.85
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35447     ARGO PARTNERS                             Claim 001830a, Payment                              7100-000                                     $597.92       $4,115,579.93
                                                                          55.88037%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35448     LYURHAN CHANG                             Claim 001831Aa, Payment                             7100-000                                  $4,417.35         $4,111,162.58
                                                                          55.88046%
                                656 Corwin Avenue
                                Glendale, CA 91206
   08/27/14           35449     MARGARET BUERSKEN                         Claim 001832Aa, Payment                             7100-000                                     $430.84       $4,110,731.74
                                                                          55.88067%
                                801 8th Street N.W. #175
                                LITTLE FALLS, MN 56345-1514
   08/27/14           35450     CARMELO MALDONADO                         Claim 001833a, Payment                              7100-000                                  $3,459.56        $4,107,272.18
                                                                          55.88047%
                                62-42 Woodhaven Blvd Apt. N67
                                Rego Park, NY 11374




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $35,411.46
                                                                             Document          Page 566 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35451     TODD KROUGH                               Claim 001834a, Payment                              7100-000                                  $2,196.66        $4,105,075.52
                                                                          55.88044%
                                64309 Lincoln Hwy
                                Nevada, IA 50201
   08/27/14           35452     ARGO PARTNERS                             Claim 001838a, Payment                              7100-000                                     $883.48       $4,104,192.04
                                                                          55.88109%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35453     GERALD ELLIS                              Claim 001839a, Payment                              7100-000                                  $1,584.21        $4,102,607.83
                                                                          55.88042%
                                104 Knott St
                                Jasper, MO 64755
   08/27/14           35454     ARGO PARTNERS                             Claim 001840a, Payment                              7100-000                                  $9,776.29        $4,092,831.54
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35455     ARGO PARTNERS                             Claim 001841a, Payment                              7100-000                                  $1,500.95        $4,091,330.59
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35456     ARGO PARTNERS                             Claim 001842a, Payment                              7100-000                                  $1,913.91        $4,089,416.68
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35457     ARGO PARTNERS                             Claim 001843a, Payment                              7100-000                                   $3,711.02       $4,085,705.66
                                                                          55.88044%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35458     ARGO PARTNERS                             Claim 001845a, Payment                              7100-000                                      $20.68       $4,085,684.98
                                                                          55.89189%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35459     ARGO PARTNERS                             Claim 001846a, Payment                              7100-000                                  $1,140.52        $4,084,544.46
                                                                          55.88045%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $22,727.72
                                                                             Document          Page 567 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35460     LIQUIDITY SOLUTIONS, INC.                 Claim 001847a, Payment                              7100-000                                     $204.52       $4,084,339.94
                                                                          55.87978%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35461     LUCIA VACCARO                             Claim 001849a, Payment                              7100-000                                  $4,982.31        $4,079,357.63
                                                                          55.88055%
                                3880 Orloff Ave. #6A
                                Bronx, NY 10463
   08/27/14           35462     ALPHONSUS EKPEMOGU                        Claim 001852a, Payment                              7100-000                                  $2,249.19        $4,077,108.44
                                                                          55.88050%
                                19434 Santa Rosa Drive
                                Detroit, MI 48221
   08/27/14           35463     ARGO PARTNERS                             Claim 001856Aa, Payment                             7100-000                                  $3,048.28        $4,074,060.16
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35464     ASSET RECOVERY MANAGEMENT,                Claim 001858a, Payment                              7100-000                                     $461.01       $4,073,599.15
                                LLC                                       55.88000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35465     ARGO PARTNERS                             Claim 001861a, Payment                              7100-000                                      $42.47       $4,073,556.68
                                                                          55.88158%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35466     MARIA SANCHEZ                             Claim 001862a, Payment                              7100-000                                  $2,683.94        $4,070,872.74
                                                                          55.88049%
                                196 Astor St
                                NEWARK, NJ 07114
   08/27/14           35467     VILERIA HERNDON                           Claim 001868a, Payment                              7100-000                                  $1,685.92        $4,069,186.82
                                                                          55.88068%
                                735 Charlotte Pl NW
                                Atlanta, GA 30318
   08/27/14           35468     DANIEL MCAULEY                            Claim 001869a, Payment                              7100-000                                  $1,149.46        $4,068,037.36
                                                                          55.88041%
                                1510 Beaumont Terrace
                                Spring Hill, TN 37174




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                                                                                                                                                     Desc Main         $16,507.10
                                                                             Document          Page 568 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35469     ARGO PARTNERS                             Claim 001871Aa, Payment                             7100-000                                     $436.99       $4,067,600.37
                                                                          55.88107%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35470     FELECIA LLOYD                             Claim 001872a, Payment                              7100-000                                  $1,671.94        $4,065,928.43
                                                                          55.88035%
                                1310 North 6th Street
                                Wilmington, NC 28401
   08/27/14           35471     ARGO PARTNERS                             Claim 001873a, Payment                              7100-000                                   $2,115.64       $4,063,812.79
                                                                          55.88061%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35472     ARGO PARTNERS                             Claim 001876a, Payment                              7100-000                                     $637.60       $4,063,175.19
                                                                          55.88081%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35473     LIQUIDITY SOLUTIONS, INC.                 Claim 001880a, Payment                              7100-000                                  $2,414.60        $4,060,760.59
                                                                          55.88058%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35474     ISIAH JONES                               Claim 001883a, Payment                              7100-000                                  $1,143.87        $4,059,616.72
                                                                          55.88031%
                                4167 Darby Drive
                                Tallahassee, FL 32310
   08/27/14           35475     ZORAIDA CRUZ                              Claim 001886a, Payment                              7100-004                                     $167.64       $4,059,449.08
                                                                          55.88000%
                                85 Mary Avenue
                                Stratford, CT 06614
   08/27/14           35476     ARGO PARTNERS                             Claim 001892a, Payment                              7100-000                                     $443.69       $4,059,005.39
                                                                          55.88035%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35477     LARRY DECHANT                             Claim 001896Aa, Payment                             7100-000                                     $134.67       $4,058,870.72
                                                                          55.87967%
                                1206 Cumberland Avenue
                                Flatwoods, KY 41139




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                                                                                                                                                     Desc Main          $9,166.64
                                                                             Document          Page 569 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35478     ASSET RECOVERY MANAGEMENT,                Claim 001897a, Payment                              7100-000                                     $724.77       $4,058,145.95
                                LLC                                       55.88049%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35479     ARGO PARTNERS                             Claim 001899Aa, Payment                             7100-000                                  $4,830.87        $4,053,315.08
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35480     ARGO PARTNERS                             Claim 001903Aa, Payment                             7100-000                                      $38.00       $4,053,277.08
                                12 West 37th St., 9th Fl.New York, NY     55.88235%
                                10018
   08/27/14           35481     JOANNE SOLEM                              Claim 001904a, Payment                              7100-000                                  $2,007.79        $4,051,269.29
                                                                          55.88060%
                                5770 West 3rd Ave.
                                Lakewood, CO 80226
   08/27/14           35482     GREGORY SCHNACK                           Claim 001907a, Payment                              7100-000                                  $1,216.52        $4,050,052.77
                                                                          55.88057%
                                PO Box 2222
                                Ashburn, VA 20146
   08/27/14           35483     DARLENE VANDERHOEF                        Claim 001908a, Payment                              7100-000                                  $2,263.72        $4,047,789.05
                                                                          55.88052%
                                20098 Hoover Rd
                                Big Rapids, MI 49307
   08/27/14           35484     ASSET RECOVERY MANAGEMENT,                Claim 001911a, Payment                              7100-000                                  $1,357.90        $4,046,431.15
                                LLC                                       55.88066%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35485     TIMOTHY COOPER                            Claim 001912a, Payment                              7100-000                                      $63.70       $4,046,367.45
                                                                          55.87719%
                                3673 Silver Bluff Blvd
                                Orange Park, FL 32065
   08/27/14           35486     JUANITA ALVAREZ                           Claim 001917a, Payment                              7100-000                                   $1,835.11       $4,044,532.34
                                                                          55.88033%
                                PO Box 432733
                                San Isidro, CA 92143




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $14,338.38
                                                                             Document          Page 570 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35487     AYMAN HUSSEIN                             Claim 001918Aa, Payment                             7100-000                                  $3,879.78        $4,040,652.56
                                                                          55.88046%
                                1978 42nd Ave
                                San Francisco, CA 94116
   08/27/14           35488     ARGO PARTNERS                             Claim 001920a, Payment                              7100-000                                     $920.91       $4,039,731.65
                                                                          55.88046%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35489     ARGO PARTNERS                             Claim 001926A, Payment                              7100-000                                     $738.74       $4,038,992.91
                                12 West 37th St., 9th FlNew York, NY      55.88048%
                                10018
   08/27/14           35490     LINDA WINCHESTER                          Claim 001934a, Payment                              7100-000                                     $733.71       $4,038,259.20
                                82 Hickory Woods RoadAylett, VA 23009     55.88043%
   08/27/14           35491     KATHLEEN RICHARDSON                       Claim 001935a, Payment                              7100-000                                      $91.64       $4,038,167.56
                                                                          55.87805%
                                10571 Colorado Blvd, Unit H104
                                THORNTON, CO 80233
   08/27/14           35492     ARGO PARTNERS                             Claim 001936a, Payment                              7100-000                                      $55.88        $4,038,111.68
                                                                          55.88000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35493     ARGO PARTNERS                             Claim 001939a, Payment                              7100-000                                  $1,082.41        $4,037,029.27
                                                                          55.88074%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35494     ARGO PARTNERS                             Claim 001941a, Payment                              7100-000                                  $2,602.35        $4,034,426.92
                                                                          55.88040%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35495     ARGO PARTNERS                             Claim 001947a, Payment                              7100-000                                     $347.58       $4,034,079.34
                                                                          55.88103%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35496     STEVEN TATLOCK                            Claim 001948Aa, Payment                             7100-000                                 $17,517.42        $4,016,561.92
                                409 Red Coat Ct.Waterford, WI 53185       55.88050%




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $27,970.42
                                                                             Document          Page 571 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35497     TERESA WALTER                             Claim 001949a, Payment                              7100-000                                  $1,831.20        $4,014,730.72
                                                                          55.88038%
                                6728 -B Bevington Ridge Road
                                Charlotte, NC 28277
   08/27/14           35498     JUDITH ALANIZ                             Claim 001951a, Payment                              7100-004                                  $1,131.58        $4,013,599.14
                                                                          55.88049%
                                1892 N Madison Avenue
                                Pasadena, CA 91104
   08/27/14           35499     ASSET RECOVERY MANAGEMENT,                Claim 001953Aa, Payment                             7100-000                                     $537.02       $4,013,062.12
                                LLC                                       55.88137%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35500     YU OK                                     Claim 001955a, Payment                              7100-000                                  $5,590.84        $4,007,471.28
                                                                          55.88046%
                                441 Hillcrest Place A
                                Palisades Park, NJ 07650
   08/27/14           35501     ARGO PARTNERS                             Claim 001959a, Payment                              7100-000                                     $568.86       $4,006,902.42
                                                                          55.88016%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35502     FLORENCE WEST                             Claim 001960a, Payment                              7100-000                                  $2,104.46        $4,004,797.96
                                                                          55.88051%
                                600 Flatcreek Rd
                                St Maries, ID 83861
   08/27/14           35503     MARIA DEPINA                              Claim 001961a, Payment                              7100-000                                  $2,180.46        $4,002,617.50
                                                                          55.88057%
                                14757 Laguna Beach Cir.
                                Orlando, FL 32824
   08/27/14           35504     JORGE QUILES                              Claim 001962a, Payment                              7100-000                                  $2,205.60        $4,000,411.90
                                                                          55.88042%
                                235 S. Pacific Coast Hwy. Apt. 1
                                Redondo Beach, CA 90277
   08/27/14           35505     MAZIE MCRAE                               Claim 001964a, Payment                              7100-000                                  $1,544.54        $3,998,867.36
                                                                          55.88061%
                                400 Mars St Apt 22C
                                Petersburg, VA 23803




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,694.56
                                                                             Document          Page 572 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35506     ARGO PARTNERS                             Claim 001965a, Payment                              7100-000                                     $237.49       $3,998,629.87
                                                                          55.88000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35507     LIQUIDITY SOLUTIONS, INC.                 Claim 001966a, Payment                              7100-000                                     $303.99       $3,998,325.88
                                                                          55.88051%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35508     CORALIE BAUSCHER                          Claim 001969a, Payment                              7100-000                                     $615.25       $3,997,710.63
                                                                          55.88102%
                                310 Sage Road
                                Burbank, WA 99323
   08/27/14           35509     ARGO PARTNERS                             Claim 001973a, Payment                              7100-000                                  $2,251.98        $3,995,458.65
                                                                          55.88040%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35510     MERLENE MAY                               Claim 001974a, Payment                              7100-000                                  $2,915.29        $3,992,543.36
                                                                          55.88058%
                                1206 Wilderness Dr
                                Spring Lake, NC 28390
   08/27/14           35511     ANDRE D ROBINSON                          Claim 001975a, Payment                              7100-000                                     $184.41       $3,992,358.95
                                                                          55.88182%
                                12759 Westwood Lakes Blvd
                                Tampa, FL 33626
   08/27/14           35512     CARMEN PUGLISI JR                         Claim 001979a, Payment                              7100-000                                  $1,228.25        $3,991,130.70
                                                                          55.88035%
                                293 Maple Avenue
                                Smithtown, NY 11787
   08/27/14           35513     JILL WELMER                               Claim 001980a, Payment                              7100-000                                  $1,014.23        $3,990,116.47
                                                                          55.88044%
                                9215 Newburgh Drive
                                Houston, TX 77095
   08/27/14           35514     LORI ZACK                                 Claim 001984Aa, Payment                             7100-000                                  $1,631.15        $3,988,485.32
                                                                          55.88044%
                                35858 Jolaine Court
                                Richmond, MI 48062




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $10,382.04
                                                                             Document          Page 573 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35515     ARGO PARTNERS                             Claim 001986a, Payment                              7100-000                                  $1,172.93        $3,987,312.39
                                                                          55.88042%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35516     ARGO PARTNERS                             Claim 001987a, Payment                              7100-000                                  $1,464.63        $3,985,847.76
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35517     MARCIA BADLEY                             Claim 001988a, Payment                              7100-000                                  $1,281.90        $3,984,565.86
                                                                          55.88056%
                                7386 202nd Road
                                Winfield, KS 67156
   08/27/14           35518     BRIAN CLARK                               Claim 001989a, Payment                              7100-000                                  $4,747.05        $3,979,818.81
                                                                          55.88052%
                                2230 N 61st Terrace
                                Hollywood, FL 33024
   08/27/14           35519     LIQUIDITY SOLUTIONS, INC.                 Claim 001992a, Payment                              7100-000                                  $1,029.88        $3,978,788.93
                                                                          55.88063%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35520     ARGO PARTNERS                             Claim 001993a, Payment                              7100-000                                     $170.44       $3,978,618.49
                                                                          55.88197%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35521     ARGO PARTNERS                             Claim 001995a, Payment                              7100-000                                  $1,688.15        $3,976,930.34
                                                                          55.88050%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35522     ARGO PARTNERS                             Claim 001996a, Payment                              7100-000                                     $368.81       $3,976,561.53
                                                                          55.88030%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35523     ARGO PARTNERS                             Claim 001997a, Payment                              7100-000                                  $1,478.60        $3,975,082.93
                                                                          55.88057%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $13,402.39
                                                                             Document          Page 574 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35524     ASSET RECOVERY MANAGEMENT,                Claim 001998a, Payment                              7100-000                                      $27.94       $3,975,054.99
                                LLC                                       55.88000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35525     DAISY FLORES                              Claim 002001a, Payment                              7100-000                                  $1,480.83        $3,973,574.16
                                                                          55.88038%
                                2920 Rollingwood Drive
                                San Pablo, CA 94806
   08/27/14           35526     MARTIN GLICKMAN                           Claim 002002a, Payment                              7100-000                                  $7,231.50        $3,966,342.66
                                                                          55.88053%
                                PO Box 6457
                                Silver Spring, MD 20916-6457
   08/27/14           35527     WILLIAM SINGLETERRY                       Claim 002004a, Payment                              7100-000                                  $5,189.06        $3,961,153.60
                                                                          55.88047%
                                319 South Pettit Ave
                                Hominy, OK 74035
   08/27/14           35528     MICHELLE MERRELL                          Claim 002005a, Payment                              7100-000                                  $1,139.96        $3,960,013.64
                                                                          55.88039%
                                106 Tree Frog Lane
                                Santa Cruz, CA 95060
   08/27/14           35529     ASSET RECOVERY MANAGEMENT,                Claim 002006a, Payment                              7100-000                                     $237.49       $3,959,776.15
                                LLC                                       55.88000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35530     PAUL RILEY                                Claim 002007a, Payment                              7100-000                                  $4,861.04        $3,954,915.11
                                                                          55.88045%
                                163 Walker Road
                                Conway, AR 72032
   08/27/14           35531     ADELE YOUNG                               Claim 002009Aa, Payment                             7100-000                                     $264.32       $3,954,650.79
                                                                          55.88161%
                                1662 Baysden Court
                                Fayetteville, NC 28303
   08/27/14           35532     ARGO PARTNERS                             Claim 002012Aa, Payment                             7100-000                                     $400.10       $3,954,250.69
                                                                          55.87989%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $20,832.24
                                                                             Document          Page 575 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35533     JIM KORDZIKOWSKI                          Claim 002013a, Payment                              7100-000                                 $16,319.90        $3,937,930.79
                                                                          55.88050%
                                47 Mott Road
                                Blairstown, NJ 07825
   08/27/14           35534     ALEX STAS                                 Claim 002017a, Payment                              7100-000                                  $1,000.82        $3,936,929.97
                                                                          55.88051%
                                910 Speake Road NW
                                Huntsville, AL 35816-3532
   08/27/14           35535     DEBBIE WILCOX                             Claim 002018a, Payment                              7100-000                                  $3,979.25        $3,932,950.72
                                                                          55.88049%
                                108 Tarlton Court
                                Cherry Hll, NJ 08034
   08/27/14           35536     ARGO PARTNERS                             Claim 002019a, Payment                              7100-000                                     $509.07       $3,932,441.65
                                                                          55.88035%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35537     ANGELA SCHMIDT                            Claim 002021a, Payment                              7100-000                                  $3,036.55        $3,929,405.10
                                                                          55.88057%
                                2130 Glenlock Drive
                                Deltona, FL 32725
   08/27/14           35538     ARGO PARTNERS                             Claim 002022a, Payment                              7100-000                                     $450.96       $3,928,954.14
                                                                          55.88104%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35539     DEANNA DOHERTY                            Claim 002023a, Payment                              7100-000                                     $125.73       $3,928,828.41
                                                                          55.88000%
                                20445 Holyoake Ave
                                Lalkeville, MN 55044
   08/27/14           35540     BONITA FOUST                              Claim 002029a, Payment                              7100-000                                  $3,892.08        $3,924,936.33
                                4326 West Old Stone RoadPeru, IN          55.88055%
                                46970
   08/27/14           35541     JOHN EKIERT                               Claim 002030a, Payment                              7100-000                                  $1,579.74        $3,923,356.59
                                                                          55.88044%
                                6136 Southern Hills Ct
                                Canfield, OH 44406
   08/27/14           35542     JUAN RODRIGUEZ                            Claim 002032a, Payment                              7100-000                                  $6,198.82        $3,917,157.77
                                                                          55.88047%
                                1336 W Angelina St Apt 326
                                Los Angeles, CA 90026


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $37,092.92
                                                                             Document          Page 576 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35543     ASSET RECOVERY MANAGEMENT,                Claim 002034a, Payment                              7100-000                                     $550.98       $3,916,606.79
                                LLC                                       55.88032%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35544     ASSET RECOVERY MANAGEMENT,                Claim 002036a, Payment                              7100-000                                  $1,904.97        $3,914,701.82
                                LLC                                       55.88061%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35545     MARIE GOMES                               Claim 002039a, Payment                              7100-000                                  $2,678.35        $3,912,023.47
                                                                          55.88045%
                                100 Water Street Apt19
                                Stoughton, MA 02072
   08/27/14           35546     RICHARD ROY                               Claim 002040a, Payment                              7100-000                                  $8,583.24        $3,903,440.23
                                                                          55.88047%
                                3 EAGLE CT
                                HOWELL, NJ 07731-2000
   08/27/14           35547     KWASI TWUM                                Claim 002041a, Payment                              7100-000                                  $2,831.47        $3,900,608.76
                                                                          55.88060%
                                1664 North Vine APTG02
                                Chicago, IL 60614
   08/27/14           35548     ARGO PARTNERS                             Claim 002043a, Payment                              7100-000                                      $76.00       $3,900,532.76
                                                                          55.88235%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35549     MICHAEL LUNA                              Claim 002045a, Payment                              7100-000                                  $1,105.32        $3,899,427.44
                                                                          55.88069%
                                1037 W. Santee Hwy
                                Charlotte, MI 48813
   08/27/14           35550     SUSAN SPEARS                              Claim 002046a, Payment                              7100-000                                  $8,222.82        $3,891,204.62
                                2181 Valleywood DriveSan Bruno, CA        55.88053%
                                94066
   08/27/14           35551     ARGO PARTNERS                             Claim 002047a, Payment                              7100-000                                      $94.44       $3,891,110.18
                                                                          55.88166%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 577 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35552     JESSIE SMITH                              Claim 002048a, Payment                              7100-004                                  $2,440.86        $3,888,669.32
                                                                          55.88049%
                                47E River Band
                                Broxton, GA 31519
   08/27/14           35553     ARGO PARTNERS                             Claim 002051a, Payment                              7100-000                                     $107.84       $3,888,561.48
                                                                          55.87565%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35554     JOSEPH PAUL                               Claim 002053a, Payment                              7100-000                                     $388.93       $3,888,172.55
                                                                          55.88075%
                                1406 Kirkland Rd
                                Old Town, ME 04468
   08/27/14           35555     CATHY SECOR                               Claim 002056a, Payment                              7100-000                                     $583.95       $3,887,588.60
                                                                          55.88038%
                                6419 45th Street North
                                Saint Paul, MN 55128
   08/27/14           35556     ASSET RECOVERY MANAGEMENT,                Claim 002057a, Payment                              7100-000                                     $222.96       $3,887,365.64
                                LLC                                       55.87970%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35557     ARGO PARTNERS                             Claim 002058Aa, Payment                             7100-000                                  $2,629.18        $3,884,736.46
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35558     ARGO PARTNERS                             Claim 002059a, Payment                              7100-000                                     $289.46       $3,884,447.00
                                                                          55.88031%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35559     ARGO PARTNERS                             Claim 002060a, Payment                              7100-000                                     $547.07       $3,883,899.93
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35560     ASSET RECOVERY MANAGEMENT,                Claim 002062a, Payment                              7100-000                                     $572.78       $3,883,327.15
                                LLC                                       55.88098%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064



                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 578 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35561     JUNAID ASRAR                              Claim 002067a, Payment                              7100-000                                     $743.21       $3,882,583.94
                                                                          55.88045%
                                PO Box 118
                                Florida, NY 10921
   08/27/14           35562     LIQUIDITY SOLUTIONS, INC.                 Claim 002072a, Payment                              7100-000                                  $1,478.04        $3,881,105.90
                                                                          55.88053%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35563     ASSET RECOVERY MANAGEMENT,                Claim 002073a, Payment                              7100-000                                     $728.68       $3,880,377.22
                                LLC                                       55.88037%

                                29 S. Onyx Ct.
                                Pike, Road, AL 36064
   08/27/14           35564     DOROTHY JOHNSON                           Claim 002075a, Payment                              7100-000                                     $629.77       $3,879,747.45
                                                                          55.88021%
                                700 Bruce Lane Unit 616
                                Glenwood, IL 60425
   08/27/14           35565     ESLEIDEN CONFEITEIRO                      Claim 002076a, Payment                              7100-000                                  $2,746.53        $3,877,000.92
                                                                          55.88057%
                                71 Tavern Rock Rd
                                Stratford, CT 06614
   08/27/14           35566     ARGO PARTNERS                             Claim 002077a, Payment                              7100-000                                  $1,530.57        $3,875,470.35
                                                                          55.88061%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35567     MICHAEL MILLER                            Claim 002078a, Payment                              7100-000                                  $5,061.66        $3,870,408.69
                                                                          55.88055%
                                2223 Four Seasons Trail
                                Miamisburg, OH 45342
   08/27/14           35568     JAMES SANFORD                             Claim 002079a, Payment                              7100-000                                  $5,177.88        $3,865,230.81
                                                                          55.88042%
                                311 Alexander Rd
                                Mount Pleasant, TX 75455
   08/27/14           35569     ARGO PARTNERS                             Claim 002080a, Payment                              7100-000                                     $767.24       $3,864,463.57
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35570     MARTINA HOEY                              Claim 002084a, Payment                              7100-000                                     $772.83       $3,863,690.74
                                                                          55.88069%
                                PO Box 68
                                Pinehurst, MA 01866
   08/27/14           35571     RICHARD GUYER                             Claim 002088a, Payment                              7100-004                                  $3,874.19        $3,859,816.55
                                                                          55.88043%
                                PO Box 55
                                West Lynn, MA 01905
   08/27/14           35572     ARGO PARTNERS                             Claim 002090a, Payment                              7100-000                                  $1,321.57        $3,858,494.98
                                                                          55.88034%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35573     ASSET RECOVERY MANAGEMENT,                Claim 002091a, Payment                              7100-000                                     $796.30       $3,857,698.68
                                LLC                                       55.88070%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35574     ARGO PARTNERS                             Claim 002092a, Payment                              7100-000                                     $378.31       $3,857,320.37
                                                                          55.88035%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35575     CHERYL GILBERT                            Claim 002093a, Payment                              7100-000                                     $620.27       $3,856,700.10
                                                                          55.88018%
                                PO Box 606
                                Onalaska, WA 98570
   08/27/14           35576     LIQUIDITY SOLUTIONS, INC.                 Claim 002098a, Payment                              7100-000                                     $168.76       $3,856,531.34
                                                                          55.88079%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35577     ARGO PARTNERS                             Claim 002102a, Payment                              7100-000                                  $1,091.90        $3,855,439.44
                                                                          55.88025%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35578     ARGO PARTNERS                             Claim 002110a, Payment                              7100-000                                  $1,394.22        $3,854,045.22
                                                                          55.88056%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $10,418.35
                                                                             Document          Page 580 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35579     ARGO PARTNERS                             Claim 002111a, Payment                              7100-000                                  $1,802.71        $3,852,242.51
                                                                          55.88066%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35580     CHARISSA KUCERA                           Claim 002114a, Payment                              7100-004                                     $877.32       $3,851,365.19
                                                                          55.88025%
                                12528 35TH AVE NE APT C305
                                Seattle, WA 98125
   08/27/14           35581     CARRIE GARVIN                             Claim 002116a, Payment                              7100-000                                  $1,598.74        $3,849,766.45
                                                                          55.88046%
                                38 Colleen Street
                                Newark, NJ 07106
   08/27/14           35582     ALBERTA GRAHAM                            Claim 002117a, Payment                              7100-000                                  $1,804.38        $3,847,962.07
                                                                          55.88046%
                                1538 Picquet Ave
                                Augusta, GA 30901
   08/27/14           35583     CHARLES RINK                              Claim 002118a, Payment                              7100-000                                  $1,831.21        $3,846,130.86
                                                                          55.88068%
                                11983 First Avenue
                                Cincinnati, OH 45249
   08/27/14           35584     ARGO PARTNERS                             Claim 002119Aa, Payment                             7100-000                                  $5,904.33        $3,840,226.53
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35585     ARGO PARTNERS                             Claim 002120a, Payment                              7100-000                                  $1,749.62        $3,838,476.91
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35586     NOHORA MENAY                              Claim 002121a, Payment                              7100-000                                  $1,367.66        $3,837,109.25
                                                                          55.88056%
                                49 Valerie Drive FL 2
                                Yonkers, NY 10703
   08/27/14           35587     KEN SHUMAKE                               Claim 002122a, Payment                              7100-000                                  $3,400.33        $3,833,708.92
                                                                          55.88053%
                                4003 Seibert Avenue
                                Saint Louis, MO 63123




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 581 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35588     ARGO PARTNERS                             Claim 002123a, Payment                              7100-000                                  $1,385.84        $3,832,323.08
                                                                          55.88065%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35589     ARGO PARTNERS                             Claim 002124a, Payment                              7100-000                                     $606.30       $3,831,716.78
                                                                          55.88018%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35590     ARGO PARTNERS                             Claim 002125a, Payment                              7100-000                                  $5,462.32        $3,826,254.46
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35591     UMILTA SMITH                              Claim 002130a, Payment                              7100-000                                  $1,047.20        $3,825,207.26
                                                                          55.88047%
                                2270 Ashton Dr
                                Roswell, GA 30076-4231
   08/27/14           35592     ROBERT HEBERT                             Claim 002131a, Payment                              7100-000                                     $190.55       $3,825,016.71
                                                                          55.87977%
                                6101 N Bolton Lot 59
                                Alexandria, LA 71303
   08/27/14           35593     ARGO PARTNERS                             Claim 002133a, Payment                              7100-000                                 $14,813.92        $3,810,202.79
                                                                          55.88050%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35594     ARGO PARTNERS                             Claim 002136a, Payment                              7100-000                                  $2,959.99        $3,807,242.80
                                                                          55.88050%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35595     GASTON LAFORTUNE                          Claim 002138a, Payment                              7100-000                                  $1,227.69        $3,806,015.11
                                                                          55.88029%
                                2 Lamoille Avenue
                                Bradford, MA 01835
   08/27/14           35596     ASMA AHMED                                Claim 002142a, Payment                              7100-000                                  $3,795.41        $3,802,219.70
                                                                          55.88059%
                                4112 Crawford Court
                                Bridgewater, NJ 08807




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35597     LAURA CRIM                                Claim 002144a, Payment                              7100-000                                     $798.53       $3,801,421.17
                                                                          55.88034%
                                PO Box 580
                                Mont Alto, PA 17237
   08/27/14           35598     ARGO PARTNERS                             Claim 002145a, Payment                              7100-000                                     $723.09       $3,800,698.08
                                                                          55.88022%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35599     ARGO PARTNERS                             Claim 002148a, Payment                              7100-000                                  $2,402.87        $3,798,295.21
                                                                          55.88070%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35600     LIQUIDITY SOLUTIONS, INC.                 Claim 002150a, Payment                              7100-000                                     $396.75       $3,797,898.46
                                                                          55.88028%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35601     BRUNO DISANTE                             Claim 002156a, Payment                              7100-000                                     $613.01       $3,797,285.45
                                1540 Westwood AvenueColumbus, OH          55.88058%
                                43212
   08/27/14           35602     ARGO PARTNERS                             Claim 002161Aa, Payment                             7100-000                                      $62.59       $3,797,222.86
                                                                          55.88393%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35603     ARGO PARTNERS                             Claim 002163Aa, Payment                             7100-000                                  $2,416.83        $3,794,806.03
                                                                          55.88046%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35604     ARGO PARTNERS                             Claim 002166a, Payment                              7100-000                                  $3,623.85        $3,791,182.18
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35605     RAFAEL MONTOYA                            Claim 002167a, Payment                              7100-000                                  $1,450.10        $3,789,732.08
                                                                          55.88054%
                                1609 HARGROVE ST
                                ANTIOCH, CA 94509
   08/27/14           35606     ARGO PARTNERS                             Claim 002171a, Payment                              7100-000                                  $1,272.96        $3,788,459.12
                                                                          55.88060%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                           Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                         Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX3661
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX7646                                                                            Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                           Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                        ($)
   08/27/14           35607     RICHARD WILLIAMS                            Claim 002172a, Payment                              7100-000                                  $2,327.42        $3,786,131.70
                                                                            55.88043%
                                PO Box 547
                                Ruleville, MS 38771
   08/27/14           35608     ARGO PARTNERS                               Claim 002173a, Payment                              7100-000                                  $2,584.47        $3,783,547.23
                                                                            55.88043%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35609     SARAH CLARK                                 Claim 002174a, Payment                              7100-000                                     $998.03       $3,782,549.20
                                1140 Birch Hill Dr.Kernersville, NC 27284   55.88074%
   08/27/14           35610     JULI R PIPPERT                              Claim 002175a, Payment                              7100-000                                  $1,131.58        $3,781,417.62
                                                                            55.88049%
                                1401 CLARK ST
                                DYSART, IA 52224
   08/27/14           35611     LISA ZERRENNER                              Claim 002176Aa, Payment                             7100-000                                  $5,157.77        $3,776,259.85
                                                                            55.88050%
                                90 Palmetto Dr
                                Shirley, NY 11967
   08/27/14           35612     ARGO PARTNERS                               Claim 002180a, Payment                              7100-000                                  $1,578.62        $3,774,681.23
                                12 West 37th St., 9th Fl.New York, NY       55.88035%
                                10018
   08/27/14           35613     RONALD PORTZER                              Claim 002181a, Payment                              7100-000                                  $6,724.10        $3,767,957.13
                                                                            55.88050%
                                900 Highway 78 East Suite 101
                                Jasper, AL 35501
   08/27/14           35614     ARGO PARTNERS                               Claim 002183a, Payment                              7100-000                                  $3,053.87        $3,764,903.26
                                                                            55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35615     ARGO PARTNERS                               Claim 002184, Payment                               7100-000                                  $1,452.89        $3,763,450.37
                                                                            55.88038%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35616     ARGO PARTNERS                               Claim 002184a, Payment                              7100-000                                  $1,144.43        $3,762,305.94
                                                                            55.88037%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35617     SANDY DELGADO                             Claim 002185a, Payment                              7100-000                                  $1,225.46        $3,761,080.48
                                                                          55.88053%
                                1261 Mariposa Dr
                                Denver, CO 80221
   08/27/14           35618     MARISA PINTO                              Claim 002187a, Payment                              7100-000                                  $2,848.79        $3,758,231.69
                                                                          55.88054%
                                2070 Swan Drive
                                Costa Mesa, CA 92626
   08/27/14           35619     ARGO PARTNERS                             Claim 002189a, Payment                              7100-000                                     $563.84       $3,757,667.85
                                                                          55.88107%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35620     ARGO PARTNERS                             Claim 002190a, Payment                              7100-000                                      $73.20       $3,757,594.65
                                                                          55.87786%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35621     MILA VITAN                                Claim 002192a, Payment                              7100-000                                  $5,200.80        $3,752,393.85
                                                                          55.88052%
                                15 Aspen CT
                                Monmouth Jct, NJ 08852
   08/27/14           35622     ASSET RECOVERY MANAGEMENT,                Claim 002193a, Payment                              7100-000                                  $3,198.04        $3,749,195.81
                                LLC                                       55.88048%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35623     ARGO PARTNERS                             Claim 002194a, Payment                              7100-000                                     $607.98       $3,748,587.83
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35624     LIQUIDITY SOLUTIONS, INC.                 Claim 002195a, Payment                              7100-000                                  $1,883.17        $3,746,704.66
                                                                          55.88042%
                                One University Plaza
                                Suite 312
                                Hackensack, NJ 07601
   08/27/14           35625     ORGILIA THIEBAUD                          Claim 002198a, Payment                              7100-000                                  $1,019.82        $3,745,684.84
                                                                          55.88055%
                                3800 South Ocean Drive Apt 724
                                Hollywood, FL 33019



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35626     LORRAINE FERRARA                          Claim 002199a, Payment                              7100-000                                  $3,712.70        $3,741,972.14
                                                                          55.88049%
                                5 Pattie Lane
                                Oak Ridge, NJ 07438
   08/27/14           35627     ASSET RECOVERY MANAGEMENT,                Claim 002200Aa, Payment                             7100-000                                  $1,366.28        $3,740,605.86
                                LLC                                       55.88057%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35628     LIQUIDITY SOLUTIONS, INC.                 Claim 002202a, Payment                              7100-000                                  $1,291.40        $3,739,314.46
                                                                          55.88057%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35629     ESTELLA SANCHEZ                           Claim 002203a, Payment                              7100-000                                  $1,427.75        $3,737,886.71
                                                                          55.88063%
                                1360 South Montebello Blvd
                                Montebello, CA 90640
   08/27/14           35630     ASSET RECOVERY MANAGEMENT,                Claim 002206a, Payment                              7100-000                                     $225.20       $3,737,661.51
                                LLC                                       55.88089%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35631     MANUEL JESUS                              Claim 002207a, Payment                              7100-000                                  $1,352.87        $3,736,308.64
                                                                          55.88063%
                                59 Washington Street
                                PMB #156
                                Santa Clara, CA 95050
   08/27/14           35632     JAMES MCKINNEY                            Claim 002209a, Payment                              7100-000                                  $2,263.16        $3,734,045.48
                                                                          55.88049%
                                765 Shorter Terrace NW
                                Atlanta, GA 30318
   08/27/14           35633     JAMES SECOR                               Claim 002210a, Payment                              7100-000                                  $6,208.32        $3,727,837.16
                                                                          55.88047%
                                6130 Monterey Highway, SPC 79
                                San Jose, CA 95138




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 586 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35634     ASSET RECOVERY MANAGEMENT,                Claim 002211a, Payment                              7100-000                                     $658.27       $3,727,178.89
                                LLC                                       55.88031%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35635     JUNE WITTY                                Claim 002212a, Payment                              7100-000                                  $7,480.16        $3,719,698.73
                                                                          55.88047%
                                11 Longview Dr
                                Towaco, NJ 07082
   08/27/14           35636     ARGO PARTNERS                             Claim 002215a, Payment                              7100-000                                  $1,593.71        $3,718,105.02
                                                                          55.88043%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35637     BRADLEY ARANT BOULT CUMMINGS              Claim 002216, Payment                               7100-000                                 $62,320.13        $3,655,784.89
                                LLP                                       55.88050%

                                ONE FEDERAL PL
                                1819 FIFTH AVE N
                                BIRMINGHAM, AL 35203-2119
   08/27/14           35638     JESSIE SIMON                              Claim 002217Aa, Payment                             7100-000                                  $3,833.40        $3,651,951.49
                                                                          55.88047%
                                27064 Howard Street
                                Sun City, CA 92586
   08/27/14           35639     ARGO PARTNERS                             Claim 002219a, Payment                              7100-000                                  $2,517.42        $3,649,434.07
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35640     STEPHANIE DRIGGERS                        Claim 002221a, Payment                              7100-000                                     $738.18       $3,648,695.89
                                6440 Villa DriveSacramento, CA 95842      55.88039%
   08/27/14           35641     ASSET RECOVERY MANAGEMENT,                Claim 002222a, Payment                              7100-000                                     $394.52       $3,648,301.37
                                LLC                                       55.88102%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35642     ARGO PARTNERS                             Claim 002224Aa, Payment                             7100-000                                  $2,815.96        $3,645,485.41
                                                                          55.88043%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



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                                                                                                                                                     Desc Main         $82,351.75
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35643     CAROLE SCHOENMAKER                        Claim 002231, Payment                               7100-004                                     $192.23       $3,645,293.18
                                                                          55.88081%
                                7630 Shannon Faye Lane
                                Grant, MI 49327
   08/27/14           35644     EDITH ASIEDU                              Claim 002236a, Payment                              7100-000                                     $111.76       $3,645,181.42
                                                                          55.88000%
                                9206 5th Street
                                Lanham Seabrook, MD 20706
   08/27/14           35645     ARGO PARTNERS                             Claim 002237Aa, Payment                             7100-000                                     $483.37       $3,644,698.05
                                                                          55.88092%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35646     ROBERT HOWELL                             Claim 002240a, Payment                              7100-000                                  $5,189.06        $3,639,508.99
                                                                          55.88047%
                                7455 S Clarkson Cir.
                                Centennial, CO 80122
   08/27/14           35647     ARGO PARTNERS                             Claim 002243a, Payment                              7100-000                                     $360.43       $3,639,148.56
                                                                          55.88062%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35648     PHYLLIS GIFFORD                           Claim 002247a, Payment                              7100-000                                     $607.42       $3,638,541.14
                                                                          55.88040%
                                1801 Mission Ridge Road
                                Rossville, GA 30741
   08/27/14           35649     ARGO PARTNERS                             Claim 002251a, Payment                              7100-000                                     $323.55       $3,638,217.59
                                                                          55.88083%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35650     MARAT GEYFEN                              Claim 002253Aa, Payment                             7100-000                                  $6,985.06        $3,631,232.53
                                                                          55.88048%
                                469 30th Avenue
                                San Francisco, CA 94121
   08/27/14           35651     ARGO PARTNERS                             Claim 002254a, Payment                              7100-000                                  $1,791.53        $3,629,441.00
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                             Document          Page 588 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           35652     KERRI MATZ                               Claim 002257a, Payment                              7100-000                                  $1,906.09        $3,627,534.91
                                                                         55.88068%
                                PO Box 75
                                Mattoon, WI 54450
   08/27/14           35653     EDWARD PENATE                            Claim 002259a, Payment                              7100-000                                  $1,735.65        $3,625,799.26
                                                                         55.88055%
                                4041 N Leclaire Avenue
                                Chicago, IL 60641
   08/27/14           35654     JENIFER REINHARDT                        Claim 002260a, Payment                              7100-000                                  $2,200.02        $3,623,599.24
                                                                         55.88062%
                                2571 HARRISON AVE
                                ROCHESTER HILLS, MI 48307
   08/27/14           35655     ASSET RECOVERY MANAGEMENT,               Claim 002263a, Payment                              7100-000                                     $964.50       $3,622,634.74
                                LLC                                      55.88065%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35656     JEFFREY ASHWORTH                         Claim 002264a, Payment                              7100-000                                  $2,630.29        $3,620,004.45
                                                                         55.88039%
                                505 N. Summit St.
                                Girard, KS 66743
   08/27/14           35657     LIDYA ARAUZ                              Claim 002265a, Payment                              7100-000                                  $9,576.24        $3,610,428.21
                                                                         55.88049%
                                2335 Rollingwood Drive
                                San Bruno, CA 94066
   08/27/14           35658     JACOB CLARK                              Claim 002268a, Payment                              7100-000                                     $684.54       $3,609,743.67
                                                                         55.88082%
                                10950 W UNION HILLS DR 1007
                                SUN CITY, AZ 85373
   08/27/14           35659     KARINE MINASYAN                          Claim 002269Aa, Payment                             7100-004                                  $1,981.52        $3,607,762.15
                                                                         55.88043%
                                1250 South Orange St.
                                Glendale, CA 91204
   08/27/14           35660     MYRA RUSH                                Claim 002270a, Payment                              7100-000                                  $2,086.02        $3,605,676.13
                                                                         55.88053%
                                12995 SR 7 N
                                Dover, AR 72837




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                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35661     ARGO PARTNERS                             Claim 002271a, Payment                              7100-000                                  $3,065.05        $3,602,611.08
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35662     SANDRA WILKINS                            Claim 002277a, Payment                              7100-000                                     $863.35       $3,601,747.73
                                                                          55.88026%
                                22250 Parnell Place NW
                                Poulsbo, WA 98370
   08/27/14           35663     TIFFANY LASKOWSKI                         Claim 002278a, Payment                              7100-000                                      $58.12       $3,601,689.61
                                                                          55.88462%
                                12457 W Heam Road
                                El Mirage, AZ 85335
   08/27/14           35664     DONALD MOORE                              Claim 002279a, Payment                              7100-000                                  $4,887.86        $3,596,801.75
                                                                          55.88042%
                                1050 Rancho Road
                                Duarte, CA 91010
   08/27/14           35665     JOHNNY DANIEL                             Claim 002284a, Payment                              7100-000                                  $4,068.10        $3,592,733.65
                                                                          55.88049%
                                PO BOX 841
                                Wedowee, AL 36278
   08/27/14           35666     RICHARD REDMON                            Claim 002287a, Payment                              7100-004                                  $2,081.55        $3,590,652.10
                                PO BOX 208Washington, CA 95986            55.88054%
   08/27/14           35667     CLARISSA YATES                            Claim 002289a, Payment                              7100-000                                  $3,090.75        $3,587,561.35
                                                                          55.88049%
                                4606 Alleghany Dr
                                Salem, VA 24153
   08/27/14           35668     ALEXIS RAHIER                             Claim 002293Aa, Payment                             7100-000                                  $3,461.24        $3,584,100.11
                                                                          55.88053%
                                404 South Greene Street
                                Rock Rapids, IA 51246
   08/27/14           35669     JAMES MITCHELL                            Claim 002296a, Payment                              7100-000                                     $329.69       $3,583,770.42
                                                                          55.87966%
                                5623 Barrett road
                                Farmville, NC 27828
   08/27/14           35670     HENRY BLASE                               Claim 002297a, Payment                              7100-000                                  $1,770.29        $3,582,000.13
                                                                          55.88037%
                                415 N 5th Street 4
                                San Jose, CA 95112



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $23,676.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35671     ADRIANA BARRETO                           Claim 002300a, Payment                              7100-000                                  $2,325.19        $3,579,674.94
                                                                          55.88056%
                                22 Palisade Ave
                                Trumbull, CT 06611
   08/27/14           35672     ERIC MCKAY                                Claim 002301a, Payment                              7100-000                                  $2,279.92        $3,577,395.02
                                29 Lancaster Pl.Hempstead, NY 11550       55.88039%
   08/27/14           35673     LARRY CARSWELL                            Claim 002302a, Payment                              7100-000                                     $485.60       $3,576,909.42
                                                                          55.88032%
                                PO Box 52224
                                Shreveport, LA 71135
   08/27/14           35674     ROBERT TIGNER                             Claim 002307a, Payment                              7100-000                                  $3,445.04        $3,573,464.38
                                                                          55.88062%
                                211 Ocean Blvd. East
                                Greeneville, TN 37745
   08/27/14           35675     LINDA FOWLER                              Claim 002312A, Payment                              7100-004                                     $347.02       $3,573,117.36
                                174 West 110 St.Miami, FL 33168           55.88084%
   08/27/14           35676     ARGO PARTNERS                             Claim 002313Aa, Payment                             7100-000                                     $115.67       $3,573,001.69
                                                                          55.87923%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35677     QIRONG MAI                                Claim 002315a, Payment                              7100-004                                     $485.60       $3,572,516.09
                                                                          55.88032%
                                972 66th Street
                                Brooklyn, NY 11219
   08/27/14           35678     ARGO PARTNERS                             Claim 002316a, Payment                              7100-000                                  $2,571.06        $3,569,945.03
                                                                          55.88046%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35679     CLAYBORN ARNETT                           Claim 002318a, Payment                              7100-000                                  $4,149.13        $3,565,795.90
                                                                          55.88054%
                                1848 Freeman Street
                                Toledo, OH 43606
   08/27/14           35680     BERTHA ANGELI                             Claim 002323a, Payment                              7100-000                                  $3,009.16        $3,562,786.74
                                                                          55.88041%
                                915 East 41st Place
                                Los Angeles, CA 90011




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 591 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35681     ARGO PARTNERS                             Claim 002326a, Payment                              7100-000                                      $96.68       $3,562,690.06
                                                                          55.88439%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35682     DIANA CRAWFORD                            Claim 002334a, Payment                              7100-000                                     $919.79       $3,561,770.27
                                                                          55.88032%
                                1 Coon Club Road
                                Rock Cave, WI 26234
   08/27/14           35683     STEVEN HOLMES                             Claim 002336a, Payment                              7100-000                                  $1,631.71        $3,560,138.56
                                                                          55.88048%
                                9530 Many Mile Mews
                                Columbia, MD 21046
   08/27/14           35684     ASSET RECOVERY MANAGEMENT,                Claim 002338a, Payment                              7100-000                                     $908.06       $3,559,230.50
                                LLC                                       55.88062%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35685     ASSET RECOVERY MANAGEMENT,                Claim 002340a, Payment                              7100-000                                  $1,018.14        $3,558,212.36
                                LLC                                       55.88035%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35686     NUNO RODRIGUES                            Claim 002344a, Payment                              7100-000                                  $2,204.49        $3,556,007.87
                                                                          55.88061%
                                196 TOLLERTON AVE
                                SAINT JOHNS, FL 32259
   08/27/14           35687     DANIEL RIVERA                             Claim 002346a, Payment                              7100-000                                  $5,224.83        $3,550,783.04
                                                                          55.88053%
                                98 West 52nd Street Apt. 2
                                Bayonne, NJ 07002
   08/27/14           35688     ASSET RECOVERY MANAGEMENT,                Claim 002347a, Payment                              7100-000                                     $349.25       $3,550,433.79
                                LLC                                       55.88000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35689     ARGO PARTNERS                             Claim 002348a, Payment                              7100-000                                  $2,999.67        $3,547,434.12
                                                                          55.88059%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35690     ARGO PARTNERS                             Claim 002353a, Payment                              7100-000                                     $395.63       $3,547,038.49
                                                                          55.87994%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35691     ARGO PARTNERS                             Claim 002358a, Payment                              7100-000                                     $853.85       $3,546,184.64
                                                                          55.88024%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35692     MELINDA LONG                              Claim 002359a, Payment                              7100-000                                     $770.59       $3,545,414.05
                                                                          55.88035%
                                1813 Peak Rd
                                Pomaria, SC 29126
   08/27/14           35693     ASSET RECOVERY MANAGEMENT,                Claim 002360a, Payment                              7100-000                                  $1,370.75        $3,544,043.30
                                LLC                                       55.88055%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35694     ARGO PARTNERS                             Claim 002362a, Payment                              7100-000                                  $3,651.23        $3,540,392.07
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35695     RENEE PAGE                                Claim 002363a, Payment                              7100-000                                  $3,380.21        $3,537,011.86
                                                                          55.88048%
                                29016 Sylvia Dr
                                Canyon Country, CA 91387
   08/27/14           35696     ARGO PARTNERS                             Claim 002364a, Payment                              7100-000                                     $312.93       $3,536,698.93
                                                                          55.88036%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35697     KENNETH MIMS                              Claim 002365a, Payment                              7100-000                                  $3,152.22        $3,533,546.71
                                                                          55.88052%
                                5311 Askins Lane
                                Houston, TX 77016
   08/27/14           35698     JESSICA ALONSO                            Claim 002366a, Payment                              7100-000                                     $999.15       $3,532,547.56
                                                                          55.88087%
                                17721 South West 23rd St.
                                Miramar, FL 33029




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35699     ARGO PARTNERS                             Claim 002368a, Payment                              7100-000                                     $302.31       $3,532,245.25
                                                                          55.87985%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35700     CYNTHIA LEWIS                             Claim 002371a, Payment                              7100-000                                  $4,920.84        $3,527,324.41
                                                                          55.88054%
                                700-260 Richmond Rd
                                Susanville, CA 96130
   08/27/14           35701     ARGO PARTNERS                             Claim 002372a, Payment                              7100-000                                  $1,212.61         $3,526,111.80
                                                                          55.88065%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35702     ARGO PARTNERS                             Claim 002373a, Payment                              7100-000                                      $17.88       $3,526,093.92
                                                                          55.87500%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35703     ARGO PARTNERS                             Claim 002374a, Payment                              7100-000                                     $220.73       $3,525,873.19
                                                                          55.88101%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35704     OMAR FERGUSON                             Claim 002375a, Payment                              7100-004                                     $571.66       $3,525,301.53
                                                                          55.88074%
                                2050 S. Redondo Blvd.
                                Los Angeles, CA 90016-1259
   08/27/14           35705     ARGO PARTNERS                             Claim 002376a, Payment                              7100-000                                  $3,422.68        $3,521,878.85
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35706     ALESSANDRO DASILVA                        Claim 002377a, Payment                              7100-004                                     $149.20       $3,521,729.65
                                                                          55.88015%
                                59 Dartmouth St Apt 2
                                Summerville, MA 02145
   08/27/14           35707     ARGO PARTNERS                             Claim 002378a, Payment                              7100-000                                  $3,016.43        $3,518,713.22
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35708     ARGO PARTNERS                             Claim 002379a, Payment                              7100-000                                  $1,234.96        $3,517,478.26
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35709     RODNEY WILLIAMS                           Claim 002381a, Payment                              7100-000                                     $984.06       $3,516,494.20
                                                                          55.88075%
                                117 Chapel Greens Place
                                Aberdeen, NC 28315
   08/27/14           35710     ARGO PARTNERS                             Claim 002382a, Payment                              7100-000                                     $132.43       $3,516,361.77
                                                                          55.87764%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35711     ARGO PARTNERS                             Claim 002384a, Payment                              7100-000                                     $263.76       $3,516,098.01
                                                                          55.88136%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35712     JOHN KALLAY                               Claim 002386a, Payment                              7100-000                                  $3,329.92        $3,512,768.09
                                                                          55.88052%
                                123 Bellwood Drive
                                Munhall, PA 15120
   08/27/14           35713     ARGO PARTNERS                             Claim 002387a, Payment                              7100-000                                  $1,726.71        $3,511,041.38
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35714     ARGO PARTNERS                             Claim 002388a, Payment                              7100-000                                     $879.00       $3,510,162.38
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35715     ARGO PARTNERS                             Claim 002390a, Payment                              7100-000                                  $2,004.43        $3,508,157.95
                                                                          55.88040%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35716     JEANNE WASLOSKY                           Claim 002391a, Payment                              7100-000                                  $1,645.68        $3,506,512.27
                                                                          55.88048%
                                517 Laredo Lane
                                Chanhassen, MN 55317
   08/27/14           35717     ARGO PARTNERS                             Claim 002394a, Payment                              7100-000                                     $245.87       $3,506,266.40
                                12 West 37th Street, 9th FloorNew York,   55.87955%
                                NY 10018


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $12,446.82
                                                                             Document          Page 595 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35718     EVELYN BLUM                               Claim 002396a, Payment                              7100-004                                  $4,021.72        $3,502,244.68
                                                                          55.88051%
                                14849 Cumberland Drive Apt 202 L
                                Delray Beach, FL 33446
   08/27/14           35719     KIM AUSTIN                                Claim 002398a, Payment                              7100-000                                  $1,617.74        $3,500,626.94
                                                                          55.88048%
                                88 Lord Brook Rd
                                Ridge, NH 03461
   08/27/14           35720     GLENN AUSTIN                              Claim 002399a, Payment                              7100-000                                  $1,147.79        $3,499,479.15
                                                                          55.88072%
                                88 Lord Brook Road
                                Ridge, NH 03461
   08/27/14           35721     LINDA RAINES                              Claim 002400a, Payment                              7100-000                                     $796.30       $3,498,682.85
                                                                          55.88070%
                                PO BOX 1561
                                EASLEY, SC 29641
   08/27/14           35722     ANGELA INGE                               Claim 002401a, Payment                              7100-000                                     $854.97       $3,497,827.88
                                                                          55.88039%
                                2842 Lincoln Avenue
                                Camden, NJ 08105
   08/27/14           35723     VICKY THOMPSON                            Claim 002402a, Payment                              7100-000                                  $6,740.86        $3,491,087.02
                                2783 Station St.Rock Creek, Ohio 44084    55.88046%
   08/27/14           35724     LIQUIDITY SOLUTIONS, INC.                 Claim 002404a, Payment                              7100-000                                     $818.09       $3,490,268.93
                                                                          55.88046%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35725     WILSON MEDINA                             Claim 002405a, Payment                              7100-000                                  $2,762.17        $3,487,506.76
                                                                          55.88044%
                                2065 N Jerusalem Rd
                                East Meadow, NY 11554
   08/27/14           35726     ZHE BAO                                   Claim 002407a, Payment                              7100-000                                  $1,622.77        $3,485,883.99
                                                                          55.88051%
                                4179 W. Belmont
                                Chicago, IL 60641
   08/27/14           35727     LIQUIDITY SOLUTIONS, INC.                 Claim 002413a, Payment                              7100-000                                  $3,705.99        $3,482,178.00
                                                                          55.88043%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $24,088.40
                                                                             Document          Page 596 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35728     JENNIFER BREITIGAN                        Claim 002414a, Payment                              7100-000                                     $843.24       $3,481,334.76
                                                                          55.88072%
                                PO Box 4112
                                San Dimas, CA 91773
   08/27/14           35729     JESUS SUPNET                              Claim 002416a, Payment                              7100-000                                     $303.43       $3,481,031.33
                                                                          55.88029%
                                35750 Betten Court Street Apt 20
                                Newark, CA 94560-1047
   08/27/14           35730     LIQUIDITY SOLUTIONS, INC.                 Claim 002418a, Payment                              7100-000                                 $23,606.18        $3,457,425.15
                                                                          55.88051%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35731     RICHARD JIMENEZ VASQUEZ                   Claim 002422a, Payment                              7100-000                                      $43.03       $3,457,382.12
                                                                          55.88312%
                                200 Lameshur Lane
                                Monroe, NC 28110
   08/27/14           35732     ASSET RECOVERY MANAGEMENT,                Claim 002424a, Payment                              7100-000                                     $757.18       $3,456,624.94
                                LLC                                       55.88044%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35733     GRACE ZINGAPAN                            Claim 002425a, Payment                              7100-000                                      $49.73       $3,456,575.21
                                                                          55.87640%
                                140 George Circle
                                Vallejo, CA 94591
   08/27/14           35734     ROY LEE                                   Claim 002426a, Payment                              7100-000                                  $2,281.04        $3,454,294.17
                                                                          55.88045%
                                1001 Speed Road
                                Hobgood, NC 27843
   08/27/14           35735     GUY MADISON                               Claim 002427a, Payment                              7100-000                                  $4,541.97        $3,449,752.20
                                                                          55.88054%
                                2011 Country Manor Blvd.
                                Billings, MT 59102
   08/27/14           35736     DOROTHEA BRUNELLE                         Claim 002431a, Payment                              7100-004                                      $22.91       $3,449,729.29
                                                                          55.87805%
                                3405 SE Vineyard Rd 79
                                Milwaukie, OR 97267




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $32,448.71
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35737     PHILIP MINICOZZI                          Claim 002432a, Payment                              7100-000                                     $178.82       $3,449,550.47
                                                                          55.88125%
                                74 Clifton Place
                                Port Jefferson Station, NY 11776
   08/27/14           35738     ARGO PARTNERS                             Claim 002433a, Payment                              7100-000                                     $605.19       $3,448,945.28
                                12 West 37th St., 9th Fl.New York, NY     55.88089%
                                10018
   08/27/14           35739     DANIELLE DIXON                            Claim 002435a, Payment                              7100-000                                  $2,377.72        $3,446,567.56
                                                                          55.88061%
                                PO BOX 583
                                Ansted, WV 25812
   08/27/14           35740     KAYOUA XIONG                              Claim 002436a, Payment                              7100-000                                     $758.30       $3,445,809.26
                                                                          55.88062%
                                PO Box 8185
                                Morganton, NC 28680
   08/27/14           35741     ARGO PARTNERS                             Claim 002438a, Payment                              7100-000                                  $1,838.46        $3,443,970.80
                                                                          55.88024%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35742     BRANDON GOOD                              Claim 002439a, Payment                              7100-000                                  $1,413.22        $3,442,557.58
                                                                          55.88059%
                                305 NE Innsbruck Dr
                                Ankeny, IA 50021
   08/27/14           35743     JENNIFER ANDRUS                           Claim 002441a, Payment                              7100-000                                  $1,170.70        $3,441,386.88
                                                                          55.88067%
                                23 River Rd
                                East Brunswick, NJ 08816
   08/27/14           35744     LINDA CARROLL                             Claim 002443a, Payment                              7100-000                                  $5,889.25        $3,435,497.63
                                                                          55.88054%
                                1158 Sussex Drive
                                Shallotte, NC 28479
   08/27/14           35745     SANDRA LEE                                Claim 002444a, Payment                              7100-000                                   $2,611.85       $3,432,885.78
                                                                          55.88040%
                                253 Rock Crusher Road
                                Walhalla, SC 29691
   08/27/14           35746     ARGO PARTNERS                             Claim 002450a, Payment                              7100-000                                     $680.07       $3,432,205.71
                                                                          55.88085%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,523.58
                                                                             Document          Page 598 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35747     ASSET RECOVERY MANAGEMENT,                Claim 002453a, Payment                              7100-000                                  $1,902.73        $3,430,302.98
                                LLC                                       55.88047%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35748     LIQUIDITY SOLUTIONS, INC.                 Claim 002454a, Payment                              7100-000                                  $2,013.93        $3,428,289.05
                                                                          55.88041%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35749     JOSEPH TONEY                              Claim 002455a, Payment                              7100-000                                  $1,725.59        $3,426,563.46
                                                                          55.88051%
                                1523 Kelly Road
                                Mount Holley, NC 28120
   08/27/14           35750     ARGO PARTNERS                             Claim 002456a, Payment                              7100-000                                     $462.13       $3,426,101.33
                                                                          55.88029%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35751     ARGO PARTNERS                             Claim 002459a, Payment                              7100-000                                      $77.12       $3,426,024.21
                                                                          55.88406%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35752     ARGO PARTNERS                             Claim 002460a, Payment                              7100-000                                  $3,562.38        $3,422,461.83
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35753     MARK HEINS                                Claim 002461a, Payment                              7100-000                                  $7,487.98        $3,414,973.85
                                                                          55.88049%
                                963 Denise Lane
                                Elcajon, CA 92020
   08/27/14           35754     DOUGLAS DRESSLER                          Claim 002462a, Payment                              7100-000                                     $697.95       $3,414,275.90
                                                                          55.88070%
                                4601 WALLASEY WAY
                                SALIDA, CA 95368
   08/27/14           35755     ARGO PARTNERS                             Claim 002463a, Payment                              7100-000                                     $812.50       $3,413,463.40
                                                                          55.88033%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35756     KIM THURSTON                              Claim 002465Aa, Payment                             7100-000                                     $592.89       $3,412,870.51
                                                                          55.88030%
                                PO Box 192
                                Wisdom, MT 59761
   08/27/14           35757     KENNETH LINDSAY                           Claim 002466a, Payment                              7100-000                                     $899.12       $3,411,971.39
                                                                          55.88067%
                                662 Grape Street
                                Hammonton, NJ 08037
   08/27/14           35758     ARGO PARTNERS                             Claim 002468a, Payment                              7100-000                                  $1,045.52        $3,410,925.87
                                                                          55.88028%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35759     KENNETH REDLICK                           Claim 002469a, Payment                              7100-000                                     $534.22       $3,410,391.65
                                                                          55.88075%
                                514 Americas Way
                                PMB 4364
                                Box Elder, SD 57719-7600
   08/27/14           35760     KATHRYN LANDRUM                           Claim 002470a, Payment                              7100-000                                   $2,101.11       $3,408,290.54
                                                                          55.88059%
                                PO Box 4740
                                Arizona City, AZ 85223
   08/27/14           35761     TIMOTHY HORSEY                            Claim 002472a, Payment                              7100-000                                  $2,705.17        $3,405,585.37
                                                                          55.88040%
                                685 Laurelton Rd
                                Rochester, NY 14609
   08/27/14           35762     ARGO PARTNERS                             Claim 002473a, Payment                              7100-000                                  $5,127.04        $3,400,458.33
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35763     ASSET RECOVERY MANAGEMENT,                Claim 002476a, Payment                              7100-000                                  $1,067.88        $3,399,390.45
                                LLC                                       55.88069%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35764     SECOND CHANCE CREDIT                      Claim 002477a, Payment                              7100-000                                  $1,249.48        $3,398,140.97
                                OPPORTUNITIES,                            55.88014%

                                P.O. Box 240067
                                Montgomery, AL 36124


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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35765     TIN PHYU                                  Claim 002478a, Payment                              7100-000                                  $2,463.77        $3,395,677.20
                                                                          55.88047%
                                15419 64th Ave.
                                Flushing, NY 11367
   08/27/14           35766     ARGO PARTNERS                             Claim 002479a, Payment                              7100-000                                     $694.04       $3,394,983.16
                                                                          55.88084%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35767     ARGO PARTNERS                             Claim 002481a, Payment                              7100-000                                  $1,816.68        $3,393,166.48
                                                                          55.88065%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35768     ARGO PARTNERS                             Claim 002484a, Payment                              7100-000                                  $3,438.32        $3,389,728.16
                                                                          55.88038%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35769     RICHARD JONES                             Claim 002487a, Payment                              7100-000                                  $6,094.89        $3,383,633.27
                                                                          55.88054%
                                7832 South 70th East Avenue
                                Tulsa, OK 74133
   08/27/14           35770     WILLIAM O`CONNELL                         Claim 002498a, Payment                              7100-000                                  $3,813.28        $3,379,819.99
                                                                          55.88042%
                                203 Cherry Hills Meadows Dr
                                Wildwood, MO 63040
   08/27/14           35771     ARGO PARTNERS                             Claim 002499a, Payment                              7100-000                                  $1,869.20        $3,377,950.79
                                                                          55.88042%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35772     LADONNA L BARNEY                          Claim 002500a, Payment                              7100-000                                      $55.88       $3,377,894.91
                                                                          55.88000%
                                1899 BRACHT-PINER RD
                                MORNINGVIEW, KY 41063
   08/27/14           35773     COREY WOOD                                Claim 002502a, Payment                              7100-000                                  $2,805.76        $3,375,089.15
                                                                          55.88050%
                                268 Elkhorn Green Place
                                Georgetown, KY 40324




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35774     ASSET RECOVERY MANAGEMENT,                Claim 002504a, Payment                              7100-000                                     $947.17       $3,374,141.98
                                LLC                                       55.88024%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35775     ARGO PARTNERS                             Claim 002506a, Payment                              7100-000                                  $1,001.94        $3,373,140.04
                                                                          55.88065%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35776     ARGO PARTNERS                             Claim 002509a, Payment                              7100-000                                     $814.18       $3,372,325.86
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35777     ARGO PARTNERS                             Claim 002511a, Payment                              7100-000                                  $2,419.63        $3,369,906.23
                                                                          55.88060%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35778     ARGO PARTNERS                             Claim 002512a, Payment                              7100-000                                  $2,097.75        $3,367,808.48
                                                                          55.88039%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35779     ANA MARIA KRALLZIROGLU                    Claim 002516a, Payment                              7100-000                                  $5,471.26        $3,362,337.22
                                                                          55.88050%
                                59-11 Queens Blvd 5H
                                Woodside, NY 11377
   08/27/14           35780     ARGO PARTNERS                             Claim 002524a, Payment                              7100-000                                     $595.69       $3,361,741.53
                                                                          55.88086%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35781     JEANETTE WILLIAMS                         Claim 002526a, Payment                              7100-000                                  $4,283.24        $3,357,458.29
                                                                          55.88050%
                                4925 Greene St.
                                Philadelphia, PA 19144
   08/27/14           35782     ARGO PARTNERS                             Claim 002528a, Payment                              7100-000                                  $5,455.61        $3,352,002.68
                                12 West 37th St., 9th FlNew York, NY      55.88047%
                                10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $23,086.47
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35783     SECOND CHANCE CREDIT                      Claim 002529a, Payment                              7100-000                                   $1,260.11       $3,350,742.57
                                OPPORTUNITIES,                            55.88071%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           35784     RICHARD HANNON                            Claim 002530a, Payment                              7100-000                                  $1,483.63        $3,349,258.94
                                2523 SEth 20th Ave.Cape Coral, FL         55.88060%
                                33904
   08/27/14           35785     GEORGE VOLPE                              Claim 002532a, Payment                              7100-000                                     $227.43       $3,349,031.51
                                                                          55.87961%
                                89 Sprague Avenue
                                Staten Island, NY 10307
   08/27/14           35786     JENNA WILLIAMS PARR                       Claim 002533a, Payment                              7100-000                                  $2,085.46        $3,346,946.05
                                                                          55.88049%
                                6292 Windmill Lane
                                Grant Park, IL 60940
   08/27/14           35787     LIQUIDITY SOLUTIONS, INC.                 Claim 002534a, Payment                              7100-000                                  $1,201.43        $3,345,744.62
                                                                          55.88047%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35788     CARRIE STEPHENS                           Claim 002535a, Payment                              7100-000                                  $1,207.58        $3,344,537.04
                                                                          55.88061%
                                1750 S Gordon Street
                                Atlanta, GA 30310
   08/27/14           35789     ARGO PARTNERS                             Claim 002536a, Payment                              7100-000                                  $4,488.32        $3,340,048.72
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35790     MELISSA ROGERS                            Claim 002537a, Payment                              7100-000                                  $1,057.82        $3,338,990.90
                                                                          55.88061%
                                PO BOX 140
                                Edneyville, NC 28727
   08/27/14           35791     MARY PHELAN                               Claim 002538a, Payment                              7100-000                                  $2,178.78        $3,336,812.12
                                                                          55.88048%
                                4029 Cardinal Boulevard
                                Port Orange, FL 32127




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $15,190.56
                                                                             Document          Page 603 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35792     NADINE BARRY                              Claim 002539a, Payment                              7100-000                                     $775.06       $3,336,037.06
                                                                          55.88032%
                                147 Ocean Avenue Apt 2E
                                Brooklyn, NY 11225
   08/27/14           35793     PATRICIA MURRAY                           Claim 002540a, Payment                              7100-000                                     $610.22       $3,335,426.84
                                                                          55.88095%
                                30 Lachine St
                                Chicopee, MA 01020
   08/27/14           35794     DONNA CIPOLLA                             Claim 002541a, Payment                              7100-000                                 $10,359.69        $3,325,067.15
                                                                          55.88052%
                                4458 Jasmine Ave
                                Culver City, CA 90232
   08/27/14           35795     DEBRA WARTHAN                             Claim 002542a, Payment                              7100-000                                     $103.38       $3,324,963.77
                                                                          55.88108%
                                1900 River Road
                                Sparta, WI 54656
   08/27/14           35796     LENORA GROOMS                             Claim 002543a, Payment                              7100-000                                     $678.94       $3,324,284.83
                                                                          55.87984%
                                512 Sarah Street
                                Charleston, SC 29407
   08/27/14           35797     ARGO PARTNERS                             Claim 002544a, Payment                              7100-000                                  $3,413.74        $3,320,871.09
                                                                          55.88050%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35798     KENNETH WINTER                            Claim 002545a, Payment                              7100-000                                     $813.06       $3,320,058.03
                                c/o Azar and Azar                         55.88041%
   08/27/14           35799     JAYSON DELISLE                            Claim 002546a, Payment                              7100-000                                  $2,751.56        $3,317,306.47
                                                                          55.88058%
                                484 McCartney Dr
                                Highland, MI 48356
   08/27/14           35800     DEBORAH VANCE                             Claim 002547a, Payment                              7100-000                                     $399.55       $3,316,906.92
                                                                          55.88112%
                                PO Box 773
                                Spindale, NC 28160
   08/27/14           35801     ARGO PARTNERS                             Claim 002549a, Payment                              7100-000                                     $829.82       $3,316,077.10
                                                                          55.88013%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $20,735.02
                                                                             Document          Page 604 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35802     YVONNE HEDLER-SCHMIDT                     Claim 002551Aa, Payment                             7100-000                                  $4,966.66         $3,311,110.44
                                                                          55.88051%
                                4024 W BELLE AVE
                                BLOOMINGTON, IN 47403
   08/27/14           35803     PEGGY KRAJNIAK                            Claim 002553a, Payment                              7100-000                                  $1,144.99        $3,309,965.45
                                                                          55.88043%
                                4443 Mud Lake Road
                                Posen, MI 49776
   08/27/14           35804     ARGO PARTNERS                             Claim 002556a, Payment                              7100-000                                     $262.64       $3,309,702.81
                                                                          55.88085%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35805     DAN WARD                                  Claim 002559a, Payment                              7100-000                                     $206.20       $3,309,496.61
                                                                          55.88076%
                                239 W US Highway 30
                                Valparaiso, IN 46387-5347
   08/27/14           35806     ARGO PARTNERS                             Claim 002560Aa, Payment                             7100-000                                  $2,503.45        $3,306,993.16
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35807     ROBERT PAGARIGAN                          Claim 002563a, Payment                              7100-000                                  $6,402.22        $3,300,590.94
                                                                          55.88042%
                                2317 West Lincoln Ave
                                Montebello, CA 90640
   08/27/14           35808     DANIEL IBARRA                             Claim 002564a, Payment                              7100-000                                  $1,439.48        $3,299,151.46
                                                                          55.88043%
                                11517 Haro Ave Apt 14
                                Downey, CA 90241
   08/27/14           35809     SHIRLEY SIMPSON                           Claim 002567a, Payment                              7100-000                                  $1,894.35        $3,297,257.11
                                                                          55.88053%
                                5724 Riverdale road apartment C-1
                                College Park, GA 30349
   08/27/14           35810     SECOND CHANCE CREDIT                      Claim 002568a, Payment                              7100-000                                     $495.66       $3,296,761.45
                                OPPORTUNITIES,                            55.88050%

                                P.O. Box 240067
                                Montgomery, AL 36124




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $19,315.65
                                                                             Document          Page 605 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35811     ARGO PARTNERS                             Claim 002569a, Payment                              7100-000                                 $10,831.32        $3,285,930.13
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35812     NANCY PEREZ                               Claim 002571a, Payment                              7100-000                                  $3,565.73        $3,282,364.40
                                                                          55.88043%
                                100 Asch Loop Apt 8-E
                                Bronx, NY 10475
   08/27/14           35813     ARGO PARTNERS                             Claim 002577a, Payment                              7100-000                                  $3,305.89        $3,279,058.51
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35814     TREVOR FARNSWORTH                         Claim 002579a, Payment                              7100-000                                  $1,318.78        $3,277,739.73
                                32 Donegal PlaceIOWA CITY, IA52246        55.88051%
   08/27/14           35815     DANIEL RONDEAU                            Claim 002580a, Payment                              7100-000                                     $461.02       $3,277,278.71
                                277 Harantis Lake RoadChester, NH         55.88121%
                                03036
   08/27/14           35816     LIQUIDITY SOLUTIONS, INC.                 Claim 002581a, Payment                              7100-000                                  $2,245.28        $3,275,033.43
                                                                          55.88054%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35817     MARLENE CAVALANCIA                        Claim 002582a, Payment                              7100-000                                  $2,086.02        $3,272,947.41
                                                                          55.88053%
                                162 Vetter Dr
                                Pittsburgh, PA 15235
   08/27/14           35818     DOROTHY HAROLD                            Claim 002583a, Payment                              7100-000                                  $3,261.74        $3,269,685.67
                                                                          55.88042%
                                672 South 6th Street
                                Kerman, CA 93630
   08/27/14           35819     ROBERT JOSEFOWICZ                         Claim 002584a, Payment                              7100-000                                  $4,509.00        $3,265,176.67
                                                                          55.88053%
                                PO BOX 1627
                                Apache Junction, AZ 85117
   08/27/14           35820     EDWARD SCHREFFLER                         Claim 002585a, Payment                              7100-000                                  $2,540.33        $3,262,636.34
                                                                          55.88055%
                                640 Northeast 77th Street
                                Ocala, FL 34479




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $34,125.11
                                                                             Document          Page 606 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35821     EDDA BURGA                                Claim 002587a, Payment                              7100-000                                  $1,357.90        $3,261,278.44
                                                                          55.88066%
                                429 W. Plantation Rd.
                                Virginia Bch., VA 23454
   08/27/14           35822     KAREN COOPER                              Claim 002590a, Payment                              7100-000                                      $88.85       $3,261,189.59
                                                                          55.88050%
                                38462 Morrisonville Road
                                Lovettsville, VA 20180
   08/27/14           35823     ARGO PARTNERS                             Claim 002597a, Payment                              7100-000                                     $103.38       $3,261,086.21
                                                                          55.88108%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35824     CARLENE SLOAN                             Claim 002598Aa, Payment                             7100-000                                  $1,431.66        $3,259,654.55
                                                                          55.88056%
                                4404 CHARLESTON PL
                                DUNWOODY, GA 30338
   08/27/14           35825     ANGEL NIEVES                              Claim 002601a, Payment                              7100-000                                     $205.64       $3,259,448.91
                                                                          55.88043%
                                159 Wickes Road
                                Bushkill, PA 18324
   08/27/14           35826     ARGO PARTNERS                             Claim 002604a, Payment                              7100-000                                  $3,807.69        $3,255,641.22
                                                                          55.88039%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35827     LEVAN WATSON                              Claim 002606a, Payment                              7100-000                                     $222.96       $3,255,418.26
                                                                          55.87970%
                                112 Milan Ln
                                Poinciana, FL 34759
   08/27/14           35828     ARGO PARTNERS                             Claim 002611Aa, Payment                             7100-000                                  $2,081.55        $3,253,336.71
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35829     MELANIE SLOAN                             Claim 002616a, Payment                              7100-000                                      $55.88       $3,253,280.83
                                                                          55.88000%
                                101 Clinton Road
                                Antrim, NH 03440




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main          $9,355.51
                                                                             Document          Page 607 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35830     BARBARA WILSON                            Claim 002617a, Payment                              7100-000                                  $2,552.62        $3,250,728.21
                                                                          55.88047%
                                3842 Atkins Road
                                Cedar Hill, TN 37032
   08/27/14           35831     ALAN WILSON                               Claim 002618a, Payment                              7100-000                                  $1,038.82        $3,249,689.39
                                                                          55.88058%
                                3842 Atkins Road
                                Cedar Hill, TN 37032
   08/27/14           35832     WAYNE JAMBARD                             Claim 002620A, Payment                              7100-000                                  $1,864.17        $3,247,825.22
                                RR 2 Box 178Ramsey, IL 62080              55.88040%
   08/27/14           35833     ARGO PARTNERS                             Claim 002621a, Payment                              7100-000                                     $468.84       $3,247,356.38
                                12 West 37th Street, 9th FloorNew York,   55.88081%
                                NY 10018
   08/27/14           35834     JOSEPH BOSSI                              Claim 002622a, Payment                              7100-000                                  $1,236.64        $3,246,119.74
                                                                          55.88070%
                                214 Sedgebrooke Drive
                                Warner Robins, GA 31088
   08/27/14           35835     THOMAS DAWSON                             Claim 002623a, Payment                              7100-000                                  $4,562.64        $3,241,557.10
                                                                          55.88047%
                                1008 Whitney Springs Ct
                                Holly Springs, NC 27540
   08/27/14           35836     ERIN WALKER                               Claim 002625a, Payment                              7100-000                                  $1,045.52        $3,240,511.58
                                                                          55.88028%
                                216 Fourth St
                                Oconto, WI 54153
   08/27/14           35837     LIQUIDITY SOLUTIONS, INC.                 Claim 002626a, Payment                              7100-000                                  $2,821.97        $3,237,689.61
                                                                          55.88059%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35838     GAREY HARTLEY                             Claim 002627a, Payment                              7100-000                                  $1,417.13        $3,236,272.48
                                                                          55.88052%
                                1252 Meadow Rd
                                BOWDOIN, ME 04287
   08/27/14           35839     LATORA TAYLOR                             Claim 002629a, Payment                              7100-000                                     $170.44       $3,236,102.04
                                                                          55.88197%
                                7013 Milport Pl
                                Charlotte, NC 28215




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,178.79
                                                                             Document          Page 608 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35840     ARGO PARTNERS                             Claim 002633a, Payment                              7100-000                                  $2,602.91        $3,233,499.13
                                                                          55.88042%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35841     ARGO PARTNERS                             Claim 002635a, Payment                              7100-000                                  $1,343.93        $3,232,155.20
                                                                          55.88067%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35842     ANGELICA MARTINEZ                         Claim 002636a, Payment                              7100-000                                     $215.14       $3,231,940.06
                                                                          55.88052%
                                144 W. Ardmore Rd.
                                Phoenix, AZ 85041-8411
   08/27/14           35843     DALE POPE                                 Claim 002640a, Payment                              7100-000                                  $1,286.37        $3,230,653.69
                                                                          55.88054%
                                4378 Earnhardt Road
                                Ashboro, NC 27205
   08/27/14           35844     ROSARIO RIO                               Claim 002642a, Payment                              7100-004                                     $737.62       $3,229,916.07
                                                                          55.88030%
                                200 South Albany Street Apt 19-B
                                Delano, CA 93215
   08/27/14           35845     LIQUIDITY SOLUTIONS, INC.                 Claim 002643a, Payment                              7100-000                                  $1,925.08        $3,227,990.99
                                                                          55.88041%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35846     SCOTT BUSS                                Claim 002645a, Payment                              7100-000                                  $9,657.27        $3,218,333.72
                                                                          55.88051%
                                760 24th Avenue
                                Santa Cruz, CA 95062
   08/27/14           35847     DIANE RALEY                               Claim 002646a, Payment                              7100-000                                  $1,590.36        $3,216,743.36
                                                                          55.88053%
                                PO Box 324
                                Lakeview, AR 72642
   08/27/14           35848     ARGO PARTNERS                             Claim 002649a, Payment                              7100-000                                  $2,464.89        $3,214,278.47
                                                                          55.88053%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $21,823.57
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35849     GREGORY MCPHERSON                         Claim 002650a, Payment                              7100-000                                  $1,662.44        $3,212,616.03
                                                                          55.88034%
                                2422 Crescent Lake Road
                                Waterford, MI 48329
   08/27/14           35850     ARGO PARTNERS                             Claim 002651a, Payment                              7100-000                                  $3,191.34        $3,209,424.69
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35851     OSCAR ALANIZ                              Claim 002655a, Payment                              7100-000                                  $1,131.58        $3,208,293.11
                                                                          55.88049%
                                3786 FM 626
                                Karnes City, TX 78118
   08/27/14           35852     LIQUIDITY SOLUTIONS, INC.                 Claim 002659Aa, Payment                             7100-000                                  $6,338.53        $3,201,954.58
                                                                          55.88054%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35853     LIQUIDITY SOLUTIONS, INC.                 Claim 002660a, Payment                              7100-000                                     $735.94       $3,201,218.64
                                                                          55.88003%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35854     ARGO PARTNERS                             Claim 002663a, Payment                              7100-000                                  $1,019.82        $3,200,198.82
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35855     LIQUIDITY SOLUTIONS, INC.                 Claim 002664a, Payment                              7100-000                                      $30.73       $3,200,168.09
                                                                          55.87273%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35856     VERNA I ADAMS                             Claim 002666a, Payment                              7100-004                                  $3,127.07        $3,197,041.02
                                                                          55.88045%
                                PO Box 1142
                                Vaughn, WA 98394
   08/27/14           35857     ANGELA HUNTLEY                            Claim 002667a, Payment                              7100-000                                      $46.38       $3,196,994.64
                                                                          55.87952%
                                3218 Sutton Drive
                                Charalotte, NC 28216




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $17,283.83
                                                                             Document          Page 610 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35858     CATHERINE HILL                            Claim 002668a, Payment                              7100-000                                  $1,590.36        $3,195,404.28
                                                                          55.88053%
                                244 Fairview Circle
                                Middle Island, NY 11953
   08/27/14           35859     DAVID HERMRECK                            Claim 002670a, Payment                              7100-000                                  $1,069.55        $3,194,334.73
                                                                          55.88036%
                                20583 S Stanley Rd
                                Quenemo, KS 66528
   08/27/14           35860     MABEL VERGARA                         Claim 002679a, Payment                                  7100-000                                  $1,747.39        $3,192,587.34
                                1742 S.Woodland Blvd.Deland, FL 32720 55.88072%
   08/27/14           35861     ARGO PARTNERS                             Claim 002682a, Payment                              7100-000                                  $2,827.55        $3,189,759.79
                                12 West 37th St., 9th Fl.New York, NY     55.88043%
                                10018
   08/27/14           35862     MELVIN JACKSON                            Claim 002687a, Payment                              7100-000                                     $395.08       $3,189,364.71
                                                                          55.88119%
                                3841 North Sweet Leaf Ave
                                Rialto, CA 92377
   08/27/14           35863     ARCHELLE ROGACION                         Claim 002688a, Payment                              7100-000                                     $651.01       $3,188,713.70
                                27432 146th Ave. SEKent, WA 98042         55.88069%
   08/27/14           35864     LIQUIDITY SOLUTIONS, INC.                 Claim 002690a, Payment                              7100-000                                     $925.38       $3,187,788.32
                                                                          55.88043%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35865     LIGAYA AMAT                               Claim 002691Aa, Payment                             7100-000                                  $9,382.89        $3,178,405.43
                                                                          55.88047%
                                32515 JACKLYN DRIVE
                                UNION CITY, CA 94587
   08/27/14           35866     ARGO PARTNERS                             Claim 002693a, Payment                              7100-000                                  $1,103.64        $3,177,301.79
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35867     KEVIN YATSKO                              Claim 002694a, Payment                              7100-000                                  $2,680.03        $3,174,621.76
                                                                          55.88053%
                                26548 Locust Drive
                                Olmsted Falls, OH 44138




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35868     ELAINE KENFIELD                           Claim 002695a, Payment                              7100-000                                  $1,270.72        $3,173,351.04
                                                                          55.88039%
                                631 GAGE ROAD
                                DELANSON, NY 12053
   08/27/14           35869     COREY THOMPSON                            Claim 002696a, Payment                              7100-000                                  $2,721.38        $3,170,629.66
                                                                          55.88049%
                                17620 Krameria Avenue
                                Riverside, CA 92504
   08/27/14           35870     ARGO PARTNERS                             Claim 002697Aa, Payment                             7100-000                                  $3,065.05        $3,167,564.61
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35871     RAJ REMHARACK                             Claim 002700a, Payment                              7100-000                                     $131.88       $3,167,432.73
                                                                          55.88136%
                                1999 NE 176th St.
                                North Miami Beach, FL 33162
   08/27/14           35872     MARISOL GONZALEZ                          Claim 002705a, Payment                              7100-000                                  $2,419.07        $3,165,013.66
                                                                          55.88057%
                                290 Park Ave.
                                East Hartford, CT 06108
   08/27/14           35873     ARGO PARTNERS                             Claim 002706a, Payment                              7100-000                                  $1,107.55        $3,163,906.11
                                                                          55.88042%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35874     TEJINDER WALIA                            Claim 002707a, Payment                              7100-000                                  $3,469.06        $3,160,437.05
                                                                          55.88048%
                                207 East Crestview Ave
                                Galloway, NJ 08205
   08/27/14           35875     DONALD LATTIMORE                          Claim 002711a, Payment                              7100-004                                  $3,346.12        $3,157,090.93
                                                                          55.88043%
                                80 East 93rd St Apt B-321
                                Brooklyn, NY 11212
   08/27/14           35876     LIQUIDITY SOLUTIONS, INC.                 Claim 002713a, Payment                              7100-000                                  $2,102.22        $3,154,988.71
                                One University Plaza, Suite               55.88038%
                                312Hackensack, NJ 07601
   08/27/14           35877     ARGO PARTNERS                             Claim 002715a, Payment                              7100-000                                  $3,341.66        $3,151,647.05
                                                                          55.88060%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 612 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35878     ARGO PARTNERS                             Claim 002716a, Payment                              7100-000                                  $2,576.09        $3,149,070.96
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35879     NEIL GILLETTE                             Claim 002718a, Payment                              7100-000                                  $2,501.21        $3,146,569.75
                                                                          55.88047%
                                7209 E 5th Ave
                                Spokane Valley, WA 99212
   08/27/14           35880     ESTELLE DRISCO                            Claim 002719a, Payment                              7100-004                                      $89.41       $3,146,480.34
                                                                          55.88125%
                                7990 SE 174 Bellhaven Loop
                                The Villages, FL 32162
   08/27/14           35881     RAMONA MOORE                              Claim 002721a, Payment                              7100-000                                  $1,798.09        $3,144,682.25
                                                                          55.88035%
                                18152 W Paradise Lane
                                Surprise, AZ 85388
   08/27/14           35882     ARGO PARTNERS                             Claim 002722a, Payment                              7100-000                                  $2,584.47        $3,142,097.78
                                                                          55.88043%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35883     VAN WILSON                                Claim 002723a, Payment                              7100-000                                     $525.84       $3,141,571.94
                                                                          55.88098%
                                6807 Aerial Court
                                Charlotte, NC 28213
   08/27/14           35884     ARGO PARTNERS                             Claim 002724a, Payment                              7100-000                                  $4,414.56        $3,137,157.38
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35885     KRISTINA GALELLA                          Claim 002725Aa, Payment                             7100-000                                  $1,162.87        $3,135,994.51
                                                                          55.88035%
                                1456 E. Mulberry St.
                                Lancaster, OH 43130
   08/27/14           35886     ARGO PARTNERS                             Claim 002726a, Payment                              7100-000                                  $4,515.71        $3,131,478.80
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35887     SEAN PENCILLE                             Claim 002727a, Payment                              7100-000                                     $240.84       $3,131,237.96
                                                                          55.87935%
                                5303 Bryant St
                                Erie, PA 16509
   08/27/14           35888     KIMBERLY ORTIZ-FABORITO                   Claim 002731a, Payment                              7100-000                                     $936.00       $3,130,301.96
                                                                          55.88060%
                                9905 197th Avenue Court East
                                Bonney Lake, WA 98391
   08/27/14           35889     FRANCES BAILEY                            Claim 002732a, Payment                              7100-000                                     $217.38       $3,130,084.58
                                                                          55.88175%
                                2927 West 86th Street
                                Chicago, IL 60652
   08/27/14           35890     ALLISON KALPAKOFF                         Claim 002733a, Payment                              7100-000                                 $30,220.17        $3,099,864.41
                                                                          55.88049%
                                720 Carlsbad Ct
                                Petaluma, CA 94954
   08/27/14           35891     HANK BINGHAM                              Claim 002734a, Payment                              7100-000                                     $568.30       $3,099,296.11
                                                                          55.88004%
                                3305 Holly Springs Rd
                                Pendergrass, GA 30567
   08/27/14           35892     ARGO PARTNERS                             Claim 002737a, Payment                              7100-000                                 $27,909.52        $3,071,386.59
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35893     WAI LUN LI                                Claim 002740a, Payment                              7100-000                                     $520.81       $3,070,865.78
                                                                          55.88090%
                                184 Summit Street
                                Norwich, CT 06360
   08/27/14           35894     ARGO PARTNERS                             Claim 002741a, Payment                              7100-000                                  $4,139.07        $3,066,726.71
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35895     JOE AND MICHELLE BLASIUS                  Claim 002747a, Payment                              7100-000                                     $694.04       $3,066,032.67
                                13115 192 12 Court NWElk River, MN        55.88084%
                                55330
   08/27/14           35896     OLGA SAMUSENKO                            Claim 002751a, Payment                              7100-000                                     $735.95       $3,065,296.72
                                                                          55.88079%
                                1901 Avenue N Apt 2D
                                Brooklyn, NY 11230


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35897     MARIAN WEST                               Claim 002753a, Payment                              7100-000                                     $119.58       $3,065,177.14
                                                                          55.87850%
                                8325 Carter Creek Drive, Apt. 204
                                Charlotte, NC 28227
   08/27/14           35898     CANDICE CURD                              Claim 002754a, Payment                              7100-000                                     $857.77       $3,064,319.37
                                                                          55.88078%
                                320 5t Avenue
                                Folsom, PA 19033
   08/27/14           35899     SUSAN HECLA                               Claim 002758a, Payment                              7100-000                                     $243.64       $3,064,075.73
                                                                          55.88073%
                                PO Box 488
                                Allyn, WA 98524
   08/27/14           35900     ARGO PARTNERS                             Claim 002759a, Payment                              7100-000                                  $1,444.51        $3,062,631.22
                                                                          55.88046%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35901     DAVID MOORE                               Claim 002760a, Payment                              7100-000                                  $1,697.65        $3,060,933.57
                                                                          55.88051%
                                1009 Headlands Drive
                                Napa, CA 94558
   08/27/14           35902     ANTHONY CORUM                             Claim 002761a, Payment                              7100-000                                  $1,313.19        $3,059,620.38
                                                                          55.88043%
                                5218 Federalsburg Rd
                                Bridgeville, DE 19933
   08/27/14           35903     LIQUIDITY SOLUTIONS, INC.                 Claim 002762a, Payment                              7100-000                                  $1,517.15        $3,058,103.23
                                                                          55.88029%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35904     ARGO PARTNERS                             Claim 002764a, Payment                              7100-000                                  $1,982.64        $3,056,120.59
                                                                          55.88050%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35905     ARGO PARTNERS                             Claim 002765a, Payment                              7100-000                                   $3,783.11       $3,052,337.48
                                                                          55.88050%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35906     LORINDA PRUDENCIO                         Claim 002768a, Payment                              7100-000                                  $7,476.81        $3,044,860.67
                                                                          55.88049%
                                2850 Riverside Drive Apt 214
                                Los Angelos, CA 90039
   08/27/14           35907     ASSET RECOVERY MANAGEMENT,                Claim 002769a, Payment                              7100-000                                     $924.82       $3,043,935.85
                                LLC                                       55.88036%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35908     DIANNE GRIBBON                            Claim 002770Aa, Payment                             7100-000                                  $1,427.75        $3,042,508.10
                                                                          55.88063%
                                508 Pasadena Drive
                                Magnolia, NJ 08049
   08/27/14           35909     EILEEN BERNICK                            Claim 002771a, Payment                              7100-000                                  $2,725.29        $3,039,782.81
                                                                          55.88046%
                                1385 Sequoia Circle
                                Toms River, NJ 08753
   08/27/14           35910     ARGO PARTNERS                             Claim 002778a, Payment                              7100-000                                  $2,029.02        $3,037,753.79
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35911     WANDA LAFRENAYE                           Claim 002781a, Payment                              7100-000                                  $3,714.38        $3,034,039.41
                                                                          55.88055%
                                50 Monty Avenue
                                Woonsocket, RI 02895
   08/27/14           35912     WAYNE SMITH                               Claim 002783a, Payment                              7100-004                                  $1,990.46        $3,032,048.95
                                                                          55.88040%
                                20701 Ryepatch Road PO Box 12
                                Murphy, ID 83650
   08/27/14           35913     ARGO PARTNERS                             Claim 002784a, Payment                              7100-000                                  $2,317.36        $3,029,731.59
                                                                          55.88040%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35914     GEORGE BIRO                               Claim 002786Aa, Payment                             7100-000                                  $1,451.22        $3,028,280.37
                                                                          55.88063%
                                3021 Fritz Lane
                                Pahrump, NV 89048




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35915     ARGO PARTNERS                             Claim 002788a, Payment                              7100-000                                  $2,400.63        $3,025,879.74
                                                                          55.88059%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35916     RONALD HUNT                               Claim 002789a, Payment                              7100-000                                  $8,670.98        $3,017,208.76
                                                                          55.88052%
                                8174 South Las Vegas Blvd Unit 109 Box
                                412
                                Las Vegas, NV 89123
   08/27/14           35917     JERI-LYNN KIRSCH                          Claim 002791a, Payment                              7100-000                                  $4,456.47        $3,012,752.29
                                                                          55.88050%
                                851 South Dorr Street
                                Antigo, WI 54409
   08/27/14           35918     MONTRESS GRIFFIN                          Claim 002792a, Payment                              7100-000                                  $3,533.88        $3,009,218.41
                                                                          55.88046%
                                c/o Stanley Kartchner, Trustee
                                7090 N. Oracle Road
                                Tucson, AZ 85704
   08/27/14           35919     ARGO PARTNERS                             Claim 002793a, Payment                              7100-000                                  $1,510.72        $3,007,707.69
                                                                          55.88036%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35920     ARGO PARTNERS                             Claim 002794a, Payment                              7100-000                                      $72.09       $3,007,635.60
                                                                          55.88372%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35921     TIAH YORK                                 Claim 002797a, Payment                              7100-004                                  $1,032.67        $3,006,602.93
                                                                          55.88041%
                                209 EAST TUCKER RD
                                PHILADELPHIA, MS 39350
   08/27/14           35922     LESLIE MATTHEWS                           Claim 002799a, Payment                              7100-000                                  $2,517.42        $3,004,085.51
                                                                          55.88058%
                                4363 grover place
                                Granite Falls, NC 28630
   08/27/14           35923     ARGO PARTNERS                             Claim 002800a, Payment                              7100-000                                  $4,644.23        $2,999,441.28
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $28,839.09
                                                                             Document          Page 617 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35924     MARYJANE BAKER                            Claim 002801a, Payment                              7100-000                                  $3,578.03        $2,995,863.25
                                                                          55.88052%
                                1620 Josephine Street
                                Martinsville, IN 46151
   08/27/14           35925     ARGO PARTNERS                             Claim 002805a, Payment                              7100-000                                     $528.63       $2,995,334.62
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35926     LIQUIDITY SOLUTIONS, INC.                 Claim 002806a, Payment                              7100-000                                  $1,224.34        $2,994,110.28
                                                                          55.88042%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35927     MICHAEL SABO                              Claim 002807a, Payment                              7100-000                                  $1,188.58        $2,992,921.70
                                                                          55.88058%
                                347 Western Avenue
                                Lehigh Acres, FL 33974
   08/27/14           35928     ARGO PARTNERS                             Claim 002810a, Payment                              7100-000                                  $1,597.62        $2,991,324.08
                                                                          55.88038%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35929     CAROLYN FARMER                            Claim 002814a, Payment                              7100-000                                  $1,947.99        $2,989,376.09
                                                                          55.88038%
                                1455 Allensville Rd
                                Roxboro, NC 27574
   08/27/14           35930     ARGO PARTNERS                             Claim 002819a, Payment                              7100-000                                  $3,433.86        $2,985,942.23
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35931     MARIBEL BITTNER                           Claim 002825a, Payment                              7100-000                                  $1,103.64        $2,984,838.59
                                                                          55.88051%
                                295 Monument Parkway
                                Perris, CA 92570
   08/27/14           35932     DEBORAH CLIFTON                           Claim 002830a, Payment                              7100-000                                   $2,011.14       $2,982,827.45
                                                                          55.88052%
                                1034 County Road 189
                                Valley, AL 36854




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 618 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35933     CLAUDIA CALDERON                          Claim 002834a, Payment                              7100-000                                  $1,506.54        $2,981,320.91
                                                                          55.88056%
                                3006 Highridge Road
                                La Crescenta, CA 91214
   08/27/14           35934     ARGO PARTNERS                             Claim 002839a, Payment                              7100-000                                  $4,023.95        $2,977,296.96
                                                                          55.88043%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35935     BONNIE JEAN VARNES                        Claim 002840a, Payment                              7100-000                                      $26.26       $2,977,270.70
                                                                          55.87234%
                                803 Wright Ave
                                Toledo, OH 43609
   08/27/14           35936     ARGO PARTNERS                             Claim 002841Aa, Payment                             7100-000                                  $2,064.79        $2,975,205.91
                                                                          55.88065%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35937     JEREMY BARTKOWICZ                         Claim 002842a, Payment                              7100-000                                  $1,666.92        $2,973,538.99
                                                                          55.88066%
                                3 Forest Hill Ln.
                                Swanville, MN 56382
   08/27/14           35938     REBEKAH DRONEBURG                         Claim 002843a, Payment                              7100-000                                     $671.68       $2,972,867.31
                                                                          55.88020%
                                PO Box 85
                                Rohrersville, MD 21779
   08/27/14           35939     ARGO PARTNERS                             Claim 002845a, Payment                              7100-000                                  $1,096.38        $2,971,770.93
                                                                          55.88073%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35940     HELEN MURALT                              Claim 002847a, Payment                              7100-000                                  $3,190.22        $2,968,580.71
                                                                          55.88054%
                                891 Larson Blvd
                                Belfair, WA 98528
   08/27/14           35941     ARGO PARTNERS                             Claim 002848a, Payment                              7100-000                                  $4,057.48        $2,964,523.23
                                                                          55.88046%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35942     ARGO PARTNERS                             Claim 002849a, Payment                              7100-000                                     $809.71       $2,963,713.52
                                                                          55.88061%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35943     ARGO PARTNERS                             Claim 002851a, Payment                              7100-000                                  $1,299.22        $2,962,414.30
                                                                          55.88043%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35944     JAMES DUBOIS                              Claim 002854a, Payment                              7100-000                                  $1,885.97        $2,960,528.33
                                15 Livingston Ln.Lumberton, NJ 08048      55.88059%
   08/27/14           35945     ARGO PARTNERS                             Claim 002855a, Payment                              7100-000                                     $980.14       $2,959,548.19
                                                                          55.88027%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35946     KENNETH MCFARLAND                         Claim 002856a, Payment                              7100-000                                     $345.90       $2,959,202.29
                                                                          55.88045%
                                579 Meadowlane Drive
                                Richmond Heights, OH 44143
   08/27/14           35947     MICHAEL BEDE                              Claim 002857a, Payment                              7100-000                                  $8,559.22        $2,950,643.07
                                                                          55.88052%
                                5342 Lenora Avenue
                                San Jose, CA 95124
   08/27/14           35948     ARGO PARTNERS                             Claim 002859a, Payment                              7100-000                                     $815.85       $2,949,827.22
                                                                          55.88014%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35949     LALA MAIGA                                Claim 002861Aa, Payment                             7100-000                                  $1,321.57        $2,948,505.65
                                                                          55.88034%
                                346 East 156th Street Apt. 11e
                                Bronx, NY 10451
   08/27/14           35950     ANITA TAYLOR                              Claim 002862a, Payment                              7100-000                                     $237.49       $2,948,268.16
                                                                          55.88000%
                                50 E 91st Street
                                Brooklyn, NY 11212
   08/27/14           35951     ROBERT FARMER                             Claim 002863a, Payment                              7100-000                                  $3,158.92        $2,945,109.24
                                                                          55.88042%
                                PO BOX 1500
                                Wheelwright, KY 41669



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35952     RYAN HAWKES                               Claim 002866a, Payment                              7100-000                                  $2,821.41        $2,942,287.83
                                                                          55.88057%
                                250 Sunset Villa Ln
                                O`Fallon, MO 63366
   08/27/14           35953     JERRY WICHROSKI                           Claim 002869Aa, Payment                             7100-000                                  $1,714.41        $2,940,573.42
                                                                          55.88038%
                                12107 Agana St.
                                Orlando, FL 32837
   08/27/14           35954     BRENDA DODGE                              Claim 002870a, Payment                              7100-004                                  $1,872.00        $2,938,701.42
                                                                          55.88060%
                                RR 1 Box 108
                                Amsterdam, MO 64723
   08/27/14           35955     EMIL ANGLERO                              Claim 002872a, Payment                              7100-000                                     $347.02       $2,938,354.40
                                                                          55.88084%
                                294 MILE SQUARE RD
                                YONKERS, NY 10701
   08/27/14           35956     DONALD PHILLIPS                           Claim 002874a, Payment                              7100-004                                     $322.43       $2,938,031.97
                                                                          55.88042%
                                11545 N FLW Boulevard, Apt. 1125
                                Scottsdale, AZ 85759
   08/27/14           35957     SHARON PINSON                             Claim 002875a, Payment                              7100-000                                  $1,312.63        $2,936,719.34
                                                                          55.88037%
                                575 Pinson Ln
                                El Dorado, AR 71730
   08/27/14           35958     TODD ERCANBRACK                           Claim 002876a, Payment                              7100-000                                  $2,322.95        $2,934,396.39
                                                                          55.88044%
                                8133 Thomasbrook Court
                                Magna, UT 84044
   08/27/14           35959     LOIS REEVES                               Claim 002879a, Payment                              7100-000                                  $5,650.53        $2,928,745.86
                                c/o Azar and Azar                         55.88056%
   08/27/14           35960     VICTORIA MANANGHAYA                       Claim 002887a, Payment                              7100-004                                  $2,743.73        $2,926,002.13
                                                                          55.88045%
                                9871 Central Avenue Apt 3
                                Garden Grove, CA 92844
   08/27/14           35961     ARGO PARTNERS                             Claim 002891a, Payment                              7100-000                                  $2,577.21        $2,923,424.92
                                                                          55.88053%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 621 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35962     ROGER GECK                                Claim 002892Aa, Payment                             7100-000                                  $1,451.22        $2,921,973.70
                                                                          55.88063%
                                PO BOX 231
                                Mapleton, ND 58059
   08/27/14           35963     ARGO PARTNERS                             Claim 002893a, Payment                              7100-000                                  $2,187.72        $2,919,785.98
                                                                          55.88046%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35964     DARRON MURRAY                             Claim 002894a, Payment                              7100-000                                     $755.50       $2,919,030.48
                                                                          55.88018%
                                919 Eastern Parkway Apt 2B
                                Brooklyn, NY 11213
   08/27/14           35965     ANDREW MARQUEZ                            Claim 002896a, Payment                              7100-000                                  $1,523.86        $2,917,506.62
                                                                          55.88045%
                                2999 Silverland Drive
                                San Jose, CA 95135-2023
   08/27/14           35966     LAWRENCE KYI                              Claim 002897a, Payment                              7100-000                                 $10,682.12        $2,906,824.50
                                                                          55.88052%
                                912 William Drive
                                San Lorenzo, CA 94580
   08/27/14           35967     ARMANDO CUERVO                            Claim 002898a, Payment                              7100-000                                  $2,282.72        $2,904,541.78
                                                                          55.88054%
                                11514 Falconhill Dr
                                Whittier, CA 90604
   08/27/14           35968     ARGO PARTNERS                             Claim 002900a, Payment                              7100-000                                  $2,651.53        $2,901,890.25
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35969     TOMASZ STANOWSKI                          Claim 002901Aa, Payment                             7100-000                                  $4,079.84        $2,897,810.41
                                                                          55.88056%
                                129 Madrid Way
                                Sonoma, CA 95476
   08/27/14           35970     KARL COFFIELD                             Claim 002903a, Payment                              7100-000                                     $319.64       $2,897,490.77
                                                                          55.88112%
                                6153 S Oakmont Drive
                                Chandler, AZ 85249
   08/27/14           35971     ARGO PARTNERS                             Claim 002904a, Payment                              7100-000                                  $1,496.48        $2,895,994.29
                                12 West 37th St., 9th FlNew York, NY      55.88051%
                                10018


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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $27,430.63
                                                                             Document          Page 622 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35972     ARGO PARTNERS                             Claim 002905a, Payment                              7100-000                                   $2,011.70       $2,893,982.59
                                                                          55.88056%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35973     HERBERT LARA                              Claim 002906a, Payment                              7100-000                                  $1,486.98        $2,892,495.61
                                                                          55.88050%
                                1632 12 Mohawk St
                                Los Angeles, CA 90026
   08/27/14           35974     LORRAINE FITZPATRICK                      Claim 002907a, Payment                              7100-000                                  $1,665.24        $2,890,830.37
                                                                          55.88054%
                                14230 Montclair Dr
                                Brooksville, FL 34613
   08/27/14           35975     ARLENE KAY OWNEY                          Claim 002910a, Payment                              7100-000                                      $13.97       $2,890,816.40
                                                                          55.88000%
                                1034 Perkins Lane
                                Elizabeth City, NC 27909
   08/27/14           35976     MELISSA HENDRIX-WARDO                     Claim 002912a, Payment                              7100-000                                     $455.42       $2,890,360.98
                                                                          55.87975%
                                156 Hickory Grove Road
                                Harmony, NC 28634
   08/27/14           35977     SHAUN LESLIE                              Claim 002914a, Payment                              7100-000                                  $1,430.54        $2,888,930.44
                                                                          55.88047%
                                6607 Snowhollow Drive
                                West Valley, UT 84128
   08/27/14           35978     JOSE ZAVALA                               Claim 002915a, Payment                              7100-000                                  $2,772.23        $2,886,158.21
                                                                          55.88047%
                                381 Monterey Road
                                S Pasadena, CA 91030
   08/27/14           35979     ARGO PARTNERS                             Claim 002918a, Payment                              7100-000                                  $1,731.18        $2,884,427.03
                                                                          55.88057%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35980     ROOSEVELT MYLES                         Claim 002919a, Payment                                7100-000                                  $4,979.51        $2,879,447.52
                                7L White Gate DriveWappingers Falls, NY 55.88048%
                                12590
   08/27/14           35981     BARBARA CARLSON                           Claim 002920a, Payment                              7100-000                                  $1,262.90        $2,878,184.62
                                                                          55.88053%
                                18087 Holly Ridge Drive
                                Hammond, LA 70403


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                                                                                                                                                     Desc Main         $17,809.67
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35982     PATRICIA PHILLIPS                         Claim 002921a, Payment                              7100-000                                  $1,245.58        $2,876,939.04
                                                                          55.88066%
                                170 Pleasant Street
                                Whitman, MA 02382
   08/27/14           35983     ARGO PARTNERS                             Claim 002923Aa, Payment                             7100-000                                  $1,244.46        $2,875,694.58
                                                                          55.88056%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35984     LIQUIDITY SOLUTIONS, INC.                 Claim 002924Aa, Payment                             7100-000                                     $534.22       $2,875,160.36
                                                                          55.88075%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           35985     ASSET RECOVERY MANAGEMENT,                Claim 002927a, Payment                              7100-000                                     $572.77       $2,874,587.59
                                LLC                                       55.88000%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           35986     JEFFREY BROCKLEHURST                      Claim 002929a, Payment                              7100-000                                  $3,386.92        $2,871,200.67
                                                                          55.88055%
                                1830 Colorado Avenue
                                Manville, NJ 08835
   08/27/14           35987     DENAE ENGLISH                             Claim 002930a, Payment                              7100-000                                  $1,131.58        $2,870,069.09
                                                                          55.88049%
                                5616 95th Street
                                Lubbock, TX 79424
   08/27/14           35988     ARGO PARTNERS                             Claim 002934a, Payment                              7100-000                                     $726.45       $2,869,342.64
                                12 West 37th St., 9th FlNew York, NY      55.88077%
                                10018
   08/27/14           35989     BANKRUPTCY ESTATE OF DAVID AND Claim 002938a, Payment                                         7100-000                                  $4,648.70        $2,864,693.94
                                CYNT                           55.88051%

                                CO LYNN MARTINEZ TRUSTEE
                                DIST COLO CASE NO 09-31863
                                1123 NO ELIZABETH ST
                                PUEBLO, CO 81003
   08/27/14           35990     JEREMY IWANOWSKI                          Claim 002940a, Payment                              7100-000                                     $237.49       $2,864,456.45
                                                                          55.88000%
                                3390 Rose Dr.
                                Nechanicsville, VA 23111


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 624 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           35991     MICHAEL ROWE                              Claim 002942a, Payment                              7100-000                                  $2,458.74        $2,861,997.71
                                                                          55.88045%
                                POB 8139
                                Covington, WA 98042
   08/27/14           35992     ARGO PARTNERS                             Claim 002947a, Payment                              7100-000                                     $207.32       $2,861,790.39
                                                                          55.88140%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35993     ARGO PARTNERS                             Claim 002949a, Payment                              7100-000                                     $716.94       $2,861,073.45
                                                                          55.87997%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35994     ARGO PARTNERS                             Claim 002952a, Payment                              7100-000                                  $2,239.13        $2,858,834.32
                                                                          55.88046%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           35995     ALICIA JORDAN                             Claim 002955a, Payment                              7100-000                                  $2,360.95        $2,856,473.37
                                                                          55.88047%
                                3221 Ozark Ave.
                                McAllen, TX 78504
   08/27/14           35996     JOHN WRIGHT                               Claim 002956a, Payment                              7100-004                                     $936.00       $2,855,537.37
                                                                          55.88060%
                                3625 Grady Smith Rd
                                Loganville, GA 30052
   08/27/14           35997     WILLIAM BUONO JR                          Claim 002958a, Payment                              7100-000                                  $2,529.71        $2,853,007.66
                                                                          55.88049%
                                PO BOX 1722
                                Latham, NY 12110
   08/27/14           35998     ARGO PARTNERS                             Claim 002960a, Payment                              7100-000                                  $4,705.70        $2,848,301.96
                                12 West 37th St., 9th Fl.New York, NY     55.88054%
                                10018
   08/27/14           35999     ROBERT GEHRINGER                          Claim 002962a, Payment                              7100-000                                     $111.76       $2,848,190.20
                                                                          55.88000%
                                267 N View Road
                                Fleetwood, PA 19522
   08/27/14           36000     ARGO PARTNERS                             Claim 002965a, Payment                              7100-000                                  $3,371.83        $2,844,818.37
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $19,638.08
                                                                             Document          Page 625 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36001     ARGO PARTNERS                             Claim 002966a, Payment                              7100-000                                     $939.35       $2,843,879.02
                                                                          55.88043%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36002     LIQUIDITY SOLUTIONS, INC.                 Claim 002970a, Payment                              7100-000                                  $5,064.45        $2,838,814.57
                                                                          55.88050%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36003     LARRY AND ROBIN FARRIS                    Claim 002972a, Payment                              7100-000                                  $2,464.33        $2,836,350.24
                                                                          55.88050%
                                PO Box 768
                                Okemah, OK 74859
   08/27/14           36004     LIQUIDITY SOLUTIONS, INC.                 Claim 002973a, Payment                              7100-000                                  $4,902.96        $2,831,447.28
                                                                          55.88056%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36005     NANCY SWETT                               Claim 002976a, Payment                              7100-000                                  $1,726.15        $2,829,721.13
                                                                          55.88054%
                                16700 Birngard Dr.
                                Detroit, MI 48205
   08/27/14           36006     ARGO PARTNERS                             Claim 002979a, Payment                              7100-000                                  $1,905.52        $2,827,815.61
                                                                          55.88035%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36007     DENISE BIRD                               Claim 002981a, Payment                              7100-000                                  $1,098.61        $2,826,717.00
                                                                          55.88047%
                                3397 Sterner Mill Rd
                                Quakertown, PA 18951
   08/27/14           36008     PATRICIA JORDAN                           Claim 002983a, Payment                              7100-000                                     $494.54       $2,826,222.46
                                                                          55.88023%
                                4968 State Route 150
                                Dillonvale, OH 43917
   08/27/14           36009     APRIL BROOKS                              Claim 002985a, Payment                              7100-000                                  $1,270.16        $2,824,952.30
                                                                          55.88033%
                                5803 Hemlock Ave Apt G-003
                                Gary, IN 46403




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                                                                             Document          Page 626 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36010     LIQUIDITY SOLUTIONS, INC.                 Claim 002987a, Payment                              7100-000                                     $380.55       $2,824,571.75
                                                                          55.88106%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36011     JIM NGUYEN                                Claim 002991a, Payment                              7100-000                                  $7,649.48        $2,816,922.27
                                                                          55.88049%
                                591 FRANKFURT AVE
                                W COVINA, CA 91792
   08/27/14           36012     LINDA GRISSETT                            Claim 002993a, Payment                              7100-000                                      $20.12       $2,816,902.15
                                                                          55.88889%
                                481 Eaton Sq. Apt. C
                                Jonesboro, GA 30236
   08/27/14           36013     ANNIE THACH                               Claim 002994a, Payment                              7100-004                                  $2,457.07        $2,814,445.08
                                                                          55.88060%
                                10013 East Skinner Street
                                Wichita, KS 67207
   08/27/14           36014     ARGO PARTNERS                             Claim 002995a, Payment                              7100-000                                     $756.06       $2,813,689.02
                                                                          55.88027%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36015     CHRISTINA NUNEZ                           Claim 002996a, Payment                              7100-000                                  $2,441.98        $2,811,247.04
                                                                          55.88055%
                                201 Coral View Street
                                Monteray Park, CA 91755
   08/27/14           36016     ARGO PARTNERS                             Claim 002998a, Payment                              7100-000                                  $6,165.30        $2,805,081.74
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36017     ARGO PARTNERS                             Claim 002999a, Payment                              7100-000                                     $583.39       $2,804,498.35
                                                                          55.88027%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36018     ARGO PARTNERS                             Claim 003001Aa, Payment                             7100-000                                     $487.84       $2,804,010.51
                                                                          55.88087%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $20,941.79
                                                                             Document          Page 627 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36019     ERIC WOODSON                              Claim 003002a, Payment                              7100-000                                  $5,122.56        $2,798,887.95
                                                                          55.88044%
                                3669 Forest Garden Ave
                                Gwynn Oak, MD 21207
   08/27/14           36020     NOELIA VILLANUEVA-MARTINEZ                Claim 003004a, Payment                              7100-000                                  $1,764.71        $2,797,123.24
                                                                          55.88062%
                                5543 Rockhampton Path
                                Clay, NY 13041
   08/27/14           36021     ARGO PARTNERS                             Claim 003005Aa, Payment                             7100-000                                  $4,030.66        $2,793,092.58
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36022     LIQUIDITY SOLUTIONS, INC.                 Claim 003007a, Payment                              7100-000                                  $7,426.52        $2,785,666.06
                                                                          55.88051%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36023     ARGO PARTNERS                             Claim 003010a, Payment                              7100-000                                   $2,011.69       $2,783,654.37
                                                                          55.88028%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36024     JENNIFER METHVIN                          Claim 003013a, Payment                              7100-000                                  $6,912.28        $2,776,742.09
                                                                          55.88047%
                                R R 2 Box 65A
                                Hooker, OK 73945
   08/27/14           36025     JANINE SYLSTRA                            Claim 003015a, Payment                              7100-000                                     $349.25       $2,776,392.84
                                                                          55.88000%
                                138 12 West Mariposa
                                San Clemente, CA 92672
   08/27/14           36026     LIQUIDITY SOLUTIONS, INC.                 Claim 003016a, Payment                              7100-000                                  $1,698.21        $2,774,694.63
                                                                          55.88055%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36027     ARGO PARTNERS                             Claim 003017a, Payment                              7100-000                                     $203.96       $2,774,490.67
                                                                          55.87945%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36028     DIXON BROWN                               Claim 003018a, Payment                              7100-000                                     $429.17       $2,774,061.50
                                                                          55.88151%
                                1335 Pullen Road
                                Sevierville, TN 37862
   08/27/14           36029     VICKI COLEMAN FKA HAMILTON                Claim 003019a, Payment                              7100-000                                     $621.39       $2,773,440.11
                                                                          55.88040%
                                3515 N Naylor Circle
                                Corpus Christi, TX 78408
   08/27/14           36030     AUGUSTINE ADEYEMI                         Claim 003021a, Payment                              7100-000                                  $3,478.00        $2,769,962.11
                                                                          55.88046%
                                199 Brookside Ave
                                Irvington, NJ 07111
   08/27/14           36031     ARGO PARTNERS                             Claim 003023a, Payment                              7100-000                                     $382.78       $2,769,579.33
                                                                          55.88029%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36032     LIQUIDITY SOLUTIONS, INC.                 Claim 003024a, Payment                              7100-000                                     $377.75       $2,769,201.58
                                                                          55.88018%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36033     EVERETT WARNER                            Claim 003025a, Payment                              7100-000                                  $1,440.04        $2,767,761.54
                                                                          55.88048%
                                6461 CENTENNIAL RD
                                BLACKSBURG, VA 24060
   08/27/14           36034     ARGO PARTNERS                             Claim 003026a, Payment                              7100-000                                     $282.20       $2,767,479.34
                                                                          55.88119%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36035     ARGO PARTNERS                             Claim 003029a, Payment                              7100-000                                  $2,130.17        $2,765,349.17
                                                                          55.88064%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36036     FRANCES MAJANE                            Claim 003030a, Payment                              7100-000                                     $815.30       $2,764,533.87
                                                                          55.88074%
                                6200 BLACK HORSE PIKE APT 104
                                EGG HARBOR TOWNSHIP, NJ 08234




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36037     TOM FROMHERZ                              Claim 003031a, Payment                              7100-000                                     $713.59       $2,763,820.28
                                                                          55.88019%
                                26481 Arboretum Way 2005
                                Murrieta, CA 92563-7208
   08/27/14           36038     LORENZO DE VEGA                           Claim 003033a, Payment                              7100-000                                  $1,609.92        $2,762,210.36
                                                                          55.88060%
                                2027 Universal Drive
                                Stockton, CA 95206
   08/27/14           36039     ARGO PARTNERS                             Claim 003034a, Payment                              7100-000                                  $2,973.40        $2,759,236.96
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36040     ARGO PARTNERS                             Claim 003036a, Payment                              7100-000                                     $629.77       $2,758,607.19
                                                                          55.88021%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36041     VERN BOLES                                Claim 003038a, Payment                              7100-000                                  $1,218.75        $2,757,388.44
                                                                          55.88033%
                                PO BOX 971
                                Yemassee, SC 29945
   08/27/14           36042     DONNA HICKS                               Claim 003039Aa, Payment                             7100-000                                     $255.93       $2,757,132.51
                                                                          55.87991%
                                223 Thomas Place
                                Arena, WI 53503
   08/27/14           36043     STERLING PLACE LLC                        Claim 003041, Payment                               7100-000                                  $5,244.79        $2,751,887.72
                                                                          55.88053%
                                CO JOAN J SURLES
                                3140 ZELDA CT
                                MONTGOMERY, AL 36106
   08/27/14           36044     KEYLA LATINO                              Claim 003042a, Payment                              7100-000                                  $1,081.29        $2,750,806.43
                                                                          55.88062%
                                308 Kettering Rd
                                Deltona, FL 32725
   08/27/14           36045     THERON BROWN                              Claim 003044a, Payment                              7100-000                                   $1,611.03       $2,749,195.40
                                                                          55.88033%
                                1620 NW 4th Ave Apt 13A
                                Miami, FL 33136




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                                                                             Document          Page 630 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36046     RICHARD MONTOYA                           Claim 003045a, Payment                              7100-000                                  $2,977.88        $2,746,217.52
                                                                          55.88065%
                                518 Spring Creek Parkway
                                Spring Creek, NV 89815
   08/27/14           36047     SARAH ELLISTON                            Claim 003046a, Payment                              7100-000                                  $2,897.40        $2,743,320.12
                                                                          55.88042%
                                29 W 64th St. Apt 6B
                                New York, NY 10023-6724
   08/27/14           36048     LINDY ANN CALLOW                          Claim 003047a, Payment                              7100-000                                     $586.19       $2,742,733.93
                                                                          55.88084%
                                18.5 SOUTH ST
                                10
                                LEBANON, NH 03766
   08/27/14           36049     ARGO PARTNERS                             Claim 003048Aa, Payment                             7100-000                                     $679.51       $2,742,054.42
                                                                          55.88076%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36050     JOSEPH CROWLEY                            Claim 003049a, Payment                              7100-000                                  $1,855.23        $2,740,199.19
                                                                          55.88042%
                                408 Aurora Blvd
                                Matthews, NC 28105
   08/27/14           36051     NORMA JO HARDER                           Claim 003051a, Payment                              7100-000                                  $6,599.49        $2,733,599.70
                                                                          55.88052%
                                221 Pinecove Dr
                                Inman, SC 29349
   08/27/14           36052     ROBERT MCDOUGALL                          Claim 003053a, Payment                              7100-000                                  $3,282.98        $2,730,316.72
                                                                          55.88051%
                                20 Matthew Avenue
                                Carteret, NJ 07008
   08/27/14           36053     JAMES BETZ                                Claim 003056a, Payment                              7100-000                                  $1,916.14        $2,728,400.58
                                                                          55.88043%
                                c/o Alan Treinish
                                1370 Ontario St. Ste. 700
                                Cleveland, OH 44113
   08/27/14           36054     SECOND CHANCE CREDIT                      Claim 003057a, Payment                              7100-000                                  $2,393.36        $2,726,007.22
                                OPPORTUNITIES,                            55.88046%

                                P.O. Box 240067
                                Montgomery, AL 36124


                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $23,188.18
                                                                             Document          Page 631 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36055     GLENDA MATT                               Claim 003059Aa, Payment                             7100-000                                  $1,290.84        $2,724,716.38
                                                                          55.88052%
                                7380 SW 130th Street
                                Miami, FL 33156
   08/27/14           36056     ABDUL ALHASSAN                            Claim 003060a, Payment                              7100-004                                  $2,026.79        $2,722,689.59
                                                                          55.88062%
                                16000 Sherman Way 232
                                Van Nuys, CA 91406
   08/27/14           36057     JENNIFER SAITTA                           Claim 003061a, Payment                              7100-000                                  $2,279.92        $2,720,409.67
                                                                          55.88039%
                                15805 NW 16th Court
                                Pembroke Pines, FL 33028
   08/27/14           36058     LAURA PEASLEE                             Claim 003062a, Payment                              7100-000                                  $1,134.93        $2,719,274.74
                                                                          55.88035%
                                PO BOX 1442
                                CHARLESTOWN, NH 03603
   08/27/14           36059     GENNARO INGENITO                          Claim 003063a, Payment                              7100-000                                  $3,488.62        $2,715,786.12
                                                                          55.88051%
                                25 Birch Road
                                Pompton Plains, NJ 07444
   08/27/14           36060     ARGO PARTNERS                             Claim 003064Aa, Payment                             7100-000                                  $1,343.93        $2,714,442.19
                                                                          55.88067%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36061     ROBERT EUSTACE                            Claim 003065a, Payment                              7100-000                                     $600.72       $2,713,841.47
                                                                          55.88093%
                                PO BOX 1289
                                MEADVILLE, PA 16335
   08/27/14           36062     JENNIFER WAKEFIELD                        Claim 003066a, Payment                              7100-000                                  $1,031.00        $2,712,810.47
                                                                          55.88076%
                                402 East Liberty St
                                Girard, OH 44420
   08/27/14           36063     TANIA B GARCIA                            Claim 003067Aa, Payment                             7100-000                                     $981.82       $2,711,828.65
                                                                          55.88048%
                                401 E Knott Ave Apt 3E
                                Anaheim, CA 92804




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $14,178.57
                                                                             Document          Page 632 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36064     ARGO PARTNERS                             Claim 003071a, Payment                              7100-000                                     $265.43       $2,711,563.22
                                                                          55.88000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36065     ROCIO I PEREZ                             Claim 003079a, Payment                              7100-000                                     $544.83       $2,711,018.39
                                                                          55.88000%
                                67 Mary Street
                                Bordentown, NJ 08505
   08/27/14           36066     MARK A REID                               Claim 003080a, Payment                              7100-004                                  $3,246.66        $2,707,771.73
                                                                          55.88055%
                                150 Secatogue Avenue Apt. 6A
                                Farmingdale, NY 11735
   08/27/14           36067     ARGO PARTNERS                             Claim 003083a, Payment                              7100-000                                     $328.02       $2,707,443.71
                                                                          55.88075%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36068     SAMUEL CHO                                Claim 003086a, Payment                              7100-000                                     $746.00       $2,706,697.71
                                                                          55.88015%
                                2227 Valley Creek East Lane
                                Indianapolis, IN 46229
   08/27/14           36069     EDWARD ARMENDARIZ                         Claim 003087a, Payment                              7100-000                                  $5,243.83        $2,701,453.88
                                                                          55.88054%
                                10214 Cades Creek Court
                                Houston, TX 77089
   08/27/14           36070     STEVEN HOYT                               Claim 003088Aa, Payment                             7100-000                                  $6,473.76        $2,694,980.12
                                                                          55.88054%
                                120 Turner Street
                                Bethlehem, NH 03574
   08/27/14           36071     MELANIE GEHRMAN                           Claim 003089a, Payment                              7100-000                                  $2,437.50        $2,692,542.62
                                                                          55.88033%
                                382 75th St.
                                Clear Lake, WI 54005
   08/27/14           36072     JAMES AGAR                                Claim 003092a, Payment                              7100-000                                     $359.31       $2,692,183.31
                                                                          55.88025%
                                714 Park Avenue
                                Martinsville, WV 26155




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $19,645.34
                                                                             Document          Page 633 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           36073     JUDITH DALTON-NAZARIO                     Claim 003094a, Payment                              7100-000                                  $5,290.21       $2,686,893.10
                                                                          55.88053%
                                2377 Samia Drive
                                Duluth, GA 30096
   08/27/14           36074     ARGO PARTNERS                             Claim 003095a, Payment                              7100-000                                  $1,426.63       $2,685,466.47
                                                                          55.88053%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36075     TIMOTHY TETER                             Claim 003096a, Payment                              7100-000                                  $1,176.84       $2,684,289.63
                                                                          55.88034%
                                782 Allen Hill Road
                                Shanks, WV 26761
   08/27/14           36076     ARGO PARTNERS                             Claim 003097a, Payment                              7100-000                                  $6,764.89       $2,677,524.74
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36077     LUCY CLARK                                Claim 003098a, Payment                              7100-000                                  $7,760.13       $2,669,764.61
                                                                          55.88054%
                                203 Clearwater Rd
                                Landrum, SC 29356
   08/27/14           36078     LISA FISH                                 Claim 003100a, Payment                              7100-000                                  $2,306.75       $2,667,457.86
                                                                          55.88057%
                                137 Village Way
                                Lawrenceville, GA 30046
   08/27/14           36079     TRAVIS RIFENBURG                          Claim 003102Aa, Payment                             7100-000                                  $1,578.62       $2,665,879.24
                                                                          55.88035%
                                506 REDBIRD ST
                                LYNN HAVEN, FL 32444
   08/27/14           36080     ARGO PARTNERS                             Claim 003103a, Payment                              7100-000                                  $3,916.66       $2,661,962.58
                                                                          55.88044%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36081     MARILYN DILWORTH                          Claim 003104a, Payment                              7100-000                                  $2,584.47       $2,659,378.11
                                                                          55.88043%
                                2521 46th Ave West
                                Bradenton, FL 34207




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 634 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36082     ROBERT WAUDBY                             Claim 003105Aa, Payment                             7100-000                                  $2,089.93        $2,657,288.18
                                                                          55.88048%
                                1003 French Scout Ct
                                Indian Trail, NC 28079
   08/27/14           36083     ROGELIO VILLAR                            Claim 003108a, Payment                              7100-000                                  $1,648.48        $2,655,639.70
                                                                          55.88068%
                                6602 Thalia Way
                                Citrus Heights, CA 95621
   08/27/14           36084     ARGO PARTNERS                             Claim 003109a, Payment                              7100-000                                     $752.71       $2,654,886.99
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36085     KATHY M DEARMAN                           Claim 003111a, Payment                              7100-000                                  $2,333.01        $2,652,553.98
                                                                          55.88048%
                                208 Eastwood Dr
                                Salisbury, NC 28146
   08/27/14           36086     SUSAN SANTORO                             Claim 003112a, Payment                              7100-000                                     $291.14       $2,652,262.84
                                                                          55.88100%
                                88-46 75th Avenue
                                Glendale, NY 11385
   08/27/14           36087     JAMES HOLCOMB                             Claim 003116a, Payment                              7100-000                                  $3,324.89        $2,648,937.95
                                                                          55.88050%
                                PO BOX 301
                                Craigsville, WV 26205
   08/27/14           36088     ARGO PARTNERS                             Claim 003117a, Payment                              7100-000                                  $1,181.87        $2,647,756.08
                                                                          55.88038%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36089     LIQUIDITY SOLUTIONS, INC.                 Claim 003119a, Payment                              7100-000                                  $2,151.96        $2,645,604.12
                                                                          55.88055%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36090     JOHN DIAZ                                 Claim 003122a, Payment                              7100-000                                  $3,274.60        $2,642,329.52
                                                                          55.88055%
                                1132 Lemans Terrace
                                Sunnyvale, CA 94089




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 635 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36091     MICHAEL STOVER                            Claim 003123a, Payment                              7100-000                                  $7,499.72        $2,634,829.80
                                                                          55.88049%
                                5040 Highland Meadows Drive
                                Hilliard, OH 43026
   08/27/14           36092     ARGO PARTNERS                             Claim 003124a, Payment                              7100-000                                     $421.90       $2,634,407.90
                                                                          55.88079%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36093     KARIN EDENMARK AND JOSE                   Claim 003125a, Payment                              7100-004                                  $2,756.03        $2,631,651.87
                                SANCHEZKARI                               55.88058%

                                2607 LINCOLN ST
                                HOLLYWOOD, FL 33020
   08/27/14           36094     ASSET RECOVERY MANAGEMENT,                Claim 003126a, Payment                              7100-000                                  $3,698.17        $2,627,953.70
                                LLC                                       55.88048%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           36095     ARGO PARTNERS                             Claim 003127a, Payment                              7100-000                                     $729.80       $2,627,223.90
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36096     ARGO PARTNERS                             Claim 003129a, Payment                              7100-000                                     $563.28       $2,626,660.62
                                                                          55.88095%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36097     STEVE DANG                                Claim 003131a, Payment                              7100-000                                  $5,846.77        $2,620,813.85
                                                                          55.88044%
                                3638 Sandpiper Way
                                Brea, CA 92823
   08/27/14           36098     ARGO PARTNERS                             Claim 003133a, Payment                              7100-000                                     $568.86       $2,620,244.99
                                                                          55.88016%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36099     ARGO PARTNERS                             Claim 003138a, Payment                              7100-000                                  $5,825.54        $2,614,419.45
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 636 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36100     DAVID REDGER                              Claim 003140a, Payment                              7100-000                                  $3,556.79        $2,610,862.66
                                                                          55.88044%
                                1381 Oakmont Street
                                McPherson, KS 67460
   08/27/14           36101     ARGO PARTNERS                             Claim 003143a, Payment                              7100-000                                  $5,282.39        $2,605,580.27
                                                                          55.88057%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36102     ARGO PARTNERS                             Claim 003144a, Payment                              7100-000                                  $3,732.82        $2,601,847.45
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36103     LIZBETH HANNA                             Claim 003145a, Payment                              7100-000                                      $75.44       $2,601,772.01
                                                                          55.88148%
                                2255 Cedar Forks Dr
                                Marietta, GA 30062
   08/27/14           36104     ARGO PARTNERS                             Claim 003146a, Payment                              7100-000                                     $110.64       $2,601,661.37
                                                                          55.87879%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36105     LORY CUNANAN                              Claim 003147a, Payment                              7100-000                                  $2,508.48        $2,599,152.89
                                                                          55.88060%
                                28815 Sandcreek Drive
                                Hayward, CA 94545
   08/27/14           36106     ARGO PARTNERS                             Claim 003150a, Payment                              7100-000                                     $244.76       $2,598,908.13
                                                                          55.88128%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36107     LIQUIDITY SOLUTIONS, INC.                 Claim 003155a, Payment                              7100-000                                     $480.57       $2,598,427.56
                                                                          55.88023%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36108     DOUGLAS OMLI                              Claim 003156a, Payment                              7100-000                                  $1,179.08        $2,597,248.48
                                                                          55.88057%
                                1409 Santolina Lane
                                Lewisville, NC 27023




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36109     NANCY HANCOCK                             Claim 003157a, Payment                              7100-000                                  $2,200.01        $2,595,048.47
                                                                          55.88037%
                                132 Gary Brewer Road
                                Cobb, GA 31735
   08/27/14           36110     ARGO PARTNERS                             Claim 003159a, Payment                              7100-000                                     $195.58       $2,594,852.89
                                                                          55.88000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36111     KIM HARDIN                                Claim 003160a, Payment                              7100-000                                  $1,721.68        $2,593,131.21
                                                                          55.88056%
                                2139 Sugartree Drive
                                Pittsburgh, CA 94565
   08/27/14           36112     ARGO PARTNERS                             Claim 003163a, Payment                              7100-000                                  $5,072.83        $2,588,058.38
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36113     NICOLAS MALIC                             Claim 003164a, Payment                              7100-000                                     $280.52       $2,587,777.86
                                                                          55.88048%
                                13819 TRENTON OVAL
                                STRONGSVILLE, OH 44136
   08/27/14           36114     ARGO PARTNERS                             Claim 003165a, Payment                              7100-000                                  $4,723.02        $2,583,054.84
                                                                          55.88050%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36115     ROBERT TIPAN                              Claim 003167a, Payment                              7100-000                                  $1,844.62        $2,581,210.22
                                                                          55.88064%
                                3 Butterfly Lane
                                Freehold, NJ 07728
   08/27/14           36116     KRISTY VERMILYEA                          Claim 003168a, Payment                              7100-000                                  $1,466.30        $2,579,743.92
                                                                          55.88034%
                                202A Colesville Road
                                Binghamton, NY 13904
   08/27/14           36117     ARGO PARTNERS                             Claim 003170a, Payment                              7100-000                                  $4,596.17        $2,575,147.75
                                12 West 37th St., 9th Fl.New York, NY     55.88049%
                                10018
   08/27/14           36118     ARGO PARTNERS                             Claim 003171a, Payment                              7100-000                                  $3,584.18        $2,571,563.57
                                12 West 37th Street, 9th FloorNew York,   55.88057%
                                NY 10018



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36119     ARGO PARTNERS                             Claim 003172a, Payment                              7100-000                                  $3,439.44        $2,568,124.13
                                                                          55.88042%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36120     GABRIEL AND MAYRA ORTEGA                  Claim 003173a, Payment                              7100-000                                  $2,994.08        $2,565,130.05
                                                                          55.88055%
                                12715 GOLDEN LEAF DR
                                RANCHO CUCAMONGA, CA 91739
   08/27/14           36121     ARGO PARTNERS                             Claim 003174a, Payment                              7100-000                                  $4,490.00        $2,560,640.05
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36122     DALE SMITH                                Claim 003175a, Payment                              7100-000                                  $7,989.24        $2,552,650.81
                                                                          55.88053%
                                PO Box 128
                                Marion, IA 52302-0128
   08/27/14           36123     KERRY BELLEROSE                           Claim 003176a, Payment                              7100-000                                     $937.67       $2,551,713.14
                                                                          55.88021%
                                3320 Auburn Way South Apt. 11C
                                Auburn, WA 98092
   08/27/14           36124     JENNIFER PROCTOR                          Claim 003178Aa, Payment                             7100-000                                  $9,941.70        $2,541,771.44
                                                                          55.88050%
                                304 Yost Farm Road
                                Salisbury, NC 28146
   08/27/14           36125     CARA MURRAY                               Claim 003179a, Payment                              7100-000                                  $1,713.85        $2,540,057.59
                                                                          55.88034%
                                1 Spring St
                                North Providence, RI 02904
   08/27/14           36126     KHASRU CHOWDHURY                          Claim 003180a, Payment                              7100-000                                  $1,837.91        $2,538,219.68
                                                                          55.88051%
                                2354 S. Cannon Dr. Apt. 202
                                Mount Prospect, IL 60056
   08/27/14           36127     ARGO PARTNERS                             Claim 003181a, Payment                              7100-000                                     $936.00       $2,537,283.68
                                                                          55.88060%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36128     LIQUIDITY SOLUTIONS, INC.                 Claim 003182a, Payment                              7100-000                                  $1,019.82        $2,536,263.86
                                                                          55.88055%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36129     JOEL PINTER                               Claim 003183a, Payment                              7100-000                                  $1,726.15        $2,534,537.71
                                                                          55.88054%
                                1542 Woodruff Way
                                Hartford, WI 53027
   08/27/14           36130     MICHAEL MCCARTHY                          Claim 003184Aa, Payment                             7100-000                                  $2,062.13        $2,532,475.58
                                                                          55.88050%
                                80 W. Main St. UPPR
                                Macedon, NY 14502
   08/27/14           36131     CHAD SUMAN                                Claim 003186a, Payment                              7100-000                                  $1,806.62        $2,530,668.96
                                                                          55.88061%
                                10 Shrokman Road
                                Shelocta, PA 15774
   08/27/14           36132     JULIE EHRENTRAUT                          Claim 003188a, Payment                              7100-000                                  $1,936.26        $2,528,732.70
                                                                          55.88052%
                                199 W Groton Rd
                                Locke, NY 13092
   08/27/14           36133     EDWARD LAMONTAGNE                         Claim 003189a, Payment                              7100-000                                     $692.92       $2,528,039.78
                                                                          55.88065%
                                163 Middle Road
                                Preston, CT 06365
   08/27/14           36134     KARINA HERNANDEZ                          Claim 003190a, Payment                              7100-000                                  $1,019.82        $2,527,019.96
                                                                          55.88055%
                                91-17 218 PLACE
                                QUEENS VILLAGE, NY 11428
   08/27/14           36135     JEAN LEGENTUS                             Claim 003191a, Payment                              7100-000                                     $297.84       $2,526,722.12
                                                                          55.87992%
                                3253 SE Quay Streeet
                                Port Saint Lucie, FL 34984
   08/27/14           36136     NOLAN MARRERO                             Claim 003192a, Payment                              7100-000                                  $1,813.32        $2,524,908.80
                                                                          55.88043%
                                5828 Akron Street
                                Philadelphia, PA 19149
   08/27/14           36137     ARGO PARTNERS                             Claim 003194a, Payment                              7100-000                                     $611.33       $2,524,297.47
                                12 West 37th St., 9th FlNew York, Ny      55.88026%
                                10018


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $12,986.21
                                                                             Document          Page 640 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36138     RUBEN ANGUIANO                            Claim 003195a, Payment                              7100-000                                  $1,838.47        $2,522,459.00
                                                                          55.88055%
                                31121 Avenida Valdez
                                Cathedral City, CA 92234
   08/27/14           36139     JOHN ENNIS                                Claim 003196a, Payment                              7100-000                                     $611.33       $2,521,847.67
                                                                          55.88026%
                                2633 Oakdale Road
                                Dublin, GA 31021
   08/27/14           36140     LAUREN LACKEY                             Claim 003198a, Payment                              7100-000                                     $684.54       $2,521,163.13
                                                                          55.88082%
                                914 Prior Station Rd
                                Cedartown, GA 30125
   08/27/14           36141     ARGO PARTNERS                             Claim 003199a, Payment                              7100-000                                  $6,035.65        $2,515,127.48
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36142     ARGO PARTNERS                             Claim 003200A, Payment                              7100-000                                  $1,128.23        $2,513,999.25
                                                                          55.88063%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36143     ARGO PARTNERS                             Claim 003201a, Payment                              7100-000                                     $604.63       $2,513,394.62
                                                                          55.88078%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36144     LIQUIDITY SOLUTIONS, INC.                 Claim 003202a, Payment                              7100-000                                     $216.82       $2,513,177.80
                                                                          55.88144%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36145     ARGO PARTNERS                             Claim 003204Aa, Payment                             7100-000                                  $6,834.19        $2,506,343.61
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36146     JOSEPH JURCZAK                            Claim 003208a, Payment                              7100-000                                  $2,654.32        $2,503,689.29
                                                                          55.88042%
                                2447 Straight Road
                                Forestville, NY 14062




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 641 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36147     BEN BUSQUE                                Claim 003212a, Payment                              7100-000                                  $2,394.48        $2,501,294.81
                                                                          55.88051%
                                BOX 9121
                                CANOGA PARK, CA 91309
   08/27/14           36148     ARGO PARTNERS                             Claim 003213a, Payment                              7100-000                                  $5,137.09        $2,496,157.72
                                12 West 37th St., 9th Fl.New York, NY     55.88045%
   08/27/14           36149     DEBORAH ROBINSON                          Claim 003214a, Payment                              7100-000                                     $673.36       $2,495,484.36
                                                                          55.88050%
                                110 Midwood Ave.
                                Nesconset, NY 11767
   08/27/14           36150     MICHAEL SMITH                             Claim 003215a, Payment                              7100-000                                     $714.15       $2,494,770.21
                                                                          55.88028%
                                622 Belle Dora CRT
                                Arnold, MD 21012
   08/27/14           36151     ARGO PARTNERS                             Claim 003216a, Payment                              7100-000                                  $3,522.71        $2,491,247.50
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36152     GASTON ANDRES MONTES                      Claim 003217a, Payment                              7100-000                                     $563.28       $2,490,684.22
                                                                          55.88095%
                                ADAM FOX
                                BROWN FOX PLLC
                                750 N. Saint Paul St. Ste. 1320
                                Dallas, TX 75201
   08/27/14           36153     ARGO PARTNERS                             Claim 003218a, Payment                              7100-000                                     $989.64       $2,489,694.58
                                                                          55.88029%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36154     WALTER DYLENSKI                           Claim 003221a, Payment                              7100-000                                     $619.71       $2,489,074.87
                                                                          55.88007%
                                3521 W. Fuson Rd.
                                Muncie, IN 47302-9408
   08/27/14           36155     ALICIA SPARKS                             Claim 003223a, Payment                              7100-000                                     $200.61       $2,488,874.26
                                                                          55.88022%
                                510 N 7th Street
                                Millville, NJ 08332




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                                                                             Document          Page 642 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36156     ARGO PARTNERS                             Claim 003225a, Payment                              7100-000                                  $3,474.65        $2,485,399.61
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36157     BRENDALYN CROOM                           Claim 003227a, Payment                              7100-000                                     $798.53       $2,484,601.08
                                                                          55.88034%
                                4511 E 126th Street
                                Garfield Heights, OH 44105
   08/27/14           36158     ARGO PARTNERS                             Claim 003229a, Payment                              7100-000                                  $6,066.39        $2,478,534.69
                                                                          55.88053%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36159     ARGO PARTNERS                             Claim 003231a, Payment                              7100-000                                  $5,710.99        $2,472,823.70
                                                                          55.88053%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36160     ARGO PARTNERS                             Claim 003232A, Payment                              7100-000                                  $3,576.35        $2,469,247.35
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36161     ARGO PARTNERS                             Claim 003233a, Payment                              7100-000                                  $2,805.20        $2,466,442.15
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36162     SECOND CHANCE CREDIT                      Claim 003235a, Payment                              7100-000                                     $351.49       $2,466,090.66
                                OPPORTUNITIES,                            55.88076%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           36163     LEROY COLE                                Claim 003237a, Payment                              7100-000                                  $6,386.58        $2,459,704.08
                                                                          55.88048%
                                3116 Sherman Island Rd
                                West Sacramento, CA 95691
   08/27/14           36164     ARGO PARTNERS                             Claim 003238a, Payment                              7100-000                                     $364.34       $2,459,339.74
                                                                          55.88037%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                             Document          Page 643 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36165     BRUCE BULLAMORE                           Claim 003241Aa, Payment                             7100-000                                  $2,656.00        $2,456,683.74
                                                                          55.88050%
                                35 North Trail
                                Edgewood, NM 87015
   08/27/14           36166     ARGO PARTNERS                             Claim 003243a, Payment                              7100-000                                  $1,812.48        $2,454,871.26
                                                                          55.88038%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36167     ASSET RECOVERY MANAGEMENT,                Claim 003244a, Payment                              7100-000                                  $2,808.00        $2,452,063.26
                                LLC                                       55.88060%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           36168     LAWRENCE MOTEN                            Claim 003245a, Payment                              7100-000                                     $149.20       $2,451,914.06
                                                                          55.88015%
                                PO Box 1970
                                Blaine, WA 98231
   08/27/14           36169     JEFFREY L AND DEBRA M REPKA               Claim 003246a, Payment                              7100-000                                     $530.31       $2,451,383.75
                                                                          55.88093%
                                64 Christina Ave.
                                Smithfield, NC 27577
   08/27/14           36170     ARGO PARTNERS                             Claim 003247a, Payment                              7100-000                                  $3,708.79        $2,447,674.96
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36171     STEPHANIE FISH                            Claim 003252a, Payment                              7100-000                                   $3,037.11       $2,444,637.85
                                                                          55.88059%
                                5464 Windflower Drive
                                Livermore, CA 94551
   08/27/14           36172     HARMONY MASON                             Claim 003257Aa, Payment                             7100-000                                  $1,706.03        $2,442,931.82
                                                                          55.88045%
                                285 River Rd
                                Claremont, NH 03743
   08/27/14           36173     ARGO PARTNERS                             Claim 003260a, Payment                              7100-000                                     $358.75       $2,442,573.07
                                                                          55.88006%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                             Document          Page 644 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36174     CARMEN HEREDIA                            Claim 003261Aa, Payment                             7100-000                                     $254.26       $2,442,318.81
                                                                          55.88132%
                                617 East 22nd Street
                                Erie, PA 16503
   08/27/14           36175     LIQUIDITY SOLUTIONS, INC.                 Claim 003263a, Payment                              7100-000                                  $3,195.25        $2,439,123.56
                                                                          55.88055%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36176     MARIA TOLEDO                              Claim 003264a, Payment                              7100-000                                      $84.94       $2,439,038.62
                                                                          55.88158%
                                PO Box 7249
                                Pheonix, AZ 85011
   08/27/14           36177     LIQUIDITY SOLUTIONS, INC.                 Claim 003267a, Payment                              7100-000                                  $2,310.65        $2,436,727.97
                                                                          55.88029%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36178     ARGO PARTNERS                             Claim 003268a, Payment                              7100-000                                     $810.27       $2,435,917.70
                                                                          55.88069%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36179     ARGO PARTNERS                             Claim 003273a, Payment                              7100-000                                  $5,054.39        $2,430,863.31
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36180     SAK SAWANGJAI                             Claim 003279a, Payment                              7100-004                                  $3,639.50        $2,427,223.81
                                                                          55.88055%
                                1203 PARK AVE
                                BRIDGEPORT, CT 06604
   08/27/14           36181     SCOTT NOE                                 Claim 003281AA, Payment                             7100-000                                  $1,729.50        $2,425,494.31
                                PO Box 1158Oshcosh, WI 54904              55.88045%
   08/27/14           36182     CHARIS MAGALI                             Claim 003284a, Payment                              7100-000                                     $791.83       $2,424,702.48
                                4005 StarwayStockton, CA 95206            55.88073%
   08/27/14           36183     LIQUIDITY SOLUTIONS, INC.                 Claim 003285a, Payment                              7100-000                                     $740.41       $2,423,962.07
                                                                          55.88000%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36184     BETTY JACKSON                             Claim 003286a, Payment                              7100-000                                  $2,015.61        $2,421,946.46
                                                                          55.88051%
                                1206 Angiers Drive
                                Dayton, OH 45417
   08/27/14           36185     TARA WASHINGTON                           Claim 003288Aa, Payment                             7100-000                                  $1,212.05        $2,420,734.41
                                                                          55.88059%
                                18332 Williams Rd
                                Triangle, VA 22172
   08/27/14           36186     ARGO PARTNERS                             Claim 003289a, Payment                              7100-000                                     $132.44       $2,420,601.97
                                                                          55.88186%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36187     ANDERSON CLAYTON                          Claim 003290a, Payment                              7100-000                                      $34.09       $2,420,567.88
                                                                          55.88525%
                                2005 Young Farm Place
                                Montgomery, AL 36106
   08/27/14           36188     ARGO PARTNERS                             Claim 003295a, Payment                              7100-000                                  $4,509.55        $2,416,058.33
                                                                          55.88042%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36189     MILDRED CASTILLO                          Claim 003296a, Payment                              7100-000                                  $2,854.38        $2,413,203.95
                                                                          55.88058%
                                1939 Batchelder Street
                                Brooklyn, NY 11229
   08/27/14           36190     FRANK MANALO                              Claim 003301a, Payment                              7100-000                                  $5,942.33        $2,407,261.62
                                                                          55.88048%
                                11 Ontario Way
                                Lawrenceville, NJ 08648
   08/27/14           36191     ARGO PARTNERS                             Claim 003307a, Payment                              7100-000                                     $483.93       $2,406,777.69
                                                                          55.88106%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36192     REBECCA MOODY                             Claim 003309a, Payment                              7100-000                                  $4,567.67        $2,402,210.02
                                                                          55.88047%
                                5761 North 96th Street
                                Milwaukee, WI 53225




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36193     BARBARA WORSTER                           Claim 003317Aa, Payment                             7100-000                                  $1,299.22        $2,400,910.80
                                                                          55.88043%
                                16 Marietta Dr
                                Apt 7
                                Lincoln, ME 04457
   08/27/14           36194     ASSET RECOVERY MANAGEMENT,                Claim 003319Aa, Payment                             7100-000                                  $1,209.81        $2,399,700.99
                                LLC                                       55.88037%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           36195     JACQUELINE OYOLA                          Claim 003322a, Payment                              7100-004                                     $684.54       $2,399,016.45
                                                                          55.88082%
                                2733 Morris Ave Apt 5G
                                Bronx, NY 10468
   08/27/14           36196     ARGO PARTNERS                             Claim 003323a, Payment                              7100-000                                  $2,032.93        $2,396,983.52
                                                                          55.88043%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36197     ARGO PARTNERS                             Claim 003324a, Payment                              7100-000                                  $3,478.56        $2,393,504.96
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36198     LOEKI LAKSMANA                            Claim 003325a, Payment                              7100-000                                     $142.50       $2,393,362.46
                                                                          55.88235%
                                208 6th Ave
                                Lenoir, TN 37771
   08/27/14           36199     ARGO PARTNERS                             Claim 003326a, Payment                              7100-000                                     $740.41       $2,392,622.05
                                                                          55.88000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36200     ARGO PARTNERS                             Claim 003328a, Payment                              7100-000                                      $54.20       $2,392,567.85
                                                                          55.87629%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36201     JULIE KOELSCH                             Claim 003331a, Payment                              7100-000                                  $5,249.41        $2,387,318.44
                                                                          55.88046%
                                39 CORTLAND ST
                                NORWALK, OH 44857



                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $14,891.58
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36202     JEANNIE MARS                              Claim 003334a, Payment                              7100-000                                     $377.20       $2,386,941.24
                                                                          55.88148%
                                336 Elm Street
                                Geneva, OH 44041
   08/27/14           36203     DEBORAH PISCITELLI                        Claim 003336a, Payment                              7100-000                                     $785.12       $2,386,156.12
                                                                          55.88043%
                                60 Blakeslee Road
                                Wallingford, CT 06492
   08/27/14           36204     ARGO PARTNERS                             Claim 003338a, Payment                              7100-000                                  $1,229.37        $2,384,926.75
                                                                          55.88045%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36205     ARGO PARTNERS                             Claim 003342a, Payment                              7100-000                                  $1,578.62        $2,383,348.13
                                                                          55.88035%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36206     KATHLEEN MURPHY                           Claim 003344a, Payment                              7100-000                                  $1,090.79        $2,382,257.34
                                9821 Woodwind Dr.Houston, TX 77025        55.88064%
   08/27/14           36207     DANIEL YOUNG                              Claim 003345, Payment                               7100-000                                  $1,452.89        $2,380,804.45
                                                                          55.88038%
                                14506 West 90th Terrace
                                Lenexa, KS 66215
   08/27/14           36208     DANIEL YOUNG                              Claim 003345a, Payment                              7100-000                                     $876.21       $2,379,928.24
                                                                          55.88074%
                                14506 West 90th Terrace
                                Lenexa, KS 66215
   08/27/14           36209     LEE WOOD                                  Claim 003346a, Payment                              7100-000                                  $1,142.76        $2,378,785.48
                                                                          55.88068%
                                4107 Irish Hill Dr 3b
                                South Bend, IN 46614
   08/27/14           36210     SHEILA BURKE                              Claim 003347a, Payment                              7100-000                                     $948.29       $2,377,837.19
                                                                          55.88038%
                                4728 Millpond Lane
                                Tampa, FL 33624
   08/27/14           36211     JOYCE CAMBRONERO                          Claim 003348a, Payment                              7100-000                                  $2,243.04        $2,375,594.15
                                                                          55.88042%
                                10800 Crestwood Drive South
                                Seattle, WA 98178



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 648 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36212     ARGO PARTNERS                             Claim 003349a, Payment                              7100-000                                  $9,662.30        $2,365,931.85
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36213     ASSET RECOVERY MANAGEMENT,                Claim 003350a, Payment                              7100-000                                  $1,959.17        $2,363,972.68
                                LLC                                       55.88049%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           36214     PATRICIA EDWARDS                          Claim 003351a, Payment                              7100-000                                  $1,846.85        $2,362,125.83
                                                                          55.88048%
                                498 County Rte 50
                                New Hampton, NY 10958
   08/27/14           36215     NICK FERREIRA                             Claim 003355a, Payment                              7100-000                                  $3,059.46        $2,359,066.37
                                                                          55.88055%
                                2223 S 10TH
                                SPRINGFIELD, IL 62703
   08/27/14           36216     EDWARD KAUFMAN                            Claim 003356a, Payment                              7100-000                                  $1,893.79        $2,357,172.58
                                                                          55.88050%
                                11220 Cashmere Street
                                Los Angeles, CA 90049
   08/27/14           36217     EMMA BRAZIEL                              Claim 003358a, Payment                              7100-000                                 $11,836.05        $2,345,336.53
                                                                          55.88051%
                                4003 EASTRIDGE DR 0720139
                                SNYDER, TX 79549
   08/27/14           36218     IPRIDELLA SCOTT                           Claim 003359a, Payment                              7100-000                                     $700.18       $2,344,636.35
                                                                          55.88029%
                                7140 Bethal Rd
                                Florence, SC 29501
   08/27/14           36219     ARGO PARTNERS                             Claim 003360Aa, Payment                             7100-000                                     $483.93       $2,344,152.42
                                12 West 37th St., 9th FlNew York, NY      55.88106%
                                10018
   08/27/14           36220     PAMELA SWANSON                            Claim 003361a, Payment                              7100-004                                  $1,709.38        $2,342,443.04
                                                                          55.88035%
                                PO Box 6097
                                YUMA, AZ 85366




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                                                                             Document          Page 649 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36221     DOMINGA GONZALEZ                          Claim 003363a, Payment                              7100-000                                  $1,546.77        $2,340,896.27
                                                                          55.88042%
                                2051 HOLLY AVE
                                S PLAINFIELD, NJ 07080
   08/27/14           36222     ARGO PARTNERS                             Claim 003364a, Payment                              7100-000                                  $1,660.77        $2,339,235.50
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36223     ROXANNE BAUMANN                           Claim 003365a, Payment                              7100-000                                  $1,370.75        $2,337,864.75
                                                                          55.88055%
                                610 Highland Avenue
                                Watertown, WI 53098
   08/27/14           36224     LAVEDA WAHWEOTTEN                         Claim 003367a, Payment                              7100-000                                     $120.14       $2,337,744.61
                                                                          55.87907%
                                100 E 8th st
                                Hoyt, KS 66440
   08/27/14           36225     PATSY NUSS                                Claim 003368a, Payment                              7100-000                                  $1,399.81        $2,336,344.80
                                                                          55.88064%
                                157 Apache Cir.
                                Oroville, CA 95966
   08/27/14           36226     KATHY AND RAMIN LOPEZ                     Claim 003370a, Payment                              7100-000                                  $1,851.32        $2,334,493.48
                                                                          55.88047%
                                3 Butterfly Lane
                                freehold, NJ 07728
   08/27/14           36227     KEVIN ANDERSON                            Claim 003372a, Payment                              7100-000                                     $425.25       $2,334,068.23
                                                                          55.88042%
                                1324 Shell Bark Crt
                                Havelock, NC 28532
   08/27/14           36228     SARAH SIMMONS                             Claim 003375a, Payment                              7100-000                                  $1,587.57        $2,332,480.66
                                                                          55.88068%
                                2816 Pelham Road
                                Rocky Mount, NC 27804
   08/27/14           36229     ARGO PARTNERS                             Claim 003376a, Payment                              7100-000                                  $1,303.69        $2,331,176.97
                                                                          55.88041%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36230     JAVIER ROCHA                              Claim 003377a, Payment                              7100-000                                  $3,357.86        $2,327,819.11
                                                                          55.88051%
                                1120 Seneca Dr
                                Arlington, TX 76017
   08/27/14           36231     ARGO PARTNERS                             Claim 003378a, Payment                              7100-000                                     $415.19       $2,327,403.92
                                                                          55.88022%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36232     BRADLEY CHARLES                           Claim 003379a, Payment                              7100-004                                     $298.96       $2,327,104.96
                                                                          55.88037%
                                104 WOODYS PLACE
                                WINCHESTER, VA 22602
   08/27/14           36233     JASON MILLER                              Claim 003380Aa, Payment                             7100-000                                     $231.35       $2,326,873.61
                                                                          55.88164%
                                147 Rolling Valley Lane
                                Butler, PA 16001
   08/27/14           36234     ARGO PARTNERS                             Claim 003381a, Payment                              7100-000                                  $1,405.95        $2,325,467.66
                                                                          55.88037%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36235     ARGO PARTNERS                             Claim 003386a, Payment                              7100-000                                      $93.88       $2,325,373.78
                                                                          55.88095%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36236     EDWARD MITREUTER                          Claim 003387a, Payment                              7100-000                                  $2,320.16        $2,323,053.62
                                                                          55.88054%
                                2 Topaz Drive
                                Jackson, NJ 08527
   08/27/14           36237     ARGO PARTNERS                             Claim 003388a, Payment                              7100-000                                  $6,289.35        $2,316,764.27
                                                                          55.88050%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36238     ARGO PARNTERS                             Claim 003389a, Payment                              7100-000                                     $377.19       $2,316,387.08
                                12 West 37th St., 9th Fl.New York, NY     55.88000%
                                10018
   08/27/14           36239     RONALD WINEGARDNER                        Claim 003392a, Payment                              7100-000                                  $3,148.87        $2,313,238.21
                                                                          55.88057%
                                11681 State Rt 13 NW
                                Thornville, OH 43076


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36240     CYNTHIA MEEKS                             Claim 003393a, Payment                              7100-000                                     $931.53       $2,312,306.68
                                                                          55.88062%
                                15840 123rd Avenue SE
                                Yelm, WA 98597
   08/27/14           36241     ARGO PARTNERS                             Claim 003394a, Payment                              7100-000                                  $5,213.09        $2,307,093.59
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36242     ARGO PARTNERS                             Claim 003395a, Payment                              7100-000                                     $689.57       $2,306,404.02
                                                                          55.88088%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36243     KAREN BALLARD                             Claim 003397a, Payment                              7100-000                                  $1,219.31        $2,305,184.71
                                                                          55.88038%
                                6526 Lowell Ave
                                Overland Park, KS 66202
   08/27/14           36244     ARGO PARTNERS                             Claim 003399a, Payment                              7100-000                                     $402.34       $2,304,782.37
                                                                          55.88056%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36245     DAVID HEBERLIG                            Claim 003400Aa, Payment                             7100-000                                  $1,505.98        $2,303,276.39
                                                                          55.88052%
                                12 South Chestnut Court
                                Perkasie, PA 18944
   08/27/14           36246     ASSET RECOVERY MANAGEMENT,                Claim 003401a, Payment                              7100-000                                     $315.72       $2,302,960.67
                                LLC                                       55.87965%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           36247     LEAH PACIONE                              Claim 003404a, Payment                              7100-000                                  $1,157.29        $2,301,803.38
                                                                          55.88073%
                                43 Prescott Rd
                                Epping, NH 03042
   08/27/14           36248     ARGO PARTNERS                             Claim 003405a, Payment                              7100-000                                  $5,560.67        $2,296,242.71
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36249     WAYNE HAMILTON                            Claim 003407a, Payment                              7100-000                                     $461.01       $2,295,781.70
                                                                          55.88000%
                                494 Carillon Lane
                                Stone Mountain, GA 30083
   08/27/14           36250     LIQUIDITY SOLUTIONS                       Claim 003409a, Payment                              7100-000                                  $5,354.16        $2,290,427.54
                                1 University Plaza, Ste. 312Hackensack,   55.88048%
                                NJ 07601
   08/27/14           36251     ARGO PARTNERS                             Claim 003410a, Payment                              7100-000                                  $6,748.13        $2,283,679.41
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36252     ELISSA WATKINS                            Claim 003412a, Payment                              7100-000                                  $6,071.42        $2,277,607.99
                                10 Thunder Run, 39CIrvin, CA 92614        55.88053%
   08/27/14           36253     MELISSA WILLIAMS                          Claim 003414a, Payment                              7100-004                                      $45.82       $2,277,562.17
                                                                          55.87805%
                                2630 Coconut Bay Lane Apt 2k
                                Sarasota, FL 34237
   08/27/14           36254     ARGO PARTNERS                             Claim 003415a, Payment                              7100-000                                  $2,374.92        $2,275,187.25
                                12 West 37th St., 9th Fl.,New York, NY    55.88047%
                                10018
   08/27/14           36255     ARGO PARTNERS                             Claim 003416a, Payment                              7100-000                                  $2,673.32        $2,272,513.93
                                                                          55.88043%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36256     LIQUIDITY SOLUTIONS, INC.                 Claim 003417Aa, Payment                             7100-000                                  $2,287.75        $2,270,226.18
                                                                          55.88056%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36257     NICHOLAS MESSINA                          Claim 003419a, Payment                              7100-000                                     $589.54       $2,269,636.64
                                                                          55.88057%
                                121 Weaver Ave
                                Bloomfield, NJ 07003
   08/27/14           36258     MARIA REYES                               Claim 003420Aa, Payment                             7100-000                                  $1,595.95        $2,268,040.69
                                                                          55.88060%
                                636 Umbra St
                                Baltimore, MD 21224




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36259     ARGO PARTNERS                             Claim 003423a, Payment                              7100-000                                     $822.00       $2,267,218.69
                                                                          55.88035%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36260     LAURA ESTRADA                             Claim 003424a, Payment                              7100-004                                      $29.06       $2,267,189.63
                                                                          55.88462%
                                1756 South Highway 61 Unit 91
                                Lake City, MN 55041
   08/27/14           36261     GERALD FALSONE                            Claim 003428a, Payment                              7100-000                                  $1,426.07        $2,265,763.56
                                                                          55.88049%
                                2702 Apostle LN
                                Murfreesboro, TN 37129
   08/27/14           36262     JAMES FINLEY                              Claim 003429a, Payment                              7100-000                                  $3,725.55        $2,262,038.01
                                                                          55.88046%
                                2997 Kentville Drive
                                Sun Prairie, WI 53590
   08/27/14           36263     FRANK COLEMAN                             Claim 003430Aa, Payment                             7100-000                                  $5,013.04        $2,257,024.97
                                                                          55.88050%
                                8187 Troxler Mill Road
                                Gibsonville, NC 27249
   08/27/14           36264     CONSUELO SPENCER                          Claim 003433Aa, Payment                             7100-000                                     $794.06       $2,256,230.91
                                                                          55.88037%
                                465 New Pleasent Rd
                                Gaffney, SC 29341
   08/27/14           36265     CHRISTAL SMITH                            Claim 003434a, Payment                              7100-000                                  $2,009.46        $2,254,221.45
                                                                          55.88042%
                                5319 Belk Mill Rd
                                Monroe, NC 28112
   08/27/14           36266     ARGO PARTNERS                             Claim 003435a, Payment                              7100-000                                   $5,114.74       $2,249,106.71
                                12 West 37th St., 9th FlNew York, NY      55.88048%
                                10018
   08/27/14           36267     CAROL L HUSTIS                            Claim 003436a, Payment                              7100-000                                  $2,033.49        $2,247,073.22
                                                                          55.88046%
                                71 CYNTHIA ST
                                WATERBURY, CT06708
   08/27/14           36268     DAVID ODETTE                              Claim 003437a, Payment                              7100-000                                  $3,026.49        $2,244,046.73
                                                                          55.88054%
                                289 Curtis Tignor Rd
                                Newport News, VA 23608


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36269     LEAH WILCOX                               Claim 003438a, Payment                              7100-000                                     $345.90       $2,243,700.83
                                                                          55.88045%
                                11635 SE Stanley Ave.
                                Milwaukie, OR 97222
   08/27/14           36270     ARGO PARTNERS                             Claim 003441a, Payment                              7100-000                                     $807.48       $2,242,893.35
                                                                          55.88097%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36271     ARGO PARTNERS                             Claim 003442a, Payment                              7100-000                                     $556.01       $2,242,337.34
                                                                          55.88040%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36272     JENNIFER OSBORN                           Claim 003446a, Payment                              7100-000                                  $4,145.77        $2,238,191.57
                                                                          55.88044%
                                301 Cascade Place
                                Rochester, NY 14609
   08/27/14           36273     VICTORIA LUNDBERG                         Claim 003447a, Payment                              7100-000                                  $2,143.02        $2,236,048.55
                                                                          55.88057%
                                PO Box 4620
                                Crestline, CA 92325
   08/27/14           36274     ARGO PARTNERS                             Claim 003448Aa, Payment                             7100-000                                  $2,833.70        $2,233,214.85
                                                                          55.88050%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36275     KENNETH PIZZOLI                           Claim 003451a, Payment                              7100-000                                  $1,578.62        $2,231,636.23
                                                                          55.88035%
                                328 SOUTH MARKET ST
                                MOUNT CARMEL, PA 17851
   08/27/14           36276     ARGO PARTNERS                             Claim 003453a, Payment                              7100-000                                     $891.30       $2,230,744.93
                                                                          55.88088%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36277     ARGO PARTNERS                             Claim 003455a, Payment                              7100-000                                  $2,592.86        $2,228,152.07
                                                                          55.88060%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $15,894.66
                                                                             Document          Page 655 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36278     ARGO PARTNERS                             Claim 003456a, Payment                              7100-000                                      $95.00       $2,228,057.07
                                                                          55.88235%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36279     RICHARD CLARK                             Claim 003457Aa, Payment                             7100-000                                  $3,493.65        $2,224,563.42
                                                                          55.88052%
                                257 Clark Rd
                                Wells, ME 04090
   08/27/14           36280     TIMOTHY PITZER                            Claim 003458a, Payment                              7100-000                                  $4,713.52        $2,219,849.90
                                                                          55.88050%
                                1023 NW Timber Oak Dr.
                                Blue Springs, MO 64015
   08/27/14           36281     PAULA NORWOOD                             Claim 003459a, Payment                              7100-000                                  $1,903.85        $2,217,946.05
                                84 Elaine St.Springville, AL 35146        55.88054%
   08/27/14           36282     KATIE BRAY-JUDKINS                        Claim 003462a, Payment                              7100-000                                  $2,530.82        $2,215,415.23
                                                                          55.88033%
                                16 N Colin Dr
                                Portsmoueh, VA 23701
   08/27/14           36283     WAYNE ZIMNOCH                             Claim 003463a, Payment                              7100-000                                  $1,612.15        $2,213,803.08
                                                                          55.88042%
                                192 Kensington Avenue Apt. 401
                                Jersey City, NJ 07306
   08/27/14           36284     VALERIE LYTE                              Claim 003465a, Payment                              7100-000                                  $1,788.18        $2,212,014.90
                                                                          55.88063%
                                1498 Putnam Ave
                                Brooklyn, NY 11237
   08/27/14           36285     DONALD BAILEY                             Claim 003466a, Payment                              7100-000                                  $1,685.91        $2,210,328.99
                                                                          55.88034%
                                625 S Main Street
                                Andover, ME 04216
   08/27/14           36286     MURIEL COAKLEY                            Claim 003467Aa, Payment                             7100-000                                     $631.45       $2,209,697.54
                                                                          55.88053%
                                12 Rutland St
                                Edison, NJ 08817
   08/27/14           36287     REBECCA POPE                              Claim 003469a, Payment                              7100-000                                  $4,183.77        $2,205,513.77
                                                                          55.88046%
                                1003 Roberts Way, Apt. 208
                                New Market,MN 55054



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $22,638.30
                                                                             Document          Page 656 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36288     WILLIAM SHEPPARD                          Claim 003470a, Payment                              7100-000                                  $4,752.64        $2,200,761.13
                                                                          55.88054%
                                10105 Spinning Wheel Way
                                Richmond, VA 23233
   08/27/14           36289     ARGO PARTNERS                             Claim 003474a, Payment                              7100-000                                 $10,237.87        $2,190,523.26
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36290     JESSICA WEBBER                            Claim 003477a, Payment                              7100-000                                     $534.78       $2,189,988.48
                                                                          55.88088%
                                1001 Frazier Road
                                Redfield, AR 72132
   08/27/14           36291     ARGO PARTNERS                             Claim 003479a, Payment                              7100-000                                     $373.84       $2,189,614.64
                                                                          55.88042%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36292     VERONICA HARTMAN                          Claim 003480a, Payment                              7100-000                                   $1,811.65       $2,187,802.99
                                                                          55.88063%
                                515 Burlington St
                                Savanna, IL 61074
   08/27/14           36293     ASSET RECOVERY MANAGEMENT,                Claim 003481a, Payment                              7100-000                                     $574.45       $2,187,228.54
                                LLC                                       55.88035%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           36294     ASSET RECOVERY MANAGEMENT,                Claim 003483a, Payment                              7100-000                                     $179.37       $2,187,049.17
                                LLC                                       55.87850%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           36295     JASON CASTRO                              Claim 003484a, Payment                              7100-000                                  $1,606.56        $2,185,442.61
                                                                          55.88035%
                                638 Elkins Lane
                                Fillmore, CA 93015
   08/27/14           36296     PATRICIA KARBER                           Claim 003485a, Payment                              7100-000                                   $1,115.37       $2,184,327.24
                                                                          55.88026%
                                1007 E MARINA
                                PIERRE, SD 57501



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $21,186.53
                                                                             Document          Page 657 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36297     ARGO PARTNERS                             Claim 003487a, Payment                              7100-000                                     $873.42       $2,183,453.82
                                12 West 37th Street, 9th FloorNew York,   55.88100%
                                NY 10018
   08/27/14           36298     JASON YARD                                Claim 003488a, Payment                              7100-000                                  $1,017.03        $2,182,436.79
                                                                          55.88077%
                                152-08 119th Ave
                                Jamaica, NY 11434
   08/27/14           36299     ARGO PARTNERS                             Claim 003490a, Payment                              7100-000                                  $1,523.86        $2,180,912.93
                                                                          55.88045%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36300     ARGO PARTNERS                             Claim 003491a, Payment                              7100-000                                  $1,086.88        $2,179,826.05
                                                                          55.88072%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36301     GERI GILMAN                               Claim 003492a, Payment                              7100-000                                  $2,741.49        $2,177,084.56
                                                                          55.88035%
                                48 Green Mesa Pl
                                Parachute, CO 81635
   08/27/14           36302     ADALBERTO QUINTERO                        Claim 003493Aa, Payment                             7100-000                                   $1,115.93       $2,175,968.63
                                                                          55.88032%
                                265 Ebony Street
                                San Benito, TX 78586
   08/27/14           36303     KORENE CALDERWOOD                         Claim 003494a, Payment                              7100-000                                  $3,004.69        $2,172,963.94
                                                                          55.88042%
                                28 Gold Creek Road NW
                                Bremerton, WA 98312
   08/27/14           36304     ARGO PARTNERS                             Claim 003496a, Payment                              7100-000                                      $57.56       $2,172,906.38
                                                                          55.88350%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36305     ANTHONY PASQUARELLA                       Claim 003498a, Payment                              7100-000                                  $5,760.16        $2,167,146.22
                                                                          55.88048%
                                20 Buhl Lane
                                East Northport, NY 11731
   08/27/14           36306     PENNY THOMPSON                            Claim 003499a, Payment                              7100-000                                  $5,405.32        $2,161,740.90
                                                                          55.88049%
                                PO Box 8501
                                Kent, WA 98042


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36307     BRYAN BERNIER                             Claim 003501a, Payment                              7100-000                                  $6,067.51        $2,155,673.39
                                                                          55.88055%
                                PO Box 655
                                Dracut, MA 01826
   08/27/14           36308     ARGO PARTNERS                             Claim 003502a, Payment                              7100-000                                 $12,894.43        $2,142,778.96
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36309     LISA ROATH                                Claim 003508Aa, Payment                             7100-000                                   $1,127.11       $2,141,651.85
                                                                          55.88052%
                                PO Box 772
                                Crane, OR 97732
   08/27/14           36310     ARGO PARTNERS                             Claim 003511a, Payment                              7100-000                                  $2,534.18        $2,139,117.67
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36311     ARGO PARTNERS                             Claim 003513a, Payment                              7100-000                                  $1,132.14        $2,137,985.53
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36312     DEBRA WALTER                              Claim 003514a, Payment                              7100-000                                  $8,838.62        $2,129,146.91
                                                                          55.88051%
                                3522 Mt Burnham Court
                                San Diego, CA 92111
   08/27/14           36313     ARGO PARTNERS                             Claim 003515Aa, Payment                             7100-000                                     $154.23       $2,128,992.68
                                                                          55.88043%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36314     ARGO PARTNERS                             Claim 003516a, Payment                              7100-000                                  $2,588.94        $2,126,403.74
                                                                          55.88042%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36315     GLORIA WATKINS                            Claim 003517Aa, Payment                             7100-004                                  $1,050.55        $2,125,353.19
                                                                          55.88032%
                                1231 Elva Dr SW
                                Atlanta, GA 30331




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                                                                             Document          Page 659 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36316     ASSET RECOVERY MANAGEMENT,                Claim 003519a, Payment                              7100-000                                     $416.87       $2,124,936.32
                                LLC                                       55.88070%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           36317     ARGO PARTNERS                             Claim 003522a, Payment                              7100-000                                     $590.66       $2,124,345.66
                                                                          55.88079%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36318     ARGO PARTNERS                             Claim 003523a, Payment                              7100-000                                  $6,638.02        $2,117,707.64
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36319     MAHA DRIDI                                Claim 003524a, Payment                              7100-000                                  $2,212.31        $2,115,495.33
                                                                          55.88053%
                                101 W 46th St Apt 2
                                BAYONNE, NJ 07002
   08/27/14           36320     GENIA EAST                                Claim 003526a, Payment                              7100-000                                      $16.21       $2,115,479.12
                                                                          55.89655%
                                136 Blair Mountain Road
                                Lineville, AL 36266
   08/27/14           36321     ASSET RECOVERY MANAGEMENT,                Claim 003527a, Payment                              7100-000                                  $2,778.38        $2,112,700.74
                                LLC                                       55.88053%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           36322     MICHAEL HARDING                           Claim 003528a, Payment                              7100-000                                  $2,421.86        $2,110,278.88
                                                                          55.88048%
                                3408 SW 21st St
                                Topeka, KS 66604
   08/27/14           36323     ARGO PARTNERS                             Claim 003530a, Payment                              7100-000                                  $2,210.07        $2,108,068.81
                                                                          55.88040%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36324     SHARON FULMER                             Claim 003533a, Payment                              7100-000                                  $2,531.39        $2,105,537.42
                                                                          55.88057%
                                1288 Ridge Road
                                Burgetstown, PA 15021



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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36325     GEORGE BIDDLECOMBE                        Claim 003534a, Payment                              7100-000                                  $6,268.12        $2,099,269.30
                                                                          55.88054%
                                5798 Campanella Place
                                Rancho Cucamonga, CA 91739
   08/27/14           36326     ARGO PARTNERS                             Claim 003535a, Payment                              7100-000                                  $2,064.78        $2,097,204.52
                                12 West 37th St., 9th Fl.New York, NY     55.88038%
                                10018
   08/27/14           36327     PAULETTE POWELL                           Claim 003536a, Payment                              7100-004                                  $1,628.36        $2,095,576.16
                                                                          55.88058%
                                29 Eldride Street
                                Portchester, NY 10573
   08/27/14           36328     JOHN BATTEL                               Claim 003537a, Payment                              7100-000                                  $4,469.88        $2,091,106.28
                                                                          55.88049%
                                142 Argent Way
                                Bluffton, SC 29909
   08/27/14           36329     ARGO PARTNERS                             Claim 003538a, Payment                              7100-000                                  $4,579.41        $2,086,526.87
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36330     ARGO PARTNERS                             Claim 003539a, Payment                              7100-000                                  $6,521.81        $2,080,005.06
                                12 West 37th St., 9th Fl.New York, NY     55.88047%
                                10018
   08/27/14           36331     ARGO PARTNERS                             Claim 003540a, Payment                              7100-000                                     $986.29       $2,079,018.77
                                                                          55.88045%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36332     ARGO PARTNERS                             Claim 003541a, Payment                              7100-000                                  $4,505.09        $2,074,513.68
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36333     WILLIAM LORD                              Claim 003542a, Payment                              7100-000                                     $771.71       $2,073,741.97
                                                                          55.88052%
                                1968 Marie Drive
                                Carson City, NV 89706
   08/27/14           36334     JOSELITO DABU                             Claim 003545a, Payment                              7100-000                                  $2,958.87        $2,070,783.10
                                                                          55.88045%
                                1069 Mt Dana Drive
                                Chula Vista, CA 91913



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $34,754.32
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36335     CONDA LUEDTKE                             Claim 003549a, Payment                              7100-000                                     $448.72       $2,070,334.38
                                                                          55.88045%
                                9927 N 112th E Ave.
                                Owasso, OK 79055
   08/27/14           36336     ARGO PARTNERS                             Claim 003550a, Payment                              7100-000                                      $27.94       $2,070,306.44
                                                                          55.88000%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36337     TRICIA NASSAR                             Claim 003552a, Payment                              7100-000                                     $930.97       $2,069,375.47
                                                                          55.88055%
                                8 THOMAS ST APT 2
                                New York, NY 10007-1139
   08/27/14           36338     ARGO PARTNERS                             Claim 003554a, Payment                              7100-000                                  $3,545.62        $2,065,829.85
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36339     KERRY FOSTER                              Claim 003555a, Payment                              7100-004                                  $1,363.48        $2,064,466.37
                                                                          55.88033%
                                4870 Friar Tuck Avenue
                                Las Vegas, NV 89130
   08/27/14           36340     ARGO PARTNERS                             Claim 003556a, Payment                              7100-000                                  $6,603.40        $2,057,862.97
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36341     AMANDA ROY FKA GRAVEL                     Claim 003557a, Payment                              7100-000                                     $195.58       $2,057,667.39
                                                                          55.88000%
                                11 Randolph St. 2nd Floor
                                Southbridge, MA 01550
   08/27/14           36342     ARGO PARTNERS                             Claim 003558a, Payment                              7100-000                                     $994.67       $2,056,672.72
                                                                          55.88034%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36343     LIQUIDITY SOLUTIONS, INC.                 Claim 003560a, Payment                              7100-000                                  $1,314.31        $2,055,358.41
                                                                          55.88053%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $15,424.69
                                                                             Document          Page 662 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36344     ARGO PARTNERS                             Claim 003561a, Payment                              7100-000                                  $2,986.81        $2,052,371.60
                                                                          55.88045%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36345     STEPHANIE FEDOR                           Claim 003562a, Payment                              7100-000                                 $13,724.25        $2,038,647.35
                                                                          55.88050%
                                691 Furnace Road
                                Conneaut, OH 44030
   08/27/14           36346     ARGO PARTNERS                             Claim 003564Aa, Payment                             7100-000                                  $1,109.23        $2,037,538.12
                                                                          55.88060%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36347     ASSET RECOVERY MANAGEMENT,                Claim 003566a, Payment                              7100-000                                     $740.42       $2,036,797.70
                                LLC                                       55.88075%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           36348     JOSEPH AND NATALIE AMOIA                  Claim 003568a, Payment                              7100-000                                  $5,571.29        $2,031,226.41
                                                                          55.88054%
                                194 Hasbrock Avenue
                                Emerson, NJ 07630
   08/27/14           36349     ORLANDO TORRES                            Claim 003569a, Payment                              7100-000                                 $12,651.90        $2,018,574.51
                                c/o Azar and Azar                         55.88048%
   08/27/14           36350     JODI RITZ                                 Claim 003570a, Payment                              7100-004                                  $1,279.10        $2,017,295.41
                                                                          55.88030%
                                101 Woodland St
                                Meriden, CT 06451
   08/27/14           36351     ARGO PARTNERS                             Claim 003574a, Payment                              7100-000                                     $330.81       $2,016,964.60
                                                                          55.88007%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36352     DEBORAH ANDERSON                          Claim 003577a, Payment                              7100-000                                  $2,123.46        $2,014,841.14
                                                                          55.88053%
                                2541 Olinville Ave Apt B
                                Bronx, NY 10467
   08/27/14           36353     NICK FERRARI                              Claim 003579Aa, Payment                             7100-004                                  $1,001.94        $2,013,839.20
                                                                          55.88065%
                                6108 10TH ST
                                RIO LINDA, CA 95673-4303


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $41,519.21
                                                                             Document          Page 663 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36354     ARGO PARTNERS                             Claim 003580a, Payment                              7100-000                                   $1,411.54       $2,012,427.66
                                                                          55.88044%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36355     JOHN BEDNARSKI                            Claim 003582Aa, Payment                             7100-000                                     $516.89       $2,011,910.77
                                                                          55.88000%
                                823 Pine St.
                                De Pere, WI 54115
   08/27/14           36356     ARGO PARTNERS                             Claim 003583a, Payment                              7100-000                                  $1,149.46        $2,010,761.31
                                                                          55.88041%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36357     ARGO PARTNERS                             Claim 003587Aa, Payment                             7100-000                                     $548.19       $2,010,213.12
                                12 West 37th St., 9th Fl.New York, NY     55.88073%
                                10018
   08/27/14           36358     ROBERT LUTZ                               Claim 003588a, Payment                              7100-000                                  $1,498.16        $2,008,714.96
                                                                          55.88064%
                                140 Oakhaven Drive
                                Lynchburg, VA 24502
   08/27/14           36359     ARGO PARTNERS                             Claim 003589a, Payment                              7100-000                                     $508.51       $2,008,206.45
                                                                          55.88022%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36360     KATHLEEN HERZOG                           Claim 003590a, Payment                              7100-000                                     $148.08       $2,008,058.37
                                                                          55.87925%
                                134 N 18th Street
                                St Maries, ID 83861-1205
   08/27/14           36361     MARC IHRIG                                Claim 003593a, Payment                              7100-004                                      $83.27       $2,007,975.10
                                                                          55.88591%
                                65-41 SAUNDERS ST
                                3B
                                REGO PARK, NY 11374
   08/27/14           36362     JAMES LANDRUM                             Claim 003594a, Payment                              7100-000                                   $2,101.11       $2,005,873.99
                                                                          55.88059%
                                295 Emu Lane
                                Diboll, TX 75941
   08/27/14           36363     ARGO PARTNERS                             Claim 003597a, Payment                              7100-000                                  $1,208.70        $2,004,665.29
                                12 West 37th St., 9th FlNew York, NY      55.88072%
                                10018


                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 664 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)   Account/CD Balance
                    Reference                                                                                                    Code                                                       ($)
   08/27/14           36364     ARGO PARTNERS                             Claim 003598Aa, Payment                             7100-000                                  $3,318.74       $2,001,346.55
                                                                          55.88045%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36365     PENNY PITTS                               Claim 003600a, Payment                              7100-000                                  $7,077.27       $1,994,269.28
                                                                          55.88054%
                                638 Louisa St
                                Lansing, MI 48911
   08/27/14           36366     SHONA SPAETH                              Claim 003605a, Payment                              7100-000                                  $2,430.80       $1,991,838.48
                                                                          55.88046%
                                PO Box 337
                                Plymouth, CA 95669
   08/27/14           36367     ARGO PARTNERS                             Claim 003608a, Payment                              7100-000                                  $1,187.46       $1,990,651.02
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36368     JULIUS KLEPPINGER                         Claim 003609a, Payment                              7100-000                                  $3,149.42       $1,987,501.60
                                                                          55.88041%
                                8 Locksley Street 9 E
                                San Francisco, CA 94122
   08/27/14           36369     MARY A BENNER                             Claim 003611Aa, Payment                             7100-000                                  $2,441.98       $1,985,059.62
                                                                          55.88055%
                                CO CHARLES M MCCUEN ESQ
                                PO BOX 446
                                SELINSGROVE, PA 17870
   08/27/14           36370     WILLIAM CONNOLLY                          Claim 003618a, Payment                              7100-000                                  $2,705.73       $1,982,353.89
                                                                          55.88042%
                                493 Forrest Road
                                Wallkill, NY 12589
   08/27/14           36371     JOSEPH LAUBIE                             Claim 003619a, Payment                              7100-000                                  $3,221.51       $1,979,132.38
                                                                          55.88049%
                                2623 Seneca Court
                                Brea, CA 92821
   08/27/14           36372     MICHAEL BAUM                              Claim 003621a, Payment                              7100-000                                  $5,129.83       $1,974,002.55
                                                                          55.88050%
                                1382 W. Maplecrest St.
                                Warsaw, IN 46580




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                                                                                                                                                     Desc Main         $30,662.74
                                                                             Document          Page 665 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36373     JOSEPH THURBER                            Claim 003622a, Payment                              7100-000                                  $1,076.26        $1,972,926.29
                                                                          55.88058%
                                200 Old River Rd. Apt. 4
                                Lincoln, RI 02865
   08/27/14           36374     GARY DOBRANSKY                            Claim 003623a, Payment                              7100-000                                  $1,922.29        $1,971,004.00
                                                                          55.88052%
                                203 Nicholas Ave
                                Johnson City, NY 13790-1613
   08/27/14           36375     STEVE PEREZ                               Claim 003624a, Payment                              7100-000                                  $1,347.28        $1,969,656.72
                                                                          55.88055%
                                PO Box 26521
                                Santa Anna, CA 92799
   08/27/14           36376     ASSET RECOVERY MANAGEMENT,                Claim 003629a, Payment                              7100-000                                  $7,023.62        $1,962,633.10
                                LLC                                       55.88050%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           36377     DANA JUE                                  Claim 003632a, Payment                              7100-000                                      $96.11       $1,962,536.99
                                                                          55.87791%
                                13775 Grand Isle Dr
                                Moorpark, CA 93021
   08/27/14           36378     LIQUIDITY SOLUTIONS, INC.                 Claim 003636a, Payment                              7100-000                                  $3,301.98        $1,959,235.01
                                                                          55.88052%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36379     LIQUIDITY SOLUTIONS, INC.                 Claim 003641a, Payment                              7100-000                                  $6,172.00        $1,953,063.01
                                                                          55.88049%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36380     ARGO PARTNERS                             Claim 003642a, Payment                              7100-000                                       $9.50       $1,953,053.51
                                                                          55.88235%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36381     ARGO PARTNERS                             Claim 003645a, Payment                              7100-000                                     $908.06       $1,952,145.45
                                                                          55.88062%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $21,857.10
                                                                             Document          Page 666 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36382     BETTY JADLOSKI                            Claim 003647a, Payment                              7100-000                                  $1,243.34        $1,950,902.11
                                                                          55.88045%
                                1371 Church St.
                                Mineral Ridge, OH 44440
   08/27/14           36383     NORRIS EVERSON                            Claim 003649a, Payment                              7100-000                                  $2,185.49        $1,948,716.62
                                                                          55.88059%
                                17609 157th PL SE
                                Monroe, WA 98272-1602
   08/27/14           36384     ARGO PARTNERS                             Claim 003650a, Payment                              7100-000                                     $537.01       $1,948,179.61
                                                                          55.88033%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36385     ESTATE OF DENISE CAILLER                  Claim 003651a, Payment                              7100-000                                  $1,046.64        $1,947,132.97
                                                                          55.88041%
                                DONNA M FONTAINE, EXECUTRIX
                                50 EUSTIS AVE
                                LOWELL, MA 01850
   08/27/14           36386     ANDREW MILES                              Claim 003652a, Payment                              7100-000                                  $1,204.22        $1,945,928.75
                                                                          55.88028%
                                1125 Park Rd.
                                Lancaster, WI 53813
   08/27/14           36387     GLEN FAIR                                 Claim 003654a, Payment                              7100-000                                     $856.65       $1,945,072.10
                                                                          55.88063%
                                47 Belgian Way
                                Charles Town, WV 25414
   08/27/14           36388     ARGO PARTNERS                             Claim 003656a, Payment                              7100-000                                     $556.01       $1,944,516.09
                                12 West 37th St., 9th FlNew York, NY      55.88040%
                                10018
   08/27/14           36389     JENNIFER SCHNELKER                        Claim 003658a, Payment                              7100-000                                     $837.65       $1,943,678.44
                                                                          55.88059%
                                1099 Bass Lake Rd
                                Traverse City, MI 49685
   08/27/14           36390     ANNALEE CRUZ                              Claim 003660a, Payment                              7100-000                                  $2,439.74        $1,941,238.70
                                                                          55.88044%
                                66 Arroyo Drive 5
                                South San Francisco, CA 94080




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $10,906.75
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36391     ARGO PARTNERS                             Claim 003665a, Payment                              7100-000                                     $814.18       $1,940,424.52
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36392     LIQUIDITY SOLUTIONS, INC.                 Claim 003667a, Payment                              7100-000                                     $965.06       $1,939,459.46
                                                                          55.88072%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36393     RYAN DATLAG                               Claim 003668a, Payment                              7100-000                                  $1,596.51        $1,937,862.95
                                                                          55.88064%
                                663 CROCKER AVE
                                DALY CITY, CA94014
   08/27/14           36394     ELIZABETH SESCILLA                        Claim 003673a, Payment                              7100-000                                  $2,805.76        $1,935,057.19
                                                                          55.88050%
                                1219 Brooklyn Ave Ext
                                Ramseur, NC 27316
   08/27/14           36395     MATTHEW SESCILLA                          Claim 003674a, Payment                              7100-000                                  $4,292.18        $1,930,765.01
                                                                          55.88048%
                                c/o Everett B. Saslow, Jr.
                                PO Box 989
                                Greensboro, NC 27402
   08/27/14           36396     JAMES LEE                                 Claim 003675a, Payment                              7100-000                                  $4,079.28        $1,926,685.73
                                                                          55.88055%
                                275 Dahoon Holly Dr.
                                Daytona Beach, FL 32117
   08/27/14           36397     ASSET RECOVERY MANAGEMENT,                Claim 003678a, Payment                              7100-000                                  $1,166.23        $1,925,519.50
                                LLC                                       55.88069%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           36398     ARGO PARTNERS                             Claim 003679a, Payment                              7100-000                                     $859.44       $1,924,660.06
                                                                          55.88036%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36399     JOHN DI STEFANO                           Claim 003681a, Payment                              7100-000                                   $2,011.70       $1,922,648.36
                                                                          55.88056%
                                PO Box 452
                                Redondo Beach, CA 90277



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $18,590.34
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36400     WILLIAM JONES                             Claim 003683a, Payment                              7100-000                                  $3,521.59        $1,919,126.77
                                1919 Curtis Dr.North Augusta, SC 29841    55.88051%
   08/27/14           36401     NANCY LESLIE                              Claim 003684a, Payment                              7100-004                                  $1,277.42        $1,917,849.35
                                                                          55.88014%
                                PO Box 432
                                Martinsburg, PA 16662
   08/27/14           36402     ARGO PARTNERS                             Claim 003685a, Payment                              7100-000                                     $829.83       $1,917,019.52
                                12 West 37th St., 9th Fl.New York, NY     55.88081%
                                10018
   08/27/14           36403     CHRISTOPHER FOSTER                        Claim 003689a, Payment                              7100-000                                  $1,001.94        $1,916,017.58
                                                                          55.88065%
                                620 Sunset Drive
                                Bay Saint Louis, MS 39520
   08/27/14           36404     THERESA BROWN                             Claim 003694a, Payment                              7100-000                                     $878.44       $1,915,139.14
                                                                          55.88041%
                                17 Portland Ave 4
                                Dover, NH 03820
   08/27/14           36405     LORI KRAUS                                Claim 003698a, Payment                              7100-000                                     $981.82       $1,914,157.32
                                                                          55.88048%
                                5615 Brookside Road
                                Independence, OH 44131
   08/27/14           36406     L DWAYNE FLINN                            Claim 003706a, Payment                              7100-000                                  $1,503.18        $1,912,654.14
                                                                          55.88030%
                                4387 West Garff Ranch Road
                                Kamas, UT 84036
   08/27/14           36407     LAAULI IFOPO                              Claim 003708a, Payment                              7100-004                                  $2,806.88        $1,909,847.26
                                                                          55.88055%
                                1708 Sea Ventures Lane
                                Langley AFB, VA 23665
   08/27/14           36408     ARGO PARTNERS                             Claim 003709Aa, Payment                             7100-000                                       $8.38       $1,909,838.88
                                                                          55.86667%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36409     GERARDO JAVIER DIAZ                       Claim 003711a, Payment                              7100-004                                  $1,421.60        $1,908,417.28
                                                                          55.88050%
                                14949 Roscoe Blvd 212
                                Panorama City, CA 91402




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $14,231.08
                                                                             Document          Page 669 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36410     LIQUIDITY SOLUTIONS, INC.                 Claim 003712a, Payment                              7100-000                                  $1,422.16        $1,906,995.12
                                                                          55.88055%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36411     STEVEN DIPIAZZA                           Claim 003713a, Payment                              7100-000                                 $14,864.21        $1,892,130.91
                                                                          55.88049%
                                130 Seneca Circle
                                Winfield, WV 25213
   08/27/14           36412     DANIEL NAEGELIN                           Claim 003714a, Payment                              7100-000                                  $5,912.72        $1,886,218.19
                                                                          55.88054%
                                2905 FM 1136
                                Orange, TX 77632
   08/27/14           36413     ARGO PARTNERS                             Claim 003716a, Payment                              7100-000                                  $1,186.34        $1,885,031.85
                                                                          55.88036%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36414     JAMES SIERAWSKI                           Claim 003718Aa, Payment                             7100-000                                     $329.14       $1,884,702.71
                                                                          55.88115%
                                PO Box 771
                                Moyock, NC 27958
   08/27/14           36415     ARGO PARTNERS                             Claim 003719a, Payment                              7100-000                                  $2,429.68        $1,882,273.03
                                12 West 37th Street, 9th FloorNew York,   55.88040%
                                NY 10018
   08/27/14           36416     ARGO PARTNERS                             Claim 003721a, Payment                              7100-000                                  $1,067.88        $1,881,205.15
                                                                          55.88069%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36417     ASSET RECOVERY MANAGEMENT,                Claim 003722a, Payment                              7100-000                                  $5,769.66        $1,875,435.49
                                LLC                                       55.88048%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           36418     TAMMY WAUGH                               Claim 003725a, Payment                              7100-000                                  $2,071.49        $1,873,364.00
                                                                          55.88050%
                                758 West River Road
                                Waterloo, NY 13165




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 670 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36419     LIQUIDITY SOLUTIONS, INC.                 Claim 003728a, Payment                              7100-000                                  $7,144.32        $1,866,219.68
                                                                          55.88048%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36420     JOYCE TAYLOR                              Claim 003730a, Payment                              7100-000                                  $1,090.79        $1,865,128.89
                                                                          55.88064%
                                69 Tudor Street
                                Waltham, MA 02451
   08/27/14           36421     ARGO PARTNERS                             Claim 003734a, Payment                              7100-000                                     $994.67       $1,864,134.22
                                                                          55.88034%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36422     ARGO PARTNERS                             Claim 003737a, Payment                              7100-000                                     $421.90       $1,863,712.32
                                                                          55.88079%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36423     CHRISTY FLOYD                             Claim 003738a, Payment                              7100-004                                  $1,096.38        $1,862,615.94
                                                                          55.88073%
                                723 Riverbend Drive
                                Martinez, GA 30907
   08/27/14           36424     DONNA BOWLES                              Claim 003744a, Payment                              7100-000                                     $899.67       $1,861,716.27
                                                                          55.88012%
                                112 County Rd. 233
                                Oxford, MS 38655
   08/27/14           36425     VALERIE SENKO                             Claim 003746a, Payment                              7100-000                                  $2,360.95        $1,859,355.32
                                                                          55.88047%
                                18318 Jovan St.
                                Tarzana, CA 91335
   08/27/14           36426     ARGO PARTNERS                             Claim 003750a, Payment                              7100-000                                     $151.99       $1,859,203.33
                                                                          55.87868%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36427     MICHAEL KOLBECK                           Claim 003752a, Payment                              7100-000                                     $896.88       $1,858,306.45
                                                                          55.88037%
                                11 Jensen Avenue
                                Spotswood, NJ 08884




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $15,057.55
                                                                             Document          Page 671 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36428     DANIEL WORONICK                           Claim 003755a, Payment                              7100-000                                     $896.88       $1,857,409.57
                                                                          55.88037%
                                822 Langston Ave.
                                Haines City, FL 33844
   08/27/14           36429     DAVID HURST                               Claim 003758a, Payment                              7100-000                                     $140.26       $1,857,269.31
                                                                          55.88048%
                                1123 South East Sanchez Avenue
                                Ocala, FL 34471
   08/27/14           36430     DONAVAN WILLCUTT                          Claim 003759a, Payment                              7100-000                                 $13,029.10        $1,844,240.21
                                                                          55.88051%
                                3536 74th Ave. SE
                                Olympia, WA 98501
   08/27/14           36431     ARGO PARTNERS                             Claim 003760a, Payment                              7100-000                                  $1,359.02        $1,842,881.19
                                                                          55.88076%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36432     LOIS LIGHTFOOT                            Claim 003763a, Payment                              7100-000                                  $4,437.47        $1,838,443.72
                                                                          55.88049%
                                409 MEADOWS AVE
                                TILLAMOOK, OR 97141
   08/27/14           36433     LIQUIDITY SOLUTIONS, INC.                 Claim 003768a, Payment                              7100-000                                     $787.36       $1,837,656.36
                                                                          55.88077%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36434     EDNA V DAVIS                              Claim 003769a, Payment                              7100-000                                  $1,866.41        $1,835,789.95
                                                                          55.88054%
                                3322 W WEAVER RD
                                HAMPTON, VA 23666
   08/27/14           36435     ROBERT GOLDBLATT JR                       Claim 003772a, Payment                              7100-004                                  $1,492.57        $1,834,297.38
                                                                          55.88057%
                                PO Box 2262
                                So Hackensack, NJ 07606
   08/27/14           36436     DONETA CASEY                              Claim 003775a, Payment                              7100-000                                  $1,057.26        $1,833,240.12
                                                                          55.88055%
                                1444 S 19th St.
                                Columbus, OH 43207




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                                                                             Document          Page 672 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36437     LORA RUDOLPH                              Claim 003778a, Payment                              7100-000                                     $642.62       $1,832,597.50
                                                                          55.88000%
                                25153 AULAC NORTH
                                CHESTERFIELD TOWNSHIP, MI 48051
   08/27/14           36438     BASIL BESHKOV                             Claim 003782Aa, Payment                             7100-000                                     $507.39       $1,832,090.11
                                                                          55.87996%
                                521 N ROXBURY DR
                                BEVERLY HILLS, CA 90210
   08/27/14           36439     LATITIA FIGGS                             Claim 003785a, Payment                              7100-000                                  $1,161.76        $1,830,928.35
                                                                          55.88071%
                                104 Esquire Lane
                                Elizabeth City, NC 27909
   08/27/14           36440     JOSEPHINE DELPINO                         Claim 003789a, Payment                              7100-004                                       $7.26       $1,830,921.09
                                                                          55.84615%
                                PO Box 770464
                                Coral Springs, FL 33077
   08/27/14           36441     KATHLEEN BLAKELEY                         Claim 003793a, Payment                              7100-000                                     $856.65       $1,830,064.44
                                                                          55.88063%
                                69 Tapestry Lane
                                Newnan, GA 30265
   08/27/14           36442     FRANK KALER                               Claim 003795a, Payment                              7100-000                                  $6,350.26        $1,823,714.18
                                                                          55.88050%
                                6563 Irving Ave
                                Pennsauken, NJ 08109
   08/27/14           36443     ARGO PARTNERS                             Claim 003799a, Payment                              7100-000                                  $4,974.48        $1,818,739.70
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36444     JESSICA SEYFARTH                          Claim 003800a, Payment                              7100-004                                  $1,938.49        $1,816,801.21
                                                                          55.88037%
                                415 Martin Road
                                Portland, TN 37148
   08/27/14           36445     ARGO PARTNERS                             Claim 003804a, Payment                              7100-000                                   $3,878.11       $1,812,923.10
                                                                          55.88055%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                             Document          Page 673 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36446     LETTIE RANDELLS                           Claim 003805a, Payment                              7100-000                                  $1,090.23        $1,811,832.87
                                                                          55.88057%
                                2422 Wainwright Street
                                Camden, NJ 08104
   08/27/14           36447     ARGO PARTNERS                             Claim 003811a, Payment                              7100-000                                     $790.71       $1,811,042.16
                                                                          55.88057%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36448     ARGO PARTNERS                             Claim 003812a, Payment                              7100-000                                     $103.38       $1,810,938.78
                                                                          55.88108%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36449     ARGO PARTNERS                             Claim 003814Aa, Payment                             7100-000                                  $4,649.82        $1,806,288.96
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36450     NATHAN MILES                              Claim 003819a, Payment                              7100-000                                 $23,302.17        $1,782,986.79
                                                                          55.88050%
                                27942 Bridlewood Dr
                                Castaic, CA 91384
   08/27/14           36451     SECOND CHANCE CREDIT                      Claim 003820a, Payment                              7100-000                                  $2,081.55        $1,780,905.24
                                OPPORTUNITIES,                            55.88054%

                                P.O. Box 240067
                                Montgomery, AL 36124
   08/27/14           36452     ARGO PARTNERS                             Claim 003821a, Payment                              7100-000                                     $602.95       $1,780,302.29
                                                                          55.88044%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36453     ARGO PARTNERS                             Claim 003823a, Payment                              7100-000                                     $808.03       $1,779,494.26
                                                                          55.88036%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36454     NAPA PROMJAK                              Claim 003824Aa, Payment                             7100-000                                  $7,054.91        $1,772,439.35
                                                                          55.88048%
                                PO Box 6021
                                Arlington, VA 22206




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 674 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36455     STEPHAN CUNY                              Claim 003826a, Payment                              7100-000                                  $2,172.63        $1,770,266.72
                                                                          55.88040%
                                70276 D Street
                                Covington, LA 70433
   08/27/14           36456     RICKY LEWIS                               Claim 003828a, Payment                              7100-000                                  $1,430.54        $1,768,836.18
                                                                          55.88047%
                                1548 Halls Top Rd
                                Newport, TN 37821
   08/27/14           36457     ARGO PARTNERS                             Claim 003831a, Payment                              7100-000                                  $1,416.57        $1,767,419.61
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36458     ARGO PARTNERS                             Claim 003834a, Payment                              7100-000                                     $830.95       $1,766,588.66
                                12 West 37th St., 9th FloorNew York, NY   55.88097%
                                10018
   08/27/14           36459     KERI CALVERT                              Claim 003841a, Payment                              7100-000                                  $3,031.52        $1,763,557.14
                                                                          55.88055%
                                671 County Rd 1635
                                Cullman, AL 35058
   08/27/14           36460     ARGO PARTNERS                             Claim 003845a, Payment                              7100-000                                  $2,081.55        $1,761,475.59
                                                                          55.88054%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36461     ARGO PARTNERS                             Claim 003848a, Payment                              7100-000                                     $739.30       $1,760,736.29
                                                                          55.88057%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36462     MYRIAM CIFUENTES                          Claim 003849a, Payment                              7100-000                                  $2,363.19        $1,758,373.10
                                                                          55.88059%
                                ATTN: TIMOTHY PATRICK MAGUIRE
                                MAGUIRE MAGUIRE PC
                                200 JACKSON AVE
                                NORTHFIELD, NJ 08225
   08/27/14           36463     ARGO PARTNERS                             Claim 003852Aa, Payment                             7100-000                                     $188.32       $1,758,184.78
                                                                          55.88131%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 675 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36464     ISABEL CANAS                              Claim 003855a, Payment                              7100-000                                  $1,010.31        $1,757,174.47
                                                                          55.87998%
                                18815 Fairfax Ave
                                Dels Palos, CA 93620
   08/27/14           36465     ASSET RECOVERY MANAGEMENT,                Claim 003859a, Payment                              7100-000                                     $247.55       $1,756,926.92
                                LLC                                       55.88036%

                                29 S. Onyx Ct.
                                Pike, Road, AL 36064
   08/27/14           36466     JOHN ROMANO                               Claim 003860a, Payment                              7100-000                                     $880.12       $1,756,046.80
                                                                          55.88063%
                                14325 Stirling Drive
                                Lakewood Ranch, FL 34202-5701
   08/27/14           36467     JOSE ORTIZ                                Claim 003862Aa, Payment                             7100-000                                  $3,229.89        $1,752,816.91
                                c/o Azar and Azar                         55.88045%
   08/27/14           36468     ARGO PARTNERS                             Claim 003863a, Payment                              7100-000                                  $1,092.46        $1,751,724.45
                                                                          55.88031%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36469     CHRISTOPHER KEPLEY                        Claim 003864a, Payment                              7100-000                                  $2,327.42        $1,749,397.03
                                                                          55.88043%
                                374 Rexmont Rd.
                                Lebanon, PA 17042
   08/27/14           36470     ROLANDO MONTALBAN                         Claim 003865a, Payment                              7100-000                                  $2,661.59        $1,746,735.44
                                                                          55.88054%
                                3314 Cannongate Ct.
                                San Jose, CA 95121
   08/27/14           36471     ARGO PARTNERS                             Claim 003871a, Payment                              7100-000                                     $905.82       $1,745,829.62
                                                                          55.88032%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36472     ARGO PARTNERS                             Claim 003874a, Payment                              7100-000                                  $2,185.49        $1,743,644.13
                                                                          55.88059%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36473     FRED GALIARDO                             Claim 003875a, Payment                              7100-000                                  $2,902.99        $1,740,741.14
                                                                          55.88046%
                                405 Park Ave. Apt. P
                                Rutherford, NJ 07070


                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 676 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36474     VIVIAN F DORGAY                           Claim 003876a, Payment                              7100-000                                  $3,275.16        $1,737,465.98
                                                                          55.88057%
                                PO BOX 295
                                ELGIN, SC 29045
   08/27/14           36475     LIQUIDITY SOLUTIONS, INC.                 Claim 003880a, Payment                              7100-000                                      $81.03       $1,737,384.95
                                                                          55.88276%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36476     DANIEL MORRISON                           Claim 003890a, Payment                              7100-000                                  $1,551.24        $1,735,833.71
                                                                          55.88040%
                                3909 Stough Rd
                                Concord, NC 28027
   08/27/14           36477     ARGO PARTNERS                             Claim 003893a, Payment                              7100-000                                  $1,441.16        $1,734,392.55
                                12 West 37th St., 9th FloorNew York, NY   55.88057%
                                10018
   08/27/14           36478     JACQUELINE FANTASIA                       Claim 003897a, Payment                              7100-000                                  $3,358.42        $1,731,034.13
                                                                          55.88053%
                                120 Alcott Place 8G
                                Bronx, NY 10475
   08/27/14           36479     MEREDITH GALYEAN                          Claim 003901a, Payment                              7100-000                                      $19.56       $1,731,014.57
                                                                          55.88571%
                                131 Lindley Street
                                Rural Hall, NC 27045
   08/27/14           36480     ROBERT AND SUSAN FORCIER AKINS Claim 003903a, Payment                                         7100-000                                     $694.04       $1,730,320.53
                                                               55.88084%
                                1518 College Way
                                New Bern, NC 28562
   08/27/14           36481     JENNIFER BEAVER                           Claim 003905a, Payment                              7100-000                                  $1,571.92        $1,728,748.61
                                                                          55.88055%
                                8631 Sea Pines Lane
                                Dayton, OH 45458
   08/27/14           36482     LEONARDO RAMOS                            Claim 003907a, Payment                              7100-000                                  $1,578.62        $1,727,169.99
                                                                          55.88035%
                                c/o Paul Kramer, Esq.
                                103 N. 7th St.
                                Stroudsburg, PA 18360




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $13,571.15
                                                                             Document          Page 677 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36483     ESTHER PEOPLES                            Claim 003921a, Payment                              7100-004                                      $13.97       $1,727,156.02
                                                                          55.88000%
                                6833 Riverdale Road Apt D-101
                                Riverdale, MD 20737
   08/27/14           36484     ANNETTA SMITH                             Claim 003922a, Payment                              7100-000                                  $3,560.15        $1,723,595.87
                                                                          55.88055%
                                135-12 245TH ST
                                ROSEDALE, NY 11422
   08/27/14           36485     ARGO PARTNERS                             Claim 003923a, Payment                              7100-000                                      $19.00       $1,723,576.87
                                                                          55.88235%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36486     ARGO PARTNERS                             Claim 003925a, Payment                              7100-000                                     $104.49       $1,723,472.38
                                                                          55.87701%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36487     LIQUIDITY SOLUTIONS, INC.                 Claim 003926a, Payment                              7100-000                                  $2,134.64        $1,721,337.74
                                                                          55.88063%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36488     JOANN GULLOCTTI                           Claim 003929a, Payment                              7100-000                                  $2,134.63        $1,719,203.11
                                                                          55.88037%
                                2775 Woods Avenue
                                Oceanside, NY 11572
   08/27/14           36489     WENDY ABEL                                Claim 003930a, Payment                              7100-000                                     $839.67       $1,718,363.44
                                                                          55.88077%
                                10348 Micah Lane
                                Hillsboro, MO 63050-5812
   08/27/14           36490     ARTURO ROBINSON                           Claim 003932a, Payment                              7100-000                                  $4,522.97        $1,713,840.47
                                                                          55.88053%
                                5721 NW 199th St
                                Miami, FL 33015
   08/27/14           36491     ELANA ESPINOSA                            Claim 003934Aa, Payment                             7100-000                                      $94.44       $1,713,746.03
                                                                          55.88166%
                                AKA Elana Chua
                                162 Redwood Ave
                                Wayne, NJ 07470




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $13,423.96
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36492     LAURA MEJIA                               Claim 003935a, Payment                              7100-004                                     $300.07       $1,713,445.96
                                                                          55.87896%
                                9715 S Armley Ave
                                WHITTIER, CA 90604
   08/27/14           36493     ROSALBA TORRES                            Claim 003936a, Payment                              7100-004                                  $2,633.65        $1,710,812.31
                                                                          55.88054%
                                9715 Armley Ave
                                Whittier, CA 90604
   08/27/14           36494     ARGO PARTNERS                             Claim 003937a, Payment                              7100-000                                  $2,700.15        $1,708,112.16
                                                                          55.88059%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36495     ARGO PARTNERS                             Claim 003940Aa, Payment                             7100-000                                     $592.89       $1,707,519.27
                                12 West 37th St., 9th Fl.New York, NY     55.88030%
                                10018
   08/27/14           36496     RUSSELL PINE                              Claim 003943Aa, Payment                             7100-000                                     $145.29       $1,707,373.98
                                                                          55.88077%
                                112B Casentini Street
                                Salinas, CA 93907
   08/27/14           36497     ARGO PARTNERS                             Claim 003945a, Payment                              7100-000                                   $5,311.44       $1,702,062.54
                                                                          55.88048%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36498     ARGO PARTNERS                             Claim 003947a, Payment                              7100-000                                     $894.65       $1,701,167.89
                                                                          55.88070%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36499     TIMOTHY F BURROUGHS                       Claim 003948a, Payment                              7100-000                                  $2,130.72        $1,699,037.17
                                                                          55.88041%
                                1812 31ST AVE
                                GULFPORT, MS 39501
   08/27/14           36500     ASSET RECOVERY MANAGEMENT,                Claim 003951a, Payment                              7100-000                                      $81.59       $1,698,955.58
                                LLC                                       55.88356%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064




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                                                                             Document          Page 679 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36501     CARMEN TEMPONE                            Claim 003953a, Payment                              7100-000                                     $237.49       $1,698,718.09
                                                                          55.88000%
                                690 MICHELLE DR
                                BILOXI, MS 39532
   08/27/14           36502     MCKINNEY GINGER AND ROBERT L JR Claim 003958a, Payment                                        7100-000                                  $1,105.31        $1,697,612.78
                                                                55.88018%
                                POB 327
                                South Charleston, OH 45368
   08/27/14           36503     JONATHAN R BRANDT                         Claim 003959a, Payment                              7100-000                                     $447.04       $1,697,165.74
                                                                          55.88000%
                                4389 WEST 48
                                CLEVELAND, OH 44144
   08/27/14           36504     JUAN ORTIZ                                Claim 003963a, Payment                              7100-000                                  $1,189.70        $1,695,976.04
                                                                          55.88070%
                                48 East Munson Ave.
                                Dover, NJ 07801
   08/27/14           36505     FRANCISCO FERNANDEZ                       Claim 003965a, Payment                              7100-000                                     $692.92       $1,695,283.12
                                                                          55.88065%
                                104 Cortland Avenue
                                Hicksville, NY 11801
   08/27/14           36506     DAVID DANIELS                             Claim 003967a, Payment                              7100-000                                  $3,298.63        $1,691,984.49
                                                                          55.88057%
                                7052 East 71st Court
                                Tulsa, OK 74133
   08/27/14           36507     ARGO PARTNERS                             Claim 003969a, Payment                              7100-000                                  $1,364.04        $1,690,620.45
                                                                          55.88038%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36508     ROBERT J WALTERS JR                       Claim 003970Aa, Payment                             7100-000                                     $129.64       $1,690,490.81
                                                                          55.87931%
                                311 E CLARK ST
                                GRANTSVILLE, UT 84029
   08/27/14           36509     SUZETTE SWERKO                            Claim 003971a, Payment                              7100-000                                  $2,652.65        $1,687,838.16
                                                                          55.88056%
                                143 Southern Pecan Circle Unit 208
                                Winter Garden, FL 34787




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36510     ROBERT JONES                              Claim 003975a, Payment                              7100-000                                  $5,375.70        $1,682,462.46
                                                                          55.88046%
                                226 Sunset Drive
                                Hurricane, WV 25526
   08/27/14           36511     LIQUIDITY SOLUTIONS, INC.                 Claim 003977a, Payment                              7100-000                                  $2,832.58        $1,679,629.88
                                                                          55.88045%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36512     GARY ALLISON                              Claim 003978a, Payment                              7100-000                                  $2,249.75        $1,677,380.13
                                                                          55.88053%
                                5050 TAMARUS ST 105
                                LAS VEGAS, NV 89119
   08/27/14           36513     PATRICIA BAZNER                           Claim 003981a, Payment                              7100-000                                  $2,956.64        $1,674,423.49
                                                                          55.88055%
                                2027 WILL ROGERS WAY
                                KINGMAN, AZ 86409
   08/27/14           36514     LIQUIDITY SOLUTIONS, INC.                 Claim 003982a, Payment                              7100-000                                     $452.63       $1,673,970.86
                                                                          55.88025%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36515     SUSANA NUNEZ                              Claim 003985a, Payment                              7100-000                                     $305.11       $1,673,665.75
                                                                          55.88095%
                                5100 Parkerwood Dr
                                Knightdale, NC 27545
   08/27/14           36516     JAMES GOSSETT                             Claim 003988a, Payment                              7100-004                                  $1,476.36        $1,672,189.39
                                                                          55.88039%
                                410 N Kimmons St.
                                Landis, NC 28088
   08/27/14           36517     JOE AND KARLA APPELHANS                   Claim 003989a, Payment                              7100-000                                     $132.44       $1,672,056.95
                                                                          55.88186%
                                35855 POPPY RIDGE RD
                                SOLDOTNA, AK 99669
   08/27/14           36518     ASSET RECOVERY MANAGEMENT,                Claim 003993a, Payment                              7100-000                                     $387.81       $1,671,669.14
                                LLC                                       55.88040%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36519     JUAN BANDA                                Claim 003995Aa, Payment                             7100-000                                  $3,442.80        $1,668,226.34
                                                                          55.88054%
                                13096 Blackbird St. Space 53
                                Garden Grove, CA 92843
   08/27/14           36520     DENISE HARDWICK                           Claim 003996a, Payment                              7100-000                                     $503.48       $1,667,722.86
                                                                          55.88013%
                                6040 BROOKHILL CT
                                ORLANDO, FL 32810
   08/27/14           36521     GLORIA GALLEGO                            Claim 003998a, Payment                              7100-000                                     $257.61       $1,667,465.25
                                                                          55.88069%
                                39-14 57th Street
                                Woodside, NY 11377
   08/27/14           36522     LIQUIDITY SOLUTIONS, INC.                 Claim 004000a, Payment                              7100-000                                  $2,832.58        $1,664,632.67
                                                                          55.88045%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36523     DOLAN TORRES                              Claim 004007a, Payment                              7100-000                                  $2,740.94        $1,661,891.73
                                                                          55.88053%
                                117 Lancha Circle, Apt 203
                                Indian Harbour Beach, FL 32937
   08/27/14           36524     TOMMIE CRUMEDY                            Claim 004008a, Payment                              7100-000                                     $111.76       $1,661,779.97
                                                                          55.88000%
                                2530 Harry Wurzbach Apt. 2210
                                San Antonio, TX 78209
   08/27/14           36525     KEVIN AND CELINA DAMPIER                  Claim 004010a, Payment                              7100-000                                  $1,698.21        $1,660,081.76
                                                                          55.88055%
                                3320 57th Ave.
                                Vero Beach, FL 32966
   08/27/14           36526     MARITZA PEREZ                             Claim 004013a, Payment                              7100-000                                     $993.56       $1,659,088.20
                                                                          55.88076%
                                16166 Firestone Ln
                                Chino Hills, CA 91709
   08/27/14           36527     HIESEN AND JEFF BIRMINGHAM                Claim 004014a, Payment                              7100-000                                     $934.32       $1,658,153.88
                                                                          55.88038%
                                1730 JEWEL STAR CT
                                RENO, NV 89506




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36528     JENNIFER THOMAS                           Claim 004015a, Payment                              7100-000                                   $5,811.57       $1,652,342.31
                                                                          55.88048%
                                544 N AIRWAY DR
                                TUCSON, AZ 85750
   08/27/14           36529     JANIE BADE                                Claim 004016a, Payment                              7100-000                                  $1,954.14        $1,650,388.17
                                                                          55.88047%
                                302 N CHESTNUT
                                WENONA, IL 61377
   08/27/14           36530     ANITA MALPICA                             Claim 004018a, Payment                              7100-000                                  $1,343.93        $1,649,044.24
                                                                          55.88067%
                                11 Worthington Court
                                Carmel, NY 10512
   08/27/14           36531     SUZETTE MASCHI                            Claim 004030a, Payment                              7100-000                                     $943.26       $1,648,100.98
                                                                          55.88033%
                                827 Oronoke Rd 9-7
                                Waterbury, CT 06708
   08/27/14           36532     KEVIN HITZGES                             Claim 004032a, Payment                              7100-000                                  $2,335.25        $1,645,765.73
                                                                          55.88059%
                                3702 SE 8th Ave
                                Cape Coral, FL 33904
   08/27/14           36533     THOMAS DALY                               Claim 004033a, Payment                              7100-000                                  $6,082.59        $1,639,683.14
                                                                          55.88048%
                                PO BOX 650555
                                Vero Beach, FL 32965
   08/27/14           36534     KAYLYNN DO                                Claim 004035a, Payment                              7100-000                                      $62.03       $1,639,621.11
                                                                          55.88288%
                                6 DARA LN
                                WORCESTER, MA 01609-1053
   08/27/14           36535     ASSET RECOVERY MANAGEMENT,                Claim 004037a, Payment                              7100-000                                      $88.85       $1,639,532.26
                                LLC                                       55.88050%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           36536     ARGO PARTNERS                             Claim 004038a, Payment                              7100-000                                  $3,310.92        $1,636,221.34
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36537     EMMA SANCHEZ                              Claim 004040a, Payment                              7100-000                                  $2,558.21        $1,633,663.13
                                                                          55.88052%
                                162 Onondaga Ave.
                                San Francisco, CA 94112
   08/27/14           36538     SALLY RAUWOLF                             Claim 004041a, Payment                              7100-004                                     $267.11       $1,633,396.02
                                                                          55.88075%
                                PO BOX 162
                                Wilseyville, CA 95257
   08/27/14           36539     CHRISTINA BONILLA                         Claim 004049a, Payment                              7100-000                                  $4,502.29        $1,628,893.73
                                                                          55.88048%
                                184 Beach 61 Street 1st Floor
                                Arverne, NY 11692
   08/27/14           36540     ARGO PARTNERS                             Claim 004051a, Payment                              7100-000                                     $213.46       $1,628,680.27
                                                                          55.87958%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36541     JAMES KEMLY                               Claim 004053a, Payment                              7100-000                                  $6,135.12        $1,622,545.15
                                                                          55.88050%
                                484 B County Road 614
                                Asbury, NJ 08802
   08/27/14           36542     GUSTAVO PENA                              Claim 004056a, Payment                              7100-000                                  $1,621.65        $1,620,923.50
                                                                          55.88043%
                                13030 Signature Point 24
                                San Diego, CA 92130
   08/27/14           36543     GLORIA CLOTEYKINE                         Claim 004059a, Payment                              7100-000                                  $1,156.17        $1,619,767.33
                                                                          55.88062%
                                3722 Shepard Street
                                Brentwood, MD 20722
   08/27/14           36544     LIQUIDITY SOLUTIONS, INC.                 Claim 004065a, Payment                              7100-000                                  $4,864.96        $1,614,902.37
                                                                          55.88054%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36545     LIQUIDITY SOLUTIONS                       Claim 004066a, Payment                              7100-000                                  $1,474.69        $1,613,427.68
                                1 University Plaza, Ste. 312Hackensack,   55.88064%
                                NJ 07601
   08/27/14           36546     ARGO PARTNERS                             Claim 004068a, Payment                              7100-000                                     $984.05       $1,612,443.63
                                                                          55.88018%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018


                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $23,777.71
                                                                             Document          Page 684 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36547     TIMOTHY A BURCH                           Claim 004069a, Payment                              7100-000                                     $464.37       $1,611,979.26
                                                                          55.88087%
                                311 S JOHN ST
                                GOLDSBORO, NC 27530
   08/27/14           36548     ALLEN E PARKER                            Claim 004070a, Payment                              7100-000                                  $1,569.40        $1,610,409.86
                                                                          55.88036%
                                4931 BAKER PLANTATION WAY
                                ACWORTH, GA 30101
   08/27/14           36549     ARGO PARTNERS                             Claim 004082a, Payment                              7100-000                                      $58.67       $1,610,351.19
                                                                          55.87619%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36550     WILL WILLIAMS JR                          Claim 004090a, Payment                              7100-000                                  $1,209.81        $1,609,141.38
                                                                          55.88037%
                                4800 NORTHVIEW
                                EL PASO, TX 79934
   08/27/14           36551     ARGO PARTNERS                             Claim 004092a, Payment                              7100-000                                     $392.28       $1,608,749.10
                                                                          55.88034%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36552     ARGO PARTNERS                             Claim 004094a, Payment                              7100-000                                     $652.13       $1,608,096.97
                                                                          55.88089%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36553     MARILYN RIVERA                            Claim 004096a, Payment                              7100-000                                  $1,541.74        $1,606,555.23
                                                                          55.88039%
                                600 Beideman Ave
                                Camden, NJ 08105
   08/27/14           36554     ARGO PARTNERS                             Claim 004098a, Payment                              7100-000                                     $322.43       $1,606,232.80
                                                                          55.88042%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36555     ARGO PARTNERS                             Claim 004100a, Payment                              7100-000                                     $917.00       $1,605,315.80
                                                                          55.88056%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                             Document          Page 685 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36556     JODY MURRAY                               Claim 004102a, Payment                              7100-000                                     $824.24       $1,604,491.56
                                                                          55.88068%
                                17518 NW Hintzville Rd.
                                Seabeck, WA 98380
   08/27/14           36557     PATRICK REED                              Claim 004107a, Payment                              7100-000                                  $4,996.83        $1,599,494.73
                                                                          55.88045%
                                1501 Austin Cir
                                Salina, KS 67401
   08/27/14           36558     SCOTT WRIGHT                              Claim 004110a, Payment                              7100-004                                      $22.91       $1,599,471.82
                                                                          55.87805%
                                3195 S 300E 17
                                SOUTH SALT LAKE, UT 84115
   08/27/14           36559     ARGO PARTNERS                             Claim 004111a, Payment                              7100-000                                     $727.57       $1,598,744.25
                                                                          55.88095%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36560     ARGO PARTNERS                             Claim 004113Aa, Payment                             7100-000                                  $5,218.68        $1,593,525.57
                                                                          55.88050%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36561     REINHOLD SCHOUWEILER                      Claim 004116a, Payment                              7100-004                                      $63.70       $1,593,461.87
                                                                          55.87719%
                                PO Box 9210
                                Des Moines, IA 50306
   08/27/14           36562     ARGO PARTNERS                             Claim 004117a, Payment                              7100-000                                  $2,607.38        $1,590,854.49
                                                                          55.88041%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36563     ARGO PARTNERS                             Claim 004118a, Payment                              7100-000                                     $791.27       $1,590,063.22
                                                                          55.88065%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36564     THOMAS IADISERNIA                         Claim 004121a, Payment                              7100-000                                     $633.69       $1,589,429.53
                                                                          55.88095%
                                40 Dunnigan Dr
                                Pomona, NY 10970




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36565     ARGO PARTNERS                             Claim 004123a, Payment                              7100-000                                  $1,216.52        $1,588,213.01
                                                                          55.88057%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36566     CLYDE ALLEN                               Claim 004127a, Payment                              7100-000                                      $73.15       $1,588,139.86
                                                                          55.87808%
                                5346 Pyles Rd.
                                Columbiaville, MI 48421
   08/27/14           36567     TIMOTHY NICHOLSON                         Claim 004133a, Payment                              7100-000                                  $2,264.28        $1,585,875.58
                                                                          55.88055%
                                372 White Flash Road
                                Mount Olive, NC 28365
   08/27/14           36568     ROSEANN GENUARIO                          Claim 004136a, Payment                              7100-000                                  $1,484.74        $1,584,390.84
                                                                          55.88032%
                                7 Fritz St
                                Bloomfield, NJ 07003
   08/27/14           36569     THOMAS DARROW HANSEN                      Claim 004141a, Payment                              7100-000                                  $5,710.99        $1,578,679.85
                                                                          55.88053%
                                2165 EMERSON AVE
                                SALT LAKE CITY, UT 84108-2303
   08/27/14           36570     STACEY TERRY                              Claim 004142a, Payment                              7100-000                                     $372.72       $1,578,307.13
                                                                          55.88006%
                                321 RIDGEWAY CI
                                TROUTVILLE, VA 24175
   08/27/14           36571     DAVID BERUMEN                             Claim 004143a, Payment                              7100-000                                  $1,343.37        $1,576,963.76
                                c/o Azar and Azar                         55.88062%
   08/27/14           36572     LANCE FISHER                              Claim 004144a, Payment                              7100-000                                  $2,246.95        $1,574,716.81
                                c/o Azar and Azar                         55.88038%
   08/27/14           36573     GABRIEL O`HERN                            Claim 004145a, Payment                              7100-000                                   $2,112.85       $1,572,603.96
                                c/o Azar and Azar                         55.88072%
   08/27/14           36574     ALISON ABBOTT                             Claim 004148a, Payment                              7100-000                                     $216.26       $1,572,387.70
                                c/o Azar and Azar                         55.88114%
   08/27/14           36575     EDWARD AFOLABI                            Claim 004150a, Payment                              7100-000                                  $1,050.55        $1,571,337.15
                                c/o Azar and Azar                         55.88032%
   08/27/14           36576     INGRID ALBRECHT                           Claim 004153a, Payment                              7100-000                                      $81.03       $1,571,256.12
                                c/o Azar and Azar                         55.88276%
   08/27/14           36577     LUIS ALZARADO                             Claim 004155a, Payment                              7100-000                                  $1,060.61        $1,570,195.51
                                c/o Azar and Azar                         55.88040%

                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36578     GLEORIA MITCHELL                         Claim 004157a, Payment                              7100-000                                     $972.88       $1,569,222.63
                                c/o Azar and Azar                        55.88053%
   08/27/14           36579     FARISH ANDERSON SR                       Claim 004160a, Payment                              7100-000                                     $487.84       $1,568,734.79
                                c/o Azar and Azar                        55.88087%
   08/27/14           36580     SUSAN ANDERSON                           Claim 004162a, Payment                              7100-000                                  $1,455.13        $1,567,279.66
                                c/o Azar and Azar                        55.88057%
   08/27/14           36581     MARILYN ANG                              Claim 004163a, Payment                              7100-000                                     $630.33       $1,566,649.33
                                c/o Azar and Azar                        55.88032%
   08/27/14           36582     ROD ARMENT                               Claim 004167a, Payment                              7100-000                                     $698.51       $1,565,950.82
                                c/o Azar and Azar                        55.88080%
   08/27/14           36583     JOANNE ARNOLD                            Claim 004169a, Payment                              7100-000                                     $153.11       $1,565,797.71
                                c/o Azar and Azar                        55.87956%
   08/27/14           36584     SONYA BAKER                              Claim 004171a, Payment                              7100-000                                  $1,612.15        $1,564,185.56
                                c/o Azar and Azar                        55.88042%
   08/27/14           36585     JANICE BAUGHMAN                          Claim 004174a, Payment                              7100-000                                  $2,597.88        $1,561,587.68
                                c/o Azar and Azar                        55.88040%
   08/27/14           36586     EVALENA LORICK                           Claim 004181a, Payment                              7100-000                                     $410.72       $1,561,176.96
                                c/o Azar and Azar                        55.88027%
   08/27/14           36587     DOROTHY BOTTONE                          Claim 004182a, Payment                              7100-000                                     $773.94       $1,560,403.02
                                c/o Azar and Azar                        55.88014%
   08/27/14           36588     DAVID TROY BROWN                         Claim 004187a, Payment                              7100-000                                      $90.92       $1,560,312.10
                                c/o Azar and Azar                        55.88199%
   08/27/14           36589     PATRICIA R BULLOCH                       Claim 004190a, Payment                              7100-000                                  $1,234.96        $1,559,077.14
                                c/o Azar and Azar                        55.88054%
   08/27/14           36590     MICHAEL CALARCO                          Claim 004192a, Payment                              7100-000                                  $3,030.40        $1,556,046.74
                                c/o Azar and Azar                        55.88051%
   08/27/14           36591     ALBERTO CHAVEZ                           Claim 004195a, Payment                              7100-000                                   $2,044.11       $1,554,002.63
                                c/o Azar and Azar                        55.88054%
   08/27/14           36592     WALTER CONDRON                           Claim 004196a, Payment                              7100-000                                  $1,018.14        $1,552,984.49
                                c/o Azar and Azar                        55.88035%
   08/27/14           36593     FRANKIE ALVARADO                         Claim 004198a, Payment                              7100-000                                 $10,181.43        $1,542,803.06
                                c/o Azar and Azar                        55.88052%
   08/27/14           36594     SUE E COY                                Claim 004199a, Payment                              7100-000                                     $237.49       $1,542,565.57
                                c/o Azar and Azar                        55.88000%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36595     AMELIA ALMEIDA                           Claim 004200a, Payment                              7100-000                                  $1,293.64        $1,541,271.93
                                c/o Azar and Azar                        55.88078%
   08/27/14           36596     EDDIE ALLISON                            Claim 004201a, Payment                              7100-000                                  $2,180.46        $1,539,091.47
                                c/o Azar and Azar                        55.88057%
   08/27/14           36597     SAMUEL ALLEN                             Claim 004202a, Payment                              7100-000                                     $830.94       $1,538,260.53
                                c/o Azar and Azar                        55.88030%
   08/27/14           36598     LUERINE ALLEN                            Claim 004204a, Payment                              7100-000                                  $1,292.52        $1,536,968.01
                                c/o Azar and Azar                        55.88067%
   08/27/14           36599     JAMES E ALEXANDER                        Claim 004208a, Payment                              7100-000                                  $7,613.72        $1,529,354.29
                                c/o Azar and Azar                        55.88051%
   08/27/14           36600     ASHUTUSH DATTA                           Claim 004209a, Payment                              7100-000                                   $9,113.55       $1,520,240.74
                                c/o Azar and Azar                        55.88050%
   08/27/14           36601     LUTHA ABRAMS                             Claim 004210a, Payment                              7100-000                                  $1,586.45        $1,518,654.29
                                c/o Azar and Azar                        55.88059%
   08/27/14           36602     JEAN ADRASSE                             Claim 004212a, Payment                              7100-000                                     $206.76       $1,518,447.53
                                c/o Azar and Azar                        55.88108%
   08/27/14           36603     OSWALD DAWSON                            Claim 004214a, Payment                              7100-000                                     $569.42       $1,517,878.11
                                c/o Azar and Azar                        55.88027%
   08/27/14           36604     ALONZO F ADAMS                           Claim 004215a, Payment                              7100-000                                     $281.08       $1,517,597.03
                                c/o Azar and Azar                        55.88072%
   08/27/14           36605     OKECHUKWU AHAMBA                         Claim 004216a, Payment                              7100-000                                     $231.34       $1,517,365.69
                                c/o Azar and Azar                        55.87923%
   08/27/14           36606     LOIS DENNIS                              Claim 004218a, Payment                              7100-000                                  $2,172.63        $1,515,193.06
                                c/o Azar and Azar                        55.88040%
   08/27/14           36607     JOHN ZEMAN                               Claim 004219a, Payment                              7100-000                                     $416.87       $1,514,776.19
                                c/o Azar and Azar                        55.88070%
   08/27/14           36608     CARL TEAGUE                              Claim 004223a, Payment                              7100-000                                     $505.72       $1,514,270.47
                                c/o Azar and Azar                        55.88066%
   08/27/14           36609     LINDA THOMPSON                           Claim 004225a, Payment                              7100-000                                  $1,761.91        $1,512,508.56
                                c/o Azar and Azar                        55.88043%
   08/27/14           36610     PAUL AND DENISE BERNIER                  Claim 004226a, Payment                              7100-000                                  $6,621.84        $1,505,886.72
                                c/o Azar and Azar                        55.88051%
   08/27/14           36611     TERRY HOPPA                              Claim 004227a, Payment                              7100-000                                      $97.23       $1,505,789.49
                                c/o Azar and Azar                        55.87931%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36612     JACKIE BERRY                             Claim 004228a, Payment                              7100-000                                  $2,232.43        $1,503,557.06
                                c/o Azar and Azar                        55.88060%
   08/27/14           36613     CLEO HOLMES                              Claim 004229a, Payment                              7100-000                                   $2,115.08       $1,501,441.98
                                c/o Azar and Azar                        55.88058%
   08/27/14           36614     COREY BETUEL                             Claim 004230a, Payment                              7100-000                                     $630.89       $1,500,811.09
                                c/o Azar and Azar                        55.88043%
   08/27/14           36615     HANNIA BIANCHINI                         Claim 004232a, Payment                              7100-000                                  $2,190.52        $1,498,620.57
                                c/o Azar and Azar                        55.88061%
   08/27/14           36616     MICHAEL HOGG                             Claim 004233a, Payment                              7100-000                                  $1,388.63        $1,497,231.94
                                c/o Azar and Azar                        55.88048%
   08/27/14           36617     DARRYL MARCEL DANIEL                     Claim 004234a, Payment                              7100-000                                      $58.67       $1,497,173.27
                                c/o Azar and Azar                        55.87619%
   08/27/14           36618     TANISHA DAVIS                            Claim 004236a, Payment                              7100-000                                     $272.14       $1,496,901.13
                                c/o Azar and Azar                        55.88090%
   08/27/14           36619     DIANA DE LA ROSA                         Claim 004238a, Payment                              7100-000                                     $653.24       $1,496,247.89
                                c/o Azar and Azar                        55.88024%
   08/27/14           36620     MARIA DE LEON                            Claim 004239a, Payment                              7100-000                                     $613.01       $1,495,634.88
                                c/o Azar and Azar                        55.88058%
   08/27/14           36621     GENE DEJEAN                              Claim 004240a, Payment                              7100-000                                  $6,126.18        $1,489,508.70
                                c/o Azar and Azar                        55.88051%
   08/27/14           36622     EDNA DE LEON                             Claim 004242a, Payment                              7100-000                                  $3,558.47        $1,485,950.23
                                c/o Azar and Azar                        55.88050%
   08/27/14           36623     RONALD DETTORE                           Claim 004244a, Payment                              7100-000                                     $357.64       $1,485,592.59
                                c/o Azar and Azar                        55.88125%
   08/27/14           36624     THERESIA A DILLARD                       Claim 004246a, Payment                              7100-000                                     $935.99       $1,484,656.60
                                c/o Azar and Azar                        55.88000%
   08/27/14           36625     JENNY DIZONA                             Claim 004247a, Payment                              7100-000                                     $196.14       $1,484,460.46
                                c/o Azar and Azar                        55.88034%
   08/27/14           36626     CAROLYN DODD                             Claim 004248a, Payment                              7100-000                                  $2,477.18        $1,481,983.28
                                c/o Azar and Azar                        55.88044%
   08/27/14           36627     ROBERT L DONOHUE                         Claim 004249a, Payment                              7100-000                                  $1,437.81        $1,480,545.47
                                c/o Azar and Azar                        55.88068%
   08/27/14           36628     SHARON DOSS                              Claim 004251a, Payment                              7100-000                                     $894.09       $1,479,651.38
                                c/o Azar and Azar                        55.88063%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36629     WILLIAM DUNN JR                          Claim 004252a, Payment                              7100-000                                 $34,930.62        $1,444,720.76
                                c/o Azar and Azar                        55.88050%
   08/27/14           36630     THOMAS EDWARDS                           Claim 004254a, Payment                              7100-000                                  $1,237.75        $1,443,483.01
                                c/o Azar and Azar                        55.88036%
   08/27/14           36631     J C ELLIS                                Claim 004256a, Payment                              7100-000                                     $908.06       $1,442,574.95
                                c/o Azar and Azar                        55.88062%
   08/27/14           36632     CATHY ENOS                               Claim 004257a, Payment                              7100-000                                     $572.22       $1,442,002.73
                                c/o Azar and Azar                        55.88086%
   08/27/14           36633     TIMOTHY BARBER                           Claim 004258a, Payment                              7100-000                                  $1,075.70        $1,440,927.03
                                c/o Azar and Azar                        55.88052%
   08/27/14           36634     NATALIE ESQUIVEL                         Claim 004259a, Payment                              7100-000                                     $522.48       $1,440,404.55
                                c/o Azar and Azar                        55.88021%
   08/27/14           36635     KELLY ESSMEN                             Claim 004260a, Payment                              7100-000                                     $400.66       $1,440,003.89
                                c/o Azar and Azar                        55.88006%
   08/27/14           36636     EDWARD FABIE                             Claim 004261a, Payment                              7100-000                                  $6,207.76        $1,433,796.13
                                c/o Azar and Azar                        55.88046%
   08/27/14           36637     JOHN FISHER                              Claim 004265a, Payment                              7100-000                                  $1,005.29        $1,432,790.84
                                c/o Azar and Azar                        55.88049%
   08/27/14           36638     GRACE FLETCHER                           Claim 004266a, Payment                              7100-000                                     $235.26       $1,432,555.58
                                c/o Azar and Azar                        55.88124%
   08/27/14           36639     ALEXANDRA D FLOODY                       Claim 004267a, Payment                              7100-000                                     $694.04       $1,431,861.54
                                c/o Azar and Azar                        55.88084%
   08/27/14           36640     BOB FREIMARK                             Claim 004273a, Payment                              7100-000                                  $1,721.68        $1,430,139.86
                                c/o Azar and Azar                        55.88056%
   08/27/14           36641     DAVID FRIERSON                           Claim 004274a, Payment                              7100-000                                  $8,334.58        $1,421,805.28
                                c/o Azar and Azar                        55.88052%
   08/27/14           36642     DAWN FRYE                                Claim 004275a, Payment                              7100-000                                  $5,985.12        $1,415,820.16
                                c/o Azar and Azar                        55.88050%
   08/27/14           36643     JOHN R GAY                               Claim 004277a, Payment                              7100-000                                  $4,916.92        $1,410,903.24
                                c/o Azar and Azar                        55.88044%
   08/27/14           36644     LOISTEEN GIBSON                          Claim 004278a, Payment                              7100-000                                     $747.12       $1,410,156.12
                                c/o Azar and Azar                        55.88033%
   08/27/14           36645     RAY GILBERT                              Claim 004279a, Payment                              7100-000                                  $5,230.97        $1,404,925.15
                                c/o Azar and Azar                        55.88046%




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                                                                                                                                                    Desc Main         $74,726.23
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36646     VANDERLEI GONCALVES                      Claim 004281a, Payment                              7100-000                                  $3,757.96        $1,401,167.19
                                c/o Azar and Azar                        55.88045%
   08/27/14           36647     EDWARD GONDEK                            Claim 004282a, Payment                              7100-000                                     $166.53       $1,401,000.66
                                c/o Azar and Azar                        55.88255%
   08/27/14           36648     TOD DEGENSTEIN                           Claim 004283a, Payment                              7100-000                                  $3,010.28        $1,397,990.38
                                c/o Azar and Azar                        55.88045%
   08/27/14           36649     SHIRLEY AKINSHADE                        Claim 004286a, Payment                              7100-000                                     $845.47       $1,397,144.91
                                c/o Azar and Azar                        55.88037%
   08/27/14           36650     NELSON ALBA                              Claim 004287a, Payment                              7100-000                                      $35.77       $1,397,109.14
                                c/o Azar and Azar                        55.89063%
   08/27/14           36651     MARY ROGERS                              Claim 004289a, Payment                              7100-000                                  $2,477.18        $1,394,631.96
                                c/o Azar and Azar                        55.88044%
   08/27/14           36652     RYAN WILLIS                              Claim 004297a, Payment                              7100-000                                     $215.70       $1,394,416.26
                                c/o Azar and Azar                        55.88083%
   08/27/14           36653     VICTOR DEMARCO                           Claim 004298a, Payment                              7100-000                                  $2,636.44        $1,391,779.82
                                c/o Azar and Azar                        55.88046%
   08/27/14           36654     CAROLYN HUTCHERSON                       Claim 004300a, Payment                              7100-000                                  $1,564.65        $1,390,215.17
                                c/o Azar and Azar                        55.88036%
   08/27/14           36655     IVAN INCENCIO                            Claim 004302a, Payment                              7100-000                                  $2,489.48        $1,387,725.69
                                c/o Azar and Azar                        55.88058%
   08/27/14           36656     ROSE WILSON                              Claim 004303a, Payment                              7100-000                                     $625.86       $1,387,099.83
                                c/o Azar and Azar                        55.88036%
   08/27/14           36657     LEONARD RICHMAN                          Claim 004310a, Payment                              7100-000                                  $3,836.20        $1,383,263.63
                                C/o Azar and Azar                        55.88055%
   08/27/14           36658     NEVILL STONE                             Claim 004312a, Payment                              7100-000                                  $1,732.85        $1,381,530.78
                                c/o Azar and Azar                        55.88036%
   08/27/14           36659     ANDREA SCHMIDT                           Claim 004314a, Payment                              7100-000                                  $1,315.99        $1,380,214.79
                                c/o Azar and Azar                        55.88068%
   08/27/14           36660     JEFFREY DENNY                            Claim 004316a, Payment                              7100-000                                      $77.12       $1,380,137.67
                                c/o Azar and Azar                        55.88406%
   08/27/14           36661     MICHELLE SANTIFUL                        Claim 004318a, Payment                              7100-000                                     $372.72       $1,379,764.95
                                c/o Azar and Azar                        55.88006%
   08/27/14           36662     VINCENTE SALORICMAN                      Claim 004319a, Payment                              7100-000                                  $1,243.34        $1,378,521.61
                                c/o Azar and Azar                        55.88045%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36663     JOANNE DONNELLY                          Claim 004320a, Payment                              7100-000                                     $411.84       $1,378,109.77
                                c/o Azar and Azar                        55.88060%
   08/27/14           36664     KAREN SCHRADER                           Claim 004322a, Payment                              7100-000                                      $20.68       $1,378,089.09
                                c/o Azar and Azar                        55.89189%
   08/27/14           36665     HARLEY LEAK                              Claim 004324a, Payment                              7100-000                                  $1,494.80        $1,376,594.29
                                c/o Azar and Azar                        55.88037%
   08/27/14           36666     GERALD REMTER                            Claim 004328a, Payment                              7100-000                                     $366.02       $1,376,228.27
                                c/o Azar and Azar                        55.88092%
   08/27/14           36667     THEODORE SHOMSKY                         Claim 004330a, Payment                              7100-000                                     $416.31       $1,375,811.96
                                c/o Azar and Azar                        55.88054%
   08/27/14           36668     ANGELA SHIPMAN                           Claim 004332a, Payment                              7100-000                                  $1,933.47        $1,373,878.49
                                c/o Azar and Azar                        55.88064%
   08/27/14           36669     JODY SILVA                               Claim 004335a, Payment                              7100-000                                  $5,766.87         $1,368,111.62
                                c/o Azar and Azar                        55.88052%
   08/27/14           36670     WALTER KUZMIN                            Claim 004336a, Payment                              7100-000                                  $5,210.85        $1,362,900.77
                                c/o Azar and Azar                        55.88043%
   08/27/14           36671     DANA ROWE                                Claim 004338a, Payment                              7100-000                                     $136.91       $1,362,763.86
                                c/o Azar and Azar                        55.88163%
   08/27/14           36672     CORY A POPE                              Claim 004342a, Payment                              7100-000                                     $452.63       $1,362,311.23
                                c/o Azar and Azar                        55.88025%
   08/27/14           36673     JOSEPH M PORTER JR                       Claim 004344a, Payment                              7100-000                                  $1,648.47        $1,360,662.76
                                c/o Azar and Azar                        55.88034%
   08/27/14           36674     GARY ROSS                                Claim 004345a, Payment                              7100-000                                     $808.03       $1,359,854.73
                                c/o Azar and Azar                        55.88036%
   08/27/14           36675     LOUIS DRUSBACKY                          Claim 004346a, Payment                              7100-000                                  $1,609.36        $1,358,245.37
                                c/o Azar and Azar                        55.88056%
   08/27/14           36676     KEITH KOSTER                             Claim 004348a, Payment                              7100-000                                  $3,453.97        $1,354,791.40
                                c/o Azar and Azar                        55.88044%
   08/27/14           36677     AMANDA K ROSS                            Claim 004349a, Payment                              7100-000                                     $766.12       $1,354,025.28
                                c/o Azar and Azar                        55.88038%
   08/27/14           36678     HAZEL P POULIN                           Claim 004350a, Payment                              7100-000                                     $841.00       $1,353,184.28
                                c/o Azar and Azar                        55.88040%
   08/27/14           36679     STEWART ERISMAN                          Claim 004353a, Payment                              7100-000                                     $110.09       $1,353,074.19
                                c/o Azar and Azar                        55.88325%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36680     MARY KIENOW                              Claim 004355a, Payment                              7100-000                                  $2,154.19        $1,350,920.00
                                c/o Azar and Azar                        55.88042%
   08/27/14           36681     DAVID KING                               Claim 004357a, Payment                              7100-000                                     $903.03       $1,350,016.97
                                c/o Azar and Azar                        55.88057%
   08/27/14           36682     ALLEN EVANQELISTA                        Claim 004359a, Payment                              7100-000                                     $245.87       $1,349,771.10
                                c/o Azar and Azar                        55.87955%
   08/27/14           36683     KOKOSKA JOHN                             Claim 004360a, Payment                              7100-000                                  $1,759.68        $1,348,011.42
                                c/o Azar and Azar                        55.88060%
   08/27/14           36684     ABRAHAM GOMEZ                            Claim 004361a, Payment                              7100-000                                  $1,089.67        $1,346,921.75
                                c/o Azar and Azar                        55.88051%
   08/27/14           36685     ARTHUR GOULD                             Claim 004364a, Payment                              7100-000                                     $195.58       $1,346,726.17
                                c/o Azar and Azar                        55.88000%
   08/27/14           36686     CHARLES FENISON                          Claim 004370a, Payment                              7100-000                                  $4,582.20        $1,342,143.97
                                c/o Azar and Azar                        55.88049%
   08/27/14           36687     ROBERT FERRELL                           Claim 004372a, Payment                              7100-000                                     $572.78       $1,341,571.19
                                c/o Azar and Azar                        55.88098%
   08/27/14           36688     LOUIS MURA                               Claim 004378a, Payment                              7100-000                                   $2,011.70       $1,339,559.49
                                c/o Azar and Azar                        55.88056%
   08/27/14           36689     ANTHONY FALZONE                          Claim 004379a, Payment                              7100-000                                  $9,281.75        $1,330,277.74
                                c/o Azar and Azar                        55.88049%
   08/27/14           36690     KENNETH W HAMMOND                        Claim 004380a, Payment                              7100-000                                  $1,473.57        $1,328,804.17
                                c/o Azar and Azar                        55.88055%
   08/27/14           36691     MAXINE LINDNER                           Claim 004381a, Payment                              7100-000                                  $1,383.60        $1,327,420.57
                                c/o Azar and Azar                        55.88045%
   08/27/14           36692     FREDDY LEON                              Claim 004383a, Payment                              7100-000                                     $362.66       $1,327,057.91
                                c/o Azar and Azar                        55.87982%
   08/27/14           36693     NERISSA NAUTH                            Claim 004387a, Payment                              7100-000                                  $1,427.75        $1,325,630.16
                                c/o Azar and Azar                        55.88063%
   08/27/14           36694     BETTY BIGHAM                             Claim 004388a, Payment                              7100-000                                  $1,498.16        $1,324,132.00
                                c/o Azar and Azar                        55.88064%
   08/27/14           36695     JOHN HOFSTETTER                          Claim 004389a, Payment                              7100-000                                     $269.90       $1,323,862.10
                                c/o Azar and Azar                        55.87992%
   08/27/14           36696     THOMAS BLAZER                            Claim 004391a, Payment                              7100-000                                     $195.58       $1,323,666.52
                                c/o Azar and Azar                        55.88000%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36697     JERRY HODGES                              Claim 004392a, Payment                              7100-000                                  $2,320.16        $1,321,346.36
                                c/o Azar and Azar                         55.88054%
   08/27/14           36698     JOHN BLEVINS                              Claim 004393a, Payment                              7100-000                                     $396.19       $1,320,950.17
                                c/o Azar and Azar                         55.88011%
   08/27/14           36699     RONALD HINMAN                             Claim 004394a, Payment                              7100-000                                     $710.80       $1,320,239.37
                                c/o Azar and Azar                         55.88050%
   08/27/14           36700     KENT BOETTCHER                            Claim 004395a, Payment                              7100-000                                     $181.05       $1,320,058.32
                                c/o Azar and Azar                         55.87963%
   08/27/14           36701     ANITA MALLARD                             Claim 004396a, Payment                              7100-000                                  $5,159.45        $1,314,898.87
                                c/o Azar and Azar                         55.88054%
   08/27/14           36702     KARL NYLANDER                             Claim 004399a, Payment                              7100-000                                  $6,169.77        $1,308,729.10
                                c/o Azar and Azar                         55.88054%
   08/27/14           36703     BETTY MARTIN                              Claim 004400a, Payment                              7100-000                                     $887.94       $1,307,841.16
                                c/o Azar and Azar                         55.88043%
   08/27/14           36704     LUTHER HENRY                              Claim 004402a, Payment                              7100-000                                  $2,107.25        $1,305,733.91
                                c/o Azar and Azar                         55.88040%
   08/27/14           36705     CHRIS PARTLOW                             Claim 004403a, Payment                              7100-000                                     $626.98       $1,305,106.93
                                c/o Azar and Azar                         55.88057%
   08/27/14           36706     STEVEN GRATZER                            Claim 004409a, Payment                              7100-000                                  $1,343.93        $1,303,763.00
                                c/o Azar and Azar                         55.88067%
   08/27/14           36707     JEREMY GREEN                              Claim 004410a, Payment                              7100-000                                     $202.29       $1,303,560.71
                                c/o Azar and Azar                         55.88122%
   08/27/14           36708     BARRY GREGORY                             Claim 004412a, Payment                              7100-000                                  $1,517.16        $1,302,043.55
                                c/o Azar and Azar                         55.88066%
   08/27/14           36709     ARGO PARTNERS                             Claim 004414a, Payment                              7100-000                                  $3,009.16        $1,299,034.39
                                12 West 37th Street, 9th FloorNew York,   55.88041%
                                NY 10018
   08/27/14           36710     DELORES JEAN HUBBARD                      Claim 004418a, Payment                              7100-000                                   $2,984.11       $1,296,050.28
                                c/o Azar and Azar                         55.88054%
   08/27/14           36711     FRANK JAMES MAY                           Claim 004419a, Payment                              7100-000                                  $1,713.30        $1,294,336.98
                                c/o Azar and Azar                         55.88063%
   08/27/14           36712     DANETTE PIERCE                            Claim 004420a, Payment                              7100-000                                  $1,868.08        $1,292,468.90
                                c/o Azar and Azar                         55.88035%
   08/27/14           36713     JASON MCCLAIN                             Claim 004423a, Payment                              7100-000                                  $3,833.96        $1,288,634.94
                                c/o Azar and Azar                         55.88048%



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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36714     ROBERT HUMPHRIES                         Claim 004426a, Payment                              7100-000                                      $50.85       $1,288,584.09
                                c/o Azar and Azar                        55.87912%
   08/27/14           36715     SHARPER JONES                            Claim 004427a, Payment                              7100-000                                      $72.92       $1,288,511.17
                                c/o Azar and Azar                        55.87739%
   08/27/14           36716     CAROL JORDAN                             Claim 004429a, Payment                              7100-000                                     $631.45       $1,287,879.72
                                c/o Azar and Azar                        55.88053%
   08/27/14           36717     JULIA MILLHOUSE                          Claim 004436a, Payment                              7100-000                                     $955.00       $1,286,924.72
                                c/o Azar and Azar                        55.88063%
   08/27/14           36718     LUKE AMENDOLARO                          Claim 004439a, Payment                              7100-000                                     $271.02       $1,286,653.70
                                c/o Azar and Azar                        55.88041%
   08/27/14           36719     ROBERT AMICUCCI                          Claim 004440a, Payment                              7100-000                                  $3,893.75        $1,282,759.95
                                c/o Azar and Azar                        55.88045%
   08/27/14           36720     DENNIS ANDERSON                          Claim 004441a, Payment                              7100-000                                  $3,590.32        $1,279,169.63
                                c/o Azar and Azar                        55.88047%
   08/27/14           36721     ABRAHAM ARAKELIAN                        Claim 004442a, Payment                              7100-000                                  $2,845.44        $1,276,324.19
                                c/o Azar and Azar                        55.88060%
   08/27/14           36722     FELIX BOOKER                             Claim 004443a, Payment                              7100-000                                  $3,204.75        $1,273,119.44
                                c/o Azar and Azar                        55.88056%
   08/27/14           36723     GERALD HILL                              Claim 004444a, Payment                              7100-000                                  $1,744.59        $1,271,374.85
                                c/o Azar and Azar                        55.88053%
   08/27/14           36724     LORETTA BORGMANN                         Claim 004445a, Payment                              7100-000                                  $6,323.44        $1,265,051.41
                                c/o Azar and Azar                        55.88052%
   08/27/14           36725     RICHARD HESTON                           Claim 004447a, Payment                              7100-000                                  $3,020.34        $1,262,031.07
                                c/o Azar and Azar                        55.88048%
   08/27/14           36726     KEVIN BRAY                               Claim 004448a, Payment                              7100-000                                     $352.61       $1,261,678.46
                                c/o Azar and Azar                        55.88114%
   08/27/14           36727     BARBARA ARRINGTON                        Claim 004451a, Payment                              7100-000                                     $402.34       $1,261,276.12
                                c/o Azar and Azar                        55.88056%
   08/27/14           36728     ALAIN ATECHI                             Claim 004453a, Payment                              7100-000                                     $172.11       $1,261,104.01
                                c/o Azar and Azar                        55.87987%
   08/27/14           36729     DANIEL AURIT                             Claim 004454a, Payment                              7100-000                                  $1,374.66        $1,259,729.35
                                c/o Azar and Azar                        55.88049%
   08/27/14           36730     JOAN BAKER                               Claim 004456a, Payment                              7100-000                                     $225.76       $1,259,503.59
                                c/o Azar and Azar                        55.88119%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36731     ANGELO BARONE                            Claim 004457a, Payment                              7100-000                                  $1,308.16        $1,258,195.43
                                c/o Azar and Azar                        55.88039%
   08/27/14           36732     EMMANUEL BATEAU                          Claim 004458a, Payment                              7100-000                                     $524.72       $1,257,670.71
                                c/o Azar and Azar                        55.88072%
   08/27/14           36733     FRANK T GUEVARA                          Claim 004459a, Payment                              7100-000                                  $1,997.73        $1,255,672.98
                                c/o Azar and Azar                        55.88056%
   08/27/14           36734     TODD HAGADONE                            Claim 004462a, Payment                              7100-000                                      $79.91       $1,255,593.07
                                c/o Azar and Azar                        55.88112%
   08/27/14           36735     DENNIS HAIR                              Claim 004463a, Payment                              7100-000                                  $2,081.55        $1,253,511.52
                                c/o Azar and Azar                        55.88054%
   08/27/14           36736     DENNIS BEASLEY                           Claim 004464a, Payment                              7100-000                                  $2,570.50        $1,250,941.02
                                c/o Azar and Azar                        55.88043%
   08/27/14           36737     CHARLES BECKWITH                         Claim 004465a, Payment                              7100-000                                  $1,578.62        $1,249,362.40
                                c/o Azar and Azar                        55.88035%
   08/27/14           36738     LORRAINE BELLINO                         Claim 004467a, Payment                              7100-000                                  $2,136.87        $1,247,225.53
                                c/o Azar and Azar                        55.88049%
   08/27/14           36739     GARY HOWARD                              Claim 004469a, Payment                              7100-000                                   $3,711.02       $1,243,514.51
                                c/o Azar and Azar                        55.88044%
   08/27/14           36740     REBECCA ANN BROWN                        Claim 004471a, Payment                              7100-000                                  $1,198.64        $1,242,315.87
                                c/o Azar and Azar                        55.88065%
   08/27/14           36741     CHARLES BRUFFETT                         Claim 004473a, Payment                              7100-000                                     $849.38       $1,241,466.49
                                c/o Azar and Azar                        55.88026%
   08/27/14           36742     ISMAEL HERNANDEZ JR                      Claim 004474a, Payment                              7100-000                                  $2,680.59        $1,238,785.90
                                c/o Azar and Azar                        55.88055%
   08/27/14           36743     GLEN BUGOS                               Claim 004476a, Payment                              7100-000                                  $1,220.99        $1,237,564.91
                                c/o Azar and Azar                        55.88055%
   08/27/14           36744     MONA L BURDETTE                          Claim 004477a, Payment                              7100-000                                  $1,400.92        $1,236,163.99
                                c/o Azar and Azar                        55.88034%
   08/27/14           36745     JOHN M BURKE                             Claim 004478a, Payment                              7100-000                                  $2,587.83        $1,233,576.16
                                c/o Azar and Azar                        55.88059%
   08/27/14           36746     DEBRA BURMEISTER                         Claim 004479a, Payment                              7100-000                                      $64.82       $1,233,511.34
                                c/o Azar and Azar                        55.87931%
   08/27/14           36747     DONNA BURRELL                            Claim 004480a, Payment                              7100-000                                  $5,818.28        $1,227,693.06
                                c/o Azar and Azar                        55.88052%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36748     MARY BUTTERFIELD                         Claim 004482a, Payment                              7100-000                                  $1,917.26        $1,225,775.80
                                c/o Azar and Azar                        55.88050%
   08/27/14           36749     BARBARA BYRNES                           Claim 004483a, Payment                              7100-000                                  $2,808.00        $1,222,967.80
                                c/o Azar and Azar                        55.88060%
   08/27/14           36750     TERESITA CABLE                           Claim 004485a, Payment                              7100-000                                     $452.07       $1,222,515.73
                                c/o Azar and Azar                        55.88010%
   08/27/14           36751     GREG CARBAJAL                            Claim 004489a, Payment                              7100-000                                     $203.96       $1,222,311.77
                                c/o Azar and Azar                        55.87945%
   08/27/14           36752     DIANA L HARRIS                           Claim 004492a, Payment                              7100-000                                     $833.18       $1,221,478.59
                                c/o Azar and Azar                        55.88062%
   08/27/14           36753     KILEY CHAMBERS                           Claim 004496a, Payment                              7100-000                                     $852.74       $1,220,625.85
                                c/o Azar and Azar                        55.88073%
   08/27/14           36754     KIM HAMILTON                             Claim 004500a, Payment                              7100-000                                  $1,994.38        $1,218,631.47
                                c/o Azar and Azar                        55.88064%
   08/27/14           36755     KIM COAKLEY                              Claim 004502a, Payment                              7100-000                                       $5.02       $1,218,626.45
                                c/o Azar and Azar                        55.77778%
   08/27/14           36756     MARIA CODDINGTON                         Claim 004504a, Payment                              7100-000                                     $286.11       $1,218,340.34
                                c/o Azar and Azar                        55.88086%
   08/27/14           36757     THOMAS COLLINS                           Claim 004505a, Payment                              7100-000                                  $2,444.21        $1,215,896.13
                                c/o Azar and Azar                        55.88043%
   08/27/14           36758     ODELL COLSON                             Claim 004506a, Payment                              7100-000                                     $767.24       $1,215,128.89
                                c/o Azar and Azar                        55.88055%
   08/27/14           36759     PATRICIA S COONEY                        Claim 004507a, Payment                              7100-000                                  $1,500.39        $1,213,628.50
                                c/o Azar and Azar                        55.88045%
   08/27/14           36760     DAVID CORSO                              Claim 004508a, Payment                              7100-000                                     $871.18       $1,212,757.32
                                c/o Azar and Azar                        55.88069%
   08/27/14           36761     ALBERT V COTE JR                         Claim 004510a, Payment                              7100-000                                     $437.54       $1,212,319.78
                                c/o Azar and Azar                        55.87995%
   08/27/14           36762     LAMAR CULPEPPER JR                       Claim 004512a, Payment                              7100-000                                  $1,321.57        $1,210,998.21
                                c/o Azar and Azar                        55.88034%
   08/27/14           36763     KENNETH AND PAMELA HALL                  Claim 004513a, Payment                              7100-000                                  $4,698.99        $1,206,299.22
                                c/o Azar and Azar                        55.88049%
   08/27/14           36764     JEFFERSON HULL                           Claim 004516a, Payment                              7100-000                                  $1,503.75        $1,204,795.47
                                c/o Azar and Azar                        55.88071%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36765     DAVID IACOVELLI                          Claim 004517a, Payment                              7100-000                                     $782.33       $1,204,013.14
                                c/o Azar and Azar                        55.88071%
   08/27/14           36766     MICHAEL IVY                              Claim 004518a, Payment                              7100-000                                     $223.52       $1,203,789.62
                                c/o Azar and Azar                        55.88000%
   08/27/14           36767     JANIE JAIMEZ                             Claim 004519a, Payment                              7100-000                                  $1,422.16        $1,202,367.46
                                c/o Azar and Azar                        55.88055%
   08/27/14           36768     KRISTEN JARAMILLO                        Claim 004520a, Payment                              7100-000                                     $458.78       $1,201,908.68
                                c/o Azar and Azar                        55.88063%
   08/27/14           36769     CARLA JENKINS                            Claim 004522a, Payment                              7100-000                                  $1,265.69        $1,200,642.99
                                c/o Azar and Azar                        55.88035%
   08/27/14           36770     NICOLAS A MARTINEZ                       Claim 004523a, Payment                              7100-000                                  $3,514.32        $1,197,128.67
                                c/o Azar and Azar                        55.88043%
   08/27/14           36771     REYNALDO MARTINEZ                        Claim 004525a, Payment                              7100-000                                  $2,058.64        $1,195,070.03
                                c/o Azar and Azar                        55.88056%
   08/27/14           36772     DARON JOHNSON                            Claim 004526a, Payment                              7100-000                                  $3,700.97        $1,191,369.06
                                c/o Azar and Azar                        55.88057%
   08/27/14           36773     ANN MAUPIN                               Claim 004531a, Payment                              7100-000                                     $874.53       $1,190,494.53
                                c/o Azar and Azar                        55.88051%
   08/27/14           36774     ROOSEVELT JOHNSON                        Claim 004532a, Payment                              7100-000                                  $9,630.36        $1,180,864.17
                                c/o Azar and Azar                        55.88049%
   08/27/14           36775     ALVIN T. JONES                           Claim 004534a, Payment                              7100-000                                  $1,413.22        $1,179,450.95
                                c/o Azar and Azar                        55.88059%
   08/27/14           36776     DONYELL JONES                            Claim 004536a, Payment                              7100-000                                  $7,058.82        $1,172,392.13
                                c/o Azar and Azar                        55.88046%
   08/27/14           36777     ELIZABETH JONES                          Claim 004537a, Payment                              7100-000                                     $247.55       $1,172,144.58
                                c/o Azar and Azar                        55.88036%
   08/27/14           36778     LAURA MCCLEARY                           Claim 004539a, Payment                              7100-000                                  $1,233.28        $1,170,911.30
                                c/o Azar and Azar                        55.88038%
   08/27/14           36779     WILLIAM MCELROY                          Claim 004541a, Payment                              7100-000                                     $272.14       $1,170,639.16
                                c/o Azar and Azar                        55.88090%
   08/27/14           36780     JULIE JONES-BEY                          Claim 004542a, Payment                              7100-000                                   $2,411.24       $1,168,227.92
                                c/o Azar and Azar                        55.88042%
   08/27/14           36781     MELODIE MCLANE                           Claim 004546a, Payment                              7100-000                                     $108.41       $1,168,119.51
                                c/o Azar and Azar                        55.88144%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36782     LAWRENCE KIBLER                          Claim 004547a, Payment                              7100-000                                  $6,705.10        $1,161,414.41
                                c/o Azar and Azar                        55.88049%
   08/27/14           36783     FAYE KILLIAN                             Claim 004548a, Payment                              7100-000                                     $229.11       $1,161,185.30
                                c/o Azar and Azar                        55.88049%
   08/27/14           36784     RORY KIRCHHOFER                          Claim 004549a, Payment                              7100-000                                  $1,538.95        $1,159,646.35
                                c/o Azar and Azar                        55.88054%
   08/27/14           36785     HYMAN KISLAK                             Claim 004550a, Payment                              7100-000                                 $12,461.91        $1,147,184.44
                                c/o Azar and Azar                        55.88050%
   08/27/14           36786     THOMAS MCNEILL                           Claim 004551a, Payment                              7100-000                                     $807.48       $1,146,376.96
                                c/o Azar and Azar                        55.88097%
   08/27/14           36787     CARL P KOCIUBA                           Claim 004553a, Payment                              7100-000                                     $273.26       $1,146,103.70
                                c/o Azar and Azar                        55.88139%
   08/27/14           36788     CYNTHIA MCQUIGG                          Claim 004554a, Payment                              7100-000                                  $4,648.70        $1,141,455.00
                                c/o Azar and Azar                        55.88051%
   08/27/14           36789     AMELIA MEDINA                            Claim 004555a, Payment                              7100-000                                     $990.20       $1,140,464.80
                                c/o Azar and Azar                        55.88036%
   08/27/14           36790     RONALD F KRETSCHMER SR                   Claim 004558a, Payment                              7100-000                                      $34.65       $1,140,430.15
                                c/o Azar and Azar                        55.88710%
   08/27/14           36791     KEVIN JAMES KYSER                        Claim 004559a, Payment                              7100-000                                  $4,514.59        $1,135,915.56
                                c/o Azar and Azar                        55.88055%
   08/27/14           36792     TIMOTHY MEDLEY                           Claim 004560a, Payment                              7100-000                                     $829.82       $1,135,085.74
                                c/o Azar and Azar                        55.88013%
   08/27/14           36793     JEFFREY M LADISIC                        Claim 004561a, Payment                              7100-000                                     $225.76       $1,134,859.98
                                c/o Azar and Azar                        55.88119%
   08/27/14           36794     ARTHUR LADUE                             Claim 004562a, Payment                              7100-000                                  $2,137.43        $1,132,722.55
                                c/o Azar and Azar                        55.88052%
   08/27/14           36795     JOHN LANE                                Claim 004564a, Payment                              7100-000                                  $2,169.28        $1,130,553.27
                                c/o Azar and Azar                        55.88047%
   08/27/14           36796     GENEVIEVE LAURENT                        Claim 004565a, Payment                              7100-000                                  $2,563.80        $1,127,989.47
                                c/o Azar and Azar                        55.88056%
   08/27/14           36797     LEANDA LAWRENCE                          Claim 004566a, Payment                              7100-000                                      $32.96       $1,127,956.51
                                c/o Azar and Azar                        55.86441%
   08/27/14           36798     SHANIEL LEAVITT                          Claim 004567a, Payment                              7100-000                                     $375.52       $1,127,580.99
                                c/o Azar and Azar                        55.88095%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36799     JOANN MENDEZ                             Claim 004568a, Payment                              7100-000                                  $1,284.69        $1,126,296.30
                                c/o Azar and Azar                        55.88038%
   08/27/14           36800     HENRY J MERLINO                          Claim 004569a, Payment                              7100-000                                  $2,808.00        $1,123,488.30
                                c/o Azar and Azar                        55.88060%
   08/27/14           36801     HUGO MILLAN                              Claim 004570a, Payment                              7100-000                                     $150.88       $1,123,337.42
                                c/o Azar and Azar                        55.88148%
   08/27/14           36802     THOMAS PHILLIPS                          Claim 004572a, Payment                              7100-000                                     $968.41       $1,122,369.01
                                c/o Azar and Azar                        55.88055%
   08/27/14           36803     JACK B MITCHELL                          Claim 004575a, Payment                              7100-000                                  $6,916.33        $1,115,452.68
                                c/o Azar and Azar                        55.88050%
   08/27/14           36804     JOYCE POOLE                              Claim 004577a, Payment                              7100-000                                     $963.38       $1,114,489.30
                                c/o Azar and Azar                        55.88051%
   08/27/14           36805     ROSEMARY POOLE                           Claim 004578a, Payment                              7100-000                                     $310.69       $1,114,178.61
                                c/o Azar and Azar                        55.87950%
   08/27/14           36806     ROBYN LEE                                Claim 004582a, Payment                              7100-000                                  $2,418.51         $1,111,760.10
                                c/o Azar and Azar                        55.88055%
   08/27/14           36807     LEWIS R MORTON                           Claim 004584a, Payment                              7100-000                                  $2,027.90        $1,109,732.20
                                c/o Azar and Azar                        55.88041%
   08/27/14           36808     FERNANDO MORALES                         Claim 004585a, Payment                              7100-000                                  $5,224.83        $1,104,507.37
                                c/o Azar and Azar                        55.88053%
   08/27/14           36809     CAROLYN MORIN                            Claim 004586a, Payment                              7100-000                                     $357.63       $1,104,149.74
                                c/o Azar and Azar                        55.87969%
   08/27/14           36810     DAVID LEGER                              Claim 004588a, Payment                              7100-000                                     $399.55       $1,103,750.19
                                c/o Azar and Azar                        55.88112%
   08/27/14           36811     OSVALDO LIMA                             Claim 004590a, Payment                              7100-000                                  $1,684.80        $1,102,065.39
                                c/o Azar and Azar                        55.88060%
   08/27/14           36812     DOUGLAS S LOFTHOUSE                      Claim 004591a, Payment                              7100-000                                  $4,517.38        $1,097,548.01
                                c/o Azar and Azar                        55.88050%
   08/27/14           36813     JOAN POTHOFF                             Claim 004592a, Payment                              7100-000                                  $3,749.58        $1,093,798.43
                                c/o Azar and Azar                        55.88048%
   08/27/14           36814     TARA LOPEZ                               Claim 004593a, Payment                              7100-000                                       $6.15       $1,093,792.28
                                c/o Azar and Azar                        55.90909%
   08/27/14           36815     ELIZABETH MURRAY                         Claim 004596a, Payment                              7100-000                                  $3,014.75        $1,090,777.53
                                c/o Azar and Azar                        55.88044%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36816     JAMES A PROPST                           Claim 004601a, Payment                              7100-000                                     $125.73       $1,090,651.80
                                c/o Azar and Azar                        55.88000%
   08/27/14           36817     JERRY MARSHALL                           Claim 004602a, Payment                              7100-000                                  $2,162.58        $1,088,489.22
                                c/o Azar and Azar                        55.88062%
   08/27/14           36818     RONALD PUCKETT                           Claim 004603a, Payment                              7100-000                                  $4,968.33        $1,083,520.89
                                c/o Azar and Azar                        55.88044%
   08/27/14           36819     JAY R MYERS                              Claim 004604a, Payment                              7100-000                                  $1,072.35        $1,082,448.54
                                c/o Azar and Azar                        55.88067%
   08/27/14           36820     APRIL RAGO                               Claim 004606a, Payment                              7100-000                                  $3,822.78        $1,078,625.76
                                c/o Azar and Azar                        55.88043%
   08/27/14           36821     ROBBY OSEGUERA                           Claim 004613a, Payment                              7100-000                                     $153.11       $1,078,472.65
                                c/o Azar and Azar                        55.87956%
   08/27/14           36822     CISSE OUSMANE                            Claim 004615a, Payment                              7100-000                                     $211.23       $1,078,261.42
                                c/o Azar and Azar                        55.88095%
   08/27/14           36823     LANDER RAMIREZ                           Claim 004616a, Payment                              7100-000                                  $2,633.65        $1,075,627.77
                                c/o Azar and Azar                        55.88054%
   08/27/14           36824     BOBBY OWENS                              Claim 004617a, Payment                              7100-000                                  $2,160.90        $1,073,466.87
                                c/o Azar and Azar                        55.88053%
   08/27/14           36825     MONIC SOUTHERN-ARENAS                    Claim 004618a, Payment                              7100-000                                  $1,147.79        $1,072,319.08
                                c/o Azar and Azar                        55.88072%
   08/27/14           36826     ROMEO F PAAT                             Claim 004620a, Payment                              7100-000                                     $762.76       $1,071,556.32
                                c/o Azar and Azar                        55.87985%
   08/27/14           36827     LINDA SPEER                              Claim 004621a, Payment                              7100-000                                      $82.70       $1,071,473.62
                                c/o Azar and Azar                        55.87838%
   08/27/14           36828     DORLISTA R REED                          Claim 004622a, Payment                              7100-000                                  $3,431.06        $1,068,042.56
                                c/o Azar and Azar                        55.88046%
   08/27/14           36829     ESTRELITA STANFIELD                      Claim 004624a, Payment                              7100-000                                     $261.52       $1,067,781.04
                                c/o Azar and Azar                        55.88034%
   08/27/14           36830     MAGARET PAPOTTA                          Claim 004625a, Payment                              7100-000                                     $864.47       $1,066,916.57
                                c/o Azar and Azar                        55.88041%
   08/27/14           36831     GREG REED                                Claim 004627a, Payment                              7100-000                                      $17.88       $1,066,898.69
                                c/o Azar and Azar                        55.87500%
   08/27/14           36832     JHOVANY PARRA                            Claim 004628a, Payment                              7100-000                                  $1,080.73        $1,065,817.96
                                c/o Azar and Azar                        55.88056%




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36833     ROSE STEWART                             Claim 004630a, Payment                              7100-000                                  $6,560.93        $1,059,257.03
                                c/o Azar and Azar                        55.88050%
   08/27/14           36834     VARY STINSON                             Claim 004631a, Payment                              7100-000                                     $143.06       $1,059,113.97
                                c/o Azar and Azar                        55.88281%
   08/27/14           36835     JUDY STOVER                              Claim 004633a, Payment                              7100-000                                  $3,399.77        $1,055,714.20
                                c/o Azar and Azar                        55.88051%
   08/27/14           36836     JANET STRINGFIELD                        Claim 004634a, Payment                              7100-000                                  $2,377.72        $1,053,336.48
                                c/o Azar and Azar                        55.88061%
   08/27/14           36837     ESTHER PEARSON                           Claim 004636a, Payment                              7100-000                                     $389.49       $1,052,946.99
                                c/o Azar and Azar                        55.88092%
   08/27/14           36838     THERESA PEEDEN                           Claim 004637a, Payment                              7100-000                                     $718.06       $1,052,228.93
                                c/o Azar and Azar                        55.88016%
   08/27/14           36839     HERMIE PENDLEBURY                        Claim 004638a, Payment                              7100-000                                  $1,528.33        $1,050,700.60
                                c/o Azar and Azar                        55.88044%
   08/27/14           36840     EDWARD PERRIELLO                         Claim 004639a, Payment                              7100-000                                  $9,497.45        $1,041,203.15
                                c/o Azar and Azar                        55.88050%
   08/27/14           36841     JAMES PERSKE                             Claim 004640a, Payment                              7100-000                                     $366.02       $1,040,837.13
                                c/o Azar and Azar                        55.88092%
   08/27/14           36842     RICARDO PESQUERA                         Claim 004641a, Payment                              7100-000                                     $939.91       $1,039,897.22
                                c/o Azar and Azar                        55.88050%
   08/27/14           36843     LEONARD PETERS                           Claim 004642a, Payment                              7100-000                                 $15,213.47        $1,024,683.75
                                c/o Azar and Azar                        55.88051%
   08/27/14           36844     JUDITH PEZZELLA                          Claim 004643a, Payment                              7100-000                                     $733.15       $1,023,950.60
                                c/o Azar and Azar                        55.88034%
   08/27/14           36845     PAMELA REID                              Claim 004644a, Payment                              7100-000                                  $4,819.69        $1,019,130.91
                                c/o Azar and Azar                        55.88046%
   08/27/14           36846     DANIEL REYES                             Claim 004646a, Payment                              7100-000                                       $9.50       $1,019,121.41
                                c/o Azar and Azar                        55.88235%
   08/27/14           36847     LARRY THOMAS                             Claim 004647a, Payment                              7100-000                                  $1,578.62        $1,017,542.79
                                c/o Azar and Azar                        55.88035%
   08/27/14           36848     HUBERT E REYNOLDS                        Claim 004648a, Payment                              7100-000                                  $1,517.16        $1,016,025.63
                                c/o Azar and Azar                        55.88066%
   08/27/14           36849     PATRICIA THOME                           Claim 004650a, Payment                              7100-000                                  $3,538.35        $1,012,487.28
                                c/o Azar and Azar                        55.88045%




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36850     DAVID TOMASCHEFSKI                        Claim 004651a, Payment                              7100-000                                  $2,838.17        $1,009,649.11
                                c/o Azar and Azar                         55.88049%
   08/27/14           36851     MARANDA JO DAVIS                          Claim 004652a, Payment                              7100-000                                  $1,676.42        $1,007,972.69
                                CO ROBERT L BAER TRUSTEE534 S             55.88067%
                                KANSAS AVESTE 1100TOPEKA, KS
                                66603
   08/27/14           36852     ARGO PARTNERS                             Claim 004654a, Payment                              7100-000                                     $945.50       $1,007,027.19
                                                                          55.88061%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36853     ARGO PARTNERS                             Claim 004655a, Payment                              7100-000                                     $810.27       $1,006,216.92
                                12 West 37th Street, 9th FloorNew York,   55.88069%
                                NY 10018
   08/27/14           36854     ROBERT STROUGH                            Claim 004657a, Payment                              7100-000                                     $516.89       $1,005,700.03
                                c/o Azar and Azar                         55.88000%
   08/27/14           36855     RENA TROUTMAN                             Claim 004663a, Payment                              7100-000                                     $333.61       $1,005,366.42
                                c/o Azar and Azar                         55.88107%
   08/27/14           36856     MELVIN TATUM                              Claim 004665a, Payment                              7100-000                                       $8.38       $1,005,358.04
                                c/o Azar and Azar                         55.86667%
   08/27/14           36857     ELVA TORRES                               Claim 004666a, Payment                              7100-000                                      $43.59       $1,005,314.45
                                c/o Azar and Azar                         55.88462%
   08/27/14           36858     VICTOR TAVAREZ                            Claim 004667a, Payment                              7100-000                                  $1,869.20        $1,003,445.25
                                c/o Azar and Azar                         55.88042%
   08/27/14           36859     HANH TRAN                                 Claim 004668a, Payment                              7100-000                                     $727.01       $1,002,718.24
                                c/o Azar and Azar                         55.88086%
   08/27/14           36860     VINCENT TRUPIA                            Claim 004673a, Payment                              7100-000                                  $1,042.73        $1,001,675.51
                                c/o Azar and Azar                         55.88049%
   08/27/14           36861     CHRISTOPHER VAIL                          Claim 004674a, Payment                              7100-000                                  $1,810.52          $999,864.99
                                c/o Azar and Azar                         55.88025%
   08/27/14           36862     FRED VALDEZ                               Claim 004675a, Payment                              7100-000                                  $1,056.70          $998,808.29
                                c/o Azar and Azar                         55.88049%
   08/27/14           36863     CINTHIA VARGAS                            Claim 004676a, Payment                              7100-000                                  $2,389.45          $996,418.84
                                c/o Azar and Azar                         55.88050%
   08/27/14           36864     MICHAEL VARKEY                            Claim 004677a, Payment                              7100-000                                     $975.67         $995,443.17
                                c/o Azar and Azar                         55.88030%




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36865     ANGEL VAZQUEZ                            Claim 004679a, Payment                              7100-000                                  $5,625.49          $989,817.68
                                c/o Azar and Azar                        55.88050%
   08/27/14           36866     JOSEPH VITANZA                           Claim 004681a, Payment                              7100-000                                  $4,512.35          $985,305.33
                                c/o Azar and Azar                        55.88050%
   08/27/14           36867     KAREN PILGRIM                            Claim 004682a, Payment                              7100-000                                     $367.13         $984,938.20
                                c/o Azar and Azar                        55.87976%
   08/27/14           36868     RANDY VOLOSEVICH                         Claim 004685a, Payment                              7100-000                                  $4,976.16          $979,962.04
                                c/o Azar and Azar                        55.88052%
   08/27/14           36869     BRIAN RISCH                              Claim 004686a, Payment                              7100-000                                     $356.52         $979,605.52
                                c/o Azar and Azar                        55.88088%
   08/27/14           36870     SAMUEL VURA                              Claim 004687a, Payment                              7100-000                                  $3,828.37          $975,777.15
                                c/o Azar and Azar                        55.88046%
   08/27/14           36871     DWAIN RITCHIE                            Claim 004688a, Payment                              7100-000                                  $2,081.55          $973,695.60
                                c/o Azar and Azar                        55.88054%
   08/27/14           36872     SHARON G RIVERS                          Claim 004689a, Payment                              7100-000                                     $848.27         $972,847.33
                                c/o Azar and Azar                        55.88076%
   08/27/14           36873     JAMES L ROBINSON                         Claim 004695a, Payment                              7100-000                                  $1,300.34          $971,546.99
                                c/o Azar and Azar                        55.88053%
   08/27/14           36874     BILLY WAYNE WALTERS                      Claim 004696a, Payment                              7100-000                                     $167.08         $971,379.91
                                c/o Azar and Azar                        55.87960%
   08/27/14           36875     WINDDEER WASHINGTON                      Claim 004698a, Payment                              7100-000                                     $198.38         $971,181.53
                                c/o Azar and Azar                        55.88169%
   08/27/14           36876     JESSICA WAUGAMAN                         Claim 004699a, Payment                              7100-000                                  $1,835.67          $969,345.86
                                c/o Azar and Azar                        55.88037%
   08/27/14           36877     MATTHEW ROHNER                           Claim 004701a, Payment                              7100-000                                     $519.13         $968,826.73
                                c/o Azar and Azar                        55.88052%
   08/27/14           36878     JIMMY ROMERO                             Claim 004703a, Payment                              7100-000                                   $2,904.11         $965,922.62
                                c/o Azar and Azar                        55.88051%
   08/27/14           36879     LEONARD ROSATI                           Claim 004705a, Payment                              7100-000                                  $2,360.95          $963,561.67
                                c/o Azar and Azar                        55.88047%
   08/27/14           36880     ANTHONY R WENGLER                        Claim 004706a, Payment                              7100-000                                     $468.84         $963,092.83
                                c/o Azar and Azar                        55.88081%
   08/27/14           36881     ANGELA ROYAL                             Claim 004707a, Payment                              7100-000                                  $1,916.14          $961,176.69
                                c/o Azar and Azar                        55.88043%




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36882     PAMELA D RUSH                            Claim 004709a, Payment                              7100-000                                     $692.36         $960,484.33
                                c/o Azar and Azar                        55.88055%
   08/27/14           36883     BETTY JOE RUTLEDGE                       Claim 004710a, Payment                              7100-000                                     $300.08         $960,184.25
                                c/o Azar and Azar                        55.88082%
   08/27/14           36884     MAGGIE SALAC                             Claim 004711a, Payment                              7100-000                                  $8,739.15          $951,445.10
                                c/o Azar and Azar                        55.88049%
   08/27/14           36885     SEVERINO G SALAC JR                      Claim 004712a, Payment                              7100-000                                     $173.23         $951,271.87
                                c/o Azar and Azar                        55.88065%
   08/27/14           36886     ADAM SANCHEZ                             Claim 004714a, Payment                              7100-000                                     $728.68         $950,543.19
                                c/o Azar and Azar                        55.88037%
   08/27/14           36887     CHARLES SANDERS                          Claim 004715a, Payment                              7100-000                                  $3,255.04          $947,288.15
                                c/o Azar and Azar                        55.88052%
   08/27/14           36888     OSEY SANDERS                             Claim 004716a, Payment                              7100-000                                  $3,990.43          $943,297.72
                                c/o Azar and Azar                        55.88055%
   08/27/14           36889     ANTONIO M SANTA CRUZ                     Claim 004717a, Payment                              7100-000                                     $543.16         $942,754.56
                                c/o Azar and Azar                        55.88066%
   08/27/14           36890     JOHN SCHMIDT                             Claim 004719a, Payment                              7100-000                                  $1,887.08          $940,867.48
                                c/o Azar and Azar                        55.88037%
   08/27/14           36891     LILA SCROGGINS                           Claim 004720a, Payment                              7100-000                                  $1,204.78          $939,662.70
                                c/o Azar and Azar                        55.88033%
   08/27/14           36892     KENNETH B SIMMONS                        Claim 004722a, Payment                              7100-000                                     $255.94         $939,406.76
                                c/o Azar and Azar                        55.88210%
   08/27/14           36893     HOSEA SKIPPER                            Claim 004725a, Payment                              7100-000                                  $2,163.13          $937,243.63
                                c/o Azar and Azar                        55.88039%
   08/27/14           36894     GARY E SMITH                             Claim 004728a, Payment                              7100-000                                     $206.76         $937,036.87
                                c/o Azar and Azar                        55.88108%
   08/27/14           36895     JULIUS SMITH                             Claim 004730a, Payment                              7100-000                                     $572.78         $936,464.09
                                c/o Azar and Azar                        55.88098%
   08/27/14           36896     OCIE SMITH                               Claim 004731a, Payment                              7100-000                                     $919.23         $935,544.86
                                c/o Azar and Azar                        55.88024%
   08/27/14           36897     RANDY SMITH                              Claim 004732a, Payment                              7100-000                                  $1,492.57          $934,052.29
                                c/o Azar and Azar                        55.88057%
   08/27/14           36898     JOHN WHEATLEY                            Claim 004739a, Payment                              7100-000                                  $6,393.29          $927,659.00
                                c/o Azar and Azar                        55.88052%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36899     BETTY WHITE                               Claim 004742a, Payment                              7100-000                                  $1,671.94          $925,987.06
                                c/o Azar and Azar                         55.88035%
   08/27/14           36900     DORINDA WILHELM                           Claim 004743a, Payment                              7100-000                                  $2,416.83          $923,570.23
                                c/o Azar and Azar                         55.88046%
   08/27/14           36901     STEPHEN WILLEY                            Claim 004745a, Payment                              7100-000                                   $6,811.83         $916,758.40
                                c/o Azar and Azar                         55.88048%
   08/27/14           36902     AMANDA MARIE WILLIAMS                     Claim 004746a, Payment                              7100-000                                     $525.84         $916,232.56
                                c/o Azar and Azar                         55.88098%
   08/27/14           36903     EVANS WILLIAMS                            Claim 004747a, Payment                              7100-000                                      $70.41         $916,162.15
                                c/o Azar and Azar                         55.88095%
   08/27/14           36904     MICHAEL WILLIAMS                          Claim 004748a, Payment                              7100-000                                  $7,146.00          $909,016.15
                                c/o Azar and Azar                         55.88051%
   08/27/14           36905     LESTER WITHERSPOON                        Claim 004751a, Payment                              7100-000                                     $701.30         $908,314.85
                                c/o Azar and Azar                         55.88048%
   08/27/14           36906     DANA G WORTHY                             Claim 004753a, Payment                              7100-000                                     $684.54         $907,630.31
                                c/o Azar and Azar                         55.88082%
   08/27/14           36907     CHEDDI WRIGHT                             Claim 004754a, Payment                              7100-000                                  $3,805.72          $903,824.59
                                c/o Azar and Azar                         55.88051%
   08/27/14           36908     DAVID WYLIE                               Claim 004756a, Payment                              7100-000                                     $220.73         $903,603.86
                                c/o Azar and Azar                         55.88101%
   08/27/14           36909     DALE WYZYKOWSKI                           Claim 004757a, Payment                              7100-000                                  $2,249.19          $901,354.67
                                c/o Azar and Azar                         55.88050%
   08/27/14           36910     CHRISTINE YOUNG                           Claim 004762a, Payment                              7100-000                                     $363.22         $900,991.45
                                c/o Azar and Azar                         55.88000%
   08/27/14           36911     ROLANDO V YOUNG                           Claim 004763a, Payment                              7100-000                                  $2,852.14          $898,139.31
                                c/o Azar and Azar                         55.88049%
   08/27/14           36912     LOURDES ZARATE                            Claim 004767a, Payment                              7100-000                                  $3,414.30          $894,725.01
                                c/o Azar and Azar                         55.88052%
   08/27/14           36913     RONALD MEJIA                              Claim 004768Aa, Payment                             7100-004                                  $3,667.44          $891,057.57
                                c/o Azar and Azar                         55.88054%
   08/27/14           36914     ARGO PARTNERS                             Claim 004769a, Payment                              7100-000                                     $603.51         $890,454.06
                                12 West 37th Street, 9th FloorNew York,   55.88056%
                                NY 10018




                                    Case 10-30631              Doc 5751        Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $37,204.94
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36915     ARGO PARTNERS                             Claim 004770a, Payment                              7100-000                                     $587.30         $889,866.76
                                                                          55.88011%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36916     DARA YANG                                 Claim 004772a, Payment                              7100-000                                  $2,740.94          $887,125.82
                                                                          55.88053%
                                3250 Monterey Ave.
                                Vadnais Heights, MN 55127
   08/27/14           36917     LIQUIDITY SOLUTIONS, INC.                 Claim 004773Aa, Payment                             7100-000                                  $1,899.94          $885,225.88
                                                                          55.88059%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36918     ARGO PARTNERS                             Claim 004775Aa, Payment                             7100-000                                     $249.78         $884,976.10
                                                                          55.87919%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36919     ROGELIO DELGADO                           Claim 004776a, Payment                              7100-000                                  $2,386.66          $882,589.44
                                                                          55.88059%
                                1002 SUMMERFIELD DR
                                MILPITAS, CA 95035
   08/27/14           36920     JOHN GOOD                                 Claim 004780Aa, Payment                             7100-000                                  $1,872.00          $880,717.44
                                                                          55.88060%
                                4913 Oakmast Trail
                                Fort Wayne, IN 46804
   08/27/14           36921     ROBERT AGUILAR                            Claim 004793a, Payment                              7100-000                                  $1,162.31          $879,555.13
                                c/o Azar and Azar                         55.88029%
   08/27/14           36922     JOHN RUIZ                                 Claim 004798a, Payment                              7100-000                                  $2,606.83          $876,948.30
                                c/o Azar and Azar                         55.88060%
   08/27/14           36923     SAMUEL J LEMBO                            Claim 004799a, Payment                              7100-000                                  $7,507.54          $869,440.76
                                                                          55.88046%
                                7 HICKORY LN
                                ROCHESTER, NY 14625
   08/27/14           36924     ARGO PARTNERS                             Claim 004800a, Payment                              7100-000                                  $3,062.25          $866,378.51
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36925     REBECCA SMILES                            Claim 004802Aa, Payment                             7100-000                                  $5,238.24          $861,140.27
                                C/O EDWARD M WAYLAND913 E.                55.88052%
                                Jefferson St.,Charlottesville, VA 22902
   08/27/14           36926     BARBARA VIRAMONTEZ                        Claim 004803a, Payment                              7100-000                                     $363.22         $860,777.05
                                                                          55.88000%
                                9711 Cornelison
                                Wichita, KS 67212
   08/27/14           36927     ARGO PARTNERS                             Claim 004809a, Payment                              7100-000                                     $595.13         $860,181.92
                                                                          55.88075%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36928     ARGO PARTNERS                             Claim 004813a, Payment                              7100-000                                     $343.67         $859,838.25
                                                                          55.88130%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36929     DIANE MONTAGNESE                          Claim 004814a, Payment                              7100-000                                  $5,476.85          $854,361.40
                                                                          55.88052%
                                194 KETAY DR SOUTH
                                EAST NORTHPORT, NY 11731
   08/27/14           36930     ELVIRA RICE                               Claim 004815a, Payment                              7100-000                                  $1,247.81          $853,113.59
                                                                          55.88043%
                                7326 Dean Dr
                                Dittmer, MO 63023
   08/27/14           36931     ARGO PARTNERS                             Claim 004817a, Payment                              7100-000                                  $1,602.09          $851,511.50
                                                                          55.88036%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36932     ARGO PARTNERS                             Claim 004819a, Payment                              7100-000                                  $1,434.45          $850,077.05
                                                                          55.88041%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36933     JAVIER NORIEGA                            Claim 004820a, Payment                              7100-000                                  $5,907.69          $844,169.36
                                                                          55.88053%
                                2801 Persing Drive Apt 3
                                El Paso, TX 79903
   08/27/14           36934     PERICLES FOTENOS                          Claim 004821a, Payment                              7100-000                                  $1,299.22          $842,870.14
                                                                          55.88043%
                                1745 Bellmore Avenue
                                North Bellmore, NY 11710


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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36935     ARGO PARTNERS                             Claim 004822a, Payment                              7100-000                                  $2,173.75          $840,696.39
                                                                          55.88046%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36936     ARGO PARTNERS                             Claim 004823Aa, Payment                             7100-000                                     $103.38         $840,593.01
                                                                          55.88108%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36937     ARGO PARTNERS                             Claim 004827a, Payment                              7100-000                                     $589.54         $840,003.47
                                                                          55.88057%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36938     VICTOR AND WILHELMINA GABRIEL             Claim 004832a, Payment                              7100-000                                  $2,129.61          $837,873.86
                                                                          55.88061%
                                2406 E 8TH ST
                                DAVIS, CA 95618
   08/27/14           36939     ARMANDO ZAMORA                            Claim 004834a, Payment                              7100-000                                  $3,174.57          $834,699.29
                                                                          55.88048%
                                8621 13th Place NE
                                Lake Stevens, WA 98258
   08/27/14           36940     ARGO PARTNERS                             Claim 004835a, Payment                              7100-000                                  $4,714.64          $829,984.65
                                                                          55.88053%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36941     RONNY ALZAMORA                            Claim 004840a, Payment                              7100-000                                  $4,217.30          $825,767.35
                                                                          55.88048%
                                37 Hilton St
                                Belleville, NJ 07109
   08/27/14           36942     DEBBIE TARANTINO                          Claim 004841a, Payment                              7100-000                                     $141.38         $825,625.97
                                                                          55.88142%
                                24 Moriner Dr
                                Sewell, NJ 08080
   08/27/14           36943     GERMAN PLAZA                              Claim 004842a, Payment                              7100-000                                  $2,534.18          $823,091.79
                                                                          55.88049%
                                633 Nighthawk Circle
                                Winter Springs, FL 32708-2371




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36944     ARGO PARTNERS                             Claim 004843a, Payment                              7100-000                                  $2,534.18          $820,557.61
                                                                          55.88049%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36945     NANCY CHAPPELL                            Claim 004845a, Payment                              7100-000                                  $9,239.84          $811,317.77
                                                                          55.88050%
                                1345 Sprucewood Court
                                Amelia, OH 45102
   08/27/14           36946     ARGO PARTNERS                             Claim 004846a, Payment                              7100-000                                     $693.48         $810,624.29
                                                                          55.88074%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36947     ARGO PARTNERS                             Claim 004847a, Payment                              7100-000                                     $215.14         $810,409.15
                                                                          55.88052%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36948     FRANCES X RICCA                           Claim 004848a, Payment                              7100-000                                   $1,711.06         $808,698.09
                                                                          55.88047%
                                45 Mantua Grove R19 White Swan Mobile
                                Park
                                West Deptford, NJ 08066
   08/27/14           36949     ARGO PARTNERS                             Claim 004852a, Payment                              7100-000                                  $1,459.59          $807,238.50
                                                                          55.88017%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36950     JILL GUTIERREZ                            Claim 004853a, Payment                              7100-000                                  $3,965.84          $803,272.66
                                                                          55.88051%
                                580 North Spring Cir
                                Susanville, CA 96130
   08/27/14           36951     MARILYN ANGERS                            Claim 004857a, Payment                              7100-000                                  $2,170.40          $801,102.26
                                                                          55.88054%
                                59 Leroy Place
                                Red Bank, NJ 07701
   08/27/14           36952     ARGO PARTNERS                             Claim 004859a, Payment                              7100-000                                  $1,038.82          $800,063.44
                                                                          55.88058%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36953     MICHAEL BANHA                            Claim 004870Aa, Payment                             7100-000                                     $991.88         $799,071.56
                                                                         55.88056%
                                3 BRIARWOOD CT
                                EMERSON, NJ 07630
   08/27/14           36954     GERALD WILSON                            Claim 004872a, Payment                              7100-000                                     $377.19         $798,694.37
                                                                         55.88000%
                                14352 JOYCE AVE
                                WESTMINSTER, CA 92683
   08/27/14           36955     CINDY KRAUS                              Claim 004874a, Payment                              7100-000                                     $684.54         $798,009.83
                                c/o Azar and Azar                        55.88082%
   08/27/14           36956     CLAUDIA ANDAHL                           Claim 004875a, Payment                              7100-000                                  $1,568.57          $796,441.26
                                c/o Azar and Azar                        55.88066%
   08/27/14           36957     KATHERINE ZHDANOVA PALAT                 Claim 004876a, Payment                              7100-000                                  $1,047.20          $795,394.06
                                c/o Azar and Azar                        55.88047%
   08/27/14           36958     JUSTIN PERKINS                           Claim 004877a, Payment                              7100-000                                     $461.01         $794,933.05
                                c/o Azar and Azar                        55.88000%
   08/27/14           36959     FRANK MAGRISCIANO                        Claim 004878a, Payment                              7100-000                                  $3,845.14          $791,087.91
                                c/o Azar and Azar                        55.88054%
   08/27/14           36960     JAVIER MARQUEZ                           Claim 004881a, Payment                              7100-000                                  $4,267.59          $786,820.32
                                PO Box 1901South Gate, CA 90280          55.88045%
   08/27/14           36961     LIQUIDITY SOLUTIONS, INC.                Claim 004882a, Payment                              7100-000                                  $4,188.24          $782,632.08
                                One University Plaza, Ste.               55.88045%
                                312Hackensack, NJ 07601
   08/27/14           36962     CARLENE PYNE                             Claim 004883a, Payment                              7100-000                                  $6,365.91          $776,266.17
                                                                         55.88053%
                                5 Patricia Drive
                                Milton, MA 02186
   08/27/14           36963     CARLOS CRUZ                              Claim 004884a, Payment                              7100-000                                  $1,319.90          $774,946.27
                                                                         55.88061%
                                1627 E. Logan Dr.
                                Tempe, AZ 85282
   08/27/14           36964     JEFFREY HORBERT                          Claim 004885a, Payment                              7100-000                                     $273.25         $774,673.02
                                c/o Azar and Azar                        55.87935%
   08/27/14           36965     ANTONIO SANTAMARINA                      Claim 004886a, Payment                              7100-004                                  $3,139.93          $771,533.09
                                                                         55.88058%
                                65 CEDAR AVE UNIT C-4
                                LONG BRANCH, NJ 07740


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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36966     MICHAEL T JACKSON                        Claim 004887a, Payment                              7100-000                                  $5,761.84          $765,771.25
                                                                         55.88052%
                                947 GLENMORE TRAIL
                                BROWNSBURG, IN 46112
   08/27/14           36967     KEITH VISCOMI                            Claim 004888a, Payment                              7100-000                                  $2,418.51          $763,352.74
                                                                         55.88055%
                                15427 Tysor Park Lane
                                Houston, TX 77095
   08/27/14           36968     NICOLE BUCHANA                           Claim 004889a, Payment                              7100-000                                     $550.42         $762,802.32
                                PO Box 16383Tampa, FL 33687              55.88020%
   08/27/14           36969     KENNETH W HENDRICKS                      Claim 004896a, Payment                              7100-000                                  $3,017.55          $759,784.77
                                                                         55.88056%
                                2939 N DEKALB DR
                                APT 205
                                DORAVILLE, GA 30340
   08/27/14           36970     JUANITA SHEFFIELD                        Claim 004900a, Payment                              7100-000                                     $626.42         $759,158.35
                                                                         55.88046%
                                1488 Topside
                                Wharton, NJ 07885
   08/27/14           36971     GLANDLY M MURRAY                         Claim 004901a, Payment                              7100-000                                  $3,989.31          $755,169.04
                                                                         55.88052%
                                112 OLIVER LN
                                ST SIMONS ISLAND, GA 31522
   08/27/14           36972     MOLLY CERRETANI                          Claim 004913a, Payment                              7100-000                                  $1,893.79          $753,275.25
                                                                         55.88050%
                                14253 Bakerwood Place
                                Haymarket, VA 20169
   08/27/14           36973     BEVERLY POORKER                          Claim 004914a, Payment                              7100-000                                      $29.61         $753,245.64
                                                                         55.86792%
                                1213 Ave P
                                Carter Lake, IA 51510
   08/27/14           36974     DONALD F. NEIMAN                     Claim 004915a, Payment                                  7100-000                                  $9,466.72          $743,778.92
                                Bankruptcy Estate of RANDI L VAN     55.88053%
                                REES801 Grand Ave., #3700Des Moines,
                                IA 50309-8004




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36975     ASSET RECOVERY MANAGEMENT,                Claim 004916Aa, Payment                             7100-000                                  $1,979.29          $741,799.63
                                LLC                                       55.88058%

                                29 S. Onyx Ct.
                                Pike Road, AL 36064
   08/27/14           36976     WES WALLACE                               Claim 004917a, Payment                              7100-000                                  $3,662.40          $738,137.23
                                                                          55.88038%
                                6514 Carrington Sky Dr
                                Apollo Beach, FL 33572
   08/27/14           36977     ARGO PARTNERS                             Claim 004928a, Payment                              7100-000                                  $1,622.21          $736,515.02
                                                                          55.88047%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36978     VINCENT D BRATHWAITE                      Claim 004929a, Payment                              7100-000                                  $3,592.00          $732,923.02
                                                                          55.88052%
                                1065 VERMONT ST 5D
                                BROOKLYN, NY 11207
   08/27/14           36979     ARGO PARTNERS                             Claim 004930a, Payment                              7100-000                                      $43.59         $732,879.43
                                                                          55.88462%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36980     EDWARD ROMEO                              Claim 004937a, Payment                              7100-000                                  $6,282.64          $726,596.79
                                                                          55.88046%
                                18 Bedford Drive
                                N Grafton, MA 01536
   08/27/14           36981     YOON C PARK                               Claim 004952a, Payment                              7100-000                                     $768.36         $725,828.43
                                                                          55.88073%
                                64-45 Booth Street Apt. 406
                                Rego Park, NY 11374
   08/27/14           36982     KARI PETERSON                             Claim 004956a, Payment                              7100-000                                  $5,280.15          $720,548.28
                                                                          55.88052%
                                PO BOX 217
                                Hovland, MN 55606
   08/27/14           36983     ARGO PARTNERS                             Claim 004957a, Payment                              7100-000                                  $1,419.36          $719,128.92
                                                                          55.88031%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           36984     BANKRUPTCY ESTATE OF GEORGE               Claim 004958a, Payment                              7100-000                                  $3,906.61          $715,222.31
                                AND MON                                   55.88056%

                                STANLEY J KARTCHNER, TRUSTEE
                                7090 N ORACLE RD 178-204
                                TUCSON, AZ 85704
   08/27/14           36985     CAROL BOWERS                              Claim 004961a, Payment                              7100-000                                     $776.74         $714,445.57
                                                                          55.88058%
                                62 Overlook Dr
                                Jackson, NJ 08527
   08/27/14           36986     ARGO PARTNERS                             Claim 004973Aa, Payment                             7100-000                                     $143.05         $714,302.52
                                                                          55.87891%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36987     LIQUIDITY SOLUTIONS, INC.                 Claim 004974a, Payment                              7100-000                                  $1,870.32          $712,432.20
                                                                          55.88049%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           36988     HENRY WILSON                              Claim 004976a, Payment                              7100-000                                  $4,931.45          $707,500.75
                                                                          55.88045%
                                4502 14th Street NW
                                Washington, DC 20011
   08/27/14           36989     DEXTER WELLS                              Claim 004977Aa, Payment                             7100-000                                     $303.99         $707,196.76
                                                                          55.88051%
                                5904 Sweet Cherry Road
                                Fredericksburg, VA 22407
   08/27/14           36990     ARGO PARTNERS                             Claim 004979a, Payment                              7100-000                                  $3,876.99          $703,319.77
                                                                          55.88051%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           36991     JEHAD NABHAN                              Claim 004983a, Payment                              7100-000                                  $1,994.38          $701,325.39
                                                                          55.88064%
                                9117 S ROBERTS RD
                                APT 7C
                                HICKORY HILLS, IL 60457




                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                     Desc Main         $17,803.53
                                                                             Document          Page 715 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           36992     KENNETH W GORDON AS CH7                  Claim 004990a, Payment                              7100-000                                     $846.59         $700,478.80
                                TRUSTEE FOR                              55.88053%

                                (WESTERN DISTRICT OF NY 10-22978)
                                1039 MONROE AVE
                                ROCHESTER, NY 14620
   08/27/14           36993     MATTHEW C RADO                           Claim 004991a, Payment                              7100-000                                  $3,218.72          $697,260.08
                                                                         55.88056%
                                5923 W NATIONAL RD
                                SPRINGFIELD, OH 45504-3226
   08/27/14           36994     NEIL BRAASCH                             Claim 004992a, Payment                              7100-000                                  $7,614.28          $689,645.80
                                                                         55.88052%
                                PO Box 306
                                Sharon, WI 53585
   08/27/14           36995     LAWRENCE D DEPRIEST                      Claim 004996a, Payment                              7100-000                                  $2,651.53          $686,994.27
                                c/o Azar and Azar                        55.88051%
   08/27/14           36996     RANDY GRIFFITH                           Claim 004997a, Payment                              7100-000                                      $18.44         $686,975.83
                                c/o Azar and Azar                        55.87879%
   08/27/14           36997     ROBERT STROUGH                           Claim 004998a, Payment                              7100-000                                     $516.89         $686,458.94
                                c/o Azar and Azar                        55.88000%
   08/27/14           36998     CHARLES MISIAK                           Claim 004999a, Payment                              7100-000                                  $2,339.72          $684,119.22
                                c/o Azar and Azar                        55.88058%
   08/27/14           36999     ABDULKADIR AHMEDI                        Claim 005003a, Payment                              7100-000                                  $5,561.78          $678,557.44
                                c/o Azar and Azar                        55.88044%
   08/27/14           37000     CHRISTINE WIESE                          Claim 005005a, Payment                              7100-000                                      $96.11         $678,461.33
                                c/o Azar and Azar                        55.87791%
   08/27/14           37001     JANISE JURDENS                           Claim 005008a, Payment                              7100-000                                  $1,889.88          $676,571.45
                                c/o Azar and Azar                        55.88054%
   08/27/14           37002     DEBORAH STOTZ                            Claim 005011a, Payment                              7100-000                                 $12,810.05          $663,761.40
                                c/o Azar and Azar                        55.88052%
   08/27/14           37003     JEFF LARSON                              Claim 005013a, Payment                              7100-000                                  $1,300.34          $662,461.06
                                c/o Azar and Azar                        55.88053%
   08/27/14           37004     STEVEN ROADMAN                           Claim 005014a, Payment                              7100-000                                     $159.82         $662,301.24
                                c/o Azar and Azar                        55.88112%
   08/27/14           37005     BETHANY HOWELL                           Claim 005015a, Payment                              7100-000                                  $1,472.45          $660,828.79
                                c/o Azar and Azar                        55.88046%



                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                    Desc Main         $40,496.60
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           37006     TRUDY KAUFMAN                            Claim 005016a, Payment                              7100-000                                  $1,486.98          $659,341.81
                                c/o Azar and Azar                        55.88050%
   08/27/14           37007     UMILE CROCCO                             Claim 005018a, Payment                              7100-000                                  $2,657.12          $656,684.69
                                c/o Azar and Azar                        55.88055%
   08/27/14           37008     BRUCE STILLWILL                          Claim 005020a, Payment                              7100-000                                  $2,556.53          $654,128.16
                                c/o Azar and Azar                        55.88044%
   08/27/14           37009     SUZAN A RHODES                           Claim 005021a, Payment                              7100-000                                     $898.85         $653,229.31
                                c/o Azar and Azar                        55.88056%
   08/27/14           37010     ROBERT MCCONNELL                         Claim 005024a, Payment                              7100-000                                     $682.30         $652,547.01
                                c/o Azar and Azar                        55.88043%
   08/27/14           37011     PIERRE PIERRE                            Claim 005025a, Payment                              7100-000                                     $488.95         $652,058.06
                                c/o Azar and Azar                        55.88000%
   08/27/14           37012     JESSE ROSENWALD                          Claim 005027a, Payment                              7100-000                                  $1,894.35          $650,163.71
                                c/o Azar and Azar                        55.88053%
   08/27/14           37013     JOHN PAUL AYAD                           Claim 005028a, Payment                              7100-000                                     $360.43         $649,803.28
                                c/o Azar and Azar                        55.88062%
   08/27/14           37014     PAUL YEROSHEFSKY                         Claim 005030a, Payment                              7100-000                                     $462.13         $649,341.15
                                c/o Azar and Azar                        55.88029%
   08/27/14           37015     ROBERT WEAVER                            Claim 005031a, Payment                              7100-000                                     $396.75         $648,944.40
                                c/o Azar and Azar                        55.88028%
   08/27/14           37016     JOAN KOERBER                             Claim 005032a, Payment                              7100-000                                     $837.09         $648,107.31
                                c/o Azar and Azar                        55.88051%
   08/27/14           37017     BRADLEY ELLENBERGER                      Claim 005036a, Payment                              7100-000                                  $5,360.62          $642,746.69
                                c/o Azar and Azar                        55.88054%
   08/27/14           37018     NICOLE COOPER                            Claim 005038a, Payment                              7100-000                                  $1,858.03          $640,888.66
                                c/o Azar and Azar                        55.88060%
   08/27/14           37019     CLYDE KEELS                              Claim 005039a, Payment                              7100-000                                     $303.99         $640,584.67
                                c/o Azar and Azar                        55.88051%
   08/27/14           37020     VICKIE STOEGER                           Claim 005040a, Payment                              7100-000                                     $977.35         $639,607.32
                                c/o Azar and Azar                        55.88050%
   08/27/14           37021     MARTHA BROCKLEHURST                      Claim 005042a, Payment                              7100-000                                     $500.13         $639,107.19
                                c/o Azar and Azar                        55.88045%
   08/27/14           37022     VIET PHAM                                Claim 005043a, Payment                              7100-000                                     $329.14         $638,778.05
                                c/o Azar and Azar                        55.88115%




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                                                                            Document          Page 717 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           37023     GUY BURLESON                              Claim 005044a, Payment                              7100-000                                      $48.61         $638,729.44
                                c/o Azar and Azar                         55.87356%
   08/27/14           37024     JOHN GLISTA                               Claim 005046a, Payment                              7100-000                                  $1,092.46          $637,636.98
                                c/o Azar and Azar                         55.88031%
   08/27/14           37025     GAYLE WESTBROOK                           Claim 005047a, Payment                              7100-000                                  $1,092.46          $636,544.52
                                c/o Azar and Azar                         55.88031%
   08/27/14           37026     GUYLOT JEAN-LOUIS                         Claim 005050a, Payment                              7100-000                                     $579.48         $635,965.04
                                c/o Azar and Azar                         55.88042%
   08/27/14           37027     MARILYN MANOEL                            Claim 005051a, Payment                              7100-000                                     $471.07         $635,493.97
                                c/o Azar and Azar                         55.88019%
   08/27/14           37028     ORLANDO SICILIANO                         Claim 005052a, Payment                              7100-000                                      $36.89         $635,457.08
                                c/o Azar and Azar                         55.89394%
   08/27/14           37029     JOHN NEECE                                Claim 005053a, Payment                              7100-000                                  $7,837.24          $627,619.84
                                c/o Azar and Azar                         55.88050%
   08/27/14           37030     EDWARD WRIGHT                             Claim 005054a, Payment                              7100-000                                  $2,034.61          $625,585.23
                                c/o Azar and Azar                         55.88053%
   08/27/14           37031     LAUREN A. HELBLING                        Claim 005055a, Payment                              7100-000                                  $1,197.52          $624,387.71
                                                                          55.88054%
                                BK. Trustee for Krissie Gonzalez
                                1370 Ontario St. #450
                                Cleveland, OH 44113
   08/27/14           37032     MANUEL DELEON                             Claim 005057a, Payment                              7100-000                                  $3,208.10          $621,179.61
                                c/o Azar and Azar                         55.88051%
   08/27/14           37033     LAWRENCE ELSON                            Claim 005062a, Payment                              7100-000                                  $4,218.42          $616,961.19
                                c/o Azar and Azar                         55.88051%
   08/27/14           37034     GARY L WILKERSON                          Claim 005066a, Payment                              7100-000                                     $705.21         $616,255.98
                                c/o Azar and Azar                         55.88035%
   08/27/14           37035     JAMES W SPIVEY                            Claim 005067a, Payment                              7100-000                                  $7,404.17          $608,851.81
                                c/o Azar and Azar                         55.88053%
   08/27/14           37036     GERRY T WICHAEL                           Claim 005069a, Payment                              7100-000                                  $2,789.00          $606,062.81
                                c/o Azar and Azar                         55.88059%
   08/27/14           37037     HENRY DANIELS                             Claim 005073a, Payment                              7100-000                                  $1,218.19          $604,844.62
                                c/o Azar and Azar                         55.88028%
   08/27/14           37038     ROMAIN DALBERISTE                         Claim 005075a, Payment                              7100-000                                  $1,497.04          $603,347.58
                                c/o Azar and Azar                         55.88055%



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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
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                                                                             Document          Page 718 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           37039     SANDRA ARNOLD                            Claim 005082a, Payment                              7100-000                                  $3,892.64          $599,454.94
                                c/o Azar and Azar                        55.88056%
   08/27/14           37040     BARBARA WATTS                            Claim 005084a, Payment                              7100-000                                  $1,902.73          $597,552.21
                                c/o Azar and Azar                        55.88047%
   08/27/14           37041     SHAWN AND JENNIFER WOLFORD               Claim 005085a, Payment                              7100-000                                  $3,006.37          $594,545.84
                                c/o Azar and Azar                        55.88048%
   08/27/14           37042     VERNA KRUEGER                            Claim 005087a, Payment                              7100-000                                  $1,622.21          $592,923.63
                                c/o Azar and Azar                        55.88047%
   08/27/14           37043     MICHELLE CAMPOS                          Claim 005088a, Payment                              7100-000                                  $2,486.12          $590,437.51
                                c/o Azar and Azar                        55.88042%
   08/27/14           37044     RONALD JOHNSON                           Claim 005090a, Payment                              7100-000                                     $631.45         $589,806.06
                                c/o Azar and Azar                        55.88053%
   08/27/14           37045     MIKE WHITEHEAD                           Claim 005091a, Payment                              7100-000                                     $497.34         $589,308.72
                                c/o Azar and Azar                        55.88090%
   08/27/14           37046     CHOYICE ROBINSON                         Claim 005092a, Payment                              7100-000                                     $227.43         $589,081.29
                                c/o Azar and Azar                        55.87961%
   08/27/14           37047     TARLON STEWART                           Claim 005094a, Payment                              7100-000                                     $127.97         $588,953.32
                                c/o Azar and Azar                        55.88210%
   08/27/14           37048     JEWEL CHEEKS                             Claim 005096a, Payment                              7100-000                                     $823.68         $588,129.64
                                c/o Azar and Azar                        55.88060%
   08/27/14           37049     EFRAIN CORTES                            Claim 005097a, Payment                              7100-000                                  $1,402.04          $586,727.60
                                c/o Azar and Azar                        55.88043%
   08/27/14           37050     MONICA BENTON                            Claim 005100a, Payment                              7100-000                                     $254.26         $586,473.34
                                c/o Azar and Azar                        55.88132%
   08/27/14           37051     DANIEL TREAT                             Claim 005101a, Payment                              7100-000                                  $8,328.98          $578,144.36
                                c/o Azar and Azar                        55.88044%
   08/27/14           37052     NATHANIEL ROSS                           Claim 005102a, Payment                              7100-000                                  $2,238.01          $575,906.35
                                c/o Azar and Azar                        55.88040%
   08/27/14           37053     VONDRIA N FAUNTLEROY                     Claim 005103a, Payment                              7100-000                                      $71.53         $575,834.82
                                c/o Azar and Azar                        55.88281%
   08/27/14           37054     KAREN DAVIS                              Claim 005106a, Payment                              7100-000                                     $847.71         $574,987.11
                                                                         55.88069%
                                3971 RICHWOOD RD
                                RICHWOOD, WV 26261
   08/27/14           37055     JAMES ELLIS                              Claim 005111a, Payment                              7100-000                                  $2,470.48          $572,516.63
                                c/o Azar and Azar                        55.88057%


                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                                                                                                    Desc Main         $30,830.95
                                                                            Document          Page 719 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                        Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                      Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX3661
                                                                                                                                      Checking Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ($)
   08/27/14           37056     FRANKIE WILSON                           Claim 005112a, Payment                              7100-000                                     $197.26         $572,319.37
                                c/o Azar and Azar                        55.88102%
   08/27/14           37057     ROGER COY                                Claim 005113a, Payment                              7100-000                                     $234.70         $572,084.67
                                c/o Azar and Azar                        55.88095%
   08/27/14           37058     RICHARD KRINER                           Claim 005114a, Payment                              7100-000                                     $591.77         $571,492.90
                                c/o Azar and Azar                        55.88008%
   08/27/14           37059     FLORENCE HALAS                           Claim 005115a, Payment                              7100-000                                  $1,130.46          $570,362.44
                                c/o Azar and Azar                        55.88038%
   08/27/14           37060     BRIGGS E HARRIS                          Claim 005118a, Payment                              7100-000                                  $6,073.65          $564,288.79
                                c/o Azar and Azar                        55.88049%
   08/27/14           37061     WILLIAM A WALKER III                     Claim 005119a, Payment                              7100-000                                     $252.58         $564,036.21
                                c/o Azar and Azar                        55.88053%
   08/27/14           37062     DEBRA PETTY                              Claim 005120a, Payment                              7100-000                                  $3,657.38          $560,378.83
                                c/o Azar and Azar                        55.88052%
   08/27/14           37063     JERRY L WELLS                            Claim 005121a, Payment                              7100-000                                  $2,453.15          $557,925.68
                                c/o Azar and Azar                        55.88041%
   08/27/14           37064     DOROTHY MATTHEWS                         Claim 005123a, Payment                              7100-000                                     $262.64         $557,663.04
                                c/o Azar and Azar                        55.88085%
   08/27/14           37065     PATRICIA STRUBE                          Claim 005127a, Payment                              7100-000                                     $317.40         $557,345.64
                                c/o Azar and Azar                        55.88028%
   08/27/14           37066     RENEE RHODES                             Claim 005128a, Payment                              7100-000                                     $405.13         $556,940.51
                                c/o Azar and Azar                        55.88000%
   08/27/14           37067     IDA JEAN TYACK                           Claim 005130a, Payment                              7100-000                                     $815.86         $556,124.65
                                c/o Azar and Azar                        55.88082%
   08/27/14           37068     WILLIARD MORROW                          Claim 005134a, Payment                              7100-000                                     $559.36         $555,565.29
                                c/o Azar and Azar                        55.88012%
   08/27/14           37069     KATHLEEN FILER                           Claim 005135a, Payment                              7100-000                                     $186.08         $555,379.21
                                c/o Azar and Azar                        55.87988%
   08/27/14           37070     KEITH L MAY                              Claim 005137a, Payment                              7100-000                                     $390.05         $554,989.16
                                c/o Azar and Azar                        55.88109%
   08/27/14           37071     JOSEPH ZACHERY                           Claim 005138a, Payment                              7100-000                                  $1,321.57          $553,667.59
                                c/o Azar and Azar                        55.88034%
   08/27/14           37072     GARY PATYNKO                             Claim 005140a, Payment                              7100-000                                 $11,275.57          $542,392.02
                                c/o Azar and Azar                        55.88051%




                                    Case 10-30631              Doc 5751       Page Subtotals:
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           37073     ARGO PARTNERS                             Claim 005144a, Payment                              7100-000                                  $1,199.75          $541,192.27
                                                                          55.88030%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           37074     RUSSELL SPILLMAN                          Claim 005147a, Payment                              7100-000                                  $1,276.87          $539,915.40
                                c/o Azar and Azar                         55.88053%
   08/27/14           37075     TOMMY FASCIOLO                            Claim 005148a, Payment                              7100-000                                  $2,452.60          $537,462.80
                                c/o Azar and Azar                         55.88061%
   08/27/14           37076     PATRICIA PRUITT                           Claim 005149a, Payment                              7100-000                                     $684.54         $536,778.26
                                c/o Azar and Azar                         55.88082%
   08/27/14           37077     LINDA NICK                                Claim 005150a, Payment                              7100-000                                     $327.46         $536,450.80
                                c/o Azar and Azar                         55.88055%
   08/27/14           37078     COOLIDGE WARE                             Claim 005155a, Payment                              7100-000                                  $1,323.81          $535,126.99
                                c/o Azar and Azar                         55.88054%
   08/27/14           37079     LORI KRASCH                               Claim 005156a, Payment                              7100-000                                     $353.72         $534,773.27
                                c/o Azar and Azar                         55.87994%
   08/27/14           37080     VILMA S SERRANO                           Claim 005157a, Payment                              7100-000                                  $3,005.81          $531,767.46
                                c/o Azar and Azar                         55.88046%
   08/27/14           37081     EDWARD AND MARGARET CARROLL               Claim 005158a, Payment                              7100-000                                  $3,545.62          $528,221.84
                                c/o Azar and Azar                         55.88054%
   08/27/14           37082     JAMES CERMOT                              Claim 005160a, Payment                              7100-000                                     $594.01         $527,627.83
                                c/o Azar and Azar                         55.88053%
   08/27/14           37083     JOSE CARCHI                               Claim 005162a, Payment                              7100-000                                  $1,926.76          $525,701.07
                                c/o Azar and Azar                         55.88051%
   08/27/14           37084     ANNEN BOODRAM                             Claim 005167a, Payment                              7100-000                                  $4,138.51          $521,562.56
                                c/o Azar and Azar                         55.88050%
   08/27/14           37085     PAUL FULLMORE                             Claim 005172a, Payment                              7100-000                                     $652.13         $520,910.43
                                c/o Azar and Azar                         55.88089%
   08/27/14           37086     RYAN GARST                                Claim 005176a, Payment                              7100-000                                  $1,204.22          $519,706.21
                                c/o Azar and Azar                         55.88028%
   08/27/14           37087     CONSTANCE HARGE                           Claim 005177a, Payment                              7100-000                                     $572.78         $519,133.43
                                c/o Azar and Azar                         55.88098%
   08/27/14           37088     MARY ANN SHAMY                            Claim 005179a, Payment                              7100-000                                  $1,615.50          $517,517.93
                                102 E FULTON STMIDDLESEX, NJ              55.88032%
                                08846



                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $24,874.09
                                                                             Document          Page 721 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


       1                2                           3                                            4                                                    5                6                     7

Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   08/27/14           37089     ARGO PARTNERS                             Claim 005184a, Payment                              7100-000                                  $1,237.75          $516,280.18
                                                                          55.88036%
                                12 West 37th Street, 9th Floor
                                New York, NY 10018
   08/27/14           37090     KYLE RINGEISEN                            Claim 005187Aa, Payment                             7100-000                                  $1,051.86          $515,228.32
                                                                          55.88074%
                                1000 S PEARL ST APT 18
                                CENTRALIA, WA 98531
   08/27/14           37091     PAMELA TULNER                             Claim 005188a, Payment                              7100-000                                  $3,137.13          $512,091.19
                                                                          55.88048%
                                137 Pine Street
                                Bridgewater, NJ 08807
   08/27/14           37092     PATRICIA D MESSNER                        Claim 005189a, Payment                              7100-000                                  $1,803.26          $510,287.93
                                1089 Country Club Dr.St. Clair Shores, MI 55.88038%
                                48082
   08/27/14           37093     LIQUIDITY SOLUTIONS, INC.                 Claim 005191a, Payment                              7100-000                                  $1,205.34          $509,082.59
                                                                          55.88039%
                                One University Plaza, Ste. 312
                                Hackensack, NJ 07601
   08/27/14           37094     ISRAEL RUBINFELD                          Claim 005193a, Payment                              7100-000                                  $1,783.15          $507,299.44
                                143 MARION CTLAKEWOOD, NJ 08701           55.88060%
   08/27/14           37095     SUSAN SAPINO                              Claim 005195a, Payment                              7100-000                                     $162.05         $507,137.39
                                                                          55.87931%
                                1900 N Bayshore Dr Apt 3614
                                MIAMI, FL 33132
   08/27/14           37096     ADRIANA LINA                              Claim 005198a, Payment                              7100-000                                  $9,342.66          $497,794.73
                                                                          55.88050%
                                358 W. 231st.
                                Carson, CA 90745-4714
   08/27/14           37097     ELIZABETH MARICS                          Claim 005201a, Payment                              7100-000                                  $1,631.71          $496,163.02
                                                                          55.88048%
                                151 MORRIS AVE
                                APT 102
                                SOUTH PLAINFIELD, NJ 07080




                                    Case 10-30631                Doc 5751      Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                     Desc Main         $21,354.91
                                                                             Document          Page 722 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                             Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                           Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX3661
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)     Disbursements ($)      Account/CD Balance
                    Reference                                                                                                         Code                                                          ($)
   08/27/14           37098     SHELDON STEIN, TRUSTEE                   Claim 005207Aa, Payment                                   7100-000                                  $1,042.17            $495,120.85
                                                                         55.88043%
                                Bankruptcy (Case No. 11-15832)
                                Bankruptcy Estate of Stanley R Noga
                                PO Box 5606
                                Cleveland, OH 44101
   08/27/14           37099     AZAR & AZAR L.L.C.                       Claim 005213a, Payment                                    7100-000                                  $4,403.95            $490,716.90
                                                                         55.88060%
                                George B. Azar
                                Zack M. Azar
                                4276 Lomac Street
                                Montgomery, AL 36106
   09/04/14           37100     HATFIELD TAYLOR CO.                      Website Updates                                           3991-000                                      $225.00          $490,491.90
                                600 South Court St.,Montgomery, AL
                                36104
   09/08/14            10       BANK OF AMERICA                          Lawsuit Proceeds                                          1249-000            $102,000.00                                $592,491.90
                                Christoper CagnazziSCK Marketing
   09/08/14           37101     CUNNINGHAM BOUNDS, LLC                   Attorney for Trustee Attorney                                                                     $102,000.00            $490,491.90
                                1601 Dauphin St.Mobile, AL 36604         for Trustee pursuant to Order
                                                                         dated 7/25/14 (Doc. 5336).
                                CUNNINGHAM BOUNDS, LLC                   Attorney for Trustee                      ($30,166.52)    3210-004

                                CUNNINGHAM BOUNDS, LLC                   Attorney for Trustee                      ($71,833.48)    3220-004

   09/12/14           32592     Reverses Check # 32592                   Claim 002792, Payment                                     5600-000                                 ($2,600.00)           $493,091.90
                                                                         100.00000%
                                                                         Creditor withdrew claim and
                                                                         sent back voided check.
   09/15/14           32264     Reverses Check # 32264                   Claim 002442, Payment                                     5600-000                                     ($486.00)         $493,577.90
                                                                         100.00000%
                                                                         Creditor returned check and
                                                                         withdrew POC.
   09/19/14           35918     Reverses Check # 35918                   Claim 002792a, Payment                                    7100-000                                 ($3,533.88)           $497,111.78
                                                                         55.88046%
                                                                         Creditor withdrew claim and
                                                                         returned check.




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                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $102,000.00
                                                                                                                                                        Desc Main          $101,051.24
                                                                            Document          Page 723 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                             Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                           Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX3661
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   09/19/14           34252     Reverses Check # 34252                   Claim 004657, Payment                                     5600-000                                  ($2,600.00)           $499,711.78
                                                                         100.00000%
                                                                         Creditor returned check and
                                                                         withdrew claim.
   09/19/14           36854     Reverses Check # 36854                   Claim 004657a, Payment                                    7100-000                                      ($516.89)         $500,228.67
                                                                         55.88000%
                                                                         Creditor returned check and
                                                                         withdrew claim.
   09/19/14           30076     Reverses Check # 30076                   Claim 000071, Payment                                     5600-000                                  ($2,600.00)           $502,828.67
                                                                         100.00000%
                                                                         Creditor withdrew claim and
                                                                         returned check.
   09/19/14           34744     Reverses Check # 34744                   Claim 000071a, Payment                                    7100-000                                  ($1,486.98)           $504,315.65
                                                                         55.88050%
                                                                         Creditor withdrew claim and
                                                                         returned check.
   09/19/14           34058     Reverses Check # 34058                   Claim 004438, Payment                                     5600-000                                  ($2,305.00)           $506,620.65
                                                                         100.00000%
                                                                         Creditor withdrew claim and
                                                                         returned check.
   09/25/14                     UNION BANK                               BANK SERVICE FEE                                          2600-000                                   $4,500.00            $502,120.65

   09/26/14           37102     CUNNINGHAM BOUNDS, LLC                   Attorney for Trustee Attorney                                                                      $102,000.00            $400,120.65
                                PO Box 66705Mobile, AL 36660             for Trustee pursuant to Order
                                                                         dated 7/25/14 (Doc. 5336).
                                                                         (Reissuance after stop pay for
                                                                         the first check).
                                CUNNINGHAM BOUNDS, LLC                   Attorney for Trustee                      ($30,166.52)    3210-000

                                CUNNINGHAM BOUNDS, LLC                   Attorney for Trustee                      ($71,833.48)    3220-000

   09/26/14           37103     HATFIELD TAYLOR, CO                      Website Updates Payment for                               2990-000                                       $100.00          $400,020.65
                                600 South Court St.,Montgomery, AL       invoice number1814 for
                                36104                                    website updates.
   09/29/14            12       ASSET RECOVERY MANAGEMENT,                                                                         1290-000               $2,600.00                                $402,620.65
                                LLC
                                14 Travertine Dr.Pike Road, AL 36064
   09/29/14           37101     Reverses Check # 37101                   Stop Payment Reversal                                                                            ($102,000.00)            $504,620.65
                                                                         SA

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                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                   $2,600.00
                                                                                                                                                        Desc   Main          ($4,908.87)
                                                                            Document          Page 724 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                             Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                            Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX3661
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX7646                                                                             Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                            Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                       Description of Transaction                Uniform Tran.     Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                         Code                                                        ($)
                                Reverses Check # 37101                     Stop Payment Reversal                     $30,166.52    3210-004

                                Reverses Check # 37101                     Stop Payment Reversal                     $71,833.48    3220-004

   09/29/14           34792     Reverses Check # 34792                     Claim 000192a, Payment                                  7100-000                                   ($542.60)         $505,163.25
                                                                           55.88054%
                                                                           ARM withdrew transfer of claim
                                                                           form. Claim needs to be paid to
                                                                           original creditor.
   09/29/14           37104     GARY MCGILTON                               Proof of Claim 192. Priority                           7100-000                                $3,142.60            $502,020.65
                                272 First St.Inwood, WV 25428              amount $2,600 and Unsecured
                                                                           amount of $542.60.
                                                                           Original checks were mailed to
                                                                           ARM. ARM cashed the priority
                                                                           check then sent reimbursment
                                                                           back to trustee. ARM returned
                                                                           uncashed unsecured check
                                                                           back to Trustee.
   10/06/14           37105     INTERNATIONAL SURETIES, LTD                Trustee Bond October 3, 2014-                           2300-000                                $1,356.00            $500,664.65
                                701 Poydras St.New Orleans, LA 70139       bond invoice 6 months. 10/9/14
                                                                           to 4/9/15.
   10/23/14           37106     HATFIELD TAYLOR, CO.                       Website Updates Payment on                              3991-000                                    $150.00          $500,514.65
                                600 South Court St.Montgomery, AL          invoice number 1817 for
                                36104                                      website updates.
   10/27/14                     UNION BANK                                 BANK SERVICE FEE                                        2600-000                                $4,500.00            $496,014.65

   11/04/14           31498     Reverses Check # 31498                     Stop Payment Reversal                                   5600-004                               ($2,600.00)           $498,614.65
                                                                           SA
   11/04/14           35355     Reverses Check # 35355                     Stop Payment Reversal                                   7100-004                               ($1,001.94)           $499,616.59
                                                                           SA
   11/04/14           37107     REBEKAH FRIEND                                                                                     5600-000                                $2,600.00            $497,016.59
                                75 Indian River Rd., #3CHendersonville,
                                NC 28791
   11/04/14           37108     REBEKAH FRIEND                                                                                     7100-000                                $1,001.94            $496,014.65
                                75 Indian River Road, #3CHendersonville,
                                NC 28791
   11/17/14           31650     Reverses Check # 31650                     Stop Payment Reversal                                   5600-004                                   ($579.00)         $496,593.65
                                                                           SA



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                                                                               Filed  05/08/19 Entered 05/08/19 09:00:26                                   $0.00
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                                                                              Document          Page 725 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                           Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                         Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX3661
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX7646                                                                            Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                           Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                      Code                                                          ($)
   11/17/14           31802     Reverses Check # 31802                    Stop Payment Reversal                                 5600-004                                 ($2,600.00)           $499,193.65
                                                                          SA
   11/17/14           35498     Reverses Check # 35498                    Stop Payment Reversal                                 7100-004                                 ($1,131.58)           $500,325.23
                                                                          SA
   11/18/14           37109     JUDITH ALANIZ                             Payment on priority claim.                            5600-000                                  $2,600.00            $497,725.23
                                                                          100%.
                                1892 N Madison Avenue
                                Pasadena, CA 91104
   11/18/14           37110     JUDITH ALANIZ                             Payment on unsecured claim                            7100-000                                  $1,131.58            $496,593.65
                                                                          55.8%.
                                1892 N Madison Avenue
                                Pasadena, CA 91104
   11/18/14           37111     DANA CASON                                Priority claim payment.                               5600-000                                      $579.00          $496,014.65
                                130 Fifth St.,Clyo, GA 31303              Payment on priority claim
                                                                          100%.
   11/25/14           32230     Reverses Check # 32230                    Claim 002408, Payment                                 5600-000                                 ($1,069.00)           $497,083.65
                                                                          100.00000%
                                                                          Check was returned with an
                                                                          invalid address. Creditor
                                                                          contacted Trustee and provided
                                                                          correct address.
   11/25/14           37112     KATHLEEN GERVIND                          Claim 002408, Payment                                 5600-000                                  $1,069.00            $496,014.65
                                1128 Palms BlvdVenice, CA 90291           100.00000%
   11/25/14           37113     LAKESHA HEAD                              Priority claim amount 100%                            5600-000                                      $255.00          $495,759.65
                                1401 Wiloaks Dr., Apt. DSnellville, GA
                                30039
   11/25/14                     UNION BANK                                BANK SERVICE FEE                                      2600-000                                  $2,355.96            $493,403.69

   11/26/14           30033     Reverses Check # 30033                    Stop Payment Reversal                                 5600-004                                 ($2,039.00)           $495,442.69
                                                                          SA
   11/26/14           30080     Reverses Check # 30080                    Stop Payment Reversal                                 5600-004                                 ($2,600.00)           $498,042.69
                                                                          SA
   11/26/14           30101     Reverses Check # 30101                    Stop Payment Reversal                                 5600-004                                     ($482.00)         $498,524.69
                                                                          SA
   11/26/14           30114     Reverses Check # 30114                    Stop Payment Reversal                                 5600-004                                     ($348.00)         $498,872.69
                                                                          SA




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                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                   $0.00
                                                                                                                                                       Desc Main         ($2,279.04)
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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           30130     Reverses Check # 30130                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $501,472.69
                                                                        SA
   11/26/14           30134     Reverses Check # 30134                  Stop Payment Reversal                               5600-004                                 ($2,355.00)           $503,827.69
                                                                        SA
   11/26/14           30140     Reverses Check # 30140                  Stop Payment Reversal                               5600-004                                 ($1,390.00)           $505,217.69
                                                                        SA
   11/26/14           30142     Reverses Check # 30142                  Stop Payment Reversal                               5600-004                                 ($1,525.00)           $506,742.69
                                                                        SA
   11/26/14           30179     Reverses Check # 30179                  Stop Payment Reversal                               5600-004                                 ($2,175.00)           $508,917.69
                                                                        SA
   11/26/14           30190     Reverses Check # 30190                  Stop Payment Reversal                               5600-004                                 ($2,400.00)           $511,317.69
                                                                        SA
   11/26/14           30191     Reverses Check # 30191                  Stop Payment Reversal                               5600-004                                 ($1,428.00)           $512,745.69
                                                                        SA
   11/26/14           30193     Reverses Check # 30193                  Stop Payment Reversal                               5600-004                                     ($398.00)         $513,143.69
                                                                        SA
   11/26/14           30194     Reverses Check # 30194                  Stop Payment Reversal                               5600-004                                     ($300.00)         $513,443.69
                                                                        SA
   11/26/14           30198     Reverses Check # 30198                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $516,043.69
                                                                        SA
   11/26/14           30201     Reverses Check # 30201                  Stop Payment Reversal                               5600-004                                 ($2,449.00)           $518,492.69
                                                                        SA
   11/26/14           30213     Reverses Check # 30213                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $521,092.69
                                                                        SA
   11/26/14           30217     Reverses Check # 30217                  Stop Payment Reversal                               5600-004                                     ($278.00)         $521,370.69
                                                                        SA
   11/26/14           30223     Reverses Check # 30223                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $523,970.69
                                                                        SA
   11/26/14           30232     Reverses Check # 30232                  Stop Payment Reversal                               5600-004                                     ($302.00)         $524,272.69
                                                                        SA
   11/26/14           30242     Reverses Check # 30242                  Stop Payment Reversal                               5600-004                                     ($312.00)         $524,584.69
                                                                        SA
   11/26/14           30263     Reverses Check # 30263                  Stop Payment Reversal                               5600-004                                     ($952.00)         $525,536.69
                                                                        SA




                                   Case 10-30631              Doc 5751       Page Subtotals:
                                                                            Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                   Desc Main       ($26,664.00)
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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           30271     Reverses Check # 30271                  Stop Payment Reversal                               5600-004                                     ($450.00)         $525,986.69
                                                                        SA
   11/26/14           30283     Reverses Check # 30283                  Stop Payment Reversal                               5600-004                                     ($990.00)         $526,976.69
                                                                        SA
   11/26/14           30302     Reverses Check # 30302                  Stop Payment Reversal                               5600-004                                 ($1,762.00)           $528,738.69
                                                                        SA
   11/26/14           30317     Reverses Check # 30317                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $531,338.69
                                                                        SA
   11/26/14           30344     Reverses Check # 30344                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $533,938.69
                                                                        SA
   11/26/14           30354     Reverses Check # 30354                  Stop Payment Reversal                               5600-004                                 ($1,542.00)           $535,480.69
                                                                        SA
   11/26/14           30356     Reverses Check # 30356                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $538,080.69
                                                                        SA
   11/26/14           30395     Reverses Check # 30395                  Stop Payment Reversal                               5600-004                                 ($2,043.00)           $540,123.69
                                                                        SA
   11/26/14           30420     Reverses Check # 30420                  Stop Payment Reversal                               5600-004                                     ($546.00)         $540,669.69
                                                                        SA
   11/26/14           30426     Reverses Check # 30426                  Stop Payment Reversal                               5600-004                                     ($344.00)         $541,013.69
                                                                        SA
   11/26/14           30447     Reverses Check # 30447                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $543,613.69
                                                                        SA
   11/26/14           30452     Reverses Check # 30452                  Stop Payment Reversal                               5600-004                                     ($268.00)         $543,881.69
                                                                        SA
   11/26/14           30459     Reverses Check # 30459                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $546,481.69
                                                                        SA
   11/26/14           30472     Reverses Check # 30472                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $549,081.69
                                                                        SA
   11/26/14           30519     Reverses Check # 30519                  Stop Payment Reversal                               5600-004                                 ($1,668.00)           $550,749.69
                                                                        SA
   11/26/14           30522     Reverses Check # 30522                  Stop Payment Reversal                               5600-004                                 ($2,160.00)           $552,909.69
                                                                        SA
   11/26/14           30523     Reverses Check # 30523                  Stop Payment Reversal                               5600-004                                     ($550.00)         $553,459.69
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           30542     Reverses Check # 30542                  Stop Payment Reversal                               5600-004                                 ($1,962.00)           $555,421.69
                                                                        SA
   11/26/14           30575     Reverses Check # 30575                  Stop Payment Reversal                               5600-004                                     ($299.00)         $555,720.69
                                                                        SA
   11/26/14           30584     Reverses Check # 30584                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $558,320.69
                                                                        SA
   11/26/14           30589     Reverses Check # 30589                  Stop Payment Reversal                               5600-004                                     ($229.00)         $558,549.69
                                                                        SA
   11/26/14           30600     Reverses Check # 30600                  Stop Payment Reversal                               5600-004                                 ($2,208.00)           $560,757.69
                                                                        SA
   11/26/14           30626     Reverses Check # 30626                  Stop Payment Reversal                               5600-004                                 ($2,125.00)           $562,882.69
                                                                        SA
   11/26/14           30646     Reverses Check # 30646                  Stop Payment Reversal                               5600-004                                 ($2,358.00)           $565,240.69
                                                                        SA
   11/26/14           30668     Reverses Check # 30668                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $567,840.69
                                                                        SA
   11/26/14           30680     Reverses Check # 30680                  Stop Payment Reversal                               5600-004                                     ($463.00)         $568,303.69
                                                                        SA
   11/26/14           30693     Reverses Check # 30693                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $570,903.69
                                                                        SA
   11/26/14           30699     Reverses Check # 30699                  Stop Payment Reversal                               5600-004                                 ($1,862.00)           $572,765.69
                                                                        SA
   11/26/14           30720     Reverses Check # 30720                  Stop Payment Reversal                               5600-004                                 ($2,395.00)           $575,160.69
                                                                        SA
   11/26/14           30725     Reverses Check # 30725                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $577,760.69
                                                                        SA
   11/26/14           30735     Reverses Check # 30735                  Stop Payment Reversal                               5600-004                                     ($875.00)         $578,635.69
                                                                        SA
   11/26/14           30769     Reverses Check # 30769                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $581,235.69
                                                                        SA
   11/26/14           30772     Reverses Check # 30772                  Stop Payment Reversal                               5600-004                                 ($1,105.00)           $582,340.69
                                                                        SA
   11/26/14           30773     Reverses Check # 30773                  Stop Payment Reversal                               5600-004                                 ($1,757.00)           $584,097.69
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           30789     Reverses Check # 30789                  Stop Payment Reversal                               5600-004                                 ($1,405.00)           $585,502.69
                                                                        SA
   11/26/14           30808     Reverses Check # 30808                  Stop Payment Reversal                               5600-004                                 ($1,782.00)           $587,284.69
                                                                        SA
   11/26/14           30816     Reverses Check # 30816                  Stop Payment Reversal                               5600-004                                 ($1,861.00)           $589,145.69
                                                                        SA
   11/26/14           30822     Reverses Check # 30822                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $591,745.69
                                                                        SA
   11/26/14           30827     Reverses Check # 30827                  Stop Payment Reversal                               5600-004                                     ($165.00)         $591,910.69
                                                                        SA
   11/26/14           30840     Reverses Check # 30840                  Stop Payment Reversal                               5600-004                                     ($967.00)         $592,877.69
                                                                        SA
   11/26/14           30842     Reverses Check # 30842                  Stop Payment Reversal                               5600-004                                 ($1,413.00)           $594,290.69
                                                                        SA
   11/26/14           30857     Reverses Check # 30857                  Stop Payment Reversal                               5600-004                                     ($310.00)         $594,600.69
                                                                        SA
   11/26/14           30864     Reverses Check # 30864                  Stop Payment Reversal                               5600-004                                     ($640.00)         $595,240.69
                                                                        SA
   11/26/14           30911     Reverses Check # 30911                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $597,840.69
                                                                        SA
   11/26/14           30926     Reverses Check # 30926                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $600,440.69
                                                                        SA
   11/26/14           30933     Reverses Check # 30933                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $603,040.69
                                                                        SA
   11/26/14           30935     Reverses Check # 30935                  Stop Payment Reversal                               5600-004                                 ($2,099.00)           $605,139.69
                                                                        SA
   11/26/14           30936     Reverses Check # 30936                  Stop Payment Reversal                               5600-004                                 ($1,518.00)           $606,657.69
                                                                        SA
   11/26/14           30964     Reverses Check # 30964                  Stop Payment Reversal                               5600-004                                 ($1,293.00)           $607,950.69
                                                                        SA
   11/26/14           30983     Reverses Check # 30983                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $610,550.69
                                                                        SA
   11/26/14           31000     Reverses Check # 31000                  Stop Payment Reversal                               5600-004                                     ($600.00)         $611,150.69
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           31015     Reverses Check # 31015                  Stop Payment Reversal                               5600-004                                 ($1,359.00)           $612,509.69
                                                                        SA
   11/26/14           31017     Reverses Check # 31017                  Stop Payment Reversal                               5600-004                                     ($641.00)         $613,150.69
                                                                        SA
   11/26/14           31024     Reverses Check # 31024                  Stop Payment Reversal                               5600-004                                     ($219.00)         $613,369.69
                                                                        SA
   11/26/14           31055     Reverses Check # 31055                  Stop Payment Reversal                               5600-004                                     ($909.00)         $614,278.69
                                                                        SA
   11/26/14           31065     Reverses Check # 31065                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $616,878.69
                                                                        SA
   11/26/14           31094     Reverses Check # 31094                  Stop Payment Reversal                               5600-004                                 ($1,915.00)           $618,793.69
                                                                        SA
   11/26/14           31095     Reverses Check # 31095                  Stop Payment Reversal                               5600-004                                     ($447.00)         $619,240.69
                                                                        SA
   11/26/14           31099     Reverses Check # 31099                  Stop Payment Reversal                               5600-004                                 ($1,625.00)           $620,865.69
                                                                        SA
   11/26/14           31111     Reverses Check # 31111                  Stop Payment Reversal                               5600-004                                     ($794.00)         $621,659.69
                                                                        SA
   11/26/14           31164     Reverses Check # 31164                  Stop Payment Reversal                               5600-004                                     ($671.00)         $622,330.69
                                                                        SA
   11/26/14           31168     Reverses Check # 31168                  Stop Payment Reversal                               5600-004                                 ($1,923.00)           $624,253.69
                                                                        SA
   11/26/14           31184     Reverses Check # 31184                  Stop Payment Reversal                               5600-004                                     ($319.00)         $624,572.69
                                                                        SA
   11/26/14           31211     Reverses Check # 31211                  Stop Payment Reversal                               5600-004                                 ($1,859.00)           $626,431.69
                                                                        SA
   11/26/14           31236     Reverses Check # 31236                  Stop Payment Reversal                               5600-004                                 ($1,822.00)           $628,253.69
                                                                        SA
   11/26/14           31259     Reverses Check # 31259                  Stop Payment Reversal                               5600-004                                     ($256.00)         $628,509.69
                                                                        SA
   11/26/14           31299     Reverses Check # 31299                  Stop Payment Reversal                               5600-004                                 ($1,814.00)           $630,323.69
                                                                        SA
   11/26/14           31311     Reverses Check # 31311                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $632,923.69
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           31313     Reverses Check # 31313                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $635,523.69
                                                                        SA
   11/26/14           31332     Reverses Check # 31332                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $638,123.69
                                                                        SA
   11/26/14           31337     Reverses Check # 31337                  Stop Payment Reversal                               5600-004                                     ($457.00)         $638,580.69
                                                                        SA
   11/26/14           31340     Reverses Check # 31340                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $641,180.69
                                                                        SA
   11/26/14           31349     Reverses Check # 31349                  Stop Payment Reversal                               5600-004                                 ($1,931.00)           $643,111.69
                                                                        SA
   11/26/14           31359     Reverses Check # 31359                  Stop Payment Reversal                               5600-004                                     ($325.00)         $643,436.69
                                                                        SA
   11/26/14           31384     Reverses Check # 31384                  Stop Payment Reversal                               5600-004                                     ($435.00)         $643,871.69
                                                                        SA
   11/26/14           31386     Reverses Check # 31386                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $646,471.69
                                                                        SA
   11/26/14           31395     Reverses Check # 31395                  Stop Payment Reversal                               5600-004                                     ($725.00)         $647,196.69
                                                                        SA
   11/26/14           31430     Reverses Check # 31430                  Stop Payment Reversal                               5600-004                                     ($582.00)         $647,778.69
                                                                        SA
   11/26/14           31435     Reverses Check # 31435                  Stop Payment Reversal                               5600-004                                     ($600.00)         $648,378.69
                                                                        SA
   11/26/14           31545     Reverses Check # 31545                  Stop Payment Reversal                               5600-004                                     ($255.00)         $648,633.69
                                                                        SA
   11/26/14           31551     Reverses Check # 31551                  Stop Payment Reversal                               5600-004                                 ($1,865.00)           $650,498.69
                                                                        SA
   11/26/14           31562     Reverses Check # 31562                  Stop Payment Reversal                               5600-004                                     ($361.00)         $650,859.69
                                                                        SA
   11/26/14           31572     Reverses Check # 31572                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $653,459.69
                                                                        SA
   11/26/14           31580     Reverses Check # 31580                  Stop Payment Reversal                               5600-004                                     ($224.00)         $653,683.69
                                                                        SA
   11/26/14           31586     Reverses Check # 31586                  Stop Payment Reversal                               5600-004                                     ($300.00)         $653,983.69
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           31603     Reverses Check # 31603                  Stop Payment Reversal                               5600-004                                     ($860.00)         $654,843.69
                                                                        SA
   11/26/14           31610     Reverses Check # 31610                  Stop Payment Reversal                               5600-004                                 ($1,418.00)           $656,261.69
                                                                        SA
   11/26/14           31627     Reverses Check # 31627                  Stop Payment Reversal                               5600-004                                      ($30.00)         $656,291.69
                                                                        SA
   11/26/14           31635     Reverses Check # 31635                  Stop Payment Reversal                               5600-004                                     ($781.00)         $657,072.69
                                                                        SA
   11/26/14           31639     Reverses Check # 31639                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $659,672.69
                                                                        SA
   11/26/14           31642     Reverses Check # 31642                  Stop Payment Reversal                               5600-004                                 ($1,345.00)           $661,017.69
                                                                        SA
   11/26/14           31644     Reverses Check # 31644                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $663,617.69
                                                                        SA
   11/26/14           31659     Reverses Check # 31659                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $666,217.69
                                                                        SA
   11/26/14           31692     Reverses Check # 31692                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $668,817.69
                                                                        SA
   11/26/14           31708     Reverses Check # 31708                  Stop Payment Reversal                               5600-004                                 ($2,521.00)           $671,338.69
                                                                        SA
   11/26/14           31715     Reverses Check # 31715                  Stop Payment Reversal                               5600-004                                     ($925.00)         $672,263.69
                                                                        SA
   11/26/14           31724     Reverses Check # 31724                  Stop Payment Reversal                               5600-004                                     ($694.00)         $672,957.69
                                                                        SA
   11/26/14           31743     Reverses Check # 31743                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $675,557.69
                                                                        SA
   11/26/14           31750     Reverses Check # 31750                  Stop Payment Reversal                               5600-004                                 ($1,066.00)           $676,623.69
                                                                        SA
   11/26/14           31763     Reverses Check # 31763                  Stop Payment Reversal                               5600-004                                     ($310.00)         $676,933.69
                                                                        SA
   11/26/14           31817     Reverses Check # 31817                  Stop Payment Reversal                               5600-004                                 ($2,165.00)           $679,098.69
                                                                        SA
   11/26/14           31847     Reverses Check # 31847                  Stop Payment Reversal                               5600-004                                     ($220.00)         $679,318.69
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           31880     Reverses Check # 31880                  Stop Payment Reversal                               5600-004                                 ($1,549.00)           $680,867.69
                                                                        SA
   11/26/14           31900     Reverses Check # 31900                  Stop Payment Reversal                               5600-004                                     ($677.00)         $681,544.69
                                                                        SA
   11/26/14           31907     Reverses Check # 31907                  Stop Payment Reversal                               5600-004                                 ($1,029.00)           $682,573.69
                                                                        SA
   11/26/14           31931     Reverses Check # 31931                  Stop Payment Reversal                               5600-004                                 ($2,469.00)           $685,042.69
                                                                        SA
   11/26/14           31932     Reverses Check # 31932                  Stop Payment Reversal                               5600-004                                 ($2,305.00)           $687,347.69
                                                                        SA
   11/26/14           31933     Reverses Check # 31933                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $689,947.69
                                                                        SA
   11/26/14           31958     Reverses Check # 31958                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $692,547.69
                                                                        SA
   11/26/14           31992     Reverses Check # 31992                  Stop Payment Reversal                               5600-004                                     ($350.00)         $692,897.69
                                                                        SA
   11/26/14           32021     Reverses Check # 32021                  Stop Payment Reversal                               5600-004                                 ($2,563.00)           $695,460.69
                                                                        SA
   11/26/14           32029     Reverses Check # 32029                  Stop Payment Reversal                               5600-004                                     ($514.00)         $695,974.69
                                                                        SA
   11/26/14           32036     Reverses Check # 32036                  Stop Payment Reversal                               5600-004                                     ($300.00)         $696,274.69
                                                                        SA
   11/26/14           32037     Reverses Check # 32037                  Stop Payment Reversal                               5600-004                                     ($300.00)         $696,574.69
                                                                        SA
   11/26/14           32060     Reverses Check # 32060                  Stop Payment Reversal                               5600-004                                     ($527.00)         $697,101.69
                                                                        SA
   11/26/14           32113     Reverses Check # 32113                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $699,701.69
                                                                        SA
   11/26/14           32124     Reverses Check # 32124                  Stop Payment Reversal                               5600-004                                     ($651.00)         $700,352.69
                                                                        SA
   11/26/14           32131     Reverses Check # 32131                  Stop Payment Reversal                               5600-004                                 ($1,500.00)           $701,852.69
                                                                        SA
   11/26/14           32133     Reverses Check # 32133                  Stop Payment Reversal                               5600-004                                 ($2,550.00)           $704,402.69
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           32137     Reverses Check # 32137                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $707,002.69
                                                                        SA
   11/26/14           32140     Reverses Check # 32140                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $709,602.69
                                                                        SA
   11/26/14           32144     Reverses Check # 32144                  Stop Payment Reversal                               5600-004                                 ($1,259.00)           $710,861.69
                                                                        SA
   11/26/14           32166     Reverses Check # 32166                  Stop Payment Reversal                               5600-004                                     ($532.00)         $711,393.69
                                                                        SA
   11/26/14           32197     Reverses Check # 32197                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $713,993.69
                                                                        SA
   11/26/14           32199     Reverses Check # 32199                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $716,593.69
                                                                        SA
   11/26/14           32218     Reverses Check # 32218                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $719,193.69
                                                                        SA
   11/26/14           32239     Reverses Check # 32239                  Stop Payment Reversal                               5600-004                                 ($1,675.00)           $720,868.69
                                                                        SA
   11/26/14           32241     Reverses Check # 32241                  Stop Payment Reversal                               5600-004                                     ($872.00)         $721,740.69
                                                                        SA
   11/26/14           32251     Reverses Check # 32251                  Stop Payment Reversal                               5600-004                                 ($1,774.00)           $723,514.69
                                                                        SA
   11/26/14           32253     Reverses Check # 32253                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $726,114.69
                                                                        SA
   11/26/14           32259     Reverses Check # 32259                  Stop Payment Reversal                               5600-004                                     ($349.00)         $726,463.69
                                                                        SA
   11/26/14           32338     Reverses Check # 32338                  Stop Payment Reversal                               5600-004                                 ($1,420.00)           $727,883.69
                                                                        SA
   11/26/14           32372     Reverses Check # 32372                  Stop Payment Reversal                               5600-004                                     ($830.00)         $728,713.69
                                                                        SA
   11/26/14           32398     Reverses Check # 32398                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $731,313.69
                                                                        SA
   11/26/14           32418     Reverses Check # 32418                  Stop Payment Reversal                               5600-004                                     ($309.00)         $731,622.69
                                                                        SA
   11/26/14           32421     Reverses Check # 32421                  Stop Payment Reversal                               5600-004                                     ($232.00)         $731,854.69
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           32445     Reverses Check # 32445                  Stop Payment Reversal                               5600-004                                 ($1,523.00)           $733,377.69
                                                                        SA
   11/26/14           32451     Reverses Check # 32451                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $735,977.69
                                                                        SA
   11/26/14           32462     Reverses Check # 32462                  Stop Payment Reversal                               5600-004                                     ($843.00)         $736,820.69
                                                                        SA
   11/26/14           32469     Reverses Check # 32469                  Stop Payment Reversal                               5600-004                                     ($368.00)         $737,188.69
                                                                        SA
   11/26/14           32473     Reverses Check # 32473                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $739,788.69
                                                                        SA
   11/26/14           32485     Reverses Check # 32485                  Stop Payment Reversal                               5600-004                                 ($1,070.00)           $740,858.69
                                                                        SA
   11/26/14           32491     Reverses Check # 32491                  Stop Payment Reversal                               5600-004                                     ($731.00)         $741,589.69
                                                                        SA
   11/26/14           32507     Reverses Check # 32507                  Stop Payment Reversal                               5600-004                                     ($985.00)         $742,574.69
                                                                        SA
   11/26/14           32517     Reverses Check # 32517                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $745,174.69
                                                                        SA
   11/26/14           32520     Reverses Check # 32520                  Stop Payment Reversal                               5600-004                                     ($300.00)         $745,474.69
                                                                        SA
   11/26/14           32523     Reverses Check # 32523                  Stop Payment Reversal                               5600-004                                 ($1,945.00)           $747,419.69
                                                                        SA
   11/26/14           32525     Reverses Check # 32525                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $750,019.69
                                                                        SA
   11/26/14           32553     Reverses Check # 32553                  Stop Payment Reversal                               5600-004                                 ($2,426.00)           $752,445.69
                                                                        SA
   11/26/14           32558     Reverses Check # 32558                  Stop Payment Reversal                               5600-004                                     ($637.00)         $753,082.69
                                                                        SA
   11/26/14           32585     Reverses Check # 32585                  Stop Payment Reversal                               5600-004                                     ($269.00)         $753,351.69
                                                                        SA
   11/26/14           32640     Reverses Check # 32640                  Stop Payment Reversal                               5600-004                                 ($2,018.00)           $755,369.69
                                                                        SA
   11/26/14           32662     Reverses Check # 32662                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $757,969.69
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           32666     Reverses Check # 32666                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $760,569.69
                                                                        SA
   11/26/14           32671     Reverses Check # 32671                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $763,169.69
                                                                        SA
   11/26/14           32673     Reverses Check # 32673                  Stop Payment Reversal                               5600-004                                 ($2,275.00)           $765,444.69
                                                                        SA
   11/26/14           32679     Reverses Check # 32679                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $768,044.69
                                                                        SA
   11/26/14           32712     Reverses Check # 32712                  Stop Payment Reversal                               5600-004                                     ($671.00)         $768,715.69
                                                                        SA
   11/26/14           32735     Reverses Check # 32735                  Stop Payment Reversal                               5600-004                                     ($280.00)         $768,995.69
                                                                        SA
   11/26/14           32736     Reverses Check # 32736                  Stop Payment Reversal                               5600-004                                     ($959.00)         $769,954.69
                                                                        SA
   11/26/14           32741     Reverses Check # 32741                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $772,554.69
                                                                        SA
   11/26/14           32748     Reverses Check # 32748                  Stop Payment Reversal                               5600-004                                 ($2,078.00)           $774,632.69
                                                                        SA
   11/26/14           32753     Reverses Check # 32753                  Stop Payment Reversal                               5600-004                                     ($816.00)         $775,448.69
                                                                        SA
   11/26/14           32754     Reverses Check # 32754                  Stop Payment Reversal                               5600-004                                 ($1,786.00)           $777,234.69
                                                                        SA
   11/26/14           32787     Reverses Check # 32787                  Stop Payment Reversal                               5600-004                                     ($355.00)         $777,589.69
                                                                        SA
   11/26/14           32843     Reverses Check # 32843                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $780,189.69
                                                                        SA
   11/26/14           32858     Reverses Check # 32858                  Stop Payment Reversal                               5600-004                                     ($877.00)         $781,066.69
                                                                        SA
   11/26/14           32859     Reverses Check # 32859                  Stop Payment Reversal                               5600-004                                     ($509.00)         $781,575.69
                                                                        SA
   11/26/14           32863     Reverses Check # 32863                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $784,175.69
                                                                        SA
   11/26/14           32897     Reverses Check # 32897                  Stop Payment Reversal                               5600-004                                     ($798.00)         $784,973.69
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           32915     Reverses Check # 32915                  Stop Payment Reversal                               5600-004                                     ($367.00)         $785,340.69
                                                                        SA
   11/26/14           32969     Reverses Check # 32969                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $787,940.69
                                                                        SA
   11/26/14           33043     Reverses Check # 33043                  Stop Payment Reversal                               5600-004                                     ($368.00)         $788,308.69
                                                                        SA
   11/26/14           33044     Reverses Check # 33044                  Stop Payment Reversal                               5600-004                                     ($241.00)         $788,549.69
                                                                        SA
   11/26/14           33053     Reverses Check # 33053                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $791,149.69
                                                                        SA
   11/26/14           33082     Reverses Check # 33082                  Stop Payment Reversal                               5600-004                                     ($881.00)         $792,030.69
                                                                        SA
   11/26/14           33094     Reverses Check # 33094                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $794,630.69
                                                                        SA
   11/26/14           33112     Reverses Check # 33112                  Stop Payment Reversal                               5600-004                                     ($652.00)         $795,282.69
                                                                        SA
   11/26/14           33129     Reverses Check # 33129                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $797,882.69
                                                                        SA
   11/26/14           33150     Reverses Check # 33150                  Stop Payment Reversal                               5600-004                                 ($2,352.00)           $800,234.69
                                                                        SA
   11/26/14           33168     Reverses Check # 33168                  Stop Payment Reversal                               5600-004                                 ($1,687.00)           $801,921.69
                                                                        SA
   11/26/14           33179     Reverses Check # 33179                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $804,521.69
                                                                        SA
   11/26/14           33188     Reverses Check # 33188                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $807,121.69
                                                                        SA
   11/26/14           33190     Reverses Check # 33190                  Stop Payment Reversal                               5600-004                                 ($1,367.00)           $808,488.69
                                                                        SA
   11/26/14           33208     Reverses Check # 33208                  Stop Payment Reversal                               5600-004                                     ($826.00)         $809,314.69
                                                                        SA
   11/26/14           33230     Reverses Check # 33230                  Stop Payment Reversal                               5600-004                                 ($2,500.00)           $811,814.69
                                                                        SA
   11/26/14           33240     Reverses Check # 33240                  Stop Payment Reversal                               5600-004                                     ($321.00)         $812,135.69
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           33248     Reverses Check # 33248                  Stop Payment Reversal                               5600-004                                     ($298.00)         $812,433.69
                                                                        SA
   11/26/14           33257     Reverses Check # 33257                  Stop Payment Reversal                               5600-004                                     ($496.00)         $812,929.69
                                                                        SA
   11/26/14           33279     Reverses Check # 33279                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $815,529.69
                                                                        SA
   11/26/14           33291     Reverses Check # 33291                  Stop Payment Reversal                               5600-004                                     ($547.00)         $816,076.69
                                                                        SA
   11/26/14           33293     Reverses Check # 33293                  Stop Payment Reversal                               5600-004                                     ($290.00)         $816,366.69
                                                                        SA
   11/26/14           33298     Reverses Check # 33298                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $818,966.69
                                                                        SA
   11/26/14           33316     Reverses Check # 33316                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $821,566.69
                                                                        SA
   11/26/14           33331     Reverses Check # 33331                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $824,166.69
                                                                        SA
   11/26/14           33336     Reverses Check # 33336                  Stop Payment Reversal                               5600-004                                     ($503.00)         $824,669.69
                                                                        SA
   11/26/14           33340     Reverses Check # 33340                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $827,269.69
                                                                        SA
   11/26/14           33353     Reverses Check # 33353                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $829,869.69
                                                                        SA
   11/26/14           33356     Reverses Check # 33356                  Stop Payment Reversal                               5600-004                                     ($799.00)         $830,668.69
                                                                        SA
   11/26/14           33380     Reverses Check # 33380                  Stop Payment Reversal                               5600-004                                     ($737.00)         $831,405.69
                                                                        SA
   11/26/14           33385     Reverses Check # 33385                  Stop Payment Reversal                               5600-004                                     ($712.00)         $832,117.69
                                                                        SA
   11/26/14           33397     Reverses Check # 33397                  Stop Payment Reversal                               5600-004                                     ($757.00)         $832,874.69
                                                                        SA
   11/26/14           33414     Reverses Check # 33414                  Stop Payment Reversal                               5600-004                                 ($1,036.00)           $833,910.69
                                                                        SA
   11/26/14           33433     Reverses Check # 33433                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $836,510.69
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           33440     Reverses Check # 33440                  Stop Payment Reversal                               5600-004                                     ($341.00)         $836,851.69
                                                                        SA
   11/26/14           33452     Reverses Check # 33452                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $839,451.69
                                                                        SA
   11/26/14           33455     Reverses Check # 33455                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $842,051.69
                                                                        SA
   11/26/14           33478     Reverses Check # 33478                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $844,651.69
                                                                        SA
   11/26/14           33507     Reverses Check # 33507                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $847,251.69
                                                                        SA
   11/26/14           33516     Reverses Check # 33516                  Stop Payment Reversal                               5600-004                                 ($1,616.00)           $848,867.69
                                                                        SA
   11/26/14           33521     Reverses Check # 33521                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $851,467.69
                                                                        SA
   11/26/14           33524     Reverses Check # 33524                  Stop Payment Reversal                               5600-004                                     ($373.00)         $851,840.69
                                                                        SA
   11/26/14           33528     Reverses Check # 33528                  Stop Payment Reversal                               5600-004                                 ($2,185.00)           $854,025.69
                                                                        SA
   11/26/14           33532     Reverses Check # 33532                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $856,625.69
                                                                        SA
   11/26/14           33560     Reverses Check # 33560                  Stop Payment Reversal                               5600-004                                     ($295.00)         $856,920.69
                                                                        SA
   11/26/14           33579     Reverses Check # 33579                  Stop Payment Reversal                               5600-004                                     ($835.00)         $857,755.69
                                                                        SA
   11/26/14           33593     Reverses Check # 33593                  Stop Payment Reversal                               5600-004                                     ($323.00)         $858,078.69
                                                                        SA
   11/26/14           33595     Reverses Check # 33595                  Stop Payment Reversal                               5600-004                                     ($432.00)         $858,510.69
                                                                        SA
   11/26/14           33601     Reverses Check # 33601                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $861,110.69
                                                                        SA
   11/26/14           33609     Reverses Check # 33609                  Stop Payment Reversal                               5600-004                                      ($99.00)         $861,209.69
                                                                        SA
   11/26/14           33617     Reverses Check # 33617                  Stop Payment Reversal                               5600-004                                 ($1,033.00)           $862,242.69
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           33642     Reverses Check # 33642                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $864,842.69
                                                                        SA
   11/26/14           33643     Reverses Check # 33643                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $867,442.69
                                                                        SA
   11/26/14           33683     Reverses Check # 33683                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $870,042.69
                                                                        SA
   11/26/14           33686     Reverses Check # 33686                  Stop Payment Reversal                               5600-004                                     ($306.00)         $870,348.69
                                                                        SA
   11/26/14           33695     Reverses Check # 33695                  Stop Payment Reversal                               5600-004                                 ($1,299.00)           $871,647.69
                                                                        SA
   11/26/14           33697     Reverses Check # 33697                  Stop Payment Reversal                               5600-004                                     ($494.00)         $872,141.69
                                                                        SA
   11/26/14           33718     Reverses Check # 33718                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $874,741.69
                                                                        SA
   11/26/14           33719     Reverses Check # 33719                  Stop Payment Reversal                               5600-004                                 ($1,465.00)           $876,206.69
                                                                        SA
   11/26/14           33725     Reverses Check # 33725                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $878,806.69
                                                                        SA
   11/26/14           33733     Reverses Check # 33733                  Stop Payment Reversal                               5600-004                                     ($478.00)         $879,284.69
                                                                        SA
   11/26/14           33746     Reverses Check # 33746                  Stop Payment Reversal                               5600-004                                     ($152.00)         $879,436.69
                                                                        SA
   11/26/14           33749     Reverses Check # 33749                  Stop Payment Reversal                               5600-004                                 ($1,300.00)           $880,736.69
                                                                        SA
   11/26/14           33755     Reverses Check # 33755                  Stop Payment Reversal                               5600-004                                     ($707.00)         $881,443.69
                                                                        SA
   11/26/14           33762     Reverses Check # 33762                  Stop Payment Reversal                               5600-004                                     ($459.00)         $881,902.69
                                                                        SA
   11/26/14           33774     Reverses Check # 33774                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $884,502.69
                                                                        SA
   11/26/14           33778     Reverses Check # 33778                  Stop Payment Reversal                               5600-004                                 ($2,145.00)           $886,647.69
                                                                        SA
   11/26/14           33779     Reverses Check # 33779                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $889,247.69
                                                                        SA




                                   Case 10-30631              Doc 5751       Page Subtotals:
                                                                            Filed  05/08/19 Entered 05/08/19 09:00:26                                 $0.00
                                                                                                                                                   Desc Main       ($27,005.00)
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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


       1                2                         3                                             4                                                   5                6                       7

Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           33782     Reverses Check # 33782                  Stop Payment Reversal                               5600-004                                     ($393.00)         $889,640.69
                                                                        SA
   11/26/14           33797     Reverses Check # 33797                  Stop Payment Reversal                               5600-004                                     ($224.00)         $889,864.69
                                                                        SA
   11/26/14           34251     Reverses Check # 34251                  Stop Payment Reversal                               5600-004                                     ($533.00)         $890,397.69
                                                                        SA
   11/26/14           34416     Reverses Check # 34416                  Stop Payment Reversal                               5600-004                                     ($212.00)         $890,609.69
                                                                        SA
   11/26/14           34418     Reverses Check # 34418                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $893,209.69
                                                                        SA
   11/26/14           34421     Reverses Check # 34421                  Stop Payment Reversal                               5600-004                                     ($160.00)         $893,369.69
                                                                        SA
   11/26/14           34440     Reverses Check # 34440                  Stop Payment Reversal                               5600-004                                     ($470.00)         $893,839.69
                                                                        SA
   11/26/14           34447     Reverses Check # 34447                  Stop Payment Reversal                               5600-004                                 ($2,600.00)           $896,439.69
                                                                        SA
   11/26/14           34467     Reverses Check # 34467                  Stop Payment Reversal                               5600-004                                     ($854.00)         $897,293.69
                                                                        SA
   11/26/14           34477     Reverses Check # 34477                  Stop Payment Reversal                               5600-004                                 ($1,213.00)           $898,506.69
                                                                        SA
   11/26/14           34487     Reverses Check # 34487                  Stop Payment Reversal                               5600-004                                 ($1,474.00)           $899,980.69
                                                                        SA
   11/26/14           34507     Reverses Check # 34507                  Stop Payment Reversal                               5600-004                                     ($330.00)         $900,310.69
                                                                        SA
   11/26/14           34514     Reverses Check # 34514                  Stop Payment Reversal                               5600-004                                     ($825.00)         $901,135.69
                                                                        SA
   11/26/14           34662     Reverses Check # 34662                  Stop Payment Reversal                               5600-004                                 ($2,320.00)           $903,455.69
                                                                        SA
   11/26/14           34711     Reverses Check # 34711                  Stop Payment Reversal                               5600-004                                 ($2,468.00)           $905,923.69
                                                                        SA
   11/26/14           34746     Reverses Check # 34746                  Stop Payment Reversal                               7100-004                                 ($4,357.00)           $910,280.69
                                                                        SA
   11/26/14           34773     Reverses Check # 34773                  Stop Payment Reversal                               7100-004                                     ($566.63)         $910,847.32
                                                                        SA




                                   Case 10-30631              Doc 5751       Page Subtotals:
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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           34795     Reverses Check # 34795                  Stop Payment Reversal                               7100-004                                 ($5,111.95)           $915,959.27
                                                                        SA
   11/26/14           34798     Reverses Check # 34798                  Stop Payment Reversal                               7100-004                                 ($2,833.70)           $918,792.97
                                                                        SA
   11/26/14           34801     Reverses Check # 34801                  Stop Payment Reversal                               7100-004                                      ($89.41)         $918,882.38
                                                                        SA
   11/26/14           34806     Reverses Check # 34806                  Stop Payment Reversal                               7100-004                                 ($3,607.09)           $922,489.47
                                                                        SA
   11/26/14           34838     Reverses Check # 34838                  Stop Payment Reversal                               7100-004                                     ($555.45)         $923,044.92
                                                                        SA
   11/26/14           34849     Reverses Check # 34849                  Stop Payment Reversal                               7100-004                                     ($381.66)         $923,426.58
                                                                        SA
   11/26/14           34851     Reverses Check # 34851                  Stop Payment Reversal                               7100-004                                      ($91.09)         $923,517.67
                                                                        SA
   11/26/14           34884     Reverses Check # 34884                  Stop Payment Reversal                               7100-004                                 ($1,598.18)           $925,115.85
                                                                        SA
   11/26/14           34892     Reverses Check # 34892                  Stop Payment Reversal                               7100-004                                 ($1,480.27)           $926,596.12
                                                                        SA
   11/26/14           34901     Reverses Check # 34901                  Stop Payment Reversal                               7100-004                                 ($1,103.64)           $927,699.76
                                                                        SA
   11/26/14           34951     Reverses Check # 34951                  Stop Payment Reversal                               7100-004                                     ($362.11)         $928,061.87
                                                                        SA
   11/26/14           34980     Reverses Check # 34980                  Stop Payment Reversal                               7100-004                                     ($751.59)         $928,813.46
                                                                        SA
   11/26/14           35045     Reverses Check # 35045                  Stop Payment Reversal                               7100-004                                 ($2,901.87)           $931,715.33
                                                                        SA
   11/26/14           35080     Reverses Check # 35080                  Stop Payment Reversal                               7100-004                                     ($740.42)         $932,455.75
                                                                        SA
   11/26/14           35090     Reverses Check # 35090                  Stop Payment Reversal                               7100-004                                      ($69.30)         $932,525.05
                                                                        SA
   11/26/14           35096     Reverses Check # 35096                  Stop Payment Reversal                               7100-004                                     ($139.70)         $932,664.75
                                                                        SA
   11/26/14           35129     Reverses Check # 35129                  Stop Payment Reversal                               7100-004                                     ($771.15)         $933,435.90
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           35149     Reverses Check # 35149                  Stop Payment Reversal                               7100-004                                     ($151.44)         $933,587.34
                                                                        SA
   11/26/14           35170     Reverses Check # 35170                  Stop Payment Reversal                               7100-004                                     ($223.52)         $933,810.86
                                                                        SA
   11/26/14           35270     Reverses Check # 35270                  Stop Payment Reversal                               7100-004                                      ($46.38)         $933,857.24
                                                                        SA
   11/26/14           35272     Reverses Check # 35272                  Stop Payment Reversal                               7100-004                                     ($554.33)         $934,411.57
                                                                        SA
   11/26/14           35280     Reverses Check # 35280                  Stop Payment Reversal                               7100-004                                     ($799.09)         $935,210.66
                                                                        SA
   11/26/14           35285     Reverses Check # 35285                  Stop Payment Reversal                               7100-004                                     ($348.14)         $935,558.80
                                                                        SA
   11/26/14           35307     Reverses Check # 35307                  Stop Payment Reversal                               7100-004                                 ($1,114.81)           $936,673.61
                                                                        SA
   11/26/14           35388     Reverses Check # 35388                  Stop Payment Reversal                               7100-004                                 ($2,391.69)           $939,065.30
                                                                        SA
   11/26/14           35416     Reverses Check # 35416                  Stop Payment Reversal                               7100-004                                     ($236.93)         $939,302.23
                                                                        SA
   11/26/14           35418     Reverses Check # 35418                  Stop Payment Reversal                               7100-004                                 ($1,764.15)           $941,066.38
                                                                        SA
   11/26/14           35429     Reverses Check # 35429                  Stop Payment Reversal                               7100-004                                 ($2,048.58)           $943,114.96
                                                                        SA
   11/26/14           35475     Reverses Check # 35475                  Stop Payment Reversal                               7100-004                                     ($167.64)         $943,282.60
                                                                        SA
   11/26/14           35552     Reverses Check # 35552                  Stop Payment Reversal                               7100-004                                 ($2,440.86)           $945,723.46
                                                                        SA
   11/26/14           35571     Reverses Check # 35571                  Stop Payment Reversal                               7100-004                                 ($3,874.19)           $949,597.65
                                                                        SA
   11/26/14           35580     Reverses Check # 35580                  Stop Payment Reversal                               7100-004                                     ($877.32)         $950,474.97
                                                                        SA
   11/26/14           35643     Reverses Check # 35643                  Stop Payment Reversal                               7100-004                                     ($192.23)         $950,667.20
                                                                        SA
   11/26/14           35659     Reverses Check # 35659                  Stop Payment Reversal                               7100-004                                 ($1,981.52)           $952,648.72
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           35666     Reverses Check # 35666                  Stop Payment Reversal                               7100-004                                 ($2,081.55)           $954,730.27
                                                                        SA
   11/26/14           35675     Reverses Check # 35675                  Stop Payment Reversal                               7100-004                                     ($347.02)         $955,077.29
                                                                        SA
   11/26/14           35677     Reverses Check # 35677                  Stop Payment Reversal                               7100-004                                     ($485.60)         $955,562.89
                                                                        SA
   11/26/14           35704     Reverses Check # 35704                  Stop Payment Reversal                               7100-004                                     ($571.66)         $956,134.55
                                                                        SA
   11/26/14           35706     Reverses Check # 35706                  Stop Payment Reversal                               7100-004                                     ($149.20)         $956,283.75
                                                                        SA
   11/26/14           35718     Reverses Check # 35718                  Stop Payment Reversal                               7100-004                                 ($4,021.72)           $960,305.47
                                                                        SA
   11/26/14           35736     Reverses Check # 35736                  Stop Payment Reversal                               7100-004                                      ($22.91)         $960,328.38
                                                                        SA
   11/26/14           35844     Reverses Check # 35844                  Stop Payment Reversal                               7100-004                                     ($737.62)         $961,066.00
                                                                        SA
   11/26/14           35856     Reverses Check # 35856                  Stop Payment Reversal                               7100-004                                 ($3,127.07)           $964,193.07
                                                                        SA
   11/26/14           35875     Reverses Check # 35875                  Stop Payment Reversal                               7100-004                                 ($3,346.12)           $967,539.19
                                                                        SA
   11/26/14           35880     Reverses Check # 35880                  Stop Payment Reversal                               7100-004                                      ($89.41)         $967,628.60
                                                                        SA
   11/26/14           35912     Reverses Check # 35912                  Stop Payment Reversal                               7100-004                                 ($1,990.46)           $969,619.06
                                                                        SA
   11/26/14           35921     Reverses Check # 35921                  Stop Payment Reversal                               7100-004                                 ($1,032.67)           $970,651.73
                                                                        SA
   11/26/14           35954     Reverses Check # 35954                  Stop Payment Reversal                               7100-004                                 ($1,872.00)           $972,523.73
                                                                        SA
   11/26/14           35956     Reverses Check # 35956                  Stop Payment Reversal                               7100-004                                     ($322.43)         $972,846.16
                                                                        SA
   11/26/14           35960     Reverses Check # 35960                  Stop Payment Reversal                               7100-004                                 ($2,743.73)           $975,589.89
                                                                        SA
   11/26/14           35996     Reverses Check # 35996                  Stop Payment Reversal                               7100-004                                     ($936.00)         $976,525.89
                                                                        SA




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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                       Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                     Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX3661
                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX7646                                                                        Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                       Separate Bond (if applicable):


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Transaction Date    Check or            Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                          ($)
   11/26/14           36013     Reverses Check # 36013                  Stop Payment Reversal                               7100-004                                 ($2,457.07)           $978,982.96
                                                                        SA
   11/26/14           36056     Reverses Check # 36056                  Stop Payment Reversal                               7100-004                                 ($2,026.79)           $981,009.75
                                                                        SA
   11/26/14           36066     Reverses Check # 36066                  Stop Payment Reversal                               7100-004                                 ($3,246.66)           $984,256.41
                                                                        SA
   11/26/14           36093     Reverses Check # 36093                  Stop Payment Reversal                               7100-004                                 ($2,756.03)           $987,012.44
                                                                        SA
   11/26/14           36180     Reverses Check # 36180                  Stop Payment Reversal                               7100-004                                 ($3,639.50)           $990,651.94
                                                                        SA
   11/26/14           36195     Reverses Check # 36195                  Stop Payment Reversal                               7100-004                                     ($684.54)         $991,336.48
                                                                        SA
   11/26/14           36220     Reverses Check # 36220                  Stop Payment Reversal                               7100-004                                 ($1,709.38)           $993,045.86
                                                                        SA
   11/26/14           36232     Reverses Check # 36232                  Stop Payment Reversal                               7100-004                                     ($298.96)         $993,344.82
                                                                        SA
   11/26/14           36253     Reverses Check # 36253                  Stop Payment Reversal                               7100-004                                      ($45.82)         $993,390.64
                                                                        SA
   11/26/14           36260     Reverses Check # 36260                  Stop Payment Reversal                               7100-004                                      ($29.06)         $993,419.70
                                                                        SA
   11/26/14           36315     Reverses Check # 36315                  Stop Payment Reversal                               7100-004                                 ($1,050.55)           $994,470.25
                                                                        SA
   11/26/14           36327     Reverses Check # 36327                  Stop Payment Reversal                               7100-004                                 ($1,628.36)           $996,098.61
                                                                        SA
   11/26/14           36339     Reverses Check # 36339                  Stop Payment Reversal                               7100-004                                 ($1,363.48)           $997,462.09
                                                                        SA
   11/26/14           36350     Reverses Check # 36350                  Stop Payment Reversal                               7100-004                                 ($1,279.10)           $998,741.19
                                                                        SA
   11/26/14           36353     Reverses Check # 36353                  Stop Payment Reversal                               7100-004                                 ($1,001.94)           $999,743.13
                                                                        SA
   11/26/14           36361     Reverses Check # 36361                  Stop Payment Reversal                               7100-004                                      ($83.27)         $999,826.40
                                                                        SA
   11/26/14           36401     Reverses Check # 36401                  Stop Payment Reversal                               7100-004                                 ($1,277.42)         $1,001,103.82
                                                                        SA




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                    Code                                                          ($)
   11/26/14           36407     Reverses Check # 36407                   Stop Payment Reversal                                7100-004                                 ($2,806.88)         $1,003,910.70
                                                                         SA
   11/26/14           36409     Reverses Check # 36409                   Stop Payment Reversal                                7100-004                                 ($1,421.60)         $1,005,332.30
                                                                         SA
   11/26/14           36423     Reverses Check # 36423                   Stop Payment Reversal                                7100-004                                 ($1,096.38)         $1,006,428.68
                                                                         SA
   11/26/14           36435     Reverses Check # 36435                   Stop Payment Reversal                                7100-004                                 ($1,492.57)         $1,007,921.25
                                                                         SA
   11/26/14           36440     Reverses Check # 36440                   Stop Payment Reversal                                7100-004                                       ($7.26)       $1,007,928.51
                                                                         SA
   11/26/14           36444     Reverses Check # 36444                   Stop Payment Reversal                                7100-004                                 ($1,938.49)         $1,009,867.00
                                                                         SA
   11/26/14           36483     Reverses Check # 36483                   Stop Payment Reversal                                7100-004                                      ($13.97)       $1,009,880.97
                                                                         SA
   11/26/14           36492     Reverses Check # 36492                   Stop Payment Reversal                                7100-004                                     ($300.07)       $1,010,181.04
                                                                         SA
   11/26/14           36493     Reverses Check # 36493                   Stop Payment Reversal                                7100-004                                 ($2,633.65)         $1,012,814.69
                                                                         SA
   11/26/14           36516     Reverses Check # 36516                   Stop Payment Reversal                                7100-004                                 ($1,476.36)         $1,014,291.05
                                                                         SA
   11/26/14           36538     Reverses Check # 36538                   Stop Payment Reversal                                7100-004                                     ($267.11)       $1,014,558.16
                                                                         SA
   11/26/14           36558     Reverses Check # 36558                   Stop Payment Reversal                                7100-004                                      ($22.91)       $1,014,581.07
                                                                         SA
   11/26/14           36561     Reverses Check # 36561                   Stop Payment Reversal                                7100-004                                      ($63.70)       $1,014,644.77
                                                                         SA
   11/26/14           36913     Reverses Check # 36913                   Stop Payment Reversal                                7100-004                                 ($3,667.44)         $1,018,312.21
                                                                         SA
   11/26/14           36965     Reverses Check # 36965                   Stop Payment Reversal                                7100-004                                 ($3,139.93)         $1,021,452.14
                                                                         SA
   11/26/14           37114     OMAR FERGUSON                            Priority amount 100%                                 5600-000                                  $2,600.00          $1,018,852.14
                                3866 2nd Ave.Los Angeles, CA 90008
   11/26/14           37115     OMAR FERGUSON                            Unsecured amount 55%                                 7100-000                                      $571.66        $1,018,280.48
                                3866 2nd Ave.Los Angeles, CA 90008




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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                            Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                          Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX3661
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX7646                                                                             Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                            Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                        ($)
   11/26/14           37116     KIM FORSYTHE                                Priority amount 100%                                 5600-000                                     $435.00       $1,017,845.48
                                4757 Goethe Ave.St. Louis, MO 63116
   11/26/14           37117     DELIA HARRISON                        Priority amount 100%                                       5600-000                                  $1,859.00        $1,015,986.48
                                15118 Lassen WayMorgan Hill, CA 95037
   11/26/14           37118     JOSH HUDGINS                                Priority amount 100%                                 5600-000                                     $229.00       $1,015,757.48
                                7167 Brittin Rd.Springfield, IL 62707
   11/26/14           37119     ANDREW LAWS                                 Priority amount 100%                                 5600-000                                     $457.00       $1,015,300.48
                                1835 Moonlight Dr.Lavergne, TN 37086
   11/26/14           37120     BRIAN KASPER                                Priority amount 100%                                 5600-000                                  $2,600.00        $1,012,700.48
                                9245 S. 78th Ave.Hickory HIlls, IL 60457
   11/26/14           37121     BRIAN KASPER                                Unsecured amount 55%                                 7100-000                                     $751.59       $1,011,948.89
                                9245 S. 78th Ave.,Hickory Hills, IL 60457
   11/26/14           37122     LEE MISH                                    Priority 100%                                        5600-000                                     $600.00       $1,011,348.89
                                26 Paxton Rd.Framingham, MA 01701
   11/26/14           37123     JODI RITZ                                   Priority amount 100%                                 5600-000                                  $2,600.00        $1,008,748.89

                                101 Woodland St
                                Meriden, CT 06451
   11/26/14           37124     JODI RITZ                                   Unsecured amount 55%                                 7100-000                                  $1,279.10        $1,007,469.79

                                101 Woodland St
                                Meriden, CT 06451
   11/26/14           37125     EVA SAN JOSE PEREZ                          Priority amount 100%                                 5600-000                                     $398.00       $1,007,071.79
                                3110 Rubino Dr., Apt. 320San Jose, CA
                                95125
   11/26/14           37126     ALISON NUCCIO                               Priority amount 100%                                 5600-000                                  $1,420.00        $1,005,651.79

                                5480 Pine Top Circle
                                Raleigh, NC 27612
   12/01/14           37127     JARHONDA PERKINS                            Priority amount 100%                                 5600-000                                     $514.00       $1,005,137.79
                                5417 Tulip Ct.Marrero, LA 70072
   12/01/14           37128     TODD MCANDREWS                              Priority amount 100%                                 5600-000                                  $1,029.00        $1,004,108.79
                                6511 W. 84th PlLos Angeles, CA 90045
   12/01/14           37129     ALENA ROOD                                  Priority amount 100%                                 5600-000                                     $256.00       $1,003,852.79
                                360 S. 200 W. Apt. D505Salt Lake City,
                                UT 84101



                                    Case 10-30631               Doc 5751         Page Subtotals:
                                                                                Filed  05/08/19 Entered 05/08/19 09:00:26                                  $0.00
                                                                                                                                                        Desc Main         $14,427.69
                                                                               Document          Page 748 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                           Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                         Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX3661
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX7646                                                                            Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                           Separate Bond (if applicable):


       1                2                           3                                              4                                                    5                6                       7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)      Account/CD Balance
                    Reference                                                                                                      Code                                                          ($)
   12/01/14           37130     NANCY VAN WYK                             Priority amount 100%                                  5600-000                                      $952.00        $1,002,900.79
                                608 1st Ave.Grinnell, IA 50112
   12/01/14           37131     MARIE PAMELA B ROMERO                     Priority amount 100%                                  5600-000                                      $875.00        $1,002,025.79

                                949 Sunbonnet Loop
                                San Jose, CA 95125
   12/01/14           37132     ANTONIO SANTAMARINA                       Priority amount 100%                                  5600-000                                  $2,600.00            $999,425.79
                                1763 Raleigh Court W, Apt. 63AOcean,
                                NJ 07712
   12/01/14           37133     ANTONIO SANTAMARINA                       Unsecured amount 55%                                  7100-000                                  $3,139.93            $996,285.86
                                1763 Raleigh Court W, Apt. 63AOcean,
                                NJ 07712
   12/01/14           37134     LELAND RYAN                               Priority amount 100%                                  5600-000                                  $1,915.00            $994,370.86
                                7817 Newbury Dr.Jonesboro, GA 30236
   12/01/14           37135     ANTHONY IDIGO                             Unsecured amount 55%                                  7100-000                                     $5,111.95         $989,258.91
                                185 Prospect Ave., Apt. 2KHackensack,
                                NJ 07601
   12/01/14           37136     RENDA BRADSHAW                            Priority claim 100%                                   5600-000                                      $532.00          $988,726.91
                                3165 Shadow Creek DrivePowhatan, VA
                                23139
   12/01/14           37137     SHERI MORAN                               Priority amount 100%                                  5600-000                                      $224.00          $988,502.91
                                4129 Jansma Ave.Billings, MT 59102
   12/01/14           37138     FRANK CUNNINGHAM                     Priority amount 100%                                       5600-000                                      $373.00          $988,129.91
                                5385 McCaghren Dr.Columbus, GA 31901
   12/01/14           37139     VIVIAN F DORGAY                           Priority amount 100%                                  5600-000                                  $2,600.00            $985,529.91

                                PO BOX 295
                                ELGIN, SC 29045
   12/01/14           37140     SHIRLEY WALKER                            Priority amount 100%                                  5600-000                                      $306.00          $985,223.91
                                1719 Silverdale LaneLithia Springs, GA
                                30122
   12/01/14           37141     LAURA MEJIA                               Priority amount 100%                                  5600-000                                  $2,600.00            $982,623.91
                                350 Bonnie LaneLa Habra, CA 90631
   12/01/14           37142     LAURA MEJIA                               Unsecured amount 55%                                  7100-000                                      $300.07          $982,323.84
                                350 Bonnie LaneLa Habra, CA 90631
   12/01/14           37143     ROSALBA TORRES                            Priority amount 100%                                  5600-000                                  $2,600.00            $979,723.84
                                350 Bonnie LaneLa Habra, CA 90631


                                    Case 10-30631                Doc 5751      Page Subtotals:
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                                                                                                                                                       Desc Main         $24,128.95
                                                                             Document          Page 749 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                          Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                        Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX3661
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                        ($)
   12/01/14           37144     ROSALBA TORRES                            Unsecured amount 55%                                 7100-000                                  $2,633.65          $977,090.19
                                350 Bonnie LaneLa Habra, CA 90631
   12/01/14           37145     ESTATE OF RAYMER BERGMAN                  Priority amount 100%                                 5600-000                                     $641.00         $976,449.19
                                521 Domenico CircleSaint Augustine, FL
                                32086
   12/01/14           37146     DARREN RUSSO                              Priority amount 100%                                 5600-000                                     $494.00         $975,955.19
                                #6 Vera Ct.Centereach, NY 11720
   12/01/14           37147     WILFREDO PINZON                           Priority amount 100%                                 5600-000                                  $1,033.00          $974,922.19
                                64 Manning Ave.North Plainfield, NJ
                                07060
   12/01/14           37148     BRADLEY CHARLES                           Unsecured amount 55%                                 7100-000                                     $298.96         $974,623.23
                                150 Bugatti Ct.Inwood, WV 25428
   12/01/14           37149     CHRISTINA BONILLA CARPIO                  Priority amount 100%                                 5600-000                                  $2,600.00          $972,023.23
                                157-24 Baisley Blvd., #2Jamaica, NY
                                11434
   12/01/14           37150     TAMIKA KELLY                              Priority amount 100%                                 5600-000                                  $2,600.00          $969,423.23
                                7 Chestnut St., Apt. 1KEast Orange, NJ
                                07018
   12/01/14           37151     FRANCIS DEGUZMAN                          Priority amount 100%                                 5600-000                                     $300.00         $969,123.23
                                8739 Olive Tree Dr.Rancho Cucamonga,
                                CA 91730
   12/01/14           37152     RONALD MEJIA                              Unsecured amount 55%                                 7100-000                                  $3,667.44          $965,455.79
                                3962 Fairman St.Lakewood, CA 90712
   12/01/14           37153     PERRENA BERNOUDY                          Priority amount 100%                                 5600-000                                     $671.00         $964,784.79
                                1390 Westward Dr. SWMarietta, GA
                                30008
   12/01/14           37154     JOSEPHINE DELPINO                         Priority amount 100%                                 5600-000                                  $2,600.00          $962,184.79
                                4551 SW 43rd Ave.Davie, FL 33314
   12/01/14           37155     JOSEPHINE DELPINO                         Unsecured amount 55%                                 7100-000                                       $7.26         $962,177.53
                                4551 SW 43rd Ave.Davie, FL 33314
   12/01/14           37156     DANIELLE CHAMBERS                     Priority amount 100%                                     5600-000                                  $2,352.00          $959,825.53
                                366 NE 36 TerranceHomestead, FL 33033
   12/02/14           37157     EVONNE LOPEZ                              Priority amount 100%                                 5600-000                                     $219.00         $959,606.53
                                2102 Keralum Dr.Eddingburg, TX 78542
   12/02/14           37158     MARITA ALEXANDER                          Priority amount 100%                                 5600-000                                     $731.00         $958,875.53
                                1210 Northwest Blvd.Neosho, MO 64850



                                    Case 10-30631               Doc 5751       Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                  $0.00
                                                                                                                                                      Desc Main         $20,848.31
                                                                             Document          Page 750 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX3661
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX7646                                                                          Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                         Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   12/02/14           37159     CHANG KIM                                Priority amount 100%                                 5600-000                                     $872.00         $958,003.53

                                702 Young Way
                                Richmond Hill, GA 31324
   12/02/14           37160     SHONTAE GILLUS                          Priority 100%                                         5600-000                                     $854.00         $957,149.53
                                3355 McDaniel Rd., Apt. 11302Duluth, GA
                                33096
   12/02/14           37161     LESA JEFFERSON                           Priority 100%                                        5600-000                                     $694.00         $956,455.53
                                4405 Hamilton DriveWoodbridge, VA
                                22193
   12/02/14           37162     PHILLIP GREER                            Priority 100%                                        5600-000                                     $269.00         $956,186.53
                                2066 Cedar Trail WayEagle Mountain,
                                Utah 84005
   12/02/14           37163     CASSIE MILLER                            Priority amount 100%                                 5600-000                                     $325.00         $955,861.53
                                834 Harry Truman Rd.Fayetteville, NC
                                28311
   12/02/14           37164     MARISSA GARMA-AGODON                     Priority amount 100%                                 5600-000                                     $725.00         $955,136.53
                                2300 Rock Springs Dr., Apt. 2150Las
                                Vegas, NV 89128
   12/02/14           37165     MARCELINA A MACASAET                     Priority amount 100%                                 5600-000                                     $478.00         $954,658.53
                                4133 57th St.Woodside, NY 11377
   12/02/14           37166     JULIE EHRENTRAUT                         Priority amount 100%                                 5600-000                                  $2,600.00          $952,058.53

                                199 W Groton Rd
                                Locke, NY 13092
   12/03/14           37167     KATHRYN PIERCE                           Priority amount 100%                                 5600-000                                  $2,400.00          $949,658.53
                                14006 Cayuga Ct.Cleveland, OH 44111
   12/03/14           37168     JULIA SMITH                              Priority amount 100%                                 5600-000                                  $1,945.00          $947,713.53
                                424 Greenville Hwy, Apt. 3IBrevard, NC
                                28712
   12/03/14           37169     AMY WESTBROEK                            Priority amount 100%                                 5600-000                                  $1,036.00          $946,677.53
                                1455 Saphire Dr.McDonough, GA 30252
   12/03/14           37170     QUANEESHA NEWTON                         Priority amount 100%                                 5600-000                                  $2,275.00          $944,402.53

                                608 Maple St Apt 5
                                Brooklyn, NY 11203
   12/03/14           37171     PAMELA SWANSON                           Priority amount 100%                                 5600-000                                  $2,600.00          $941,802.53
                                2114 Pamela Dr.Holiday, FL 34690

                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                  $0.00
                                                                                                                                                     Desc Main         $17,073.00
                                                                            Document          Page 751 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                          Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                        Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX3661
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                        ($)
   12/03/14           37172     PAMELA SWANSON                            Unsecured amount 55%                                 7100-000                                  $1,709.38          $940,093.15
                                2114 Pamela Dr.Holiday, FL 34690
   12/03/14           37173     JACKIE SMITH                              Priority amount 100%                                 5600-000                                  $2,078.00          $938,015.15
                                339 N. Thomas Branch Rd.Manchester,
                                KY 40962
   12/03/14           37174     LILLIE EPTING-THOMAS                      Priority amount 100%                                 5600-000                                     $637.00         $937,378.15
                                25524 Western Ave., Apt. 15Harbor City,
                                CA 90710
   12/03/14           37175     JORDAN SMITHSON                           Priority amount 100%                                 5600-000                                  $2,185.00          $935,193.15
                                521 East 5h Ave., Apt. CTarentum, PA
                                15084
   12/03/14           37176     SHELIA SPIERING                           Priority amount 100%                                 5600-000                                  $2,175.00          $933,018.15
                                511 SE St.Menno, SD 57045
   12/03/14           37177     ANNIE THACH                               Unsecured 55%                                        7100-000                                  $2,457.07          $930,561.08
                                2109 S. Dalton St.Wichita, KS 67207
   12/03/14           37178     TIN ZAR                                 Priority amount 100%                                   5600-000                                     $826.00         $929,735.08
                                423 7th St., Unit #121Oakland, CA 94607
   12/03/14           37179     ELIZABETH GUZMAN                         Priority amount 100%                                  5600-000                                     $310.00         $929,425.08
                                620 NE 12th Ave., Apt. 402Hallandale, FL
                                33009
   12/03/14           37180     TRACY VIGO                                Priority amount 100%                                 5600-000                                     $280.00         $929,145.08

                                3101 Allendale Blvd
                                Casper, WY 82601
   12/03/14           37181     CECILLE GRIMSLEY                          Priority amount 100%                                 5600-000                                     $959.00         $928,186.08
                                291 E. Rienstra St.,Chula Vista, CA 91911
   12/03/14           37182     LOIS REEVES                               Priority 100%                                        5600-000                                  $2,600.00          $925,586.08
                                c/o Azar and Azar
   12/03/14           37183     DABARION TAYLOR                           Priority amount 100%                                 5600-000                                     $503.00         $925,083.08
                                299 Barrow St., Apt. 1Jersey City, NJ
                                07302
   12/03/14           37184     THERESA JAMES                             Priority amount 100%                                 5600-000                                  $2,500.00          $922,583.08

                                907 W 76th Street 2nd Floor
                                Chicago, IL 60620




                                    Case 10-30631               Doc 5751       Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                  $0.00
                                                                                                                                                      Desc Main         $19,219.45
                                                                             Document          Page 752 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                           Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                         Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX3661
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX7646                                                                            Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                           Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                        ($)
   12/03/14           37185     ABDUL ALHASSAN                            Priority amount 100%                                  5600-000                                  $2,600.00          $919,983.08
                                16000 Sherman Way 210Van Nuys, CA
                                91406
   12/03/14           37186     ABDUL ALHASSAN                            Unsecured amount 55%                                  7100-000                                  $2,026.79          $917,956.29
                                16000 Sherman Way 210Van Nuys, CA
                                91406
   12/08/14           37187     ELIZABETH LARSON                          Priority 100%                                         5600-000                                     $547.00         $917,409.29
                                275 W. 1380 NorthTooelee, UT 84074
   12/08/14           37188     LAURA DONEL SOWERS                        Priority 100%                                         5600-000                                     $781.00         $916,628.29
                                2143 Steelhead Ct.Lebanon, OR 97355
   12/08/14           37189     KARIN EDENMARK AND JOSE                   Unsecured amount 55%                                  7100-000                                  $2,756.03          $913,872.26
                                SANCHEZ
                                21909 Lake Forest Circle, Apt. 204Boca
                                Raton, FL 33433
   12/08/14           37190     ANGEL PAGAN                               Unsecured 55%                                         7100-000                                     $151.44         $913,720.82
                                3467 Vale Ct.Woodbridge, VA 22192
   12/09/14           37191     BOYD AND JENNIFER FREDERICK               Priority amount 100%                                  5600-000                                     $707.00         $913,013.82

                                6818 53RD ST
                                15
                                KENOSHO, WI 53144
   12/10/14           37192     STANLEY GRANT                             Priority 100%                                         5600-000                                     $212.00         $912,801.82
                                1147 E. 89th St.Brooklyn, NY 11236
   12/10/14           37193     JUAN-CARLOS GUERRERO                      Unclaimed Funds Unclaimed                             2700-000                                $415,025.13          $497,776.69
                                Clerk of the CourtUnited States           funds in the Allegro Law, LLC
                                Bankruptcy CourtOne Church                case. 10-30631 from interim
                                StreetMontgomery, AL 36104                distribution.
   12/22/14           37194     SUNBELT SELF STORAGE                      storage unit rental fee Storage                       2410-000                                     $648.00         $497,128.69
                                                                          payment for Allegro storage unit
   12/26/14                     UNION BANK                                BANK SERVICE FEE                                      2600-000                                  $1,694.39          $495,434.30

   01/05/15           37195     HATFIELD TAYLOR CO.                       Website Updates Website                               3991-000                                     $120.00         $495,314.30
                                9154 Eastchase Pkwy PMB                   updates-payment for invoice
                                182Montgomery, AL 36117                   1960




                                    Case 10-30631                 Doc 5751     Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                   $0.00
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                                                                             Document          Page 753 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                          Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                        Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX3661
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                           ($)
   01/16/15                     UNION BANK                               Credit for C. Rink                                    1180-000                 $2,600.00                              $497,914.30
                                                                         $2,600 credited from bank
                                                                         because Charles Rink's priority
                                                                         check was fraudulently
                                                                         endorsed/cashed.
                                                                         Bank credited account on
                                                                         1/8/15.
   01/16/15           37196     UNITED STATES BANKRUPTCY COURT Remit to Court                                                                                                   $16.76         $497,897.54
                                Middle District of AlabamaOffice of the Old Description: REMITTED
                                ClerkOne Church StreetMontgomery, AL TO COURT
                                36104
                                                                        DIVIDENDS REMITTED TO
                                                                        THE COURT
                                                                        ITEM # CLAIM # DIVIDEND
                                                                        ========================
                                                                        ==========
                                                                          184 000092a          4.47
                                                                          1516 000752a          0.56
                                                                          1702 000845a          0.56
                                                                          5180 002570a          2.79
                                                                          6420 00318
                                JEFF PURINGPON                           REMITTED TO COURT                          ($2.80)    7100-001

                                ROSE M FAHNBULLEH                        REMITTED TO COURT                          ($2.79)    7100-001

                                ARGO PARTNERS                            REMITTED TO COURT                          ($2.79)    7100-001

                                ARGO PARTNERS                            REMITTED TO COURT                          ($0.56)    7100-001

                                ARGO PARTNERS                            REMITTED TO COURT                          ($4.47)    7100-001

                                JUDI SCHERTZ                             REMITTED TO COURT                          ($0.56)    7100-001

                                KRISTINA SHIELDS                         REMITTED TO COURT                          ($2.79)    7100-001

   01/16/15           37197     CHARLES RINK                             Repayment for stolen check.                           8500-002                                     $2,600.00          $495,297.54
                                11983 First Ave.Cincinnati, OH 45249
   01/20/15           37198     INTERNATIONAL SURETIES, LTD              Trustee Bond Payment for                              2300-000                                        $119.36         $495,178.18
                                Suite 420701 Ponydras St.New Orleans,    invoice number 016027468
                                LA 70139



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                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $2,600.00
                                                                                                                                                      Desc   Main           $2,736.12
                                                                            Document          Page 754 of 768
                                                                                                                                                                                                Page:     752

                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                            Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                          Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX3661
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX7646                                                                             Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                            Separate Bond (if applicable):


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Transaction Date    Check or              Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   01/26/15                     UNION BANK                                BANK SERVICE FEE                                       2600-000                                     $1,066.86          $494,111.32

   02/04/15           37199     HATFIELD TAYLOR, CO.                      Website Updates                                        3991-000                                         $80.00         $494,031.32
                                9154 Eastchase Parkway PMB
                                182Montgomery, AL 36117
   02/13/15                     UNION BANK                                Credit for Jackie Smith                                1180-000                 $2,078.00                              $496,109.32

   02/13/15           37200     JACKIE SMITH                              Repayment for Stolen Check                             8500-004                                     $2,078.00          $494,031.32
                                339 N. Thomas Branch Rd.Manchester,
                                KY 40962
   02/25/15                     UNION BANK                                BANK SERVICE FEE                                       2600-000                                        $741.24         $493,290.08

   03/05/15           37200     Reverses Check # 37200                    Stop Payment Reversal                                  8500-004                                    ($2,078.00)         $495,368.08
                                                                          SA
   03/05/15           37201     HATFIELD TAYLOR CO.                       Website updates                                        3991-000                                         $80.00         $495,288.08
                                9154 Eastchase Parkway, PMB
                                182Montgomery, AL 36117
   03/20/15           37202     JACKIE SMITH                              Prority amount                                         5600-000                                     $2,078.00          $493,210.08
                                1315 Hatsole Rd.Lincolnton, NC 28092
   03/23/15            13       GLOBAL SURETY, LLC                        Bond refund                                            1290-000                 $9,505.00                              $502,715.08
                                1 Shell St,701 Poydras Street, Suite
                                420New Orleans, LA 70139
   03/25/15                     UNION BANK                                BANK SERVICE FEE                                       2600-000                                        $665.10         $502,049.98

   04/27/15                     UNION BANK                                BANK SERVICE FEE                                       2600-000                                        $739.55         $501,310.43

   05/26/15                     UNION BANK                                BANK SERVICE FEE                                       2600-000                                        $721.98         $500,588.45

   06/25/15                     UNION BANK                                BANK SERVICE FEE                                       2600-000                                        $744.89         $499,843.56

   07/27/15                     UNION BANK                                BANK SERVICE FEE                                       2600-000                                        $719.81         $499,123.75

   08/25/15                     UNION BANK                                BANK SERVICE FEE                                       2600-000                                        $742.74         $498,381.01

   09/25/15                     UNION BANK                                BANK SERVICE FEE                                       2600-000                                        $741.60         $497,639.41



                                    Case 10-30631               Doc 5751       Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $11,583.00
                                                                                                                                                        Desc   Main           $9,121.77
                                                                             Document          Page 755 of 768
                                                                                                                                                                                              Page:     753

                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                           Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                         Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX3661
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


       1                2                           3                                             4                                                    5                   6                     7

Transaction Date    Check or              Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                           ($)
   10/26/15                     UNION BANK                                BANK SERVICE FEE                                      2600-000                                       $716.64         $496,922.77

   11/17/15                     Transfer to Acct # xxxxxx1745             Transfer of Funds                                     9999-000                                  $496,922.77                 $0.00



                                                                                                          COLUMN TOTALS                          $16,586,046.83       $16,586,046.83
                                                                                                                Less: Bank Transfers/CD's        $16,465,455.93           $496,922.77
                                                                                                          Subtotal                                   $120,590.90      $16,089,124.06
                                                                                                                Less: Payments to Debtors                   $0.00                $0.00
                                                                                                          Net                                        $120,590.90      $16,089,124.06




                                    Case 10-30631               Doc 5751       Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                  $0.00
                                                                                                                                                      Desc Main           $497,639.41
                                                                             Document          Page 756 of 768
                                                                                                                                                                                                    Page:     754

                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                              Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                            Bank Name: Bank of America
                                                                                                                  Account Number/CD#: XXXXXX6864
                                                                                                                                            BofA - Money Market Account
  Taxpayer ID No: XX-XXX7646                                                                               Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                              Separate Bond (if applicable):


       1                2                           3                                                4                                                     5                     6                     7

Transaction Date    Check or              Paid To / Received From                        Description of Transaction               Uniform Tran.       Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                             ($)
   04/08/10             1       RIVER BANK & TRUST                          0200113223                                             1129-000            $7,209,335.67                               $7,209,335.67
                                2611 Legends DrivePrattville, Alabama       Bank Serial #: 000000
                                36067
   04/08/10             2       RIVER BANK & TRUST                          0200113181                                             1110-000            $3,799,657.74                              $11,008,993.41
                                2611 Legends DrivePrattville, Alabama       Bank Serial #: 000000
                                36067
   04/08/10             3       RIVER BANK & TRUST                          0200113215                                             1110-000            $2,696,442.51                              $13,705,435.92
                                2611 Legends DrivePrattville, Alabama       Bank Serial #: 000000
                                36067
   04/08/10             4       RIVER BANK & TRUST                          0200113199                                             1110-000            $1,824,770.05                              $15,530,205.97
                                2611 Legends DrivePrattville, Alabama       Bank Serial #: 000000
                                36067
   04/08/10             5       RIVER BANK & TRUST                          0200113207                                             1110-000            $1,299,319.00                              $16,829,524.97
                                2611 Legends DrivePrattville, Alabama       Bank Serial #: 000000
                                36067
   04/08/10             6       RIVER BANK & TRUST                          0200113165                                             1110-000               $32,742.66                              $16,862,267.63
                                2611 Legends DrivePrattville, Alabama       Bank Serial #: 000000
                                36067
   04/08/10             7       RIVER BANK & TRUST                          0200113173                                             1110-000               $32,027.01                              $16,894,294.64
                                2611 Legends DrivePrattville, Alabama       Bank Serial #: 000000
                                36067
   04/16/10            301      INTERNATIONAL SURETIES, LTD                 Bond # 016040924                                       2300-000                                      $37,000.00       $16,857,294.64
                                One Shell Square701 Poydras St., Suite      1 year bond for Allegro Law,
                                420New Orleans, LA 70139                    LLC $18,500,000.00
   04/29/10            302      AMERICORP, INC.                             Mail package & Delivery 4-                             2990-000                                          $334.73      $16,856,959.91
                                Attn: Canessa Vinicombe311 Crossways        16/23-10
                                Park DriveWoodbury, NY 11797                cost for mailing mail from
                                                                            customers of Allegro Law, LLC
   04/30/10            INT      BANK OF AMERICA, N.A.                       Interest Rate 0.120                                    1270-000                 $1,276.39                             $16,858,236.30

   05/07/10            303      AMERICORP, INC.                             Mail package Delivery 4-26/30-                         2990-000                                          $283.76      $16,857,952.54
                                Attn: Vanessa Vinicombe311 Crossways        10
                                Park DriveWoodbury, NY 11797
   05/07/10            304      BMC GROUP, INC.                             Notice and Service                                     2990-000                                      $30,000.00       $16,827,952.54
                                Attn: Sachie Fritz600 First Avenue, Suite   initial downpayment for set up
                                300Seattle, WA 98104                        cost




                                    Case 10-30631               Doc 5751         Page Subtotals:
                                                                                Filed  05/08/19 Entered 05/08/19 09:00:26$16,895,571.03
                                                                                                                             Desc Main                                           $67,618.49
                                                                               Document          Page 757 of 768
                                                                                                                                                                                                 Page:     755

                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                            Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                           Bank Name: Bank of America
                                                                                                                Account Number/CD#: XXXXXX6864
                                                                                                                                         BofA - Money Market Account
  Taxpayer ID No: XX-XXX7646                                                                            Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                           Separate Bond (if applicable):


       1                2                          3                                               4                                                    5                     6                     7

Transaction Date    Check or             Paid To / Received From                       Description of Transaction                Uniform Tran.     Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   05/14/10            305      AMERICORP, INC.                          5-7-10 IT Data                                           2990-000                                        $731.25      $16,827,221.29
                                Attn: Vanessa Vinicombe311 Crossways     Format/Compilation
                                Park DriveWoodbury, NY 11797             IT Script Programming and
                                                                         Date Formating and
                                                                         Compilation
   05/28/10            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.120                                      1270-000               $1,716.03                             $16,828,937.32

   06/04/10            306      AMERICORP, INC.                          Mail package/delivery 5-3/27-                            2990-000                                        $875.14      $16,828,062.18
                                Attn: Vanessa Vinicombe311 Crossways     10
                                Park DriveWoodbury, NY 11797
   06/09/10            307      AMERICORP, INC.                          Mail Package and Delivery 6-                             2990-000                                        $174.62      $16,827,887.56
                                Attn: Vanessa Vinicombe311 Crossways     1/4-10
                                Park DriveWoodbury, NY 11797
   06/09/10            308      JUDSON VAUGHN                            Pick up/deliver assets Allegro                           2990-000                                        $200.00      $16,827,687.56
                                1415 Forest Lake DriveElba, Alabama      Picking up, delivery, unloading
                                36323                                    Allegro boxes (30+) from
                                                                         former office in Prattville and
                                                                         delivering to storage building in
                                                                         East Montgomery
   06/22/10                     Transfer to Acct # XXXXXX6932            Bank Funds Transfer                                      9999-000                                   $150,000.00       $16,677,687.56

   06/30/10            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.120                                      1270-000               $1,655.32                             $16,679,342.88

   07/30/10            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.120                                      1270-000               $1,699.92                             $16,681,042.80

   08/09/10                     Transfer to Acct # XXXXXX6932            Bank Funds Transfer                                      9999-000                                    $34,000.00       $16,647,042.80

   08/31/10            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.120                                      1270-000               $1,697.53                             $16,648,740.33

   09/01/10                     RIVER BANK & TRUST                       Balance Accounts xxx3207 &                                                    $57,308.72                              $16,706,049.05
                                Karen PughPost Office Box                xxx3215
                                680249Prattville, Alabama 36068
                                                                         Gross Receipts                             $57,308.72

                        3                                                CHECKING ACCOUNT                           $25,463.00    1110-000




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $64,077.52
                                                                                                                                                       Desc   Main           $185,981.01
                                                                            Document          Page 758 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                           Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                          Bank Name: Bank of America
                                                                                                               Account Number/CD#: XXXXXX6864
                                                                                                                                        BofA - Money Market Account
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


       1                2                          3                                              4                                                    5                     6                    7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction                Uniform Tran.     Deposits ($)        Disbursements ($)   Account/CD Balance
                    Reference                                                                                                       Code                                                          ($)
                        5                                                CHECKING ACCOUNT                          $31,845.72    1110-000

   09/30/10            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.120                                     1270-000               $1,646.58                            $16,707,695.63

   10/29/10            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.120                                     1270-000               $1,702.80                            $16,709,398.43

   11/30/10            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.120                                     1270-000               $1,648.06                            $16,711,046.49

   12/31/10            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.120                                     1270-000               $1,703.15                            $16,712,749.64

   01/03/11                     Transfer to Acct # XXXXXX6932            Bank Funds Transfer                                     9999-000                                    $20,000.00      $16,692,749.64

   01/19/11                     Transfer to Acct # XXXXXX6932            Bank Funds Transfer                                     9999-000                                   $100,000.00      $16,592,749.64
                                                                         for payment of BMC Group,
                                                                         Sterling Bank - records and
                                                                         CPA distribution
   01/31/11            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.120                                     1270-000               $1,697.15                            $16,594,446.79

   02/03/11                     Transfer to Acct # XXXXXX6932            Bank Funds Transfer                                     9999-000                                    $37,000.00      $16,557,446.79
                                                                         Liberty Mututal Insurance
                                                                         Company Bond
   02/28/11            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                     1270-000                  $127.04                           $16,557,573.83

   03/31/11            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                     1270-000                  $140.62                           $16,557,714.45

   04/29/11            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                     1270-000                  $136.08                           $16,557,850.53

   05/31/11            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                     1270-000                  $140.63                           $16,557,991.16

   06/30/11            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                     1270-000                  $136.09                           $16,558,127.25

   07/29/11            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                     1270-000                  $140.63                           $16,558,267.88

   08/31/11            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                     1270-000                  $140.63                           $16,558,408.51




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $9,359.46
                                                                                                                                                      Desc   Main           $157,000.00
                                                                            Document          Page 759 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                          Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                        Bank Name: Bank of America
                                                                                                               Account Number/CD#: XXXXXX6864
                                                                                                                                        BofA - Money Market Account
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


       1                2                          3                                              4                                                    5                     6                    7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)        Disbursements ($)   Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
   09/30/11            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                   1270-000                    $136.10                           $16,558,544.61

   10/05/11                     Transfer to Acct # XXXXXX6932            Bank Funds Transfer                                   9999-000                                      $55,000.00      $16,503,544.61

   10/31/11            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                   1270-000                    $140.23                           $16,503,684.84

   11/30/11            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                   1270-000                    $135.65                           $16,503,820.49

   12/30/11            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                   1270-000                    $140.17                           $16,503,960.66

   01/31/12            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                   1270-000                    $139.81                           $16,504,100.47

   02/03/12                     Transfer to Acct # XXXXXX6932            Bank Funds Transfer                                   9999-000                                      $37,000.00      $16,467,100.47

   02/29/12            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                   1270-000                    $130.50                           $16,467,230.97

   03/30/12            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                   1270-000                    $139.47                           $16,467,370.44

   04/30/12            INT      BANK OF AMERICA, N.A.                    INTEREST REC'D FROM                                   1270-000                    $134.99                           $16,467,505.43
                                                                         BANK
   05/31/12            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                   1270-000                    $139.48                           $16,467,644.91

   06/05/12                     Transfer to Acct # XXXXXX6932            Bank Funds Transfer                                   9999-000                                      $20,000.00      $16,447,644.91

   06/29/12            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                   1270-000                    $134.83                           $16,447,779.74

   07/31/12            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                   1270-000                    $139.31                           $16,447,919.05

   08/24/12             8       CB&T A DIVISION OF SYNOVUS BANK          Lawsuit Proceeds                                      1241-000               $14,544.14                             $16,462,463.19
                                P.O. Box 120Columbus, GA 31902
   08/24/12                     Transfer to Acct # XXXXXX6932            Claims agent for Trustee                              9999-000                                       $3,772.85      $16,458,690.34

   08/31/12            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                   1270-000                    $139.31                           $16,458,829.65




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                $16,193.99
                                                                                                                                                      Desc   Main           $115,772.85
                                                                            Document          Page 760 of 768
                                                                                                                                                                                              Page:     758

                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                         Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                       Bank Name: Bank of America
                                                                                                              Account Number/CD#: XXXXXX6864
                                                                                                                                      BofA - Money Market Account
  Taxpayer ID No: XX-XXX7646                                                                         Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                        Separate Bond (if applicable):


       1                2                         3                                             4                                                    5                     6                     7

Transaction Date    Check or            Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                             ($)
   09/28/12            INT      BANK OF AMERICA, N.A.                   Interest Rate 0.010                                   1270-000                   $134.90                            $16,458,964.55

   10/30/12                     Trsf To UNION BANK                      INITIAL WIRE TRANSFER IN                              9999-000                                $16,458,964.55                  $0.00



                                                                                                        COLUMN TOTALS                           $16,985,336.90        $16,985,336.90
                                                                                                              Less: Bank Transfers/CD's                    $0.00      $16,915,737.40
                                                                                                        Subtotal                                $16,985,336.90             $69,599.50
                                                                                                              Less: Payments to Debtors                    $0.00                 $0.00
                                                                                                        Net                                     $16,985,336.90             $69,599.50




                                   Case 10-30631              Doc 5751       Page Subtotals:
                                                                            Filed  05/08/19 Entered 05/08/19 09:00:26                                $134.90
                                                                                                                                                    Desc Main         $16,458,964.55
                                                                           Document          Page 761 of 768
                                                                                                                                                                                                  Page:     759

                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                            Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                           Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX6932
                                                                                                                                           BofA - Checking Account
  Taxpayer ID No: XX-XXX7646                                                                              Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                            Separate Bond (if applicable):


       1                2                          3                                               4                                                      5                  6                       7

Transaction Date    Check or             Paid To / Received From                       Description of Transaction                Uniform Tran.       Deposits ($)     Disbursements ($)      Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   06/22/10                     Transfer from Acct # XXXXXX6864          Bank Funds Transfer                                      9999-000              $150,000.00                                $150,000.00

   06/23/10           3001      VANCO SERVICES, LLC                      Non Estate Property                                      8500-002                                  $134,624.58             $15,375.42
                                c/o David HughesFritz & Hughes,          Trustee filed Notice of
                                LLC7020 Fain Park Drive, Suite           Abandonment and request for
                                1Montgomery, Alabama 36117               authorizationto disburse non
                                                                         estate property to Vanco -
                                                                         Vanco would debit from
                                                                         accounts of claimants and
                                                                         forward to Americorp-Allegro.
                                                                         when backs charged back
                                                                         amount pursuant to their
                                                                         customers request
   07/06/10           3002      Reverses Check # 3002                    Website Creation                                         2990-000                                       ($550.00)          $15,925.42
                                                                         final invoice for 25 more than
                                                                         what was thougth to be final
                                                                         invoice
   07/06/10           3002      CHRISTOPHER REDING                       Website Creation                                         2990-000                                        $550.00           $15,375.42
                                6905 McFrancis Rd.Trussville, Alabama    Payment for the creation of
                                35173                                    allegrobankruptcy.com website,
                                                                         and addition FAQ and consent
                                                                         forms
   07/06/10           3003      CHRISTOPHER REDING                       Website Creation                                         2990-000                                        $575.00           $14,800.42
                                6905 McFrancis Rd.Trussville, Alabama    creation website, Consent form,
                                35173                                    FAQ and June 24 update
   07/20/10           3004      AMERICORP, INC.                          Mail Package & Delivery 6-8 to                           2990-000                                        $988.13           $13,812.29
                                Attn: Vanessa Vinicombe311 Crossways     7-9
                                Park DriveWoodbury, NY 11797             to cover cost of receiving,
                                                                         packaging and mailin express
                                                                         mail all documents from
                                                                         creditors of Allegro frol 6-8 to 7-
                                                                         9.




                                    Case 10-30631              Doc 5751        Page Subtotals:
                                                                              Filed  05/08/19 Entered 05/08/19 09:00:26                                 $150,000.00
                                                                                                                                                         Desc Main          $136,187.71
                                                                             Document          Page 762 of 768
                                                                                                                                                                                                     Page:      760

                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                                 Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                                Bank Name: Bank of America
                                                                                                                      Account Number/CD#: XXXXXX6932
                                                                                                                                                BofA - Checking Account
  Taxpayer ID No: XX-XXX7646                                                                                   Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                              Separate Bond (if applicable):


       1                2                           3                                                 4                                                        5                  6                     7

Transaction Date    Check or              Paid To / Received From                         Description of Transaction                  Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                             Code                                                          ($)
   08/02/10           3005      VANCO SERVICES, LLC                         Non-Estate Property                                        8500-002                                    $2,074.00           $11,738.29
                                c/o David HughesFritz & Hughes,             Tustee filed Second Notice of
                                LLC7020 Fain Park Drive, Suite              Abandonment and request for
                                1Montgomery, Alabama 36117                  authorizationto disburse non
                                                                            estate property to Vanco -
                                                                            Vanco would debit from
                                                                            accounts of claimants and
                                                                            forward to Americorp-Allegro.
                                                                            when backs charged back
                                                                            amount pursuant to their
                                                                            customers re
   08/09/10                     Transfer from Acct # XXXXXX6864             Bank Funds Transfer                                        9999-000               $34,000.00                               $45,738.29

   08/09/10           3006      BMC GROUP, INC.                             Processing Fees and Expenses                               2990-000                                   $34,302.15           $11,436.14
                                Attn: Sachie Fritz600 First Avenue, Suite
                                300Seattle, WA 98104
   08/19/10           3007      UNITED STATES POSTAL SERVICE         Post Office Box 1 year rental                                     2990-000                                       $110.00          $11,326.14
                                135 Catoma StreetMontgomery, Alabama Post Office Box Rental for 1
                                36104                                year for Allegro Laww LLC
   09/24/10           3008      JOHN FENDLEY, CPA                           CPA Fee                                                    3420-000                                    $8,218.02             $3,108.12
                                310 South washington StreetPrattville,      fee for time after bk filing and
                                Alabama 36067                               before hearing on appl to
                                                                            employ which was denied.
   10/20/10           3009      RIVER BANK & TRUST                          Non Estate property                                        8500-002                                    $1,929.00             $1,179.12
                                Attn: Karen PughPost Office Box             Trustee filed Notice of
                                680249Prattville, Alabama 36068             Abandonment and request for
                                                                            authorizationto disburse non
                                                                            estate property to River Bank&
                                                                            Trust who was required to pay
                                                                            this money back.This check is
                                                                            non estate property and is
                                                                            being returned to River Bank
                                                                            prusuant to order issued 1
   10/21/10           3010      CHRISTOPHER REDING                    Website updates                                                  2990-000                                       $900.00               $279.12
                                6906 McFrancis RoadTrussvile, Alabama to maintain and update the
                                35173                                 website for Allegro




                                    Case 10-30631               Doc 5751          Page Subtotals:
                                                                                 Filed  05/08/19 Entered 05/08/19 09:00:26                                    $34,000.00
                                                                                                                                                              Desc   Main         $47,533.17
                                                                                Document          Page 763 of 768
                                                                                                                                                                                                  Page:      761

                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                              Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                             Bank Name: Bank of America
                                                                                                                   Account Number/CD#: XXXXXX6932
                                                                                                                                             BofA - Checking Account
  Taxpayer ID No: XX-XXX7646                                                                                Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                             Separate Bond (if applicable):


       1                2                           3                                                4                                                      5                  6                     7

Transaction Date    Check or              Paid To / Received From                        Description of Transaction                Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                          ($)
   12/20/10           3011      COURTNEY BELL                               Boxes to Storage                                        2990-000                                       $100.00               $179.12
                                                                            Moving Allegro boxes from 560
                                                                            S. McDonough to storage unit
                                                                            on Atlanta Highway - 2 trips
                                                                            total includes time, mileage
   01/03/11                     Transfer from Acct # XXXXXX6864             Bank Funds Transfer                                     9999-000               $20,000.00                               $20,179.12

   01/03/11           3012      SUNBELT SELF STORAGE                        13 month Storage Rental                                 2410-000                                       $666.00          $19,513.12
                                6399 Atlanta HwyMontgomery, Alabama         this amount covers 18 months
                                36117                                       with re late fee of 15.00 being
                                                                            removed per Jessie at Sunbelt
                                                                            Storage
   01/03/11           3013      STEVE DORROUGH                              Professional Compensation                               3410-000                                   $13,880.49             $5,632.63
                                503 Coliseum Blvd., Suite EMontgomery,      Interim payment to CPA for
                                Alabama 36104                               period of time from 6-16-10 to 8
                                                                            -5-10.
   01/19/11                     Transfer from Acct # XXXXXX6864             Bank Funds Transfer                                     9999-000              $100,000.00                              $105,632.63
                                                                            for payment of BMC Group,
                                                                            Sterling Bank - records and
                                                                            CPA distribution
   01/19/11           3014      BMC GROUP, INC.                             Notice and Service                                      2990-000                                   $68,499.03           $37,133.60
                                Attn: Sachie Fritz600 First Avenue, Suite
                                300Seattle, WA 98104
   01/19/11           3015      STERLING BANK                               Banking Information - Allegro                           2990-000                                       $961.60          $36,172.00
                                c/o Synovus - Operations DivisionAttn:      Law L
                                Kimberly Carr/Angie BrownPost Office
                                Box 16Columbus, GA 31902
   02/03/11                     Transfer from Acct # XXXXXX6864             Bank Funds Transfer                                     9999-000               $37,000.00                               $73,172.00
                                                                            Liberty Mututal Insurance
                                                                            Company Bond
   02/03/11           3016      INTERNATIONAL SURETIES, LTD                 Bond # 016040924                                        2300-000                                   $37,000.00           $36,172.00
                                701 Poydras Street, Suite 420New            4-9-11 to 4-9-12
                                Orleans, Louisiana 70139
   02/15/11           3017      STERLING BANK                               Banking information -                                   2990-000                                       $981.45          $35,190.55
                                c/o Synovus-Operations DivisionAttn:        Nelms/Allegro
                                Kimberly Carr/Angie BrownPost Office
                                Box 16Columbus, GA 31902




                                    Case 10-30631               Doc 5751         Page Subtotals:
                                                                                Filed  05/08/19 Entered 05/08/19 09:00:26                                 $157,000.00
                                                                                                                                                           Desc Main          $122,088.57
                                                                               Document          Page 764 of 768
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                             Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                           Bank Name: Bank of America
                                                                                                                  Account Number/CD#: XXXXXX6932
                                                                                                                                           BofA - Checking Account
  Taxpayer ID No: XX-XXX7646                                                                              Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                             Separate Bond (if applicable):


       1                2                           3                                                4                                                    5                  6                     7

Transaction Date    Check or              Paid To / Received From                        Description of Transaction              Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                          ($)
   02/22/11           3018      CHRISTOPHER REDING                    Website Updates                                             2990-000                                       $825.00          $34,365.55
                                6906 McFrancis RoadTrussvile, Alabama
                                35173
   03/09/11           3019      STEVE DORROUGH                              Professional Compensation                             3410-000                                   $10,534.00           $23,831.55
                                503 Coliseum Blvd., Suite EMontgomery,      Interim Payment
                                Alabama 36104
   05/03/11           3020      CHRISTOPHER REDING                      Website Updates                                           2990-000                                       $575.00          $23,256.55
                                6906 McFrancis RoadTrussville, Al 35173
   09/02/11           3021      POSTMASTER                                  Post Office Box Rental                                2990-000                                       $110.00          $23,146.55
                                Downtown Post Office135 Catoma              12 month rental for post office
                                StreetMontgomery, Alabama 36104-9998        box
   10/05/11                     Transfer from Acct # XXXXXX6864             Bank Funds Transfer                                   9999-000               $55,000.00                               $78,146.55

   10/06/11           3022      BMC GROUP, INC.                             11, 2010 through 6-31-2011                            2990-000                                   $73,218.60             $4,927.95
                                Attn: Sachie Fritz600 First Avenue, Suite   21.514.60 expenses
                                300Seattle, WA 98104                        51,704.00 fees
                                                                            covers 11-2010 through
                                                                            June31, 2011
   10/26/11           3023      CHRISTOPHER REDING                    Website Updates                                             2990-000                                       $675.00            $4,252.95
                                6906 McFrancis RoadTrussvile, Alabama
                                35173
   11/30/11           3024      SUNBELT SELF STORAGE                        12 month storage rental                               2410-000                                       $648.00            $3,604.95
                                6399 Atlanta HighwayMontgomery,             his amount covers 12 months
                                Alabama 36117                               at 54.00 per month
   02/03/12                     Transfer from Acct # XXXXXX6864             Bank Funds Transfer                                   9999-000               $37,000.00                               $40,604.95

   02/06/12           3025      INTERNATIONAL SURETIES, LTD                 Bond # 016040924                                      2300-000                                   $37,000.00             $3,604.95
                                701 Poydras Street, Suite 420New            4-9-12 to 4-9-13
                                Orleans, Louisiana 70139
   03/29/12           3026      CHRISTOPHER REDING                    Website Updates                                             2990-000                                       $300.00            $3,304.95
                                6906 McFrancis RoadTrussvile, Alabama
                                35173
   06/05/12                     Transfer from Acct # XXXXXX6864             Bank Funds Transfer                                   9999-000               $20,000.00                               $23,304.95

   06/05/12           3027      BMC GROUP, INC.                             12-1-11 through 3-31-12                               2990-000                                   $16,943.98             $6,360.97
                                Attn: Sachie Fritz600 First Avenue, Suite   Covers 12-1-11 to 3-31-12
                                300Seattle, WA 98104                        Expenses $ 4,672.98
                                                                            Fees        12,271.00

                                    Case 10-30631               Doc 5751         Page Subtotals:
                                                                                Filed  05/08/19 Entered 05/08/19 09:00:26                               $112,000.00
                                                                                                                                                         Desc Main          $140,829.58
                                                                               Document          Page 765 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                           Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                         Bank Name: Bank of America
                                                                                                                Account Number/CD#: XXXXXX6932
                                                                                                                                        BofA - Checking Account
  Taxpayer ID No: XX-XXX7646                                                                           Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                          Separate Bond (if applicable):


       1                2                          3                                              4                                                    5                    6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
   08/24/12                     Transfer from Acct # XXXXXX6864          Claims agent for Trustee                               9999-000                $3,772.85                                $10,133.82

   08/24/12           3028      BMC GROUP, INC.                          Notice and Service Payment for                         2990-000                                     $3,772.85             $6,360.97
                                                                         6th fee application
   10/30/12            INT      BANK OF AMERICA, N.A.                    INTEREST REC'D FROM                                    1270-000                   $130.41                                 $6,491.38
                                                                         BANK
   10/30/12                     Trsf To UNION BANK                       FINAL TRANSFER                                         9999-000                                     $6,491.38                 $0.00



                                                                                                          COLUMN TOTALS                              $456,903.26           $456,903.26
                                                                                                                Less: Bank Transfers/CD's            $456,772.85             $6,491.38
                                                                                                          Subtotal                                         $130.41         $450,411.88
                                                                                                                Less: Payments to Debtors                    $0.00                $0.00
                                                                                                          Net                                              $130.41         $450,411.88




                                    Case 10-30631              Doc 5751       Page Subtotals:
                                                                             Filed  05/08/19 Entered 05/08/19 09:00:26                                 $3,903.26
                                                                                                                                                      Desc   Main           $10,264.23
                                                                            Document          Page 766 of 768
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-30631                                                                                      Trustee Name: Carly B. Wilkins, Trustee
      Case Name: Allegro Law LLC                                                                                    Bank Name: Axos Bank
                                                                                                           Account Number/CD#: XXXXXX0016
                                                                                                                                   Checking
  Taxpayer ID No: XX-XXX7646                                                                      Blanket Bond (per case limit):
For Period Ending: 03/31/2019                                                                     Separate Bond (if applicable):


       1                2                          3                                         4                                                     5                   6                     7

Transaction Date    Check or             Paid To / Received From                 Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                Code                                                            ($)
                                No Transactions                                                                                                                                                   $0.00



                                                                                                     COLUMN TOTALS                                      $0.00                $0.00
                                                                                                           Less: Bank Transfers/CD's                    $0.00                $0.00
                                                                                                     Subtotal                                           $0.00                $0.00
                                                                                                           Less: Payments to Debtors                    $0.00                $0.00
                                                                                                     Net                                                $0.00                $0.00




                                    Case 10-30631              Doc 5751      Page Subtotals:
                                                                            Filed  05/08/19 Entered 05/08/19 09:00:26                                $0.00
                                                                                                                                                  Desc Main                  $0.00
                                                                           Document          Page 767 of 768
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                                                                                                 TOTAL OF ALL ACCOUNTS
                                                                                                                                                   NET              ACCOUNT
                                                                                                               NET DEPOSITS          DISBURSEMENTS                  BALANCE
                                                     XXXXXX0016 - Checking                                                $0.00                   $0.00                  $0.00
                                                     XXXXXX1745 - Checking                                                $0.00             $31,212.72             $465,710.05
                                                     XXXXXX3661 - Checking Account                                 $120,590.90          $16,089,124.06                   $0.00

                                                     XXXXXX6864 - BofA - Money Market                           $16,985,336.90              $69,599.50                   $0.00
                                                     Account
                                                     XXXXXX6932 - BofA - Checking Account                               $130.41            $450,411.88                   $0.00

                                                                                                                $17,106,058.21          $16,640,348.16             $465,710.05

                                                                                                              (Excludes account     (Excludes payments     Total Funds on Hand
                                                                                                                      transfers)             to debtors)
                                                     Total Allocation Receipts:                      $0.00
                                                     Total Net Deposits:                     $17,106,058.21
                                                     Total Gross Receipts:                   $17,106,058.21



Trustee Signature:   /s/ Carly B. Wilkins, Trustee   Date: 05/06/2019

                     Carly B. Wilkins, Trustee
                     560 S. McDonough St.
                     Suite A
                     Montgomery, Alabama 36104
                     334-269-0269
                     cwilkins@cbwlegal.com




                              Case 10-30631              Doc 5751            Page Subtotals:
                                                                            Filed  05/08/19 Entered 05/08/19 09:00:26                 $0.00
                                                                                                                                   Desc Main               $0.00
                                                                           Document          Page 768 of 768
